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13
14                         UNITED STATES DISTRICT COURT
15           NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
16 GRACE SMITH and RUSSELL                     Case No. 4:21-cv-07872-HSG
   RAWLINGS, on behalf of themselves and
17 all others similarly situated, and          DECLARATION OF DEBORAH
   CALIFORNIA FOUNDATION FOR                   ESPINAL IN SUPPORT OF KAISER
18 INDEPENDENT LIVING CENTERS, a               FOUNDATION HEALTH PLAN,
   California nonprofit corporation,           INC.’S MOTION TO COMPEL
19                                             ARBITRATION AND MOTION TO
                  Plaintiffs,                  DISMISS
20
           v.
21                                             Date:         April 28, 2022
   MARY WATANABE, in her capacity as           Time:         2:00 p.m.
22 Director of the California Department of    Room:         2
   Managed Health Care; CALIFORNIA             Judge:        Hon. Haywood S. Gilliam, Jr.
23 DEPARTMENT OF MANAGED
   HEALTH CARE; and KAISER
24 FOUNDATION HEALTH PLAN, INC.,
25              Defendants.
26
27
28
                                           -1-                   Case No. 4:21-cv-07872-HSG
                          DECLARATION OF DEBORAH ESPINAL ISO KAISER’S MOTION TO COMPEL
                                                    ARBITRATION AND MOTION TO DISMISS
     Case 4:21-cv-07872-HSG Document 32-2 Filed 02/04/22 Page 2 of 354




 1                        DECLARATION OF DEBORAH ESPINAL
 2         I, Deborah Espinal, declare as follows:
 3         1.     I am the Executive Director of Health Plan Policy at Defendant Kaiser
 4 Foundation Health Plan, Inc. (“Kaiser”). Unless stated upon information and belief, I have
 5 personal knowledge of the facts set forth herein, which are known to me to be true and
 6 correct, and if called as a witness, I could and would competently testify thereto.
 7         2.     I have been Executive Director of Health Plan Policy since February, 2002.
 8 As Kaiser’s Executive Director of Health Plan Policy, I am responsible for policy
 9 development and implementation in the legislative, regulatory and benefit areas and have
10 primary oversight responsibility for Kaiser’s health plan license. Based on my experience
11 as an employee of Kaiser, and particularly as the Executive Director of Health Plan Policy,
12 I am familiar with Kaiser’s membership enrollment process, agreements, other files and
13 records relating to Kaiser’s health plans, and how such records are prepared and
14 maintained as business records of Kaiser.
15         3.     Kaiser is a non-profit organization that works with employers, employees
16 and individual members to offer healthcare coverage. Premiums from Kaiser’s plans
17 provide funding and infrastructure for Kaiser hospitals and medical centers throughout
18 California, Oregon, Washington and Hawaii, and outpatient facilities in Colorado,
19 Maryland, Virginia, Georgia and Washington D.C. Kaiser’s provision of healthcare plans,
20 coverage, and services to its members involves and affects interstate commerce.
21         4.     Plaintiff Grace Elizabeth Smith is enrolled in a Kaiser Permanente Small
22 Group Gold HMO A plan, which she obtained through her employer, a company called
23 Through the Looking Glass. In 2017, Ms. Smith completed an employee enrollment form
24 to obtain coverage with Kaiser. A true and correct copy of Ms. Smith’s enrollment
25 application is attached as Exhibit A.
26         5.     Kaiser accepted Ms. Smith’s enrollment application and provided coverage
27 to Ms. Smith under the terms of her plans’ Evidence of Coverage (“EOC”). A true and
28
                                              -2-                   Case No. 4:21-cv-07872-HSG
                             DECLARATION OF DEBORAH ESPINAL ISO KAISER’S MOTION TO COMPEL
                                                       ARBITRATION AND MOTION TO DISMISS
         Case 4:21-cv-07872-HSG Document 32-2 Filed 02/04/22 Page 3 of 354




 1 correct copy of Ms. Smith’s EOC for her Kaiser Permanente Small Group Gold HMO A
 2 plan for 2021 is attached as Exhibit B.
 3            6.    Plaintiff Russel Rawlings is enrolled in a Kaiser Permanente Small Group
 4 Platinum HMO A plan, which he obtained through his employer, California Foundation for
 5 Independent Living Centers. In 2020, Mr. Rawlings completed an employee enrollment
 6 application to obtain coverage from Kaiser through a private small group health coverage
 7 exchange called CaliforniaChoice. A true and correct copy of Mr. Rawlings’ enrollment
 8 application is attached as Exhibit C.
 9            7.    Several months later, Mr. Rawlings submitted a change request form
10 providing an address change. A true and correct copy of Mr. Rawlings’ change request
11 form is attached as Exhibit D. 1
12            8.    Kaiser accepted Mr. Rawlings’ enrollment application and provided
13 coverage to Mr. Rawlings under the terms of his plans’ EOC. A true and correct copy of
14 Mr. Rawlings’ EOC for his Kaiser Permanente Small Group Platinum HMO A plan for
15 2021 is attached as Exhibit E.
16            9.    Once a member is enrolled in a Kaiser plan, the member is provided access
17 to their EOC. Member EOCs are updated on an annual basis.
18            10.   Every Kaiser EOC, for the years covered by this case, includes a binding
19 arbitration provision.
20            11.   Per Ms. Smith’s and Mr. Rawlings’ EOCs, Kaiser members can receive
21 coverage for emergency care from non-Kaiser plan providers anywhere in the world.
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27   1
     The social security numbers and dates of birth in Exhibits A, C & D have been redacted
28 in compliance with Fed. R. Civ. Proc. 5.2.
                                               -3-                     Case No. 4:21-cv-07872-HSG
                              DECLARATION OF DEBORAH ESPINAL ISO KAISER’S MOTION TO COMPEL
                                                        ARBITRATION AND MOTION TO DISMISS
     Case 4:21-cv-07872-HSG Document 32-2 Filed 02/04/22 Page 4 of 354




 1         I declare under the penalty of perjury under the laws of the United States of
 2 America that the foregoing is true and correct.
 3
 4         Executed on this 4th day of February 4, 2022, at Oakland, California.
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                                                  Deborah Espinal
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                                             -4-                   Case No. 4:21-cv-07872-HSG
                            DECLARATION OF DEBORAH ESPINAL ISO KAISER’S MOTION TO COMPEL
                                                      ARBITRATION AND MOTION TO DISMISS
Case 4:21-cv-07872-HSG Document 32-2 Filed 02/04/22 Page 5 of 354




                       Exhibit A
                                5
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                                6
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                       Exhibit B
                                8
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Kaiser Foundation Health Plan, Inc.
Northern California Region

A nonprofit corporation



EOC #5 - Kaiser Permanente for Small Business
Combined Evidence of Coverage and Disclosure Form for
THROUGH THE LOOKING GLASS

Kaiser Permanente Gold 80 HMO 500/30 + Child Dental Alt
Group ID: 718772 EOC Number: 5




December 1, 2020, through November 30, 2021




                                          Member Service Contact Center
                                          24 hours a day, seven days a week (except closed holidays)
                                          1‑800-464-4000 (TTY users call 711)
                                          kp.org




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Language Assistance Services
English: Language assistance is available at no cost to you, 24 hours
a day, 7 days a week. You can request interpreter services, materials
translated into your language, or in alternative formats. Just call us
at 1-800-464-4000, 24 hours a day, 7 days a week (closed holidays).
TTY users call 711.
‫ ﺑﺈﻣﻜﺎﻧﻚ ﻃﻠﺐ ﺧﺪﻣﺔ ﺍﻟﺘﺮﺟﻤﺔ ﺍﻟﻔﻮﺭﯾﺔ ﺃﻭ ﺗﺮﺟﻤﺔ ﻭﺛﺎﺋﻖ ﻟﻠﻐﺘﻚ ﺃﻭ‬.‫ ﺧﺪﻣﺎﺕ ﺍﻟﺘﺮﺟﻤﺔ ﺍﻟﻔﻮﺭﯾﺔ ﻣﺘﻮﻓﺮﺓ ﻟﻚ ﻣﺠﺎﻧًﺎ ﻋﻠﻰ ﻣﺪﺍﺭ ﺍﻟﺴﺎﻋﺔ ﻛﺎﻓﺔ ﺃﯾﺎﻡ ﺍﻷﺳﺒﻮﻉ‬:Arabic
  ‫ ﻟﻤﺴﺘﺨﺪﻣﻲ ﺧﺪﻣﺔ‬.(‫ ﻋﻠﻰ ﻣﺪﺍﺭ ﺍﻟﺴﺎﻋﺔ ﻛﺎﻓﺔ ﺃﯾﺎﻡ ﺍﻷﺳﺒﻮﻉ )ﻣﻐﻠﻖ ﺃﯾﺎﻡ ﺍﻟﻌﻄﻼﺕ‬1-800-464-4000 ‫ ﻣﺎ ﻋﻠﯿﻚ ﺳﻮﻯ ﺍﻻﺗﺼﺎﻝ ﺑﻨﺎ ﻋﻠﻰ ﺍﻟﺮﻗﻢ‬.‫ﻟﺼﯿﻎ ﺃﺧﺮﻯ‬
                                                                                              .(711) ‫ﺍﻟﻬﺎﺗﻒ ﺍﻟﻨﺼﻲ ﯾﺮﺟﻲ ﺍﻻﺗﺼﺎﻝ ﻋﻠﻰ ﺍﻟﺮﻗﻢ‬

Armenian: Ձեզ կարող է անվճար օգնություն տրամադրվել լեզվի հարցում` օրը 24 ժամ, շաբաթը 7
օր: Դուք կարող եք պահանջել բանավոր թարգմանչի ծառայություններ, Ձեր լեզվով թարգմանված
կամ այլընտրանքային ձևաչափով պատրաստված նյութեր: Պարզապես զանգահարեք մեզ` 1-800-
464-4000 հեռախոսահամարով` օրը 24 ժամ` շաբաթը 7 օր (տոն օրերին փակ է): TTY-ից
օգտվողները պետք է զանգահարեն 711:

Chinese: 您每週7天，每天24小時均可獲得免費語言協助。您可以申請口譯服務、要求將資料翻譯成您所
用語言或轉換為其他格式。我們每週7天，每天24小時均歡迎您打電話1-800-757-7585 前來聯絡（節假日
休息）。聽障及語障專線 (TTY) 使用者請撥711。
      ‫ ﺷﻤﺎ ﻣﯽ ﺗﻮﺍﻧﯿﺪ ﺑﺮﺍﯼ ﺧﺪﻣﺎﺕ ﻣﺘﺮﺟﻢ‬.‫ ﺭﻭﺯ ﻫﻔﺘﻪ ﺑﺪﻭﻥ ﺍﺧﺬ ﻫﺰﯾﻨﻪ ﺩﺭ ﺍﺧﺘﯿﺎﺭ ﺷﻤﺎ ﺍﺳﺖ‬7 ‫ ﺳﺎﻋﺖ ﺷﺒﺎﻧﺮﻭﺯ ﻭ‬24 ‫ ﺧﺪﻣﺎﺕ ﺯﺑﺎﻧﯽ ﺩﺭ‬:Farsi
              ‫ ﺭﻭﺯ ﻫﻔﺘﻪ‬7 ‫ ﺳﺎﻋﺖ ﺷﺒﺎﻧﺮﻭﺯ ﻭ‬24 ‫ ﮐﺎﻓﯿﺴﺖ ﺩﺭ‬.‫ ﺗﺮﺟﻤﻪ ﺟﺰﻭﺍﺕ ﺑﻪ ﺯﺑﺎﻥ ﺷﻤﺎ ﻭ ﯾﺎ ﺑﻪ ﺻﻮﺭﺗﻬﺎﯼ ﺩﯾﮕﺮ ﺩﺭﺧﻮﺍﺳﺖ ﮐﻨﯿﺪ‬،‫ﺷﻔﺎﻫﯽ‬
             .‫ ﺗﻤﺎﺱ ﺑﮕﯿﺮﻧﺪ‬711 ‫ ﺑﺎ ﺷﻤﺎﺭﻩ‬TTY ‫ ﮐﺎﺭﺑﺮﺍﻥ‬.‫ ﺗﻤﺎﺱ ﺑﮕﯿﺮﯾﺪ‬1-800-464-4000 ‫)ﺑﻪ ﺍﺳﺘﺜﻨﺎﯼ ﺭﻭﺯﻫﺎﯼ ﺗﻌﻄﯿﻞ( ﺑﺎ ﻣﺎ ﺑﻪ ﺷﻤﺎﺭﻩ‬

Hindi: बिना किसी लागत के दुभाषिया सेवाएँ, दिन के 24 घंटे, सप्ताह के सातों दिन उपलब्ध हैं। आप एक दुभाषिये की
सेवाओं के लिए, बिना किसी लागत के सामग्रियों को अपनी भाषा में अनुवाद करवाने के लिए, या वैकल्पिक प्रारूपों के
लिए अनुरोध कर सकते हैं। बस केवल हमें 1-800-464-4000 पर, दिन के 24 घंटे, सप्ताह के सातों दिन (छुट्टियों वाले
दिन बंद रहता है) कॉल करें। TTY उपयोगकर्ता 711 पर कॉल करें।
Hmong: Muajkwc pab txhais lus pub dawb rau koj, 24 teev ib hnub twg, 7 hnub ib lim tiam twg. Koj thov tau
cov kev pab txhais lus, muab cov ntaub ntawv txhais ua koj hom lus, los yog ua lwm hom. Tsuas hu rau
1-800-464-4000, 24 teev ib hnub twg, 7 hnub ib lim tiam twg (cov hnub caiv kaw). Cov neeg siv TTY hu 711.

Japanese: 当院では、言語支援を無料で、年中無休、終日ご利用いただけます。通訳サービス、日本語
に翻訳された資料、あるいは資料を別の書式でも依頼できます。お気軽に 1-800-464-4000
までお電話ください （祭日を除き年中無休）。TTYユーザーは711にお電話ください。




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Korean: 요일 및 시간에 관계없이 언어 지원 서비스를 무료로 이용하실 수 있습니다. 귀하는 통역
서비스, 귀하의 언어로 번역된 자료 또는 대체 형식의 자료를 요청할 수 있습니다. 요일 및 시간에
관계없이 1-800-464-4000번으로 전화하십시오 (공휴일 휴무). TTY 사용자 번호 711.
Laotian: ການຊ່ວຍເຫຼືອດ້ານພາສາມີໃຫ້ໂດຍບໍ່ເສັຽຄ່າແກ່ທ່ານ, ຕະຫຼອດ 24 ຊົ່ວໂມງ, 7 ວັນຕໍ່ອາທິດ. ທ່ານສາມາດຮ້ອງຂໍຮັບ
ບໍລິການນາຍພາສາ, ໃຫ້ແປເອກະສານເປັນພາສາຂອງທ່ານ, ຫຼື ໃນຮູບແບບອື່ນ. ພຽງແຕ່ໂທຣຫາພວກເຮົາທີ່ 1-800-464-
4000, ຕະຫຼອດ 24 ຊົ່ວໂມງ, 7 ວັນຕໍ່ອາທິດ (ປິດວັນພັກຕ່າງໆ). ຜູ້ໃຊ້ສາຍ TTY ໂທຣ 711.
Navajo: Saad bee áká'a'ayeed náhólǫ́ t'áá jiik'é, naadiin doo bibąą' dį́į́' ahéé'iikeed tsosts'id yiską́ąjį́ damoo
ná'ádleehjį́. Atah halne'é áká'adoolwołígíí jókí, t'áadoo le'é t'áá hóhazaadjį́ hadilyąą'go, éí doodaii' nááná lá ał'ąą
ádaat'ehígíí bee hádadilyaa'go. Kojį́ hodiilnih 1-800-464-4000, naadiin doo bibąą' dį́į́' ahéé'iikeed tsosts'id
yiską́ąjį́ damoo ná'ádleehjį́ (Dahodiyin biniiyé e'e'aahgo éí da'deelkaal). TTY chodeeyoolínígíí kojį́ hodiilnih 711.
Punjabi: ਬਿਨਾਂ ਕਿਸੀ ਲਾਗਤ ਦੇ, ਦਿਨ ਦੇ 24 ਘੰਟੇ, ਹਫਤੇ ਦੇ 7 ਦਿਨ, ਦੁਭਾਸ਼ੀਆ ਸੇਵਾਵਾਂ ਤੁਹਾਡੇ ਲਈ ਉਪਲਬਧ ਹੈ। ਤੁਸੀਂ ਇੱਕ
ਦੁਭਾਸ਼ੀਏ ਦੀ ਮਦਦ ਲਈ, ਸਮੱਗਰੀਆਂ ਨੂੰ ਆਪਣੀ ਭਾਸ਼ਾ ਵਿੱਚ ਅਨੁਵਾਦ ਕਰਵਾਉਣ ਲਈ, ਜਾਂ ਕਿਸੇ ਵੱਖ ਫਾਰਮੈਟ ਵਿੱਚ ਪ੍ਰਾਪਤ ਕਰਨ
ਲਈ ਬੇਨਤੀ ਕਰ ਸਕਦੇ ਹੋ। ਬਸ ਸਿਰਫ਼ ਸਾਨੂੰ 1-800-464-4000 ਤੇ, ਦਿਨ ਦੇ 24 ਘੰਟੇ, ਹਫ਼ਤੇ ਦੇ 7 ਦਿਨ (ਛੁੱਟੀਆਂ ਵਾਲੇ ਦਿਨ ਬੰਦ
ਰਹਿੰਦਾ ਹੈ) ਫ਼ੋਨ ਕਰੋ। TTY ਦਾ ਉਪਯੋਗ ਕਰਨ ਵਾਲੇ 711 'ਤੇ ਫ਼ੋਨ ਕਰਨ।
Russian: Мы бесплатно обеспечиваем Вас услугами перевода 24 часа в сутки, 7 дней в неделю. Вы
можете воспользоваться помощью устного переводчика, запросить перевод материалов на свой язык или
запросить их в одном из альтернативных форматов. Просто позвоните нам по телефону 1-800-464-4000,
который доступен 24 часа в сутки, 7 дней в неделю (кроме праздничных дней). Пользователи линии TTY
могут звонить по номеру 711.
Spanish: Contamos con asistencia de idiomas sin costo alguno para usted 24 horas al día, 7 días a la semana.
Puede solicitar los servicios de un intérprete, que los materiales se traduzcan a su idioma o en formatos
alternativos. Solo llame al 1-800-788-0616, 24 horas al día, 7 días a la semana (cerrado los días festivos). Los
usuarios de TTY, deben llamar al 711.
Tagalog: May magagamit na tulong sa wika nang wala kang babayaran, 24 na oras bawat araw, 7 araw bawat
linggo. Maaari kang humingi ng mga serbisyo ng tagasalin sa wika, mga babasahin na isinalin sa iyong wika o
sa mga alternatibong format. Tawagan lamang kami sa 1-800-464-4000, 24 na oras bawat araw, 7 araw bawat
linggo (sarado sa mga pista opisyal). Ang mga gumagamit ng TTY ay maaaring tumawag sa 711.
Thai: เรามีบริการล่ามฟรีสาหรับคุณตลอด 24 ชั่วโมงทุกวันตลอดชั่วโมงทาการของเรา
คุณสามารถขอให้ล่ามช่วยตอบคาถามของคุณที่เกี่ยวกับความคุ้มครองการดูแลสุขภาพของเรา
และคุณยังสามารถขอให้มีการแปลเอกสารเป็นภาษาที่คุณใช้ได้โดยไม่มีการคิดค่าบริการ เพียงโทรหาเราที่หมายเลข
1-800-464-4000 ตลอด 24 ชั่วโมงทุกวัน (ปิดให้บริการในวันหยุดราชการ) ผู้ใช้ TTY โปรดโทรไปที่ 711.
Vietnamese: Dịch vụ thông dịch được cung cấp miễn phí cho quý vị 24 giờ mỗi ngày, 7 ngày trong tuần. Quý vị
có thể yêu cầu dịch vụ thông dịch, tài liệu phiên dịch ra ngôn ngữ của quý vị hoặc tài liệu bằng nhiều hình thức
khác. Quý vị chỉ cần gọi cho chúng tôi tại số 1-800-464-4000, 24 giờ mỗi ngày, 7 ngày trong tuần (trừ các ngày
lễ). Người dùng TTY xin gọi 711.




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                                  Nondiscrimination Notice

Kaiser Permanente does not discriminate on the basis of age, race, ethnicity, color, national
origin, cultural background, ancestry, religion, sex, gender identity, gender expression, sexual
orientation, marital status, physical or mental disability, source of payment, genetic
information, citizenship, primary language, or immigration status.
Language assistance services are available from our Member Services Contact Center 24
hours a day, seven days a week (except closed holidays). Interpreter services, including sign
language, are available at no cost to you during all hours of operation. Auxiliary aids and
services for individuals with disabilities are available at no cost to you during all hours of
operation. We can also provide you, your family, and friends with any special assistance
needed to access our facilities and services. You may request materials translated in your
language, and may also request these materials in large text or in other formats to
accommodate your needs at no cost to you. For more information, call 1-800-464-4000 (TTY
users call 711).
A grievance is any expression of dissatisfaction expressed by you or your authorized
representative through the grievance process. For example, if you believe that we have
discriminated against you, you can file a grievance. Please refer to your Evidence of
Coverage or Certificate of Insurance or speak with a Member Services representative for the
dispute-resolution options that apply to you. This is especially important if you are a
Medicare, Medi-Cal, MRMIP, Medi-Cal Access, FEHBP, or CalPERS member because you
have different dispute-resolution options available.
You may submit a grievance in the following ways:
      By completing a Complaint or Benefit Claim/Request form at a Member Services office
       located at a Plan Facility (please refer to Your Guidebook or the facility directory on
       our website at kp.org for addresses)
      By mailing your written grievance to a Member Services office at a Plan Facility
       (please refer to Your Guidebook or the facility directory on our website at kp.org for
       addresses)
      By calling our Member Service Contact Center toll free at 1-800-464-4000 (TTY users
       call 711)
      By completing the grievance form on our website at kp.org
Please call our Member Service Contact Center if you need help submitting a grievance.
The Kaiser Permanente Civil Rights Coordinator will be notified of all grievances related to
discrimination on the basis of race, color, national origin, sex, age, or disability. You may also
contact the Kaiser Permanente Civil Rights Coordinator directly at One Kaiser Plaza, 12th
Floor, Suite 1223, Oakland, CA 94612.
You can also file a civil rights complaint with the U.S. Department of Health and Human
Services, Office for Civil Rights electronically through the Office for Civil Rights Complaint
Portal, available at ocrportal.hhs.gov/ocr/portal/lobby.jsf or by mail or phone at: U.S.
Department of Health and Human Services, 200 Independence Avenue SW., Room 509F,
HHH Building, Washington, DC 20201, 1-800-368-1019, 1-800-537-7697 (TDD). Complaint
forms are available at hhs.gov/ocr/office/file/index.html.



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                                Aviso de no discriminación

Kaiser Permanente no discrimina a ninguna persona por su edad, raza, etnia, color, país de
origen, antecedentes culturales, ascendencia, religión, sexo, identidad de género, expresión
de género, orientación sexual, estado civil, discapacidad física o mental, fuente de pago,
información genética, ciudadanía, lengua materna o estado migratorio.
La Central de Llamadas de Servicio a los Miembros brinda servicios de asistencia con el
idioma las 24 horas del día, los siete días de la semana (excepto los días festivos). Se
ofrecen servicios de interpretación sin costo alguno para usted durante el horario de
atención, incluido el lenguaje de señas. Se ofrecen aparatos y servicios auxiliares para
personas con discapacidades sin costo alguno durante el horario de atención. También
podemos ofrecerle a usted, a sus familiares y amigos cualquier ayuda especial que
necesiten para acceder a nuestros centros de atención y servicios. Puede solicitar los
materiales traducidos a su idioma, y también los puede solicitar con letra grande o en otros
formatos que se adapten a sus necesidades sin costo para usted. Para obtener más
información, llame al 1-800-788-0616 (los usuarios de la línea TTY deben llamar al 711).
Una queja es una expresión de inconformidad que manifiesta usted o su representante
autorizado a través del proceso de quejas. Por ejemplo, si usted cree que ha sufrido
discriminación de nuestra parte, puede presentar una queja. Consulte su Evidencia de Cobertura
(Evidence of Coverage) o Certificado de Seguro (Certificate of Insurance), o comuníquese con un
representante de Servicio a los Miembros para conocer las opciones de resolución de disputas que
le corresponden. Esto tiene especial importancia si es miembro de Medicare, Medi-Cal, el
Programa de Seguro Médico para Riesgos Mayores (Major Risk Medical Insurance Program
MRMIP), Medi-Cal Access, el Programa de Beneficios Médicos para los Empleados Federales
(Federal Employees Health Benefits Program, FEHBP) o CalPERS, ya que dispone de otras
opciones para resolver disputas.
Puede presentar una queja de las siguientes maneras:
   •   Completando un formulario de queja o de reclamación/solicitud de beneficios en una
       oficina de Servicio a los Miembros ubicada en un centro del plan (consulte las
       direcciones en Su Guía o en el directorio de centros de atención en nuestro sitio web
       en kp.org/espanol)
   •   Enviando por correo su queja por escrito a una oficina de Servicio a los Miembros en
       un centro del plan (consulte las direcciones en Su Guía o en el directorio de centros
       de atención en nuestro sitio web en kp.org/espanol)
   •   Llamando a la línea telefónica gratuita de la Central de Llamadas de Servicio a los
       Miembros al 1-800-788-0616 (los usuarios de la línea TTY deben llamar al 711)
   •   Completando el formulario de queja en nuestro sitio web en kp.org/espanol
Llame a nuestra Central de Llamadas de Servicio a los Miembros si necesita ayuda para
presentar una queja.
Se le informará al coordinador de derechos civiles de Kaiser Permanente (Civil Rights
Coordinator) de todas las quejas relacionadas con la discriminación por motivos de raza,
color, país de origen, género, edad o discapacidad. También puede comunicarse
directamente con el coordinador de derechos civiles de Kaiser Permanente en One Kaiser
Plaza, 12th Floor, Suite 1223, Oakland, CA 94612.


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También puede presentar una queja formal de derechos civiles de forma electrónica ante la
Oficina de Derechos Civiles (Office for Civil Rights) en el Departamento de Salud y Servicios
Humanos de los Estados Unidos (U.S. Department of Health and Human Services) mediante
el portal de quejas formales de la Oficina de Derechos Civiles (Office for Civil Rights Complaint
Portal), en ocrportal.hhs.gov/ocr/portal/lobby.jsf (en inglés) o por correo postal o por teléfono a:
U.S. Department of Health and Human Services, 200 Independence Avenue SW, Room 509F,
HHH Building, Washington, D.C. 20201, 1-800-368-1019, 1-800-537-7697 (línea TDD). Los
formularios de queja formal están disponibles en hhs.gov/ocr/office/file/index.html (en inglés).




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                                     無歧視公告

Kaiser Permanente禁止以年齡、人種、族裔、膚色、原國籍、文化背景、血統、宗教、性別、
性別認同、性別表達、性取向、婚姻狀況、生理或心理殘障、付款來源、遺傳資訊、公民身
份、主要語言或移民身份為由而歧視任何人。
會員服務聯絡中心每週七天每天24小時提供語言協助服務（節假日除外）。本機構在全部營業
時間內免費為您提供口譯，包括手語服務，以及殘障人士輔助器材和服務。我們還可為您和您
的親友提供使用本機構設施與服務所需要的任何特別協助。您還可免費索取翻譯成您的語言的
資料，以及符合您需求的大號字體或其他格式的版本。若需更多資訊，請致電 1-800-757-7585
（TTY專線使用者請撥711）。
申訴指任何您或您的授權代表透過申訴程序來表達不滿的做法。例如，如果您認為自己受到歧視，即可
提出申訴。若需瞭解適用於自己的爭議解決選項，請參閱《承保範圍說明書》(Evidence of Coverage)
或《保險證明書》(Certificate of Insurance)，或咨詢會員服務代表。如果您是Medicare、Medi-Cal、
高風險醫療保險計劃 (Major Risk Medical Insurance Program, MRMIP)、Medi-Cal Access、聯邦僱員
健康保險計劃 (Federal Employees Health Benefits Program, FEHBP) 或CalPERS會員，採取上述行
動尤其重要，因為您可能有不同的爭議解決選項。
您可透過以下方式提出申訴：
   •   在健康保險計劃服務設施的會員服務處填寫《投訴或福利索賠/申請表》（地址見
       《健康服 務指南》(Your Guidebook) 或我們網站kp.org上的服務設施名錄）
   •   將書面申訴信郵寄到健康保險計劃服務設施的會員服務處（地址見《健康服務指南》
       或我們網站kp.org上的服務設施名錄）
   •   致電我們的會員服務聯絡中心，免費電話號碼是1-800-757-7585（TTY專線請撥711）
   •   在我們的網站上填寫申訴表，網址是kp.org
如果您在提交申訴時需要協助，請致電我們的會員服務聯絡中心。
涉及人種、膚色、原國籍、性別、年齡或殘障歧視的一切申訴都將通知Kaiser Permanente的民
權事務協調員。您也可與Kaiser Permanente的民權事務協調員直接聯絡，地址：
One Kaiser Plaza, 12th Floor, Suite 1223, Oakland, CA 94612。
您還可以電子方式透過民權辦公室的投訴入口網站向美國健康與公共服務部民權辦公室提出民
權投訴，網址是ocrportal.hhs.gov/ocr/portal/lobby.jsf或者按照如下資訊採用郵寄或電話方式聯
絡：U.S. Department of Health and Human Services, 200 Independence Avenue SW,
Room 509F, HHH Building, Washington, D.C. 20201, 1-800-368-1019, 1-800-537-7697（TDD）。
投訴表可從網站hhs.gov/ocr/office/file/index.html下載。




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Cost Share Summary
This “Cost Share Summary” is part of your Evidence of Coverage (EOC) and is meant to explain the amount you will pay for
covered Services under this plan. It does not provide a full description of your benefits. For a full description of your benefits,
including any limitations and exclusions, please read this entire EOC carefully.


Accumulation Period
The Accumulation Period for this plan is January 1 through December 31.


Deductible(s) and Out-of-Pocket Maximum(s)
For Services that apply to the Plan Out-of-Pocket Maximum, you will not pay any more Cost Share for the rest of the
 Accumulation Period once you have reached the amounts listed below.
For Services that are subject to the Plan Deductible or the Drug Deductible, you must pay Charges for covered Services you
 receive during the Accumulation Period until you reach the deductible amounts listed below. All payments you make
 toward your deductible(s) apply to the Plan Out-of-Pocket Maximum amounts listed below.
                                                                             Family Coverage            Family Coverage
                                                Self-Only Coverage
   Amounts Per Accumulation Period                                       Each Member in a Family Entire Family of two or
                                             (a Family of one Member)
                                                                         of two or more Members          more Members
Plan Deductible                                          $500                      $500                       $1,000
Drug Deductible                                         None                       None                        None
Plan Out-of-Pocket Maximum (“OOPM”)                    $7,000                     $7,000                     $14,000


Cost Share Summary Tables by Benefit
How to read the Cost Share summary tables
Each table below explains the Cost Share for a category of benefits. Specific Services related to the benefit are described in
the first column of each table. For a detailed description of coverage for a particular benefit, please refer to the same benefit
heading in the “Benefits” section of this EOC.
         Copayment / Coinsurance. This column describes the Cost Share you will pay for Services after you have met your
          Plan Deductible or Drug Deductible, if applicable. (Please see the “Deductible(s) and Out-of-Pocket Maximum(s)”
          section above to determine if your plan includes deductibles.) If the Services are not covered in your plan, this
          column will read “Not covered.” If we provide an Allowance that you can use toward the cost of the Services, this
          column will include the Allowance.
         Subject to Deductible. This column explains whether the Cost Share you pay for Services is subject to a Plan
          Deductible or Drug Deductible. If the Services are subject to a deductible, you will pay Charges for those Services
          until you have met your deductible. If the Services are subject to a deductible, there will be a “✔” or “●” in this
          column, depending on which deductible applies (“✔” for Plan Deductible, “●” for Drug Deductible). If the Services
          do not apply to a deductible, or if your plan does not include a deductible, this column will be blank. For a more
          detailed explanation of deductibles, please refer to “Plan Deductible” and “Drug Deductible” in the “Benefits”
          section of this EOC.
         OOPM. This column explains whether the Cost Share you pay for Services counts toward the Plan Out-of-Pocket
          Maximum (“OOPM”) after you have met any applicable deductible. If the Services count toward the Plan OOPM,
          there will be a “✔” in this column. If the Services do not count toward the Plan OOPM, this column will be blank.
          For a more detailed explanation of the Plan OOPM, please refer to “Plan Out-of-Pocket Maximum” heading in the
          “Benefits” section of this EOC.




Group ID: 718772 Kaiser Permanente for Small Business Kaiser Permanente Gold 80 HMO 500/30 + Child Dental Alt
Contract: 1 Version: 8 EOC# 5 Effective: 12/1/2011/30/21              20
Date: December 22, 2020                                                                                                    Page 1
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Administered drugs and products

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Whole blood, red blood cells, plasma, and platelets                              No charge                                      ✔


Allergy antigens (including administration)                                      $5 per visit                                   ✔


Cancer chemotherapy drugs and adjuncts                                           No charge                                      ✔


Drugs and products that are administered via intravenous therapy or    No charge
injection that are not for cancer chemotherapy, including blood factor
                                                                                                                                ✔
products and biological products (“biologics”) derived from tissue,
cells, or blood


All other administered drugs and products                                        No charge                                      ✔


Drugs and products administered to you during a home visit                       No charge                                      ✔

Ambulance Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Emergency ambulance Services                                                     $250 per trip                       ✔          ✔


Nonemergency ambulance and psychiatric transport van Services                    $250 per trip                       ✔          ✔

Behavioral health treatment for pervasive development disorder or autism

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Covered Services                                                                 $30 per day                                    ✔

Dialysis care

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Equipment and supplies for home hemodialysis and home peritoneal                 No charge
                                                                                                                                ✔
dialysis


One routine outpatient visit per month with the multidisciplinary                No charge
                                                                                                                                ✔
nephrology team for a consultation, evaluation, or treatment


Group ID: 718772 Kaiser Permanente for Small Business Kaiser Permanente Gold 80 HMO 500/30 + Child Dental Alt
Contract: 1 Version: 8 EOC# 5 Effective: 12/1/2011/30/21              21
Date: December 22, 2020                                                                                                        Page 2
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                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Hemodialysis and peritoneal dialysis treatment at a Plan Facility                No charge                                      ✔

Durable Medical Equipment (“DME”) for home use

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Blood glucose monitors for diabetes blood testing and their supplies             20% Coinsurance                                ✔


Insulin pumps and supplies to operate the pump                                   20% Coinsurance                                ✔


Other Base DME Items as described in this EOC                                    20% Coinsurance                                ✔


Supplemental DME items as described in this EOC                                  20% Coinsurance up to
                                                                                 a $2,000 benefit limit
                                                                                                                     ✔
                                                                                 per Accumulation
                                                                                 Period


Retail-grade breast pumps                                                        No charge                                      ✔


Hospital-grade breast pumps                                                      No charge                                      ✔

Emergency and Urgent Care visits

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Emergency Department visits                                                      $250 per visit                      ✔          ✔


Urgent Care visits                                                               $30 per visit                                  ✔

Note: If you are admitted to the hospital as an inpatient from the Emergency Department, the Emergency Department visits
Cost Share above does not apply. Instead, the Services you received in the Emergency Department, including any observation
stay, if applicable, will be considered part of your inpatient hospital stay. For the Cost Share for inpatient care, please refer to
“Hospital inpatient care” in this “Cost Share Summary.” The Emergency Department Cost Share does apply if you are
admitted for observation but are not admitted as an inpatient.

Family planning Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Family planning counseling                                                       No charge                                      ✔


Group ID: 718772 Kaiser Permanente for Small Business Kaiser Permanente Gold 80 HMO 500/30 + Child Dental Alt
Contract: 1 Version: 8 EOC# 5 Effective: 12/1/2011/30/21              22
Date: December 22, 2020                                                                                                        Page 3
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                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Injectable contraceptives, internally implanted time-release                     No charge
contraceptives or intrauterine devices (“IUDs”) and office visits                                                               ✔
related to their administration and management


Female sterilization procedures if performed in an ambulatory                    No charge
                                                                                                                                ✔
surgery center or in a hospital operating room


All other female sterilization procedures                                        No charge                                      ✔


Male sterilization procedures if performed in an ambulatory surgery              $600 per procedure
                                                                                                                     ✔          ✔
center or in a hospital operating room


All other male sterilization procedures                                          $35 per visit                                  ✔


Termination of pregnancy                                                         $35 per procedure                   ✔          ✔

Fertility Services
Diagnosis and treatment of infertility

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Services for the diagnosis and treatment of infertility                          Not covered


Artificial insemination

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Services for artificial insemination                                             Not covered


Assisted reproductive technology (“ART”) Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible    OOPM


Assisted reproductive technology (“ART”) Services such as invitro                Not covered
fertilization (“IVF”), gamete intra-fallopian transfer (“GIFT”), or
zygote intrafallopian transfer (“ZIFT”)




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Health education

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Covered health education programs, which may include programs                    No charge
                                                                                                                                ✔
provided online and counseling over the phone


Individual counseling during an office visit related to smoking                  No charge
                                                                                                                                ✔
cessation


Individual counseling during an office visit related to diabetes                 No charge
                                                                                                                                ✔
management


Other covered individual counseling when the office visit is solely for No charge
                                                                                                                                ✔
health education


Covered health education materials                                               No charge                                      ✔

Hearing Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Hearing exams with an audiologist to determine the need for hearing              $30 per visit
                                                                                                                                ✔
correction


Physician Specialist Visits to diagnose and treat hearing problems               $35 per visit                                  ✔


Hearing aid(s), including, fitting, counseling, adjustment, cleaning,            Not covered
and inspection

Home health care

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Home health care Services (100 visits per Accumulation Period)                   No charge                                      ✔

Hospice care

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Hospice Services                                                                 No charge                                      ✔




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Hospital inpatient care

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Inpatient hospital stays                                                         $600 per day up to a
                                                                                 maximum of $3,000 per               ✔          ✔
                                                                                 admission

Injury to teeth

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Accidental injury to teeth                                                       Not covered


Mental health Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Inpatient mental health hospital stays                                           $600 per day up to a
                                                                                 maximum of $3,000 per               ✔          ✔
                                                                                 admission


Individual mental health evaluation and treatment                                $30 per visit                                  ✔


Group mental health treatment                                                    $15 per visit                                  ✔


Partial hospitalization                                                          No charge                           ✔          ✔


Other intensive psychiatric treatment programs                                   No charge                           ✔          ✔


Residential mental health treatment Services                                     No charge                           ✔          ✔

Office visits

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Primary Care Visits and Non-Physician Specialist Visits that are not             $30 per visit
                                                                                                                                ✔
described elsewhere in this “Cost Share Summary”


Physician Specialist Visits that are not described elsewhere in this             $35 per visit
                                                                                                                                ✔
“Cost Share Summary”




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                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Group appointments that are not described elsewhere in this “Cost                $15 per visit
                                                                                                                                ✔
Share Summary”


Acupuncture Services                                                             $30 per visit                                  ✔


House calls                                                                      No charge                                      ✔

Ostomy and urological supplies

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Ostomy and urological supplies as described in this EOC                          No charge                                      ✔

Outpatient imaging, laboratory, and other diagnostic and treatment Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Complex imaging (other than preventive) such as CT scans, MRIs,                  $300 per procedure
                                                                                                                     ✔          ✔
and PET scans


Basic imaging Services, such as diagnostic and therapeutic X-rays,               $40 per encounter
                                                                                                                                ✔
mammograms, and ultrasounds


Nuclear medicine                                                                 $40 per encounter                              ✔


Routine retinal photography screenings                                           No charge                                      ✔


Routine laboratory tests to monitor the effectiveness of dialysis                No charge                                      ✔


All other laboratory tests (including tests for specific genetic                 $20 per encounter
                                                                                                                                ✔
disorders for which genetic counseling is available)


Diagnostic Services provided by Plan Providers who are not                       $40 per encounter
                                                                                                                                ✔
physicians (such as EKGs and EEGs)


Radiation therapy                                                                No charge                                      ✔


Ultraviolet light treatments                                                     No charge                                      ✔




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Outpatient prescription drugs, supplies, and supplements
If the “Cost Share at a Plan Pharmacy” column in this section provides Cost Share for a 30-day supply and your Plan
Physician prescribes more than this, you may be able to obtain more than a 30-day supply at one time up to the day supply
limit for that drug. Applicable Cost Share will apply. For example, two 30-day copayments may be due when picking up a
60-day prescription, three copayments may be due when picking up a 100-day prescription at the pharmacy.

Most items

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Items on the generic tier not described           $15 for up to a 30-day         $30 for up to a 100-day
                                                                                                                                ✔
elsewhere in this “Cost Share Summary”            supply                         supply


Items on the brand tier not described             $50 for up to a 30-day         $100 for up to a 100-day
                                                                                                                                ✔
elsewhere in this “Cost Share Summary”            supply                         supply


Items on the specialty tier not described         20% Coinsurance (not to Availability for mail
elsewhere in this “Cost Share Summary”            exceed $250) for up to a order varies by item.
                                                                                                                                ✔
                                                  30-day supply            Talk to your local
                                                                           pharmacy

Base drugs, supplies, and supplements

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Hematopoietic agents for dialysis                 No charge for up to a          Not available
                                                                                                                                ✔
                                                  30-day supply


Elemental dietary enteral formula when            No charge for up to a          Not available
used as a primary therapy for regional            30-day supply                                                                 ✔
enteritis


All other items on the generic tier as            $15 for up to a 30-day         Availability for mail
described in this EOC                             supply                         order varies by item.
                                                                                                                                ✔
                                                                                 Talk to your local
                                                                                 pharmacy


All other items on the brand tier as              $50 for up to a 30-day         Availability for mail
described in this EOC                             supply                         order varies by item.
                                                                                                                                ✔
                                                                                 Talk to your local
                                                                                 pharmacy


All other items on the specialty tier as          20% Coinsurance (not to Availability for mail
described in this EOC                             exceed $250) for up to a order varies by item.
                                                                                                                                ✔
                                                  30-day supply            Talk to your local
                                                                           pharmacy




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Anticancer drugs and certain critical adjuncts following a diagnosis of cancer

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Oral anticancer drugs on the generic tier         $15 for up to a 30-day         Availability for mail
                                                  supply                         order varies by item.
                                                                                                                                ✔
                                                                                 Talk to your local
                                                                                 pharmacy


Oral anticancer drugs on the brand tier           $50 for up to a 30-day         Availability for mail
                                                  supply                         order varies by item.
                                                                                                                                ✔
                                                                                 Talk to your local
                                                                                 pharmacy


Oral anticancer drugs on the specialty tier       20% Coinsurance (not to Availability for mail
                                                  exceed $200) for up to a order varies by item.
                                                                                                                                ✔
                                                  30-day supply            Talk to your local
                                                                           pharmacy


Non-oral anticancer drugs on the generic          $15 for up to a 30-day         Availability for mail
tier                                              supply                         order varies by item.
                                                                                                                                ✔
                                                                                 Talk to your local
                                                                                 pharmacy


Non-oral anticancer drugs on the brand            $50 for up to a 30-day         Availability for mail
tier                                              supply                         order varies by item.
                                                                                                                                ✔
                                                                                 Talk to your local
                                                                                 pharmacy


Non-oral anticancer drugs on the specialty        20% Coinsurance (not to Availability for mail
tier                                              exceed $250) for up to a order varies by item.
                                                                                                                                ✔
                                                  30-day supply            Talk to your local
                                                                           pharmacy

Home infusion drugs

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Home infusion drugs                               No charge for up to a          Not available
                                                                                                                                ✔
                                                  30-day supply


Supplies necessary for administration of          No charge                      No charge
                                                                                                                                ✔
home infusion drugs

Home infusion drugs are self-administered intravenous drugs, fluids, additives, and nutrients that require specific types of
parenteral-infusion, such as an intravenous or intraspinal-infusion.




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Diabetes supplies and amino acid–modified products

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Amino acid–modified products used to              No charge for up to a          Not available
treat congenital errors of amino acid             30-day supply                                                                 ✔
metabolism (such as phenylketonuria)


Ketone test strips and sugar or acetone test No charge for up to a               Not available
                                                                                                                                ✔
tablets or tapes for diabetes urine testing  30-day supply


Insulin-administration devices: pen               $15 for up to a 100-day        Availability for mail
delivery devices, disposable needles and          supply                         order varies by item.
                                                                                                                                ✔
syringes, and visual aids required to                                            Talk to your local
ensure proper dosage (except eyewear)                                            pharmacy

For drugs related to the treatment of diabetes (for example, insulin), and for continuous insulin delivery devices that use
disposable items such as patches or pods, please refer to the “Most items” table above. For insulin pumps, please refer to the
“Durable Medical Equipment (“DME”) for home use” table above.

Contraceptive drugs and devices

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


The following hormonal contraceptive              No charge for up to a          No charge for up to a
items for women on the generic tier when          365-day supply                 365-day supply
prescribed by a Plan Provider:                                                   Rings are not available
 Rings                                                                          for mail order                                 ✔
 Patches
 Oral contraceptives


The following contraceptive items for             No charge for up to a          Not available
women on the generic tier when                    30-day supply
prescribed by a Plan Provider:
 Female condoms                                                                                                                ✔
 Spermicide
 Sponges


The following hormonal contraceptive              No charge for up to a          No charge for up to a
items for women on the brand tier when            365-day supply                 365-day supply
prescribed by a Plan Provider:                                                   Rings are not available
 Rings                                                                          for mail order                                 ✔
 Patches
 Oral contraceptives




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                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


The following contraceptive items for             No charge for up to a          Not available
women on the brand tier when prescribed           30-day supply
by a Plan Provider:
 Female condoms                                                                                                                ✔
 Spermicide
 Sponges


Emergency contraception                           No charge                      Not available                                  ✔


Diaphragms and cervical caps                      No charge                      Not available                                  ✔


Certain preventive items

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Items on our Preventive Services list on          No charge for up to a          Not available
our website at kp.org/prevention when             30-day supply                                                                 ✔
prescribed by a Plan Provider

Fertility and sexual dysfunction drugs

                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Drugs on the generic tier prescribed to           Not covered                    Not covered
treat infertility or in connection with
covered artificial insemination Services


Drugs on the brand and specialty tiers            Not covered                    Not covered
prescribed to treat infertility or in
connection with covered artificial
insemination Services


Drugs on the generic tier prescribed in  Not covered                             Not covered
connection with covered assisted
reproductive technology (“ART”) Services


Drugs on the brand and specialty tiers            Not covered                    Not covered
prescribed in connection with covered
assisted reproductive technology (“ART”)
Services




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                                                  Cost Share                     Cost Share                     Subject to
Description                                       at a Plan Pharmacy             by Mail                        Deductible   OOPM


Drugs on the generic tier prescribed for          $15 for up to a 30-day         $30 for up to a 100-day
                                                                                                                                ✔
sexual dysfunction disorders                      supply                         supply


Drugs on the brand and specialty tiers            $50 for up to a 30-day         $100 for up to a 100-day
prescribed for sexual dysfunction                 supply                         supply                                         ✔
disorders

Outpatient surgery and outpatient procedures

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Outpatient surgery and outpatient procedures (including imaging and              $600 per procedure
diagnostic Services) when provided in an ambulatory surgery center
or in a hospital operating room, or any setting where a licensed staff                                               ✔          ✔
member monitors your vital signs as you regain sensation after
receiving drugs to reduce sensation or minimize discomfort


Any other outpatient surgery that does not require a licensed staff              $35 per procedure
                                                                                                                                ✔
member to monitor your vital signs as described above

Preventive Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Routine physical exams, including well-woman and preventive                      No charge
                                                                                                                                ✔
exams for Members age 2 and older


Well-child preventive exams for Members through age 23 months                    No charge                                      ✔


Normal series of regularly scheduled preventive prenatal care exams              No charge
                                                                                                                                ✔
after confirmation of pregnancy


First postpartum follow-up consultation and exam                                 No charge                                      ✔


Immunizations (including the vaccine) administered to you in a Plan              No charge
                                                                                                                                ✔
Medical Office


Tuberculosis skin tests                                                          No charge                                      ✔




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                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Screening and counseling Services when provided during a routine                 No charge
physical exam or a well-child preventive exam, such as obesity
counseling, routine vision and hearing screenings, alcohol and
                                                                                                                                ✔
substance abuse screenings, health education, depression screening,
and developmental screenings to diagnose and assess potential
developmental delays


Screening colonoscopies                                                          No charge                                      ✔


Screening flexible sigmoidoscopies                                               No charge                                      ✔


Routine imaging screenings such as mammograms                                    No charge                                      ✔


Bone density CT scans                                                            No charge                                      ✔


Bone density DEXA scans                                                          No charge                                      ✔


Routine laboratory tests and screenings, such as cancer screening                No charge
tests, sexually transmitted infection (“STI”) tests, cholesterol                                                                ✔
screening tests, and glucose tolerance tests


Other laboratory screening tests, such as fecal occult blood tests and           No charge
                                                                                                                                ✔
hepatitis B screening tests

Prosthetic and orthotic devices

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Internally implanted prosthetic and orthotic devices as described in             No charge
                                                                                                                     ✔          ✔
this EOC


External prosthetic and orthotic devices as described in this EOC                No charge                                      ✔


Supplemental prosthetic and orthotic devices as described in this                No charge
                                                                                                                                ✔
EOC




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Rehabilitative and habilitative Services

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Individual outpatient physical, occupational, and speech therapy                 $30 per visit                                  ✔


Group outpatient physical, occupational, and speech therapy                      $15 per visit                                  ✔


Physical, occupational, and speech therapy provided in an organized,             $30 per day
                                                                                                                                ✔
multidisciplinary rehabilitation day-treatment program

Skilled nursing facility care

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Skilled nursing facility Services up to 100 days per benefit period*             $300 per day up to a
                                                                                 maximum of $1,500 per               ✔          ✔
                                                                                 admission

*A benefit period begins on the date you are admitted to a hospital or Skilled Nursing Facility at a skilled level of care. A
benefit period ends on the date you have not been an inpatient in a hospital or Skilled Nursing Facility, receiving a skilled
level of care, for 60 consecutive days. A new benefit period can begin only after any existing benefit period ends. A prior
three-day stay in an acute care hospital is not required.

Substance use disorder treatment

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Inpatient detoxification                                                         $600 per day up to a
                                                                                 maximum of $3,000 per               ✔          ✔
                                                                                 admission


Individual substance use disorder evaluation and treatment                       $30 per visit                                  ✔


Group substance use disorder treatment                                           $5 per visit                                   ✔


Intensive outpatient and day-treatment programs                                  $5 per day                                     ✔


Residential substance use disorder treatment                                     $100 per admission                  ✔          ✔




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Telehealth visits
Interactive video visits

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Primary Care Visits and Non-Physician Specialist Visits                          No charge                                      ✔


Physician Specialist Visits                                                      No charge                                      ✔


Scheduled telephone visits

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Primary Care Visits and Non-Physician Specialist Visits                          No charge                                      ✔


Physician Specialist Visits                                                      No charge                                      ✔

Vision Services for Adult Members

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Routine eye exams with a Plan Optometrist to determine the need for              No charge
                                                                                                                                ✔
vision correction and to provide a prescription for eyeglass lenses


Physician Specialist Visits to diagnose and treat injuries or diseases           $35 per visit
                                                                                                                                ✔
of the eye


Non-Physician Specialist Visits to diagnose and treat injuries or                $30 per visit
                                                                                                                                ✔
diseases of the eye


Aniridia lenses: up to two Medically Necessary contact lenses per eye No charge
                                                                                                                                ✔
(including fitting and dispensing) in any 12-month period


Aphakia lenses: up to six Medically Necessary aphakic contact lenses No charge
                                                                                                                                ✔
per eye (including fitting and dispensing) in any 12-month period


Low vision devices (including fitting and dispensing)                            Not covered




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Vision Services for Pediatric Members

                                                                                 Copayment /                    Subject to
Description of Services                                                          Coinsurance                    Deductible   OOPM


Routine eye exams with a Plan Optometrist to determine the need for              No charge
                                                                                                                                ✔
vision correction and to provide a prescription for eyeglass lenses


Physician Specialist Visits to diagnose and treat injuries or diseases           $35 per visit
                                                                                                                                ✔
of the eye


Non-Physician Specialist Visits to diagnose and treat injuries or                $30 per visit
                                                                                                                                ✔
diseases of the eye


Aniridia lenses: up to two Medically Necessary contact lenses per eye No charge
                                                                                                                                ✔
(including fitting and dispensing) in any 12-month period


Aphakia lenses: up to six Medically Necessary aphakic contact lenses No charge
                                                                                                                                ✔
per eye (including fitting and dispensing) in any 12-month period


Other contact lenses that will provide a significant improvement in     No charge
vision that eyeglass lenses cannot provide: either one pair of contact
lenses (including fitting and dispensing) or an initial supply of
disposable contact lenses (including fitting and dispensing) in any 12-
month period


One complete pair of eyeglasses in any 12-month period, or contact               No charge
                                                                                                                                ✔
lenses as described in this EOC, in any 12-month period


One low vision device (including fitting and dispensing) per                     No charge
                                                                                                                                ✔
Accumulation Period




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                                                                           Northern California Region or Southern California
                                                                           Region), which we call your “Home Region.” The
Introduction                                                               coverage information in this EOC applies when you
                                                                           obtain care in your Home Region. When you visit the
This Combined Evidence of Coverage and Disclosure                          other California Region, you may receive care as
Form (“EOC”) describes the health care coverage of                         described in “Receiving Care Outside of Your Home
“Kaiser Permanente for Small Business” provided under                      Region” in the “How to Obtain Services” section.
the Group Agreement (“Agreement”) between Kaiser
Foundation Health Plan, Inc. (“Health Plan”) and the
                                                                           Kaiser Permanente provides Services directly to our
entity with which Health Plan has entered into the
                                                                           Members through an integrated medical care program.
Agreement (your “Group”).
                                                                           Health Plan, Plan Hospitals, and the Medical Group
                                                                           work together to provide our Members with quality care.
This EOC is part of the Agreement between                                  Our medical care program gives you access to all of the
Health Plan and your Group. The Agreement                                  covered Services you may need, such as routine care
contains additional terms such as Premiums,                                with your own personal Plan Physician, hospital care,
when coverage can change, the effective date                               laboratory and pharmacy Services, Emergency Services,
                                                                           Urgent Care, and other benefits described in this EOC.
of coverage, and the effective date of                                     Plus, our health education programs offer you great ways
termination. The Agreement must be consulted                               to protect and improve your health.
to determine the exact terms of coverage. A
copy of the Agreement is available from your                               We provide covered Services to Members using Plan
Group.                                                                     Providers located in our Service Area, which is described
                                                                           in the “Definitions” section. You must receive all
                                                                           covered care from Plan Providers inside our Service
Once enrolled in other coverage made available through
                                                                           Area, except as described in the sections listed below for
Health Plan, that other plan’s evidence of coverage
                                                                           the following Services:
cannot be cancelled without cancelling coverage under
this EOC, unless the change is made during open                             Authorized referrals as described under “Getting a
enrollment or a special enrollment period.                                   Referral” in the “How to Obtain Services” section
                                                                            Emergency ambulance Services as described under
For benefits provided under any other program offered                        “Ambulance Services” in the “Benefits” section
by your Group (for example, workers compensation
benefits), refer to your Group’s materials.                                 Emergency Services, Post-Stabilization Care, and
                                                                             Out-of-Area Urgent Care as described in the
                                                                             “Emergency Services and Urgent Care” section
In this EOC, Health Plan is sometimes referred to as
“we” or “us.” Members are sometimes referred to as                          Hospice care as described under “Hospice Care” in
“you.” Some capitalized terms have special meaning in                        the “Benefits” section
this EOC; please see the “Definitions” section for terms                    Visiting Member Services as described under
you should know.                                                             “Receiving Care Outside of Your Home Region” in
                                                                             the “How to Obtain Services” section
It is important to familiarize yourself with your coverage
by reading this EOC completely, so that you can take full
advantage of your Health Plan benefits. Also, if you have                  Pediatric Dental Coverage
special health care needs, please carefully read the
sections that apply to you.                                                Except as described under “Dental and Orthodontic
                                                                           Services” in the “Benefits” section below, dental services
                                                                           are not covered under this EOC. Information in this
About Kaiser Permanente                                                    EOC, such as how to get care, descriptions of services
                                                                           that are covered, and how to resolve issues related to
PLEASE READ THE FOLLOWING                                                  your health care coverage, pertains only to Services
INFORMATION SO THAT YOU WILL KNOW                                          covered under this EOC.
FROM WHOM OR WHAT GROUP OF
PROVIDERS YOU MAY GET HEALTH CARE.                                         When you enroll in this Kaiser Permanente coverage,
                                                                           you are also automatically enrolling in a separate
When you join Kaiser Permanente, you are enrolling in                      pediatric dental plan underwritten by Delta Dental of
one of two Health Plan Regions in California (either our


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California, which will provide coverage of dental                          Information about renewal of pediatric dental coverage is
benefits for any children under age 19 that you enroll.                    described under “Pediatric Dental Coverage” in the
                                                                           “Introduction” section of this EOC.
These dental benefits are described in the Delta Dental
EOC/DF attached to this EOC. Please refer to this Delta
Dental EOC/DF for information about your dental
coverage, such as how to get care, and services that are
                                                                           Definitions
covered.
                                                                           Some terms have special meaning in this EOC. When we
Renewal                                                                    use a term with special meaning in only one section of
                                                                           this EOC, we define it in that section. The terms in this
Coverage of dental services benefits under the Delta
                                                                           “Definitions” section have special meaning when
Dental EOC/DF attached to this EOC will automatically
                                                                           capitalized and used in any section of this EOC.
renew upon the renewal of this EOC.
                                                                           Accumulation Period: A period of time no greater than
                                                                           12 consecutive months for purposes of accumulating
Premiums
                                                                           amounts toward any deductibles (if applicable), out-of-
Premiums due under this EOC include the dental                             pocket maximums, and benefit limits. For example, the
services underwritten by Delta Dental of California                        Accumulation Period may be a calendar year or contract
described in the attached Delta Dental EOC/DF.                             year. The Accumulation Period for this EOC is from
                                                                           January 1 through December 31.
Dispute Resolution
Delta Dental is responsible for administering and                          Adult Member: A Member who is age 19 or older and
resolving enrollee complaints, grievances and appeals                      is not a Pediatric Member. For example, if you turn 19
that concern dental services covered by the Delta Dental                   on June 25, you will be an Adult Member starting July 1.
EOC/DF. Please refer to the Delta Dental EOC/DF                            Allowance: A specified amount that you can use toward
attached to this EOC for information regarding these                       the purchase price of an item. If the price of the item(s)
complaints, grievances and appeals. Health Plan is                         you select exceeds the Allowance, you will pay the
responsible for administering and resolving any enrollee                   amount in excess of the Allowance (and that payment
complaints, grievances and appeals that concern                            will not apply toward any deductible or out-of-pocket
enrollment, premium collection and/or termination                          maximum).
relating to this pediatric dental coverage.
                                                                           Ancillary Coverage: Optional benefits such as
Termination                                                                acupuncture, chiropractic, or dental coverage that may be
                                                                           available to Members enrolled under this EOC. If your
Coverage of dental services benefits under the Delta
                                                                           plan includes Ancillary Coverage, this coverage will be
Dental EOC/DF attached to this EOC will automatically
                                                                           described in an amendment to this EOC or a separate
terminate upon the termination of this EOC (for example,
                                                                           agreement from the issuer of the coverage. Note:
if your coverage under this EOC terminates because you
                                                                           Pediatric dental coverage is not considered to be optional
lose eligibility as a Dependent, your coverage under the
                                                                           Ancillary Coverage.
Delta Dental EOC/DF will terminate at the same time).
Delta Dental will not separately terminate its dental                      Charges: “Charges” means the following:
services coverage under the Delta Dental EOC/DF. If
                                                                            For Services provided by the Medical Group or
Delta Dental stops offering the pediatric dental plan
                                                                             Kaiser Foundation Hospitals, the charges in Health
described in the Delta Dental EOC/DF during the term of
                                                                             Plan’s schedule of Medical Group and Kaiser
this EOC, we will make arrangements for the Services to
                                                                             Foundation Hospitals charges for Services provided
be provided by another pediatric dental plan and notify
                                                                             to Members
you of the arrangements.
                                                                            For Services for which a provider (other than the
                                                                             Medical Group or Kaiser Foundation Hospitals) is
Term of this EOC                                                             compensated on a capitation basis, the charges in the
                                                                             schedule of charges that Kaiser Permanente
This EOC is for the period December 1, 2020, through                         negotiates with the capitated provider
November 30, 2021, unless amended. Your Group can
tell you whether this EOC is still in effect and give you a                 For items obtained at a pharmacy owned and operated
current one if this EOC has expired or been amended.                         by Kaiser Permanente, the amount the pharmacy
                                                                             would charge a Member for the item if a Member’s
                                                                             benefit plan did not cover the item (this amount is an
                                                                             estimate of: the cost of acquiring, storing, and


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   dispensing drugs, the direct and indirect costs of                      A mental health condition is an Emergency Medical
   providing Kaiser Permanente pharmacy Services to                        Condition when it meets the requirements of the
   Members, and the pharmacy program’s contribution                        paragraph above, or when the condition manifests itself
   to the net revenue requirements of Health Plan)                         by acute symptoms of sufficient severity such that either
 For all other Services, the payments that Kaiser                         of the following is true:
  Permanente makes for the Services or, if Kaiser                           The person is an immediate danger to himself or
  Permanente subtracts your Cost Share from its                              herself or to others
  payment, the amount Kaiser Permanente would have                          The person is immediately unable to provide for, or
  paid if it did not subtract your Cost Share                                use, food, shelter, or clothing, due to the mental
Coinsurance: A percentage of Charges that you must                           disorder
pay when you receive a covered Service under this EOC.                     Emergency Services: All of the following with respect
Copayment: A specific dollar amount that you must pay                      to an Emergency Medical Condition:
when you receive a covered Service under this EOC.                          A medical screening exam that is within the
Note: The dollar amount of the Copayment can be $0                           capability of the emergency department of a hospital,
(no charge).                                                                 including ancillary services (such as imaging and
Cost Share: The amount you are required to pay for                           laboratory Services) routinely available to the
covered Services. For example, your Cost Share may be                        emergency department to evaluate the Emergency
a Copayment or Coinsurance. If your coverage includes a                      Medical Condition
Plan Deductible and you receive Services that are subject                   Within the capabilities of the staff and facilities
to the Plan Deductible, your Cost Share for those                            available at the hospital, Medically Necessary
Services will be Charges until you reach the Plan                            examination and treatment required to Stabilize the
Deductible. Similarly, if your coverage includes a Drug                      patient (once your condition is Stabilized, Services
Deductible, and you receive Services that are subject to                     you receive are Post Stabilization Care and not
the Drug Deductible, your Cost Share for those Services                      Emergency Services)
will be Charges until you reach the Drug Deductible.
                                                                           EOC: This Combined Evidence of Coverage and
Dependent: A Member who meets the eligibility                              Disclosure Form document, including any amendments,
requirements as a Dependent (for Dependent eligibility                     which describes the health care coverage of “Kaiser
requirements, see “Who Is Eligible” in the “Premiums,                      Permanente for Small Business” under Health Plan’s
Eligibility, and Enrollment” section).                                     Agreement with your Group.
Disclosure Form (“DF”): A summary of coverage for                          Family: A Subscriber and all of his or her Dependents.
prospective Members. For some products, the DF is
combined with the evidence of coverage.                                    Group: The entity with which Health Plan has entered
                                                                           into the Agreement that includes this EOC.
Drug Deductible: The amount you must pay under this
EOC in the Accumulation Period for certain drugs,                          Health Plan: Kaiser Foundation Health Plan, Inc., a
supplies, and supplements before we will cover those                       California nonprofit corporation. Health Plan is a health
Services at the applicable Copayment or Coinsurance in                     care service plan licensed to offer health care coverage
that Accumulation Period. Please refer to the “Cost Share                  by the Department of Managed Health Care. This EOC
Summary” section to learn whether your coverage                            sometimes refers to Health Plan as “we” or “us.”
includes a Drug Deductible, the Services that are subject                  Home Region: The Region where you enrolled (either
to the Drug Deductible, and the Drug Deductible                            the Northern California Region or the Southern
amount.                                                                    California Region).
Emergency Medical Condition: A medical condition                           Kaiser Permanente: Kaiser Foundation Hospitals (a
manifesting itself by acute symptoms of sufficient                         California nonprofit corporation), Health Plan, and the
severity (including severe pain) such that you reasonably                  Medical Group.
believed that the absence of immediate medical attention
would result in any of the following:                                      Medical Group: The Permanente Medical Group, Inc., a
                                                                           for-profit professional corporation.
 Placing the person’s health (or, with respect to a
  pregnant woman, the health of the woman or her                           Medically Necessary: A Service is Medically Necessary
  unborn child) in serious jeopardy                                        if it is medically appropriate and required to prevent,
                                                                           diagnose, or treat your condition or clinical symptoms in
 Serious impairment to bodily functions                                   accord with generally accepted professional standards of
 Serious dysfunction of any bodily organ or part

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practice that are consistent with a standard of care in the                Please refer to the “Cost Share Summary” section to
medical community.                                                         learn whether your coverage includes a Plan Deductible,
                                                                           the Services that are subject to the Plan Deductible, and
Medicare: The federal health insurance program for
                                                                           the Plan Deductible amount.
people 65 years of age or older, some people under age
65 with certain disabilities, and people with end-stage                    Plan Facility: Any facility listed in the Provider
renal disease (generally those with permanent kidney                       Directory on our website at kp.org/facilities. Plan
failure who need dialysis or a kidney transplant).                         Facilities include Plan Hospitals, Plan Medical Offices,
                                                                           and other facilities that we designate in the directory.
Member: A person who is eligible and enrolled under
                                                                           The directory is updated periodically. The availability of
this EOC, and for whom we have received applicable
                                                                           Plan Facilities may change. If you have questions, please
Premiums. This EOC sometimes refers to a Member as
                                                                           call our Member Service Contact Center.
“you.”
                                                                           Plan Hospital: Any hospital listed in the Provider
Non-Physician Specialist Visits: Consultations,
                                                                           Directory on our website at kp.org/facilities. In the
evaluations, and treatment by non-physician specialists
                                                                           directory, some Plan Hospitals are listed as Kaiser
(such as nurse practitioners, physician assistants,
                                                                           Permanente Medical Centers. The directory is updated
optometrists, podiatrists, and audiologists). For Services
                                                                           periodically. The availability of Plan Hospitals may
described under “Dental and Orthodontic Services” in
                                                                           change. If you have questions, please call our Member
the “Benefits” section, non-physician specialists include
                                                                           Service Contact Center.
dentists and orthodontists.
                                                                           Plan Medical Office: Any medical office listed in the
Non–Plan Hospital: A hospital other than a Plan
                                                                           Provider Directory on our website at kp.org/facilities. In
Hospital.
                                                                           the directory, Kaiser Permanente Medical Centers may
Non–Plan Physician: A physician other than a Plan                          include Plan Medical Offices. The directory is updated
Physician.                                                                 periodically. The availability of Plan Medical Offices
                                                                           may change. If you have questions, please call our
Non–Plan Provider: A provider other than a Plan
                                                                           Member Service Contact Center.
Provider.
                                                                           Plan Optical Sales Office: An optical sales office
Non–Plan Psychiatrist: A psychiatrist who is not a Plan
                                                                           owned and operated by Kaiser Permanente or another
Physician.
                                                                           optical sales office that we designate. Refer to the
Out-of-Area Urgent Care: Medically Necessary                               Provider Directory on our website at kp.org/facilities for
Services to prevent serious deterioration of your (or your                 locations of Plan Optical Sales Offices. In the directory,
unborn child’s) health resulting from an unforeseen                        Plan Optical Sales Offices may be called “Vision
illness, unforeseen injury, or unforeseen complication of                  Essentials.” The directory is updated periodically. The
an existing condition (including pregnancy) if all of the                  availability of Plan Optical Sales Offices may change. If
following are true:                                                        you have questions, please call our Member Service
 You are temporarily outside our Service Area                             Contact Center.

 A reasonable person would have believed that your                        Plan Optometrist: An optometrist who is a Plan
  (or your unborn child’s) health would seriously                          Provider.
  deteriorate if you delayed treatment until you returned                  Plan Out-of-Pocket Maximum: The total amount of
  to our Service Area                                                      Cost Share you must pay under this EOC in the
Pediatric Member: A Member from birth through the                          Accumulation Period for certain covered Services that
end of the month of his or her 19th birthday. For                          you receive in the same Accumulation Period. Please
example, if you turn 19 on June 25, you will be an Adult                   refer to the “Cost Share Summary” section to find your
Member starting July 1 and your last minute as a                           Plan Out-of-Pocket Maximum amount and to learn
Pediatric Member will be 11:59 p.m. on June 30.                            which Services apply to the Plan Out-of-Pocket
                                                                           Maximum.
Physician Specialist Visits: Consultations, evaluations,
and treatment by physician specialists, including                          Plan Pharmacy: A pharmacy owned and operated by
personal Plan Physicians who are not Primary Care                          Kaiser Permanente or another pharmacy that we
Physicians.                                                                designate. Refer to the Provider Directory on our website
                                                                           at kp.org/facilities for locations of Plan Pharmacies. The
Plan Deductible: The amount you must pay under this                        directory is updated periodically. The availability of Plan
EOC in the Accumulation Period for certain Services                        Pharmacies may change. If you have questions, please
before we will cover those Services at the applicable                      call our Member Service Contact Center.
Copayment or Coinsurance in that Accumulation Period.

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Plan Physician: Any licensed physician who is an                           have questions, please call our Member Service Contact
employee of the Medical Group, or any licensed                             Center.
physician who contracts to provide Services to Members
                                                                           Region: A Kaiser Foundation Health Plan organization
(but not including physicians who contract only to
                                                                           or allied plan that conducts a direct-service health care
provide referral Services).
                                                                           program. Regions may change on January 1 of each year
Plan Provider: A Plan Hospital, a Plan Physician, the                      and are currently the District of Columbia and parts of
Medical Group, a Plan Pharmacy, or any other health                        Northern California, Southern California, Colorado,
care provider that Health Plan designates as a Plan                        Georgia, Hawaii, Idaho, Maryland, Oregon, Virginia,
Provider.                                                                  and Washington. For the current list of Region locations,
                                                                           please visit our website at kp.org or call our Member
Plan Skilled Nursing Facility: A Skilled Nursing
                                                                           Service Contact Center.
Facility approved by Health Plan.
                                                                           Serious Emotional Disturbance of a Child Under Age
Post-Stabilization Care: Medically Necessary Services
                                                                           18: A condition identified as a “mental disorder” in the
related to your Emergency Medical Condition that you
                                                                           most recent edition of the Diagnostic and Statistical
receive in a hospital (including the Emergency
                                                                           Manual of Mental Disorders, other than a primary
Department) after your treating physician determines that
                                                                           substance use disorder or developmental disorder, that
this condition is Stabilized.
                                                                           results in behavior inappropriate to the child’s age
Premiums: The periodic amounts that your Group is                          according to expected developmental norms, if the child
responsible for paying for your membership under this                      also meets at least one of the following three criteria:
EOC, except that you are responsible for paying                             As a result of the mental disorder, (1) the child has
Premiums if you have Cal-COBRA coverage. “Full                               substantial impairment in at least two of the following
Premiums” means 100 percent of Premiums for all of the                       areas: self-care, school functioning, family
coverage issued to each enrolled Member, as set forth in                     relationships, or ability to function in the community;
the “Premiums” section of Health Plan’s Agreement with                       and (2) either (a) the child is at risk of removal from
your Group.                                                                  the home or has already been removed from the
Preventive Services: Covered Services that prevent or                        home, or (b) the mental disorder and impairments
detect illness and do one or more of the following:                          have been present for more than six months or are
                                                                             likely to continue for more than one year without
 Protect against disease and disability or further
                                                                             treatment
  progression of a disease
                                                                            The child displays psychotic features, or risk of
 Detect disease in its earliest stages before noticeable
                                                                             suicide or violence due to a mental disorder
  symptoms develop
                                                                            The child meets special education eligibility
Primary Care Physicians: Generalists in internal                             requirements under Section 5600.3(a)(2)(C) of the
medicine, pediatrics, and family practice, and specialists                   Welfare and Institutions Code
in obstetrics/gynecology whom the Medical Group
designates as Primary Care Physicians. Refer to the                        Service Area: The ZIP codes below for each county are
Provider Directory on our website at kp.org for a list of                  in our Service Area:
physicians that are available as Primary Care Physicians.                   All ZIP codes in Alameda County are inside our
The directory is updated periodically. The availability of                   Service Area: 94501-02, 94505, 94514, 94536-46,
Primary Care Physicians may change. If you have                              94550-52, 94555, 94557, 94560, 94566, 94568,
questions, please call our Member Service Contact                            94577-80, 94586-88, 94601-15, 94617-21, 94622-24,
Center.                                                                      94649, 94659-62, 94666, 94701-10, 94712, 94720,
Primary Care Visits: Evaluations and treatment                               95377, 95391
provided by Primary Care Physicians and primary care                        The following ZIP codes in Amador County are
Plan Providers who are not physicians (such as nurse                         inside our Service Area: 95640, 95669
practitioners).
                                                                            All ZIP codes in Contra Costa County are inside our
Provider Directory: A directory of Plan Physicians and                       Service Area: 94505-07, 94509, 94511, 94513-14,
Plan Facilities in your Home Region. This directory is                       94516-31, 94547-49, 94551, 94553, 94556, 94561,
available on our website at kp.org/facilities. To obtain a                   94563-65, 94569-70, 94572, 94575, 94582-83,
printed copy, call our Member Service Contact Center.                        94595-98, 94706-08, 94801-08, 94820, 94850
The directory is updated periodically. The availability of
                                                                            The following ZIP codes in El Dorado County are
Plan Physicians and Plan Facilities may change. If you
                                                                             inside our Service Area: 95613-14, 95619, 95623,


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   95633-35, 95651, 95664, 95667, 95672, 95682,                               94025-28, 94030, 94037-38, 94044, 94060-66,
   95762                                                                      94070, 94074, 94080, 94083, 94128, 94303, 94401-
 The following ZIP codes in Fresno County are inside                         04, 94497
  our Service Area: 93242, 93602, 93606-07, 93609,                          The following ZIP codes in Santa Clara County are
  93611-13, 93616, 93618-19, 93624-27, 93630-31,                             inside our Service Area: 94022-24, 94035, 94039-43,
  93646, 93648-52, 93654, 93656-57, 93660, 93662,                            94085-89, 94301-06, 94309, 94550, 95002, 95008-
  93667-68, 93675, 93701-12, 93714-18, 93720-30,                             09, 95011, 95013-15, 95020-21, 95026, 95030-33,
  93737, 93740-41, 93744-45, 93747, 93750, 93755,                            95035-38, 95042, 95044, 95046, 95050-56, 95070-
  93760-61, 93764-65, 93771-79, 93786, 93790-94,                             71, 95076, 95101, 95103, 95106, 95108-13, 95115-
  93844, 93888                                                               36, 95138-41, 95148, 95150-61, 95164, 95170,
 The following ZIP codes in Kings County are inside                         95172-73, 95190-94, 95196
  our Service Area: 93230, 93232, 93242, 93631,                             All ZIP codes in Santa Cruz County are inside our
  93656                                                                      Service Area: 95001, 95003, 95005-7, 95010, 95017-
 The following ZIP codes in Madera County are inside                        19, 95033, 95041, 95060-67, 95073, 95076-77
  our Service Area: 93601-02, 93604, 93614, 93623,                          All ZIP codes in Solano County are inside our
  93626, 93636-39, 93643-45, 93653, 93669, 93720                             Service Area: 94503, 94510, 94512, 94533-35,
 All ZIP codes in Marin County are inside our Service                       94571, 94585, 94589-92, 95616, 95618, 95620,
  Area: 94901, 94903-04, 94912-15, 94920, 94924-25,                          95625, 95687-88, 95690, 95694, 95696
  94929-30, 94933, 94937-42, 94945-50, 94956-57,                            The following ZIP codes in Sonoma County are
  94960, 94963-66, 94970-71, 94973-74, 94976-79                              inside our Service Area: 94515, 94922-23, 94926-28,
 The following ZIP codes in Mariposa County are                             94931, 94951-55, 94972, 94975, 94999, 95401-07,
  inside our Service Area: 93601, 93623, 93653                               95409, 95416, 95419, 95421, 95425, 95430-31,
                                                                             95433, 95436, 95439, 95441-42, 95444, 95446,
 All ZIP codes in Napa County are inside our Service                        95448, 95450, 95452, 95462, 95465, 95471-73,
  Area: 94503, 94508, 94515, 94558-59, 94562, 94567,                         95476, 95486-87, 95492
  94573-74, 94576, 94581, 94599, 95476
                                                                            All ZIP codes in Stanislaus County are inside our
 The following ZIP codes in Placer County are inside                        Service Area: 95230, 95304, 95307, 95313, 95316,
  our Service Area: 95602-04, 95610, 95626, 95648,                           95319, 95322-23, 95326, 95328-29, 95350-58,
  95650, 95658, 95661, 95663, 95668, 95677-78,                               95360-61, 95363, 95367-68, 95380-82, 95385-87,
  95681, 95703, 95722, 95736, 95746-47, 95765                                95397
 All ZIP codes in Sacramento County are inside our                         The following ZIP codes in Sutter County are inside
  Service Area: 94203-09, 94211, 94229-30, 94232,                            our Service Area: 95626, 95645, 95659, 95668,
  94234-37, 94239-40, 94244, 94247-50, 94252,                                95674, 95676, 95692, 95836-37
  94254, 94256-59, 94261-63, 94267-69, 94271,
  94273-74, 94277-80, 94282-85, 94287-91, 94293-98,                         The following ZIP codes in Tulare County are inside
  94571, 95608-11, 95615, 95621, 95624, 95626,                               our Service Area: 93618, 93631, 93646, 93654,
  95628, 95630, 95632, 95638-39, 95641, 95652,                               93666, 93673
  95655, 95660, 95662, 95670-71, 95673, 95678,                              The following ZIP codes in Yolo County are inside
  95680, 95683, 95690, 95693, 95741-42, 95757-59,                            our Service Area: 95605, 95607, 95612, 95615-18,
  95763, 95811-38, 95840-43, 95851-53, 95860,                                95645, 95691, 95694-95, 95697-98, 95776, 95798-99
  95864-67, 95894, 95899                                                    The following ZIP codes in Yuba County are inside
 All ZIP codes in San Francisco County are inside our                       our Service Area: 95692, 95903, 95961
  Service Area: 94102-05, 94107-12, 94114-27, 94129-
                                                                           For each ZIP code listed for a county, our Service Area
  34, 94137, 94139-47, 94151, 94158-61, 94163-64,
                                                                           includes only the part of that ZIP code that is in that
  94172, 94177, 94188
                                                                           county. When a ZIP code spans more than one county,
 All ZIP codes in San Joaquin County are inside our                       the part of that ZIP code that is in another county is not
  Service Area: 94514, 95201-15, 95219-20, 95227,                          inside our Service Area unless that other county is listed
  95230-31, 95234, 95236-37, 95240-42, 95253,                              above and that ZIP code is also listed for that other
  95258, 95267, 95269, 95296-97, 95304, 95320,                             county.
  95330, 95336-37, 95361, 95366, 95376-78, 95385,
  95391, 95632, 95686, 95690                                               If you have a question about whether a ZIP code is in our
                                                                           Service Area, please call our Member Service Contact
 All ZIP codes in San Mateo County are inside our                         Center.
  Service Area: 94002, 94005, 94010-11, 94014-21,

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Note: We may expand our Service Area at any time by                        Subscriber (for Subscriber eligibility requirements, see
giving written notice to your Group. ZIP codes are                         “Who Is Eligible” in the “Premiums, Eligibility, and
subject to change by the U.S. Postal Service.                              Enrollment” section).
Services: Health care services or items (“health care”                     Telehealth Visits: Interactive video visits and scheduled
includes both physical health care and mental health                       telephone visits between you and your provider.
care), behavioral health treatment covered under
                                                                           Urgent Care: Medically Necessary Services for a
“Behavioral Health Treatment for Pervasive
                                                                           condition that requires prompt medical attention but is
Developmental Disorder or Autism” in the “Benefits”
                                                                           not an Emergency Medical Condition.
section, and services to treat Serious Emotional
Disturbance of a Child Under Age 18 or Severe Mental
Illness.
Severe Mental Illness: The following mental disorders:
                                                                           Premiums, Eligibility, and
schizophrenia, schizoaffective disorder, bipolar disorder                  Enrollment
(manic-depressive illness), major depressive disorders,
panic disorder, obsessive-compulsive disorder, pervasive                   Premiums
developmental disorder or autism, anorexia nervosa, or
bulimia nervosa.                                                           Your Group is responsible for paying Full Premiums,
                                                                           except that you are responsible for paying Full Premiums
Skilled Nursing Facility: A facility that provides
                                                                           as described in the “Continuation of Membership”
inpatient skilled nursing care, rehabilitation services, or
                                                                           section if you have Cal-COBRA coverage under this
other related health services and is licensed by the state
                                                                           EOC. If you are responsible for any contribution to the
of California. The facility’s primary business must be the
                                                                           Premiums that your Group pays, your Group will tell you
provision of 24-hour-a-day licensed skilled nursing care.
                                                                           the amount, when Premiums are effective, and how to
The term “Skilled Nursing Facility” does not include
                                                                           pay your Group (through payroll deduction, for
convalescent nursing homes, rest facilities, or facilities
                                                                           example).
for the aged, if those facilities furnish primarily custodial
care, including training in routines of daily living. A
“Skilled Nursing Facility” may also be a unit or section                   Who Is Eligible
within another facility (for example, a hospital) as long
as it continues to meet this definition.                                   To enroll and to continue enrollment, you must meet all
Spouse: The person to whom the Subscriber is legally                       of the eligibility requirements described in this “Who Is
married under applicable law. For the purposes of this                     Eligible” section, including Covered California
EOC, the term “Spouse” includes the Subscriber’s                           eligibility requirements, your Group’s eligibility
domestic partner. “Domestic partners” are two people                       requirements and our Service Area eligibility
who are registered and legally recognized as domestic                      requirements.
partners by California (if your Group allows enrollment
of domestic partners not legally recognized as domestic                    Covered California for Small Business (“CCSB”)
partners by California, “Spouse” also includes the                         eligibility requirements
Subscriber’s domestic partner who meets your Group’s                       If your coverage is through CCSB, you must meet
eligibility requirements for domestic partners).                           eligibility requirements established by CCSB.
                                                                           Information regarding eligibility requirements and how
Stabilize: To provide the medical treatment of the                         to appeal eligibility determinations can be found in the
Emergency Medical Condition that is necessary to                           “Kaiser Permanente group service agreement” on
assure, within reasonable medical probability, that no                     Covered California’s website at
material deterioration of the condition is likely to result                CoveredCA.com/forsmallbusiness/. Questions about
from or occur during the transfer of the person from the                   CCSB eligibility requirements should be directed to
facility. With respect to a pregnant woman who is having                   CCSB. If your coverage is through CCSB, the EOC
contractions, when there is inadequate time to safely                      cover will say that the plan is for Covered California for
transfer her to another hospital before delivery (or the                   Small Business.
transfer may pose a threat to the health or safety of the
woman or unborn child), “Stabilize” means to deliver                       Group eligibility requirements
(including the placenta).
                                                                           You must meet your Group’s eligibility requirements,
Subscriber: A Member who is eligible for membership                        such as the minimum number of hours that employees
on his or her own behalf and not by virtue of Dependent                    must work. Your Group is required to inform Subscribers
status and who meets the eligibility requirements as a                     of its eligibility requirements.


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Service Area eligibility requirements                                         Internal Revenue Service considers you self-
The “Definitions” section describes our Service Area and                      employed)
how it may change.
                                                                           Newborn coverage
Subscribers must live or work inside our Service Area at                   If you are already enrolled under this EOC and have a
the time they enroll. If after enrollment the Subscriber no                baby, your newborn will automatically be covered for 31
longer lives or works inside our Service Area, the                         days from the date of birth. If you do not enroll the
Subscriber can continue membership unless (1) he or she                    newborn within 60 days, he or she is covered for only 31
lives inside or moves to the service area of another                       days (including the date of birth).
Region and does not work inside our Service Area, or (2)
your Group does not allow continued enrollment of                          Eligibility as a Dependent
Subscribers who do not live or work inside our Service
                                                                           Enrolling a Dependent. Dependent eligibility is subject
Area.
                                                                           to your Group’s eligibility requirements, which are not
                                                                           described in this EOC. You can obtain your Group’s
Dependent children of the Subscriber or of the
                                                                           eligibility requirements directly from your Group. If you
Subscriber’s Spouse may live anywhere inside or outside                    are a Subscriber under this EOC and if your Group
our Service Area. Other Dependents may live anywhere,                      allows enrollment of Dependents, Health Plan allows the
except that they are not eligible to enroll or to continue                 following persons to enroll as your Dependents under
enrollment if they live in or move to the service area of                  this EOC:
another Region.
                                                                            Your Spouse
If you are not eligible to continue enrollment because                      Your or your Spouse’s Dependent children, who meet
you live in or move to the service area of another                           the requirements described under “Age limit of
Region, please contact your Group to learn about your                        Dependent children,” if they are any of the following:
Group health care options:
                                                                               sons, daughters, or stepchildren
 Regions outside California. You may be able to                               adopted children
  enroll in the service area of another Region if there is
  an agreement between your Group and that Region,                             children placed with you for adoption
  but the plan, including coverage, premiums, and                              children for whom you or your Spouse is the
  eligibility requirements, might not be the same as                            court-appointed guardian (or was when the child
  under this EOC                                                                reached age 18)
 Southern California Region’s service area. Your                           Children whose parent is a Dependent under your
  Group may have an arrangement with us that permits                         family coverage (including adopted children and
  membership in the Southern California Region, but                          children placed with your Dependent for adoption) if
  the plan, including coverage, premiums, and                                they meet all of the following requirements:
  eligibility requirements, might not be the same as                           they are not married and do not have a domestic
  under this EOC. All terms and conditions in your                              partner (for the purposes of this requirement only,
  application for enrollment in the Northern California                         “domestic partner” means someone who is
  Region, including the Arbitration Agreement, will                             registered and legally recognized as a domestic
  continue to apply if the Subscriber does not submit a                         partner by California)
  new enrollment form
                                                                               they meet the requirements described under “Age
                                                                                limit of Dependent children”
For more information about the service areas of the other
Regions, please call our Member Service Contact Center.                        they receive all of their support and maintenance
                                                                                from you or your Spouse
Eligibility as a Subscriber                                                    they permanently reside with you or your Spouse
You may be eligible to enroll and continue enrollment as                    Children placed with the Subscriber or Spouse for
a Subscriber if you are:                                                     foster care who enroll during a special enrollment
 An employee of your Group                                                  period triggered by the placement of that child in
                                                                             foster care
 A proprietor or partner of your Group
 Otherwise entitled to coverage under a trust                             Age limit of Dependent children. Children must be
  agreement or employment contract (unless the                             under age 26 to enroll as a Dependent under your plan.



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Dependent children are eligible to remain on the plan                         Dependent continues to be eligible as a disabled
through the end of the month in which they reach the age                      dependent
limit.                                                                      If the child is not a Member because you are changing
                                                                             coverage, you must give us proof, within 60 days
Dependent children of the Subscriber or Spouse                               after we request it, of the child’s incapacity and
(including adopted children and children placed with you                     dependency as well as proof of the child’s coverage
for adoption) who reach the age limit may continue                           under your prior coverage. In the future, you must
coverage under this EOC if all of the following                              provide proof of the child’s continued incapacity and
conditions are met:                                                          dependency within 60 days after you receive our
 They meet all requirements to be a Dependent except                        request, but not more frequently than annually
  for the age limit
 Your Group permits enrollment of Dependents                              If the Subscriber is enrolled under a Kaiser
                                                                           Permanente Medicare plan. The dependent eligibility
 They are incapable of self-sustaining employment                         rules described in the “Eligibility as a Dependent”
  because of a physically- or mentally-disabling injury,                   section also apply if you are a subscriber under a Kaiser
  illness, or condition that occurred before they reached                  Permanente Medicare plan offered by your Group
  the age limit for Dependents                                             (please ask your Group about your membership options).
 They receive 50 percent or more of their support and                     All of your dependents who are enrolled under this or
  maintenance from you or your Spouse                                      any other non-Medicare evidence of coverage offered by
                                                                           your Group must be enrolled under the same non-
 You give us proof of their incapacity and dependency
                                                                           Medicare evidence of coverage. A “non-Medicare”
  within 60 days after we request it (see “Disabled
                                                                           evidence of coverage is one that does not require
  Dependent certification” below in this “Eligibility as
                                                                           members to have Medicare.
  a Dependent” section)
                                                                           Persons barred from enrolling
Disabled Dependent certification. One of the
                                                                           You cannot enroll if you have had your entitlement to
requirements for a Dependent to be eligible to continue
                                                                           receive Services through Health Plan terminated for
coverage as a disabled Dependent is that the Subscriber
                                                                           cause.
must provide us documentation of the dependent’s
incapacity and dependency as follows:
                                                                           Members with Medicare and retirees
 If the child is a Member, we will send the Subscriber                    This EOC is not intended for retirees and most Medicare
  a notice of the Dependent’s membership termination                       beneficiaries. If, during the term of this EOC, you are (or
  due to loss of eligibility at least 90 days before the                   become) eligible for Medicare or you retire, the
  date coverage will end due to reaching the age limit.                    following will apply:
  The Dependent’s membership will terminate as
  described in our notice unless the Subscriber provides                    If you are the Subscriber and you retire, membership
  us documentation of the Dependent’s incapacity and                         under this EOC will be terminated and you may be
  dependency within 60 days of receipt of our notice                         eligible to continue membership as described in the
  and we determine that the Dependent is eligible as a                       “Continuation of Membership” section
  disabled dependent. If the Subscriber provides us this                    If federal law requires that your Group’s health care
  documentation in the specified time period and we do                       coverage be primary and Medicare coverage be
  not make a determination about eligibility before the                      secondary, your coverage under this EOC will be the
  termination date, coverage will continue until we                          same as it would be if you had not become eligible for
  make a determination. If we determine that the                             Medicare. However, you may also be eligible to
  Dependent does not meet the eligibility requirements                       enroll in Kaiser Permanente Senior Advantage
  as a disabled dependent, we will notify the Subscriber                     through your Group if you have Medicare Part B
  that the Dependent is not eligible and let the
                                                                            If none of the above applies to you and you are
  Subscriber know the membership termination date. If
                                                                             eligible for Medicare please ask your Group about
  we determine that the Dependent is eligible as a
                                                                             your membership options.
  disabled dependent, there will be no lapse in
  coverage. Also, starting two years after the date that
                                                                           When Medicare is secondary. Medicare is the primary
  the Dependent reached the age limit, the Subscriber
                                                                           coverage except when federal law requires that your
  must provide us documentation of the Dependent’s
                                                                           Group’s health care coverage be primary and Medicare
  incapacity and dependency annually within 60 days
                                                                           coverage be secondary. Members who have Medicare
  after we request it so that we can determine if the
                                                                           when Medicare is secondary by law are subject to the

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same Premiums and receive the same benefits as                             New employees
Members who are under age 65 and do not have                               When your Group informs you that you are eligible to
Medicare. In addition, any such Member for whom                            enroll as a Subscriber, you may enroll yourself and any
Medicare is secondary by law and who meets the                             eligible Dependents by submitting a Health Plan–
eligibility requirements for the Kaiser Permanente Senior                  approved enrollment application to your Group within 31
Advantage plan applicable when Medicare is secondary                       days.
may also enroll in that plan if it is available. These
Members receive the benefits and coverage described in                     Effective date of coverage. The effective date of
this EOC and the Kaiser Permanente Senior Advantage                        coverage for new employees and their eligible family
evidence of coverage applicable when Medicare is                           Dependents is determined by your Group in accord with
secondary.                                                                 waiting period requirements in state and federal law.
                                                                           Your Group is required to inform the Subscriber of the
Medicare late enrollment penalties                                         date your membership becomes effective. For example,
If you become eligible for Medicare Part B and do not                      if the hire date of an otherwise-eligible employee is
enroll, Medicare may require you to pay a late                             January 19, the waiting period begins on January 19 and
enrollment penalty if you later enroll in Medicare Part B.                 the effective date of coverage cannot be any later than
However, if you delay enrollment in Part B because you                     April 19. Note: Because the effective date of your
or your spouse are still working and have coverage                         Group’s coverage is always on the first day of the month,
through an employer group health plan, you may not                         in this example the effective date cannot be any later
have to pay the penalty. Also, if you are (or become)                      than April 1.
eligible for Medicare and go without creditable
prescription drug coverage (drug coverage that is at least                 Open enrollment
as good as the standard Medicare Part D prescription                       You may enroll as a Subscriber (along with any eligible
drug coverage) for a continuous period of 63 days or                       Dependents), and existing Subscribers may add eligible
more, you may have to pay a late enrollment penalty if                     Dependents, by submitting a Health Plan–approved
you later sign up for Medicare prescription drug                           enrollment application to your Group during your
coverage. If you are (or become) eligible for Medicare,                    Group’s open enrollment period. Your Group will let you
your Group is responsible for informing you about                          know when the open enrollment period begins and ends
whether your drug coverage under this EOC is creditable                    and the effective date of coverage.
prescription drug coverage at the times required by the
Centers for Medicare & Medicaid Services and upon                          Special enrollment
your request.                                                              If you do not enroll when you are first eligible and later
                                                                           want to enroll, you can enroll only during open
When You Can Enroll and When                                               enrollment unless one of the following is true:
Coverage Begins                                                             You become eligible because you experience a
                                                                             qualifying event (sometimes called a “triggering
Your Group is required to inform you when you are                            event”) as described in this “Special enrollment”
eligible to enroll and what your effective date of                           section
coverage is. If you are eligible to enroll as described                     You did not enroll in any coverage offered by your
under “Who Is Eligible” in this “Premiums, Eligibility,                      Group when you were first eligible and your Group
and Enrollment” section, enrollment is permitted as                          does not give us a written statement that verifies you
described below and membership begins at the beginning                       signed a document that explained restrictions about
(12:00 a.m.) of the effective date of coverage indicated                     enrolling in the future. The effective date of an
below, except that your Group may have additional                            enrollment resulting from this provision is no later
requirements, which allow enrollment in other situations.                    than the first day of the month following the date your
                                                                             Group receives a Health Plan–approved enrollment or
If you are eligible to be a Dependent under this EOC but                     change of enrollment application from the Subscriber
the subscriber in your family is enrolled under a Kaiser
Permanente Senior Advantage evidence of coverage                           Special enrollment due to new Dependents. You may
offered by your Group, the rules for enrollment of                         enroll as a Subscriber (along with eligible Dependents),
Dependents in this “When You Can Enroll and When                           and existing Subscribers may add eligible Dependents,
Coverage Begins” section apply, not the rules for                          within 60 days after marriage, establishment of domestic
enrollment of dependents in the subscriber’s evidence of                   partnership, birth, adoption, placement for adoption, or
coverage.



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placement for foster care by submitting to your Group a                    Special enrollment due to court or administrative
Health Plan–approved enrollment application.                               order. Within 60 days after the date of a court or
                                                                           administrative order requiring a Subscriber to provide
The effective date of an enrollment resulting from                         health care coverage for a Spouse or child who meets the
marriage or establishment of domestic partnership is no                    eligibility requirements as a Dependent, the Subscriber
later than the first day of the month following the date                   may add the Spouse or child as a Dependent by
your Group receives an enrollment application from the                     submitting to your Group a Health Plan–approved
Subscriber. Enrollments due to birth, adoption,                            enrollment or change of enrollment application.
placement for adoption, or placement for foster care are
effective on the date of birth, date of adoption, or the                   The effective date of coverage resulting from a court or
date you or your Spouse have newly assumed a legal                         administrative order is the first of the month following
right to control health care.                                              the date we receive the enrollment request, unless your
                                                                           Group specifies a different effective date (if your Group
Special enrollment due to loss of other coverage. You                      specifies a different effective date, the effective date
may enroll as a Subscriber (along with any eligible                        cannot be earlier than the date of the order).
Dependents), and existing Subscribers may add eligible
Dependents, if all of the following are true:                              Special enrollment due to eligibility for premium
 The Subscriber or at least one of the Dependents had                     assistance. You may enroll as a Subscriber (along with
  other coverage when he or she previously declined all                    eligible Dependents), and existing Subscribers may add
  coverage through your Group                                              eligible Dependents, if you or a dependent become
                                                                           eligible for premium assistance through the Medi-Cal
 The loss of the other coverage is due to one of the                      program. Premium assistance is when the Medi-Cal
  following:                                                               program pays all or part of premiums for employer group
    exhaustion of COBRA coverage                                          coverage for a Medi-Cal beneficiary. To request
    termination of employer contributions for non-                        enrollment in your Group’s health care coverage, the
     COBRA coverage                                                        Subscriber must submit a Health Plan–approved
                                                                           enrollment or change of enrollment application to your
    loss of eligibility for non-COBRA coverage, but                       Group within 60 days after you or a dependent become
     not termination for cause or termination from an                      eligible for premium assistance. Please contact the
     individual (nongroup) plan for nonpayment. For                        California Department of Health Care Services to find
     example, this loss of eligibility may be due to legal                 out if premium assistance is available and the eligibility
     separation or divorce, moving out of the plan’s                       requirements.
     service area, reaching the age limit for dependent
     children, or the subscriber’s death, termination of                   Special enrollment due to reemployment after
     employment, or reduction in hours of employment                       military service. If you terminated your health care
    loss of eligibility (but not termination for cause)                   coverage because you were called to active duty in the
     for coverage through Covered California,                              military service, you may be able to reenroll in your
     Medicaid coverage (known as Medi-Cal in                               Group’s health plan if required by state or federal law.
     California), Children’s Health Insurance Program                      Please ask your Group for more information.
     coverage, or Medi-Cal Access Program coverage
    reaching a lifetime maximum on all benefits                           Other special enrollment events. You may enroll as a
                                                                           Subscriber (along with any eligible Dependents) if you
Note: If you are enrolling yourself as a Subscriber along                  or your Dependents were not previously enrolled, and
with at least one eligible Dependent, only one of you                      existing Subscribers may add eligible Dependents not
must meet the requirements stated above.                                   previously enrolled, if any of the following are true:
                                                                            You lose minimum essential coverage (for a reason
To request enrollment, the Subscriber must submit a                          other than nonpayment of Premiums, termination for
Health Plan–approved enrollment or change of                                 cause, or rescission of coverage):
enrollment application to your Group within 60 days                            you lose your group health plan coverage (for
after loss of other coverage. The effective date of an                          example, you lose eligibility as a subscriber
enrollment resulting from loss of other coverage is no                          because you lose your job or your hours are
later than the first day of the month following the date                        reduced, you lose eligibility as a dependent due to
your Group receives an enrollment or change of                                  legal separation, divorce, or reaching the age limit
enrollment application from the Subscriber.                                     for dependent children, or you exhaust COBRA or
                                                                                Cal-COBRA coverage)


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    you lose eligibility for individual plan coverage,                     Emergency ambulance Services as described under
     Medicare, Medi-Cal, or other government-                                “Ambulance Services” in the “Benefits” section
     sponsored health care program coverage                                 Emergency Services, Post-Stabilization Care, and
 You become eligible for membership as a result of a                        Out-of-Area Urgent Care as described in the
  permanent move                                                             “Emergency Services and Urgent Care” section
 You were recently released from incarceration                             Hospice care as described under “Hospice Care” in
 You are an American Indian or Native Alaskan and                           the “Benefits” section
  Covered California determines that you are eligible                       Visiting Member Services as described under
  for a monthly special enrollment period                                    “Receiving Care Outside of Your Home Region” in
 Covered California determines that you are entitled to                     this “How to Obtain Services” section
  a special enrollment period (for example, Covered
  California determines that you didn’t apply for                          Our medical care program gives you access to all of the
  coverage during the prior open enrollment because                        covered Services you may need, such as routine care
  you were misinformed that you had minimum                                with your own personal Plan Physician, hospital care,
  essential coverage)                                                      laboratory and pharmacy Services, Emergency Services,
                                                                           Urgent Care, and other benefits described in this EOC.
 You were under active care for certain conditions
  with a provider whose participation in your health
  plan ended (examples of conditions include: an acute                     Routine Care
  condition, a serious chronic condition, pregnancy,
  terminal illness, care of newborn, or authorized                         If you need the following Services, you should schedule
  nonelective surgeries)                                                   an appointment:
                                                                            Preventive Services
To request special enrollment, you must submit an
application within 30 days after loss of other coverage.                    Periodic follow-up care (regularly scheduled follow-
You may be required to provide documentation that you                        up care, such as visits to monitor a chronic condition)
have experienced a qualifying event. If you are                             Other care that is not Urgent Care
requesting enrollment in a plan offered through Covered
California, submit your application to Covered                             To request a non-urgent appointment, you can call your
California. If you are not requesting enrollment in a plan                 local Plan Facility or request the appointment online. For
offered through Covered California, you must submit a                      appointment phone numbers, please refer to our Provider
Health Plan-approved enrollment application to your                        Directory or call our Member Service Contact Center. To
Group. Membership becomes effective either on the first                    request an appointment online, go to our website at
day of the next month (for applications that are received                  kp.org.
by the fifteenth day of a month) or on the first day of the
month following the next month (for applications that are
received after the fifteenth day of a month).                              Urgent Care

Note: If you are enrolling as a Subscriber along with at                   An Urgent Care need is one that requires prompt medical
least one eligible Dependent, only one of you must meet                    attention but is not an Emergency Medical Condition. If
one of the requirements stated above.                                      you think you may need Urgent Care, call the
                                                                           appropriate appointment or advice phone number at a
                                                                           Plan Facility. For phone numbers, please refer to our
                                                                           Provider Directory or call our Member Service Contact
How to Obtain Services                                                     Center.

As a Member, you are selecting our medical care                            For information about Out-of-Area Urgent Care, please
program to provide your health care. You must receive                      refer to “Urgent Care” in the “Emergency Services and
all covered care from Plan Providers inside our Service                    Urgent Care” section.
Area, except as described in the sections listed below for
the following Services:
                                                                           Not Sure What Kind of Care You Need?
 Authorized referrals as described under “Getting a
  Referral” in this “How to Obtain Services” section                       Sometimes it’s difficult to know what kind of care you
                                                                           need, so we have licensed health care professionals


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available to assist you by phone 24 hours a day, seven                     periodically. The availability of Primary Care Physicians
days a week. Here are some of the ways they can help                       may change. If you have questions, please call our
you:                                                                       Member Service Contact Center. You can change your
 They can answer questions about a health concern,                        personal Plan Physician at any time for any reason.
  and instruct you on self-care at home if appropriate
 They can advise you about whether you should get                         Getting a Referral
  medical care, and how and where to get care (for
  example, if you are not sure whether your condition is                   Referrals to Plan Providers
  an Emergency Medical Condition, they can help you                        A Plan Physician must refer you before you can receive
  decide whether you need Emergency Services or                            care from specialists, such as specialists in surgery,
  Urgent Care, and how and where to get that care)                         orthopedics, cardiology, oncology, dermatology, and
                                                                           physical, occupational, and speech therapies. Also, a
 They can tell you what to do if you need care and a
                                                                           Plan Physician must refer you before you can get care
  Plan Medical Office is closed or you are outside our
                                                                           from Qualified Autism Service Providers covered under
  Service Area
                                                                           “Behavioral Health Treatment for Pervasive
                                                                           Developmental Disorder or Autism” in the “Benefits”
You can reach one of these licensed health care
                                                                           section. However, you do not need a referral or prior
professionals by calling the appointment or advice phone
                                                                           authorization to receive most care from any of the
number (for phone numbers, refer to our Provider
                                                                           following Plan Providers:
Directory or call our Member Service Contact Center).
When you call, a trained support person may ask you                         Your personal Plan Physician
questions to help determine how to direct your call.                        Generalists in internal medicine, pediatrics, and
                                                                             family practice
Your Personal Plan Physician                                                Specialists in optometry, mental health Services,
                                                                             substance use disorder treatment, and
Personal Plan Physicians provide primary care and play                       obstetrics/gynecology
an important role in coordinating care, including hospital
stays and referrals to specialists.                                        A Plan Physician must refer you before you can get care
                                                                           from a specialist in urology except that you do not need a
We encourage you to choose a personal Plan Physician.                      referral to receive Services related to sexual or
You may choose any available personal Plan Physician.                      reproductive health, such as a vasectomy.
Parents may choose a pediatrician as the personal Plan
Physician for their child. Most personal Plan Physicians                   Although a referral or prior authorization is not required
are Primary Care Physicians (generalists in internal                       to receive most care from these providers, a referral may
medicine, pediatrics, or family practice, or specialists in                be required in the following situations:
obstetrics/gynecology whom the Medical Group
                                                                            The provider may have to get prior authorization for
designates as Primary Care Physicians). Some specialists
                                                                             certain Services in accord with “Medical Group
who are not designated as Primary Care Physicians but
                                                                             authorization procedure for certain referrals” in this
who also provide primary care may be available as
                                                                             “Getting a Referral” section
personal Plan Physicians. For example, some specialists
in internal medicine and obstetrics/gynecology who are                      The provider may have to refer you to a specialist
not designated as Primary Care Physicians may be                             who has a clinical background related to your illness
available as personal Plan Physicians. However, if you                       or condition
choose a specialist who is not designated as a Primary
Care Physician as your personal Plan Physician, the Cost                   Standing referrals
Share for a Physician Specialist Visit will apply to all                   If a Plan Physician refers you to a specialist, the referral
visits with the specialist except for routine preventive                   will be for a specific treatment plan. Your treatment plan
visits listed under “Preventive Services” in the                           may include a standing referral if ongoing care from the
“Benefits” section.                                                        specialist is prescribed. For example, if you have a life-
                                                                           threatening, degenerative, or disabling condition, you can
To learn how to select or change to a different personal                   get a standing referral to a specialist if ongoing care from
Plan Physician, visit our website at kp.org or call our                    the specialist is required.
Member Service Contact Center. Refer to our Provider
Directory for a list of physicians that are available as
Primary Care Physicians. The directory is updated


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Medical Group authorization procedure for                                  Group’s designee Plan Physician, who will make an
certain referrals                                                          authorization decision as described under “Medical
The following are examples of Services that require prior                  Group’s decision time frames” in this “Medical Group
authorization by the Medical Group for the Services to                     authorization procedure for certain referrals” section.
be covered (“prior authorization” means that the Medical
Group must approve the Services in advance):                               Medical Group’s decision time frames. The applicable
                                                                           Medical Group designee will make the authorization
 Durable medical equipment
                                                                           decision within the time frame appropriate for your
 Ostomy and urological supplies                                           condition, but no later than five business days after
 Services not available from Plan Providers                               receiving all of the information (including additional
                                                                           examination and test results) reasonably necessary to
 Transplants                                                              make the decision, except that decisions about urgent
                                                                           Services will be made no later than 72 hours after receipt
Utilization Management (“UM”) is a process that                            of the information reasonably necessary to make the
determines whether a Service recommended by your                           decision. If the Medical Group needs more time to make
treating provider is Medically Necessary for you. Prior                    the decision because it doesn’t have information
authorization is a UM process that determines whether                      reasonably necessary to make the decision, or because it
the requested services are Medically Necessary before                      has requested consultation by a particular specialist, you
care is provided. If it is Medically Necessary, then you                   and your treating physician will be informed about the
will receive authorization to obtain that care in a                        additional information, testing, or specialist that is
clinically appropriate place consistent with the terms of                  needed, and the date that the Medical Group expects to
your health coverage. Decisions regarding requests for                     make a decision.
authorization will be made only by licensed physicians
or other appropriately licensed medical professionals.                     Your treating physician will be informed of the decision
                                                                           within 24 hours after the decision is made. If the Services
For the complete list of Services that require prior                       are authorized, your physician will be informed of the
authorization, and the criteria that are used to make                      scope of the authorized Services. If the Medical Group
authorization decisions, please visit our website at                       does not authorize all of the Services, Health Plan will
kp.org/UM or call our Member Service Contact Center                        send you a written decision and explanation within two
to request a printed copy.                                                 business days after the decision is made. Any written
                                                                           criteria that the Medical Group uses to make the decision
Please refer to “Post-Stabilization Care” under                            to authorize, modify, delay, or deny the request for
“Emergency Services” in the “Emergency Services and                        authorization will be made available to you upon request.
Urgent Care” section for authorization requirements that
apply to Post-Stabilization Care from Non–Plan                             If the Medical Group does not authorize all of the
Providers.                                                                 Services requested and you want to appeal the decision,
                                                                           you can file a grievance as described under “Grievances”
Additional information about prior authorization for                       in the “Dispute Resolution” section.
durable medical equipment and ostomy and
urological supplies. The prior authorization process for                   For these referral Services, you pay the Cost Share
durable medical equipment and ostomy and urological                        required for Services provided by a Plan Provider as
supplies includes the use of formulary guidelines. These                   described in this EOC.
guidelines were developed by a multidisciplinary clinical
and operational work group with review and input from                      Travel and lodging for certain referrals
Plan Physicians and medical professionals with clinical
                                                                           The following are examples of when we will arrange or
expertise. The formulary guidelines are periodically
                                                                           provide reimbursement for certain travel and lodging
updated to keep pace with changes in medical
                                                                           expenses in accord with our Travel and Lodging
technology and clinical practice.
                                                                           Program Description:
If your Plan Physician prescribes one of these items, he                    If Medical Group refers you to a provider that is more
or she will submit a written referral in accord with the                     than 50 miles from where you live for certain
UM process described in this “Medical Group                                  specialty Services such as bariatric surgery, complex
authorization procedure for certain referrals” section. If                   thoracic surgery, transplant nephrectomy, or inpatient
the formulary guidelines do not specify that the                             chemotherapy for leukemia and lymphoma
prescribed item is appropriate for your medical
condition, the referral will be submitted to the Medical

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 If Medical Group refers you to a provider that is                            it worsens over an extended period of time
  outside our Service Area for certain specialty Services                      it requires ongoing treatment to maintain
  such as a transplant or transgender surgery                                   remission or prevent deterioration

For the complete list of specialty Services for which we                    Pregnancy and immediate postpartum care. We may
will arrange or provide reimbursement for travel and                         cover these Services for the duration of the pregnancy
lodging expenses, the amount of reimbursement,                               and immediate postpartum care
limitations and exclusions, and how to request                              Mental health conditions in pregnant Members that
reimbursement, please refer to the Travel and Lodging                        occur, or can impact the Member, during pregnancy
Program Description. The Travel and Lodging Program                          or during the postpartum period including, but not
Description is available online at kp.org/specialty-                         limited to, postpartum depression. We may cover
care/travel-reimbursements or by calling our Member                          completion of these Services for up to 12 months
Service Contact Center.                                                      from the mental health diagnosis or from the end of
                                                                             pregnancy, whichever occurs later
Completion of Services from Non–Plan
                                                                            Terminal illnesses, which are incurable or irreversible
Providers
                                                                             illnesses that have a high probability of causing death
New Member. If you are currently receiving Services                          within a year or less. We may cover completion of
from a Non–Plan Provider in one of the cases listed                          these Services for the duration of the illness
below under “Eligibility” and your prior plan’s coverage                    Children under age 3. We may cover completion of
of the provider’s Services has ended or will end when                        these Services until the earlier of (1) 12 months from
your coverage with us becomes effective, you may be                          the child’s effective date of coverage if the child is a
eligible for limited coverage of that Non–Plan Provider’s                    new Member, (2) 12 months from the termination
Services.                                                                    date of the terminated provider, or (3) the child’s third
                                                                             birthday
Terminated provider. If you are currently receiving
covered Services in one of the cases listed below under                     Surgery or another procedure that is documented as
“Eligibility” from a Plan Hospital or a Plan Physician (or                   part of a course of treatment and has been
certain other providers) when our contract with the                          recommended and documented by the provider to
provider ends (for reasons other than medical                                occur within 180 days of your effective date of
disciplinary cause or criminal activity), you may be                         coverage if you are a new Member or within 180 days
eligible for limited coverage of that terminated                             of the termination date of the terminated provider
provider’s Services.
                                                                           To qualify for this completion of Services coverage, all
Eligibility. The cases that are subject to this completion                 of the following requirements must be met:
of Services provision are:                                                  Your Health Plan coverage is in effect on the date you
 Acute conditions, which are medical conditions that                        receive the Services
  involve a sudden onset of symptoms due to an illness,                     For new Members, your prior plan’s coverage of the
  injury, or other medical problem that requires prompt                      provider’s Services has ended or will end when your
  medical attention and has a limited duration. We may                       coverage with us becomes effective
  cover these Services until the acute condition ends
                                                                            You are receiving Services in one of the cases listed
 Serious chronic conditions until the earlier of (1) 12                     above from a Non–Plan Provider on your effective
  months from your effective date of coverage if you                         date of coverage if you are a new Member, or from
  are a new Member, (2) 12 months from the                                   the terminated Plan Provider on the provider’s
  termination date of the terminated provider, or (3) the                    termination date
  first day after a course of treatment is complete when
                                                                            For new Members, when you enrolled in Health Plan,
  it would be safe to transfer your care to a Plan
                                                                             you did not have the option to continue with your
  Provider, as determined by Kaiser Permanente after
                                                                             previous health plan or to choose another plan
  consultation with the Member and Non–Plan Provider
                                                                             (including an out-of-network option) that would cover
  and consistent with good professional practice.
                                                                             the Services of your current Non–Plan Provider
  Serious chronic conditions are illnesses or other
  medical conditions that are serious, if one of the                        The provider agrees to our standard contractual terms
  following is true about the condition:                                     and conditions, such as conditions pertaining to
                                                                             payment and to providing Services inside our Service
    it persists without full cure
                                                                             Area (the requirement that the provider agree to


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   providing Services inside our Service Area doesn’t                       The treatment plan in progress is not improving your
   apply if you were receiving covered Services from the                     medical condition within an appropriate period of
   provider outside the Service Area when the provider’s                     time, given the diagnosis and plan of care
   contract terminated)
                                                                            You have concerns about the diagnosis or plan of care
 The Services to be provided to you would be covered
  Services under this EOC if provided by a Plan                            An authorization or denial of your request for a second
  Provider                                                                 opinion will be provided in an expeditious manner, as
 You request completion of Services within 30 days                        appropriate for your condition. If your request for a
  (or as soon as reasonably possible) from your                            second opinion is denied, you will be notified in writing
  effective date of coverage if you are a new Member                       of the reasons for the denial and of your right to file a
  or from the termination date of the Plan Provider                        grievance as described under “Grievances” in the
                                                                           “Dispute Resolution” section.
For completion of Services, you pay the Cost Share
required for Services provided by a Plan Provider as                       For these referral Services, you pay the Cost Share
described in this EOC.                                                     required for Services provided by a Plan Provider as
                                                                           described in this EOC.
More information. For more information about this
provision, or to request the Services or a copy of our
                                                                           Contracts with Plan Providers
“Completion of Covered Services” policy, please call our
Member Service Contact Center.                                             How Plan Providers are paid
                                                                           Health Plan and Plan Providers are independent
                                                                           contractors. Plan Providers are paid in a number of ways,
Second Opinions
                                                                           such as salary, capitation, per diem rates, case rates, fee
If you want a second opinion, you can ask Member                           for service, and incentive payments. To learn more about
Services to help you arrange one with a Plan Physician                     how Plan Physicians are paid to provide or arrange
who is an appropriately qualified medical professional                     medical and hospital care for Members, please visit our
for your condition. If there isn’t a Plan Physician who is                 website at kp.org or call our Member Service Contact
an appropriately qualified medical professional for your                   Center.
condition, Member Services will help you arrange a
consultation with a Non–Plan Physician for a second                        Financial liability
opinion. For purposes of this “Second Opinions”                            Our contracts with Plan Providers provide that you are
provision, an “appropriately qualified medical                             not liable for any amounts we owe. However, you may
professional” is a physician who is acting within his or                   have to pay the full price of noncovered Services you
her scope of practice and who possesses a clinical                         obtain from Plan Providers or Non–Plan Providers.
background, including training and expertise, related to
the illness or condition associated with the request for a                 When you are referred to a Plan Provider for covered
second medical opinion.                                                    Services, you pay the Cost Share required for Services
                                                                           from that provider as described in this EOC.
Here are some examples of when a second opinion may
be provided or authorized:                                                 Termination of a Plan Provider’s contract
 Your Plan Physician has recommended a procedure                          If our contract with any Plan Provider terminates while
  and you are unsure about whether the procedure is                        you are under the care of that provider, we will retain
  reasonable or necessary                                                  financial responsibility for the covered Services you
                                                                           receive from that provider until we make arrangements
 You question a diagnosis or plan of care for a                           for the Services to be provided by another Plan Provider
  condition that threatens substantial impairment or loss                  and notify you of the arrangements. You may be eligible
  of life, limb, or bodily functions                                       to receive Services from a terminated provider; please
 The clinical indications are not clear or are complex                    refer to “Completion of Services from Non–Plan
  and confusing                                                            Providers” under “Getting a Referral” in this “How to
                                                                           Obtain Services” section.
 A diagnosis is in doubt due to conflicting test results
 The Plan Physician is unable to diagnose the                             Provider groups and hospitals. If you are assigned to a
  condition                                                                provider group or hospital whose contract with us
                                                                           terminates, or if you live within 15 miles of a hospital


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whose contract with us terminates, we will give you                        Your ID Card
written notice at least 60 days before the termination (or
as soon as reasonably possible).                                           Each Member’s Kaiser Permanente ID card has a
                                                                           medical record number on it, which you will need when
                                                                           you call for advice, make an appointment, or go to a
Receiving Care Outside of Your Home                                        provider for covered care. When you get care, please
Region                                                                     bring your ID card and a photo ID. Your medical record
                                                                           number is used to identify your medical records and
If you have questions about your coverage when you are                     membership information. Your medical record number
away from home, call the Away from Home Travel line                        should never change. Please call our Member Service
at 1-951-268-3900 24 hours a day, seven days a week                        Contact Center if we ever inadvertently issue you more
(except closed holidays). For example, call this number                    than one medical record number or if you need to replace
for the following concerns:                                                your ID card.
 What you should do to prepare for your trip
                                                                           Your ID card is for identification only. To receive
 What Services are covered when you are outside our
                                                                           covered Services, you must be a current Member.
  Service Area
                                                                           Anyone who is not a Member will be billed as a non-
 How to get care in another Region                                        Member for any Services he or she receives. If you let
 How to request reimbursement if you paid for                             someone else use your ID card, we may keep your ID
  covered Services outside our Service Area                                card and terminate your membership as described under
                                                                           “Termination for Cause” in the “Termination of
                                                                           Membership” section.
You can also get information on our website at
kp.org/travel.
                                                                           Timely Access to Care
Receiving care in the Service Area of another
Region                                                                     Standards for appointment availability
If you are visiting in the service area of another Region,                 The California Department of Managed Health Care
you may receive Visiting Member Services from                              (“DMHC”) developed the following standards for
designated providers in that Region. “Visiting Member                      appointment availability. This information can help you
Services” are Services that are covered under your Home                    know what to expect when you request an appointment.
Region plan that you receive in another Region, subject
                                                                            Urgent Care: within 48 hours
to exclusions, limitations, prior authorization or approval
requirements, and reductions described in this EOC or                       Nonurgent Primary Care Visit or Non-Physician
the Visiting Member Brochure, which is available online                      Specialist Visit: within 10 business days
at kp.org. Certain Services are not covered as Visiting                     Physician Specialist Visit: within 15 business days
Member Services. For more information about receiving
Visiting Member Services in another Region, including                      If you prefer to wait for a later appointment that will
provider and facility locations, or to obtain a copy of the                better fit your schedule or to see the Plan Provider of
Visiting Member Brochure, please call our Away from                        your choice, we will respect your preference. In some
Home Travel Line at 1-951-268-3900 24 hours a day,                         cases, your wait may be longer than the time listed if a
seven days a week (except closed holidays). Information                    licensed health care professional decides that a later
is also available online at kp.org/travel.                                 appointment won’t have a negative effect on your health.

For Visiting Member Services, you pay the Cost Share                       The standards for appointment availability do not apply
required for Services provided by a Plan Provider inside                   to Preventive Services. Your Plan Provider may
our Service Area as described in this EOC.                                 recommend a specific schedule for Preventive Services,
                                                                           depending on your needs. The standards also do not
Receiving care outside of any Region                                       apply to periodic follow-up care for ongoing conditions
If you are traveling outside of a Kaiser Permanente                        or standing referrals to specialists.
Region, we cover Emergency Services and Urgent Care
as described in the “Emergency Services and Urgent
Care” section.




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Timely access to telephone assistance                                                   Directory or call our Member Service Contact
DMHC developed the following standards for answering                                    Center)
telephone questions:                                                       Website      kp.org
 For telephone advice about whether you need to get
  care and where to get care: within 30 minutes, 24                        Cost Share estimates
  hours a day, 7 days a week                                               For information about estimates, see “Getting an
 For general questions: within 10 minutes during                          estimate of your Cost Share” under “Your Cost Share” in
  normal business hours                                                    the “Benefits” section.

Interpreter services
If you need interpreter services when you call us or when                  Plan Facilities
you get covered Services, please let us know. Interpreter
services, including sign language, are available during all                Plan Medical Offices and Plan Hospitals are listed in the
business hours at no cost to you. For more information                     Provider Directory for your Home Region. The directory
on the interpreter services we offer, please call our                      describes the types of covered Services that are available
Member Service Contact Center.                                             from each Plan Facility, because some facilities provide
                                                                           only specific types of covered Services. This directory is
                                                                           available on our website at kp.org/facilities. To obtain a
Getting Assistance                                                         printed copy, call our Member Service Contact Center.
We want you to be satisfied with the health care you                       The directory is updated periodically. The availability of
receive from Kaiser Permanente. If you have any                            Plan Facilities may change. If you have questions, please
questions or concerns, please discuss them with your                       call our Member Service Contact Center.
personal Plan Physician or with other Plan Providers
who are treating you. They are committed to your                           At most of our Plan Facilities, you can usually receive all
satisfaction and want to help you with your questions.                     of the covered Services you need, including specialty
                                                                           care, pharmacy, and lab work. You are not restricted to a
Member Services                                                            particular Plan Facility, and we encourage you to use the
                                                                           facility that will be most convenient for you:
Member Services representatives can answer any
questions you have about your benefits, available                           All Plan Hospitals provide inpatient Services and are
Services, and the facilities where you can receive care.                     open 24 hours a day, seven days a week
For example, they can explain the following:                                Emergency Services are available from Plan Hospital
 Your Health Plan benefits                                                  Emergency Departments (for Emergency Department
                                                                             locations, refer to our Provider Directory or call our
 How to make your first medical appointment
                                                                             Member Service Contact Center)
 What to do if you move
                                                                            Same–day Urgent Care appointments are available at
 How to replace your Kaiser Permanente ID card                              many locations (for Urgent Care locations, refer to
                                                                             our Provider Directory or call our Member Service
You can reach Member Services in the following ways:                         Contact Center)
Call        1‑800-464-4000 (English and more than 150                       Many Plan Medical Offices have evening and
            languages using interpreter services)                            weekend appointments
            1-800-788-0616 (Spanish)                                        Many Plan Facilities have a Member Services
            1-800-757-7585 (Chinese dialects)                                Department (for locations, refer to our Provider
            TTY users call 711                                               Directory or call our Member Service Contact Center)
            24 hours a day, seven days a week (except
            closed holidays)                                               Note: State law requires evidence of coverage documents
                                                                           to include the following notice:
Visit       Member Services Department at a Plan
            Facility (for addresses, refer to our Provider                 Some hospitals and other providers do not
            Directory or call our Member Service Contact                   provide one or more of the following services
            Center)
                                                                           that may be covered under your plan
Write       Member Services Department at a Plan                           contract and that you or your family
            Facility (for addresses, refer to our Provider
                                                                           member might need: family planning;

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contraceptive services, including emergency                                To request prior authorization, the Non–Plan Provider
contraception; sterilization, including tubal                              must call 1-800-225-8883 or the notification phone
                                                                           number on your Kaiser Permanente ID card before you
ligation at the time of labor and delivery;                                receive the care. We will discuss your condition with the
infertility treatments; or abortion. You                                   Non–Plan Provider. If we determine that you require
should obtain more information before you                                  Post-Stabilization Care and that this care is part of your
enroll. Call your prospective doctor, medical                              covered benefits, we will authorize your care from the
group, independent practice association, or                                Non–Plan Provider or arrange to have a Plan Provider (or
                                                                           other designated provider) provide the care. If we decide
clinic, or call the Kaiser Permanente                                      to have a Plan Hospital, Plan Skilled Nursing Facility, or
Member Service Contact Center, to ensure                                   designated Non–Plan Provider provide your care, we
that you can obtain the health care services                               may authorize special transportation services that are
that you need.                                                             medically required to get you to the provider. This may
                                                                           include transportation that is otherwise not covered.
Please be aware that if a Service is covered but not
available at a particular Plan Facility, we will make it                   Be sure to ask the Non–Plan Provider to tell you what
available to you at another facility.                                      care (including any transportation) we have authorized
                                                                           because we will not cover Post-Stabilization Care or
                                                                           related transportation provided by Non–Plan Providers
                                                                           that has not been authorized. If you receive care from a
Emergency Services and Urgent                                              Non–Plan Provider that we have not authorized, you may
Care                                                                       have to pay the full cost of that care. If you are admitted
                                                                           to a Non–Plan Hospital, please notify us as soon as
                                                                           possible by calling 1-800-225-8883 or the notification
Emergency Services
                                                                           phone number on your ID card.
If you have an Emergency Medical Condition, call 911
(where available) or go to the nearest hospital                            Your Cost Share
Emergency Department. You do not need prior                                Your Cost Share for covered Emergency Services and
authorization for Emergency Services. When you have                        Post-Stabilization Care is described in the “Cost Share
an Emergency Medical Condition, we cover Emergency                         Summary” section of this EOC. Your Cost Share is the
Services you receive from Plan Providers or Non–Plan                       same whether you receive the Services from a Plan
Providers anywhere in the world.                                           Provider or a Non–Plan Provider. For example:
                                                                            If you receive Emergency Services in the Emergency
Emergency Services are available from Plan Hospital                          Department of a Non–Plan Hospital, you pay the Cost
Emergency Departments 24 hours a day, seven days a                           Share for an Emergency Department visit as
week.                                                                        described in the “Cost Share Summary” under
                                                                             “Emergency and Urgent Care visits”
Post-Stabilization Care
                                                                            If we gave prior authorization for inpatient Post-
Post-Stabilization Care is Medically Necessary Services
                                                                             Stabilization Care in a Non–Plan Hospital, you pay
related to your Emergency Medical Condition that you
                                                                             the Cost Share for hospital inpatient care as described
receive in a hospital (including the Emergency
                                                                             in the “Cost Share Summary” under “Hospital
Department) after your treating physician determines that
                                                                             inpatient care”
this condition is Stabilized. Post-Stabilization Care also
includes durable medical equipment covered under this                       If we gave prior authorization for durable medical
EOC, if it is Medically Necessary after discharge from a                     equipment after discharge from a Non–Plan Hospital,
hospital, and related to the same Emergency Medical                          you pay the Cost Share for durable medical
Condition. For more information about durable medical                        equipment as described in the “Cost Share Summary”
equipment covered under this EOC, see “Durable                               under “Durable Medical Equipment (“DME”) for
Medical Equipment (“DME”) for Home Use” in the                               home use”
“Benefits” section. We cover Post-Stabilization Care
from a Non–Plan Provider only if we provide prior
authorization for the care or if otherwise required by                     Urgent Care
applicable law (“prior authorization” means that we must                   Inside the Service Area
approve the Services in advance).
                                                                           An Urgent Care need is one that requires prompt medical
                                                                           attention but is not an Emergency Medical Condition. If

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you think you may need Urgent Care, call the                                If the Out-of-Area Urgent Care you receive includes
appropriate appointment or advice phone number at a                          an X-ray, you pay the Cost Share for an X-ray as
Plan Facility. For appointment and advice phone                              described in the “Cost Share Summary” under
numbers, refer to our Provider Directory or call our                         “Outpatient imaging, laboratory, and other diagnostic
Member Service Contact Center.                                               and treatment Services,” in addition to the Cost Share
                                                                             for the Urgent Care evaluation
Out-of-Area Urgent Care
                                                                            If we gave prior authorization for durable medical
If you need Urgent Care due to an unforeseen illness,                        equipment provided as part of Out-of-Area Urgent
unforeseen injury, or unforeseen complication of an                          Care, you pay the Cost Share for durable medical
existing condition (including pregnancy), we cover                           equipment as described in the “Cost Share Summary”
Medically Necessary Services to prevent serious                              under “Durable Medical Equipment (“DME”) for
deterioration of your (or your unborn child’s) health                        home use”
from a Non–Plan Provider if all of the following are true:
 You receive the Services from Non–Plan Providers                         Note: If you receive Urgent Care in an Emergency
  while you are temporarily outside our Service Area                       Department, you pay the Cost Share for an Emergency
                                                                           Department visit as described in the “Cost Share
 A reasonable person would have believed that your
                                                                           Summary” under “Emergency and Urgent Care visits.”
  (or your unborn child’s) health would seriously
  deteriorate if you delayed treatment until you returned
  to our Service Area                                                      Payment and Reimbursement
You do not need prior authorization for Out-of-Area                        If you receive Emergency Services, Post-Stabilization
Urgent Care. We cover Out-of-Area Urgent Care you                          Care, or Out-of-Area Urgent Care from a Non–Plan
receive from Non–Plan Providers if the Services would                      Provider as described in this “Emergency Services and
have been covered under this EOC if you had received                       Urgent Care” section, or emergency ambulance Services
them from Plan Providers.                                                  described under “Ambulance Services” in the “Benefits”
                                                                           section, you are not responsible for any amounts beyond
To obtain follow-up care from a Plan Provider, call the                    your Cost Share for covered Emergency Services.
appointment or advice phone number at a Plan Facility.                     However, if the provider does not agree to bill us, you
For phone numbers, refer to our Provider Directory or                      may have to pay for the Services and file a claim for
call our Member Service Contact Center. We do not                          reimbursement. Also, you may be required to pay and
cover follow-up care from Non–Plan Providers after you                     file a claim for any Services prescribed by a Non–Plan
no longer need Urgent Care, except for durable medical                     Provider as part of covered Emergency Services, Post-
equipment covered under this EOC. For more                                 Stabilization Care, and Out-of-Area Urgent Care even if
information about durable medical equipment covered                        you receive the Services from a Plan Provider, such as a
under this EOC, see “Durable Medical Equipment                             Plan Pharmacy.
(“DME”) for Home Use” in the “Benefits” section. If
you require durable medical equipment related to your                      For information on how to file a claim, please see the
Urgent Care after receiving Out-of-Area Urgent Care,                       “Post-Service Claims and Appeals” section.
your provider must obtain prior authorization as
described under “Getting a Referral” in the “How to
Obtain Services” section.
                                                                           Benefits
Your Cost Share
Your Cost Share for covered Urgent Care is the Cost                        This section describes the Services that are covered
Share required for Services provided by Plan Providers                     under this EOC.
as described in the “Cost Share Summary” section of this
EOC. For example:
 If you receive an Urgent Care evaluation as part of
  covered Out-of-Area Urgent Care from a Non–Plan
  Provider, you pay the Cost Share for Urgent Care
  consultations, evaluations, and treatment as described
  in the “Cost Share Summary” under “Emergency and
  Urgent Care visits”



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Services are covered under this EOC as specifically                            Visiting Member Services, as described under
described in this EOC. Services that are not specifically                       “Receiving Care Outside of Your Home Region”
described in this EOC are not covered, except as required                       in the “How to Obtain Services” section
by state or federal law. Services are subject to exclusions
                                                                            The Medical Group has given prior authorization for
and limitations described in the “Exclusions, Limitations,
                                                                             the Services, if required, as described under “Medical
Coordination of Benefits, and Reductions” section.
                                                                             Group authorization procedure for certain referrals”
Except as otherwise described in this EOC, all of the
                                                                             in the “How to Obtain Services” section
following conditions must be satisfied:
 You are a Member on the date that you receive the                        Please also refer to:
  Services
                                                                            The “Emergency Services and Urgent Care” section
 The Services are Medically Necessary                                       for information about how to obtain covered
 The Services are one of the following:                                     Emergency Services, Post-Stabilization Care, and
                                                                             Out-of-Area Urgent Care
    Preventive Services
                                                                            Our Provider Directory for the types of covered
    health care items and services for diagnosis,
                                                                             Services that are available from each Plan Facility,
     assessment, or treatment
                                                                             because some facilities provide only specific types of
    health education covered under “Health                                  covered Services
     Education” in this “Benefits” section
    other health care items and services
                                                                           Your Cost Share
    other services to treat Serious Emotional
     Disturbance of a Child Under Age 18 or Severe                         Your Cost Share is the amount you are required to pay
     Mental Illness                                                        for covered Services. For example, your Cost Share may
 The Services are provided, prescribed, authorized, or                    be a Copayment or Coinsurance.
  directed by a Plan Physician, except for:
                                                                           If your coverage includes a Plan Deductible and you
    drugs prescribed by dentists, as described under
                                                                           receive Services that are subject to the Plan Deductible,
     “Outpatient Prescription Drugs, Supplies, and
                                                                           your Cost Share for those Services will be Charges until
     Supplements” below
                                                                           you reach the Plan Deductible. Similarly, if your
    emergency ambulance Services, as described                            coverage includes a Drug Deductible, and you receive
     under “Ambulance Services” below                                      Services that are subject to the Drug Deductible, your
    Emergency Services, Post-Stabilization Care, and                      Cost Share for those Services will be Charges until you
     Out-of-Area Urgent Care, as described in the                          reach the Drug Deductible.
     “Emergency Services and Urgent Care” section
    eyeglasses and contact lenses prescribed by Non–                      Please refer to the “Cost Share Summary” section of this
     Plan Providers, as described under “Vision                            EOC for the amount you will pay for Services.
     Services for Adult Members” and “Vision
     Services for Pediatric Members” below                                 General rules, examples, and exceptions
                                                                           Your Cost Share for covered Services will be the Cost
    Visiting Member Services, as described under
                                                                           Share in effect on the date you receive the Services,
     “Receiving Care Outside of Your Home Region”
                                                                           except as follows:
     in the “How to Obtain Services” section
                                                                            If you are receiving covered inpatient hospital or
 You receive the Services from Plan Providers inside
                                                                             Skilled Nursing Facility Services on the effective date
  our Service Area, except for:
                                                                             of this EOC, you pay the Cost Share in effect on your
    authorized referrals, as described under “Getting a                     admission date until you are discharged if the
     Referral” in the “How to Obtain Services” section                       Services were covered under your prior Health Plan
    emergency ambulance Services, as described                              evidence of coverage and there has been no break in
     under “Ambulance Services” below                                        coverage. However, if the Services were not covered
    Emergency Services, Post-Stabilization Care, and                        under your prior Health Plan evidence of coverage, or
     Out-of-Area Urgent Care, as described in the                            if there has been a break in coverage, you pay the
     “Emergency Services and Urgent Care” section                            Cost Share in effect on the date you receive the
                                                                             Services
    hospice care, as described under “Hospice Care”
     below                                                                  For items ordered in advance, you pay the Cost Share
                                                                             in effect on the order date (although we will not cover


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   the item unless you still have coverage for it on the                    You receive treatment Services during a diagnostic
   date you receive it) and you may be required to pay                       visit. For example, you go in for a diagnostic exam,
   the Cost Share when the item is ordered. For                              and at check-in you pay your Cost Share for a
   outpatient prescription drugs, the order date is the                      diagnostic exam. However, during the diagnostic
   date that the pharmacy processes the order after                          exam your provider confirms a problem with your
   receiving all of the information they need to fill the                    health and performs treatment Services (such as an
   prescription                                                              outpatient procedure). You may be asked to pay (or
                                                                             you will be billed for) your Cost Share for these
Cost Share for Services received by newborn children                         additional treatment Services
of a Member. During the 31 days of automatic coverage                       You receive Services from a second provider during
for newborn children described under “Newborn                                your visit. For example, you go in for a diagnostic
coverage” under “Who Is Eligible” in the “Premiums,                          exam, and at check-in you pay your Cost Share for a
Eligibility, and Enrollment” section, the parent or                          diagnostic exam. However, during the diagnostic
guardian of the newborn must pay the Cost Share                              exam your provider requests a consultation with a
indicated in the “Cost Share Summary” section of this                        specialist. You may be asked to pay (or you will be
EOC for any Services that the newborn receives, whether                      billed for) your Cost Share for the consultation with
or not the newborn is enrolled. When the “Cost Share                         the specialist
Summary” indicates the Services are subject to the Plan
Deductible, the Cost Share for those Services will be
                                                                           In some cases, your provider will not ask you to make a
Charges if the newborn has not met the Plan Deductible.
                                                                           payment at the time you receive Services, and you will
                                                                           be billed for your Cost Share (for example, some
Payment toward your Cost Share (and when you may                           Laboratory Departments are not able to collect Cost
be billed). In most cases, your provider will ask you to                   Share, or your Plan Provider is not able to collect Cost
make a payment toward your Cost Share at the time you                      Share, if any, for Telehealth Visits you receive at home).
receive Services. If you receive more than one type of
Services (such as a routine physical maintenance exam
                                                                           When we send you a bill, it will list Charges for the
and laboratory tests), you may be required to pay
                                                                           Services you received, payments and credits applied to
separate Cost Share for each of those Services. Keep in
                                                                           your account, and any amounts you still owe. Your
mind that your payment toward your Cost Share may
                                                                           current bill may not always reflect your most recent
cover only a portion of your total Cost Share for the
                                                                           Charges and payments. Any Charges and payments that
Services you receive, and you will be billed for any
                                                                           are not on the current bill will appear on a future bill.
additional amounts that are due. The following are
                                                                           Sometimes, you may see a payment but not the related
examples of when you may be asked to pay (or you may
                                                                           Charges for Services. That could be because your
be billed for) Cost Share amounts in addition to the
                                                                           payment was recorded before the Charges for the
amount you pay at check-in:
                                                                           Services were processed. If so, the Charges will appear
 You receive non-preventive Services during a                             on a future bill. Also, you may receive more than one bill
  preventive visit. For example, you go in for a routine                   for a single outpatient visit or inpatient stay. For
  physical maintenance exam, and at check-in you pay                       example, you may receive a bill for physician services
  your Cost Share for the preventive exam (your Cost                       and a separate bill for hospital services. If you don’t see
  Share may be “no charge”). However, during your                          all the Charges for Services on one bill, they will appear
  preventive exam your provider finds a problem with                       on a future bill. If we determine that you overpaid and
  your health and orders non-preventive Services to                        are due a refund, then we will send a refund to you
  diagnose your problem (such as laboratory tests). You                    within 4 weeks after we make that determination. If you
  may be asked to pay (or you will be billed for) your                     have questions about a bill, please call the phone number
  Cost Share for these additional non-preventive                           on the bill.
  diagnostic Services
 You receive diagnostic Services during a treatment                       In some cases, a Non–Plan Provider may be involved in
  visit. For example, you go in for treatment of an                        the provision of covered Services at a Plan Facility or a
  existing health condition, and at check-in you pay                       contracted facility where we have authorized you to
  your Cost Share for a treatment visit. However,                          receive care. You are not responsible for any amounts
  during the visit your provider finds a new problem                       beyond your Cost Share for the covered Services you
  with your health and performs or orders diagnostic                       receive at Plan Facilities or at contracted facilities where
  Services (such as laboratory tests). You may be asked                    we have authorized you to receive care. However, if the
  to pay (or you will be billed for) your Cost Share for                   provider does not agree to bill us, you may have to pay
  these additional diagnostic Services                                     for the Services and file a claim for reimbursement. For


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information on how to file a claim, please see the “Post-                  coverage provided by the Kaiser Permanente Insurance
Service Claims and Appeals” section.                                       Company (“KPIC”).

Primary Care Visits, Non-Physician Specialist Visits,                      Getting an estimate of your Cost Share
and Physician Specialist Visits. The Cost Share for a                      If you have questions about the Cost Share for specific
Primary Care Visit applies to evaluations and treatment                    Services that you expect to receive or that your provider
provided by generalists in internal medicine, pediatrics,                  orders during a visit or procedure, please visit our
or family practice, and by specialists in                                  website at kp.org/memberestimates to use our cost
obstetrics/gynecology whom the Medical Group                               estimate tool or call our Member Service Contact Center.
designates as Primary Care Physicians. Some physician
                                                                            If you have a Plan Deductible and would like an
specialists provide primary care in addition to specialty
                                                                             estimate for Services that are subject to the Plan
care but are not designated as Primary Care Physicians.
                                                                             Deductible, please call 1‑800-390-3507 (TTY users
If you receive Services from one of these specialists, the
                                                                             call 711) Monday through Friday 7 a.m. to 7 p.m.
Cost Share for a Physician Specialist Visit will apply to
                                                                             Refer to the “Cost Share Summary” section of this
all consultations, evaluations, and treatment provided by
                                                                             EOC to find out if you have a Plan Deductible
the specialist except for routine preventive counseling
and exams listed under “Preventive Services” in this                        For all other Cost Share estimates, please call 1‑800-
“Benefits” section. For example, if your personal Plan                       464-4000 (TTY users call 711) 24 hours a day, seven
Physician is a specialist in internal medicine or                            days a week (except closed holidays)
obstetrics/gynecology who is not a Primary Care
Physician, you will pay the Cost Share for a Physician                     Cost Share estimates are based on your benefits and the
Specialist Visit for all consultations, evaluations, and                   Services you expect to receive. They are a prediction of
treatment by the specialist except routine preventive                      cost and not a guarantee of the final cost of Services.
counseling and exams listed under “Preventive Services”                    Your final cost may be higher or lower than the estimate
in this “Benefits” section. The Non-Physician Specialist                   since not everything about your care can be known in
Visit Cost Share applies to consultations, evaluations,                    advance.
and treatment provided by non-physician specialists
(such as nurse practitioners, physician assistants,                        Explanation of benefits
optometrists, podiatrists, and audiologists).                              After you receive Services, we will send you an
                                                                           explanation of benefits statement. The explanation of
Noncovered Services. If you receive Services that are                      benefits is not a bill. It shows your total accumulation
not covered under this EOC, you may have to pay the                        toward the Plan Deductible and Plan Out-of-Pocket
full price of those Services. Payments you make for                        Maximum. You can also view a copy of your
noncovered Services do not apply to any deductible or                      explanation of benefits on kp.org or you may request a
out-of-pocket maximum.                                                     copy by calling our Member Service Contact Center at
                                                                           1‑800-390-3507 (TTY users call 711) Monday through
Benefit limits. Some benefits may include a limit on the                   Friday 7 a.m. to 7 p.m.
number of visits, days, or dollar amount that will be
covered under your plan during a specified time period.                    Drug Deductible
If a benefit includes a limit, this will be indicated in the               This EOC does not include a Drug Deductible.
“Cost Share Summary” section of this EOC. The time
period associated with a benefit limit may not be the                      Plan Deductible
same as the term of this EOC. We will count all Services                   In any Accumulation Period, you must pay Charges for
you receive during the benefit limit period toward the                     Services subject to the Plan Deductible until you reach
benefit limit, including Services you received under a                     one of the Plan Deductible amounts listed in the “Cost
prior Health Plan EOC (as long as you have continuous                      Share Summary” section of this EOC.
coverage with Health Plan). Note: this rule does not
apply when you first enroll in individual plan coverage                    If you are a Member in a Family of two or more
or a new employer group’s plan, when you move from                         Members, you reach the Plan Deductible either when you
group to individual plan coverage (or vice versa), or to                   reach the amount for any one Member, or when your
Services you received under a Kaiser Permanente Senior                     entire Family reaches the Family amount. For example,
Advantage evidence of coverage. If you are enrolled in                     suppose you have reached the deductible amount for any
the Kaiser Permanente POS Plan, refer to your KPIC                         one Member. For Services subject to the Plan
Certificate of Insurance and Schedule of Coverage for                      Deductible, you will not pay Charges during the
benefit limits that apply to your separate indemnity                       remainder of the Accumulation Period, but every other


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Member in your Family must continue to pay Charges                         “Payments that count toward the Plan Out-of-Pocket
during the remainder of the Accumulation Period until                      Maximum” section below. Please refer to the “Cost
either he or she reaches the deductible amount for any                     Share Summary” section of this EOC for your applicable
one Member, or the entire Family reaches the Family                        Plan Out-of-Pocket Maximum amounts.
amount.
                                                                           If you are a Member in a Family of two or more
After you reach the Plan Deductible and for the                            Members, you reach the Plan Out-of-Pocket Maximum
remainder of the Accumulation Period, you pay the                          either when you reach the maximum for any one
applicable Copayment or Coinsurance subject to the                         Member, or when your Family reaches the Family
limits described under “Plan Out-of-Pocket Maximum”                        maximum. For example, suppose you have reached the
in this “Benefits” section.                                                Plan Out-of-Pocket Maximum for any one Member. For
                                                                           Services subject to the Plan Out-of-Pocket Maximum,
Services that are subject to the Plan Deductible. The                      you will not pay any more Cost Share during the
Cost Share that you must pay for covered Services is                       remainder of the Accumulation Period, but every other
described in the “Cost Share Summary” section of this                      Member in your Family must continue to pay Cost Share
EOC. When the “Cost Share Summary” indicates the                           during the remainder of the Accumulation Period until
Services are subject to the Plan Deductible, your Cost                     either he or she reaches the maximum for any one
Share for those Services will be Charges until you reach                   Member or your Family reaches the Family maximum.
the Plan Deductible. Note: When the Cost Share for the
Services is “no charge” and the “Cost Share Summary”                       Payments that count toward the Plan Out-of-Pocket
indicates the Services are subject to the Plan Deductible,                 Maximum. Any payments you make toward the Plan
your Cost Share for those Services will be Charges until                   Deductible or Drug Deductible, if applicable, apply
you reach the Plan Deductible. Also, if you pay a Plan                     toward the maximum.
Deductible amount for a Service that has a limit, such as
a visit limit, the Services count toward reaching the limit.               Most Copayments and Coinsurance you pay for covered
                                                                           Services apply to the maximum, however some may not.
The only payments that count toward the Plan                               To find out whether a Copayment or Coinsurance for a
Deductible are those you make for covered Services that                    covered Service will apply to the maximum please refer
are subject to this Plan Deductible under this EOC.                        to the “Cost Share Summary” section of this EOC.

Keeping track of the Plan Deductible. When you pay                         If your plan includes pediatric dental Services described
an amount toward your Plan Deductible, we will give                        in a Pediatric Dental Services Amendment to this EOC,
you a receipt that shows how much you paid. To see how                     those Services will apply toward the maximum. If your
close you are to reaching your Plan Deductible, use our                    plan has a Pediatric Dental Services Amendment, it will
online Out-of-Pocket Summary tool at                                       be attached to this EOC, and it will be listed in the
kp.org/outofpocket, refer to your summary or                               EOC’s Table of Contents.
explanation of benefits, or call our Member Service
Contact Center.                                                            Keeping track of the Plan Out-of-Pocket Maximum.
                                                                           When you receive Services, we will give you a receipt
Copayments and Coinsurance                                                 that shows how much you paid. To see how close you
The Copayment or Coinsurance you must pay for each                         are to reaching your Plan Out-of-Pocket Maximum, use
covered Service, after you meet any applicable                             our online Out-of-Pocket Summary tool at
deductible, is described in this EOC.                                      kp.org/outofpocket or call our Member Service Contact
                                                                           Center.
Note: If Charges for Services are less than the
Copayment described in this EOC, you will pay the
lesser amount, subject to any applicable deductible or                     Administered Drugs and Products
out-of-pocket maximum.
                                                                           Administered drugs and products are medications and
                                                                           products that require administration or observation by
Plan Out-of-Pocket Maximum
                                                                           medical personnel, such as:
There is a limit to the total amount of Cost Share you
must pay under this EOC in the Accumulation Period for                      Whole blood, red blood cells, plasma, and platelets
covered Services that you receive in the same                               Allergy antigens (including administration)
Accumulation Period. The Services that apply to the Plan
                                                                            Cancer chemotherapy drugs and adjuncts
Out-of-Pocket Maximum are described under the


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 Drugs and products that are administered via                             Ambulance Services exclusion(s)
  intravenous therapy or injection that are not for                         Transportation by car, taxi, bus, gurney van,
  cancer chemotherapy, including blood factor products                       wheelchair van, and any other type of transportation
  and biological products (“biologics”) derived from                         (other than a licensed ambulance or psychiatric
  tissue, cells, or blood                                                    transport van), even if it is the only way to travel to a
 Other administered drugs and products                                      Plan Provider

We cover these items when prescribed by a Plan
Provider, in accord with our drug formulary guidelines,                    Bariatric Surgery
and they are administered to you in a Plan Facility or
                                                                           We cover hospital inpatient care related to bariatric
during home visits.
                                                                           surgical procedures (including room and board, imaging,
                                                                           laboratory, other diagnostic and treatment Services, and
Certain administered drugs are Preventive Services.
                                                                           Plan Physician Services) when performed to treat obesity
Please refer to “Family Planning Services” for
                                                                           by modification of the gastrointestinal tract to reduce
information about administered contraceptives and refer
                                                                           nutrient intake and absorption, if all of the following
to “Preventive Services” for information on
                                                                           requirements are met:
immunizations.
                                                                            You complete the Medical Group–approved pre-
                                                                             surgical educational preparatory program regarding
Ambulance Services                                                           lifestyle changes necessary for long term bariatric
                                                                             surgery success
Emergency
                                                                            A Plan Physician who is a specialist in bariatric care
We cover Services of a licensed ambulance anywhere in
                                                                             determines that the surgery is Medically Necessary
the world without prior authorization (including
transportation through the 911 emergency response
system where available) in the following situations:                       For covered Services related to bariatric surgical
                                                                           procedures that you receive, you will pay the Cost Share
 You reasonably believed that the medical condition                       you would pay if the Services were not related to a
  was an Emergency Medical Condition which required                        bariatric surgical procedure. For example, see “Hospital
  ambulance Services                                                       inpatient care” in the “Cost Share Summary” section of
 Your treating physician determines that you must be                      this EOC for the Cost Share that applies for hospital
  transported to another facility because your                             inpatient care.
  Emergency Medical Condition is not Stabilized and
  the care you need is not available at the treating                       For the following Services related to “Bariatric
  facility                                                                 Surgery,” refer to these sections
                                                                            Outpatient prescription drugs (refer to “Outpatient
If you receive emergency ambulance Services that are                         Prescription Drugs, Supplies, and Supplements”)
not ordered by a Plan Provider, you are not responsible
for any amounts beyond your Cost Share for covered                          Outpatient administered drugs (refer to “Administered
emergency ambulance Services. However, if the provider                       Drugs and Products”)
does not agree to bill us, you may have to pay for the
Services and file a claim for reimbursement. For
information on how to file a claim, please see the “Post-
Service Claims and Appeals” section.

Nonemergency
Inside our Service Area, we cover nonemergency
ambulance and psychiatric transport van Services if a
Plan Physician determines that your condition requires
the use of Services that only a licensed ambulance (or
psychiatric transport van) can provide and that the use of
other means of transportation would endanger your
health. These Services are covered only when the vehicle
transports you to or from covered Services.




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Behavioral Health Treatment for                                             “Qualified Autism Service Paraprofessional” means
Pervasive Developmental Disorder or                                          an unlicensed and uncertified individual who meets
                                                                             all of the following criteria:
Autism
                                                                               is supervised by a Qualified Autism Service
The following terms have special meaning when                                   Provider or Qualified Autism Service Professional
capitalized and used in this “Behavioral Health                                 at a level of clinical supervision that meets
Treatment for Pervasive Developmental Disorder or                               professionally recognized standards of practice
Autism” section:                                                               provides treatment and implements Services
 “Qualified Autism Service Provider” means a                                   pursuant to a treatment plan developed and
  provider who has the experience and competence to                             approved by the Qualified Autism Service
  design, supervise, provide, or administer treatment for                       Provider
  pervasive developmental disorder or autism and is                            meets the education and training qualifications
  either of the following:                                                      described in Section 54342 of Title 17 of the
    a person who is certified by a national entity (such                       California Code of Regulations
     as the Behavior Analyst Certification Board) with                         has adequate education, training, and experience,
     a certification that is accredited by the National                         as certified by a Qualified Autism Service
     Commission for Certifying Agencies                                         Provider or an entity or group that employs
    a person licensed in California as a physician,                            Qualified Autism Service Providers
     physical therapist, occupational therapist,                               is employed by the Qualified Autism Service
     psychologist, marriage and family therapist,                               Provider or an entity or group that employs
     educational psychologist, clinical social worker,                          Qualified Autism Service Providers responsible
     professional clinical counselor, speech-language                           for the autism treatment plan
     pathologist, or audiologist
 “Qualified Autism Service Professional” means an                         We cover behavioral health treatment for pervasive
  individual who meets all of the following criteria:                      developmental disorder or autism (including applied
    provides behavioral health treatment, which may                       behavior analysis and evidence-based behavior
     include clinical case management and case                             intervention programs) that develops or restores, to the
     supervision under the direction and supervision of                    maximum extent practicable, the functioning of a person
     a qualified autism service provider                                   with pervasive developmental disorder or autism and that
                                                                           meets all of the following criteria:
    is supervised by a Qualified Autism Service
     Provider                                                               The Services are provided inside our Service Area
    provides treatment pursuant to a treatment plan                        The treatment is prescribed by a Plan Physician, or is
     developed and approved by the Qualified Autism                          developed by a Plan Provider who is a psychologist
     Service Provider                                                       The treatment is provided under a treatment plan
    is a behavioral health treatment provider who                           prescribed by a Plan Provider who is a Qualified
     meets the education and experience qualifications                       Autism Service Provider
     described in Section 54342 of Title 17 of the                          The treatment is administered by a Plan Provider who
     California Code of Regulations for an Associate                         is one of the following:
     Behavior Analyst, Behavior Analyst, Behavior
                                                                               a Qualified Autism Service Provider
     Management Assistant, Behavior Management
     Consultant, or Behavior Management Program                                a Qualified Autism Service Professional
                                                                                supervised by the Qualified Autism Service
    has training and experience in providing Services
                                                                                Provider
     for pervasive developmental disorder or autism
     pursuant to Division 4.5 (commencing with                                 a Qualified Autism Service Paraprofessional
     Section 4500) of the Welfare and Institutions Code                         supervised by a Qualified Autism Service Provider
     or Title 14 (commencing with Section 95000) of                             or Qualified Autism Service Professional
     the Government Code                                                    The treatment plan has measurable goals over a
    is employed by the Qualified Autism Service                             specific timeline that is developed and approved by
     Provider or an entity or group that employs                             the Qualified Autism Service Provider for the
     Qualified Autism Service Providers responsible                          Member being treated
     for the autism treatment plan



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 The treatment plan is reviewed no less than once                         Dental and Orthodontic Services
  every six months by the Qualified Autism Service
  Provider and modified whenever appropriate                               We do not cover most dental and orthodontic Services
                                                                           under this EOC, but we do cover some dental and
 The treatment plan requires the Qualified Autism
                                                                           orthodontic Services as described in this “Dental and
  Service Provider to do all of the following:
                                                                           Orthodontic Services” section.
    describe the Member’s behavioral health
     impairments to be treated                                             For covered dental and orthodontic procedures that you
    design an intervention plan that includes the                         may receive, you will pay the Cost Share you would pay
     service type, number of hours, and parent                             if the Services were not related to dental and orthodontic
     participation needed to achieve the plan’s goal and                   Services. For example, see “Hospital inpatient care” in
     objectives, and the frequency at which the                            the “Cost Share Summary” section of this EOC for the
     Member’s progress is evaluated and reported                           Cost Share that applies for hospital inpatient care.
    provide intervention plans that utilize evidence-
     based practices, with demonstrated clinical                           Dental Services for radiation treatment
     efficacy in treating pervasive developmental                          We cover dental evaluation, X-rays, fluoride treatment,
     disorder or autism                                                    and extractions necessary to prepare your jaw for
                                                                           radiation therapy of cancer in your head or neck if a Plan
    discontinue intensive behavioral intervention
                                                                           Physician provides the Services or if the Medical Group
     Services when the treatment goals and objectives
                                                                           authorizes a referral to a dentist (as described in
     are achieved or no longer appropriate
                                                                           “Medical Group authorization procedure for certain
 The treatment plan is not used for either of the                         referrals” under “Getting a Referral” in the “How to
  following:                                                               Obtain Services” section).
    for purposes of providing (or for the
     reimbursement of) respite care, day care, or                          Dental anesthesia
     educational services                                                  For dental procedures at a Plan Facility, we provide
    to reimburse a parent for participating in the                        general anesthesia and the facility’s Services associated
     treatment program                                                     with the anesthesia if all of the following are true:
                                                                            You are under age 7, or you are developmentally
For the following Services related to “Behavioral                            disabled, or your health is compromised
Health Treatment for Pervasive Developmental
                                                                            Your clinical status or underlying medical condition
Disorder or Autism,” refer to these sections
                                                                             requires that the dental procedure be provided in a
 Behavioral health treatment for pervasive                                  hospital or outpatient surgery center
  developmental disorder or autism provided during a                        The dental procedure would not ordinarily require
  covered stay in a Plan Hospital or Skilled Nursing                         general anesthesia
  Facility (refer to “Hospital Inpatient Care” and
  “Skilled Nursing Facility Care”)
                                                                           We do not cover any other Services related to the dental
 Outpatient drugs, supplies, and supplements (refer to                    procedure, such as the dentist’s Services.
  “Outpatient Prescription Drugs, Supplies, and
  Supplements”)                                                            Dental and orthodontic Services for cleft palate
 Outpatient laboratory (refer to “Outpatient Imaging,                     We cover dental extractions, dental procedures necessary
  Laboratory, and Other Diagnostic and Treatment                           to prepare the mouth for an extraction, and orthodontic
  Services”)                                                               Services, if they meet all of the following requirements:
 Outpatient physical, occupational, and speech therapy                     The Services are an integral part of a reconstructive
  visits (refer to “Rehabilitative and Habilitative                          surgery for cleft palate that we are covering under
  Services”)                                                                 “Reconstructive Surgery” in this “Benefits” section
                                                                             (“cleft palate” includes cleft palate, cleft lip, or other
 Services to diagnose pervasive developmental
                                                                             craniofacial anomalies associated with cleft palate)
  disorder or autism and Services to develop and revise
  the treatment plan (refer to “Mental Health Services”)                    A Plan Provider provides the Services or the Medical
                                                                             Group authorizes a referral to a Non–Plan Provider
                                                                             who is a dentist or orthodontist (as described in
                                                                             “Medical Group authorization procedure for certain



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   referrals” under “Getting a Referral” in the “How to                     Office visits not described in the “Dialysis Care”
   Obtain Services” section)                                                 section (refer to “Office Visits”)
                                                                            Outpatient laboratory (refer to “Outpatient Imaging,
For the following Services related to “Dental and
                                                                             Laboratory, and Other Diagnostic and Treatment
Orthodontic Services,” refer to these sections
                                                                             Services”)
 Accidental injury to teeth (refer to “Injury to Teeth”)                   Outpatient prescription drugs (refer to “Outpatient
 Office visits not described in the “Dental and                             Prescription Drugs, Supplies, and Supplements”)
  Orthodontic Services” section (refer to “Office                           Outpatient administered drugs (refer to “Administered
  Visits”)                                                                   Drugs and Products”)
 Outpatient imaging, laboratory, and other diagnostic                      Telehealth Visits (refer to “Telehealth Visits”)
  and treatment Services (refer to “Outpatient Imaging,
  Laboratory, and Other Diagnostic and Treatment                           Dialysis care exclusion(s)
  Services”)
                                                                            Comfort, convenience, or luxury equipment, supplies
 Outpatient administered drugs (refer to “Administered
                                                                             and features
  Drugs and Products”), except that we cover outpatient
  administered drugs under “Dental anesthesia” in this                      Nonmedical items, such as generators or accessories
  “Dental and Orthodontic Services” section                                  to make home dialysis equipment portable for travel
 Outpatient prescription drugs (refer to “Outpatient
  Prescription Drugs, Supplies, and Supplements”)                          Durable Medical Equipment (“DME”) for
 Telehealth Visits (refer to “Telehealth Visits”)                         Home Use
                                                                           DME coverage rules
Dialysis Care                                                              DME for home use is an item that meets the following
                                                                           criteria:
We cover acute and chronic dialysis Services if all of the
following requirements are met:                                             The item is intended for repeated use

 The Services are provided inside our Service Area                         The item is primarily and customarily used to serve a
                                                                             medical purpose
 You satisfy all medical criteria developed by the
  Medical Group and by the facility providing the                           The item is generally useful only to an individual
  dialysis                                                                   with an illness or injury

 A Plan Physician provides a written referral for care                     The item is appropriate for use in the home
  at the facility
                                                                           For a DME item to be covered, all of the following
After you receive appropriate training at a dialysis                       requirements must be met:
facility we designate, we also cover equipment and                          Your EOC includes coverage for the requested DME
medical supplies required for home hemodialysis and                          item
home peritoneal dialysis inside our Service Area.
                                                                            A Plan Physician has prescribed the DME item for
Coverage is limited to the standard item of equipment or
                                                                             your medical condition
supplies that adequately meets your medical needs. We
decide whether to rent or purchase the equipment and                        The item has been approved for you through the
supplies, and we select the vendor. You must return the                      Plan’s prior authorization process, as described in
equipment and any unused supplies to us or pay us the                        “Medical Group authorization procedure for certain
fair market price of the equipment and any unused                            referrals” under “Getting a Referral” in the “How to
supply when we are no longer covering them.                                  Obtain Services” section
                                                                            The Services are provided inside our Service Area
For the following Services related to “Dialysis
Care,” refer to these sections                                             Coverage is limited to the standard item of equipment
 Durable medical equipment for home use (refer to                         that adequately meets your medical needs. We decide
  “Durable Medical Equipment (“DME”) for Home                              whether to rent or purchase the equipment, and we select
  Use”)                                                                    the vendor. You must return the equipment to us or pay
                                                                           us the fair market price of the equipment when we are no
 Hospital inpatient care (refer to “Hospital Inpatient
                                                                           longer covering it.
  Care”)

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Base DME Items                                                             DME benefit limit
We cover Base DME Items (including repair or                               For DME covered under the “Supplemental DME items”
replacement of covered equipment) if all of the                            section (including repair and replacement of covered
requirements described under “DME coverage rules” in                       equipment), there is a benefit limit per Member per
this “Durable Medical Equipment (“DME”) for Home                           Accumulation Period. Please refer to the “Cost Share
Use” section are met. “Base DME Items” means the                           Summary” section of this EOC for your benefit limit
following items:                                                           amount. We will calculate accumulation toward the
 Blood glucose monitors for diabetes blood testing and                    benefit limit by adding up the Charges for the durable
  their supplies (such as blood glucose monitor test                       medical equipment you received in the Accumulation
  strips, lancets, and lancet devices)                                     Period that are subject to the limit (including any of these
                                                                           items we covered under any other Health Plan evidence
 Bone stimulator                                                          of coverage offered by your Group, whether or not the
 Canes (standard curved handle or quad) and                               other evidence of coverage had a benefit limit), and
  replacement supplies                                                     subtracting any Cost Share you paid for those items. If
                                                                           you reach the benefit limit, we will not cover any more
 Cervical traction (over door)
                                                                           durable medical equipment in that Accumulation Period
 Crutches (standard or forearm) and replacement                           if they are subject to the benefit limit.
  supplies
 Dry pressure pad for a mattress                                          The following items are not subject to this benefit limit:

 Infusion pumps (such as insulin pumps) and supplies                       Items listed under “Base DME Items” as described in
  to operate the pump                                                        this “Durable Medical Equipment (“DME”) for Home
                                                                             Use” section
 IV pole
                                                                            Breast pumps and supplies as described in
 Nebulizer and supplies                                                     “Breastfeeding Supplies” in this “Durable Medical
 Peak flow meters                                                           Equipment (“DME”) for Home Use” section
 Phototherapy blankets for treatment of jaundice in
                                                                           Outside our Service Area
  newborns
                                                                           We do not cover most DME for home use outside our
Supplemental DME items                                                     Service Area. However, if you live outside our Service
                                                                           Area, we cover the following DME (subject to the Cost
Subject to the benefit limit described under “DME
                                                                           Share and all other coverage requirements that apply to
benefit limit” in this “Durable Medical Equipment
                                                                           DME for home use inside our Service Area) when the
(“DME”) for Home Use” section, we cover DME that is
                                                                           item is dispensed at a Plan Facility:
not described under “Base DME Items” or
“Breastfeeding supplies,” including repair and                              Blood glucose monitors for diabetes blood testing and
replacement of covered equipment, if all of the                              their supplies (such as blood glucose monitor test
requirements described under “DME coverage rules” in                         strips, lancets, and lancet devices) from a Plan
this “Durable Medical Equipment (“DME”) for Home                             Pharmacy
Use” section are met.                                                       Canes (standard curved handle)
Breastfeeding supplies                                                      Crutches (standard)
We cover one retail-grade breast pump per pregnancy                         Insulin pumps and supplies to operate the pump, after
and the necessary supplies to operate it, such as one set                    completion of training and education on the use of the
of bottles. We will decide whether to rent or purchase the                   pump
item and we choose the vendor. We cover this pump for                       Nebulizers and their supplies for the treatment of
convenience purposes. The pump is not subject to prior                       pediatric asthma
authorization requirements.
                                                                            Peak flow meters from a Plan Pharmacy
If you or your baby has a medical condition that requires
the use of a breast pump, we cover a hospital-grade                        For the following Services related to “Durable
breast pump and the necessary supplies to operate it, in                   Medical Equipment (“DME”) for Home Use,”
accord with the coverage rules described under “DME                        refer to these sections
coverage rules” in this “Durable Medical Equipment                          Dialysis equipment and supplies required for home
(“DME”) for Home Use” section.                                               hemodialysis and home peritoneal dialysis (refer to
                                                                             “Dialysis Care”)


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 Diabetes urine testing supplies and insulin-                                (“IUDs”) and office visits related to their
  administration devices other than insulin pumps (refer                      administration and management
  to “Outpatient Prescription Drugs, Supplies, and                          Female sterilization procedures
  Supplements”)
                                                                            Male sterilization procedures
 Durable medical equipment related to an Emergency
  Medical Condition or Urgent Care episode (refer to                        Termination of pregnancy
  “Post-Stabilization Care” and “Out-of-Area Urgent
  Care”)                                                                   For the following Services related to “Family
                                                                           Planning Services,” refer to these sections
 Durable medical equipment related to the terminal
  illness for Members who are receiving covered                             Services to diagnose or treat infertility (refer to
  hospice care (refer to “Hospice Care”)                                     “Fertility Services”)
 Insulin and any other drugs administered with an                          Outpatient administered drugs that are not
  infusion pump (refer to “Outpatient Prescription                           contraceptives (refer to “Administered Drugs and
  Drugs, Supplies, and Supplements”)                                         Products”)
                                                                            Outpatient laboratory and imaging services associated
DME for home use exclusion(s)                                                with family planning services (refer to “Outpatient
 Comfort, convenience, or luxury equipment or                               Imaging, Laboratory, and Other Diagnostic and
  features except for retail-grade breast pumps as                           Treatment Services”)
  described under “Breastfeeding supplies” in this                          Outpatient contraceptive drugs and devices (refer to
  “Durable Medical Equipment (“DME”) for Home                                “Outpatient Prescription Drugs, Supplies, and
  Use” section                                                               Supplements”)
 Items not intended for maintaining normal activities
  of daily living, such as exercise equipment (including                   Family planning Services exclusion(s)
  devices intended to provide additional support for                        Reversal of voluntary sterilization
  recreational or sports activities)
 Hygiene equipment
                                                                           Fertility Services
 Nonmedical items, such as sauna baths or elevators
 Modifications to your home or car                                        “Fertility Services” means treatments and procedures to
                                                                           help you become pregnant.
 Devices for testing blood or other body substances
  (except diabetes blood glucose monitors and their                        Diagnosis and treatment of infertility
  supplies)                                                                For purposes of this “Diagnosis and treatment of
 Electronic monitors of the heart or lungs except infant                  infertility” section, “infertility” means not being able to
  apnea monitors                                                           get pregnant or carry a pregnancy to a live birth after a
 Repair or replacement of equipment due to loss, theft,                   year or more of regular sexual relations without
  or misuse                                                                contraception or having a medical or other demonstrated
                                                                           condition that is recognized by a Plan Physician as a
                                                                           cause of infertility.
Emergency and Urgent Care Visits
                                                                           Services for the diagnosis and treatment of infertility are
We cover the following Emergency and Urgent Care                           not covered under this EOC.
visits:
 Emergency Department visits                                              Artificial insemination
                                                                           Services for artificial insemination are not covered under
 Urgent Care consultations, evaluations, and treatment
                                                                           this EOC.

Family Planning Services                                                   Assisted reproductive technology (“ART”)
                                                                           Services
We cover the following family planning Services:                           ART Services such as in vitro fertilization (“IVF”),
 Family planning counseling                                               gamete intra-fallopian transfer (“GIFT”), or zygote
                                                                           intrafallopian transfer (“ZIFT”) are not covered under
 Injectable contraceptives, internally implanted time-                    this EOC.
  release contraceptives or intrauterine devices

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For the following Services related to “Fertility                           For the following Services related to “Hearing
Services,” refer to these sections                                         Services,” refer to these sections
 Outpatient drugs, supplies, and supplements (refer to                     Routine hearing screenings when performed as part of
  “Outpatient Prescription Drugs, Supplies, and                              a routine physical maintenance exam (refer to
  Supplements”)                                                              “Preventive Services”)
                                                                            Services related to the ear or hearing other than those
Fertility Services exclusion(s)                                              described in this section, such as outpatient care to
 Services to diagnose or treat infertility                                  treat an ear infection or outpatient prescription drugs,
                                                                             supplies, and supplements (refer to the applicable
 Services for artificial insemination
                                                                             heading in this “Benefits” section)
 Services to reverse voluntary, surgically induced
                                                                            Cochlear implants and osseointegrated hearing
  infertility
                                                                             devices (refer to “Prosthetic and Orthotic Devices”)
 Semen and eggs (and Services related to their
  procurement and storage)                                                 Hearing Services exclusion(s)
 ART Services, such as ovum transplants, GIFT, IVF,                        Hearing aids and tests to determine their efficacy, and
  and ZIFT                                                                   hearing tests to determine an appropriate hearing aid


Health Education                                                           Home Health Care
We cover a variety of health education counseling,                         “Home health care” means Services provided in the
programs, and materials that your personal Plan                            home by nurses, medical social workers, home health
Physician or other Plan Providers provide during a visit                   aides, and physical, occupational, and speech therapists.
covered under another part of this EOC.
                                                                           We cover home health care only if all of the following
We also cover a variety of health education counseling,                    are true:
programs, and materials to help you take an active role in
protecting and improving your health, including                             You are substantially confined to your home (or a
programs for tobacco cessation, stress management, and                       friend’s or relative’s home)
chronic conditions (such as diabetes and asthma). Kaiser                    Your condition requires the Services of a nurse,
Permanente also offers health education counseling,                          physical therapist, occupational therapist, or speech
programs, and materials that are not covered, and you                        therapist (home health aide Services are not covered
may be required to pay a fee.                                                unless you are also getting covered home health care
                                                                             from a nurse, physical therapist, occupational
For more information about our health education                              therapist, or speech therapist that only a licensed
counseling, programs, and materials, please contact a                        provider can provide)
Health Education Department or our Member Service                           A Plan Physician determines that it is feasible to
Contact Center or go to our website at kp.org.                               maintain effective supervision and control of your
                                                                             care in your home and that the Services can be safely
                                                                             and effectively provided in your home
Hearing Services
                                                                            The Services are provided inside our Service Area
We cover the following:
 Hearing exams with an audiologist to determine the                       We cover only part-time or intermittent home health
  need for hearing correction                                              care, as follows:
 Physician Specialist Visits to diagnose and treat                         Up to two hours per visit for visits by a nurse,
  hearing problems                                                           medical social worker, or physical, occupational, or
                                                                             speech therapist, and up to four hours per visit for
Hearing aids                                                                 visits by a home health aide
Hearing aids and related Services are not covered under                     Up to three visits per day (counting all home health
this EOC. For internally implanted devices, see                              visits)
“Prosthetic and Orthotic Devices” in this “Benefits”                        Up to 100 visits per Accumulation Period (counting
section.                                                                     all home health visits)


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Note: If a visit by a nurse, medical social worker, or                     palliative care for pain and other symptoms associated
physical, occupational, or speech therapist lasts longer                   with the terminal illness, but not to receive care to try to
than two hours, then each additional increment of two                      cure the terminal illness. You may change your decision
hours counts as a separate visit. If a visit by a home                     to receive hospice care benefits at any time.
health aide lasts longer than four hours, then each
additional increment of four hours counts as a separate                    We cover the hospice Services listed below only if all of
visit. For example, if a nurse comes to your home for                      the following requirements are met:
three hours and then leaves, that counts as two visits.
                                                                            A Plan Physician has diagnosed you with a terminal
Also, each person providing Services counts toward
                                                                             illness and determines that your life expectancy is 12
these visit limits. For example, if a home health aide and
                                                                             months or less
a nurse are both at your home during the same two hours,
that counts as two visits.                                                  The Services are provided inside our Service Area or
                                                                             inside California but within 15 miles or 30 minutes
For the following Services related to “Home                                  from our Service Area (including a friend’s or
Health Care,” refer to these sections                                        relative’s home even if you live there temporarily)
 Behavioral health treatment for pervasive                                 The Services are provided by a licensed hospice
  developmental disorder or autism (refer to                                 agency that is a Plan Provider
  “Behavioral Health Treatment for Pervasive                                A Plan Physician determines that the Services are
  Developmental Disorder or Autism”)                                         necessary for the palliation and management of your
 Dialysis care (refer to “Dialysis Care”)                                   terminal illness and related conditions
 Durable medical equipment (refer to “Durable
                                                                           If all of the above requirements are met, we cover the
  Medical Equipment (“DME”) for Home Use”)
                                                                           following hospice Services, if necessary for your hospice
 Ostomy and urological supplies (refer to “Ostomy and                     care:
  Urological Supplies”)
                                                                            Plan Physician Services
 Outpatient drugs, supplies, and supplements (refer to
                                                                            Skilled nursing care, including assessment,
  “Outpatient Prescription Drugs, Supplies, and
                                                                             evaluation, and case management of nursing needs,
  Supplements”)
                                                                             treatment for pain and symptom control, provision of
 Outpatient physical, occupational, and speech therapy                      emotional support to you and your family, and
  visits (refer to “Rehabilitative and Habilitative                          instruction to caregivers
  Services”)
                                                                            Physical, occupational, and speech therapy for
 Prosthetic and orthotic devices (refer to “Prosthetic                      purposes of symptom control or to enable you to
  and Orthotic Devices”)                                                     maintain activities of daily living
                                                                            Respiratory therapy
Home health care exclusion(s)
                                                                            Medical social services
 Care of a type that an unlicensed family member or
  other layperson could provide safely and effectively                      Home health aide and homemaker services
  in the home setting after receiving appropriate                           Palliative drugs prescribed for pain control and
  training. This care is excluded even if we would cover                     symptom management of the terminal illness for up to
  the care if it were provided by a qualified medical                        a 100-day supply in accord with our drug formulary
  professional in a hospital or a Skilled Nursing Facility                   guidelines. You must obtain these drugs from a Plan
 Care in the home if the home is not a safe and                             Pharmacy. Certain drugs are limited to a maximum
  effective treatment setting                                                30-day supply in any 30-day period (please call our
                                                                             Member Service Contact Center for the current list of
                                                                             these drugs)
Hospice Care                                                                Durable medical equipment
Hospice care is a specialized form of interdisciplinary                     Respite care when necessary to relieve your
health care designed to provide palliative care and to                       caregivers. Respite care is occasional short-term
alleviate the physical, emotional, and spiritual                             inpatient care limited to no more than five
discomforts of a Member experiencing the last phases of                      consecutive days at a time
life due to a terminal illness. It also provides support to                 Counseling and bereavement services
the primary caregiver and the Member’s family. A
Member who chooses hospice care is choosing to receive                      Dietary counseling

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We also cover the following hospice Services only                           Medical social services and discharge planning
during periods of crisis when they are Medically
Necessary to achieve palliation or management of acute                     For Services related to “Hospital Inpatient
medical symptoms:                                                          Care,” refer to these sections
 Nursing care on a continuous basis for as much as 24                      Bariatric Surgery
  hours a day as necessary to maintain you at home
                                                                            Dental and Orthodontic Services
 Short-term inpatient care required at a level that
                                                                            Dialysis Care
  cannot be provided at home
                                                                            Fertility Services
                                                                            Hospice Care
Hospital Inpatient Care
                                                                            Mental Health Services
We cover the following inpatient Services in a Plan
                                                                            Prosthetic and Orthotic Devices
Hospital, when the Services are generally and
customarily provided by acute care general hospitals                        Reconstructive Surgery
inside our Service Area:                                                    Services in Connection with a Clinical Trial
 Room and board, including a private room if                               Skilled Nursing Facility Care
  Medically Necessary
                                                                            Substance Use Disorder Treatment
 Specialized care and critical care units
                                                                            Transplant Services
 General and special nursing care
 Operating and recovery rooms
                                                                           Injury to Teeth
 Services of Plan Physicians, including consultation
  and treatment by specialists                                             Services for accidental injury to teeth are not covered
 Anesthesia                                                               under this EOC.

 Drugs prescribed in accord with our drug formulary
  guidelines (for discharge drugs prescribed when you                      Mental Health Services
  are released from the hospital, please refer to
  “Outpatient Prescription Drugs, Supplies, and                            We cover Services specified in this “Mental Health
  Supplements” in this “Benefits” section)                                 Services” section only when the Services are for the
                                                                           diagnosis or treatment of Mental Disorders. A “Mental
 Radioactive materials used for therapeutic purposes
                                                                           Disorder” is a mental health condition identified as a
 Durable medical equipment and medical supplies                           “mental disorder” in the Diagnostic and Statistical
 Imaging, laboratory, and other diagnostic and                            Manual of Mental Disorders, Fourth Edition, Text
  treatment Services, including MRI, CT, and PET                           Revision, as amended in the most recently issued edition,
  scans                                                                    (“DSM”) that results in clinically significant distress or
                                                                           impairment of mental, emotional, or behavioral
 Whole blood, red blood cells, plasma, platelets, and                     functioning. We do not cover services for conditions that
  their administration                                                     the DSM identifies as something other than a “mental
 Obstetrical care and delivery (including cesarean                        disorder.” For example, the DSM identifies relational
  section). Note: If you are discharged within 48 hours                    problems as something other than a “mental disorder,” so
  after delivery (or within 96 hours if delivery is by                     we do not cover services (such as couples counseling or
  cesarean section), your Plan Physician may order a                       family counseling) for relational problems.
  follow-up visit for you and your newborn to take
  place within 48 hours after discharge (for visits after                  “Mental Disorders” include the following conditions:
  you are released from the hospital, please refer to
                                                                            Severe Mental Illness of a person of any age
  “Office Visits” in this “Benefits” section)
                                                                            Serious Emotional Disturbance of a Child Under Age
 Behavioral health treatment for pervasive
                                                                             18
  developmental disorder or autism
 Respiratory therapy                                                      In addition to the Services described in this Mental
 Physical, occupational, and speech therapy (including                    Health Services section, we also cover other Services
  treatment in our organized, multidisciplinary                            that are Medically Necessary to treat Serious Emotional
  rehabilitation program)                                                  Disturbance of a Child Under Age 18 or Severe Mental


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Illness, if the Medical Group authorizes a written referral                Inpatient psychiatric hospitalization
(as described in “Medical Group authorization procedure                    We cover inpatient psychiatric hospitalization in a Plan
for certain referrals” under “Getting a Referral” in the                   Hospital. Coverage includes room and board, drugs, and
“How to Obtain Services” section).                                         Services of Plan Physicians and other Plan Providers
                                                                           who are licensed health care professionals acting within
Outpatient mental health Services                                          the scope of their license.
We cover the following Services when provided by Plan
Physicians or other Plan Providers who are licensed                        For the following Services related to “Mental
health care professionals acting within the scope of their                 Health Services,” refer to these sections
license:
                                                                            Outpatient drugs, supplies, and supplements (refer to
 Individual and group mental health evaluation and                          “Outpatient Prescription Drugs, Supplies, and
  treatment                                                                  Supplements”)
 Psychological testing when necessary to evaluate a                        Outpatient laboratory (refer to “Outpatient Imaging,
  Mental Disorder                                                            Laboratory, and Other Diagnostic and Treatment
 Outpatient Services for the purpose of monitoring                          Services”)
  drug therapy                                                              Telehealth Visits (refer to “Telehealth Visits”)

Intensive psychiatric treatment programs. We cover
the following intensive psychiatric treatment programs at                  Office Visits
a Plan Facility:
                                                                           We cover the following:
 Partial hospitalization
                                                                            Primary Care Visits and Non-Physician Specialist
 Multidisciplinary treatment in an intensive outpatient                     Visits
  program
                                                                            Physician Specialist Visits
 Psychiatric observation for an acute psychiatric crisis
                                                                            Group appointments
Residential treatment                                                       Acupuncture Services (typically provided only for the
Inside our Service Area, we cover the following Services                     treatment of nausea or as part of a comprehensive
when the Services are provided in a licensed residential                     pain management program for the treatment of
treatment facility that provides 24-hour individualized                      chronic pain)
mental health treatment, the Services are generally and                     House calls by a Plan Physician (or a Plan Provider
customarily provided by a mental health residential                          who is a registered nurse) inside our Service Area
treatment program in a licensed residential treatment                        when care can best be provided in your home as
facility, and the Services are above the level of custodial                  determined by a Plan Physician
care:
 Individual and group mental health evaluation and
  treatment                                                                Ostomy and Urological Supplies
 Medical services                                                         We cover ostomy and urological supplies if the
 Medication monitoring                                                    following requirements are met:

 Room and board                                                            A Plan Physician has prescribed ostomy and
                                                                             urological supplies for your medical condition
 Social services
                                                                            The item has been approved for you through the
 Drugs prescribed by a Plan Provider as part of your                        Plan’s prior authorization process, as described in
  plan of care in the residential treatment facility in                      “Medical Group authorization procedure for certain
  accord with our drug formulary guidelines if they are                      referrals” under “Getting a Referral” in the “How to
  administered to you in the facility by medical                             Obtain Services” section
  personnel (for discharge drugs prescribed when you
  are released from the residential treatment facility,                     The Services are provided inside our Service Area
  please refer to “Outpatient Prescription Drugs,
  Supplies, and Supplements” in this “Benefits”                            Coverage is limited to the standard item of equipment
  section)                                                                 that adequately meets your medical needs. We decide
                                                                           whether to rent or purchase the equipment, and we select
 Discharge planning                                                       the vendor.


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Ostomy and urological supplies exclusion(s)                                items described in this section when prescribed as
                                                                           follows:
 Comfort, convenience, or luxury equipment or
  features                                                                  Items prescribed by Plan Providers, within the scope
                                                                             of their licensure and practice
                                                                            Items prescribed by the following Non–Plan
Outpatient Imaging, Laboratory, and                                          Providers:
Other Diagnostic and Treatment
                                                                               Dentists if the drug is for dental care
Services
                                                                               Non–Plan Physicians if the Medical Group
We cover the following Services only when part of care                          authorizes a written referral to the Non–Plan
covered under other headings in this “Benefits” section.                        Physician (in accord with “Medical Group
The Services must be prescribed by a Plan Provider.                             authorization procedure for certain referrals”
                                                                                under “Getting a Referral” in the “How to Obtain
 Complex imaging (other than preventive) such as CT
                                                                                Services” section) and the drug, supply, or
  scans, MRIs, and PET scans
                                                                                supplement is covered as part of that referral
 Basic imaging Services, such as diagnostic and
                                                                               Non–Plan Physicians if the prescription was
  therapeutic X-rays, mammograms, and ultrasounds
                                                                                obtained as part of covered Emergency Services,
 Nuclear medicine                                                              Post-Stabilization Care, or Out-of-Area Urgent
 Routine retinal photography screenings                                        Care described in the “Emergency Services and
                                                                                Urgent Care” section (if you fill the prescription at
 Laboratory tests (including tests to monitor the                              a Plan Pharmacy, you may have to pay Charges
  effectiveness of dialysis and tests for specific genetic                      for the item and file a claim for reimbursement as
  disorders for which genetic counseling is available)                          described under “Payment and Reimbursement” in
 Diagnostic Services provided by Plan Providers who                            the “Emergency Services and Urgent Care”
  are not physicians (such as EKGs and EEGs)                                    section)
 Radiation therapy
                                                                           How to obtain covered items
 Ultraviolet light treatments                                             You must obtain covered items at a Plan Pharmacy or
                                                                           through our mail-order service unless you obtain the item
For the following Services related to “Outpatient                          as part of covered Emergency Services, Post-
Imaging, Laboratory, and Other Diagnostic and                              Stabilization Care, or Out-of-Area Urgent Care described
Treatment Services,” refer to these sections                               in the “Emergency Services and Urgent Care” section.
 Outpatient imaging and laboratory Services that are
  Preventive Services, such as routine mammograms,                         For the locations of Plan Pharmacies, refer to our
  bone density scans, and laboratory screening tests                       Provider Directory or call our Member Service Contact
  (refer to “Preventive Services”)                                         Center.
 Outpatient procedures that include imaging and
                                                                           Refills. You may be able to order refills at a Plan
  diagnostic Services (refer to “Outpatient Surgery and
                                                                           Pharmacy, through our mail-order service, or through our
  Outpatient Procedures”)
                                                                           website at kp.org/rxrefill. A Plan Pharmacy can give
 Services related to diagnosis and treatment of                           you more information about obtaining refills, including
  infertility, artificial insemination, or assisted                        the options available to you for obtaining refills. For
  reproductive technology (“ART”) Services (refer to                       example, a few Plan Pharmacies don’t dispense refills
  “Fertility Services”)                                                    and not all drugs can be mailed through our mail-order
                                                                           service. Please check with a Plan Pharmacy if you have a
                                                                           question about whether your prescription can be mailed
Outpatient Prescription Drugs, Supplies,                                   or obtained at a Plan Pharmacy. Items available through
and Supplements                                                            our mail-order service are subject to change at any time
                                                                           without notice.
We cover outpatient drugs, supplies, and supplements
specified in this “Outpatient Prescription Drugs,                          Day supply limit
Supplies, and Supplements” section, in accord with our
                                                                           The prescribing physician or dentist determines how
drug formulary guidelines, subject to any applicable
                                                                           much of a drug, supply, or supplement to prescribe. For
exclusions or limitations under this EOC. We cover
                                                                           purposes of day supply coverage limits, Plan Physicians
                                                                           determine the amount of an item that constitutes a

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Medically Necessary 30- or 100-day supply (or 365-day                      Formulary exception process. Drug formulary
supply if the item is a hormonal contraceptive) for you.                   guidelines allow you to obtain a non-formulary
Upon payment of the Cost Share specified in the                            prescription drug (those not listed on our drug formulary
“Outpatient prescription drugs, supplies, and                              for your condition) if it would otherwise be covered by
supplements” section of the “Cost Share Summary,” you                      your plan, as described above, and it is Medically
will receive the supply prescribed up to the day supply                    Necessary. If you disagree with a Health Plan
limit also specified in this section. The maximum you                      determination that a non-formulary prescription drug is
may receive at one time of a covered item, other than a                    not covered, you may file a grievance as described in the
hormonal contraceptive, is either one 30-day supply in a                   “Dispute Resolution” section.
30-day period or one 100-day supply in a 100-day
period. If you wish to receive more than the covered day                   Continuity drugs. If this EOC is amended to exclude a
supply limit, then you must pay Charges for any                            drug that we have been covering and providing to you
prescribed quantities that exceed the day supply limit.                    under this EOC, we will continue to provide the drug if a
                                                                           prescription is required by law and a Plan Physician
If your plan includes coverage for hormonal                                continues to prescribe the drug for the same condition
contraceptives, the maximum you may receive at one                         and for a use approved by the Federal Food and Drug
time of contraceptive drugs is a 365-day supply. Refer to                  Administration.
the “Cost Share Summary” section of this EOC to find
out if your plan includes coverage for hormonal                            About drug tiers
contraceptives.                                                            Drugs on the drug formulary are categorized into one of
                                                                           three tiers, as described in the table below. Your Cost
If your plan includes coverage for sexual dysfunction                      Share for covered items may vary based on the tier.
drugs, the maximum you may receive at one time of                          Please refer to “Outpatient prescription drugs, supplies,
episodic drugs prescribed for the treatment of sexual                      and supplements” in the “Cost Share Summary” section
dysfunction disorders is 8 doses in any 30-day period or                   of this EOC for Cost Share for items covered under this
up to 27 doses in any 100-day period. Refer to the “Cost                   section.
Share Summary” section of this EOC to find out if your
plan includes coverage for sexual dysfunction drugs.
                                                                            Drug Tier           Description
The pharmacy may reduce the day supply dispensed at
the Cost Share specified in the “Outpatient prescription                    Generic drugs       Generic drugs, supplies and
drugs, supplies, and supplements” section of the “Cost                      (Tier 1)            supplements, and some low-cost
Share Summary” to a 30-day supply in any 30-day                                                 brand-name drugs, supplies, and
period if the pharmacy determines that the item is in                                           supplements
limited supply in the market or for specific drugs (your
Plan Pharmacy can tell you if a drug you take is one of
                                                                            Brand drugs         Most brand-name drugs, supplies,
these drugs).
                                                                            (Tier 2)*           and supplements
About the drug formulary
                                                                            Specialty           Specialty drugs (see “About
The drug formulary includes a list of drugs that our                        drugs (Tier 4)      specialty drugs”)
Pharmacy and Therapeutics Committee has approved for
our Members. Our Pharmacy and Therapeutics
                                                                           *Note: This plan does not have a tier for non-formulary
Committee, which is primarily composed of Plan
                                                                           drugs (“Tier 3”). You will pay the same Cost Share for
Physicians, selects drugs for the drug formulary based on
                                                                           non-formulary drugs as you would for formulary drugs,
a number of factors, including safety and effectiveness as
                                                                           when approved through the formulary exception process
determined from a review of medical literature. The
                                                                           described above (the generic drugs, brand drugs, or
Pharmacy and Therapeutics Committee meets at least
                                                                           specialty drugs Cost Share will apply, as applicable).
quarterly to consider additions and deletions based on
new information or drugs that become available. To find
out which drugs are on the formulary for your plan,                        About specialty drugs. Specialty drugs (Tier 4) are
please visit our website at kp.org/formulary. If you                       high-cost drugs that are on our specialty drug list. To
would like to request a copy of the drug formulary for                     obtain a list of specialty drugs that are on our formulary,
your plan, please call our Member Service Contact                          or to find out if a non-formulary drug is on the specialty
Center. Note: The presence of a drug on the drug                           drugs tier, please call our Member Service Contact
formulary does not necessarily mean that it will be                        Center. If your Plan Physician prescribes more than a 30-
prescribed for a particular medical condition.                             day supply for an outpatient drug, you may be able to


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obtain more than a 30-day supply at one time, up to the                     Call the pharmacy phone number highlighted on your
day supply limit for that drug. However, most specialty                      prescription label and select the mail delivery option
drugs are limited to a 30-day supply in any 30-day
                                                                            On your next visit to a Kaiser Permanente pharmacy,
period. Your Plan Pharmacy can tell you if a drug you
                                                                             ask our staff how you can have your prescriptions
take is one of these drugs.
                                                                             mailed to you
General rules about coverage and your Cost
                                                                           Note: Not all drugs can be mailed; restrictions and
Share
                                                                           limitations apply.
We cover the following outpatient drugs, supplies, and
supplements as described in this “Outpatient Prescription
                                                                           Base drugs, supplies, and supplements. Cost Share for
Drugs, Supplies, and Supplements” section:
                                                                           the following items may be different than other drugs,
 Drugs for which a prescription is required by law. We                    supplies, and supplements. Refer to “Base drugs,
  also cover certain drugs that do not require a                           supplies, and supplements” in the “Cost Share
  prescription by law if they are listed on our drug                       Summary” section of this EOC:
  formulary
                                                                            Certain drugs for the treatment of life-threatening
 Disposable needles and syringes needed for injecting                       ventricular arrhythmia
  covered drugs and supplements
                                                                            Drugs for the treatment of tuberculosis
 Inhaler spacers needed to inhale covered drugs
                                                                            Elemental dietary enteral formula when used as a
                                                                             primary therapy for regional enteritis
Note:
                                                                            Hematopoietic agents for dialysis
 If Charges for the drug, supply, or supplement are less
  than the Copayment, you will pay the lesser amount,                       Hematopoietic agents for the treatment of anemia in
  subject to any applicable deductible or out-of-pocket                      chronic renal insufficiency
  maximum                                                                   Human growth hormone for long-term treatment of
 Items can change tier at any time, in accord with                          pediatric patients with growth failure from lack of
  formulary guidelines, which may impact your Cost                           adequate endogenous growth hormone secretion
  Share (for example, if a brand-name drug is added to                      Immunosuppressants and ganciclovir and ganciclovir
  the specialty drug list, you will pay the Cost Share                       prodrugs for the treatment of cytomegalovirus when
  that applies to drugs on the specialty drugs tier (Tier                    prescribed in connection with a transplant
  4), not the Cost Share for drugs on the brand drugs
                                                                            Phosphate binders for dialysis patients for the
  tier (Tier 2))
                                                                             treatment of hyperphosphatemia in end stage renal
                                                                             disease
Schedule II drugs. You or the prescribing provider can
request that the pharmacy dispense less than the
                                                                           For the following Services related to “Outpatient
prescribed amount of a covered oral, solid dosage form
                                                                           Prescription Drugs, Supplies, and
of a Schedule II drug (your Plan Pharmacy can tell you if
                                                                           Supplements,” refer to these sections
a drug you take is one of these drugs). Your Cost Share
will be prorated based on the amount of the drug that is                    Administered contraceptives (refer to “Family
dispensed. If the pharmacy does not prorate your Cost                        Planning Services”)
Share, we will send you a refund for the difference.                        Diabetes blood-testing equipment and their supplies,
                                                                             and insulin pumps and their supplies (refer to
Mail-order service. Prescription refills can be mailed                       “Durable Medical Equipment (“DME”) for Home
within 7 to 10 days at no extra cost for standard U.S.                       Use”)
postage. The appropriate Cost Share (according to your
drug coverage) will apply and must be charged to a valid                    Drugs covered during a covered stay in a Plan
credit card.                                                                 Hospital or Skilled Nursing Facility (refer to
                                                                             “Hospital Inpatient Care” and “Skilled Nursing
                                                                             Facility Care”)
You may request mail-order service in the following
ways:                                                                       Drugs prescribed for pain control and symptom
                                                                             management of the terminal illness for Members who
 To order online, visit kp.org/rxrefill (you can register
                                                                             are receiving covered hospice care (refer to “Hospice
  for a secure account at kp.org/registernow) or use
                                                                             Care”)
  the KP app from your smartphone or other mobile
  device


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 Durable medical equipment used to administer drugs                       For the following Services related to “Outpatient
  (refer to “Durable Medical Equipment (“DME”) for                         Surgery and Outpatient Procedures,” refer to
  Home Use”)                                                               these sections
 Outpatient administered drugs that are not                                Outpatient procedures (including imaging and
  contraceptives (refer to “Administered Drugs and                           diagnostic Services) that do not require a licensed
  Products”)                                                                 staff member to monitor your vital signs (refer to the
                                                                             section that would otherwise apply for the procedure;
Outpatient prescription drugs, supplies, and                                 for example, for radiology procedures that do not
supplements exclusion(s)                                                     require a licensed staff member to monitor your vital
                                                                             signs, refer to “Outpatient Imaging, Laboratory, and
 Any requested packaging (such as dose packaging)
                                                                             Other Diagnostic and Treatment Services”)
  other than the dispensing pharmacy’s standard
  packaging
 Compounded products unless the drug is listed on our                     Preventive Services
  drug formulary or one of the ingredients requires a
  prescription by law                                                      We cover a variety of Preventive Services, including but
                                                                           not limited to the following:
 Drugs prescribed to shorten the duration of the
  common cold                                                               Services recommended by the United States
                                                                             Preventive Services Task Force with rating of “A” or
 (Effective January 1, 2021) Prescription drugs for                         “B.” The complete list of these services can be found
  which there is an over-the-counter equivalent (the                         at uspreventiveservicestaskforce.org
  same active ingredient, strength, and dosage form as
  the prescription drug). This exclusion does not apply                     Immunizations listed on the Recommended
  to:                                                                        Childhood Immunization Schedule/United States,
                                                                             jointly adopted by the American Academy of
    insulin
                                                                             Pediatrics, the Advisory Committee on Immunization
    over-the-counter drugs covered under “Preventive                        Practices, and the American Academy of Family
     Services” in this “Benefits” section (this includes                     Physicians
     tobacco cessation drugs and contraceptive drugs)
                                                                            Preventive services for women recommended by the
    an entire class of prescription drugs when one drug                     Health Resources and Services Administration and
     within that class becomes available over-the-                           incorporated into the Affordable Care Act. The
     counter                                                                 complete list of these services can be found at
 All drugs, supplies, and supplements for diagnosis                         www.hrsa.gov/womens-guidelines
  and treatment of infertility or related to artificial
  insemination                                                             The list of Preventive Services recommended by the
                                                                           above organizations is subject to change. These
 All drugs, supplies, and supplements related to
                                                                           Preventive Services are subject to all coverage
  assisted reproductive technology (“ART”) Services
                                                                           requirements described in this “Benefits” section and all
                                                                           provisions in the “Exclusions, Limitations, Coordination
Outpatient Surgery and Outpatient                                          of Benefits, and Reductions” section. You may obtain a
                                                                           list of Preventive Services we cover on our website at
Procedures
                                                                           kp.org/prevention. If you have questions about
We cover the following outpatient care Services:                           Preventive Services, please call our Member Service
                                                                           Contact Center.
 Outpatient surgery
 Outpatient procedures (including imaging and                             Note: If you receive any other covered Services that are
  diagnostic Services) when provided in an outpatient                      not Preventive Services during or subsequent to a visit
  or ambulatory surgery center or in a hospital                            that includes Preventive Services on the list, you will pay
  operating room, or in any setting where a licensed                       the applicable Cost Share for those other Services. For
  staff member monitors your vital signs as you regain                     example, if laboratory tests or imaging Services ordered
  sensation after receiving drugs to reduce sensation or                   during a preventive office visit are not Preventive
  to minimize discomfort                                                   Services, you will pay the applicable Cost Share for
                                                                           those Services.




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For the following Services related to “Preventive                          are covering under another section of this “Benefits”
Services,” refer to these sections                                         section.
 Breast pumps and breastfeeding supplies (refer to
  “Breastfeeding supplies” under “Durable Medical                          External devices. We cover the following external
  Equipment (“DME”) for Home Use”)                                         prosthetic and orthotic devices:

 Health education programs (refer to “Health                               Prosthetic devices and installation accessories to
  Education”)                                                                restore a method of speaking following the removal
                                                                             of all or part of the larynx (this coverage does not
 Outpatient drugs, supplies, and supplements that are                       include electronic voice-producing machines, which
  Preventive Services (refer to “Outpatient Prescription                     are not prosthetic devices)
  Drugs, Supplies, and Supplements”)
                                                                            After a Medically Necessary mastectomy:
 Women’s family planning counseling, consultations,
                                                                               prostheses, including custom-made prostheses
  and sterilization Services (refer to “Family Planning
                                                                                when Medically Necessary
  Services”)
                                                                               up to three brassieres required to hold a prosthesis
                                                                                in any 12-month period
Prosthetic and Orthotic Devices                                             Podiatric devices (including footwear) to prevent or
Prosthetic and orthotic devices coverage rules                               treat diabetes-related complications when prescribed
                                                                             by a Plan Physician or by a Plan Provider who is a
We cover the prosthetic and orthotic devices specified in
                                                                             podiatrist
this “Prosthetic and Orthotic Devices” section if all of
the following requirements are met:                                         Compression burn garments and lymphedema wraps
                                                                             and garments
 The device is in general use, intended for repeated
  use, and primarily and customarily used for medical                       Enteral formula for Members who require tube
  purposes                                                                   feeding in accord with Medicare guidelines
 The device is the standard device that adequately                         Enteral pump and supplies
  meets your medical needs                                                  Tracheostomy tube and supplies
 You receive the device from the provider or vendor                        Prostheses to replace all or part of an external facial
  that we select                                                             body part that has been removed or impaired as a
 The item has been approved for you through the                             result of disease, injury, or congenital defect
  Plan’s prior authorization process, as described in
  “Medical Group authorization procedure for certain                       Supplemental prosthetic and orthotic devices
  referrals” under “Getting a Referral” in the “How to                     If all of the requirements described under “Prosthetic and
  Obtain Services” section                                                 orthotic coverage rules” in this “Prosthetics and Orthotic
 The Services are provided inside our Service Area                        Devices” section are met, we cover the following items:
                                                                            Prosthetic devices required to replace all or part of an
Coverage includes fitting and adjustment of these                            organ or extremity, but only if they also replace the
devices, their repair or replacement, and Services to                        function of the organ or extremity
determine whether you need a prosthetic or orthotic                         Rigid and semi-rigid orthotic devices required to
device. If we cover a replacement device, then you pay                       support or correct a defective body part
the Cost Share that you would pay for obtaining that
device.                                                                     Covered special footwear when custom made for foot
                                                                             disfigurement due to disease, injury, or
Base prosthetic and orthotic devices                                         developmental disability
If all of the requirements described under “Prosthetic and
orthotic coverage rules” in this “Prosthetics and Orthotic                 For the following Services related to “Prosthetic
Devices” section are met, we cover the items described                     and Orthotic Devices,” refer to these sections
in this “Base prosthetic and orthotic devices” section.                     Eyeglasses and contact lenses, including contact
                                                                             lenses to treat aniridia or aphakia (refer to “Vision
Internally implanted devices. We cover prosthetic and                        Services for Adult Members” and “Vision Services
orthotic devices such as pacemakers, intraocular lenses,                     for Pediatric Members”)
cochlear implants, osseointegrated hearing devices, and                     Hearing aids other than internally implanted devices
hip joints, if they are implanted during a surgery that we                   described in this section (refer to “Hearing Services”)


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 Injectable implants (refer to “Administered Drugs and                    For covered Services related to reconstructive surgery
  Products”)                                                               that you receive, you will pay the Cost Share you would
                                                                           pay if the Services were not related to reconstructive
Prosthetic and orthotic devices exclusion(s)                               surgery. For example, see “Hospital inpatient care” in the
                                                                           “Cost Share Summary” section of this EOC for the Cost
 Multifocal intraocular lenses and intraocular lenses to
                                                                           Share that applies for hospital inpatient care, and see
  correct astigmatism
                                                                           “Outpatient surgery and outpatient procedures” in the
 Nonrigid supplies, such as elastic stockings and wigs,                   “Cost Share Summary” for the Cost Share that applies
  except as otherwise described above in this                              for outpatient surgery.
  “Prosthetic and Orthotic Devices” section
 Comfort, convenience, or luxury equipment or                             For the following Services related to
  features                                                                 “Reconstructive Surgery,” refer to these
                                                                           sections
 Repair or replacement of device due to loss, theft, or
  misuse                                                                    Dental and orthodontic Services that are an integral
                                                                             part of reconstructive surgery for cleft palate (refer to
 Shoes, shoe inserts, arch supports, or any other                           “Dental and Orthodontic Services”)
  footwear, even if custom-made, except footwear
  described above in this “Prosthetic and Orthotic                          Office visits not described in the “Reconstructive
  Devices” section for diabetes-related complications                        Surgery” section (refer to “Office Visits”)
  and foot disfigurement                                                    Outpatient imaging and laboratory (refer to
 Prosthetic and orthotic devices not intended for                           “Outpatient Imaging, Laboratory, and Other
  maintaining normal activities of daily living                              Diagnostic and Treatment Services”)
  (including devices intended to provide additional                         Outpatient prescription drugs (refer to “Outpatient
  support for recreational or sports activities)                             Prescription Drugs, Supplies, and Supplements”)
                                                                            Outpatient administered drugs (refer to “Administered
Reconstructive Surgery                                                       Drugs and Products”)
                                                                            Prosthetics and orthotics (refer to “Prosthetic and
We cover the following reconstructive surgery Services:                      Orthotic Devices”)
 Reconstructive surgery to correct or repair abnormal                      Telehealth Visits (refer to “Telehealth Visits”)
  structures of the body caused by congenital defects,
  developmental abnormalities, trauma, infection,                          Reconstructive surgery exclusion(s)
  tumors, or disease, if a Plan Physician determines that
  it is necessary to improve function, or create a normal                   Surgery that, in the judgment of a Plan Physician
  appearance, to the extent possible                                         specializing in reconstructive surgery, offers only a
                                                                             minimal improvement in appearance
 Following Medically Necessary removal of all or part
  of a breast, we cover reconstruction of the breast,
  surgery and reconstruction of the other breast to                        Rehabilitative and Habilitative Services
  produce a symmetrical appearance, and treatment of
  physical complications, including lymphedemas                            We cover the Services described in this “Rehabilitative
                                                                           and Habilitative Services” section if all of the following
                                                                           requirements are met:
                                                                            The Services are to address a health condition
                                                                            The Services are to help you keep, learn, or improve
                                                                             skills and functioning for daily living
                                                                            You receive the Services at a Plan Facility unless a
                                                                             Plan Physician determines that it is Medically
                                                                             Necessary for you to receive the Services in another
                                                                             location

                                                                           We cover the following Services:
                                                                            Individual outpatient physical, occupational, and
                                                                             speech therapy


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 Group outpatient physical, occupational, and speech                       If any Plan Providers participate in the clinical trial
  therapy                                                                    and will accept you as a participant in the clinical
 Physical, occupational, and speech therapy provided                        trial, you must participate in the clinical trial through
  in an organized, multidisciplinary rehabilitation day-                     a Plan Provider unless the clinical trial is outside the
  treatment program                                                          state where you live
                                                                            The clinical trial is an Approved Clinical Trial
For the following Services related to
“Rehabilitative and Habilitative Services,” refer                          “Approved Clinical Trial” means a phase I, phase II,
to these sections                                                          phase III, or phase IV clinical trial related to the
 Behavioral health treatment for pervasive                                prevention, detection, or treatment of cancer or other
  developmental disorder or autism (refer to                               life-threatening condition, and that meets one of the
  “Behavioral Health Treatment for Pervasive                               following requirements:
  Developmental Disorder or Autism”)                                        The study or investigation is conducted under an
 Home health care (refer to “Home Health Care”)                             investigational new drug application reviewed by the
                                                                             U.S. Food and Drug Administration
 Durable medical equipment (refer to “Durable
  Medical Equipment (“DME”) for Home Use”)                                  The study or investigation is a drug trial that is
                                                                             exempt from having an investigational new drug
 Ostomy and urological supplies (refer to “Ostomy and                       application
  Urological Supplies”)
                                                                            The study or investigation is approved or funded by at
 Prosthetic and orthotic devices (refer to “Prosthetic                      least one of the following:
  and Orthotic Devices”)
                                                                               the National Institutes of Health
 Physical, occupational, and speech therapy provided
                                                                               the Centers for Disease Control and Prevention
  during a covered stay in a Plan Hospital or Skilled
  Nursing Facility (refer to “Hospital Inpatient Care”                         the Agency for Health Care Research and Quality
  and “Skilled Nursing Facility Care”)                                         the Centers for Medicare & Medicaid Services
                                                                               a cooperative group or center of any of the above
Rehabilitative and habilitative Services                                        entities or of the Department of Defense or the
exclusion(s)                                                                    Department of Veterans Affairs
 Items and services that are not health care items and                        a qualified non-governmental research entity
  services (for example, respite care, day care,                                identified in the guidelines issued by the National
  recreational care, residential treatment, social                              Institutes of Health for center support grants
  services, custodial care, or education services of any
                                                                               the Department of Veterans Affairs or the
  kind, including vocational training)
                                                                                Department of Defense or the Department of
                                                                                Energy, but only if the study or investigation has
Services in Connection with a Clinical                                          been reviewed and approved though a system of
                                                                                peer review that the U.S. Secretary of Health and
Trial
                                                                                Human Services determines meets all of the
We cover Services you receive in connection with a                              following requirements: (1) It is comparable to the
clinical trial if all of the following requirements are met:                    National Institutes of Health system of peer review
                                                                                of studies and investigations and (2) it assures
 We would have covered the Services if they were not                           unbiased review of the highest scientific standards
  related to a clinical trial                                                   by qualified people who have no interest in the
 You are eligible to participate in the clinical trial                         outcome of the review
  according to the trial protocol with respect to
  treatment of cancer or other life-threatening condition                  For covered Services related to a clinical trial, you will
  (a condition from which the likelihood of death is                       pay the Cost Share you would pay if the Services were
  probable unless the course of the condition is                           not related to a clinical trial. For example, see “Hospital
  interrupted), as determined in one of the following                      inpatient care” in the “Cost Share Summary” section of
  ways:                                                                    this EOC for the Cost Share that applies for hospital
    a Plan Provider makes this determination                              inpatient care.
    you provide us with medical and scientific
     information establishing this determination


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Services in connection with a clinical trial                               Substance Use Disorder Treatment
exclusion(s)
                                                                           We cover Services specified in this “Substance Use
 The investigational Service
                                                                           Disorder Treatment” section only when the Services are
 Services that are provided solely to satisfy data                        for the diagnosis or treatment of Substance Use
  collection and analysis needs and are not used in your                   Disorders. A “Substance Use Disorder” is a condition
  clinical management                                                      identified as a “substance use disorder” in the most
                                                                           recently issued edition of the Diagnostic and Statistical
                                                                           Manual of Mental Disorders (“DSM”).
Skilled Nursing Facility Care
                                                                           Outpatient substance use disorder treatment
Inside our Service Area, we cover skilled inpatient
Services in a Plan Skilled Nursing Facility. The skilled                   We cover the following Services for treatment of
inpatient Services must be customarily provided by a                       substance use disorders:
Skilled Nursing Facility, and above the level of custodial                  Day-treatment programs
or intermediate care.
                                                                            Individual and group substance use disorder
                                                                             counseling
We cover the following Services:
                                                                            Intensive outpatient programs
 Physician and nursing Services
                                                                            Medical treatment for withdrawal symptoms
 Room and board
 Drugs prescribed by a Plan Physician as part of your                     Residential treatment
  plan of care in the Plan Skilled Nursing Facility in                     Inside our Service Area, we cover the following Services
  accord with our drug formulary guidelines if they are                    when the Services are provided in a licensed residential
  administered to you in the Plan Skilled Nursing                          treatment facility that provides 24-hour individualized
  Facility by medical personnel                                            substance use disorder treatment, the Services are
 Durable medical equipment in accord with our prior                       generally and customarily provided by a substance use
  authorization procedure if Skilled Nursing Facilities                    disorder residential treatment program in a licensed
  ordinarily furnish the equipment (refer to “Medical                      residential treatment facility, and the Services are above
  Group authorization procedure for certain referrals”                     the level of custodial care:
  under “Getting a Referral” in the “How to Obtain                          Individual and group substance use disorder
  Services” section)                                                         counseling
 Imaging and laboratory Services that Skilled Nursing                      Medical services
  Facilities ordinarily provide
                                                                            Medication monitoring
 Medical social services
                                                                            Room and board
 Whole blood, red blood cells, plasma, platelets, and
                                                                            Social services
  their administration
                                                                            Drugs prescribed by a Plan Provider as part of your
 Medical supplies
                                                                             plan of care in the residential treatment facility in
 Behavioral health treatment for pervasive                                  accord with our drug formulary guidelines if they are
  developmental disorder or autism                                           administered to you in the facility by medical
 Physical, occupational, and speech therapy                                 personnel (for discharge drugs prescribed when you
                                                                             are released from the residential treatment facility,
 Respiratory therapy                                                        please refer to “Outpatient Prescription Drugs,
                                                                             Supplies, and Supplements” in this “Benefits”
For the following Services related to “Skilled                               section)
Nursing Facility Care,” refer to these sections
                                                                            Discharge planning
 Outpatient imaging, laboratory, and other diagnostic
  and treatment Services (refer to “Outpatient Imaging,                    Inpatient detoxification
  Laboratory, and Other Diagnostic and Treatment                           We cover hospitalization in a Plan Hospital only for
  Services”)                                                               medical management of withdrawal symptoms, including
 Outpatient physical, occupational, and speech therapy                    room and board, Plan Physician Services, drugs,
  (refer to “Rehabilitative and Habilitative Services”)                    dependency recovery Services, education, and
                                                                           counseling.


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For the following Services related to “Substance                              directly related to a covered transplant for you, which
Use Disorder Treatment,” refer to these sections                              may include certain Services for harvesting the organ,
                                                                              tissue, or bone marrow and for treatment of
 Outpatient laboratory (refer to “Outpatient Imaging,
                                                                              complications. Please call our Member Service
  Laboratory, and Other Diagnostic and Treatment
                                                                              Contact Center for questions about donor Services
  Services”)
 Outpatient self-administered drugs (refer to                             For covered transplant Services that you receive, you
  “Outpatient Prescription Drugs, Supplies, and                            will pay the Cost Share you would pay if the Services
  Supplements”)                                                            were not related to a transplant. For example, see
 Telehealth Visits (refer to “Telehealth Visits”)                         “Hospital inpatient care” in the “Cost Share Summary”
                                                                           section of this EOC for the Cost Share that applies for
                                                                           hospital inpatient care. We provide or pay for donation-
Telehealth Visits                                                          related Services for actual or potential donors (whether
                                                                           or not they are Members) in accord with our guidelines
Telehealth Visits are intended to make it more                             for donor Services at no charge (not subject to the Plan
convenient for you to receive covered Services, when a                     Deductible).
Plan Provider determines it is medically appropriate for
your medical condition. You may receive covered                            For the following Services related to “Transplant
Services via Telehealth Visits, when available and if the                  Services,” refer to these sections
Services would have been covered under this EOC if
provided in person. You are not required to use                             Outpatient imaging and laboratory (refer to
Telehealth Visits.                                                           “Outpatient Imaging, Laboratory, and Other
                                                                             Diagnostic and Treatment Services”)
We cover the following types of Telehealth Visits with                      Outpatient prescription drugs (refer to “Outpatient
Primary Care Physicians, Non-Physician Specialists, and                      Prescription Drugs, Supplies, and Supplements”)
Physician Specialists:                                                      Outpatient administered drugs (refer to “Administered
 Interactive video visits                                                   Drugs and Products”)
 Scheduled telephone visits
                                                                           Vision Services for Adult Members
Transplant Services                                                        We cover the following for Adult Members:
We cover transplants of organs, tissue, or bone marrow if                   Routine eye exams with a Plan Optometrist to
the Medical Group provides a written referral for care to                    determine the need for vision correction (including
a transplant facility as described in “Medical Group                         dilation Services when Medically Necessary) and to
authorization procedure for certain referrals” under                         provide a prescription for eyeglass lenses
“Getting a Referral” in the “How to Obtain Services”                        Physician Specialist Visits to diagnose and treat
section.                                                                     injuries or diseases of the eye

After the referral to a transplant facility, the following                  Non-Physician Specialist Visits to diagnose and treat
applies:                                                                     injuries or diseases of the eye

 If either the Medical Group or the referral facility                     Optical Services
  determines that you do not satisfy its respective
                                                                           We cover the Services described in this “Optical
  criteria for a transplant, we will only cover Services
                                                                           Services” section at Plan Medical Offices or Plan Optical
  you receive before that determination is made
                                                                           Sales Offices.
 Health Plan, Plan Hospitals, the Medical Group, and
  Plan Physicians are not responsible for finding,                         We do not cover eyeglasses or contact lenses under this
  furnishing, or ensuring the availability of an organ,                    EOC (except for special contact lenses described in this
  tissue, or bone marrow donor                                             “Vision Services for Adult Members” section).
 In accord with our guidelines for Services for living
  transplant donors, we provide certain donation-related                   Special contact lenses. We cover the following:
  Services for a donor, or an individual identified by the                  For aniridia (missing iris), we cover up to two
  Medical Group as a potential donor, whether or not                         Medically Necessary contact lenses per eye
  the donor is a Member. These Services must be                              (including fitting and dispensing) in any 12-month


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   period when prescribed by a Plan Physician or Plan                      Optical Services
   Optometrist                                                             We cover the Services described in this “Optical
 For aphakia (absence of the crystalline lens of the                      Services” section at Plan Medical Offices or Plan Optical
  eye), we cover up to six Medically Necessary aphakic                     Sales Offices.
  contact lenses per eye (including fitting and
  dispensing) in any 12-month period when prescribed                       Special contact lenses. We cover the following:
  by a Plan Physician or Plan Optometrist                                   For aniridia (missing iris), we cover up to two
                                                                             Medically Necessary contact lenses per eye
Low vision devices                                                           (including fitting and dispensing) in any 12-month
Low vision devices (including fitting and dispensing) are                    period when prescribed by a Plan Physician or Plan
not covered under this EOC.                                                  Optometrist
                                                                            For aphakia (absence of the crystalline lens of the
For the following Services related to “Vision
                                                                             eye), we cover up to six Medically Necessary aphakic
Services for Adult Members,” refer to these
                                                                             contact lenses per eye (including fitting and
sections
                                                                             dispensing) in any 12-month period when prescribed
 Routine vision screenings when performed as part of                        by a Plan Physician or Plan Optometrist
  a routine physical exam (refer to “Preventive                             For other contact lenses that will provide a significant
  Services”)                                                                 improvement in your vision that eyeglass lenses
 Services related to the eye or vision other than                           cannot provide, we cover either one pair of contact
  Services covered under this “Vision Services for                           lenses (including fitting and dispensing) or an initial
  Adult Members” section, such as outpatient surgery                         supply of disposable contact lenses (including fitting
  and outpatient prescription drugs, supplies, and                           and dispensing) in any 12-month period
  supplements (refer to the applicable heading in this
  “Benefits” section)                                                      Eyeglasses and contact lenses. If you prefer to wear
                                                                           eyeglasses rather than contact lenses, we cover one
Vision Services for Adult Members exclusion(s)                             complete pair of eyeglasses (frame and Regular Eyeglass
 Contact lenses, including fitting and dispensing,                        Lenses) from our designated value frame collection
  except as described under this “Vision Services for                      every 12 months when prescribed by a physician or
  Adult Members” section                                                   optometrist and a Plan Provider puts the lenses into an
                                                                           eyeglass frame. We cover a clear balance lens when only
 Eyeglass lenses and frames                                               one eye needs correction. We cover tinted lenses when
 Eye exams for the purpose of obtaining or                                Medically Necessary to treat macular degeneration or
  maintaining contact lenses                                               retinitis pigmentosa.
 Industrial frames or safety eyeglasses, when required
                                                                           “Regular Eyeglass Lenses” are lenses that meet all of the
  as a condition of employment
                                                                           following requirements:
 Low vision devices
                                                                            They are clear glass, plastic, or polycarbonate lenses
                                                                            At least one of the two lenses has refractive value
Vision Services for Pediatric Members                                       They are standard single vision, lined multifocal, or
We cover the following for Pediatric Members:                                lenticular

 Routine eye exams with a Plan Optometrist to                             Eyeglass warranty. Eyeglasses purchased at a Plan
  determine the need for vision correction (including                      Optical Sales Office may include a replacement warranty
  dilation Services when Medically Necessary) and to                       for up to one year from the original date of dispensing.
  provide a prescription for eyeglass lenses                               Please ask your Plan Optical Sales Office for warranty
 Physician Specialist Visits to diagnose and treat                        information.
  injuries or diseases of the eye
 Non-Physician Specialist Visits to diagnose and treat
  injuries or diseases of the eye




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Other contact lenses. If you prefer to wear contact                           warranty information provided to you at the time of
lenses rather than eyeglasses, we cover the following                         purchase
(including fitting and dispensing) when prescribed by a                     Replacement of broken or damaged low vision
physician or optometrist and obtained at a Plan Medical                      devices
Office or Plan Optical Sales Office:
                                                                            Replacement of lost or stolen eyewear
 Standard contact lenses: one pair of lenses in any 12-
  month period; or
 Disposable contact lenses: one 6-month supply for
  each eye in any 12-month period
                                                                           Exclusions, Limitations,
                                                                           Coordination of Benefits, and
Low vision devices                                                         Reductions
If a low-vision device will provide a significant
improvement in your vision not obtainable with
eyeglasses or contact lenses (or with a combination of
                                                                           Exclusions
eyeglasses and contact lenses), we cover one device                        The items and services listed in this “Exclusions” section
(including fitting and dispensing) per Accumulation                        are excluded from coverage. These exclusions apply to
Period.                                                                    all Services that would otherwise be covered under this
                                                                           EOC regardless of whether the services are within the
For the following Services related to “Vision                              scope of a provider’s license or certificate. These
Services for Pediatric Members,” refer to these                            exclusions or limitations do not apply to Services that are
sections                                                                   Medically Necessary to treat Serious Emotional
 Routine vision screenings when performed as part of                      Disturbance of a Child Under Age 18 or Severe Mental
  a routine physical exam (refer to “Preventive                            Illness.
  Services”)
                                                                           Certain exams and Services
 Services related to the eye or vision other than
  Services covered under this “Vision Services for                         Physical exams and other Services (1) required for
  Pediatric Members” section, such as outpatient                           obtaining or maintaining employment or participation in
  surgery and outpatient prescription drugs, supplies,                     employee programs, (2) required for insurance or
  and supplements (refer to the applicable heading in                      licensing, or (3) on court order or required for parole or
  this “Benefits” section)                                                 probation. This exclusion does not apply if a Plan
                                                                           Physician determines that the Services are Medically
Vision Services for Pediatric Members                                      Necessary.
exclusion(s)
                                                                           Chiropractic Services
 Antireflective coating                                                   Chiropractic Services and the Services of a chiropractor,
 Except for Regular Eyeglass Lenses described in this                     unless you have coverage for supplemental chiropractic
  “Vision Services for Pediatric Members” section, all                     Services as described in an amendment to this EOC.
  other lenses such as progressive and High-Index
  lenses                                                                   Cosmetic Services
 Eyeglass or contact lens adornment, such as                              Services that are intended primarily to change or
  engraving, faceting, or jeweling                                         maintain your appearance (including Cosmetic Surgery,
                                                                           which is defined as surgery that is performed to alter or
 Industrial frames or safety eyeglasses, when required                    reshape normal structures of the body in order to
  as a condition of employment                                             improve appearance), except that this exclusion does not
 Items that do not require a prescription by law (other                   apply to any of the following:
  than eyeglass frames), such as eyeglass holders,                          Services covered under “Reconstructive Surgery” in
  eyeglass cases, and repair kits                                            the “Benefits” section
 Lenses and sunglasses without refractive value,                           The following devices covered under “Prosthetic and
  except as described in this “Vision Services for                           Orthotic Devices” in the “Benefits” section: testicular
  Pediatric Members” section                                                 implants implanted as part of a covered reconstructive
 Photochromic or polarized lenses                                           surgery, breast prostheses needed after a mastectomy,
                                                                             and prostheses to replace all or part of an external
 Replacement of broken or damaged contact lenses,
                                                                             facial body part
  eyeglass lenses, and frames, except as described in


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Custodial care                                                             This exclusion does not apply to any of the following:
Assistance with activities of daily living (for example:                    Experimental or investigational Services when an
walking, getting in and out of bed, bathing, dressing,                       investigational application has been filed with the
feeding, toileting, and taking medicine).                                    federal Food and Drug Administration (“FDA”) and
                                                                             the manufacturer or other source makes the Services
This exclusion does not apply to assistance with                             available to you or Kaiser Permanente through an
activities of daily living that is provided as part of                       FDA-authorized procedure, except that we do not
covered hospice, Skilled Nursing Facility, or inpatient                      cover Services that are customarily provided by
hospital care.                                                               research sponsors free of charge to enrollees in a
                                                                             clinical trial or other investigational treatment
Dental and orthodontic Services                                              protocol
Dental and orthodontic Services such as X-rays,                             Services covered under “Services in Connection with
appliances, implants, Services provided by dentists or                       a Clinical Trial” in the “Benefits” section
orthodontists, dental Services following accidental injury
to teeth, and dental Services resulting from medical
                                                                           Please refer to the “Dispute Resolution” section for
treatment such as surgery on the jawbone and radiation
                                                                           information about Independent Medical Review related
treatment.
                                                                           to denied requests for experimental or investigational
                                                                           Services.
This exclusion does not apply to the following Services:
 Services covered under “Dental and Orthodontic                           Hair loss or growth treatment
  Services” in the “Benefits” section                                      Items and services for the promotion, prevention, or
 Service described under “Injury to Teeth” in the                         other treatment of hair loss or hair growth.
  “Benefits” section
                                                                           Intermediate care
 Pediatric dental Services described in a Pediatric
                                                                           Care in a licensed intermediate care facility. This
  Dental Services Amendment to this EOC, if any. If
                                                                           exclusion does not apply to Services covered under
  your plan has a Pediatric Dental Services
                                                                           “Durable Medical Equipment (“DME”) for Home Use,”
  Amendment, it will be attached to this EOC, and it
                                                                           “Home Health Care,” and “Hospice Care” in the
  will be listed in the EOC’s Table of Contents
                                                                           “Benefits” section.
Disposable supplies
                                                                           Items and services that are not health care items
Disposable supplies for home use, such as bandages,                        and services
gauze, tape, antiseptics, dressings, Ace-type bandages,
                                                                           For example, we do not cover:
and diapers, underpads, and other incontinence supplies.
                                                                            Teaching manners and etiquette
This exclusion does not apply to disposable supplies                        Teaching and support services to develop planning
covered under “Durable Medical Equipment (“DME”)                             skills such as daily activity planning and project or
for Home Use,” “Home Health Care,” “Hospice Care,”                           task planning
“Ostomy and Urological Supplies,” and “Outpatient
Prescription Drugs, Supplies, and Supplements” in the                       Items and services for the purpose of increasing
“Benefits” section.                                                          academic knowledge or skills
                                                                            Teaching and support services to increase intelligence
Experimental or investigational Services                                    Academic coaching or tutoring for skills such as
A Service is experimental or investigational if we, in                       grammar, math, and time management
consultation with the Medical Group, determine that one
of the following is true:                                                   Teaching you how to read, whether or not you have
                                                                             dyslexia
 Generally accepted medical standards do not
  recognize it as safe and effective for treating the                       Educational testing
  condition in question (even if it has been authorized                     Teaching art, dance, horse riding, music, play or
  by law for use in testing or other studies on human                        swimming, except that this exclusion for “teaching
  patients)                                                                  play” does not apply to Services that are part of a
 It requires government approval that has not been                          behavioral health therapy treatment plan and covered
  obtained when the Service is to be provided                                under “Behavioral Health Treatment for Pervasive



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   Developmental Disorder or Autism” in the “Benefits”                     Routine foot care items and services
   section                                                                 Routine foot care items and services that are not
 Teaching skills for employment or vocational                             Medically Necessary.
  purposes
                                                                           Services not approved by the federal Food and
 Vocational training or teaching vocational skills                        Drug Administration
 Professional growth courses                                              Drugs, supplements, tests, vaccines, devices, radioactive
 Training for a specific job or employment counseling                     materials, and any other Services that by law require
                                                                           federal Food and Drug Administration (“FDA”) approval
 Aquatic therapy and other water therapy, except that                     in order to be sold in the U.S. but are not approved by the
  this exclusion for aquatic therapy and other water                       FDA. This exclusion applies to Services provided
  therapy does not apply to therapy Services that are                      anywhere, even outside the U.S.
  part of a physical therapy treatment plan and covered
  under “Home Health Care,” “Hospice Services,”
                                                                           This exclusion does not apply to any of the following:
  “Hospital Inpatient Care,” “Rehabilitative and
  Habilitative Services,” or “Skilled Nursing Facility                      Services covered under the “Emergency Services and
  Care” in the “Benefits” section                                            Urgent Care” section that you receive outside the U.S.
                                                                            Experimental or investigational Services when an
Items and services to correct refractive defects                             investigational application has been filed with the
of the eye                                                                   FDA and the manufacturer or other source makes the
Items and services (such as eye surgery or contact lenses                    Services available to you or Kaiser Permanente
to reshape the eye) for the purpose of correcting                            through an FDA-authorized procedure, except that we
refractive defects of the eye such as myopia, hyperopia,                     do not cover Services that are customarily provided
or astigmatism.                                                              by research sponsors free of charge to enrollees in a
                                                                             clinical trial or other investigational treatment
Massage therapy                                                              protocol
Massage therapy, except that this exclusion does not                        Services covered under “Services in Connection with
apply to therapy Services that are part of a physical                        a Clinical Trial” in the “Benefits” section
therapy treatment plan and covered under “Home Health
Care,” “Hospice Services,” “Hospital Inpatient Care,”                      Please refer to the “Dispute Resolution” section for
“Rehabilitative and Habilitative Services,” or “Skilled                    information about Independent Medical Review related
Nursing Facility Care” in the “Benefits” section.                          to denied requests for experimental or investigational
                                                                           Services.
Oral nutrition
Outpatient oral nutrition, such as dietary supplements,                    Services performed by unlicensed people
herbal supplements, weight loss aids, formulas, and food.                  Services that are performed safely and effectively by
                                                                           people who do not require licenses or certificates by the
This exclusion does not apply to any of the following:                     state to provide health care services and where the
 Amino acid–modified products and elemental dietary                       Member’s condition does not require that the services be
  enteral formula covered under “Outpatient                                provided by a licensed health care provider.
  Prescription Drugs, Supplies, and Supplements” in
  the “Benefits” section                                                   This exclusion does not apply to Services covered under
 Enteral formula covered under “Prosthetic and                            “Behavioral Health Treatment for Pervasive
  Orthotic Devices” in the “Benefits” section                              Developmental Disorder or Autism” in the “Benefits”
                                                                           section.
Residential care
                                                                           Services related to a noncovered Service
Care in a facility where you stay overnight, except that
this exclusion does not apply when the overnight stay is                   When a Service is not covered, all Services related to the
part of covered care in a hospital, a Skilled Nursing                      noncovered Service are excluded, except for Services we
Facility, inpatient respite care covered in the “Hospice                   would otherwise cover to treat complications of the
Care” section, or residential treatment program Services                   noncovered Service. For example, if you have a
covered in the “Substance Use Disorder Treatment” and                      noncovered cosmetic surgery, we would not cover
“Mental Health Services” sections.                                         Services you receive in preparation for the surgery or for
                                                                           follow-up care. If you later suffer a life-threatening
                                                                           complication such as a serious infection, this exclusion

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would not apply and we would cover any Services that                       coordination of benefits rules of the California
we would otherwise cover to treat that complication.                       Department of Managed Health Care. Those rules are
                                                                           incorporated into this EOC.
Surrogacy
Services for anyone in connection with a Surrogacy                         If both the other coverage and we cover the same
Arrangement, except for otherwise-covered Services                         Service, the other coverage and we will see that up to
provided to a Member who is a surrogate. A “Surrogacy                      100 percent of your covered medical expenses are paid
Arrangement” is one in which a woman (the surrogate)                       for that Service. The coordination of benefits rules
agrees to become pregnant and to surrender the baby (or                    determine which coverage pays first, or is “primary,” and
babies) to another person or persons who intend to raise                   which coverage pays second, or is “secondary.” The
the child (or children), whether or not the woman                          secondary coverage may reduce its payment to take into
receives payment for being a surrogate. Please refer to                    account payment by the primary coverage. You must
“Surrogacy arrangements” under “Reductions” in this                        give us any information we request to help us coordinate
“Exclusions, Limitations, Coordination of Benefits, and                    benefits.
Reductions” section for information about your
obligations to us in connection with a Surrogacy                           If your coverage under this EOC is secondary, we may
Arrangement, including your obligations to reimburse us                    be able to establish a Benefit Reserve Account for you.
for any Services we cover and to provide information                       You may draw on the Benefit Reserve Account during a
about anyone who may be financially responsible for                        calendar year to pay for your out-of-pocket expenses for
Services the baby (or babies) receive.                                     Services that are partially covered by either your other
                                                                           coverage or us during that calendar year. If you are
Travel and lodging expenses                                                entitled to a Benefit Reserve Account, we will provide
Travel and lodging expenses, except as described in our                    you with detailed information about this account.
Travel and Lodging Program Description. The Travel
and Lodging Program Description is available online at                     If you have any questions about coordination of benefits,
kp.org/specialty-care/travel-reimbursements or by                          please call our Member Service Contact Center.
calling our Member Service Contact Center.
                                                                           Medicare coverage
                                                                           If you have Medicare coverage, we will coordinate
Limitations                                                                benefits with the Medicare coverage under Medicare
                                                                           rules. Medicare rules determine which coverage pays
We will make a good faith effort to provide or arrange
                                                                           first, or is “primary,” and which coverage pays second,
for covered Services within the remaining availability of
                                                                           or is “secondary.” You must give us any information we
facilities or personnel in the event of unusual
                                                                           request to help us coordinate benefits. Please call our
circumstances that delay or render impractical the
                                                                           Member Service Contact Center to find out which
provision of Services under this EOC, such as a major
                                                                           Medicare rules apply to your situation, and how payment
disaster, epidemic, war, riot, civil insurrection, disability
                                                                           will be handled.
of a large share of personnel at a Plan Facility, complete
or partial destruction of facilities, and labor dispute.
Under these circumstances, if you have an Emergency                        Reductions
Medical Condition, call 911 or go to the nearest hospital
as described under “Emergency Services” in the                             Employer responsibility
“Emergency Services and Urgent Care” section, and we                       For any Services that the law requires an employer to
will provide coverage and reimbursement as described in                    provide, we will not pay the employer, and when we
that section.                                                              cover any such Services we may recover the value of the
                                                                           Services from the employer.

Coordination of Benefits                                                   Government agency responsibility
The Services covered under this EOC are subject to                         For any Services that the law requires be provided only
coordination of benefits rules.                                            by or received only from a government agency, we will
                                                                           not pay the government agency, and when we cover any
Coverage other than Medicare coverage                                      such Services we may recover the value of the Services
                                                                           from the government agency.
If you have medical or dental coverage under another
plan that is subject to coordination of benefits, we will
coordinate benefits with the other coverage under the


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Injuries or illnesses alleged to be caused by                              liens and other rights to the same extent as if you had
third parties                                                              asserted the claim against the third party. We may assign
If you obtain a judgment or settlement from or on behalf                   our rights to enforce our liens and other rights.
of a third party who allegedly caused an injury or illness
for which you received covered Services, you must                          If you have Medicare, Medicare law may apply with
reimburse us to the maximum extent allowed under                           respect to Services covered by Medicare.
California Civil Code Section 3040. Note: This “Injuries
or illnesses alleged to be caused by third parties” section                Some providers have contracted with Kaiser Permanente
does not affect your obligation to pay your Cost Share                     to provide certain Services to Members at rates that are
for these Services.                                                        typically less than the fees that the providers ordinarily
                                                                           charge to the general public (“General Fees”). However,
To the extent permitted or required by law, we have the                    these contracts may allow the providers to recover all or
option of becoming subrogated to all claims, causes of                     a portion of the difference between the fees paid by
action, and other rights you may have against a third                      Kaiser Permanente and their General Fees by means of a
party or an insurer, government program, or other source                   lien claim under California Civil Code Sections 3045.1–
of coverage for monetary damages, compensation, or                         3045.6 against a judgment or settlement that you receive
indemnification on account of the injury or illness                        from or on behalf of a third party. For Services the
allegedly caused by the third party. We will be so                         provider furnished, our recovery and the provider’s
subrogated as of the time we mail or deliver a written                     recovery together will not exceed the provider’s General
notice of our exercise of this option to you or your                       Fees.
attorney.
                                                                           Surrogacy arrangements
To secure our rights, we will have a lien on the proceeds                  If you enter into a Surrogacy Arrangement and you or
of any judgment or settlement you or we obtain against a                   any other payee are entitled to receive payments or other
third party. The proceeds of any judgment or settlement                    compensation under the Surrogacy Arrangement, you
that you or we obtain shall first be applied to satisfy our                must reimburse us for covered Services you receive
lien, regardless of whether the total amount of the                        related to conception, pregnancy, delivery, or postpartum
proceeds is less than the actual losses and damages you                    care in connection with that arrangement (“Surrogacy
incurred.                                                                  Health Services”) to the maximum extent allowed under
                                                                           California Civil Code Section 3040. A “Surrogacy
Within 30 days after submitting or filing a claim or legal                 Arrangement” is one in which a woman agrees to
action against a third party, you must send written notice                 become pregnant and to surrender the baby (or babies) to
of the claim or legal action to:                                           another person or persons who intend to raise the child
     Equian                                                                (or children), whether or not the woman receives
     Kaiser Permanente - Northern California Region                        payment for being a surrogate. Note: This “Surrogacy
     Subrogation Mailbox                                                   arrangements” section does not affect your obligation to
     P.O. Box 36380                                                        pay your Cost Share for these Services. After you
     Louisville, KY 40233                                                  surrender a baby to the legal parents, you are not
     Fax: 1-502-214-1137                                                   obligated to reimburse us for any Services that the baby
                                                                           receives (the legal parents are financially responsible for
In order for us to determine the existence of any rights                   any Services that the baby receives).
we may have and to satisfy those rights, you must
complete and send us all consents, releases,                               By accepting Surrogacy Health Services, you
authorizations, assignments, and other documents,                          automatically assign to us your right to receive payments
including lien forms directing your attorney, the third                    that are payable to you or any other payee under the
party, and the third party’s liability insurer to pay us                   Surrogacy Arrangement, regardless of whether those
directly. You may not agree to waive, release, or reduce                   payments are characterized as being for medical
our rights under this provision without our prior, written                 expenses. To secure our rights, we will also have a lien
consent.                                                                   on those payments and on any escrow account, trust, or
                                                                           any other account that holds those payments. Those
If your estate, parent, guardian, or conservator asserts a                 payments (and amounts in any escrow account, trust, or
claim against a third party based on your injury or                        other account that holds those payments) shall first be
illness, your estate, parent, guardian, or conservator and                 applied to satisfy our lien. The assignment and our lien
any settlement or judgment recovered by the estate,                        will not exceed the total amount of your obligation to us
parent, guardian, or conservator shall be subject to our                   under the preceding paragraph.


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Within 30 days after entering into a Surrogacy                             Veterans Affairs, and when we cover any such Services
Arrangement, you must send written notice of the                           we may recover the value of the Services from the
arrangement, including all of the following information:                   Department of Veterans Affairs.
 Names, addresses, and phone numbers of the other
  parties to the arrangement                                               Workers’ compensation or employer’s liability
                                                                           benefits
 Names, addresses, and phone numbers of any escrow                        You may be eligible for payments or other benefits,
  agent or trustee                                                         including amounts received as a settlement (collectively
 Names, addresses, and phone numbers of the intended                      referred to as “Financial Benefit”), under workers’
  parents and any other parties who are financially                        compensation or employer’s liability law. We will
  responsible for Services the baby (or babies) receive,                   provide covered Services even if it is unclear whether
  including names, addresses, and phone numbers for                        you are entitled to a Financial Benefit, but we may
  any health insurance that will cover Services that the                   recover the value of any covered Services from the
  baby (or babies) receive                                                 following sources:
 A signed copy of any contracts and other documents                        From any source providing a Financial Benefit or
  explaining the arrangement                                                 from whom a Financial Benefit is due
 Any other information we request in order to satisfy                      From you, to the extent that a Financial Benefit is
  our rights                                                                 provided or payable or would have been required to
                                                                             be provided or payable if you had diligently sought to
You must send this information to:                                           establish your rights to the Financial Benefit under
    Equian                                                                   any workers’ compensation or employer’s liability
    Kaiser Permanente - Northern California Region                           law
    Surrogacy Mailbox
    P.O. Box 36380
    Louisville, KY 40233                                                   Post-Service Claims and Appeals
    Fax: 1-502-214-1137
                                                                           This “Post-Service Claims and Appeals” section explains
You must complete and send us all consents, releases,
                                                                           how to file a claim for payment or reimbursement for
authorizations, lien forms, and other documents that are
                                                                           Services that you have already received. Please use the
reasonably necessary for us to determine the existence of
                                                                           procedures in this section in the following situations:
any rights we may have under this “Surrogacy
arrangements” section and to satisfy those rights. You                      You have received Emergency Services, Post-
may not agree to waive, release, or reduce our rights                        Stabilization Care, Out-of-Area Urgent Care, or
under this “Surrogacy arrangements” section without our                      emergency ambulance Services from a Non–Plan
prior, written consent.                                                      Provider and you want us to pay for the Services
                                                                            You have received Services from a Non–Plan
If your estate, parent, guardian, or conservator asserts a                   Provider that we did not authorize (other than
claim against a third party based on the surrogacy                           Emergency Services, Out-of-Area Urgent Care, Post-
arrangement, your estate, parent, guardian, or                               Stabilization Care, or emergency Ambulance
conservator and any settlement or judgment recovered by                      Services) and you want us to pay for the Services
the estate, parent, guardian, or conservator shall be
                                                                            You want to appeal a denial of an initial claim for
subject to our liens and other rights to the same extent as
                                                                             payment
if you had asserted the claim against the third party. We
may assign our rights to enforce our liens and other
rights.                                                                    Please follow the procedures under “Grievances” in the
                                                                           “Dispute Resolution” section in the following situations:
If you have questions about your obligations under this                     You want us to cover Services that you have not yet
provision, please contact our Member Service Contact                         received
Center.                                                                     You want us to continue to cover an ongoing course
                                                                             of covered treatment
U.S. Department of Veterans Affairs
                                                                            You want to appeal a written denial of a request for
For any Services for conditions arising from military
                                                                             Services that require prior authorization (as described
service that the law requires the Department of Veterans
                                                                             under “Medical Group authorization procedure for
Affairs to provide, we will not pay the Department of
                                                                             certain referrals”)

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Who May File                                                                By calling our Member Service Contact Center at
                                                                             1‑800-464-4000 (TTY users call 711)
The following people may file claims:
 You may file for yourself                                                Claims forms for all other Services
                                                                           To file a claim in writing for all other Services, you may
 You can ask a friend, relative, attorney, or any other
                                                                           use our Complaint or Benefit Claim/Request form. You
  individual to file a claim for you by appointing him or
                                                                           can obtain this form in the following ways:
  her in writing as your authorized representative
                                                                            By visiting our website at kp.org
 A parent may file for his or her child under age 18,
  except that the child must appoint the parent as                          In person from any Member Services office at a Plan
  authorized representative if the child has the legal                       Facility and from Plan Providers (for addresses, refer
  right to control release of information that is relevant                   to our Provider Directory or call our Member Service
  to the claim                                                               Contact Center)
 A court-appointed guardian may file for his or her                        By calling our Member Service Contact Center at
  ward, except that the ward must appoint the court-                         1‑800-464-4000 (TTY users call 711)
  appointed guardian as authorized representative if the
  ward has the legal right to control release of                           Other supporting information
  information that is relevant to the claim                                When you file a claim, please include any information
 A court-appointed conservator may file for his or her                    that clarifies or supports your position. For example, if
  conservatee                                                              you have paid for Services, please include any bills and
                                                                           receipts that support your claim. To request that we pay a
 An agent under a currently effective health care                         Non–Plan Provider for Services, include any bills from
  proxy, to the extent provided under state law, may file                  the Non–Plan Provider. If the Non–Plan Provider states
  for his or her principal                                                 that they will file the claim, you are still responsible for
                                                                           making sure that we receive everything we need to
Authorized representatives must be appointed in writing                    process the request for payment. When appropriate, we
using either our authorization form or some other form of                  will request medical records from Plan Providers on your
written notification. The authorization form is available                  behalf. If you tell us that you have consulted with a Non–
from the Member Services Department at a Plan Facility,                    Plan Provider and are unable to provide copies of
on our website at kp.org, or by calling our Member                         relevant medical records, we will contact the provider to
Service Contact Center. Your written authorization must                    request a copy of your relevant medical records. We will
accompany the claim. You must pay the cost of anyone                       ask you to provide us a written authorization so that we
you hire to represent or help you.                                         can request your records.

                                                                           If you want to review the information that we have
Supporting Documents                                                       collected regarding your claim, you may request, and we
You can request payment or reimbursement orally or in                      will provide without charge, copies of all relevant
writing. Your request for payment or reimbursement, and                    documents, records, and other information. You also
any related documents that you give us, constitute your                    have the right to request any diagnosis and treatment
claim.                                                                     codes and their meanings that are the subject of your
                                                                           claim. To make a request, you should follow the steps in
Claim forms for Emergency Services, Post-                                  the written notice sent to you about your claim.
Stabilization Care, Out-of-Area Urgent Care, and
emergency ambulance Services
                                                                           Initial Claims
To file a claim in writing for Emergency Services, Post-
Stabilization Care, Out-of-Area Urgent Care, and                           To request that we pay a provider (or reimburse you) for
emergency ambulance Services, please use our claim                         Services that you have already received, you must file a
form. You can obtain a claim form in the following                         claim. If you have any questions about the claims
ways:                                                                      process, please call our Member Service Contact Center.
 By visiting our website at kp.org
                                                                           Submitting a claim for Emergency Services,
 In person from any Member Services office at a Plan                      Post-Stabilization Care, Out-of-Area Urgent
  Facility and from Plan Providers (for addresses, refer                   Care, and emergency ambulance Services
  to our Provider Directory or call our Member Service
                                                                           If you have received Emergency Services, Post-
  Contact Center)
                                                                           Stabilization Care, Out-of-Area Urgent Care, or

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emergency ambulance Services from a Non–Plan                                  information we have within 15 days after the end of
Provider, then as soon as possible after you received the                     that timeframe
Services, you must file your claim by mailing a
completed claim form and supporting information to the                     If we pay any part of your claim, we will subtract
following address:                                                         applicable Cost Share from any payment we make to you
                                                                           or the Non–Plan Provider. You are not responsible for
     Kaiser Permanente                                                     any amounts beyond your Cost Share for covered
     Claims Administration - NCAL                                          Emergency Services. If we deny your claim (if we do not
     P.O. Box 12923                                                        agree to pay for all the Services you requested other than
     Oakland, CA 94604-2923                                                the applicable Cost Share), our letter will explain why
                                                                           we denied your claim and how you can appeal.
Please call our Member Service Contact Center if you
need help filing your claim.                                               If you later receive any bills from the Non–Plan Provider
                                                                           for covered Services (other than bills for your Cost
Submitting a claim for all other Services                                  Share), please call our Member Service Contact Center
If you have received Services from a Non–Plan Provider                     for assistance.
that we did not authorize (other than Emergency
Services, Post-Stabilization Care, Out-of-Area Urgent
Care, or emergency ambulance Services), then as soon as                    Appeals
possible after you receive the Services, you must file                     Claims for Emergency Services, Post-
your claim in one of the following ways:                                   Stabilization Care, Out-of-Area Urgent Care, or
 By delivering your claim to a Member Services office                     emergency ambulance Services from a Non–
  at a Plan Facility (for addresses, refer to our Provider                 Plan Provider
  Directory or call our Member Service Contact Center)                     If we did not decide fully in your favor and you want to
 By mailing your claim to a Member Services office at                     appeal our decision, you may submit your appeal in one
  a Plan Facility (for addresses, refer to our Provider                    of the following ways:
  Directory or call our Member Service Contact Center)                      By mailing your appeal to the Claims Department at
 By calling our Member Service Contact Center at                            the following address:
  1‑800-464-4000 (TTY users call 711)                                          Kaiser Foundation Health Plan, Inc.
                                                                               Special Services Unit
 By visiting our website at kp.org
                                                                               P.O. Box 23280
                                                                               Oakland, CA 94623
Please call our Member Service Contact Center if you
need help filing your claim.                                                By calling our Member Service Contact Center at
                                                                             1‑800-464-4000 (TTY users call 711)
After we receive your claim                                                 By visiting our website at kp.org
We will send you an acknowledgment letter within five
days after we receive your claim.                                          Claims for Services from a Non–Plan Provider
                                                                           that we did not authorize (other than Emergency
After we review your claim, we will respond as follows:                    Services, Post-Stabilization Care, Out-of-Area
                                                                           Urgent Care, or emergency ambulance Services)
 If we have all the information we need we will send
  you a written decision within 30 days after we receive                   If we did not decide fully in your favor and you want to
  your claim. We may extend the time for making a                          appeal our decision, you may submit your appeal in one
  decision for an additional 15 days if circumstances                      of the following ways:
  beyond our control delay our decision, if we notify                       By visiting our website at kp.org
  you within 30 days after we receive your claim
                                                                            By mailing your appeal to the Member Services
 If we need more information, we will ask you for the                       Department at a Plan Facility (for addresses, refer to
  information before the end of the initial 30-day                           our Provider Directory or call our Member Service
  decision period. We will send our written decision no                      Contact Center)
  later than 15 days after the date we receive the
                                                                            In person from any Member Services office at a Plan
  additional information. If we do not receive the
                                                                             Facility and from Plan Providers (for addresses, refer
  necessary information within the timeframe specified
                                                                             to our Provider Directory or call our Member Service
  in our letter, we will make our decision based on the
                                                                             Contact Center)


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 By calling our Member Service Contact Center at                          decision will be based on the information in your appeal
  1‑800-464-4000 (TTY users call 711)                                      file.

When you file an appeal, please include any information                    We will send you a resolution letter within 30 days after
that clarifies or supports your position. If you want to                   we receive your appeal. If we do not decide in your
review the information that we have collected regarding                    favor, our letter will explain why and describe your
your claim, you may request, and we will provide                           further appeal rights.
without charge, copies of all relevant documents,
records, and other information. To make a request, you
should contact or Member Service Contact Center.                           External Review
                                                                           You must exhaust our internal claims and appeals
Additional information regarding a claim for
                                                                           procedures before you may request external review
Services from a Non–Plan Provider that we did
                                                                           unless we have failed to comply with the claims and
not authorize (other than Emergency Services,
                                                                           appeals procedures described in this “Post-Service
Post-Stabilization Care, Out-of-Area Urgent
                                                                           Claims and Appeals” section. For information about
Care, or emergency ambulance Services)
                                                                           external review process, see “Independent Medical
If we initially denied your request, you must file your                    Review (“IMR”)” in the “Dispute Resolution” section.
appeal within 180 days after the date you received our
denial letter. You may send us information including
comments, documents, and medical records that you                          Additional Review
believe support your claim. If we asked for additional
information and you did not provide it before we made                      You may have certain additional rights if you remain
our initial decision about your claim, then you may still                  dissatisfied after you have exhausted our internal claims
send us the additional information so that we may                          and appeals procedure, and if applicable, external
include it as part of our review of your appeal. Please                    review:
send all additional information to the address or fax                       If your Group’s benefit plan is subject to the
mentioned in your denial letter.                                             Employee Retirement Income Security Act
                                                                             (“ERISA”), you may file a civil action under section
Also, you may give testimony in writing or by phone.                         502(a) of ERISA. To understand these rights, you
Please send your written testimony to the address                            should check with your Group or contact the
mentioned in our acknowledgment letter, sent to you                          Employee Benefits Security Administration (part of
within five days after we receive your appeal. To arrange                    the U.S. Department of Labor) at 1-866-444-EBSA
to give testimony by phone, you should call the phone                        (1-866-444-3272)
number mentioned in our acknowledgment letter.
                                                                            If your Group’s benefit plan is not subject to ERISA
We will add the information that you provide through                         (for example, most state or local government plans
testimony or other means to your appeal file and we will                     and church plans), you may have a right to request
review it without regard to whether this information was                     review in state court
filed or considered in our initial decision regarding your
request for Services. You have the right to request any
diagnosis and treatment codes and their meanings that                      Dispute Resolution
are the subject of your claim.
                                                                           We are committed to providing you with quality care and
We will share any additional information that we collect                   with a timely response to your concerns. You can discuss
in the course of our review and we will send it to you. If                 your concerns with our Member Services representatives
we believe that your request should not be granted,                        at most Plan Facilities, or you can call our Member
before we issue our final decision letter, we will also                    Service Contact Center.
share with you any new or additional reasons for that
decision. We will send you a letter explaining the                         Information about dispute resolution related to pediatric
additional information and/or reasons. Our letters about                   dental coverage is described under “Pediatric Dental
additional information and new or additional rationales                    Coverage” in the “Introduction” section of this EOC.
will tell you how you can respond to the information
provided if you choose to do so. If you do not respond
before we must issue our final decision letter, that



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Grievances                                                                    right to control release of information that is relevant
                                                                              to the grievance
This “Grievances” section describes our grievance
                                                                            A court-appointed guardian may file for his or her
procedure. A grievance is any expression of
                                                                             ward, except that the ward must appoint the court-
dissatisfaction expressed by you or your authorized
                                                                             appointed guardian as authorized representative if the
representative through the grievance process. If you want
                                                                             ward has the legal right to control release of
to make a claim for payment or reimbursement for
                                                                             information that is relevant to the grievance
Services that you have already received from a Non–Plan
Provider, please follow the procedure in the “Post-                         A court-appointed conservator may file for his or her
Service Claims and Appeals” section.                                         conservatee
                                                                            An agent under a currently effective health care
Here are some examples of reasons you might file a                           proxy, to the extent provided under state law, may file
grievance:                                                                   for his or her principal
 You are not satisfied with the quality of care you                        Your physician may act as your authorized
  received                                                                   representative with your verbal consent to request an
 You received a written denial of Services that require                     urgent grievance as described under “Urgent
  prior authorization from the Medical Group and you                         procedure” in this “Grievances” section
  want us to cover the Services
                                                                           Authorized representatives must be appointed in writing
 You received a written denial for a second opinion or
                                                                           using either our authorization form or some other form of
  we did not respond to your request for a second
                                                                           written notification. The authorization form is available
  opinion in an expeditious manner, as appropriate for
                                                                           from the Member Services Department at a Plan Facility,
  your condition
                                                                           on our website at kp.org, or by calling our Member
 Your treating physician has said that Services are not                   Service Contact Center. Your written authorization must
  Medically Necessary and you want us to cover the                         accompany the grievance. You must pay the cost of
  Services                                                                 anyone you hire to represent or help you.
 You were told that Services are not covered and you
  believe that the Services should be covered                              How to file
                                                                           You can file a grievance orally or in writing. Your
 You want us to continue to cover an ongoing course
                                                                           grievance must explain your issue, such as the reasons
  of covered treatment
                                                                           why you believe a decision was in error or why you are
 You are dissatisfied with how long it took to get                        dissatisfied with the Services you received.
  Services, including getting an appointment, in the
  waiting room, or in the exam room                                        To file a grievance online, use the grievance form on our
 You want to report unsatisfactory behavior by                            website at kp.org.
  providers or staff, or dissatisfaction with the condition
  of a facility                                                            To file a grievance in writing, please use our Complaint
                                                                           or Benefit Claim/Request form. You can obtain the form
 You believe you have faced discrimination from                           in the following ways:
  providers, staff, or Health Plan
                                                                            By visiting our website at kp.org
 We terminated your membership and you disagree
  with that termination                                                     In person from any Member Services office at a Plan
                                                                             Facility and from Plan Providers (for addresses, refer
Who may file                                                                 to our Provider Directory or call our Member Service
The following people may file a grievance:                                   Contact Center)

 You may file for yourself                                                 By calling our Member Service Contact Center toll
                                                                             free at 1‑800-464-4000 (TTY users call 711)
 You can ask a friend, relative, attorney, or any other
  individual to file a grievance for you by appointing                     You must file your grievance within 180 days following
  him or her in writing as your authorized                                 the incident or action that is subject to your
  representative                                                           dissatisfaction. You may send us information including
 A parent may file for his or her child under age 18,                     comments, documents, and medical records that you
  except that the child must appoint the parent as                         believe support your grievance.
  authorized representative if the child has the legal


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Standard procedure. You must file your grievance in                         By mailing a written request to:
one of the following ways:                                                    Kaiser Foundation Health Plan, Inc.
 By completing a Complaint or Benefit Claim/Request                          Expedited Review Unit
  form at a Member Services office at a Plan Facility                         P.O. Box 23170
  (for addresses, refer to our Provider Directory or call                     Oakland, CA 94623-0170
  our Member Service Contact Center)                                        By faxing a written request to our Expedited Review
 By mailing your grievance to a Member Services                             Unit toll free at 1-888-987-2252
  office at a Plan Facility (for addresses, refer to our                    By visiting a Member Services office at a Plan
  Provider Directory or call our Member Service                              Facility (for addresses, refer to our Provider Directory
  Contact Center)                                                            or call our Member Service Contact Center)
 By calling our Member Service Contact Center toll                         By completing the grievance form on our website at
  free at 1‑800-464-4000 (TTY users call 711)                                kp.org
 By completing the grievance form on our website at
  kp.org                                                                   We will decide whether your grievance is urgent or non-
                                                                           urgent unless your attending health care provider tells us
Please call our Member Service Contact Center if you                       your grievance is urgent. If we determine that your
need help filing a grievance.                                              grievance is not urgent, we will use the procedure
                                                                           described under “Standard procedure” in this
If your grievance involves a request to obtain a non-                      “Grievances” section. Generally, a grievance is urgent
formulary prescription drug, we will notify you of our                     only if one of the following is true:
decision within 72 hours. If we do not decide in your                       Using the standard procedure could seriously
favor, our letter will explain why and describe your                         jeopardize your life, health, or ability to regain
further appeal rights. For information on how to request                     maximum function
a review by an independent review organization, see
                                                                            Using the standard procedure would, in the opinion of
“Independent Review Organization for Non-Formulary
                                                                             a physician with knowledge of your medical
Prescription Drug Requests” in this “Dispute Resolution”
                                                                             condition, subject you to severe pain that cannot be
section.
                                                                             adequately managed without extending your course of
                                                                             covered treatment
For all other grievances, we will send you an
acknowledgment letter within five days after we receive                     A physician with knowledge of your medical
your grievance. We will send you a resolution letter                         condition determines that your grievance is urgent
within 30 days after we receive your grievance. If you
are requesting Services, and we do not decide in your                      If your grievance involves a request to obtain a non-
favor, our letter will explain why and describe your                       formulary prescription drug and we respond to your
further appeal rights.                                                     request on an urgent basis, we will notify you of our
                                                                           decision within 24 hours of your request. If we do not
If you want to review the information that we have                         decide in your favor, our letter will explain why and
collected regarding your grievance, you may request, and                   describe your further appeal rights. For information on
we will provide without charge, copies of all relevant                     how to request a review by an independent review
documents, records, and other information. To make a                       organization, see “Independent Review Organization for
request, you should contact our Member Service Contact                     Non- Formulary Prescription Drug Requests” in this
Center.                                                                    “Dispute Resolution” section.

Urgent procedure. If you want us to consider your                          For all other grievances that we respond to on an urgent
grievance on an urgent basis, please tell us that when you                 basis, we will give you oral notice of our decision as
file your grievance.                                                       soon as your clinical condition requires, but not later
                                                                           than 72 hours after we received your grievance. We will
You must file your urgent grievance in one of the                          send you a written confirmation of our decision within 3
following ways:                                                            days after we received your grievance.

 By calling our Expedited Review Unit toll free at                        If we do not decide in your favor, our letter will explain
  1-888-987-7247 (TTY users call 711)                                      why and describe your further appeal rights.




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Note: If you have an issue that involves an imminent and                   give testimony by phone, you should call the phone
serious threat to your health (such as severe pain or                      number mentioned in our acknowledgment letter.
potential loss of life, limb, or major bodily function), you
can contact the California Department of Managed                           We will add the information that you provide through
Health Care at any time at 1-888-466-2219 (TDD 1-877-                      testimony or other means to your appeal file and we will
688-9891) without first filing a grievance with us.                        consider it in our decision regarding your appeal.

If you want to review the information that we have                         We will share any additional information that we collect
collected regarding your grievance, you may request, and                   in the course of our review and we will send it to you. If
we will provide without charge, copies of all relevant                     we believe that your request should not be granted,
documents, records, and other information. To make a                       before we issue our decision letter, we will also share
request, you should contact our Member Service Contact                     with you any new or additional reasons for that decision.
Center.                                                                    We will send you a letter explaining the additional
                                                                           information and/or reasons. Our letters about additional
Additional information regarding pre-service                               information and new or additional rationales will tell you
requests for Medically Necessary Services. You may                         how you can respond to the information provided if you
give testimony in writing or by phone. Please send your                    choose to do so. If your appeal is urgent, the information
written testimony to the address mentioned in our                          will be provided to you orally and followed in writing. If
acknowledgment letter. To arrange to give testimony by                     you do not respond before we must issue our final
phone, you should call the phone number mentioned in                       decision letter, that decision will be based on the
our acknowledgment letter.                                                 information in your appeal file.

We will add the information that you provide through
testimony or other means to your grievance file and we                     Independent Review Organization for
will consider it in our decision regarding your pre-                       Non-Formulary Prescription Drug
service request for Medically Necessary Services.                          Requests
We will share any additional information that we collect                   If you filed a grievance to obtain a non-formulary
in the course of our review and we will send it to you. If                 prescription drug and we did not decide in your favor,
we believe that your request should not be granted,                        you may submit a request for a review of your grievance
before we issue our decision letter, we will also share                    by an independent review organization (“IRO”). You
with you any new or additional reasons for that decision.                  must submit your request for IRO review within 180
We will send you a letter explaining the additional                        days of the receipt of our decision letter.
information and/or reasons. Our letters about additional
information and new or additional rationales will tell you                 You must file your request for IRO review in one of the
how you can respond to the information provided if you                     following ways:
choose to do so. If your grievance is urgent, the                           By calling our Expedited Review Unit toll free at
information will be provided to you orally and followed                      1-888-987-7247 (TTY users call 711)
in writing. If you do not respond before we must issue
our final decision letter, that decision will be based on                   By mailing a written request to:
the information in your grievance file.                                       Kaiser Foundation Health Plan, Inc.
                                                                              Expedited Review Unit
Additional information regarding appeals of written                           P.O. Box 23170
denials for Services that require prior authorization.                        Oakland, CA 94623-0170
You must file your appeal within 180 days after the date                    By faxing a written request to our Expedited Review
you received our denial letter.                                              Unit toll free at 1-888-987-2252
                                                                            By visiting a Member Services office at a Plan
You have the right to request any diagnosis and
                                                                             Facility (for addresses, refer to our Provider Directory
treatment codes and their meanings that are the subject of
                                                                             or call our Member Service Contact Center)
your appeal.
                                                                            By completing the grievance form on our website at
Also, you may give testimony in writing or by phone.                         kp.org
Please send your written testimony to the address
mentioned in our acknowledgment letter. To arrange to                      For urgent IRO reviews, we will forward to you the
                                                                           independent reviewer’s decision within 24 hours. For
                                                                           non-urgent requests, we will forward the independent

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reviewer’s decision to you within 72 hours. If the                         not to request an IMR, you may give up the right to
independent reviewer does not decide in your favor, you                    pursue some legal actions against us.
may submit a complaint to the Department of Managed
Health Care, as described under “Department of                             You may qualify for IMR if all of the following are true:
Managed Health Care Complaints” in this “Dispute
                                                                            One of these situations applies to you:
Resolution” section. You may also submit a request for
an Independent Medical Review as described under                               you have a recommendation from a provider
“Independent Medical Review” in this “Dispute                                   requesting Medically Necessary Services
Resolution” section.                                                           you have received Emergency Services,
                                                                                emergency ambulance Services, or Urgent Care
                                                                                from a provider who determined the Services to be
Department of Managed Health Care                                               Medically Necessary
Complaints                                                                     you have been seen by a Plan Provider for the
The California Department of Managed Health Care is                             diagnosis or treatment of your medical condition
responsible for regulating health care service plans. If                    Your request for payment or Services has been
you have a grievance against your health plan, you                           denied, modified, or delayed based in whole or in part
should first telephone your health plan toll free at                         on a decision that the Services are not Medically
1‑800-464-4000 (TTY users call 711) and use your                             Necessary
health plan’s grievance process before contacting the                       You have filed a grievance and we have denied it or
department. Utilizing this grievance procedure does not                      we haven’t made a decision about your grievance
prohibit any potential legal rights or remedies that may                     within 30 days (or three days for urgent grievances).
be available to you. If you need help with a grievance                       The DMHC may waive the requirement that you first
involving an emergency, a grievance that has not been                        file a grievance with us in extraordinary and
satisfactorily resolved by your health plan, or a grievance                  compelling cases, such as severe pain or potential loss
that has remained unresolved for more than 30 days, you                      of life, limb, or major bodily function. If we have
may call the department for assistance. You may also be                      denied your grievance, you must submit your request
eligible for an Independent Medical Review (IMR). If                         for an IMR within six months of the date of our
you are eligible for IMR, the IMR process will provide                       written denial. However, the DMHC may accept your
an impartial review of medical decisions made by a                           request after six months if they determine that
health plan related to the medical necessity of a proposed                   circumstances prevented timely submission
service or treatment, coverage decisions for treatments
that are experimental or investigational in nature and                     You may also qualify for IMR if the Service you
payment disputes for emergency or urgent medical                           requested has been denied on the basis that it is
services. The department also has a toll-free telephone                    experimental or investigational as described under
number (1-888-466-2219) and a TDD line                                     “Experimental or investigational denials.”
(1-877-688-9891) for the hearing and speech
impaired. The department’s Internet website                                If the DMHC determines that your case is eligible for
www.dmhc.ca.gov has complaint forms, IMR                                   IMR, it will ask us to send your case to the DMHC’s
application forms and instructions online.                                 IMR organization. The DMHC will promptly notify you
                                                                           of its decision after it receives the IMR organization’s
                                                                           determination. If the decision is in your favor, we will
Independent Medical Review (“IMR”)                                         contact you to arrange for the Service or payment.

Except as described in this “Independent Medical                           Experimental or investigational denials
Review (“IMR”)” section, you must exhaust our internal                     If we deny a Service because it is experimental or
grievance procedure before you may request independent                     investigational, we will send you our written explanation
medical review unless we have failed to comply with the                    within three days after we received your request. We will
grievance procedure described under “Grievances” in                        explain why we denied the Service and provide
this “Dispute Resolution” section. If you qualify, you or                  additional dispute resolution options. Also, we will
your authorized representative may have your issue                         provide information about your right to request
reviewed through the IMR process managed by the                            Independent Medical Review if we had the following
California Department of Managed Health Care                               information when we made our decision:
(“DMHC”). The DMHC determines which cases qualify
for IMR. This review is at no cost to you. If you decide                    Your treating physician provided us a written
                                                                             statement that you have a life-threatening or seriously


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   debilitating condition and that standard therapies have                 the OCR and how to file a complaint with the OCR, go
   not been effective in improving your condition, or                      to hhs.gov/civil-rights.
   that standard therapies would not be appropriate, or
   that there is no more beneficial standard therapy we
   cover than the therapy being requested. “Life-                          Additional Review
   threatening” means diseases or conditions where the
   likelihood of death is high unless the course of the                    You may have certain additional rights if you remain
   disease is interrupted, or diseases or conditions with                  dissatisfied after you have exhausted our internal claims
   potentially fatal outcomes where the end point of                       and appeals procedure, and if applicable, external
   clinical intervention is survival. “Seriously                           review:
   debilitating” means diseases or conditions that cause                    If your Group’s benefit plan is subject to the
   major irreversible morbidity                                              Employee Retirement Income Security Act
 If your treating physician is a Plan Physician, he or                      (“ERISA”), you may file a civil action under section
  she recommended a treatment, drug, device,                                 502(a) of ERISA. To understand these rights, you
  procedure, or other therapy and certified that the                         should check with your Group or contact the
  requested therapy is likely to be more beneficial to                       Employee Benefits Security Administration (part of
  you than any available standard therapies and                              the U.S. Department of Labor) at 1-866-444-EBSA
  included a statement of the evidence relied upon by                        (1-866-444-3272)
  the Plan Physician in certifying his or her                               If your Group’s benefit plan is not subject to ERISA
  recommendation                                                             (for example, most state or local government plans
 You (or your Non–Plan Physician who is a licensed,                         and church plans), you may have a right to request
  and either a board-certified or board-eligible,                            review in state court
  physician qualified in the area of practice appropriate
  to treat your condition) requested a therapy that,
                                                                           Binding Arbitration
  based on two documents from the medical and
  scientific evidence, as defined in California Health                     For all claims subject to this “Binding Arbitration”
  and Safety Code Section 1370.4(d), is likely to be                       section, both Claimants and Respondents give up the
  more beneficial for you than any available standard                      right to a jury or court trial and accept the use of binding
  therapy. The physician’s certification included a                        arbitration. Insofar as this “Binding Arbitration” section
  statement of the evidence relied upon by the                             applies to claims asserted by Kaiser Permanente Parties,
  physician in certifying his or her recommendation.                       it shall apply retroactively to all unresolved claims that
  We do not cover the Services of the Non–Plan                             accrued before the effective date of this EOC. Such
  Provider                                                                 retroactive application shall be binding only on the
                                                                           Kaiser Permanente Parties.
Note: You can request IMR for experimental or
investigational denials at any time without first filing a                 Scope of arbitration
grievance with us.                                                         Any dispute shall be submitted to binding arbitration if
                                                                           all of the following requirements are met:
Office of Civil Rights Complaints                                           The claim arises from or is related to an alleged
                                                                             violation of any duty incident to or arising out of or
If you believe that you have been discriminated against                      relating to this EOC or a Member Party’s relationship
by a Plan Provider or by us because of your race, color,                     to Kaiser Foundation Health Plan, Inc. (“Health
national origin, disability, age, sex (including sex                         Plan”), including any claim for medical or hospital
stereotyping and gender identity), or religion, you may                      malpractice (a claim that medical services or items
file a complaint with the Office of Civil Rights in the                      were unnecessary or unauthorized or were
United States Department of Health and Human Services                        improperly, negligently, or incompetently rendered),
(“OCR”).                                                                     for premises liability, or relating to the coverage for,
                                                                             or delivery of, services or items, irrespective of the
You may file your complaint with the OCR within 180                          legal theories upon which the claim is asserted
days of when you believe the act of discrimination                          The claim is asserted by one or more Member Parties
occurred. However, the OCR may accept your request                           against one or more Kaiser Permanente Parties or by
after six months if they determine that circumstances                        one or more Kaiser Permanente Parties against one or
prevented timely submission. For more information on                         more Member Parties



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 Governing law does not prevent the use of binding                        of Procedure”) developed by the Office of the
  arbitration to resolve the claim                                         Independent Administrator in consultation with Kaiser
                                                                           Permanente and the Arbitration Oversight Board. Copies
Members enrolled under this EOC thus give up their                         of the Rules of Procedure may be obtained from our
right to a court or jury trial, and instead accept the use of              Member Service Contact Center.
binding arbitration except that the following types of
claims are not subject to binding arbitration:                             Initiating arbitration
 Claims within the jurisdiction of the Small Claims                       Claimants shall initiate arbitration by serving a Demand
  Court                                                                    for Arbitration. The Demand for Arbitration shall include
                                                                           the basis of the claim against the Respondents; the
 Claims subject to a Medicare appeal procedure as                         amount of damages the Claimants seek in the arbitration;
  applicable to Kaiser Permanente Senior Advantage                         the names, addresses, and telephone numbers of the
  Members                                                                  Claimants and their attorney, if any; and the names of all
 Claims that cannot be subject to binding arbitration                     Respondents. Claimants shall include in the Demand for
  under governing law                                                      Arbitration all claims against Respondents that are based
                                                                           on the same incident, transaction, or related
As referred to in this “Binding Arbitration” section,                      circumstances.
“Member Parties” include:
                                                                           Serving Demand for Arbitration
 A Member
                                                                           Health Plan, Kaiser Foundation Hospitals, KP Cal, LLC,
 A Member’s heir, relative, or personal representative                    The Permanente Medical Group, Inc., Southern
 Any person claiming that a duty to him or her arises                     California Permanente Medical Group, The Permanente
  from a Member’s relationship to one or more Kaiser                       Federation, LLC, and The Permanente Company, LLC,
  Permanente Parties                                                       shall be served with a Demand for Arbitration by mailing
                                                                           the Demand for Arbitration addressed to that Respondent
“Kaiser Permanente Parties” include:                                       in care of:

 Kaiser Foundation Health Plan, Inc.                                           Kaiser Foundation Health Plan, Inc.
                                                                                Legal Department
 Kaiser Foundation Hospitals                                                   1950 Franklin St., 17th Floor
 KP Cal, LLC                                                                   Oakland, CA 94612
 The Permanente Medical Group, Inc.
                                                                           Service on that Respondent shall be deemed completed
 Southern California Permanente Medical Group                             when received. All other Respondents, including
 The Permanente Federation, LLC                                           individuals, must be served as required by the California
                                                                           Code of Civil Procedure for a civil action.
 The Permanente Company, LLC
 Any Southern California Permanente Medical Group                         Filing fee
  or The Permanente Medical Group physician                                The Claimants shall pay a single, nonrefundable filing
 Any individual or organization whose contract with                       fee of $150 per arbitration payable to “Arbitration
  any of the organizations identified above requires                       Account” regardless of the number of claims asserted in
  arbitration of claims brought by one or more Member                      the Demand for Arbitration or the number of Claimants
  Parties                                                                  or Respondents named in the Demand for Arbitration.
 Any employee or agent of any of the foregoing
                                                                           Any Claimant who claims extreme hardship may request
                                                                           that the Office of the Independent Administrator waive
“Claimant” refers to a Member Party or a Kaiser
                                                                           the filing fee and the neutral arbitrator’s fees and
Permanente Party who asserts a claim as described
                                                                           expenses. A Claimant who seeks such waivers shall
above. “Respondent” refers to a Member Party or a
                                                                           complete the Fee Waiver Form and submit it to the
Kaiser Permanente Party against whom a claim is
                                                                           Office of the Independent Administrator and
asserted.
                                                                           simultaneously serve it upon the Respondents. The Fee
                                                                           Waiver Form sets forth the criteria for waiving fees and
Rules of Procedure
                                                                           is available by calling our Member Service Contact
Arbitrations shall be conducted according to the Rules                     Center.
for Kaiser Permanente Member Arbitrations Overseen
by the Office of the Independent Administrator (“Rules


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Number of arbitrators                                                      date the Demand for Arbitration was served in accord
The number of arbitrators may affect the Claimants’                        with the procedures prescribed herein, or (b) the date of
responsibility for paying the neutral arbitrator’s fees and                filing of a civil action based upon the same incident,
expenses (see the Rules of Procedure).                                     transaction, or related circumstances involved in the
                                                                           claim. A claim may be dismissed on other grounds by the
If the Demand for Arbitration seeks total damages of                       neutral arbitrator based on a showing of a good cause. If
$200,000 or less, the dispute shall be heard and                           a party fails to attend the arbitration hearing after being
determined by one neutral arbitrator, unless the parties                   given due notice thereof, the neutral arbitrator may
otherwise agree in writing after a dispute has arisen and a                proceed to determine the controversy in the party’s
request for binding arbitration has been submitted that                    absence.
the arbitration shall be heard by two party arbitrators and
one neutral arbitrator. The neutral arbitrator shall not                   The California Medical Injury Compensation Reform
have authority to award monetary damages that are                          Act of 1975 (including any amendments thereto),
greater than $200,000.                                                     including sections establishing the right to introduce
                                                                           evidence of any insurance or disability benefit payment
If the Demand for Arbitration seeks total damages of                       to the patient, the limitation on recovery for non-
more than $200,000, the dispute shall be heard and                         economic losses, and the right to have an award for
determined by one neutral arbitrator and two party                         future damages conformed to periodic payments, shall
arbitrators, one jointly appointed by all Claimants and                    apply to any claims for professional negligence or any
one jointly appointed by all Respondents. Parties who are                  other claims as permitted or required by law.
entitled to select a party arbitrator may agree to waive
this right. If all parties agree, these arbitrations will be               Arbitrations shall be governed by this “Binding
heard by a single neutral arbitrator.                                      Arbitration” section, Section 2 of the Federal Arbitration
                                                                           Act, and the California Code of Civil Procedure
Payment of arbitrators’ fees and expenses                                  provisions relating to arbitration that are in effect at the
Health Plan will pay the fees and expenses of the neutral                  time the statute is applied, together with the Rules of
arbitrator under certain conditions as set forth in the                    Procedure, to the extent not inconsistent with this
Rules of Procedure. In all other arbitrations, the fees and                “Binding Arbitration” section. In accord with the rule
expenses of the neutral arbitrator shall be paid one-half                  that applies under Sections 3 and 4 of the Federal
by the Claimants and one-half by the Respondents.                          Arbitration Act, the right to arbitration under this
                                                                           “Binding Arbitration” section shall not be denied, stayed,
If the parties select party arbitrators, Claimants shall be                or otherwise impeded because a dispute between a
responsible for paying the fees and expenses of their                      Member Party and a Kaiser Permanente Party involves
party arbitrator and Respondents shall be responsible for                  both arbitrable and nonarbitrable claims or because one
paying the fees and expenses of their party arbitrator.                    or more parties to the arbitration is also a party to a
                                                                           pending court action with a third party that arises out of
Costs                                                                      the same or related transactions and presents a possibility
                                                                           of conflicting rulings or findings.
Except for the aforementioned fees and expenses of the
neutral arbitrator, and except as otherwise mandated by
laws that apply to arbitrations under this “Binding
Arbitration” section, each party shall bear the party’s                    Termination of Membership
own attorneys’ fees, witness fees, and other expenses
incurred in prosecuting or defending against a claim                       Your Group is required to inform the Subscriber of the
regardless of the nature of the claim or outcome of the                    date your membership terminates. Your membership
arbitration.                                                               termination date is the first day you are not covered (for
                                                                           example, if your termination date is January 1, 2021,
General provisions                                                         your last minute of coverage was at 11:59 p.m. on
A claim shall be waived and forever barred if (1) on the                   December 31, 2020). When a Subscriber’s membership
date the Demand for Arbitration of the claim is served,                    ends, the memberships of any Dependents end at the
the claim, if asserted in a civil action, would be barred as               same time. You will be billed as a non-Member for any
to the Respondent served by the applicable statute of                      Services you receive after your membership terminates.
limitations, (2) Claimants fail to pursue the arbitration                  Health Plan and Plan Providers have no further liability
claim in accord with the Rules of Procedure with                           or responsibility under this EOC after your membership
reasonable diligence, or (3) the arbitration hearing is not                terminates, except as provided under “Payments after
commenced within five years after the earlier of (a) the


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Termination” in this “Termination of Membership”                           also report criminal fraud and other illegal acts to the
section.                                                                   authorities for prosecution.

Information about termination of pediatric dental
coverage is described under “Pediatric Dental Coverage”                    Termination of a Product or all Products
in the “Introduction” section of this EOC.
                                                                           We may terminate a particular product or all products
                                                                           offered in the group market as permitted or required by
Termination Due to Loss of Eligibility                                     law. If we discontinue offering a particular product in the
                                                                           group market, we will terminate just the particular
If you no longer meet the eligibility requirements                         product by sending you written notice at least 90 days
described under “Who Is Eligible” in the “Premiums,                        before the product terminates. If we discontinue offering
Eligibility, and Enrollment” section, your Group will                      all products in the group market, we may terminate your
notify you of the date that your membership will end.                      Group’s Agreement by sending you written notice at
Your membership termination date is the first day you                      least 180 days before the Agreement terminates.
are not covered. For example, if your termination date is
January 1, 2021, your last minute of coverage was at
11:59 p.m. on December 31, 2020.                                           Payments after Termination
                                                                           If we terminate your membership for cause or for
Termination of Agreement                                                   nonpayment, we will:
                                                                            Refund any amounts we owe your Group for
If your Group’s Agreement with us terminates for any                         Premiums paid after the termination date
reason, your membership ends on the same date. Your
Group is required to notify Subscribers in writing if its                   Pay you any amounts we have determined that we
Agreement with us terminates.                                                owe you for claims during your membership in
                                                                             accord with the “Emergency Services and Urgent
                                                                             Care” and “Dispute Resolution” sections
Termination for Cause
                                                                           We will deduct any amounts you owe Health Plan or
If you intentionally commit fraud in connection with                       Plan Providers from any payment we make to you.
membership, Health Plan, or a Plan Provider, we may
terminate your membership by sending written notice to
the Subscriber; termination will be effective 30 days                      State Review of Membership
from the date we send the notice. Some examples of                         Termination
fraud include:
 Misrepresenting eligibility information about you or a                   If you believe that we have terminated your membership
  Dependent                                                                because of your ill health or your need for care, you may
                                                                           request a review of the termination by the California
 Presenting an invalid prescription or physician order                    Department of Managed Health Care (please see
 Misusing a Kaiser Permanente ID card (or letting                         “Department of Managed Health Care Complaints” in
  someone else use it)                                                     the “Dispute Resolution” section).
 Giving us incorrect or incomplete material
  information. For example, you have entered into a
  Surrogacy Arrangement and you fail to send us the                        Continuation of Membership
  information we require under “Surrogacy
  arrangements” under “Reductions” in the                                  If your membership under this EOC ends, you may be
  “Exclusions, Limitations, Coordination of Benefits,                      eligible to continue Health Plan membership without a
  and Reductions” section                                                  break in coverage. You may be able to continue Group
 Failing to notify us of changes in family status or                      coverage under this EOC as described under
  Medicare coverage that may affect your eligibility or                    “Continuation of Group Coverage.” Also, you may be
  benefits                                                                 able to continue membership under an individual plan as
                                                                           described under “Continuation of Coverage under an
If we terminate your membership for cause, you will not                    Individual Plan.” If at any time you become entitled to
be allowed to enroll in Health Plan in the future. We may                  continuation of Group coverage, please examine your
                                                                           coverage options carefully before declining this


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coverage. Individual plan premiums and coverage will be                    You must request an enrollment application by calling
different from the premiums and coverage under your                        our Member Service Contact Center within 60 days of
Group plan.                                                                the date of when your COBRA coverage ends.

Continuation of Group coverage under this EOC also                         Eligibility and effective date of coverage for Cal-
includes continuation of coverage under the attached                       COBRA when your coverage is through a small
Delta Dental EOC/DF.                                                       employer. If your group is not subject to COBRA, you
                                                                           may be able to continue uninterrupted Group coverage
                                                                           under this EOC if all of the following are true:
Continuation of Group Coverage
                                                                            Your employer meets the definition of “small
COBRA                                                                        employer” in Section 1357.500 or 1357.600 of the
You may be able to continue your coverage under this                         California Health and Safety Code
EOC for a limited time after you would otherwise lose                       Your employer employed between 2 to 19 eligible
eligibility, if required by the federal Consolidated                         employees on at least 50 percent of its working days
Omnibus Budget Reconciliation Act (“COBRA”).                                 during the last calendar year
COBRA applies to most employees (and most of their
                                                                            You do not have Medicare Part A
covered family Dependents) of most employers with 20
or more employees.                                                          You experience one of the following qualifying
                                                                             events:
If your Group is subject to COBRA and you are eligible                         your coverage is through a Subscriber who dies,
for COBRA coverage, in order to enroll you must submit                          divorces, legally separates, or gets Medicare
a COBRA election form to your Group within the
                                                                               you no longer qualify as a Dependent, under the
COBRA election period. Please ask your Group for
                                                                                terms of the “Who Is Eligible” section of this EOC
details about COBRA coverage, such as how to elect
coverage, how much you must pay for coverage, when                             you are a Subscriber, or your coverage is through a
coverage and Premiums may change, and where to send                             Subscriber, whose employment terminates (other
your Premium payments.                                                          than for gross misconduct) or whose hours of
                                                                                employment are reduced
If you enroll in COBRA and exhaust the time limit for
COBRA coverage, you may be able to continue Group                          You must request an enrollment application by calling
coverage under state law as described under “Cal-                          our Member Service Contact Center within 60 days of
COBRA” in this “Continuation of Group Coverage”                            the date of a qualifying event described above.
section.
                                                                           Cal-COBRA enrollment and Premiums. Within 10
Cal-COBRA                                                                  days of your request for an enrollment application, we
If you are eligible for coverage under the California                      will send you our application, which will include
Continuation Benefits Replacement Act (“Cal-                               Premium and billing information. You must return your
COBRA”), you can continue coverage as described in                         completed application within 63 days of the date of our
this “Cal-COBRA” section if you apply for coverage in                      termination letter or of your membership termination
compliance with Cal-COBRA law and pay applicable                           date (whichever date is later).
Premiums.
                                                                           If we approve your enrollment application, we will send
Eligibility and effective date of coverage for Cal-                        you billing information within 30 days after we receive
COBRA after COBRA. If your group is subject to                             your application. You must pay Full Premiums within 45
COBRA and your COBRA coverage ends, you may be                             days after the date we issue the bill. The first Premium
able to continue Group coverage effective the date your                    payment will include coverage from your Cal-COBRA
COBRA coverage ends if all of the following are true:                      effective date through our current billing cycle. You
                                                                           must send us the Premium payment by the due date on
 Your effective date of COBRA coverage was on or                          the bill to be enrolled in Cal-COBRA.
  after January 1, 2003
 You have exhausted the time limit for COBRA                              After that first payment, your Premium payment for the
  coverage and that time limit was 18 or 29 months                         upcoming coverage month is due on first day of that
                                                                           month. The Premiums will not exceed 110 percent of the
 You do not have Medicare
                                                                           applicable Premiums charged to a similarly situated
                                                                           individual under the Group benefit plan except that


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Premiums for disabled individuals after 18 months of                       our Member Service Contact Center. We will send you
COBRA coverage will not exceed 150 percent instead of                      our enrollment application and you must return your
110 percent. Returned checks or insufficient funds on                      completed application before open enrollment ends or
electronic payments will be subject to a $25 fee.                          within 63 days of receiving the termination notice
                                                                           described under “Group responsibilities.” If we approve
If you have selected Ancillary Coverage provided under                     your enrollment application, we will send you billing
any other program, the Premium for that Ancillary                          information within 30 days after we receive your
Coverage will be billed together with required Premiums                    application. You must pay the bill within 45 days after
for coverage under this EOC. Full Premiums will then                       the date we issue the bill. You must send us the Premium
also include Premium for Ancillary Coverage. This                          payment by the due date on the bill to be enrolled in Cal-
means if you do not pay the Full Premiums owed by the                      COBRA.
due date, we may terminate your membership under this
EOC and any Ancillary Coverage, as described in the                        How you may terminate your Cal-COBRA coverage.
“Termination for nonpayment of Cal-COBRA                                   You may terminate your Cal-COBRA coverage by
Premiums” section.                                                         sending written notice, signed by the Subscriber, to the
                                                                           address below. Your membership will terminate at 11:59
Changes to Cal-COBRA coverage and Premiums.                                p.m. on the last day of the month in which we receive
Your Cal-COBRA coverage is the same as for any                             your notice. Also, you must include with your notice all
similarly situated individual under your Group’s                           amounts payable related to your Cal-COBRA coverage,
Agreement, and your Cal-COBRA coverage and                                 including Premiums, for the period prior to your
Premiums will change at the same time that coverage or                     termination date.
Premiums change in your Group’s Agreement. Your
Group’s coverage and Premiums will change on the                                 Kaiser Foundation Health Plan, Inc.
renewal date of its Agreement (December 1), and may                              California Service Center
also change at other times if your Group’s Agreement is                          P.O. Box 23127
amended. Your monthly invoice will reflect the current                           San Diego, CA 92193-3127
Premiums that are due for Cal-COBRA coverage,
including any changes. For example, if your Group                          Termination for nonpayment of Cal-COBRA
makes a change that affects Premiums retroactively, the                    Premiums. If you do not pay Full Premiums by the due
amount we bill you will be adjusted to reflect the                         date, we may terminate your membership as described in
retroactive adjustment in Premiums. Your Group can tell                    this “Termination for nonpayment of Cal-COBRA
you whether this EOC is still in effect and give you a                     Premiums” section. If you intend to terminate your
current one if this EOC has expired or been amended.                       membership, be sure to notify us as described under
You can also request one from our Member Service                           “How you may terminate your Cal-COBRA coverage” in
Contact Center.                                                            this “Cal-COBRA” section, as you will be responsible
                                                                           for any Premiums billed to you unless you let us know
Cal-COBRA open enrollment or termination of                                before the first of the coverage month that you want us to
another health plan. If you previously elected Cal-                        terminate your coverage.
COBRA coverage through another health plan available
through your Group, you may be eligible to enroll in                       Your Premium payment for the upcoming coverage
Kaiser Permanente during your Group’s annual open                          month is due on the first day of that month. If we do not
enrollment period, or if your Group terminates its                         receive full Premium payment on or before the first day
agreement with the health plan you are enrolled in. You                    of the coverage month, we will send a notice of
will be entitled to Cal-COBRA coverage only for the                        nonreceipt of payment (a “Late Notice”) to the
remainder, if any, of the coverage period prescribed by                    Subscriber’s address of record. This Late Notice will
Cal-COBRA. Please ask your Group for information                           include the following information:
about health plans available to you either at open
                                                                            A statement that we have not received full Premium
enrollment or if your Group terminates a health plan’s
                                                                             payment and that we will terminate the memberships
agreement.
                                                                             of everyone in your Family for nonpayment if we do
                                                                             not receive the required Premiums within 30 days
In order for you to switch from another health plan and                      after the date of the Late Notice
continue your Cal-COBRA coverage with us, we must
receive your enrollment application during your Group’s                     The amount of Premiums that are due
open enrollment period, or within 63 days of receiving
the Group’s termination notice described under “Group
responsibilities.” To request an application, please call

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 The specific date and time when the memberships of                          limitation with respect to any pre-existing condition
  everyone in your Family will end if we do not receive                       you may have (or that does contain such an exclusion
  the Premiums                                                                or limitation, but it has been satisfied)
                                                                            The date you become covered, or could have become
If we terminate your Cal-COBRA coverage because we                           covered, under COBRA
did not receive Full Premiums when due, your
membership will end at 11:59 p.m. on the 30th day after                     Either the date that is 36 months after the date of your
the date of the Late Notice. Your coverage will continue                     original Cal-COBRA qualifying event or the date that
during this 30-day grace period, but upon termination                        is 36 months after the date of your original COBRA
you will be responsible for paying all past due                              effective date (under this or any other plan) if you
Premiums, including the Premiums for this grace period.                      were enrolled in COBRA before Cal-COBRA
                                                                            The date your membership is terminated for
We will mail a Termination Notice to the Subscriber’s                        nonpayment of Premiums as described under
address of record if we do not receive full Premium                          “Termination for nonpayment of Cal-COBRA
payment within 30 days after the date of the Late Notice.                    Premiums” in this “Continuation of Membership”
The Termination Notice will include the following                            section
information:
 A statement that we have terminated the memberships                      Note: If the Social Security Administration determined
  of everyone in your Family for nonpayment of                             that you were disabled at any time during the first 60
  Premiums                                                                 days of COBRA coverage, you must notify your Group
                                                                           within 60 days of receiving the determination from
 The specific date and time when the memberships of                       Social Security. Also, if Social Security issues a final
  everyone in your Family ended                                            determination that you are no longer disabled in the 35th
 The amount of Premiums that are due                                      or 36th month of Group continuation coverage, your Cal-
                                                                           COBRA coverage will end the later of: (1) expiration of
 Information explaining whether or not you can
                                                                           36 months after your original COBRA effective date, or
  reinstate your memberships
                                                                           (2) the first day of the first month following 31 days after
 Your appeal rights                                                       Social Security issued its final determination. You must
                                                                           notify us within 30 days after you receive Social
If we terminate your membership, you are still                             Security’s final determination that you are no longer
responsible for paying all amounts due.                                    disabled.

Reinstatement of your membership after termination                         Group responsibilities. Your Group is required to give
for nonpayment of Cal-COBRA Premiums. If we                                Health Plan written notice within 30 days after a
terminate your membership for nonpayment of                                Subscriber is no longer eligible for coverage due to
Premiums, we will permit reinstatement of your                             termination of employment or reduction of hours. If your
membership three times during any 12-month period if                       Group prefers that we not offer Cal-COBRA coverage
we receive the amounts owed within 15 days of the date                     because your Group terminated a Subscriber’s
of the Termination Notice. We will not reinstate your                      employment for gross misconduct, your Group must
membership if you do not obtain reinstatement of your                      send written notice within five days after the
terminated membership within the required 15 days, or if                   Subscriber’s employment terminates to:
we terminate your membership for nonpayment of
Premiums more than three times in a 12-month period.                             Kaiser Foundation Health Plan
                                                                                 California Service Center
Termination of Cal-COBRA coverage. Cal-COBRA                                     P.O. Box 23059
coverage continues only upon payment of applicable                               San Diego, CA 92193-3059
monthly Premiums to us at the time we specify, and
terminates on the earliest of:                                             Your Group is required to notify us in writing within 30
 The date your Group’s Agreement with us terminates                       days if your Group becomes subject to COBRA under
  (you may still be eligible for Cal-COBRA through                         federal law.
  another Group health plan)
                                                                           If your Group’s agreement with a health plan is
 The date you get Medicare                                                terminated, your Group is required to provide written
 The date your coverage begins under any other group                      notice at least 30 days before the termination date to the
  health plan that does not contain any exclusion or                       persons whose Cal-COBRA coverage is terminating.


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This notice must inform Cal-COBRA beneficiaries that                       For Dependent children, “Totally Disabled” means that,
they can continue Cal-COBRA coverage by enrolling in                       in the judgment of a Medical Group physician, an illness
any health benefit plan offered by your Group. It must                     or injury is expected to result in death or has lasted or is
also include information about benefits, premiums,                         expected to last for a continuous period of at least 12
payment instructions, and enrollment forms (including                      months and the illness or injury makes the child unable
instructions on how to continue Cal-COBRA coverage                         to substantially engage in any of the normal activities of
under the new health plan). Your Group is required to                      children in good health of like age.
send this information to the person’s last known address,
as provided by the prior health plan. Health Plan is not                   To request continuation of coverage for your disabling
obligated to provide this information to qualified                         condition, you must call our Member Service Contact
beneficiaries if your Group fails to provide the notice.                   Center within 30 days after your Group’s Agreement
These persons will be entitled to Cal-COBRA coverage                       with us terminates.
only for the remainder, if any, of the coverage period
prescribed by Cal-COBRA.
                                                                           Continuation of Coverage under an
USERRA                                                                     Individual Plan
If you are called to active duty in the uniformed services,
you may be able to continue your coverage under this                       If you want to remain a Health Plan member when your
EOC for a limited time after you would otherwise lose                      Group coverage ends, you might be able to enroll in one
eligibility, if required by the federal Uniformed Services                 of our Kaiser Permanente for Individuals and Families
Employment and Reemployment Rights Act                                     plans. The premiums and coverage under our individual
(“USERRA”). You must submit a USERRA election                              plan coverage are different from those under this EOC.
form to your Group within 60 days after your call to
active duty. Please contact your Group to find out how to                  If you want your individual plan coverage to be effective
elect USERRA coverage and how much you must pay                            when your Group coverage ends, you must submit your
your Group.                                                                application within the special enrollment period for
                                                                           enrolling in an individual plan due to loss of other
Coverage for a Disabling Condition                                         coverage. Otherwise, you will have to wait until the next
If you became Totally Disabled while you were a                            annual open enrollment period.
Member under your Group’s Agreement with us and
while the Subscriber was employed by your Group, and                       To request an application to enroll directly with us,
your Group’s Agreement with us terminates and is not                       please go to kp.org or call our Member Service Contact
renewed, we will cover Services for your totally                           Center. For information about plans that are available
disabling condition until the earliest of the following                    through Covered California, see “Covered California”
events occurs:                                                             below.

 12 months have elapsed since your Group’s                                Covered California
  Agreement with us terminated
                                                                           U.S. citizens or legal residents of the U.S. can buy health
 You are no longer Totally Disabled                                       care coverage from Covered California. This is
 Your Group’s Agreement with us is replaced by                            California’s health insurance marketplace (“the
  another group health plan without limitation as to the                   Exchange”). You may apply for help to pay for
  disabling condition                                                      premiums and copayments but only if you buy coverage
                                                                           through Covered California. This financial assistance
Your coverage will be subject to the terms of this EOC,                    may be available if you meet certain income guidelines.
including Cost Share, but we will not cover Services for                   To learn more about coverage that is available through
any condition other than your totally disabling condition.                 Covered California, visit CoveredCA.com or call
                                                                           Covered California at 1-800-300-1506 (TTY users call
                                                                           711).
For Subscribers and adult Dependents, “Totally
Disabled” means that, in the judgment of a Medical
Group physician, an illness or injury is expected to result
in death or has lasted or is expected to last for a
continuous period of at least 12 months, and makes the
person unable to engage in any employment or
occupation, even with training, education, and
experience.


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Miscellaneous Provisions                                                   Attorney and Advocate Fees and
                                                                           Expenses
Administration of Agreement                                                In any dispute between a Member and Health Plan, the
                                                                           Medical Group, or Kaiser Foundation Hospitals, each
We may adopt reasonable policies, procedures, and                          party will bear its own fees and expenses, including
interpretations to promote orderly and efficient                           attorneys’ fees, advocates’ fees, and other expenses.
administration of your Group’s Agreement, including this
EOC.
                                                                           Claims Review Authority
Advance Directives                                                         We are responsible for determining whether you are
                                                                           entitled to benefits under this EOC and we have the
The California Health Care Decision Law offers several                     discretionary authority to review and evaluate claims that
ways for you to control the kind of health care you will                   arise under this EOC. We conduct this evaluation
receive if you become very ill or unconscious, including                   independently by interpreting the provisions of this EOC.
the following:                                                             We may use medical experts to help us review claims. If
 A Power of Attorney for Health Care lets you name                        coverage under this EOC is subject to the Employee
  someone to make health care decisions for you when                       Retirement Income Security Act (“ERISA”) claims
  you cannot speak for yourself. It also lets you write                    procedure regulation (29 CFR 2560.503-1), then we are a
  down your own views on life support and other                            “named claims fiduciary” to review claims under this
  treatments                                                               EOC.
 Individual health care instructions let you express
  your wishes about receiving life support and other                       EOC Binding on Members
  treatment. You can express these wishes to your
  doctor and have them documented in your medical                          By electing coverage or accepting benefits under this
  chart, or you can put them in writing and have that                      EOC, all Members legally capable of contracting, and
  included in your medical chart                                           the legal representatives of all Members incapable of
                                                                           contracting, agree to all provisions of this EOC.
To learn more about advance directives, including how
to obtain forms and instructions, contact the Member
Services Department at a Plan Facility. For more                           ERISA Notices
information about advance directives, refer to our
                                                                           This “ERISA Notices” section applies only if your
website at kp.org or call our Member Service Contact
                                                                           Group’s health benefit plan is subject to the Employee
Center.
                                                                           Retirement Income Security Act (“ERISA”). We provide
                                                                           these notices to assist ERISA-covered groups in
Amendment of Agreement                                                     complying with ERISA. Coverage for Services described
                                                                           in these notices is subject to all provisions of this EOC.
Your Group’s Agreement with us will change
periodically. If these changes affect this EOC, your                       Newborns’ and Mother’s Health Protection Act
Group is required to inform you in accord with                             Group health plans and health insurance issuers generally
applicable law and your Group’s Agreement.                                 may not, under Federal law, restrict benefits for any
                                                                           hospital length of stay in connection with childbirth for
                                                                           the mother or newborn child to less than 48 hours
Applications and Statements                                                following a vaginal delivery, or less than 96 hours
                                                                           following a cesarean section. However, Federal law
You must complete any applications, forms, or
                                                                           generally does not prohibit the mother’s or newborn’s
statements that we request in our normal course of
                                                                           attending provider, after consulting with the mother,
business or as specified in this EOC.
                                                                           from discharging the mother or her newborn earlier than
                                                                           48 hours (or 96 hours as applicable). In any case, plans
Assignment                                                                 and issuers may not, under Federal law, require that a
                                                                           provider obtain authorization from the plan or the
You may not assign this EOC or any of the rights,                          insurance issuer for prescribing a length of stay not in
interests, claims for money due, benefits, or obligations                  excess of 48 hours (or 96 hours).
hereunder without our prior written consent.

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Women’s Health and Cancer Rights Act                                       your Group’s Agreement) after receiving the information
If you have had or are going to have a mastectomy, you                     from us.
may be entitled to certain benefits under the Women’s
Health and Cancer Rights Act. For individuals receiving
mastectomy-related benefits, coverage will be provided                     Overpayment Recovery
in a manner determined in consultation with the
                                                                           We may recover any overpayment we make for Services
attending physician and the patient, for all stages of
                                                                           from anyone who receives such an overpayment or from
reconstruction of the breast on which the mastectomy
                                                                           any person or organization obligated to pay for the
was performed, surgery and reconstruction of the other
                                                                           Services.
breast to produce a symmetrical appearance, prostheses,
and treatment of physical complications of the
mastectomy, including lymphedemas. These benefits will                     Privacy Practices
be provided subject to the same Cost Share applicable to
other medical and surgical benefits provided under this                    Kaiser Permanente will protect the privacy of
plan.                                                                      your protected health information. We also
                                                                           require contracting providers to protect your
Governing Law                                                              protected health information. Your protected
                                                                           health information is individually-identifiable
Except as preempted by federal law, this EOC will be
governed in accord with California law and any                             information (oral, written, or electronic) about
provision that is required to be in this EOC by state or                   your health, health care services you receive, or
federal law shall bind Members and Health Plan whether                     payment for your health care. You may
or not set forth in this EOC.                                              generally see and receive copies of your
                                                                           protected health information, correct or update
Group and Members Not Our Agents                                           your protected health information, and ask us
                                                                           for an accounting of certain disclosures of your
Neither your Group nor any Member is the agent or                          protected health information. You can request
representative of Health Plan.
                                                                           delivery of confidential communication to a
                                                                           location other than your usual address or by a
No Waiver                                                                  means of delivery other than the usual means.
Our failure to enforce any provision of this EOC will not
constitute a waiver of that or any other provision, or                     We may use or disclose your protected health
impair our right thereafter to require your strict                         information for treatment, health research,
performance of any provision.                                              payment, and health care operations purposes,
                                                                           such as measuring the quality of Services. We
Notices Regarding Your Coverage                                            are sometimes required by law to give
                                                                           protected health information to others, such as
Our notices to you will be sent to the most recent address                 government agencies or in judicial actions. In
we have for the Subscriber. The Subscriber is responsible
                                                                           addition, protected health information is shared
for notifying us of any change in address. Subscribers
who move should call our Member Service Contact                            with your Group only with your authorization
Center as soon as possible to give us their new address.                   or as otherwise permitted by law.
If a Member does not reside with the Subscriber, or
needs to have confidential information sent to an address                  We will not use or disclose your protected
other than the Subscriber’s address, he or she should                      health information for any other purpose
contact our Member Service Contact Center to discuss
alternate delivery options.
                                                                           without your (or your representative’s) written
                                                                           authorization, except as described in our Notice
Note: When we tell your Group about changes to this                        of Privacy Practices (see below). Giving us
EOC or provide your Group other information that                           authorization is at your discretion.
affects you, your Group is required to notify the
Subscriber within 30 days (or five days if we terminate


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This is only a brief summary of some of our                                Center. The directory is updated periodically. The
key privacy practices. OUR NOTICE OF                                       availability of Plan Physicians and Plan Facilities may
                                                                           change. If you have questions, please call our Member
PRIVACY PRACTICES, WHICH PROVIDES                                          Service Contact Center.
ADDITIONAL INFORMATION ABOUT
OUR PRIVACY PRACTICES AND YOUR
RIGHTS REGARDING YOUR PROTECTED                                            Online Tools and Resources
HEALTH INFORMATION, IS AVAILABLE                                           Here are some tools and resources available on our
AND WILL BE FURNISHED TO YOU                                               website at kp.org:
UPON REQUEST. To request a copy, please                                     How to use our Services and make appointments
call our Member Service Contact Center. You                                 Tools you can use to email your doctor’s office, view
can also find the notice at a Plan Facility or on                            test results, refill prescriptions, and schedule routine
our website at kp.org.                                                       appointments
                                                                            Health education resources
Public Policy Participation                                                 Preventive care guidelines
                                                                            Member rights and responsibilities
The Kaiser Foundation Health Plan, Inc., Board of
Directors establishes public policy for Health Plan. A list
of the Board of Directors is available on our website at                   You can also access tools and resources using the KP
kp.org or from our Member Service Contact Center. If                       app on your smartphone or other mobile device.
you would like to provide input about Health Plan public
policy for consideration by the Board, please send
                                                                           How to Reach Us
written comments to:
                                                                           Appointments
     Kaiser Foundation Health Plan, Inc.                                   If you need to make an appointment, please call us or
     Office of Board and Corporate Governance Services                     visit our website:
     One Kaiser Plaza, 19th Floor
     Oakland, CA 94612                                                     Call         The appointment phone number at a Plan
                                                                                        Facility (for phone numbers, refer to our
                                                                                        Provider Directory or call our Member
                                                                                        Service Contact Center)
Helpful Information
                                                                           Website      kp.org for routine (non-urgent) appointments
                                                                                        with your personal Plan Physician or another
How to Obtain this EOC in Other                                                         Primary Care Physician
Formats
                                                                           Not sure what kind of care you need?
You can request a copy of this EOC in an alternate
                                                                           If you need advice on whether to get medical care, or
format (Braille, audio, electronic text file, or large print)
                                                                           how and when to get care, we have licensed health care
by calling our Member Service Contact Center.
                                                                           professionals available to assist you by phone 24 hours a
                                                                           day, 7 days a week:
Provider Directory                                                         Call         The appointment or advice phone number at a
                                                                                        Plan Facility (for phone numbers, refer to our
Please refer to the Provider Directory for your Home
                                                                                        Provider Directory or call our Member
Region for the following information:
                                                                                        Service Contact Center)
 A list of Plan Physicians
 The location of Plan Facilities and the types of                         Member Services
  covered Services that are available from each facility                   If you have questions or concerns about your coverage,
                                                                           how to obtain Services, or the facilities where you can
 Hours of operation
                                                                           receive care, you can reach us in the following ways:
 Appointments and advice phone numbers
                                                                           Call         1‑800-464-4000 (English and more than 150
                                                                                        languages using interpreter services)
This directory is available on our website at kp.org. To
                                                                                        1-800-788-0616 (Spanish)
obtain a printed copy, call our Member Service Contact

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            1-800-757-7585 (Chinese dialects)                              Help with claim forms for Emergency Services,
            TTY users call 711                                             Post-Stabilization Care, Out-of-Area Urgent
                                                                           Care, and emergency ambulance Services
            24 hours a day, seven days a week (except
            closed holidays)                                               If you need a claim form to request payment or
                                                                           reimbursement for Services described in the “Emergency
Visit       Member Services Department at a Plan                           Services and Urgent Care” section or under “Ambulance
            Facility (for addresses, refer to our Provider                 Services” in the “Benefits” section, or if you need help
            Directory or call our Member Service Contact                   completing the form, you can reach us by calling or by
            Center)                                                        visiting our website.
Write       Member Services Department at a Plan                           Call         1‑800-464-4000 (TTY users call 711)
            Facility for addresses, refer to our Provider
            Directory or call our Member Service Contact                                24 hours a day, seven days a week (except
            Center)                                                                     closed holidays)

Website     kp.org                                                         Website      kp.org

Estimates, bills, and statements                                           Submitting claims for Emergency Services,
                                                                           Post-Stabilization Care, Out-of-Area Urgent
For the following concerns, please call us at the number
                                                                           Care, and emergency ambulance Services
below:
                                                                           If you need to submit a completed claim form for
 If you have questions about a bill                                       Services described in the “Emergency Services and
 To find out how much you have paid toward your                           Urgent Care” section or under “Ambulance Services” in
  Plan Deductible (if applicable) or Plan Out-of-Pocket                    the “Benefits” section, or if you need to submit other
  Maximum                                                                  information that we request about your claim, send it to
                                                                           our Claims Department:
 To get an estimate of Charges for Services that are
  subject to the Plan Deductible (if applicable)                           Write        Kaiser Permanente
                                                                                        Claims Administration - NCAL
Call        1‑800-390-3507 (TTY users call 711)
                                                                                        P.O. Box 12923
            Monday through Friday 7 a.m. to 7 p.m.                                      Oakland, CA 94604-2923
Website     kp.org/memberestimates
                                                                           Text telephone access (“TTY”)
Away from home travel line                                                 If you use a text telephone device (“TTY,” also known as
                                                                           “TDD”) to communicate by phone, you can use the
If you have questions about your coverage when you are
                                                                           California Relay Service by calling 711.
away from home:
Call        1-951-268-3900                                                 Interpreter services
            24 hours a day, seven days a week (except                      If you need interpreter services when you call us or when
            closed holidays)                                               you get covered Services, please let us know. Interpreter
                                                                           services, including sign language, are available during all
Website     kp.org/travel                                                  business hours at no cost to you. For more information
                                                                           on the interpreter services we offer, please call our
Authorization for Post-Stabilization Care                                  Member Service Contact Center.
To request prior authorization for Post-Stabilization Care
as described under “Emergency Services” in the
“Emergency Services and Urgent Care” section:                              Payment Responsibility
Call        1-800-225-8883 or the notification phone                       This “Payment Responsibility” section briefly explains
            number on your Kaiser Permanente ID card                       who is responsible for payments related to the health care
            (TTY users call 711)                                           coverage described in this EOC. Payment responsibility
            24 hours a day, seven days a week                              is more fully described in other sections of the EOC as
                                                                           described below:
                                                                            Your Group is responsible for paying Premiums,
                                                                             except that you are responsible for paying Premiums
                                                                             if you have COBRA or Cal-COBRA (refer to
                                                                             “Premiums” in the “Premiums, Eligibility, and


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   Enrollment” section and “COBRA” and
   “Cal-COBRA” under “Continuation of Group
   Coverage” in the “Continuation of Membership”
   section)
 Your Group may require you to contribute to
  Premiums (your Group will tell you the amount and
  how to pay)
 You are responsible for paying your Cost Share for
  covered Services (refer to the “Cost Share Summary”
  section)
 If you receive Emergency Services, Post-Stabilization
  Care, or Out-of-Area Urgent Care from a Non–Plan
  Provider, or if you receive emergency ambulance
  Services, you must pay the provider and file a claim
  for reimbursement unless the provider agrees to bill
  us (refer to “Payment and Reimbursement” in the
  “Emergency Services and Urgent Care” section)
 If you receive Services from Non–Plan Providers that
  we did not authorize (other than Emergency Services,
  Post-Stabilization Care, Out-of-Area Urgent Care, or
  emergency ambulance Services) and you want us to
  pay for the care, you must submit a grievance (refer to
  “Grievances” in the “Dispute Resolution” section)
 If you have coverage with another plan or with
  Medicare, we will coordinate benefits with the other
  coverage (refer to “Coordination of Benefits” in the
  “Exclusions, Limitations, Coordination of Benefits,
  and Reductions” section)
 In some situations, you or a third party may be
  responsible for reimbursing us for covered Services
  (refer to “Reductions” in the “Exclusions,
  Limitations, Coordination of Benefits, and
  Reductions” section)
 You must pay the full price for noncovered Services



Delta Dental EOC/DF
For information about pediatric dental coverage, please
refer to the Delta Dental EOC/DF attached to this EOC.




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Delta Dental DF/EOC




                                         DeltaCare USA
                                     Children's Dental HMO

                                  This is a pediatric-only dental benefit



Combined Evidence of Coverage and Disclosure Form ("EOC")


Provided by:
Delta Dental of California
560 Mission Street, Suite 1300
San Francisco, CA 94105


Administered by:
Delta Dental Insurance Company
P. O. Box 1803
Alpharetta, GA 30023
800-589-4618
deltadentalins.com




NOTICE: THIS EOC CONSTITUTES ONLY A SUMMARY OF YOUR GROUP DENTAL PROGRAM. AS REQUIRED BY
THE CALIFORNIA HEALTH AND SAFETY CODE, THIS IS TO ADVISE YOU THAT THE CONTRACT MUST BE
CONSULTED TO DETERMINE THE EXACT TERMS AND CONDITIONS OF COVERAGE. THIS INFORMATION IS NOT A
GUARANTEE OF COVERED BENEFITS, SERVICES OR PAYMENTS.

A STATEMENT DESCRIBING DELTA DENTAL'S POLICIES AND PROCEDURES FOR PRESERVING THE
CONFIDENTIALITY OF MEDICAL RECORDS IS AVAILABLE AND WILL BE FURNISHED TO YOU UPON REQUEST.




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INTRODUCTION
We are pleased to welcome you to the DeltaCare USA Plan ("Plan"). The Contractholder (see
"Definitions" section) has selected Delta Dental of California ("Delta Dental") to meet your dental
insurance needs. This Plan is underwritten by Delta Dental and administered by Delta Dental Insurance
Company.
IMPORTANT NOTE: This Plan is being offered in conjunction with a medical plan underwritten by Kaiser
Foundation Health Plan, Inc. ("Kaiser" or "MPI"). A description of your medical plan benefits is attached to
this EOC. If you have questions regarding your medical plan coverage, please contact Kaiser at 800-464-
4000 (TTY users call 711).
Our goal is to provide you with the highest quality dental care and to help you maintain good dental
health. We encourage you not to wait until you have a problem to see the Dentist but to see one on a
regular basis.
Eligibility for coverage under this Plan is determined by Kaiser. Delta Dental provides dental Benefits as
defined in the following section of this EOC:
  ▪ Eligibility Requirements for Pediatric Benefits ("Essential Health Benefits")


Using This EOC
This EOC, including Attachments, discloses the terms and conditions of your coverage and is designed to
help you make the most of your dental plan. It will help you understand how this Plan works and how to
obtain dental care.
Please read this EOC completely and carefully. Keep in mind that "you" and "your" mean the individuals
who are covered. "We," "us" and "our" always refer to Delta Dental or the Administrator. In addition,
please read the "Definitions" section as it will explain any words with special or technical meanings.
Persons with Special Health Care Needs should read the section entitled "Special Health Care Needs."
This EOC is not a Summary Plan Description that meets the requirements of the Employee Retirement
Income Security Act of 1974 ("ERISA").
Identification Number
The Enrollee should provide their identification ("ID") number to their assigned Contract Dentist whenever
dental services are received. ID cards are not required but may be obtained by visiting Delta Dental's
website at deltadentalins.com.
Contract - The Benefit explanations contained in this EOC are subject to all provisions of the Contract on
file with the Contractholder and do not modify the terms and conditions of the Contract in any way. A copy
of the Contract will be furnished to you upon request. Any direct conflict between the Contract and this
EOC will be resolved according to the terms which are most favorable to you.
Contact Us - For more information, please visit Delta Dental's website at deltadentalins.com or call Delta
Dental's Customer Care at 800-589-4618. If you prefer to write with your question(s), please mail your
inquiry to the following address:
                                      DeltaCare USA Customer Care
                                               P.O. Box 1803
                                            Alpharetta, GA 30023




                                        Michael G. Hankinson, Esq.
                                Executive Vice President, Chief Legal Officer




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                                               DEFINITIONS
The following are definitions of words that have special or technical meanings under this EOC.
Accumulation Period: a period of time of at least 12 consecutive months for purposes of accumulating
amounts toward your Out-of-Pocket Maximum. Your Accumulation Period may be a calendar year, a
contract year or some other period determined by the Contractholder. Your Accumulation Period is
specified in your MPI Evidence of Coverage.
Administrator: Delta Dental Insurance Company or other entity designated by Delta Dental, operating as
an Administrator in the state of California. Certain functions described throughout this EOC may be
performed by the Administrator as designated by Delta Dental. The mailing address for the Administrator
is: P.O. Box 1803, Alpharetta, GA 30023. The Administrator will answer calls directed to 800-589-4618.
Authorization: the process by which Delta Dental determines if a procedure or treatment is a referable
Benefit under this Plan.
Benefits: covered pediatric dental services provided under the terms of the Contract and as described in
this EOC.
Contract: the agreement between Delta Dental and the Contractholder, including any Attachments,
pursuant to which Delta Dental has issued this EOC.
Contract Dentist: a DeltaCare USA Dentist who provides services in general dentistry and who has
agreed to provide Benefits to Enrollees under this Plan.
Contract Orthodontist: a DeltaCare USA Dentist who specializes in orthodontics and who has agreed to
provide Benefits to Enrollees under this Plan which covers medically necessary orthodontics.
Contract Specialist: a DeltaCare USA Dentist who provides Specialist Services and who has agreed to
provide Benefits to Enrollees under this Plan.
Contract Term: the period during which the Contract is in effect.
Contractholder: an employer that has contracted for Benefits to Enrollees under this Plan.
Copayment: the amount listed in the Schedules attached to this EOC charged to an Enrollee by a
Contract Dentist, Contract Orthodontist or Contract Specialist for Benefits provided to Enrollees under this
Plan. Copayments must be paid at the time treatment is received.
Delta Dental Service Area: all geographic areas in the state of California in which Delta Dental is
licensed as a specialized health care service plan.
Dentist: a duly licensed Dentist legally entitled to practice dentistry at the time and in the state or
jurisdiction in which services are performed.
Department of Managed Health Care: a department of the California Health and Human Services
Agency which has charge of regulating specialized health care service plans. Also referred to as the
"Department" or "DMHC."
Effective Date: the original date the Packaged Offering starts. This date is given in the MPI Evidence of
Coverage.
Eligible Pediatric Individual: a person who is eligible to enroll for pediatric dental Benefits as described
in this EOC and the MPI Evidence of Coverage. Eligible Pediatric Individuals are children from birth
through the end of the contract year in which the child turns 19 who meet the eligibility requirements in the
MPI Evidence of Coverage.
Emergency Dental Condition: dental symptoms and/or pain that are so severe that a reasonable person
would believe that, without immediate attention by a Dentist, it could reasonably be expected to result in
any of the following:
  ▪ placing the patient's health in serious jeopardy,
  ▪ serious impairment to bodily functions,
  ▪ serious dysfunction of any bodily organ or part, or
  ▪ death


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Emergency Dental Service: a dental screening, examination and evaluation by a Dentist or, to the
extent permitted by applicable law, by other appropriate licensed persons under the supervision of a
Dentist, to determine if an Emergency Dental Condition exists and, if it does, the care, treatment and
surgery, if within the scope of that person's license, necessary to relieve or eliminate the Emergency
Dental Condition, within the capability of the facility.
Employee: an individual employed by the Contractholder who has opted to enroll Eligible Pediatric
Individuals as described in this EOC and the MPI Evidence of Coverage.
Enrollee: an Eligible Pediatric Individual ("Pediatric Enrollee") enrolled to receive Benefits under this
Plan.
Enrollee Effective Date: the date the MPI reports coverage will begin for each Enrollee under this Plan.
Essential Health Benefits ("Pediatric Benefits"): for the purposes of this EOC, Essential Health
Benefits are certain pediatric oral services that are required to be included under the Affordable Care Act.
The services considered to be Essential Health Benefits are determined by state and federal agencies
and are available for Eligible Pediatric Individuals.
Medical Plan Issuer ("MPI"): entity providing the medical plan that is issued and delivered to the
Contractholder with this Plan as a Packaged Offering. For purposes of this EOC, the MPI is Kaiser
Foundation Health Plan, Inc.
Open Enrollment Period: the period of the year that the MPI has established when Employees
may change coverage selections for the next Contract Term.
Optional: any alternative procedure presented by the Contract Dentist that satisfies the same dental
need as a covered procedure but is chosen by the Enrollee and is subject to the limitations and
exclusions described in the Schedules attached to this EOC.
Out-of-Network: treatment by a Dentist who has not signed an agreement with Delta Dental to
provide Benefits to Enrollees under the terms of the Contract.
Out-of-Pocket Maximum: the maximum amount that a Pediatric Enrollee must satisfy for Benefits during
the Accumulation Period. Refer to Schedule A attached to this EOC for details.
Packaged Offering: the combination of a separate medical plan provided by the MPI and this Plan
provided by Delta Dental.
Pediatric Benefits: See definition of Essential Health Benefits above.
Procedure Code: the Current Dental Terminology® ("CDT") number assigned to a Single Procedure by
the American Dental Association.
Single Procedure: a dental procedure that is assigned a separate Procedure Code.
Special Health Care Need: a physical or mental impairment, limitation or condition that substantially
interferes with an Enrollee's ability to obtain Benefits. Examples of such a Special Health Care Need are:
1) the Enrollee's inability to obtain access to their Contract Dentist facility because of a physical disability,
and 2) the Enrollee's inability to comply with their Contract Dentist's instructions during examination or
treatment because of physical disability or mental incapacity.
Specialist Services: services performed by a Contract Dentist who specializes in the practice of oral
surgery, endodontics, periodontics, orthodontics (if medically necessary) or pediatric dentistry. Specialist
Services must be authorized by Delta Dental.
Spouse: a person related to or a domestic partner of the Employee:
  ▪ as defined and as may be required to be treated as a Spouse by the laws of the state where the
    Contract is issued and delivered; or
  ▪ as defined and as may be required to be treated as a Spouse by the laws of the state where the
    Employee resides; or
  ▪ as may be recognized by the Contractholder.
Treatment in Progress: any Single Procedure as defined by the CDT Code that has been started while
the Enrollee was eligible to receive Benefits and for which multiple appointments are necessary to
complete the Single Procedure(s), whether or not the Enrollee continues to be eligible for Benefits under


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this Plan. Examples include: 1) teeth that have been prepared for crowns, 2) root canals where a working
length has been established, 3) full or partial dentures for which an impression has been taken and 4)
orthodontics when bands have been placed and tooth movement has begun.
Urgent Dental Services: medically necessary services for a condition that requires prompt dental
attention but is not an Emergency Dental Condition.
We, Us and Our: Delta Dental or the Administrator, as appropriate.

ELIGIBILITY AND ENROLLMENT
The MPI is responsible for establishing eligibility and reporting enrollment to us. The MPI is also
responsible for administering any required continuation under the Uniformed Services Employment and
Reemployment Rights Act of 1994 ("USERRA"), the Family & Medical Leave Act of 1993, the
Consolidated Omnibus Budget Reconciliation Act of 1985 ("COBRA") and continuation of coverage under
the California Continuation Benefits Replacement Act of 1997 ("Cal-COBRA"). We process enrollment as
reported by the MPI.
This EOC includes Pediatric Benefits.
Eligibility Requirement for Pediatric Benefits
Enrollees eligible for Pediatric Benefits are:
  ▪ an Employee; and/or
  ▪ an Employee's Spouse and dependent children who meet the eligibility requirements as described in
    the MPI Evidence of Coverage.
Enrollment
You may be required to contribute towards the cost of coverage for Pediatric Enrollees. The MPI is
responsible for establishing an Enrollee's Effective Date for enrollment.
Enrollees in the medical plan provided by the MPI are required to enroll under this Plan. Enrollment under
this Plan for coverage begins on the date enrollment under the medical plan begins and terminates on the
date that enrollment under the medical plan terminates.
Termination of Coverage
An Enrollee's coverage will be terminated by Delta Dental:
  ▪ on the date reported by the MPI;
  ▪ if MPI terminates this Packaged Offering; or
  ▪ if the Enrollee is no longer eligible through the MPI.
Please refer to your MPI Evidence of Coverage for further information regarding renewal and termination
of this Plan.
We will not pay for services received after the Enrollee's coverage ends. However, for Treatment in
Progress, we will continue to provide Benefits, less any applicable Copayment(s).
An Enrollee and/or Contractholder who believes that coverage has been, or will be, improperly cancelled,
rescinded or not renewed may request a review by the Director of the DMHC in accordance with Section
1365(b) of the California Health and Safety Code.

OVERVIEW OF DENTAL BENEFITS
This section provides information that will give you a better understanding of how this Plan works and how
to make it work best for you.
What is the DeltaCare USA Plan?
The DeltaCare USA Plan provides Pediatric Benefits through a convenient network of Contract Dentists in
the state of California. These Contract Dentists are screened to ensure that our standards of quality,
access and safety are maintained. The DeltaCare USA network is comprised of established dental
professionals. When you visit your assigned Contract Dentist, you pay only the applicable Copayment(s)


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for Benefits. There are no deductibles, lifetime maximums or claim forms.
Benefits, Limitations and Exclusions
This Plan provides the Benefits described in the Schedules that are a part of this EOC. Except for
Emergency Dental Services, Urgent Dental Services, and authorized Specialist Services, Benefits are
only available in the state of California. Covered dental services are performed as deemed appropriate by
your assigned Contract Dentist.
Copayments and Other Charges
You are required to pay any Copayments listed in the Schedules attached to this EOC. Copayments are
paid directly to the Dentist who provides treatment. Charges for broken appointments (unless notice is
received by the Contract Dentist at least 24 hours in advance or an Emergency Dental Condition
prevented such notice) and charges for visits after normal visiting hours are listed in the Schedules
attached to this EOC.
In the event that we fail to pay a Contract Dentist, you will not be liable to that Dentist for any sums owed
by us. By statute, the DeltaCare USA dentist contract contains a provision prohibiting a Contract Dentist
from charging an Enrollee for any sums owed by Delta Dental. Except for the provisions in the
"Emergency Dental Services" section, if you have not obtained prior Authorization for treatment from an
Out-of-Network Dentist and we fail to pay that Out-of-Network Dentist, you may be liable to that Dentist
for the cost of services. For further clarification, see the “Emergency Dental Services,” “Urgent Dental
Services” and “Specialist Services” provisions in this EOC.
Non-Covered Services
IMPORTANT: If you opt to receive dental services that are not covered services under this Plan, a
Contract Dentist may charge you their usual and customary rate for those services. Prior to providing a
patient with dental services that are not a covered Benefit, the Dentist should provide to the patient a
treatment plan that includes each anticipated service to be provided and the estimated cost of each
service. If you would like more information about your dental coverage options, you may call Delta
Dental's Customer Care at 800-589-4618. To fully understand your coverage, you may wish to carefully
review this EOC.
Coordination of Benefits
We coordinate the Benefits under this EOC with your benefits under any other group or pre-paid plan or
insurance policy designed to fully integrate with other plans. If this plan is the "primary" plan, we will not
reduce Benefits, but if this plan is the "secondary" plan, we determine Benefits after those of the primary
plan and will pay the lesser of the amount that we would pay in the absence of any other dental benefit
coverage or the Enrollee's total out-of-pocket cost under the primary plan for Benefits covered under this
EOC.
How do we determine which Plan is the "primary" plan?
  (1) The plan covering the Enrollee as an employee is primary over a plan covering the Enrollee as a
      dependent.
  (2) The plan covering the Enrollee as an employee is primary over a plan covering the insured person
      as a dependent. However, if the insured person is also a Medicare beneficiary, and as a result of
      the rule established by Title XVIII of the Social Security Act and implementing regulations,
      Medicare is secondary to the plan covering the insured person as a dependent; and primary to the
      plan covering the insured person as other than a dependent (e.g. a retired employee), then the
      benefits of the plan covering the insured person as a dependent are determined before those of
      the plan covering that insured person as other than a dependent.
  (3) Except as stated in paragraph (4), when this plan and another plan cover the same child as a
      dependent of different persons, called parents:
       a) the benefits of the plan of the parent whose birthday falls earlier in a year are determined
          before those of the plan of the parent whose birthday falls later in that year; but
       b) if both parents have the same birthday, the benefits of the plan covering one parent longer are
          determined before those of the plan covering the other parent for a shorter period of time.



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      c) However, if the other plan does not have the birthday rule described above, but instead has a
         rule based on the gender of the parent, and if, as a result, the plans do not agree on the order
         of benefits, the rule in the other plan determines the order of benefits.
  (4) In the case of a dependent child of legally separated or divorced parents, the plan covering the
      Enrollee as a dependent of the parent with legal custody or as a dependent of the custodial
      parent's Spouse (i.e. step- parent) will be primary over the plan covering the Enrollee as a
      dependent of the parent without legal custody. If there is a court decree establishing financial
      responsibility for the health care expenses with respect to the child, the benefits of a plan covering
      the child as a dependent of the parent with such financial responsibility will be determined before
      the benefits of any other policy covering the child as a dependent child.
  (5) If the specific terms of a court decree state that the parents will share joint custody without stating
      that one of the parents is responsible for the health care expenses of the child, the plans covering
      the child will follow the order of benefit determination rules outlined in paragraph (3).
  (6) The benefits of a plan covering an insured person as an employee who is neither laid-off nor
      retired are determined before those of a plan covering that insured person as a laid-off or retired
      employee. The same would hold true if an insured person is a dependent of a person covered as a
      retiree or an employee. If the other plan does not have this rule, and if, as a result, the plans do not
      agree on the order of benefits, this rule (6) is ignored.
  (7) If an insured person whose coverage is provided under a right of continuation pursuant to federal
      or state law also is covered under another plan, the following will be the order of benefit
      determination
      a) First, the benefits of a plan covering the insured person as an employee (or as that insured
         person's dependent).
      b) Second, the benefits under the continuation coverage.
      c) If the other plan does not have the rule described above, and if, as a result, the plans do not
         agree on the order of benefits, this rule (7) is ignored.
  (8) If none of the above rules determines the order of benefits, the benefits of the plan covering an
      employee longer are determined before those of the plan covering that insured person for the
      shorter term.
  (9) When determination cannot be made in accordance with the above for Pediatric Benefits, the
      benefits of a plan that is a medical plan covering dental as a benefit shall be primary to a dental
      only plan.

HOW TO USE THE DELTACARE USA PLAN/CHOICE OF CONTRACT DENTIST
PLEASE READ THE FOLLOWING INFORMATION SO THAT YOU WILL KNOW HOW TO OBTAIN
DENTAL SERVICES. YOU MUST OBTAIN DENTAL BENEFITS FROM (OR BE REFERRED FOR
SPECIALIST SERVICES BY) YOUR ASSIGNED CONTRACT DENTIST.
Delta Dental will provide Enrollees with Contract Dentists at convenient locations during the term of the
Contract. Upon enrollment, Delta Dental will assign the Enrollee to a Contract Dentist facility. The
Employee may request changes to their assigned Contract Dentist facility by contacting our Customer
Care at 800-589-4618. A list of Contract Dentists is available to all Enrollees at deltadentalins.com. The
change must be requested prior to the 15th of the month to become effective on the first day of the
following month.
We will provide you written notice of assignment to another Contract Dentist facility near the Enrollee's
home if: 1) a requested facility is closed to further enrollment; 2) a chosen Contract Dentist facility
withdraws from this Plan or 3) an assigned facility requests, for good cause, that the Enrollee be re-
assigned to another Contract Dentist facility.
All Treatment in Progress must be completed before you change to another Contract Dentist facility.
Examples include: 1) teeth that have been prepared for crowns, 2) root canals where a working length
has been established, 3) full or partial dentures for which an impression has been taken and 4)
orthodontics when bands have been placed and tooth movement has begun.
All covered services must be performed at the Enrollee's assigned Contract Dentist facility. With the

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exception of Emergency Dental Services, Urgent Dental Services, and authorized Specialist Services, this
Plan does not pay for services performed or directed by Out-of-Network Dentists. All authorized Specialist
Services claims will be paid by Delta Dental, less any applicable Copayment(s). A Contract Dentist may
provide services either personally, or through associated Dentists, or the other technicians or hygienists
who may lawfully perform the services. If an Enrollee is assigned to a dental school clinic for Specialist
Services, those services may be provided by a Dentist, a dental student, a clinician or a dental instructor.
If your assigned Contract Dentist facility terminates participation in this Plan, that Contract Dentist facility
will complete all Treatment in Progress, as described above. If, for any reason, your Contract Dentist is
unable to complete treatment, Delta Dental will make reasonable and appropriate provisions for the
completion of such treatment by another Contract Dentist.
Delta Dental will give you reasonable advance written notice if you will be materially or adversely affected
by the termination, breach of contract, or inability of a Contract Dentist to perform services.
Continuity of Care
If you are a current Enrollee, you may have the right to obtain completion of care under the Contract with
your terminated Contract Dentist for certain specified dental conditions. If you are a new Enrollee, you
may have the right to completion of care under the Contract with your Out-of-Network Dentist for certain
specified dental conditions. You must make a specific request for this completion of care Benefit. To
make a request, contact Delta Dental's Customer Care at 800-589-4618. You may also contact us to
request a copy of Delta Dental's Continuity of Care Policy. Delta Dental is not required to continue care
with the Dentist if you are not eligible under the Contract or if Delta Dental cannot reach agreement with
the Out-of-Network Dentist or the terminated Contract Dentist on the terms regarding Enrollee care in
accordance with California law.
Emergency Dental Services
Emergency Dental Services are used for palliative relief, controlling of dental pain, and/or stabilizing the
Enrollee's condition. The Enrollee's assigned Contract Dentist's facility maintains a 24 hour emergency
dental services system, 7 days a week. If an Enrollee is experiencing an Emergency Dental Condition, the
Enrollee can call 911 (where available) or obtain Emergency Dental Services from any Dentist without a
referral.
After Emergency Dental Services are provided, further non-emergency treatment is usually needed. Non-
emergency treatment must be obtained at the Enrollee's assigned Contract Dentist facility.
The Enrollee is responsible for any Copayment(s) for Emergency Dental Services received. Non-covered
procedures will be the Enrollee's financial responsibility and will not be paid by this Plan.
Urgent Dental Services
Inside the Delta Dental Service Area
An Urgent Dental Service requires prompt dental attention but is not an Emergency Dental Condition. If
an Enrollee thinks that they may need Urgent Dental Services, the Enrollee can call their assigned
Contract Dentist.
Outside the Delta Dental Service Area
If an Enrollee needs Urgent Dental Services due to an unforeseen dental condition or injury, this Plan
covers medically necessary dental services when prompt attention is required from an Out-of-Network
Dentist, if all of the following are true:
  ▪ The Enrollee receives Urgent Dental Services from an Out-of-Network Dentist while temporarily
    outside the Delta Dental Service Area.
  ▪ A reasonable person would have believed that the Enrollee's health would seriously deteriorate if they
    delayed treatment until they returned to the Delta Dental Service Area.
Enrollees do not need prior Authorization from Delta Dental to receive Urgent Dental Services outside the
Delta Dental Service Area. Any Urgent Dental Services an Enrollee receives from Out-of-Network
Dentists outside the Delta Dental Service Area are covered by this Plan if the Benefits would have been
covered if the Enrollee had received them from Contract Dentists.
Delta Dental does not cover follow-up care from Out-of-Network Dentists after the Enrollee no longer


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needs Urgent Dental Services. To obtain follow-up care from a Dentist, the Enrollee can call their
assigned Contract Dentist. The Enrollee is responsible for any Copayment(s) for Urgent Dental Services
received.
Timely Access to Care
Contract Dentists, Contract Orthodontists and Contract Specialists have agreed waiting times to Enrollees
for appointments for care which will never be greater than the following timeframes:
  ▪ for emergency care, 24 hours a day, 7 day days a week;
  ▪ for any urgent care, 72 hours for appointments consistent with the Enrollee's individual needs;
  ▪ for any non-urgent care, 36 business days; and
  ▪ for any preventive services, 40 business days.
During non-business hours, the Enrollee will have access to their Contract Dentist's answering machine,
answering service, cell phone or pager for guidance on what to do and whom to contact if the Enrollee is
calling due to an Emergency Dental Condition.
If the Enrollee calls Delta Dental's Customer Care, a representative will answer their call within 10
minutes during normal business hours.
Should the Enrollee need interpretation services when scheduling an appointment with any of our
Contract Dentists, Contract Orthodontists or Contract Specialists' facilities, the Enrollee may call Delta
Dental's Customer Care at 800-589-4618 for assistance.
Language Interpretation
Delta Dental provides interpretive services in any modern language, free of charge, and at all points of
contact for limited English proficient Enrollees on request or when needed. Should an Enrollee need
language interpretation services with a DeltaCare USA Dentist, they may call Delta Dental’s Customer
Care at 800-589-4618 for assistance.
Specialist Services
Specialist Services for oral surgery, endodontics, periodontics, or pediatric dentistry must be: 1) referred
by your assigned Contract Dentist, and 2) authorized by Delta Dental. You pay the specified
Copayment(s). (Refer to the Schedules attached to this EOC.)
If the services of a Contract Orthodontist are needed, please refer to the Schedules attached to this EOC
to determine Benefits available to you under this Plan.
If you require Specialist Services and a Contract Specialist or Contract Orthodontist is not within 35 miles
of your home address to provide these services, your assigned Contract Dentist must receive
Authorization from Delta Dental to refer you to an Out-of-Network specialist to provide these Specialist
Services. Specialist Services performed by an Out-of-Network specialist that are not authorized by Delta
Dental will not be covered.
Claims for Reimbursement
Claims for covered Emergency Dental Services or Specialist Services authorized by Delta Dental should
be sent to Delta Dental within 90 days of the end of treatment. Valid claims received after the 90-day
period will be reviewed if you can show that it was not reasonably possible to submit the claim within that
time. All claims must be received within one (1) year of the treatment date. The address for claims
submission is: Delta Dental Claims Department, P.O. Box 1810, Alpharetta, GA 30023.
Dentist Compensation
A Contract Dentist is compensated by Delta Dental through monthly capitation (an amount based on the
number of Enrollees assigned to the Contract Dentist) and by Enrollees through required Copayments for
treatment received. A Contract Specialist is compensated by Delta Dental through an agreed-upon
amount for each covered procedure, less the applicable Copayment(s) paid by the Enrollee. In no event
does Delta Dental pay a Contract Dentist or a Contract Specialist any incentive as an inducement to
deny, reduce, limit or delay any appropriate treatment.
You may obtain further information concerning Dentist compensation by calling Delta Dental at the toll-
free telephone number shown in this EOC.

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Processing Policies
The dental care guidelines for this Plan explain to Contract Dentists what services are covered under the
dental Contract. Contract Dentists will use their professional judgment to determine which services are
appropriate for the Enrollee. Services performed by the Contract Dentist that fall under the scope of
Benefits of this Plan are provided subject to any Copayment(s). If a Contract Dentist believes that an
Enrollee should seek treatment from a specialist, the Contract Dentist will contact Delta Dental to
determine if the proposed treatment is a covered service and if it requires treatment by a Contract
Specialist. An Enrollee may contact Delta Dental's Customer Care at 800-589-4618 for information about
this Plan's dental care guidelines.
Second Opinion
You may request a second opinion if you disagree with or question the diagnosis and/or treatment plan
determination made by your Contract Dentist. Delta Dental may also request that you obtain a second
opinion to verify the necessity and appropriateness of dental treatment or the application of Benefits.
Second opinions will be rendered by a licensed Dentist in a timely manner, appropriate to the nature of
your condition. Requests involving an Emergency Dental Condition will be expedited (Authorization
approved or denied within 72 hours of receipt of the request, whenever possible). For assistance or
additional information regarding the procedures and timeframes for second opinion Authorizations,
contact Delta Dental's Customer Care at 800-589-4618 or write to Delta Dental.
Second opinions will be provided at another Contract Dentist facility, unless otherwise authorized by Delta
Dental. Delta Dental will authorize a second opinion by an Out-of-Network Dentist if an appropriately
qualified Contract Dentist is not available. Delta Dental will only pay for a second opinion which Delta
Dental has approved or authorized. You will be sent written notification should Delta Dental decide not to
authorize a second opinion. If you disagree with this determination, you may file a grievance with Delta
Dental or with the Department. Refer to the "Enrollee Complaint Procedure" section in this EOC for more
information.
Special Health Care Needs
If you believe you have a Special Health Care Need, you should contact Delta Dental's Customer Care at
800-589-4618. We will confirm whether such a Special Health Care Need exists and what arrangements
can be made to assist you in obtaining such Benefits.
Delta Dental will not be responsible for the failure of any Contract Dentist to comply with any law or
regulation concerning structural office requirements that apply to a Dentist treating persons with Special
Health Care Needs.
Facility Accessibility
Many facilities provide Delta Dental with information about special features of their offices, including
accessibility information for patients with mobility impairments. To obtain information regarding facility
accessibility, contact Delta Dental's Customer Care at 800-589-4618.

ENROLLEE COMPLAINT PROCEDURE
Complaints regarding dental services:
Delta Dental, or the Administrator, will notify the Enrollee if any dental services or claims are denied, in
whole or in part, stating the specific reason(s) for the denial. If you have a complaint regarding the denial
of dental services or claims, the policies, procedures or operations of Delta Dental or the Administrator or
the quality of dental services performed by your Contract Dentist, you may call Delta Dental's Customer
Care at 800-589-4618 or the complaint may be addressed in writing to:
                                        Delta Dental of California
                                     Quality Management Department
                                              P.O. Box 6050
                                             Artesia, CA 90702
Written communication must include: 1) the patient's name, 2) the Pediatric Enrollee's address, telephone
number and ID number 3) the Contractholder's name and 4) the Contract Dentist's name and facility
location.


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"Grievance" means a written or oral expression of dissatisfaction regarding the plan and/or provider,
including quality of care concerns, and shall include a complaint, dispute, request for reconsideration or
appeal made by Enrollee or the Enrollee's representative. Where this Plan is unable to distinguish
between a grievance and an inquiry, it will be considered a grievance.
"Complaint" is the same as "grievance."
"Complainant" is the same as "grievant" and means the person who filed the grievance including the
Enrollee, a representative designated by the Enrollee or other individual with authority to act on behalf of
the Enrollee.
Within five (5) calendar days of the receipt of any complaint, a quality management coordinator will
forward to you a written acknowledgment of the complaint, which will include the date of receipt and
contact information. Certain complaints may require that you be referred to a Dentist for clinical evaluation
of the dental services provided. We will forward to you a determination, in writing, within 30 calendar days
of receipt of a complaint. If the complaint involves an Emergency Dental Condition, Delta Dental will
provide the Enrollee written notification regarding the disposition or pending status of the grievance within
three (3) days.
Delta Dental’s grievance system ensures all plan enrollees have access to and can fully participate in its
grievance process by providing assistance for those with limited English proficiency or with visual or other
communicative impairments. Such assistance includes, but is not limited to, translations of grievance
procedures, forms and plan responses to grievances as well as access to interpreters, telephone relay
systems and other devices that aid disabled individuals to communicate. If you are in need of these
services and/or have questions about Delta Dental’s grievance process, please contact our Customer
Care at 800-589-4618 and/or visit our website at deltadentalins.com to obtain a grievance form.
Delta Dental’s grievance system allows enrollees to file grievances for at least 180 calendar days
following any incident or action that is the subject of the enrollee’s dissatisfaction.
Enrollees may file a complaint with the DMHC after completing Delta Dental’s grievance process or if they
have been involved in Delta Dental’s grievance process for more than 30 days. Enrollees may seek
assistance or file a grievance immediately with the DMHC in cases involving an imminent and serious
threat to their health including, but not limited to, severe pain, potential loss of life, limb or major bodily
function. In such case, Delta Dental will provide the Enrollee with written statement on the disposition or
pending status of the grievance no later than three (3) calendar days from the date of receipt of the
grievance.
Complaints Involving an Adverse Benefit Determination
If the review of a denial is based in whole or in part on a lack of medical necessity, experimental
treatment, or a clinical judgment in applying the terms of this Policy, Delta Dental shall consult with a
Dentist who has appropriate training and experience. If any consulting Dentist is involved in the review,
the identity of such consulting Dentist will be available upon request. If an Enrollee believes that the
decision was denied on the grounds that it was not medically necessary, the Enrollee may contact the
DMHC to determine if the decision is eligible for an independent medical review. Enrollees will not be
discriminated against in any way by Delta Dental for filing a grievance.
California law requires that Delta Dental provide you with the following information:
The CA Department of Managed Health Care is responsible for regulating health care service plans. If
you have a grievance against your health plan, you should first telephone your health plan at 800-589-
4618 and use your health plan’s grievance process before contacting the department. Utilizing this
grievance procedure does not prohibit any potential legal rights or remedies that may be available to you.
If you need help with a grievance involving an emergency, a grievance that has not been satisfactorily
resolved by your health plan, or a grievance that has remained unresolved for more than 30 days, you
may call the department for assistance. You may also be eligible for an Independent Medical Review
(IMR). If you are eligible for IMR, the IMR process will provide an impartial review of medical decisions
made by a health plan related to the medical necessity of a proposed service or treatment, coverage
decisions for treatments that are experimental or investigational in nature and payment disputes for
emergency or urgent medical services. The department also has a toll-free telephone number (1-888-
HMO-2219) and a TDD line (1-877-688-9891) for the hearing and speech impaired. The
department's Internet Web site http://www.hmohelp.ca.gov has complaint forms, IMR application


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forms and instructions online.
As the MPI of this Plan, Kaiser is responsible for administering and resolving any Enrollee complaints,
grievances and appeals that concern enrollment, premium collection and/or termination relating to this
Plan. Please see the MPI Evidence of Coverage for details.
If the Contractholder is subject to ERISA, you may contact the U.S. Department of Labor, Employee
Benefits Security Administration ("EBSA") for further review of the claim or if you have questions about
the rights under ERISA. You may also bring a civil action under section 502(a) of ERISA. The address of
the U.S. Department of Labor is:
                                        U.S. Department of Labor
                                 Employee Benefits Security Administration
                                      200 Constitution Avenue, N.W.
                                         Washington, D.C. 20210

GENERAL PROVISIONS
Public Policy Participation by Enrollees
Delta Dental's Board of Directors includes Enrollees who participate in establishing Delta Dental's public
policy regarding Enrollees through periodic review of Delta Dental's Quality Assessment Program reports
and communications from Enrollees. Enrollees may submit any suggestions regarding Delta Dental's
public policy in writing to:
                                         Delta Dental of California
                                              Customer Care
                                             P.O. Box 997330
                                        Sacramento, CA 95899-7330
Severability
If any part of the Contract, this EOC, Attachments or an amendment to any of these documents is found
by a court or other authority to be illegal, void or not enforceable, all other portions of these documents
will remain in full force and effect.
Misstatements on Application; Effect
In the absence of fraud or intentional misrepresentation of material fact in applying for or procuring
coverage under the Contract and/or this EOC, all statements made by you will be deemed
representations and not warranties. No such statement will be used in defense to a claim, unless it is
contained in a written application.
Legal Actions
No action, at law or in equity, will be brought to recover on the Contract prior to expiration of 60 days after
proof of loss has been filed in accordance with requirements of the Contract and/or this EOC, nor will an
action be brought at all unless brought within three (3) years from expiration of the time within which proof
of loss is required.
Conformity with Applicable Laws
All legal questions about the Contract and/or this EOC will be governed by the state of California where
the Contract was entered into and is to be performed. Any part of the Contract and/or this EOC that
conflicts with the laws of California, specifically Chapter 2.2 of Division 2 of the California Health & Safety
Code and Chapter 1 of Division 1, of Title 28 of the California Code of Regulations, or federal law is
hereby amended to conform to the minimum requirements of such laws. Any provision required to be in
the Contract by either of the above shall bind Delta Dental whether or not provided in the Contract.
Third Party Administrator ("TPA")
Delta Dental may use the services of a TPA, duly registered under applicable state law, to provide
services under the Contract. Any TPA providing such services or receiving such information shall enter
into a separate Business Associate Agreement with Delta Dental providing that the TPA shall meet
HIPAA and HITECH requirements for the preservation of protected health information of Enrollees.



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Organ and Tissue Donation
Donating organ and tissue provides many societal benefits. Organ and tissue donation allows recipients
of transplants to go on to lead fuller and more meaningful lives. Currently, the need for organ transplants
far exceeds availability. If you are interested in organ donation, please speak to your physician. Organ
donation begins at the hospital when a person is pronounced brain dead and identified as a potential
organ donor. An organ procurement organization will become involved to coordinate the activities.
Non-Discrimination
Delta Dental complies with applicable Federal civil rights laws and does not discriminate on the basis of
race, color, national origin, age, disability or sex. Delta Dental does not exclude people or treat them
differently because of race, color, national origin, age, disability or sex.
    Delta Dental:
▪ Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
▪ Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
▪ If you need these services, contact Delta Dental's Customer Care at 800-589-4618.
If you believe that Delta Dental has failed to provide these services or discriminated in another way on the
basis of race, color, national origin, age, disability or sex, you can file a grievance electronically online,
over the phone with a Delta Dental Customer Care representative or by mail.
                                              Delta Dental
                                            P.O. Box 997330
                                       Sacramento, CA 95899-7330
                                       Telephone: 1-800-589-4618
                                       Website: deltadentalins.com
You can also file a civil rights complaint with the U.S. Department of Health and Human Services, Office
for Civil Rights, electronically through the Office for Civil Rights Complaint Portal, available at
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf or by mail or phone at:
                              U.S. Department of Health and Human Services
                                     200 Independence Avenue, SW
                                       Room 509F, HHH Building
                                         Washington, DC 20201
                                            1-800-368-1019
                                         1-800-537-7697 (TDD)

Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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2020 Dental Standard Benefit Plan Design


 Summary of Benefits and Coverage                                                   Children's Dental Plan
                                                                                    Copay Plan
 Member Cost Share amounts describe the Enrollee's out of pocket costs.             Pediatric Dental EHB
 Children's Dental Plan and Family Dental Plan designs apply to Individual          Up to Age 19
 Marketplace and Covered California for Small Business.
 Actuarial Value                                                                    84.8%
                                                                                    In-Network
 Individual Deductible                                                              None
 Family Deductible (Two or more children)                                           Not Applicable
 Individual Out of Pocket Maximum                                                   $350
 Family Out of Pocket Maximum (Two or More Children)                                $700
 Office Copay                                                                       $0
 Waiting Period                                                                     None
 (Waivered Condition provision, as defined in the California Health & Safety Code
 1357.50 (a)(3)(J)(4)and the California Insurance Code 10198.6(d))
 Annual Benefit Limit                                                               None
 (the maximum amount the dental plan will pay in the benefit year)
 Procedure Category Service Type                                                    Member Cost Share
                        Oral Exam                                                   No charge
                        Preventive - Cleaning                                       No charge
                        Preventive - X-ray                                          No charge
                        Sealants per Tooth                                          No charge
      Diagnostic &      Topical Fluoride Application                                No charge
       Preventive       Space Maintainers - Fixed                                   No charge
                        Restorative Procedures                                      See Benefits shown in Schedule A
    Basic Services      Periodontal Maintenance Services                            for 2020 Dental Copay Schedule
                        Periodontics (other than maintenance)
                        Endodontics                                                 See Benefits shown in Schedule A
                        Crowns and Casts                                            for 2020 Dental Copay Schedule
                        Prosthodontics
    Major Services      Oral Surgery
      Orthodontia       Medically Necessary Orthodontia                             $350




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ATTACHMENTS
SCHEDULE A
Description of Benefits and Copayments for Pediatric Enrollees (Under Age 19)
DeltaCare® USA
Children's Dental HMO
For Small Businesses
The Benefits shown below are performed as needed and deemed appropriate by the attending Contract Dentist
subject to the limitations and exclusions of the Plan. Please refer to Schedule B for further clarification of Benefits.
Enrollees should discuss all treatment options with their Contract Dentist prior to services being rendered.

Text that appears in italics below is specifically intended to clarify the delivery of Benefits under this Plan and is not to
be interpreted as Current Dental Terminology ("CDT"), CDT-2019 Procedure Codes, descriptors or nomenclature
which is under copyright by the American Dental Association® ("ADA"). The ADA may periodically change CDT codes
or definitions. Such updated codes, descriptors and nomenclature may be used to describe these covered procedures
in compliance with federal legislation.

Out-of-Pocket Maximum ("OOPM") for Pediatric Enrollees (Under Age 19):

              Pediatric Enrollee……………………………                          $350.00 each Contract Year

                    Multiple Pediatric Enrollees…………                 $700.00 each Contract Year

OOPM applies only to Essential Health Benefits ("EHB") for Pediatric Enrollee(s). OOPM means the maximum
amount of money that a Pediatric Enrollee must pay for Pediatric Benefits under this Plan during a Contract Year.
Payment for Premiums and payment for services that are Optional, that are upgraded treatments (such as precious
or semi-precious metals and material upgrades) or that are not covered under the Contract will not count toward the
OOPM, and payment for such services will continue to apply even after the OOPM is met.
If more than one Pediatric Enrollee is covered on the Contract, the financial obligation for Pediatric Benefits is not more
than the OOPM for multiple Pediatric Enrollees. After a Pediatric Enrollee meets their OOPM, they will have no further
payment for the remainder of the Contract Year for Pediatric Benefits. Once the amount paid by all Pediatric Enrollee(s)
equals the OOPM for multiple Pediatric Enrollees, no further payment will be required by any of the Pediatric Enrollee(s)
for the remainder of the Contract Year for Pediatric Benefits.

Delta Dental recommends that the Pediatric Enrollee or other party responsible keep a record of payment for
Pediatric Benefits. If you have any questions regarding your OOPM, please contact Delta Dental's Customer Care at
800-589-4618.

Code       Description                         Pediatric           Clarification/ Limitations for Pediatric Enrollees
                                               Enrollee Pays
D0100–D0999 I. DIAGNOSTIC
D0999      Unspecified diagnostic                 No charge        Includes office visit, per visit (in addition to other
           procedure, by report                                    services); In addition, shall be used: for a procedure
                                                                   which is not adequately described by a CDT code; or for
                                                                   a procedure that has a CDT code that is not a Benefit
                                                                   but the patient has an exceptional medical condition to
                                                                   justify the medical necessity. Documentation shall
                                                                   include the specific conditions addressed by the
                                                                   procedure, the rationale demonstrating medical
                                                                   necessity, any pertinent history and the actual
                                                                   treatment.
D0120      Periodic oral evaluation -             No charge        1 per 6 months per Contract Dentist
           established patient
D0140      Limited oral evaluation -              No charge        1 per Enrollee per Contract Dentist
           problem focused
D0145      Oral evaluation for a patient          No charge        1 per 6 months per Contract Dentist, included with
           under three years of age and                            D0120, D0150
           counseling with primary
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Code     Description                       Pediatric        Clarification/ Limitations for Pediatric Enrollees
                                           Enrollee Pays
         caregiver
D0150    Comprehensive oral evaluation       No charge      Initial evaluation, 1 per Contract Dentist
         - new or established patient
D0160    Detailed and extensive oral         No charge      1 per Enrollee per Contract Dentist
         evaluation - problem focused,
         by report
D0170    Re-evaluation - limited,            No charge      6 per 3 months, not to exceed 12 per 12 months
         problem focused (established
         patient; not post-operative
         visit)
D0171    Re-evaluation - post-operative      No charge
         office visit
D0180    Comprehensive periodontal           No charge      Included with D0150
         evaluation - new or established
         patient
D0210    Intraoral - complete series of      No charge      1 series per 36 months per Contract Dentist
         radiographic images
D0220    Intraoral - periapical first        No charge      20 images (D0220, D0230) per 12 months per Contract
         radiographic image                                 Dentist
D0230    Intraoral - periapical each         No charge      20 images (D0220, D0230) per 12 months per Contract
         additional radiographic image                      Dentist
D0240    Intraoral - occlusal                No charge      2 per 6 months per Contract Dentist
         radiographic image
D0250    Extra-oral - 2D projection          No charge      1 per date of service
         radiographic image created
         using a stationary radiation
         source, and detector
D0251    Extra-oral posterior dental         No charge      4 per date of service
         radiographic image
D0270    Bitewing - single radiographic      No charge      1 of (D0270, D0273) per date of service
         image
D0272    Bitewings - two radiographic        No charge      1 of (D0272, D0273) per 6 months per Contract Dentist
         images
D0273    Bitewings - three radiographic      No charge      1 of (D0270, D0273) per date of service; 1 of (D0272,
         images                                             D0273) per 6 months per Contract Dentist
D0274    Bitewings - four radiographic       No charge      1 of (D0274, D0277) per 6 months per Contract Dentist
         images
D0277    Vertical bitewings - 7 to 8         No charge      1 of (D0274, D0277) per 6 months per Contract Dentist
         radiographic images
D0310    Sialography                         No charge
D0320    Temporomandibular joint             No charge      Limited to trauma or pathology; 3 per date of service
         arthrogram, including injection
D0322    Tomographic survey                  No charge      2 per 12 months per Contract Dentist
D0330    Panoramic radiographic image        No charge      1 per 36 months per Contract Dentist
D0340    2D cephalometric radiographic       No charge      2 per 12 months per Contract Dentist
         image - acquisition,
         measurement and analysis
D0350    2D oral/facial photographic         No charge      For the diagnosis and treatment of the specific clinical
         image obtained intra-orally or                     condition not apparent on radiographs; 4 per date of
         extra-orally                                       service
D0351    3D photographic image               No charge      1 per date of service
D0460    Pulp vitality tests                 No charge
D0470    Diagnostic casts                    No charge      For the evaluation of orthodontic Benefits only; 1 per
                                                            Contract Dentist unless special circumstances are
                                                            documented (such as trauma or pathology which has
                                                            affected the course of orthodontic treatment).
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Code     Description                         Pediatric        Clarification/ Limitations for Pediatric Enrollees
                                             Enrollee Pays
D0502    Other oral pathology                  No charge      Performed by an oral pathologist
         procedures, by report
D0601    Caries risk assessment and            No charge      1 of (D0601, D0602, D0603) per 36 months per
         documentation, with a finding                        Contract Dentist or dental office
         of low risk
D0602    Caries risk assessment and            No charge      1 of (D0601, D0602, D0603) per 36 months per
         documentation, with a finding                        Contract Dentist or dental office
         of moderate risk
D0603    Caries risk assessment and            No charge      1 of (D0601, D0602, D0603) per 36 months per
         documentation, with a finding                        Contract Dentist or dental office
         of high risk
D1000-D1999 II. PREVENTIVE
D1110    Prophylaxis - adult                   No charge      Cleaning; 1 of (D1110, D1120, D4346) per 6 months
D1120    Prophylaxis - child                   No charge      Cleaning; 1 of (D1110, D1120, D4346) per 6 months
D1206    Topical application of fluoride       No charge      1 of (D1206, D1208) per 6 months
         varnish
D1208    Topical application of fluoride -     No charge      1 of (D1206, D1208) per 6 months
         excluding varnish
D1310    Nutritional counseling for            No charge
         control of dental disease
D1320    Tobacco counseling for the            No charge
         control and prevention of oral
         disease
D1330    Oral hygiene instructions             No charge
D1351    Sealant - per tooth                   No charge      1 per tooth per 36 months per Contract Dentist; limited
                                                              to permanent first and second molars without
                                                              restorations or decay and third permanent molars that
                                                              occupy the second molar position
D1352    Preventive resin restoration in       No charge      1 per tooth per 36 months per Contract Dentist; limited
         a moderate to high caries risk                       to permanent first and second molars without
         patient - permanent tooth                            restorations or decay and third permanent molars that
                                                              occupy the second molar position
D1353    Sealant repair - per tooth            No charge      The original Dentist or dental office is responsible for
                                                              any repair or replacement during the 36-month period.
D1354    Interim caries arresting              No charge      1 per tooth per 6 months when Enrollee has a caries
         medicament application - per                         risk assessment and documentation, with a finding of
         tooth                                                “high risk”
D1510    Space maintainer - fixed -            No charge      1 per quadrant; posterior teeth
         unilateral
D1516    Space maintainer - fixed -            No charge      1 per arch; posterior teeth
         bilateral, maxillary
D1517    Space maintainer - fixed -            No charge      1 per arch; posterior teeth
         bilateral, mandibular
D1520    Space maintainer - removable          No charge      1 per quadrant; posterior teeth
         - unilateral
D1526    Space maintainer - removable          No charge      1 per arch, through age 17; posterior teeth
         - bilateral, maxillary
D1527    Space maintainer - removable          No charge      1 per arch, through age 17; posterior teeth
         - bilateral, mandibular
D1550    Re-cement or re-bond space            No charge      1 per Contract Dentist, per quadrant or arch, through
         maintainer                                           age 17
D1555    Removal of fixed space                No charge      Included in case by Contract Dentist or dental office
         maintainer                                           who placed appliance
D1575    Distal shoe space maintainer -        No charge      1 per quadrant, age 8 and under; posterior teeth
         fixed - unilateral

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Code       Description                        Pediatric          Clarification/ Limitations for Pediatric Enrollees
                                              Enrollee Pays
D2000-D2999 III. RESTORATIVE
- Includes polishing, all adhesives and bonding agents, indirect pulp capping, bases, liners and acid etch procedures.
- Replacement of crowns, inlays and onlays requires the existing restoration to be 5+ years (60+ months) old.
D2140      Amalgam - one surface,                   $25          1 per 12 months per Contract Dentist for primary teeth;
           primary or permanent                                  1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2150      Amalgam - two surfaces,                  $30          1 per 12 months per Contract Dentist for primary teeth;
           primary or permanent                                  1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2160      Amalgam - three surfaces,                $40          1 per 12 months per Contract Dentist for primary teeth;
           primary or permanent                                  1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2161      Amalgam - four or more                   $45          1 per 12 months per Contract Dentist for primary teeth;
           surfaces, primary or                                  1 per 36 months per Contract Dentist for permanent
           permanent                                             teeth
D2330      Resin-based composite - one              $30          1 per 12 months per Contract Dentist for primary teeth;
           surface, anterior                                     1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2331      Resin-based composite - two              $45          1 per 12 months per Contract Dentist for primary teeth;
           surfaces, anterior                                    1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2332      Resin-based composite - three            $55          1 per 12 months per Contract Dentist for primary teeth;
           surfaces, anterior                                    1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2335      Resin-based composite - four             $60          1 per 12 months per Contract Dentist for primary teeth;
           or more surfaces or involving                         1 per 36 months per Contract Dentist for permanent
           incisal angle (anterior)                              teeth
D2390      Resin-based composite crown,             $50          1 per 12 months per Contract Dentist for primary teeth;
           anterior                                              1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2391      Resin-based composite - one              $30          1 per 12 months per Contract Dentist for primary teeth;
           surface, posterior                                    1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2392      Resin-based composite - two              $40          1 per 12 months per Contract Dentist for primary teeth;
           surfaces, posterior                                   1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2393      Resin-based composite - three            $50          1 per 12 months per Contract Dentist for primary teeth;
           surfaces, posterior                                   1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2394      Resin-based composite - four             $70          1 per 12 months per Contract Dentist for primary teeth;
           or more surfaces, posterior                           1 per 36 months per Contract Dentist for permanent
                                                                 teeth
D2710      Crown - resin-based                     $140          1 per 60 months, permanent teeth; age 13 through 18
           composite (indirect)
D2712      Crown - 3/4 resin-based                 $190          1 per 60 months, permanent teeth; age 13 through 18
           composite (indirect)
D2721      Crown - resin with                      $300          1 per 60 months, permanent teeth; age 13 through 18
           predominantly base metal
D2740      Crown - porcelain/ceramic               $300          1 per 60 months, permanent teeth; age 13 through 18
D2751      Crown - porcelain fused to              $300          1 per 60 months, permanent teeth; age 13 through 18
           predominantly base metal
D2781      Crown - 3/4 cast                        $300          1 per 60 months, permanent teeth; age 13 through 18
           predominantly base metal
D2783      Crown - 3/4 porcelain/ceramic           $310          1 per 60 months, permanent teeth; age 13 through 18
D2791      Crown - full cast predominantly         $300          1 per 60 months, permanent teeth; age 13 through 18
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Code     Description                       Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                           Enrollee Pays
         base metal
D2910    Re-cement or re-bond inlay,            $25          1 per 12 months per Contract Dentist
         onlay, veneer or partial
         coverage restoration
D2915    Re-cement or re-bond                   $25
         indirectly fabricated or
         prefabricated post and core
D2920    Re-cement or re-bond crown             $25          Recementation during the 12 months after initial
                                                             placement is included; no additional charge to the
                                                             Enrollee or plan is permitted. The listed fee applies for
                                                             service provided by a Contract Dentist other than the
                                                             original treating Contract Dentist/dental office.
D2921    Reattachment of tooth                  $45          1 per 12 months
         fragment, incisal edge or cusp
D2929    Prefabricated                          $95          1 per 12 months
         porcelain/ceramic crown -
         primary tooth
D2930    Prefabricated stainless steel          $65          1 per 12 months
         crown - primary tooth
D2931    Prefabricated stainless steel          $75          1 per 36 months
         crown - permanent tooth
D2932    Prefabricated resin crown              $75          1 per 12 months for primary teeth; 1 per 36 months for
                                                             permanent teeth
D2933    Prefabricated stainless steel          $80          1 per 12 months for primary teeth; 1 per 36 months for
         crown with resin window                             permanent teeth
D2940    Protective restoration                 $25          1 per 6 months per Contract Dentist
D2941    Interim therapeutic restoration        $30          1 per tooth per 6 months, per Contract Dentist
         – primary dentition
D2949    Restorative foundation for an          $45
         indirect restoration
D2950    Core buildup, including any            $20
         pins when required
D2951    Pin retention - per tooth, in          $25          1 per tooth regardless of the number of pins placed;
         addition to restoration                             permanent teeth
D2952    Post and core in addition to           $100         Base metal post; 1 per tooth; a Benefit only in
         crown, indirectly fabricated                        conjunction with covered crowns on root canal treated
                                                             permanent teeth
D2953    Each additional indirectly             $30          Performed in conjunction with D2952
         fabricated post - same tooth
D2954    Prefabricated post and core in         $90          1 per tooth; a Benefit only in conjunction with covered
         addition to crown                                   crowns on root canal treated permanent teeth

D2955    Post removal                           $60          Included in case fee by Contract Dentist or dental office
                                                             who performed endodontic and restorative procedures.
                                                             The listed fee applies for service provided by a Contract
                                                             Dentist other than the original treating Contract
                                                             Dentist/dental office.
D2957    Each additional prefabricated          $35          Performed in conjunction with D2954
         post - same tooth
D2971    Additional procedures to               $35          Included in the fee for laboratory processed crowns.
         construct new crown under                           The listed fee applies for service provided by a Contract
         existing partial denture                            Dentist other than the original treating Dentist/dental
         framework                                           office.
D2980    Crown repair necessitated by           $50          Repair during the 12 months following initial placement
         restorative material failure                        or previous repair is included, no additional charge to
                                                             the Enrollee or plan is permitted by the original treating
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Code     Description                           Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                               Enrollee Pays
                                                                 Contract Dentist/dental office.

D2999    Unspecified restorative                    $40          Shall be used: for a procedure which is not adequately
         procedure, by report                                    described by a CDT code; or for a procedure that has a
                                                                 CDT code that is not a Benefit but the patient has an
                                                                 exceptional medical condition to justify the medical
                                                                 necessity. Documentation shall include the specific
                                                                 conditions addressed by the procedure, the rationale
                                                                 demonstrating medical necessity, any pertinent history
                                                                 and the actual treatment.
D3000-D3999 IV. ENDODONTICS
D3110    Pulp cap - direct (excluding               $20
         final restoration)
D3120    Pulp cap - indirect (excluding             $25
         final restoration)
D3220    Therapeutic pulpotomy                      $40          1 per primary tooth
         (excluding final restoration) -
         removal of pulp coronal to the
         dentinocemental junction and
         application of medicament
D3221    Pulpal debridement, primary                $40          1 per tooth
         and permanent teeth
D3222    Partial pulpotomy for                      $60          1 per permanent tooth
         apexogenesis - permanent
         tooth with incomplete root
         development
D3230    Pulpal therapy (resorbable                 $55          1 per tooth
         filling) - anterior, primary tooth
         (excluding final restoration)
D3240    Pulpal therapy (resorbable                 $55          1 per tooth
         filling) - posterior, primary tooth
         (excluding final restoration)
D3310    Endodontic therapy, anterior               $195         Root canal
         tooth (excluding final
         restoration)
D3320    Endodontic therapy, premolar               $235         Root canal
         tooth (excluding final
         restoration)
D3330    Endodontic therapy, molar                  $300         Root canal
         tooth (excluding final
         restoration)
D3331    Treatment of root canal                    $50
         obstruction; non-surgical
         access
D3333    Internal root repair of                    $80
         perforation defects
D3346    Retreatment of previous root               $240         Retreatment during the 12 months following initial
         canal therapy - anterior                                treatment is included at no charge to the Enrollee or
                                                                 plan. The listed fee applies for service provided by a
                                                                 Contract Dentist other than the original treating Contract
                                                                 Dentist/dental office.
D3347    Retreatment of previous root               $295         Retreatment during the 12 months following initial
         canal therapy - premolar                                treatment is included at no charge to the Enrollee or
                                                                 plan. The listed fee applies for service provided by a
                                                                 Contract Dentist other than the original treating Contract
                                                                 Dentist/dental office.
D3348    Retreatment of previous root               $365         Retreatment during the 12 months following initial
         canal therapy - molar                                   treatment is included at no charge to the Enrollee or
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Code       Description                          Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                                Enrollee Pays
                                                                  plan. The listed fee applies for service provided by a
                                                                  Contract Dentist other than the original treating Contract
                                                                  Dentist/dental office.
D3351      Apexification/                            $85          1 per permanent tooth
           recalcification - initial visit
           (apical closure/calcific repair of
           perforations, root resorption,
           etc.)
D3352      Apexification/                            $45          1 per permanent tooth
           recalcification - interim
           medication replacement
D3410      Apicoectomy - anterior                    $240         1 per 24 months by the same Contract Dentist or dental
                                                                  office; permanent teeth only
D3421      Apicoectomy - premolar (first             $250         1 per 24 months by the same Contract Dentist or dental
           root)                                                  office; permanent teeth only
D3425      Apicoectomy - molar (first root)          $275         1 per 24 months by the same Contract Dentist or dental
                                                                  office; permanent teeth only


D3426      Apicoectomy (each additional              $110         1 per 24 months by the same Contract Dentist or dental
           root)                                                  office; permanent teeth only; a benefit for 3rd molar if it
                                                                  occupies the 1st or 2nd molar position or is an abutment
                                                                  for an existing fixed partial denture or removable partial
                                                                  denture with cast clasps or rests.
D3427      Periradicular surgery without             $160         1 per 24 months by the same Contract Dentist or dental
           apicoectomy                                            office
D3430      Retrograde filling - per root             $90
D3910      Surgical procedure for isolation          $30
           of tooth with rubber dam
D3999      Unspecified endodontic                    $100         Shall be used: for a procedure which is not adequately
           procedure, by report                                   described by a CDT code; or for a procedure that has a
                                                                  CDT code that is not a Benefit but the patient has an
                                                                  exceptional medical condition to justify the medical
                                                                  necessity. Documentation shall include the specific
                                                                  conditions addressed by the procedure, the rationale
                                                                  demonstrating medical necessity, any pertinent history
                                                                  and the actual treatment.


D4000-D4999 V. PERIODONTICS
- Includes pre-operative and post-operative evaluations and treatment under a local anesthetic.
D4210      Gingivectomy or gingivoplasty             $150         1 per quadrant per 36 months, age 13+
           - four or more contiguous teeth
           or tooth bounded spaces per
           quadrant
D4211      Gingivectomy or gingivoplasty             $50          1 per quadrant per 36 months, age 13+
           - one to three contiguous teeth
           or tooth bounded spaces per
           quadrant
D4249      Clinical crown lengthening -              $165
           hard tissue
D4260      Osseous surgery (including                $265         1 per quadrant per 36 months, age 13+
           elevation of a full thickness
           flap and closure) - four or more
           contiguous teeth or tooth
           bounded spaces per quadrant


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Code        Description                         Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                                Enrollee Pays
D4261       Osseous surgery (including                $140        1 per quadrant per 36 months, age 13+
            elevation of a full thickness
            flap and closure) - one to three
            contiguous teeth or tooth
            bounded spaces per quadrant
D4265       Biologic materials to aid in soft        $80
            and osseous tissue
            regeneration
D4341       Periodontal scaling and root             $55          1 per quadrant per 24 months; age 13+
            planing - four or more teeth per
            quadrant
D4342       Periodontal scaling and root             $30          1 per quadrant per 24 months; age 13+
            planing - one to three teeth per
            quadrant
D4346       Scaling in presence of                   $220         Cleaning; 1 of (D1110, D1120, D4346) per 6 months
            generalized moderate or
            severe gingival inflammation -
            full mouth, after oral evaluation
D4355       Full mouth debridement to                $40          1 treatment per 12 consecutive months
            enable a comprehensive oral
            evaluation and diagnosis on a
            subsequent visit
D4381       Localized delivery of                    $10
            antimicrobial agents via a
            controlled release vehicle into
            diseased crevicular tissue, per
            tooth
D4910       Periodontal maintenance                  $30          1 per 3 months; service must be within the 24 months
                                                                  following the last scaling and root planing


D4920       Unscheduled dressing change              $15          1 per Contract Dentist; age 13+
            (by someone other than
            treating dentist or their staff)
D4999       Unspecified periodontal                  $350         Enrollees age 13+. Shall be used: for a procedure
            procedure, by report                                  which is not adequately described by a CDT code; or for
                                                                  a procedure that has a CDT code that is not a Benefit
                                                                  but the patient has an exceptional medical condition to
                                                                  justify the medical necessity. Documentation shall
                                                                  include the specific conditions addressed by the
                                                                  procedure, the rationale demonstrating medical
                                                                  necessity, any pertinent history and the actual
                                                                  treatment.
D5000-D5899 VI. PROSTHODONTICS (removable)
- For all listed dentures and partial dentures, Copayment includes after delivery adjustments and tissue conditioning, if
needed, for the first six months after placement. The Enrollee must continue to be eligible, and the service must be
provided at the Contract Dentist's facility where the denture was originally delivered.
- Rebases, relines and tissue conditioning are limited to 1 per denture during any 12 consecutive months.
- Replacement of a denture or a partial denture requires the existing denture to be 5+ years (60+ months) old.
D5110       Complete denture - maxillary             $300         1 per 60 months
D5120       Complete denture - mandibular            $300         1 per 60 months
D5130       Immediate denture - maxillary            $300         1 per lifetime; subsequent complete dentures (D5110,
                                                                  D5120) are not a Benefit within 60 months.
D5140       Immediate denture -                      $300         1 per lifetime; subsequent complete dentures (D5110,
            mandibular                                            D5120) are not a Benefit within 60 months.
D5211       Maxillary partial denture - resin        $300         1 per 60 months
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Code     Description                        Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                            Enrollee Pays
         base (including
         retentive/clasping materials,
         rests, and teeth)
D5212    Mandibular partial denture -            $300         1 per 60 months
         resin base (including
         retentive/clasping materials,
         rests, and teeth)
D5213    Maxillary partial denture - cast        $335         1 per 60 months
         metal framework with resin
         denture bases (including any
         conventional clasps, rests and
         teeth)
D5214    Mandibular partial denture -            $335         1 per 60 months
         cast metal framework with
         resin denture bases (including
         any conventional clasps, rests
         and teeth)
D5221    Immediate maxillary partial             $275         1 per 60 months
         denture – resin base (including
         any conventional clasps, rests
         and teeth)
D5222    Immediate mandibular partial            $275         1 per 60 months
         denture – resin base (including
         any conventional clasps, rests
         and teeth)
D5223    Immediate maxillary partial             $330         1 per 60 months
         denture – cast metal
         framework with resin denture
         bases (including any
         conventional clasps, rests and
         teeth)
D5224    Immediate mandibular partial            $330         1 per 60 months
         denture – cast metal
         framework with resin denture
         bases (including any
         conventional clasps, rests and
         teeth)
D5410    Adjust complete denture -               $20          1 per day of service per Contract Dentist; up to 2 per 12
         maxillary                                            months per Contract Dentist after the initial 6 months
D5411    Adjust complete denture -               $20          1 per day of service per Contract Dentist; up to 2 per 12
         mandibular                                           months per Contract Dentist after the initial 6 months
D5421    Adjust partial denture -                $20          1 per day of service per Contract Dentist; up to 2 per 12
         maxillary                                            months per Contract Dentist after the initial 6 months
D5422    Adjust partial denture -                $20          1 per day of service per Contract Dentist; up to 2 per 12
         mandibular                                           months per Contract Dentist after the initial 6 months
D5511    Repair broken complete                  $40          1 per day of service per Contract Dentist; up to 2 per
         denture base, mandibular                             arch in 12 months per Contract Dentist after the initial 6
                                                              months
D5512    Repair broken complete                  $40          1 per day of service per Contract Dentist; up to 2 per
         denture base, maxillary                              arch per 12 months per Contract Dentist after the initial
                                                              6 months
D5520    Replace missing or broken               $40          Up to 4 per arch per date of service after the initial 6
         teeth - complete denture (each                       months; up to 2 per arch per 12 months per Contract
         tooth)                                               Dentist
D5611    Repair resin partial denture            $40          1 per arch, per day of service per Contract Dentist; up
         base, mandibular                                     to 2 per arch in 12 months per Contract Dentist after the
                                                              initial 6 months

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Code     Description                        Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                            Enrollee Pays
D5612    Repair resin partial denture             $40         1 per arch, per day of service per Contract Dentist; up
         base, maxillary                                      to 2 per arch per 12 months per Contract Dentist after
                                                              the initial 6 months
D5621    Repair cast partial framework,          $40          1 per day of service per Contract Dentist; up to 2 per
         mandibular                                           arch in 12 months per Contract Dentist after the initial 6
                                                              months
D5622    Repair cast partial framework,          $40          1 per arch, per day of service per Contract Dentist; up
         maxillary                                            to 2 per arch per 12 months per Contract Dentist after
                                                              the initial 6 months
D5630    Repair or replace broken                $50          3 per date of service after the initial 6 months; 2 per
         retentive clasping materials -                       arch per 12 months per Contract Dentist.
         per tooth
D5640    Replace broken teeth - per              $35          4 per arch per date of service after the initial 6 months;
         tooth                                                2 per arch per 12 months per Contract Dentist
D5650    Add tooth to existing partial           $35          Up to 3 per date of service per Contract Dentist; 1 per
         denture                                              tooth after the initial 6 months
D5660    Add clasp to existing partial           $60          3 per date of service after the initial 6 months; 2 per
         denture - per tooth                                  arch per 12 months per Contract Dentist
D5730    Reline complete maxillary               $60          Included for the first 6 months after placement by the
         denture (chairside)                                  Contract Dentist or dental office where the appliance
                                                              was originally delivered; 1 per 12 month period after the
                                                              initial 6 months
D5731    Reline complete mandibular              $60          1 per 12 month period after the initial 6 months
         denture (chairside)
D5740    Reline maxillary partial denture        $60          1 per 12 month period after the initial 6 months
         (chairside)
D5741    Reline mandibular partial               $60          1 per 12 month period after the initial 6 months
         denture (chairside)
D5750    Reline complete maxillary               $90          1 per 12 month period after the initial 6 months
         denture (laboratory)
D5751    Reline complete mandibular              $90          1 per 12 month period after the initial 6 months
         denture (laboratory)
D5760    Reline maxillary partial denture        $80          1 per 12 month period after the initial 6 months
         (laboratory)
D5761    Reline mandibular partial               $80          1 per 12 month period after the initial 6 months
         denture (laboratory)
D5850    Tissue conditioning, maxillary          $30          2 per prosthesis per 36 months after the initial 6 months
D5851    Tissue conditioning,                    $30          2 per prosthesis per 36 months after the initial 6 months
         mandibular
D5862    Precision attachment, by                $90          Included in the fee for prosthetic and restorative
         report                                               procedures by the Contract Dentist or dental office
                                                              where the service was originally delivered. The listed
                                                              fee applies for service provided by a dentist other than
                                                              the original treating Contract Dentist or dental office.
D5863    Overdenture – complete                  $300         1 per 60 months
         maxillary
D5864    Overdenture – partial maxillary         $300         1 per 60 months
D5865    Overdenture – complete                  $300         1 per 60 months
         mandibular
D5866    Overdenture – partial                   $300         1 per 60 months
         mandibular
D5899    Unspecified removable                   $350         Shall be used: for a procedure which is not adequately
         prosthodontic procedure, by                          described by a CDT code; or for a procedure that has a
         report                                               CDT code that is not a Benefit but the Enrollee has an
                                                              exceptional medical condition to justify the medical
                                                              necessity. Documentation shall include the specific

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Code        Description                           Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                                  Enrollee Pays
                                                                    conditions addressed by the procedure, the rationale
                                                                    demonstrating medical necessity, any pertinent history
                                                                    and the actual treatment.
D5900-D5999 VII. MAXILLOFACIAL PROSTHETICS
- All maxillofacial prosthetic procedures require prior Authorization.
D5911       Facial moulage (sectional)                 $285
D5912       Facial moulage (complete)                  $350
D5913       Nasal prosthesis                           $350
D5914       Auricular prosthesis                       $350
D5915       Orbital prosthesis                         $350
D5916       Ocular prosthesis                          $350
D5919       Facial prosthesis                          $350
D5922       Nasal septal prosthesis                    $350
D5923       Ocular prosthesis, interim                 $350
D5924       Cranial prosthesis                         $350
D5925       Facial augmentation implant                $200
            prosthesis
D5926       Nasal prosthesis, replacement              $200
D5927       Auricular prosthesis,                      $200
            replacement
D5928       Orbital prosthesis,                        $200
            replacement
D5929       Facial prosthesis, replacement             $200
D5931       Obturator prosthesis, surgical             $350
D5932       Obturator prosthesis, definitive           $350
D5933       Obturator prosthesis,                      $150         2 per 12 months
            modification
D5934       Mandibular resection                       $350
            prosthesis with guide flange
D5935       Mandibular resection                       $350
            prosthesis without guide flange
D5936       Obturator prosthesis, interim              $350
D5937       Trismus appliance (not for                  $85
            TMD treatment)
D5951       Feeding aid                                $135
D5952       Speech aid prosthesis,                     $350
            pediatric
D5953       Speech aid prosthesis, adult               $350
D5954       Palatal augmentation                       $135
            prosthesis
D5955       Palatal lift prosthesis, definitive        $350
D5958       Palatal lift prosthesis, interim           $350
D5959       Palatal lift prosthesis,                   $145         2 per 12 months
            modification
D5960       Speech aid prosthesis,                     $145         2 per 12 months
            modification
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Code        Description                       Pediatric          Clarification/ Limitations for Pediatric Enrollees
                                              Enrollee Pays
D5982       Surgical stent                          $70
D5983       Radiation carrier                       $55
D5984       Radiation shield                        $85
D5985       Radiation cone locator                  $135
D5986       Fluoride gel carrier                    $35
D5987       Commissure splint                       $85
D5988       Surgical splint                         $95
D5991       Vesiculobullous disease                 $70
            medicament carrier
D5999       Unspecified maxillofacial               $350         Shall be used: for a procedure which is not adequately
            prosthesis, by report                                described by a CDT code; or for a procedure that has a
                                                                 CDT code that is not a Benefit but the Enrollee has an
                                                                 exceptional medical condition to justify the medical
                                                                 necessity. Documentation shall include the specific
                                                                 conditions addressed by the procedure, the rationale
                                                                 demonstrating medical necessity, any pertinent history
                                                                 and the actual treatment.
D6000-D6199 VIII. IMPLANT SERVICES
- A Benefit only under exceptional medical conditions. Prior Authorization is required. Refer also to Schedule B.
D6010       Surgical placement of implant           $350         A Benefit only under exceptional medical conditions.
            body: endosteal implant
D6011       Second stage implant surgery            $350         A Benefit only under exceptional medical conditions.
D6013       Surgical placement of mini              $350         A Benefit only under exceptional medical conditions.
            implant
D6040       Surgical placement: eposteal            $350         A Benefit only under exceptional medical conditions.
            implant
D6050       Surgical placement:                     $350         A Benefit only under exceptional medical conditions.
            transosteal implant
D6052       Semi-precision attachment               $350         A Benefit only under exceptional medical conditions.
            abutment
D6055       Connecting bar – implant                $350         A Benefit only under exceptional medical conditions.
            supported or abutment
            supported
D6056       Prefabricated abutment –                $135         A Benefit only under exceptional medical conditions.
            includes modification and
            placement
D6057       Custom fabricated abutment –            $180         A Benefit only under exceptional medical conditions.
            includes placement
D6058       Abutment supported                      $320         A Benefit only under exceptional medical conditions.
            porcelain/ceramic crown
D6059       Abutment supported porcelain            $315         A Benefit only under exceptional medical conditions.
            fused to metal crown (high
            noble metal)
D6060       Abutment supported porcelain            $295         A Benefit only under exceptional medical conditions.
            fused to metal crown
            (predominantly base metal)
D6061       Abutment supported porcelain            $300         A Benefit only under exceptional medical conditions.
            fused to metal crown (noble
            metal)
D6062       Abutment supported cast                 $315         A Benefit only under exceptional medical conditions.
            metal crown (high noble metal)
D6063       Abutment supported cast                 $300         A Benefit only under exceptional medical conditions.
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Code     Description                       Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                           Enrollee Pays
         metal crown (predominantly
         base metal)
D6064    Abutment supported cast                $315         A Benefit only under exceptional medical conditions.
         metal crown (noble metal)
D6065    Implant supported                      $340         A Benefit only under exceptional medical conditions.
         porcelain/ceramic crown
D6066    Implant supported porcelain            $335         A Benefit only under exceptional medical conditions.
         fused to metal crown (titanium,
         titanium alloy, high noble
         metal)
D6067    Implant supported metal crown          $340         A Benefit only under exceptional medical conditions.
         (titanium, titanium alloy, high
         noble metal)
D6068    Abutment supported retainer            $320         A Benefit only under exceptional medical conditions.
         for porcelain/ceramic FPD
D6069    Abutment supported retainer            $315         A Benefit only under exceptional medical conditions.
         for porcelain fused to metal
         FPD (high noble metal)
D6070    Abutment supported retainer            $290         A Benefit only under exceptional medical conditions.
         for porcelain fused to metal
         FPD (predominantly base
         metal)
D6071    Abutment supported retainer            $300         A Benefit only under exceptional medical conditions.
         for porcelain fused to metal
         FPD (noble metal)
D6072    Abutment supported retainer            $315         A Benefit only under exceptional medical conditions.
         for cast metal FPD (high noble
         metal)
D6073    Abutment supported retainer            $290         A Benefit only under exceptional medical conditions.
         for cast metal FPD
         (predominantly base metal)
D6074    Abutment supported retainer            $320         A Benefit only under exceptional medical conditions.
         for cast metal FPD (noble
         metal)
D6075    Implant supported retainer for         $335         A Benefit only under exceptional medical conditions.
         ceramic FPD
D6076    Implant supported retainer for         $330         A Benefit only under exceptional medical conditions.
         porcelain fused to metal FPD
         (titanium, titanium alloy, or
         high noble metal)
D6077    Implant supported retainer for         $350         A Benefit only under exceptional medical conditions.
         cast metal FPD (titanium,
         titanium alloy, or high noble
         metal)
D6080    Implant maintenance                    $30          A Benefit only under exceptional medical conditions.
         procedures when prostheses
         are removed and reinserted,
         including cleansing of
         prostheses and abutments
D6081    Scaling and debridement in the         $30          A Benefit only under exceptional medical conditions.
         presence of inflammation or
         mucositis of a single implant,
         including cleaning of the
         implant surfaces, without flap
         entry and closure
D6085    Provisional implant crown              $300         A Benefit only under exceptional medical conditions.
D6090    Repair implant supported               $65          A Benefit only under exceptional medical conditions.
         prosthesis, by report
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Code     Description                       Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                           Enrollee Pays
D6091    Replacement of semi-precision           $40         A Benefit only under exceptional medical conditions.
         or precision attachment (male
         or female component) of
         implant/abutment supported
         prosthesis, per attachment
D6092    Re-cement or re-bond                   $25          A Benefit only under exceptional medical conditions.
         implant/abutment supported
         crown
D6093    Re-cement or re-bond                   $35          A Benefit only under exceptional medical conditions.
         implant/abutment supported
         fixed partial denture
D6094    Abutment supported crown -             $295         A Benefit only under exceptional medical conditions.
         (titanium)
D6095    Repair implant abutment, by            $65          A Benefit only under exceptional medical conditions.
         report
D6096    Remove broken implant                  $60          A Benefit only under exceptional medical conditions
         retaining screw
D6100    Implant removal, by report             $110         A Benefit only under exceptional medical conditions.
D6110    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         removable denture for
         edentulous arch – maxillary
D6111    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         removable denture for
         edentulous arch – mandibular
D6112    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         removable denture for partially
         edentulous arch – maxillary
D6113    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         removable denture for partially
         edentulous arch – mandibular
D6114    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         fixed denture for edentulous
         arch – maxillary
D6115    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         fixed denture for edentulous
         arch – mandibular
D6116    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         fixed denture for partially
         edentulous arch – maxillary
D6117    Implant /abutment supported            $350         A Benefit only under exceptional medical conditions.
         fixed denture for partially
         edentulous arch – mandibular
D6190    Radiographic/surgical implant          $75          A Benefit only under exceptional medical conditions.
         index, by report
D6194    Abutment supported retainer            $265         A Benefit only under exceptional medical conditions.
         crown for FPD (titanium)




D6199    Unspecified implant procedure,         $350         Implant services are a Benefit only when exceptional
         by report                                           medical conditions are documented and shall be
                                                             reviewed for medical necessity. Written documentation
                                                             shall describe the specific conditions addressed by the
                                                             procedure, the rationale demonstrating the medical
                                                             necessity, any pertinent history and the proposed
                                                             treatment.

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Code        Description                        Pediatric           Clarification/ Limitations for Pediatric Enrollees
                                               Enrollee Pays
D6200-D6999 IX. PROSTHODONTICS, fixed
- Each retainer and each pontic constitutes a unit in a fixed partial denture (bridge).
- Replacement of a crown, pontic, inlay, onlay or stress breaker requires the existing bridge to be 5+ years (60+ months)
old.
D6211     Pontic - cast predominantly                $300         1 per 60 months; age 13+
          base metal
D6241     Pontic - porcelain fused to                $300         1 per 60 months; age 13+
          predominantly base metal
D6245     Pontic - porcelain/ceramic                 $300         1 per 60 months; age 13+
D6251       Pontic - resin with                      $300          1 per 60 months; age 13+
            predominantly base metal
D6721       Retainer crown - resin with              $300          1 per 60 months; age 13+
            predominantly base metal
D6740       Retainer crown -                         $300          1 per 60 months; age 13+
            porcelain/ceramic
D6751       Retainer crown - porcelain               $300          1 per 60 months; age 13+
            fused to predominantly base
            metal
D6781       Retainer crown - 3/4 cast                $300          1 per 60 months; age 13+
            predominantly base metal
D6783       Retainer crown - 3/4                     $300          1 per 60 months; age 13+
            porcelain/ceramic
D6791       Retainer crown - full cast               $300          1 per 60 months; age 13+
            predominantly base metal
D6930       Re-cement or re-bond fixed                $40          Recementation during the 12 months after initial
            partial denture                                        placement is included; no additional charge to the
                                                                   Enrollee or plan is permitted. The listed fee applies for
                                                                   service provided by a Contract Dentist other than the
                                                                   original treating Contract Dentist/dental office.
D6980       Fixed partial denture repair              $95
            necessitated by restorative
            material failure
D6999       Unspecified fixed                        $350          Shall be used: for a procedure which is not adequately
            prosthodontic procedure, by                            described by a CDT code; or for a procedure that has a
            report                                                 CDT code that is not a Benefit but the patient has an
                                                                   exceptional medical condition to justify the medical
                                                                   necessity. Documentation shall include the specific
                                                                   conditions addressed by the procedure, the rationale
                                                                   demonstrating medical necessity, any pertinent history
                                                                   and the actual treatment. Not a Benefit within 12
                                                                   months of initial placement of a fixed partial denture by
                                                                   the same Contract Dentist/office.




D7000-D7999 X. ORAL AND MAXILLOFACIAL SURGERY
- Prior Authorization required for procedures performed by a Contract Specialist. Medical necessity must be
demonstrated for procedures D7340 - D7997. Refer also to Schedule B.
- Includes pre-operative and post-operative evaluations and treatment under a local anesthetic. Post-operative services
include exams, suture removal and treatment of complications.
D7111       Extraction, coronal remnants -           $40
            primary tooth
D7140       Extraction, erupted tooth or             $65
            exposed root (elevation and/or
            forceps removal)

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Code     Description                        Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                            Enrollee Pays
D7210    Extraction, erupted tooth                $120
         requiring removal of bone
         and/or sectioning of tooth, and
         including elevation of
         mucoperiosteal flap if indicated
D7220    Removal of impacted tooth -             $95
         soft tissue
D7230    Removal of impacted tooth -             $145
         partially bony
D7240    Removal of impacted tooth -             $160
         completely bony
D7241    Removal of impacted tooth -             $175
         completely bony, with unusual
         surgical complications
D7250    Removal of residual tooth               $80
         roots (cutting procedure)
D7260    Oroantral fistula closure               $280
D7261    Primary closure of a sinus              $285
         perforation
D7270    Tooth reimplantation and/or             $185         1 per arch regardless of number of teeth involved;
         stabilization of accidentally                        permanent anterior teeth
         evulsed or displaced tooth
D7280    Exposure of an unerupted                $220
         tooth
D7283    Placement of device to                  $85          For active orthodontic treatment only
         facilitate eruption of impacted
         tooth
D7285    Incisional biopsy of oral tissue        $180         1 per arch per date of service; regardless of number of
         -hard (bone, tooth)                                  areas involved
D7286    Incisional biopsy of oral tissue        $110         3 per date of service
         -soft
D7290    Surgical repositioning of teeth         $185         1 per arch, for permanent teeth only; applies to active
                                                              orthodontic treatment
D7291    Transseptal fiberotomy/supra            $80          1 per arch; applies to active orthodontic treatment
         crestal fiberotomy, by report
D7310    Alveoloplasty in conjunction            $85
         with extractions - four or more
         teeth or tooth spaces, per
         quadrant


D7311    Alveoloplasty in conjunction            $50
         with extractions - one to three
         teeth or tooth spaces, per
         quadrant
D7320    Alveoloplasty not in                    $120
         conjunction with extractions -
         four or more teeth or tooth
         spaces, per quadrant
D7321    Alveoloplasty not in                    $65
         conjunction with extractions -
         one to three teeth or tooth
         spaces, per quadrant
D7340    Vestibuloplasty - ridge                 $350         1 per arch per 60 months
         extension (secondary
         epithelialization)
D7350    Vestibuloplasty - ridge                 $350         1 per arch
         extension (including soft tissue

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Code     Description                         Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                             Enrollee Pays
         grafts, muscle reattachment,
         revision of soft tissue
         attachment and management
         of hypertrophied and
         hyperplastic tissue)
D7410    Excision of benign lesion up to          $75
         1.25 cm
D7411    Excision of benign lesion                $115
         greater than 1.25 cm
D7412    Excision of benign lesion,               $175
         complicated
D7413    Excision of malignant lesion up          $95
         to 1.25 cm
D7414    Excision of malignant lesion             $120
         greater than 1.25 cm
D7415    Excision of malignant lesion,            $255
         complicated
D7440    Excision of malignant tumor -            $105
         lesion diameter up to 1.25 cm
D7441    Excision of malignant tumor -            $185
         lesion diameter greater than
         1.25 cm
D7450    Removal of benign                        $180
         odontogenic cyst or tumor -
         lesion diameter up to 1.25 cm
D7451    Removal of benign                        $330
         odontogenic cyst or tumor -
         lesion diameter greater than
         1.25 cm
D7460    Removal of benign                        $155
         nonodontogenic cyst or tumor -
         lesion diameter up to 1.25 cm
D7461    Removal of benign                        $250
         nonodontogenic cyst or tumor -
         lesion diameter greater than
         1.25 cm
D7465    Destruction of lesion(s) by              $40
         physical or chemical method,
         by report
D7471    Removal of lateral exostosis             $140         1 per quadrant
         (maxilla or mandible)
D7472    Removal of torus palatinus               $145         1 per lifetime
D7473    Removal of torus mandibularis            $140         1 per quadrant
D7485    Reduction of osseous                     $105         1 per quadrant
         tuberosity
D7490    Radical resection of maxilla or          $350
         mandible
D7510    Incision and drainage of                 $70          1 per quadrant per date of service
         abscess - intraoral soft tissue
D7511    Incision and drainage of                 $70          1 per quadrant per date of service
         abscess - intraoral soft tissue -
         complicated (includes drainage
         of multiple fascial spaces)
D7520    Incision and drainage of                 $70
         abscess - extraoral soft tissue
D7521    Incision and drainage of                 $80
         abscess - extraoral soft tissue
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Code     Description                       Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                           Enrollee Pays
         - complicated (includes
         drainage of multiple fascial
         spaces)
D7530    Removal of foreign body from           $45          1 per date of service
         mucosa, skin, or subcutaneous
         alveolar tissue
D7540    Removal of reaction producing          $75          1 per date of service
         foreign bodies,
         musculoskeletal system
D7550    Partial                                $125         1 per quadrant per date of service
         ostectomy/sequestrectomy for
         removal of non-vital bone
D7560    Maxillary sinusotomy for               $235
         removal of tooth fragment or
         foreign body
D7610    Maxilla - open reduction (teeth        $140
         immobilized, if present)
D7620    Maxilla - closed reduction             $250
         (teeth immobilized, if present)
D7630    Mandible - open reduction              $350
         (teeth immobilized, if present)
D7640    Mandible - closed reduction            $350
         (teeth immobilized, if present)
D7650    Malar and/or zygomatic arch -          $350
         open reduction
D7660    Malar and/or zygomatic arch -          $350
         closed reduction
D7670    Alveolus - closed reduction            $170
         may include stabilization of
         teeth
D7671    Alveolus - open reduction may          $230
         include stabilization of teeth
D7680    Facial bones - complicated             $350
         reduction with fixation and
         multiple surgical approaches
D7710    Maxilla - open reduction               $110
D7720    Maxilla - closed reduction             $180
D7730    Mandible - open reduction              $350
D7740    Mandible - closed reduction            $290
D7750    Malar and/or zygomatic arch -          $220
         open reduction
D7760    Malar and/or zygomatic arch -          $350
         closed reduction
D7770    Alveolus - open reduction              $135
         stabilization of teeth
D7771    Alveolus, closed reduction             $160
         stabilization of teeth
D7780    Facial bones - complicated             $350
         reduction with fixation and
         multiple approaches
D7810    Open reduction of dislocation          $350
D7820    Closed reduction of dislocation         $80
D7830    Manipulation under anesthesia           $85
D7840    Condylectomy                           $350
D7850    Surgical discectomy,                   $350

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Code     Description                           Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                               Enrollee Pays
         with/without implant
D7852    Disc repair                                $350
D7854    Synovectomy                                $350
D7856    Myotomy                                    $350
D7858    Joint reconstruction                       $350
D7860    Arthrotomy                                 $350
D7865    Arthroplasty                               $350
D7870    Arthrocentesis                              $90
D7871    Non-arthroscopic lysis and                 $150
         lavage
D7872    Arthroscopy - diagnosis, with              $350
         or without biopsy
D7873    Arthroscopy: lavage and lysis              $350
         of adhesions
D7874    Arthroscopy: disc repositioning            $350
         and stabilization
D7875    Arthroscopy: synovectomy                   $350
D7876    Arthroscopy: discectomy                    $350
D7877    Arthroscopy: debridement                   $350
D7880    Occlusal orthotic device, by               $120
         report
D7881    Occlusal orthotic device                   $30          1 per date of service per Contract Dentist; 2 per 12
         adjustment                                              months per Contract Dentist
D7899    Unspecified TMD therapy, by                $350
         report
D7910    Suture of recent small wounds              $35
         up to 5 cm
D7911    Complicated suture - up to 5               $55
         cm
D7912    Complicated suture - greater               $130
         than 5 cm
D7920    Skin graft (identify defect                $120
         covered, location and type of
         graft)
D7940    Osteoplasty - for orthognathic             $160
         deformities
D7941    Osteotomy - mandibular rami                $350
D7943    Osteotomy - mandibular rami                $350
         with bone graft; includes
         obtaining the graft
D7944    Osteotomy - segmented or                   $275
         subapical
D7945    Osteotomy - body of mandible               $350
D7946    Lefort I (maxilla - total)                 $350
D7947    Lefort I (maxilla - segmented)             $350
D7948    Lefort II or lefort III                    $350
         (osteoplasty of facial bones for
         midface hypoplasia or
         retrusion) - without bone graft
D7949    Lefort II or lefort III - with bone        $350
         graft
D7950    Osseous, osteoperiosteal, or               $190
         cartilage graft of the mandible
         or maxilla - autogenous or
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Code        Description                       Pediatric          Clarification/ Limitations for Pediatric Enrollees
                                              Enrollee Pays
            nonautogenous, by report
D7951       Sinus augmentation with bone            $290
            or bone substitutes via a
            lateral open approach
D7952       Sinus augmentation via a                $175
            vertical approach
D7955       Repair of maxillofacial soft            $200
            and/or hard tissue defect
D7960       Frenulectomy - also known as            $120         1 per arch per date of service; a Benefit only when the
            frenectomy or frenotomy -                            permanent incisors and cuspids have erupted
            separate procedure not
            incidental to another procedure
D7963       Frenuloplasty                           $120         1 per arch per date of service; a Benefit only when the
                                                                 permanent incisors and cuspids have erupted
D7970       Excision of hyperplastic tissue         $175         1 per arch per date of service
            - per arch
D7971       Excision of pericoronal gingiva          $80
D7972       Surgical reduction of fibrous           $100         1 per quadrant per date of service
            tuberosity
D7979       Non - surgical sialolithotomy           $155
D7980       Surgical sialolithotomy                 $155
D7981       Excision of salivary gland, by          $120
            report
D7982       Sialodochoplasty                        $215
D7983       Closure of salivary fistula             $140
D7990       Emergency tracheotomy                   $350
D7991       Coronoidectomy                          $345
D7995       Synthetic graft - mandible or           $150
            facial bones, by report
D7997       Appliance removal (not by                $60         Removal of appliances related to surgical procedures
            dentist who placed appliance),                       only; 1 per arch per date of service; the listed fee
            includes removal of archbar                          applies for service provided by a Contract Dentist other
                                                                 than the original treating Contract Dentist/dental office.
D7999       Unspecified oral surgery                $350         Shall be used: for a procedure which is not adequately
            procedure, by report                                 described by a CDT code; or for a procedure that has a
                                                                 CDT code that is not a Benefit but the patient has an
                                                                 exceptional medical condition to justify the medical
                                                                 necessity. Documentation shall include the specific
                                                                 conditions addressed by the procedure, the rationale
                                                                 demonstrating medical necessity, any pertinent history
                                                                 and the actual treatment.
D8000-D8999 XI. ORTHODONTICS - Medically Necessary for Pediatric Enrollees ONLY
- Orthodontic Services must meet medical necessity as determined by a Contract Dentist. Orthodontic treatment is a
Benefit only when medically necessary as evidenced by a severe handicapping malocclusion and when a prior
Authorization is obtained. Severe handicapping malocclusion is not a cosmetic condition. Teeth must be severely
misaligned causing functional problems that compromise oral and/or general health.
- Pediatric Enrollee must continue to be eligible, Benefits for medically necessary orthodontics will be provided in
periodic payments to the Contract Dentist.
- Comprehensive orthodontic treatment procedure (D8080) includes all appliances, adjustments, insertion, removal and
post treatment stabilization (retention). The Enrollee must continue to be eligible during active treatment. No additional
charge to the Enrollee is permitted from the original treating Contract Orthodontist or dental office who received the
comprehensive case fee. A separate fee applies for services provided by a Contract Orthodontist other than the original
treating Contract Orthodontist or dental office.

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Code        Description                        Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                               Enrollee Pays
- Copayment for medically necessary orthodontics applies to course of treatment, not individual benefit years within a
multi-year course of treatment. This Copayment applies to the course of treatment as long as the Pediatric Enrollee
remains enrolled in this Plan.
- Refer to Schedule B for additional information on medically necessary orthodontics.
D8080       Comprehensive orthodontic                            1 per Enrollee per phase of treatment; included in
            treatment of the adolescent                          comprehensive case fee
            dentition
D8210       Removable appliance therapy                          1 per lifetime; age 6 through 12; included in
                                                                 comprehensive case fee
D8220       Fixed appliance therapy                              1 per lifetime; age 6 through 12; included in
                                                                 comprehensive case fee
D8660       Pre-orthodontic treatment                            1 per 3 months when performed by the same Contract
            examination to monitor growth                        Dentist or dental office; up to 6 visits per lifetime;
            and development                                      included in comprehensive case fee
D8670       Periodic orthodontic treatment                       Included in comprehensive case fee
            visit
D8680       Orthodontic retention (removal                       1 per arch for each authorized phase of orthodontic
            of appliances, construction and                      treatment; included in comprehensive case fee
            placement of retainer(s))
D8681       Removable orthodontic                                Included in comprehensive case fee
            retainer adjustment
D8691       Repair of orthodontic                                1 per appliance; included in comprehensive case fee
            appliance                                $350
D8692       Replacement of lost or broken                        1 per arch; within 24 months following the date of
            retainer                                             service for orthodontic retention (D8680); included in
                                                                 comprehensive case fee
D8693       Re-cement or re-bond fixed                           1 per Contract Dentist; included in comprehensive case
            retainer                                             fee
D8694       Repair of fixed retainers,                           1 per Contract Dentist; included in comprehensive case
            includes reattachment                                fee. The listed fee applies for services provided by an
                                                                 orthodontist other than the original treating orthodontist
                                                                 or dental office.
D8999       Unspecified orthodontic                              Shall be used: for a procedure which is not adequately
            procedure, by report                                 described by a CDT code; or for a procedure that has a
                                                                 CDT code that is not a Benefit but the patient has an
                                                                 exceptional medical condition to justify the medical
                                                                 necessity. Documentation shall include the specific
                                                                 conditions addressed by the procedure, the rationale
                                                                 demonstrating medical necessity, any pertinent history
                                                                 and the actual treatment. Included in comprehensive
                                                                 case fee.
D9000-D9999 XII. ADJUNCTIVE GENERAL SERVICES
D9110       Palliative (emergency)                   $30          1 per date of service per Contract Dentist; regardless of
            treatment of dental pain -                            the number of teeth and/or areas treated
            minor procedure
D9120       Fixed partial denture                    $95
            sectioning
D9210       Local anesthesia not in                  $10          1 per date of service per Contract Dentist; for use to
            conjunction with operative or                         perform a differential diagnosis or as a therapeutic
            surgical procedures                                   injection to eliminate or control a disease or abnormal
                                                                  state
D9211       Regional block anesthesia                $20
D9212       Trigeminal division block                $60
            anesthesia
D9215       Local anesthesia in                      $15
            conjunction with operative or
            surgical procedures
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Code     Description                       Pediatric         Clarification/ Limitations for Pediatric Enrollees
                                           Enrollee Pays
D9222    Deep sedation/general                   $45         Covered only when given by a Contract Dentist for
         anesthesia - first 15 minutes                       covered oral surgery; 4 of (D9222, D9223) per date of
                                                             service
D9223    Deep sedation/general                  $45          Covered only when given by a Contract Dentist for
         anesthesia - each subsequent                        covered oral surgery; 4 of (D9222, D9223) per date of
         15 minute increment                                 service
D9230    Inhalation of nitrous                  $15          (Where available)
         oxide/analgesia, anxiolysis
D9239    Intravenous moderate                   $60          Covered only when given by a Contract Dentist for
         (conscious) sedation/analgesia                      covered oral surgery; 4 of (D9239, D9243) per date of
         - first 15 minutes                                  service
D9243    Intravenous moderate                   $60          Covered only when given by a Contract Dentist for
         (conscious) sedation/analgesia                      covered oral surgery; 4 of (D9239, D9243) per date of
         - each subsequent 15 minute                         service
         increment
D9248    Non-intravenous conscious              $65          Where available; 1 per date of service per Contract
         sedation                                            Dentist
D9310    Consultation - diagnostic              $50
         service provided by dentist or
         physician other than
         requesting dentist or physician
D9311    Consultation with a medical         No charge
         health care professional
D9410    House/extended care facility           $50          1 per Enrollee per date of service
         call
D9420    Hospital or ambulatory surgical        $135
         center call
D9430    Office visit for observation           $20          1 per date of service per Contract Dentist
         (during regularly scheduled
         hours) - no other services
         performed
D9440    Office visit - after regularly         $45          1 per date of service per Contract Dentist
         scheduled hours
D9610    Therapeutic parenteral drug,           $30          4 of (D9610, D9612) injections per date of service
         single administration
D9612    Therapeutic parenteral drugs,          $40          4 of (D9610, D9612) injections per date of service
         two or more administrations,
         different medications
D9910    Application of desensitizing           $20          1 per 12 months per Contract Dentist; permanent teeth
         medicament
D9930    Treatment of complications             $35          1 per date of service per Contract Dentist within 30 days
         (post-surgical) - unusual                           of an extraction
         circumstances, by report
D9950    Occlusion analysis - mounted           $120         Prior Authorization is required; 1 per 12 months for
         case                                                diagnosed TMJ dysfunction; permanent teeth; age 13+
D9951    Occlusal adjustment - limited          $45          1 per 12 months for quadrant per Contract Dentist; age
                                                             13+
D9952    Occlusal adjustment -                  $210         1 per 12 months following occlusion analysis - mounted
         complete                                            case (D9950) for diagnosed TMJ dysfunction;
                                                             permanent teeth; age 13+
D9999    Unspecified adjunctive              No charge       Shall be used: for a procedure which is not adequately
         procedure, by report                                described by a CDT code; or for a procedure that has a
                                                             CDT code that is not a Benefit but the patient has an
                                                             exceptional medical condition to justify the medical
                                                             necessity. Documentation shall include the specific
                                                             conditions addressed by the procedure, the rationale
                                                             demonstrating medical necessity, any pertinent history
                                                             and the actual treatment.
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Endnotes:
Base metal is the Benefit. If noble or high noble metal (precious) is used for a crown, bridge, indirectly fabricated post
and core, inlay or onlay, the Enrollee will be charged the additional laboratory cost of the noble or high noble metal. If
covered, an additional laboratory charge also applies to a titanium crown.

If services for a listed procedure are performed by the assigned Contract Dentist, the Enrollee pays the specified
Copayment(s). Listed procedures which require a Dentist to provide Specialist Services, and are referred by the
assigned Contract Dentist, must be authorized by Delta Dental. The Enrollee pays the Copayment(s) specified for such
services.
Optional or upgraded procedure(s) are defined as any alternative procedure(s) presented by the Contract Dentist and
formally agreed upon by financial consent that satisfies the same dental need as a covered procedure. Enrollee may
elect an Optional or upgraded procedure, subject to the limitations and exclusions of this Plan. The applicable charge to
the Enrollee is the difference between the Contract Dentist's regularly charged fee (or contracted fee, when applicable)
for the Optional or upgraded procedure and the covered procedure, plus any applicable Copayment(s) for the covered
procedure.

Additional Endnotes to Covered California's 2020 Dental Standard Benefit Plan Designs
Pediatric Dental EHB Notes (only applicable to the pediatric portion of the Children's Dental Plan or Family Dental Plan)
    1. In a plan with two or more children, cost sharing payments made by each individual child for in-network
       services contribute to the family in-network deductible, if applicable, as well as the family out-of-pocket
       maximum.
    2. In a plan with two or more children, cost sharing payments made by each individual child for out-of-network
       covered services contribute to the family out-of-network deductible, if applicable, and do not accumulate to the
       family out-of-pocket maximum.
    3. Administration of these plan designs must comply with requirements of the pediatric dental EHB benchmark
       plan, including coverage of services in circumstances of medical necessity as defined in the Early Periodic
       Screening, Diagnosis and Treatment ("EPSDT") benefit.




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SCHEDULE B
Limitations and Exclusions of Benefits for Pediatric Enrollees
DeltaCare® USA
Children's Dental HMO
For Small Businesses

Limitations of Benefits for Pediatric Enrollees

 1.     The frequency of certain Benefits is limited. All frequency limitations are listed in Schedule A, Description of
        Benefits and Copayments. Additional requests, beyond the stated frequency limitations, for prophylaxis,
        fluoride and scaling procedures (D1110, D1120, D1206, D1208 and D4346) shall be considered for prior
        Authorization when documented medical necessity is justified due to a physical limitation and/or an oral
        condition that prevents daily oral hygiene.

 2.     A filling [D2140-D2161, D2330-D2335, D2391-D2394] is a Benefit for the removal of decay, for minor
        repairs of tooth structure or to replace a lost filling.

 3.     A crown [covered codes only between D2710-D2791] is a Benefit when there is insufficient tooth structure
        to support a filling or to replace an existing crown that is non-functional or non-restorable and meets the
        five+ year (60+ months) limitation.

 4.     The replacement of an existing crown [covered codes only between D2710-D2791], fixed partial denture
        (bridge) [covered codes only between D6211-D6245, D6251, D6721-D6791], or a removable full or partial
        denture [covered codes only between D5211-D5214, D5221-D5224] is covered when:

         a. The existing restoration/bridge/denture is no longer functional and cannot be made functional by repair
            or adjustment, and

         b. Either of the following:
            -   The existing non-functional restoration/bridge/denture was placed five or more years (60+ months)
                prior to its replacement, or
            -   If an existing partial denture is less than five years old (60 months), but must be replaced by a new
                partial denture due to the loss of a natural tooth, which cannot be replaced by adding another tooth
                to the existing partial denture.

 5.     Coverage for the placement of a fixed partial denture (bridge) [covered codes only between D6211-D6245,
        D6251, D6721-D6791] or removable partial denture [covered codes only between D5211-D5214, D5221-
        D5224]:

         a. Fixed partial denture (bridge):
            -   A fixed partial denture is a Benefit only when medical conditions or employment preclude the use of
                a removable partial denture.
            -   The sole tooth to be replaced in the arch is an anterior tooth, and the abutment teeth are not
                periodontally involved, or
            -   The new bridge would replace an existing, non-functional bridge utilizing identical abutments and
                pontics, or
            -   Each abutment tooth to be crowned meets Limitation #3.

         b. Removable partial denture:
            - Cast metal (D5213, D5214, D5223, D5224), one or more teeth are missing in an arch.
            - Resin based (D5211, D5212, D5221, D5222), one or more teeth are missing in an arch and
              abutment teeth have extensive periodontal disease.

 6.     Excision of the frenum [D7960] is a Benefit only when it results in limited mobility of the tongue, it causes a
        large diastema between teeth or it interferes with a prosthetic appliance.

 7.     A new removable partial [covered codes only between D5211-D5214, D5221-D5224] or complete [D5110-
        D5140] or covered immediate denture [D5130, D5140] includes after delivery adjustments and tissue
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        conditioning at no additional cost for the first six months after placement if the Enrollee continues to be
        eligible and the service is provided at the Contract Dentist's facility where the denture was originally
        delivered.

 8.     Immediate dentures [D5130, D5140, D5221–D5224] are covered when one or more of the following
        conditions are present:

            a. Extensive or rampant caries are exhibited in the radiographs, or

            b. Severe periodontal involvement indicated, or

            c.   Numerous teeth are missing resulting in diminished chewing ability adversely affecting the Enrollee's
                 health.

 9.     Maxillofacial prosthetic services [covered codes only between D5911-D5999] for the anatomic and
        functional reconstruction of those regions of the maxilla and mandible and associated structures that are
        missing or defective because of surgical intervention, trauma (other than simple or compound fractures),
        pathology, developmental or congenital malformations.

 10.    All maxillofacial prosthetic procedures [covered codes only between D5911-D5999] require prior
        authorization for medically necessary procedures.

 11.    Implant services [covered codes only between D6010-D6199] are a Benefit only under exceptional medical
        conditions. Exceptional medical conditions include, but are not limited to:

            a. Cancer of the oral cavity requiring ablative surgery and/or radiation leading to destruction of alveolar
               bone, where the remaining osseous structures are unable to support conventional dental prosthesis.

            b. Severe atrophy of the mandible and/or maxilla that cannot be corrected with vestibular extension
               procedures [D7340, D7350] or osseous augmentation procedures [D7950], and the Enrollee is
               unable to function with conventional prosthesis.

            c.   Skeletal deformities that preclude the use of conventional prosthesis (such as arthrogryposis,
                 ectodermal dysplasia, partial anaodontia and cleidocranial dysplasia).

 12.    Temporomandibular joint dysfunction ("TMJ") procedure codes [covered codes only between D7810-
        D7880] are limited to differential diagnosis and symptomatic care and require prior Authorization.

 13.    Certain listed procedures performed by a Contract Specialist may be considered to be primary under the
        Enrollee's medical coverage. Dental Benefits will be coordinated accordingly.

 14.    Deep sedation/general anesthesia [D9222, D9223] or intravenous conscious sedation/analgesia [D9239,
        D9243] for covered procedures requires documentation to justify the medical necessity based on a mental
        or physical limitation or contraindication to a local anesthesia agent.


Exclusions of Benefits for Pediatric Enrollees

       1.        Any procedure that is not specifically listed under Schedule A, Description of Benefits and
                 Copayments.

       2.        All related fees for admission, use, or stays in a hospital, out-patient surgery center, extended care
                 facility, or other similar care facility.

       3.        Lost or theft of full or partial dentures [covered codes only between D5110, D5120, D5130, D5140,
                 D5211, D5212, D5213, D5214, D5221, D5222, D5223, D5224], space maintainers [D1510–D1575],
                 crowns [D2390, D2710–D2791], fixed partial dentures (bridges) [covered codes only between
                 D6211-D6245, D6251, D6721-D6791] or other appliances.
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      4.      Dental expenses incurred in connection with any dental procedures started after termination of
              eligibility for coverage.

      5.      Dental expenses incurred in connection with any dental procedure before the Enrollee's eligibility in
              this Plan. Examples include: teeth prepared for crowns, partials and dentures, root canals in
              progress.

      6.      Congenital malformations (e.g. congenitally missing teeth, supernumerary teeth, enamel and
              dentinal dysplasias, etc.) unless included in Schedule A.

      7.      Dispensing of drugs not normally supplied in a dental facility unless included in Schedule A.

      8.      Any procedure that in the professional opinion of the Contract Dentist, Contract Specialist, or dental
              plan consultant:

              a. has poor prognosis for a successful result and reasonable longevity based on the condition of the
                 tooth or teeth and/or surrounding structures, or

              b. is inconsistent with generally accepted standards for dentistry.

      9.      Dental services received from any dental facility other than the assigned Contract Dentist including
              the services of a dental specialist, unless expressly authorized or as cited under the "Emergency
              Dental Services" and "Urgent Dental Services" sections of the EOC. To obtain written Authorization,
              the Enrollee should call Delta Dental's Customer Care at 800-589-4618.

      10.     Consultations [D9310, D9311] or other diagnostic services [covered codes only between D0120–
              D0999], for non-covered Benefits.

      11.     Single tooth implants [covered codes only between D6000–D6199].

      12.     Restorations [covered codes only between D2330-D2335, D2391-D2394, D2710-D2791, D6211-
              D6245, D6251, D6721-D6791] placed solely due to cosmetics, abrasions, attrition, erosion, restoring
              or altering vertical dimension, congenital or developmental malformation of teeth.

      13.     Preventive [covered codes only between D1110-D1575], endodontic [covered codes only between
              D3110-D3999] or restorative [covered codes only between D2140-D2999] procedures are not a
              Benefit for teeth to be retained for overdentures.

      14.     Partial dentures [covered codes only between D5211-5214, D5221-D5224] are not a Benefit to
              replace missing 3rd molars, unless the 3rd molar occupies the 1st or 2nd molar position or is an
              abutment for a partial denture with cast clasps or rests.

      15.     Appliances or restorations necessary to increase vertical dimension, replace or stabilize tooth
              structure loss by attrition, realignment of teeth [covered codes only between D8000-D8999],
              periodontal splinting [D4320-D4321], gnathologic recordings, equilibration [D9952] or treatment of
              disturbances of the TMJ [covered codes only between D0310-D0322, D7810-D7899], unless
              included in Schedule A.

      16.     An initial treatment plan which involves the removal and reestablishment of the occlusal contacts of
              10 or more teeth with crowns, onlays, fixed partial dentures (bridges), or any combination of these,
              [covered codes only between D2710-D2791, D6211-D6245, D6721-D6791] is considered to be full
              mouth reconstruction under this Plan. Crowns, onlays and fixed partial dentures associated with
              such a treatment plan are not covered Benefits. This exclusion does not eliminate the Benefit for
              other covered services.

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       17.     Porcelain denture teeth, precision abutments for removable partials [D5862] or fixed partial dentures
               (overlays, implants, and appliances associated therewith) [D6940, D6950] and personalization and
               characterization of complete and partial dentures.

       18.     Extraction of teeth [D7111, D7140, D7210, D7220-D7240], when teeth are asymptomatic/ non-
               pathologic (no signs or symptoms of pathology or infection), including but not limited to the removal
               of third molars.

       19.     TMJ dysfunction treatment modalities that involve prosthodontia [D5110-D5224, D6211-D6245,
               D6251, D6721-D6791], orthodontia [covered codes only between D8000–D8999], and full or partial
               occlusal rehabilitation or TMJ dysfunction procedures [covered codes only between D0310-D0322,
               D7810-D7899] solely for the treatment of bruxism.

       20.     Vestibuloplasty/ridge extension procedures [D7340, D7350] performed on the same date of service
               as extractions [D7111-D7250] on the same arch.

       21.     Deep sedation/general anesthesia [D9222, D9223] for covered procedures on the same date of
               service as analgesia, anxiolysis, inhalation of nitrous oxide or for intravenous conscious
               sedation/analgesia [D9239, D9243].

       22.     Intravenous conscious sedation/analgesia [D9239, D9243] for covered procedures on the same date
               of service as analgesia, anxiolysis, inhalation of nitrous oxide or for deep sedation/general
               anesthesia [D9222, D9223].

       23.     Inhalation of nitrous oxide [D9230] when administered with other covered sedation procedures.

       24.     Cosmetic dental care [exclude covered codes in this list if done for purely cosmetic reasons: D2330-
               D2394, D2710–D2751, D2940, D6211-D6245, D6251, D6721-D6791, D8000-D8999].

       25.     Orthodontic treatment [covered codes only between D8000–D8999] must be provided by a licensed
               dentist. Self-administered orthodontics are not covered.

       26.     The removal of fixed orthodontic appliances [D8680] for reasons other than completion of treatment
               is not a covered benefit.



Medically Necessary Orthodontics for Pediatric Enrollees

  1.   Coverage for comprehensive orthodontic treatment [D8080] requires acceptable documentation of a
       handicapping malocclusion as evidence by a minimum score of 26 points on the Handicapping Labio-Lingual
       Deviation ("HLD") Index California Modification Score Sheet Form and pre-treatment diagnostic casts
       [D0470]. Comprehensive orthodontic treatment [D8080]:

        a. is limited to Enrollees who are between 13 through 18 years of age with a permanent dentition without a
           cleft palate or craniofacial anomaly; but
        b. may start at birth for patients with a cleft palate or craniofacial anomaly.

  2.   Removable appliance therapy [D8210] or fixed appliance therapy [D8220] is limited to Enrollee between 6 to
       12 years of age, once in a lifetime, to treat thumb sucking and/or tongue thrust.

  3.   The Benefit for a pre-orthodontic treatment examination [D8660] includes needed oral/facial photographic
       images [D0350, D0351]. Neither the Enrollee nor the plan may be charged for D0350 or D0351 in
       conjunction with a pre-orthodontic treatment examination.

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 4.   The number of covered periodic orthodontic treatment [D8670] visits and length of covered active
      orthodontics is limited to a maximum of up to:

       a. Handicapping malocclusion - Eight (8) quarterly visits;
       b. Cleft palate or craniofacial anomaly - Six (6) quarterly visits for treatment of primary dentition;
       c.   Cleft palate or craniofacial anomaly - Eight (8) quarterly visits for treatment of mixed dentition; or
       d. Cleft palate or craniofacial anomaly - Ten (10) quarterly visits for treatment of permanent dentition.
       e. Facial growth management – Four (4) quarterly visits for treatment of primary dentition;
       f.   Facial growth management – Five (5) quarterly visits for treatment of mixed dentition;
       g. Facial growth management - Eight (8) quarterly visits for treatment permanent dentition.

 5.   Orthodontic retention [D8680] is a separate Benefit after the completion of covered comprehensive
      orthodontic treatment [D8080] which:

      a. Includes removal of appliances and the construction and place of retainer(s) [D8680]; and
      b. Is limited to Enrollees under age 19 and to one per arch after the completion of each phase of active
         treatment for retention of permanent dentition unless treatment was for a cleft palate or a craniofacial
         anomaly.
      An adjustment of an orthodontic retainer is included in the fee for the retainer for the first six months after
      delivery.

 6.   Copayment is payable to the Contract Orthodontist who initiates banding in a course of prior authorized
      orthodontic treatment [covered codes only between D8000–D8999]. If, after banding has been initiated, the
      Enrollee changes to another Contract Orthodontist to continue orthodontic treatment, the Enrollee:
      a. will not be entitled to a refund of any amounts previously paid, and
      b. will be responsible for all payments, up to and including the full Copayment, that are required by the new
         Contract Orthodontist for completion of the orthodontic treatment.

 7.   Should an Enrollee's coverage be canceled or terminated for any reason, and at the time of cancellation or
      termination be receiving any orthodontic treatment [covered codes only between D8000–D8999], the
      Enrollee will be solely responsible for payment for treatment provided after cancellation or termination,
      except:

      If an Enrollee is receiving ongoing orthodontic treatment at the time of termination, Delta Dental will continue
      to provide orthodontic Benefits for:
      a. For 60 days if the Enrollee is making monthly payments to the Contract Orthodontist; or
      b. Until the later of 60 days after the date coverage terminates or the end of the quarter in progress, if the
         Enrollee is making quarterly payments to the Contract Orthodontist.
      At the end of 60 days (or at the end of the Quarter), the Enrollee's obligation shall be based on the Contract
      Orthodontist's usual fee at the beginning of treatment. The Contract Orthodontist will prorate the amount over
      the number of months to completion of the treatment. The Enrollee will make payments based on an
      arrangement with the Contract Orthodontist.




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SCHEDULE C
Information Concerning Benefits Under The DeltaCare USA Plan

THIS MATRIX IS INTENDED TO BE USED TO COMPARE COVERAGE BENEFITS AND IS A SUMMARY ONLY. THE
EOC SHOULD BE CONSULTED FOR A DETAILED DESCRIPTION OF PLAN BENEFITS AND LIMITATIONS.
(A) Deductibles                       None
(B) Lifetime Maximums                 None
(C) Out-of-Pocket Maximum                    Individual                      $350.00
                                             Multiple Child                  $700.00
(D) Professional Services             An Enrollee may be required to pay a Copayment amount for each procedure
                                      as shown in Schedule A, Description of Benefits and Copayments for Pediatric
                                      Enrollees, subject to the limitations and exclusions of this plan.

                                      Copayments range by category of service.
                                      Examples are as follows:
                                        Diagnostic Services                 No Charge
                                        Preventive Services                 No Charge
                                        Restorative Services                $ 20.00         -    $ 310.00
                                        Endodontic Services                 $ 20.00         -    $ 365.00
                                        Periodontic Services                $ 10.00         -    $ 350.00
                                        Prosthodontic Services,
                                            Removable                       $ 20.00         -    $ 350.00
                                        Maxillofacial Prosthetics           $ 35.00         -    $ 350.00
                                        Implant Services
                                          (medically necessary only)        $ 25.00         -    $ 350.00
                                        Prosthodontic Services, Fixed       $ 40.00         -    $ 300.00
                                        Oral and Maxillofacial Surgery      $ 30.00         -    $ 350.00
                                        Orthodontic Services
                                         (medically necessary only)     $ 350.00            -    $ 350.00
                                          Adjunctive General Services       No Charge       -    $210.00

                                      NOTE: Limitations apply to the frequency with which some services may be
                                      obtained. For example: cleanings are limited to one in a 6-month period;
                                      Replacement of a crown is limited to once every 5+ years (60+ months) for
                                      Pediatric Enrollees.
(E) Outpatient Services               Not Covered
(F) Hospitalization Services          Not Covered
(G) Emergency Dental Coverage         Benefits for Emergency Dental Services by an Out-of-Network Dentist are
                                      limited to necessary care to stabilize the Enrollee's condition and/or provide
                                      palliative relief.
(H) Ambulance Services                Not Covered
(I) Prescription Drug Services        Not Covered
(J) Durable Medical Equipment         Not Covered
(K) Mental Health Services            Not Covered
(L) Chemical Dependency               Not Covered
     Services
(M) Home Health Services              Not Covered
(N) Other                             Not Covered

Each individual procedure within each category listed above, and that is covered under the pan, has a specific Copayment
that is shown in Schedule A, Description of Benefits and Copayments for Pediatric Enrollees in the EOC.




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DeltaCare® USA                                                                               deltadentalins.com




                                    HIPAA Notice of Privacy Practices

       CONFIDENTIALITY OF YOUR HEALTH INFORMATION

       THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE USED AND
       DISCLOSED AND HOW YOU CAN GET ACCESS TO THIS INFORMATION. PLEASE REVIEW IT
       CAREFULLY. Our privacy practices reflect applicable federal law as well as state law. The privacy
       laws of a particular state or other federal laws might impose a stricter privacy standard. If these
       stricter laws apply and are not superseded by federal preemption rules under the Employee
       Retirement Income Security Act of 1974, the Plans will comply with the stricter law.

       We are required by law to maintain the privacy and security of your Protected Health
       Information (PHI). Protected Health Information (PHI) is information that is maintained or
       transmitted by Delta Dental, which may identify you and that relates to your past, present, or
       future physical or mental health condition and related health care services.
       Some examples of PHI include your name, address, telephone and/or fax number, electronic
       mail address, social security number or other identification number, date of birth, date of
       treatment, treatment records, x-rays, enrollment and claims records. We receive, use and
       disclose your PHI to administer your benefit plan as permitted or required by law.


       We must follow the federal and state privacy requirements described that apply to our
       administration of your benefits and provide you with a copy of this notice. We reserve the right
       to change our privacy practices when needed and we promptly post the updated notice within
       60 days on our website.

       PERMITTED USES AND DISCLOSURES OF YOUR PHI
       Uses and disclosures of your PHI for treatment, payment or health care operations
       Your explicit authorization is not required to disclose information for purposes of health care
       treatment, payment of claims, billing of premiums, and other health care operations. Examples
       of this include processing your claims, collecting enrollment information and premiums,
       reviewing the quality of health care you receive, providing customer service, resolving your
       grievances, and sharing payment information with other insurers, determine your eligibility for
       services, billing you or your plan sponsor.

       If your benefit plan is sponsored by your employer or another party, we may provide PHI to your
       employer or plan sponsor to administer your benefits. As permitted by law, we may disclose PHI
       to third-party affiliates that perform services on our behalf to administer your benefits. Any
       third-party affiliates performing services on our behalf has signed a contract agreeing to protect
       the confidentiality of your PHI and has implemented privacy policies and procedures that comply
       with applicable federal and state law.


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       Permitted uses and disclosures without an authorization
       We are permitted to disclose your PHI upon your request, or to your authorized personal
       representative (with certain exceptions), when required by the U. S. Secretary of Health and
       Human Services to investigate or determine our compliance with the law, and when otherwise
       required by law. We may disclose your PHI without your prior authorization in response to the
       following:

       •   Court order;
       •   Order of a board, commission, or administrative agency for purposes of adjudication
           pursuant to its lawful authority;
       •   Subpoena in a civil action;
       •   Investigative subpoena of a government board, commission, or agency;
       •   Subpoena in an arbitration;
       •   Law enforcement search warrant; or
       •   Coroner’s request during investigations.
       Some other examples include: to notify or assist in notifying a family member, another person,
       or a personal representative of your condition; to assist in disaster relief efforts; to report
       victims of abuse, neglect or domestic violence to appropriate authorities; for organ donation
       purposes; to avert a serious threat to health or safety; for specialized government functions such
       as military and veterans activities; for workers’ compensation purposes; and, with certain
       restrictions, we are permitted to use and/or disclose your PHI for underwriting, provided it does
       not contain genetic information. Information can also be de-identified or summarized so it
       cannot be traced to you and, in selected instances, for research purposes with the proper
       oversight.

       Disclosures made with your authorization
       We will not use or disclose your PHI without your prior written authorization unless permitted
       by law. If you grant an authorization, you can later revoke that authorization, in writing, to stop
       the future use and disclosure.

       YOUR RIGHTS REGARDING PHI
       You have the right to request an inspection of and obtain a copy of your PHI.
       You may access your PHI by providing a written request. Your request must include (1) your
       name, address, telephone number and identification number, and (2) the PHI you are
       requesting. We will provide a copy or a summary of your health and claims records, usually
       within 30 days of your request. We may charge a fee for the costs of copying, mailing, or other
       supplies associated with your request. We will only maintain PHI that we obtain or utilize in
       providing your health care benefits. We may not maintain some PHI, such as treatment records
       or x-rays after we have completed our review of that information. You may need to contact your
       health care provider to obtain PHI that we do not possess.




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       You may not inspect or copy PHI compiled in reasonable anticipation of, or use in, a civil,
       criminal, or administrative action or proceeding, or PHI that is otherwise not subject to
       disclosure under federal or state law. In some circumstances, you may have a right to have this
       decision reviewed.

       You have the right to request a restriction of your PHI.
       You have the right to ask that we limit how we use and disclose your PHI; however, you may not
       restrict our legal or permitted uses and disclosures of PHI. While we will consider your request,
       we are not legally required to accept those requests that we cannot reasonably implement or
       comply with during an emergency.

       You have the right to correct or update your PHI.
       You may request to make an amendment of PHI we maintain about you. In certain cases, we
       may deny your request for an amendment. If we deny your request for amendment, you have
       the right to file a statement of disagreement with us and we may prepare a rebuttal to your
       statement and will provide you with a copy of any such rebuttal within 60 days. If your PHI was
       sent to us by another, we may refer you to that person to amend your PHI. For example, we may
       refer you to your provider to amend your treatment chart or to your employer, if applicable, to
       amend your enrollment information.

       You have rights related to the use and disclosure of your PHI for marketing.
       We will obtain your authorization for the use or disclosure of PHI for marketing when required
       by law. You have the right to withdraw your authorization at any time. We do not use your PHI
       for fundraising purposes.

       You have the right to request or receive confidential communications from us by alternative
       means or at a different address.
       You have the right to request that we communicate with you in a certain way or at a certain
       location. For example, you can ask that we only contact you at work or by mail. We will not ask
       you the reason for your request. We will accommodate all reasonable requests. Your request
       must specify how or where you wish to be contacted.

       You have the right to receive an accounting of certain disclosures we have made, if any, of
       your PHI.
       You have a right to an accounting of disclosures with some restrictions. This right does not apply
       to disclosures for purposes of treatment, payment, or health care operations or for information
       we disclosed after we received a valid authorization from you. Additionally, we do not need to
       account for disclosures made to you, to family members or friends involved in your care, or for
       notification purposes. We do not need to account for disclosures made for national security
       reasons, certain law enforcement purposes or disclosures made as part of a limited data set.
       We’ll provide one accounting a year for free but will charge a reasonable, cost-based fee if you
       ask for another accounting within 12 months.




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       You have the right to a paper copy of this notice.
       A copy of this notice is posted on our website. You may also request that a copy be sent to you.

       You have the right to be notified following a breach of unsecured protected health
       information.

       We will notify you in writing, at the address on file, if we discover we compromised the privacy
       of your PHI.

       You have the right to choose someone to act for you.
       If you have given someone medical power of attorney or if someone is your legal guardian, that
       person can exercise your rights and make choices about your health information. We will make
       sure the person has this authority and can act for you before we take any action.

       COMPLAINTS
       You may file a complaint with us and/or with the U. S. Secretary of Health and Human Services if
       you believe we have violated your privacy rights. We will not retaliate against you for filing a
       complaint.

       CONTACTS
       You may contact us by calling 800-589-4618, or you may write to the address listed below for
       further information about the complaint process or any of the information contained in this
       notice.

       DeltaCare USA
       PO Box 1870
       Alpharetta, GA 30023


       This notice is effective on and after March 1, 2019.




       DeltaCare USA is underwritten in these states by these entities: AL — Alpha Dental of Alabama, Inc.; AZ — Alpha
       Dental of Arizona, Inc.; CA — Delta Dental of California; AR, CO, IA, MA, ME, MI, MN, NC, ND, NE, NH, OK, OR, RI, SC,
       SD, VA, VT, WA, WI, WY — Dentegra Insurance Company; AK, CT, DC, DE, FL, GA, KS, LA, MS, MT, TN, WV — Delta
       Dental Insurance Company; HI, ID, IL, IN, KY, MD, MO, NJ, OH, TX — Alpha Dental Programs, Inc.; NV — Alpha Dental
       of Nevada, Inc.; UT — Alpha Dental of Utah, Inc.; NM — Alpha Dental of New Mexico, Inc.; NY — Delta Dental of
       New York, Inc.; PA — Delta Dental of Pennsylvania. Delta Dental Insurance Company acts as the DeltaCare USA
       administrator in all these states. These companies are financially responsible for their own products.




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DeltaCare® USA                                                                               deltadentalins.com




                                     Non-Discrimination Disclosure

       Discrimination is Against the Law

       We comply with applicable federal civil rights laws and do not discriminate on the basis of race,
       color, national origin, age, disability, or sex, including sex stereotypes and gender identity. We
       do not exclude people or treat them differently because of their race, color, national origin,
       age, disability, or sex.

       Coverage for medically necessary health services are available on the same terms for all
       individuals, regardless of sex assigned at birth, gender identity, or recorded gender. We will not
       deny or limit coverage to any health service based on the fact that an individual’s sex assigned
       at birth, gender identity, or recorded gender is different from the one to which such health
       service is ordinarily available. We will not deny or limit coverage for a specific health service
       related to gender transition if such denial or limitation results in discriminating against a
       transgender individual.

       If you believe that we have failed to provide these services or discriminated in another way on
       the basis of race, color, national origin, age, disability, or sex, you can file a grievance
       electronically online, over the phone with a customer service representative, or by mail.

       DeltaCare USA
       PO Box 1870
       Alpharetta, GA 30023
       800-589-4618
       deltadentalins.com

       You can also file a civil rights complaint with the U.S. Department of Health and Human Services
       Office for Civil Rights electronically through the Office for Civil Rights Complaint Portal,
       available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at: U.S.
       Department of Health and Human Services, 200 Independence Avenue SW, Room 509F, HHH
       Building, Washington DC 20201, 1-800-368-1019, 800-537-7697 (TDD). Complaint forms are
       available at http://www.hhs.gov/ocr/office/file/index.html.


       We provide free aids and services to people with disabilities to communicate effectively with
       us, such as:
       • qualified sign language interpreters
       • written information in other formats (large print, audio, accessible electronic formats, other
           formats)




Non-Discrimination Disclosure                         156                                          #121372_DCU (7-19)
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       We also provide free language services to people whose primary language is not English, such
       as:
       • qualified interpreters
       • information written in other languages
       If you need these services, contact our Customer Service department.




       DeltaCare USA is underwritten in these states by these entities: AL — Alpha Dental of Alabama, Inc.; AZ — Alpha
       Dental of Arizona, Inc.; CA — Delta Dental of California; AR, CO, IA, MA, ME, MI, MN, NC, ND, NE, NH, OK, OR, RI,
       SC, SD, VA, VT, WA, WI, WY — Dentegra Insurance Company; AK, CT, DC, DE, FL, GA, KS, LA, MS, MT, TN, WV —
       Delta Dental Insurance Company; HI, ID, IL, IN, KY, MD, MO, NJ, OH, TX — Alpha Dental Programs, Inc.; NV — Alpha
       Dental of Nevada, Inc.; UT — Alpha Dental of Utah, Inc.; NM — Alpha Dental of New Mexico, Inc.; NY — Delta
       Dental of New York, Inc.; PA — Delta Dental of Pennsylvania. Delta Dental Insurance Company acts as the
       DeltaCare USA administrator in all these states. These companies are financially responsible for their own
       products.




Non-Discrimination Disclosure                                157                                                #121372_DCU (7-19)
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DeltaCare® USA                                                                                 deltadentalins.com




                                            ENROLLEE NOTICES

      Federal and state laws require enrollees to be notified on a periodic basis about enrollee rights
      and privacy practices. Below is a summary of the notices that are available under the legal or
      privacy section of our webpage. To access the most current version and the full text of each
      notice, please visit our website at deltadentalins.com.

      Federal Notices:
      • HIPAA Notice of Privacy Practices (NPP): Federal regulations require insurance plans to
         share information about the company’s privacy practices. This is called a “Notice of Privacy
         Practices (NPP)” and should be read when an individual first becomes an enrollee and
         reviewed at least every three years thereafter.

      •   Gramm-Leach-Bliley (GLB): Financial institutions and insurance companies must describe
          how demographic and financial information is collected and shared. California requires a
          state specific notice called the California Financial Privacy Notice, which is described below
          under the State Notices section.

      •   Notice of Non-Discrimination: We comply with applicable federal civil rights laws and do
          not discriminate on the basis of race, color, national origin, age, disability, or sex, including
          sex stereotypes and gender identity. If you believe we have failed to provide these services
          or discriminated in another way on the basis of race, color, national origin, age, disability, or
          sex, you can file a grievance electronically online, over the phone with a customer service
          representative, or by mail.

      •   Language Assistance Notice and Survey: Delta Dental provides phone interpretation to
          callers who do not speak English. In California, Delta Dental will also provide, on request, a
          translated copy of certain vital documents in either Spanish or Chinese. In Maryland and
          Washington DC, enrollees may receive grievance materials in Spanish or Chinese.

      State Notices:
      • CA Financial Privacy Notice: This notice to Californians describes our demographic and
          financial information collection and sharing practices. It is similar to the Gramm-Leach-Bliley
          (GLB) notice described above.

      •   CA Grievance Process: This notice describes our procedure for processing and resolving
          enrollee grievances and gives the address and phone number to make a complaint.
          Californians are encouraged to read this notice when they first enroll and annually
          thereafter.
      •   CA Timely Access to Care: California law requires heath plans to provide timely access to
          care. This law sets limits on how long enrollees have to wait to get appointments and
          telephone assistance.


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      •   CA Tissue and Organ Donations: This notice informs subscribers of the societal benefits of
          organ donation and the methods they can use to become organ and/or tissue donors.
          California regulations require every health plan to provide this information upon enrollment
          and annually thereafter.

      For questions concerning the notices, please contact us at 800-589-4618. You may also write to
      us at:

      DeltaCare USA
      PO Box 1870
      Alpharetta, GA 30023




      DeltaCare USA is underwritten in these states by these entities: AL — Alpha Dental of Alabama, Inc.; AZ — Alpha
      Dental of Arizona, Inc.; CA — Delta Dental of California; AR, CO, IA, MA, ME, MI, MN, NC, ND, NE, NH, OK, OR, RI,
      SC, SD, VA, VT, WA, WI, WY — Dentegra Insurance Company; AK, CT, DC, DE, FL, GA, KS, LA, MS, MT, TN, WV —
      Delta Dental Insurance Company; HI, ID, IL, IN, KY, MD, MO, NJ, OH, TX — Alpha Dental Programs, Inc.; NV — Alpha
      Dental of Nevada, Inc.; UT — Alpha Dental of Utah, Inc.; NM — Alpha Dental of New Mexico, Inc.; NY — Delta
      Dental of New York, Inc.; PA — Delta Dental of Pennsylvania. Delta Dental Insurance Company acts as the
      DeltaCare USA administrator in all these states. These companies are financially responsible for their own
      products.




Enrollee Notices                                              159                                               #121372_DCU (7-19)
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            Kaiser Foundation Health Plan, Inc.
            Northern and Southern California Regions

            A nonprofit corporation



EOC # 1 -   Kaiser Permanente for Small Business
            Combined Evidence of Coverage and Disclosure Form for
            CaliforniaChoice




            Kaiser Permanente Platinum HMO A
            EOC Number: 1




            Contract Year 2021




                                                       Member Service Contact Center
                                                       24 hours a day, seven days a week (except closed holidays)
                                                       1-800-464-4000 (TTY users call 711)
                                                       kp.org




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Language Assistance Services
English: Language assistance is available at no cost to you, 24 hours
a day, 7 days a week. You can request interpreter services, materials
translated into your language, or in alternative formats. Just call us
at 1-800-464-4000, 24 hours a day, 7 days a week (closed holidays).
TTY users call 711.
‫ بإمكانك طلب خدمة الترجمة الفورية أو ترجمة وثائق للغتك أو‬.‫ خدمات الترجمة الفورية متوفرة لك مجانًا على مدار الساعة كافة أيام األسبوع‬:Arabic
  ‫ لمستخدمي خدمة‬.)‫ على مدار الساعة كافة أيام األسبوع (مغلق أيام العطالت‬1-800-464-4000 ‫ ما عليك سوى االتصال بنا على الرقم‬.‫لصيغ أخرى‬
                                                                                               .)711( ‫الهاتف النصي يرجي االتصال على الرقم‬
Armenian: Ձեզ կարող է անվճար օգնություն տրամադրվել լեզվի հարցում` օրը 24 ժամ, շաբաթը 7
օր: Դուք կարող եք պահանջել բանավոր թարգմանչի ծառայություններ, Ձեր լեզվով թարգմանված
կամ այլընտրանքային ձևաչափով պատրաստված նյութեր: Պարզապես զանգահարեք մեզ` 1-800-
464-4000 հեռախոսահամարով` օրը 24 ժամ` շաբաթը 7 օր (տոն օրերին փակ է): TTY-ից
օգտվողները պետք է զանգահարեն 711:

Chinese: 您每週7天，每天24小時均可獲得免費語言協助。您可以申請口譯服務、要求將資料翻譯成您所
用語言或轉換為其他格式。我們每週7天，每天24小時均歡迎您打電話1-800-757-7585 前來聯絡（節假日
休息）。聽障及語障專線 (TTY) 使用者請撥711。
      ‫ شما می توانيد برای خدمات مترجم‬.‫ روز هفته بدون اخذ هزينه در اختيار شما است‬7 ‫ ساعت شبانروز و‬24 ‫ خدمات زبانی در‬:Farsi
              ‫ روز هفته‬7 ‫ ساعت شبانروز و‬24 ‫ کافيست در‬.‫ ترجمه جزوات به زبان شما و يا به صورتهای ديگر درخواست کنيد‬،‫شفاهی‬
             .‫ تماس بگيرند‬711 ‫ با شماره‬TTY ‫ کاربران‬.‫ تماس بگيريد‬1-800-464-4000 ‫(به استثنای روزهای تعطيل) با ما به شماره‬

Hindi: बिना बिसी लागत िे दु भाबिया सेवाएँ , बदन िे 24 घंटे, सप्ताह िे सात ं बदन उपलब्ध हैं । आप एि दु भाबिये िी
सेवाओं िे बलए, बिना बिसी लागत िे सामबिय ं ि अपनी भािा में अनुवाद िरवाने िे बलए, या वैिल्पिि प्रारूप ं िे बलए
अनुर ध िर सिते हैं । िस िेवल हमें 1-800-464-4000 पर, बदन िे 24 घंटे, सप्ताह िे सात ं बदन (छु बिय ं वाले बदन िंद
रहता है ) िॉल िरें । TTY उपय गिताा 711 पर िॉल िरें ।
Hmong: Muajkwc pab txhais lus pub dawb rau koj, 24 teev ib hnub twg, 7 hnub ib lim tiam twg. Koj thov tau
cov kev pab txhais lus, muab cov ntaub ntawv txhais ua koj hom lus, los yog ua lwm hom. Tsuas hu rau
1-800-464-4000, 24 teev ib hnub twg, 7 hnub ib lim tiam twg (cov hnub caiv kaw). Cov neeg siv TTY hu 711.

Japanese: 当院では、言語支援を無料で、年中無休、終日ご利用いただけます。通訳サービス、日本語
に翻訳された資料、あるいは資料を別の書式でも依頼できます。お気軽に 1-800-464-4000 までお電話く
ださい （祭日を除き年中無休）。TTYユーザーは711にお電話ください。




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Korean: 요일 및 시간에 관계없이 언어 지원 서비스를 무료로 이용하실 수 있습니다. 귀하는 통역
서비스, 귀하의 언어로 번역된 자료 또는 대체 형식의 자료를 요청할 수 있습니다. 요일 및 시간에
관계없이 1-800-464-4000번으로 전화하십시오 (공휴일 휴무). TTY 사용자 번호 711.
Laotian: ການຊ່ ວຍເຫຼື ອດ້ ານພາສາມີໃຫ້ ໂດຍບ່ ເສັຽຄ່ າແກ່ ທ່ານ, ຕະຫອດ 24 ຊ່ ວໂມງ, 7 ວັນຕ່ ອາທິດ. ທ່ ານສາມາດຮ້ ອງຂຮັບ
ບລິການນາຍພາສາ, ໃຫ້ ແປເອກະສານເປັນພາສາຂອງທ່ ານ, ຫຼື ໃນຮູ ບແບບອຼື່ນ. ພຽງແຕ່ ໂທຣຫາພວກເຮາທີ່ 1-800-464-
4000, ຕະຫອດ 24 ຊ່ ວໂມງ, 7 ວັນຕ່ ອາທິດ (ປິດວັນພັກຕ່ າງໆ). ຜູ ້ ໃຊ້ ສາຍ TTY ໂທຣ 711.
Navajo: Saad bee áká'a'ayeed náhólǫ́ t'áá jiik'é, naadiin doo bibąą' dį́ į́ ' ahéé'iikeed tsosts'id yiską́ąjį́ damoo
ná'ádleehjį́ . Atah halne'é áká'adoolwołígíí jókí, t'áadoo le'é t'áá hóhazaadjį́ hadilyąą'go, éí doodaii' nááná lá ał'ąą
ádaat'ehígíí bee hádadilyaa'go. Kojį́ hodiilnih 1-800-464-4000, naadiin doo bibąą' dį́ į́ ' ahéé'iikeed tsosts'id
yiską́ąjį́ damoo ná'ádleehjį́ (Dahodiyin biniiyé e'e'aahgo éí da'deelkaal). TTY chodeeyoolínígíí kojį́ hodiilnih 711.
Punjabi: ਬਿਨਾਾਂ ਬਿਸੀ ਲਾਗਤ ਦੇ, ਬਦਨ ਦੇ 24 ਘੰਟੇ, ਹਫਤੇ ਦੇ 7 ਬਦਨ, ਦੁਭਾਸੀਆ ਸੇਵਾਵਾਾਂ ਤੁ ਹਾਡੇ ਲਈ ਉਪਲਿਧ ਹੈ। ਤੁ ਸੀ ਾਂ ਇੱਿ
ਦੁਭਾਸੀਏ ਦੀ ਮਦਦ ਲਈ, ਸਮੱਗਰੀਆਾਂ ਨੰ ਆਪਣੀ ਭਾਸਾ ਬਵੱਚ ਅਨੁਵਾਦ ਿਰਵਾਉਣ ਲਈ, ਜਾਾਂ ਬਿਸੇ ਵੱਖ ਫਾਰਮੈਟ ਬਵੱਚ ਪਰਾਪਤ ਿਰਨ
ਲਈ ਿੇਨਤੀ ਿਰ ਸਿਦੇ ਹੋ। ਿਸ ਬਸਰਫ਼ ਸਾਨੰ 1-800-464-4000 ਤੇ, ਬਦਨ ਦੇ 24 ਘੰਟੇ, ਹਫ਼ਤੇ ਦੇ 7 ਬਦਨ (ਛੁਟ    ੱ ੀਆਾਂ ਵਾਲੇ ਬਦਨ ਿੰਦ
ਰਬਹੰਦਾ ਹੈ) ਫ਼ੋਨ ਿਰੋ। TTY ਦਾ ਉਪਯੋਗ ਿਰਨ ਵਾਲੇ 711 'ਤੇ ਫ਼ੋਨ ਿਰਨ।
Russian: Мы бесплатно обеспечиваем Вас услугами перевода 24 часа в сутки, 7 дней в неделю. Вы
можете воспользоваться помощью устного переводчика, запросить перевод материалов на свой язык или
запросить их в одном из альтернативных форматов. Просто позвоните нам по телефону 1-800-464-4000,
который доступен 24 часа в сутки, 7 дней в неделю (кроме праздничных дней). Пользователи линии TTY
могут звонить по номеру 711.
Spanish: Contamos con asistencia de idiomas sin costo alguno para usted 24 horas al día, 7 días a la semana.
Puede solicitar los servicios de un intérprete, que los materiales se traduzcan a su idioma o en formatos
alternativos. Solo llame al 1-800-788-0616, 24 horas al día, 7 días a la semana (cerrado los días festivos). Los
usuarios de TTY, deben llamar al 711.
Tagalog: May magagamit na tulong sa wika nang wala kang babayaran, 24 na oras bawat araw, 7 araw bawat
linggo. Maaari kang humingi ng mga serbisyo ng tagasalin sa wika, mga babasahin na isinalin sa iyong wika o
sa mga alternatibong format. Tawagan lamang kami sa 1-800-464-4000, 24 na oras bawat araw, 7 araw bawat
linggo (sarado sa mga pista opisyal). Ang mga gumagamit ng TTY ay maaaring tumawag sa 711.
                                              ่ั
Thai: เรามีบริการล่ามฟรีสาหรับคุณตลอด 24 ชวโมงทุ               ่ั
                                                    กวันตลอดชวโมงทาการของเรา
คุณสามารถขอให้ล่ามช่วยตอบคาถามของคุณที่เกียวกั   ่ บความคุม้ ครองการดูแลสุขภาพของเรา
และคุณยังสามารถขอให้มีการแปลเอกสารเป็ นภาษาที่คุณใช ้ไดโ้ ดยไม่มีการคิดค่าบริการ เพียงโทรหาเราที่หมายเลข
                           ่ั
1-800-464-4000 ตลอด 24 ชวโมงทุ   กวัน (ปิ ดให้บริการในวันหยุดราชการ) ผูใ้ ช ้ TTY โปรดโทรไปที่ 711.
Vietnamese: Dịch vụ thông dịch được cung cấp miễn phí cho quý vị 24 giờ mỗi ngày, 7 ngày trong tuần. Quý vị
có thể yêu cầu dịch vụ thông dịch, tài liệu phiên dịch ra ngôn ngữ của quý vị hoặc tài liệu bằng nhiều hình thức
khác. Quý vị chỉ cần gọi cho chúng tôi tại số 1-800-464-4000, 24 giờ mỗi ngày, 7 ngày trong tuần (trừ các ngày
lễ). Người dùng TTY xin gọi 711.




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                                  Nondiscrimination Notice

Kaiser Permanente does not discriminate on the basis of age, race, ethnicity, color, national
origin, cultural background, ancestry, religion, sex, gender identity, gender expression, sexual
orientation, marital status, physical or mental disability, source of payment, genetic
information, citizenship, primary language, or immigration status.
Language assistance services are available from our Member Service Contact Center
24 hours a day, 7 days a week (except closed holidays). Interpreter services, including sign
language, are available at no cost to you during all hours of operation. Auxiliary aids and
services for individuals with disabilities are available at no cost to you during all hours of
operation. We can also provide you, your family, and friends with any special assistance
needed to access our facilities and services. You may request materials translated in your
language at no cost to you. You may also request these materials in large text or in other
formats to accommodate your needs at no cost to you. For more information, call
1-800-464-4000 (TTY 711).
A grievance is any expression of dissatisfaction expressed by you or your authorized
representative through the grievance process. For example, if you believe that we have
discriminated against you, you can file a grievance. Please refer to your Evidence of
Coverage or Certificate of Insurance or speak with a Member Services representative for the
dispute-resolution options that apply to you.
You may submit a grievance in the following ways:
   •   By phone: Call member services at 1-800-464-4000 (TTY 711) 24 hours a day,
       7 days a week (except closed holidays).
   •   By mail: Call us at 1-800-464-4000 (TTY 711) and ask to have a form sent to you.
   •   In person: Fill out a Complaint or Benefit Claim/Request form at a member services
       office located at a Plan Facility (go to your provider directory at kp.org/facilities for
       addresses)
   •   Online: Use the online form on our website at kp.org
Please call our Member Service Contact Center if you need help submitting a grievance.
The Kaiser Permanente Civil Rights Coordinator will be notified of all grievances related to
discrimination on the basis of race, color, national origin, sex, age, or disability. You may also
contact the Kaiser Permanente Civil Rights Coordinator directly at:
Northern California
                                                     Southern California
Civil Rights/ADA Coordinator
                                                     Civil Rights/ADA CoordinatorSCAL
1800 Harrison St.
                                                     Compliance and Privacy
16th Floor                                           393 East Walnut St.,
Oakland, CA 94612
                                                     Pasadena, CA 91188


You can also file a civil rights complaint with the U.S. Department of Health and Human
Services, Office for Civil Rights electronically through the Office for Civil Rights Complaint
Portal, available at ocrportal.hhs.gov/ocr/portal/lobby.jsf or by mail or phone at: U.S.
Department of Health and Human Services, 200 Independence Ave. SW, Room 509F, HHH



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Building, Washington, DC 20201, 1-800-368-1019, 1-800-537-7697 (TTY). Complaint forms
are available at hhs.gov/ocr/office/file/index.html.




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                                Aviso de no discriminación

Kaiser Permanente no discrimina a ninguna persona por su edad, raza, etnia, color, país de
origen, antecedentes culturales, ascendencia, religión, sexo, identidad de género, expresión
de género, orientación sexual, estado civil, discapacidad física o mental, fuente de pago,
información genética, ciudadanía, lengua materna o estado migratorio.
La Central de Llamadas de Servicio a los Miembros brinda servicios de asistencia con el
idioma las 24 horas del día, los 7 días de la semana (excepto los días festivos). Se ofrecen
servicios de interpretación sin costo alguno para usted durante el horario de atención,
incluido el lenguaje de señas. Se ofrecen aparatos y servicios auxiliares para personas con
discapacidades sin costo alguno durante el horario de atención. También podemos ofrecerle
a usted, a sus familiares y amigos cualquier ayuda especial que necesiten para acceder a
nuestros centros de atención y servicios. Puede solicitar los materiales traducidos a su
idioma sin costo para usted. También los puede solicitar con letra grande o en otros formatos
que se adapten a sus necesidades sin costo para usted. Para obtener más información,
llame al 1-800-788-0616 (TTY 711).
Una queja es una expresión de inconformidad que manifiesta usted o su representante
autorizado a través del proceso de quejas. Por ejemplo, si usted cree que ha sufrido
discriminación de nuestra parte, puede presentar una queja. Consulte su Evidencia de Cobertura
(Evidence of Coverage) o Certificado de Seguro (Certificate of Insurance), o comuníquese con un
representante de Servicio a los Miembros para conocer las opciones de resolución de disputas que
le corresponden.
Puede presentar una queja de las siguientes maneras:
   •   Por teléfono: Llame a servicio a los miembros al 1-800-788-0616 (TTY 711) las
       24 horas del día, los 7 días de la semana (excepto los días festivos).
   •   Por correo postal: Llámenos al 1-800-788-0616 (TTY 711) y pida que se le envíe
       un formulario.
   •   En persona: Llene un formulario de Queja Formal o Reclamo/Solicitud de Beneficios
       en una oficina de servicio a los miembros ubicada en un Centro de Atención del Plan
       (consulte su directorio de proveedores en kp.org/facilities [haga clic en “Español”]
       para obtener las direcciones).
   •   En línea: Use el formulario en línea en nuestro sitio web en kp.org/espanol.
Llame a nuestra Central de Llamadas de Servicio a los Miembros si necesita ayuda para
presentar una queja.
Se le informará al Coordinador de Derechos Civiles de Kaiser Permanente (Civil Rights
Coordinator) de todas las quejas relacionadas con la discriminación por motivos de raza, color,
país de origen, género, edad o discapacidad. También puede comunicarse directamente con
el coordinador de derechos civiles de Kaiser Permanente en:

Northern California                                Southern California
Civil Rights/ADA Coordinator                       Civil Rights/ADA Coordinator
1800 Harrison St.                                  SCAL Compliance and Privacy
16th Floor                                         393 East Walnut St.,
Oakland, CA 94612                                  Pasadena, CA 91188




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También puede presentar una queja formal de derechos civiles de forma electrónica ante la
Oficina de Derechos Civiles (Office for Civil Rights) en el Departamento de Salud y Servicios
Humanos de los Estados Unidos (U.S. Department of Health and Human Services) mediante
el Portal de Quejas Formales de la Oficina de Derechos Civiles (Office for Civil Rights
Complaint Portal), en ocrportal.hhs.gov/ocr/portal/lobby.jsf (en inglés) o por correo postal o por
teléfono a: U.S. Department of Health and Human Services, 200 Independence Ave. SW,
Room 509F, HHH Building, Washington, D.C. 20201, 1-800-368-1019, 1-800-537-7697 (TTY).
Los formularios de queja formal están disponibles en hhs.gov/ocr/office/file/index.html (en
inglés).




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                                      無歧視公告

Kaiser Permanente禁止以年齡、人種、族裔、膚色、原國籍、文化背景、血統、宗教、性別、
性別認同、性別表達、性取向、婚姻狀況、生理或心理殘障、付款來源、遺傳資訊、公民身
份、主要語言或移民身份為由而歧視任何人。
會員服務聯絡中心每週7天每天24小時提供語言協助服務（節假日除外）。本機構在全部營業
時間內免費為您提供口譯服務，包括手語服務，以及殘障人士輔助器材和服務。我們還可為您
和您的親友提供使用本機構設施與服務所需要的任何特別協助。您可免費索取翻譯成您的語言
的資料。您還可免費索取符合您需求的大號字體或其他格式的版本。若需更多資訊，請致電
1-800-757-7585（TTY 711）。
申訴指任何您或您的授權代表透過申訴程序來表達不滿的做法。例如，如果您認為自己受到歧
視，即可提出申訴。若需瞭解適用於自己的爭議解決選項，請參閱《承保範圍說明書》
(Evidence of Coverage)或《保險證明書》(Certificate of Insurance)，或諮詢會員服務代表。
您可透過以下方式提出申訴：
   •   透過電話：請致電1-800-757-7585（TTY 711）與會員服務部聯絡，服務時間為每週
       7天，每天24小時（節假日除外）。
   •   透過郵件：請致電1-800-757-7585（TTY 711）與我們聯絡並請我們將表格寄給您。
   •   親自遞交：在計劃設施的會員服務辦事處填寫投訴或福利理索賠／申請表（請參閱
       kp.org/facilities上的保健業者名錄以查看地址）
   •   線上：使用我們網站上的線上表格，網址為kp.org
如果您在提交申訴時需要協助，請致電我們的會員服務聯絡中心。
涉及人種、膚色、原國籍、性別、年齡或殘障歧視的一切申訴都將通知Kaiser Permanente的民
權事務協調員 (Civil Rights Coordinator)。您也可與Kaiser Permanente的民權事務協調員直接聯
絡，地址：
Northern California                             Southern California
Civil Rights/ADA Coordinator                    Civil Rights/ADA Coordinator
1800 Harrison St.                               SCAL Compliance and Privacy
16th Floor                                      393 East Walnut St.,
Oakland, CA 94612                               Pasadena, CA 91188


您還可以電子方式透過民權辦公室的投訴入口網站 (Office for Civil Rights Complaint Portal)
向美國衛生與民眾服務部 (U.S. Department of Health and Human Services) 民權辦公室 (Office
for Civil Rights) 提出民權投訴，網址是ocrportal.hhs.gov/ocr/portal/lobby.jsf或者按照如下資訊
採用郵寄或電話方式聯絡：U.S. Department of Health and Human Services, 200 Independence Ave.
SW, Room 509F, HHH Building, Washington, DC 20201, 1-800-368-1019, 1-800-537-7697 (TTY)。
投訴表可從網站hhs.gov/ocr/office/file/index.html下載。




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                                      Thông Báo Không Kỳ Thị
Kaiser Permanente không phân biệt đối xử dựa trên tuổi tác, chủng tộc, sắc tộc, màu da, nguyên quán,
hoàn cảnh văn hóa, tổ tiên, tôn giáo, giới tính, nhận dạng giới tính, cách thể hiện giới tính, khuynh
hướng tình dục, gia cảnh, khuyết tật về thể chất hoặc tinh thần, nguồn tiền thanh toán, thông tin di
truyền, quốc tịch, ngôn ngữ chính, hay tình trạng di trú.
Các dịch vụ trợ giúp ngôn ngữ hiện có từ Trung Tâm Liên Lạc ban Dịch Vụ Hội Viên của chúng tôi
24 giờ trong ngày, 7 ngày trong tuần (ngoại trừ ngày lễ). Dịch vụ thông dịch, kể cả ngôn ngữ ký hiệu,
được cung cấp miễn phí cho quý vị trong giờ làm việc. Các phương tiện trợ giúp và dịch vụ bổ sung
cho những người khuyết tật được cung cấp miễn phí cho quý vị trong giờ làm việc. Chúng tôi cũng có
thể cung cấp cho quý vị, gia đình và bạn bè quý vị mọi hỗ trợ đặc biệt cần thiết để sử dụng cơ sở và
dịch vụ của chúng tôi. Quý vị có thể yêu cầu miễn phí tài liệu được dịch ra ngôn ngữ của quý vị. Quý
vị cũng có thể yêu cầu miễn phí các tài liệu này dưới dạng chữ lớn hoặc dưới các dạng khác để đáp
ứng nhu cầu của quý vị. Để biết thêm thông tin, gọi 1-800-464-4000 (TTY 711).
Một phàn nàn là bất cứ thể hiện bất mãn nào được quý vị hay vị đại diện được ủy quyền của quý vị
trình bày qua thủ tục phàn nàn. Ví dụ, nếu quý vị tin rằng chúng tôi đã kỳ phân biệt đối xử với vị, quý
vị có thể đệ đơn phàn nàn. Vui lòng tham khảo Chứng Từ Bảo Hiểm (Evidence of Insurance) hay
Chứng Nhận Bảo Hiểm (Certificate of Insurance), hoặc nói chuyện với một nhân viên ban Dịch Vụ
Hội Viên để biết các lựa chọn giải quyết tranh chấp có thể áp dụng cho quý vị.
Quý vị có thể nộp đơn phàn nàn bằng các hình thức sau đây:
       •   Qua điện thoại: Gọi cho ban dịch vụ hội viên theo số 1-800-464-4000 (TTY 711) 24 giờ
           trong ngày, 7 ngày trong tuần (ngoại trừ đóng cửa ngày lễ).
       •   Qua bưu điện: Gọi cho chúng tôi theo số 1-800-464-4000 (TTY 711) và yêu cầu được gửi
           một mẫu đơn.
       •   Trực tiếp: Điền một mẫu đơn Than Phiền hay Yêu Cầu Quyền Lợi/Yêu Cầu tại một văn
           phòng ban dịch vụ hội viên tại một Cơ Sở Thuộc Chương Trình (xem danh mục nhà cung
           cấp của quý vị tại kp.org/facilities để biết địa chỉ)
       •   Trực tuyến: Sử dụng mẫu đơn trực tuyến trên trang mạng của chúng tôi tại kp.org
Xin gọi Trung Tâm Liên Lạc ban Dịch Vụ Hội Viên của chúng tôi nếu quý vị cần trợ giúp nộp
đơn phàn nàn.
Điều Phối Viên Dân Quyền (Civil Rights Coordinator) Kaiser Permanente sẽ được thông báo về tất cả
phàn nàn liên quan tới việc kỳ thị trên cơ sở chủng tộc, màu da, nguyên quán, giới tính, tuổi tác, hay
tình trạng khuyết tật. Quý vị cũng có thể liên lạc trực tiếp với Điều Phối Viên Dân Quyền
Kaiser Permanente tại:


Northern California                                     Southern California
Civil Rights/ADA Coordinator                            Civil Rights/ADA Coordinator
1800 Harrison St.                                       SCAL Compliance and Privacy
16th Floor                                              393 East Walnut St.,
Oakland, CA 94612                                       Pasadena, CA 91188




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Quý vị cũng có thể đệ đơn than phiền về dân quyền với Bộ Y Tế và Nhân Sinh Hoa Kỳ
(U.S. Department of Health and Human Services), Phòng Dân Quyền (Office of Civil Rights) bằng
đường điện tử thông qua Cổng Thông Tin Phòng Phụ Trách Khiếu Nại về Dân Quyền (Office for Civil
Rights Complaint Portal), hiện có tại ocrportal.hhs.gov/ocr/portal/lobby.jsf, hay bằng đường bưu điện
hoặc điện thoại tại: U.S. Department of Health and Human Services, 200 Independence Ave. SW,
Room 509F, HHH Building, Washington, D.C. 20201, 1-800-368-1019, 1-800-537-7697 (TTY).
Mẫu đơn than phiền hiện có tại hhs.gov/ocr/office/file/index.html.




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Cost Share Summary
This "Cost Share Summary" is part of your Evidence of Coverage (EOC) and is meant to explain the amount you will pay for
covered Services under this plan. It does not provide a full description of your benefits. For a full description of your benefits,
including any limitations and exclusions, please read this entire EOC, including any amendments, carefully.


Accumulation Period
The Accumulation Period for this plan is January 1 through December 31.


Deductible(s) and Out-of-Pocket Maximum(s)
For Services that apply to the Plan Out-of-Pocket Maximum, you will not pay any more Cost Share for the rest of the
 Accumulation Period once you have reached the amounts listed below.
                                                                           Family Coverage            Family Coverage
                                                Self-Only Coverage
   Amounts Per Accumulation Period                                    Each Member in a Family Entire Family of two or
                                             (a Family of one Member)
                                                                       of two or more Members           more Members
Plan Deductible                                        None                      None                         None
Drug Deductible                                        None                      None                         None
Plan Out-of-Pocket Maximum ("OOPM")                   $3,000                    $3,000                       $6,000


Cost Share Summary Tables by Benefit
How to read the Cost Share summary tables
Each table below explains the Cost Share for a category of benefits. Specific Services related to the benefit are described in
the first column of each table. For a detailed description of coverage for a particular benefit, please refer to the same benefit
heading in the "Benefits" section of this EOC.
     •    Copayment / Coinsurance. This column describes the Cost Share you will pay for Services after you have met your
          Plan Deductible or Drug Deductible, if applicable. (Please see the "Deductible(s) and Out-of-Pocket Maximum(s)"
          section above to determine if your plan includes deductibles.) If the Services are not covered in your plan, this
          column will read "Not covered." If we provide an Allowance that you can use toward the cost of the Services, this
          column will include the Allowance.
     •    Subject to Deductible. This column explains whether the Cost Share you pay for Services is subject to a Plan
          Deductible or Drug Deductible. If the Services are subject to a deductible, you will pay Charges for those Services
          until you have met your deductible. If the Services are subject to a deductible, there will be a "✔" or "●" in this
          column, depending on which deductible applies ("✔" for Plan Deductible, "●" for Drug Deductible). If the Services
          do not apply to a deductible, or if your plan does not include a deductible, this column will be blank. For a more
          detailed explanation of deductibles, please refer to "Plan Deductible" and "Drug Deductible" in the "Benefits"
          section of this EOC.
     •    OOPM. This column explains whether the Cost Share you pay for Services counts toward the Plan Out-of-Pocket
          Maximum ("OOPM") after you have met any applicable deductible. If the Services count toward the Plan OOPM,
          there will be a "✔" in this column. If the Services do not count toward the Plan OOPM, this column will be blank.
          For a more detailed explanation of the Plan OOPM, please refer to "Plan Out-of-Pocket Maximum" heading in the
          "Benefits" section of this EOC.




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Administered drugs and products

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Whole blood, red blood cells, plasma, and platelets                         No charge                       ✔


 Allergy antigens (including administration)                                 $5 per visit                    ✔


 Cancer chemotherapy drugs and adjuncts                                      No charge                       ✔


 Drugs and products that are administered via intravenous therapy or    No charge
 injection that are not for cancer chemotherapy, including blood factor
                                                                                                             ✔
 products and biological products ("biologics") derived from tissue,
 cells, or blood


 All other administered drugs and products                                   No charge                       ✔


 Drugs and products administered to you during a home visit                  No charge                       ✔

Ambulance Services

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Emergency ambulance Services                                                $150 per trip                   ✔


 Nonemergency ambulance and psychiatric transport van Services               $150 per trip                   ✔

Behavioral health treatment for pervasive development disorder or autism

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Covered Services                                                            $10 per day                     ✔

Dialysis care

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Equipment and supplies for home hemodialysis and home peritoneal            No charge
                                                                                                             ✔
 dialysis


 One routine outpatient visit per month with the multidisciplinary           No charge
                                                                                                             ✔
 nephrology team for a consultation, evaluation, or treatment



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                                                                             Copayment /                Subject to
 Description of Services                                                     Coinsurance                Deductible      OOPM


 Hemodialysis and peritoneal dialysis treatment at a Plan Facility           No charge                                        ✔

Durable Medical Equipment ("DME") for home use

                                                                             Copayment /                Subject to
 Description of Services                                                     Coinsurance                Deductible      OOPM


 Blood glucose monitors for diabetes blood testing and their supplies        10% Coinsurance                                  ✔


 Peak flow meters                                                            10% Coinsurance                                  ✔


 Insulin pumps and supplies to operate the pump                              10% Coinsurance                                  ✔


 Other Base DME Items as described in this EOC                               10% Coinsurance                                  ✔


 Supplemental DME items as described in this EOC                             10% Coinsurance up to
                                                                             a $2,000 benefit limit
                                                                             per Accumulation
                                                                             Period


 Retail-grade breast pumps                                                   No charge                                        ✔


 Hospital-grade breast pumps                                                 No charge                                        ✔

Emergency and Urgent Care visits

                                                                             Copayment /                Subject to
 Description of Services                                                     Coinsurance                Deductible      OOPM


 Emergency Department visits                                                 $200 per visit                                   ✔


 Urgent Care visits                                                          $10 per visit                                    ✔

Note: If you are admitted to the hospital as an inpatient from the Emergency Department, the Emergency Department visits
Cost Share above does not apply. Instead, the Services you received in the Emergency Department, including any observation
stay, if applicable, will be considered part of your inpatient hospital stay. For the Cost Share for inpatient care, please refer to
"Hospital inpatient care" in this "Cost Share Summary." The Emergency Department Cost Share does apply if you are
admitted for observation but are not admitted as an inpatient.




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Family planning Services

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Family planning counseling                                                  No charge                            ✔


 Injectable contraceptives, internally implanted time-release                No charge
 contraceptives or intrauterine devices ("IUDs") and office visits                                                ✔
 related to their administration and management


 Female sterilization procedures if performed in an ambulatory               No charge
                                                                                                                  ✔
 surgery center or in a hospital operating room


 All other female sterilization procedures                                   No charge                            ✔


 Male sterilization procedures if performed in an ambulatory surgery         $300 per procedure
                                                                                                                  ✔
 center or in a hospital operating room


 All other male sterilization procedures                                     $20 per visit                        ✔


 Termination of pregnancy                                                    $20 per procedure                    ✔

Fertility Services
Diagnosis and treatment of infertility

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Services for the diagnosis and treatment of infertility                     Not covered


Artificial insemination

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Services for artificial insemination                                        Not covered


Assisted reproductive technology ("ART") Services

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible    OOPM


 Assisted reproductive technology ("ART") Services such as invitro           Not covered
 fertilization ("IVF"), gamete intra-fallopian transfer ("GIFT"), or
 zygote intrafallopian transfer ("ZIFT")



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Health education

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Covered health education programs, which may include programs               No charge
                                                                                                             ✔
 provided online and counseling over the phone


 Individual counseling during an office visit related to smoking             No charge
                                                                                                             ✔
 cessation


 Individual counseling during an office visit related to diabetes            No charge
                                                                                                             ✔
 management


 Other covered individual counseling when the office visit is solely for No charge
                                                                                                             ✔
 health education


 Covered health education materials                                          No charge                       ✔

Hearing Services

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Hearing exams with an audiologist to determine the need for hearing         $10 per visit
                                                                                                             ✔
 correction


 Physician Specialist Visits to diagnose and treat hearing problems          $20 per visit                   ✔


 Hearing aid(s), including, fitting, counseling, adjustment, cleaning,       Not covered
 and inspection

Home health care

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Home health care Services (100 visits per Accumulation Period)              No charge                       ✔

Hospice care

                                                                             Copayment /     Subject to
 Description of Services                                                     Coinsurance     Deductible   OOPM


 Hospice Services                                                            No charge                       ✔




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Hospital inpatient care

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Inpatient hospital stays                                                    $500 per admission                   ✔

Injury to teeth

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Accidental injury to teeth                                                  Not covered


Mental health Services

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Inpatient mental health hospital stays                                      $500 per admission                   ✔


 Individual mental health evaluation and treatment                           $10 per visit                        ✔


 Group mental health treatment                                               $5 per visit                         ✔


 Partial hospitalization                                                     No charge                            ✔


 Other intensive psychiatric treatment programs                              No charge                            ✔


 Residential mental health treatment Services                                No charge                            ✔

Office visits

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible   OOPM


 Primary Care Visits and Non-Physician Specialist Visits that are not        $10 per visit
                                                                                                                  ✔
 described elsewhere in this "Cost Share Summary"


 Physician Specialist Visits that are not described elsewhere in this        $20 per visit
                                                                                                                  ✔
 "Cost Share Summary"


 Group appointments that are not described elsewhere in this "Cost           $5 per visit
                                                                                                                  ✔
 Share Summary"




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                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible     OOPM


 Acupuncture Services                                                        $10 per visit                             ✔


 House calls                                                                 No charge                                 ✔

Ostomy and urological supplies

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible     OOPM


 Ostomy and urological supplies as described in this EOC                     No charge                                 ✔

Outpatient imaging, laboratory, and other diagnostic and treatment Services

                                                                             Copayment /          Subject to
 Description of Services                                                     Coinsurance          Deductible     OOPM


 Complex imaging (other than preventive) such as CT scans, MRIs,             $150 per procedure
                                                                                                                       ✔
 and PET scans


 Basic imaging Services, such as diagnostic and therapeutic X-rays,          $40 per encounter
                                                                                                                       ✔
 mammograms, and ultrasounds


 Nuclear medicine                                                            $40 per encounter                         ✔


 Routine retinal photography screenings                                      No charge                                 ✔


 Routine laboratory tests to monitor the effectiveness of dialysis           No charge                                 ✔


 All other laboratory tests (including tests for specific genetic            $20 per encounter
                                                                                                                       ✔
 disorders for which genetic counseling is available)


 Diagnostic Services provided by Plan Providers who are not                  $40 per encounter
                                                                                                                       ✔
 physicians (such as EKGs and EEGs)


 Radiation therapy                                                           No charge                                 ✔


 Ultraviolet light treatments                                                No charge                                 ✔

Outpatient prescription drugs, supplies, and supplements
If the "Cost Share at a Plan Pharmacy" column in this section provides Cost Share for a 30-day supply and your Plan
Physician prescribes more than this, you may be able to obtain more than a 30-day supply at one time up to the day supply




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limit for that drug. Applicable Cost Share will apply. For example, two 30-day copayments may be due when picking up a
60-day prescription, three copayments may be due when picking up a 100-day prescription at the pharmacy.

Most items

                                                   Cost Share                Cost Share                Subject to
 Description                                       at a Plan Pharmacy        by Mail                   Deductible   OOPM


 Items on the generic tier not described           $5 for up to a 30-day     $10 for up to a 100-day
                                                                                                                       ✔
 elsewhere in this "Cost Share Summary"            supply                    supply


 Items on the brand tier not described             $15 for up to a 30-day    $30 for up to a 100-day
                                                                                                                       ✔
 elsewhere in this "Cost Share Summary"            supply                    supply


 Items on the specialty tier not described         10% Coinsurance (not to Availability for mail
 elsewhere in this "Cost Share Summary"            exceed $250) for up to a order varies by item.
                                                                                                                       ✔
                                                   30-day supply            Talk to your local
                                                                            pharmacy

Base drugs, supplies, and supplements

                                                   Cost Share                Cost Share                Subject to
 Description                                       at a Plan Pharmacy        by Mail                   Deductible   OOPM


 Hematopoietic agents for dialysis                 No charge for up to a     Not available
                                                                                                                       ✔
                                                   30-day supply


 Elemental dietary enteral formula when            No charge for up to a     Not available
 used as a primary therapy for regional            30-day supply                                                       ✔
 enteritis


 All other items on the generic tier as            $5 for up to a 30-day     Availability for mail
 described in this EOC                             supply                    order varies by item.
                                                                                                                       ✔
                                                                             Talk to your local
                                                                             pharmacy


 All other items on the brand tier as              $15 for up to a 30-day    Availability for mail
 described in this EOC                             supply                    order varies by item.
                                                                                                                       ✔
                                                                             Talk to your local
                                                                             pharmacy


 All other items on the specialty tier as          10% Coinsurance (not to Availability for mail
 described in this EOC                             exceed $250) for up to a order varies by item.
                                                                                                                       ✔
                                                   30-day supply            Talk to your local
                                                                            pharmacy




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Anticancer drugs and certain critical adjuncts following a diagnosis of cancer

                                                   Cost Share                Cost Share              Subject to
 Description                                       at a Plan Pharmacy        by Mail                 Deductible      OOPM


 Oral anticancer drugs on the generic tier         $5 for up to a 30-day     Availability for mail
                                                   supply                    order varies by item.
                                                                                                                          ✔
                                                                             Talk to your local
                                                                             pharmacy


 Oral anticancer drugs on the brand tier           $15 for up to a 30-day    Availability for mail
                                                   supply                    order varies by item.
                                                                                                                          ✔
                                                                             Talk to your local
                                                                             pharmacy


 Oral anticancer drugs on the specialty tier       10% Coinsurance (not to Availability for mail
                                                   exceed $200) for up to a order varies by item.
                                                                                                                          ✔
                                                   30-day supply            Talk to your local
                                                                            pharmacy


 Non-oral anticancer drugs on the generic          $5 for up to a 30-day     Availability for mail
 tier                                              supply                    order varies by item.
                                                                                                                          ✔
                                                                             Talk to your local
                                                                             pharmacy


 Non-oral anticancer drugs on the brand            $15 for up to a 30-day    Availability for mail
 tier                                              supply                    order varies by item.
                                                                                                                          ✔
                                                                             Talk to your local
                                                                             pharmacy


 Non-oral anticancer drugs on the specialty        10% Coinsurance (not to Availability for mail
 tier                                              exceed $250) for up to a order varies by item.
                                                                                                                          ✔
                                                   30-day supply            Talk to your local
                                                                            pharmacy

Home infusion drugs

                                                   Cost Share                Cost Share              Subject to
 Description                                       at a Plan Pharmacy        by Mail                 Deductible      OOPM


 Home infusion drugs                               No charge for up to a     Not available
                                                                                                                          ✔
                                                   30-day supply


 Supplies necessary for administration of          No charge                 No charge
                                                                                                                          ✔
 home infusion drugs

Home infusion drugs are self-administered intravenous drugs, fluids, additives, and nutrients that require specific types of
parenteral-infusion, such as an intravenous or intraspinal-infusion.




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Diabetes supplies and amino acid–modified products

                                                   Cost Share                Cost Share                Subject to
 Description                                       at a Plan Pharmacy        by Mail                   Deductible   OOPM


 Amino acid–modified products used to              No charge for up to a     Not available
 treat congenital errors of amino acid             30-day supply                                                          ✔
 metabolism (such as phenylketonuria)


 Ketone test strips and sugar or acetone test No charge for up to a          Not available
                                                                                                                          ✔
 tablets or tapes for diabetes urine testing  30-day supply


 Insulin-administration devices: pen               $5 for up to a 100-day    Availability for mail
 delivery devices, disposable needles and          supply                    order varies by item.
                                                                                                                          ✔
 syringes, and visual aids required to                                       Talk to your local
 ensure proper dosage (except eyewear)                                       pharmacy

For drugs related to the treatment of diabetes (for example, insulin), and for continuous insulin delivery devices that use
disposable items such as patches or pods, please refer to the "Most items" table above. For insulin pumps, please refer to the
"Durable Medical Equipment ("DME") for home use" table above.

Contraceptive drugs and devices

                                                   Cost Share                Cost Share                Subject to
 Description                                       at a Plan Pharmacy        by Mail                   Deductible   OOPM


 The following hormonal contraceptive              No charge for up to a     No charge for up to a
 items for women on the generic tier when          365-day supply            365-day supply
 prescribed by a Plan Provider:                                              Rings are not available
 • Rings                                                                     for mail order                               ✔
 • Patches
 • Oral contraceptives


 The following contraceptive items for             No charge for up to a     Not available
 women on the generic tier when                    30-day supply
 prescribed by a Plan Provider:
 • Female condoms                                                                                                         ✔
 • Spermicide
 • Sponges


 The following hormonal contraceptive              No charge for up to a     No charge for up to a
 items for women on the brand tier when            365-day supply            365-day supply
 prescribed by a Plan Provider:                                              Rings are not available
 • Rings                                                                     for mail order                               ✔
 • Patches
 • Oral contraceptives




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                                                   Cost Share                Cost Share      Subject to
 Description                                       at a Plan Pharmacy        by Mail         Deductible   OOPM


 The following contraceptive items for             No charge for up to a     Not available
 women on the brand tier when prescribed           30-day supply
 by a Plan Provider:
 • Female condoms                                                                                             ✔
 • Spermicide
 • Sponges


 Emergency contraception                           No charge                 Not available                    ✔


 Diaphragms and cervical caps                      No charge                 Not available                    ✔

Certain preventive items

                                                   Cost Share                Cost Share      Subject to
 Description                                       at a Plan Pharmacy        by Mail         Deductible   OOPM


 Items on our Preventive Services list on          No charge for up to a     Not available
 our website at kp.org/prevention when             30-day supply                                              ✔
 prescribed by a Plan Provider

Fertility and sexual dysfunction drugs

                                                   Cost Share                Cost Share      Subject to
 Description                                       at a Plan Pharmacy        by Mail         Deductible   OOPM


 Drugs on the generic tier prescribed to           Not covered               Not covered
 treat infertility or in connection with
 covered artificial insemination Services


 Drugs on the brand and specialty tiers            Not covered               Not covered
 prescribed to treat infertility or in
 connection with covered artificial
 insemination Services


 Drugs on the generic tier prescribed in  Not covered                        Not covered
 connection with covered assisted
 reproductive technology ("ART") Services


 Drugs on the brand and specialty tiers            Not covered               Not covered
 prescribed in connection with covered
 assisted reproductive technology ("ART")
 Services




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                                                   Cost Share                Cost Share                Subject to
 Description                                       at a Plan Pharmacy        by Mail                   Deductible   OOPM


 Drugs on the generic tier prescribed for          $5 for up to a 30-day     $10 for up to a 100-day
                                                                                                                        ✔
 sexual dysfunction disorders                      supply                    supply


 Drugs on the brand and specialty tiers            $15 for up to a 30-day    $30 for up to a 100-day
 prescribed for sexual dysfunction                 supply                    supply                                     ✔
 disorders

Outpatient surgery and outpatient procedures

                                                                             Copayment /               Subject to
 Description of Services                                                     Coinsurance               Deductible   OOPM


 Outpatient surgery and outpatient procedures (including imaging and         $300 per procedure
 diagnostic Services) when provided in an ambulatory surgery center
 or in a hospital operating room, or any setting where a licensed staff                                                 ✔
 member monitors your vital signs as you regain sensation after
 receiving drugs to reduce sensation or minimize discomfort


 Any other outpatient surgery that does not require a licensed staff         $20 per procedure
                                                                                                                        ✔
 member to monitor your vital signs as described above

Preventive Services

                                                                             Copayment /               Subject to
 Description of Services                                                     Coinsurance               Deductible   OOPM


 Routine physical exams, including well-woman and preventive                 No charge
                                                                                                                        ✔
 exams for Members age 2 and older


 Well-child preventive exams for Members through age 23 months               No charge                                  ✔


 Normal series of regularly scheduled preventive prenatal care exams         No charge
                                                                                                                        ✔
 after confirmation of pregnancy


 First postpartum follow-up consultation and exam                            No charge                                  ✔


 Immunizations (including the vaccine) administered to you in a Plan         No charge
                                                                                                                        ✔
 Medical Office


 Tuberculosis skin tests                                                     No charge                                  ✔




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                                                                             Copayment /   Subject to
 Description of Services                                                     Coinsurance   Deductible   OOPM


 Screening and counseling Services when provided during a routine            No charge
 physical exam or a well-child preventive exam, such as obesity
 counseling, routine vision and hearing screenings, alcohol and
                                                                                                            ✔
 substance abuse screenings, health education, depression screening,
 and developmental screenings to diagnose and assess potential
 developmental delays


 Screening colonoscopies                                                     No charge                      ✔


 Screening flexible sigmoidoscopies                                          No charge                      ✔


 Routine imaging screenings such as mammograms                               No charge                      ✔


 Bone density CT scans                                                       No charge                      ✔


 Bone density DEXA scans                                                     No charge                      ✔


 Routine laboratory tests and screenings, such as cancer screening           No charge
 tests, sexually transmitted infection ("STI") tests, cholesterol                                           ✔
 screening tests, and glucose tolerance tests


 Other laboratory screening tests, such as fecal occult blood tests and      No charge
                                                                                                            ✔
 hepatitis B screening tests

Prosthetic and orthotic devices

                                                                             Copayment /   Subject to
 Description of Services                                                     Coinsurance   Deductible   OOPM


 Internally implanted prosthetic and orthotic devices as described in        No charge
                                                                                                            ✔
 this EOC


 External prosthetic and orthotic devices as described in this EOC           No charge                      ✔


 Supplemental prosthetic and orthotic devices as described in this           No charge
                                                                                                            ✔
 EOC




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Rehabilitative and habilitative Services

                                                                             Copayment /              Subject to
 Description of Services                                                     Coinsurance              Deductible      OOPM


 Individual outpatient physical, occupational, and speech therapy            $10 per visit                                 ✔


 Group outpatient physical, occupational, and speech therapy                 $5 per visit                                  ✔


 Physical, occupational, and speech therapy provided in an organized,        $10 per day
                                                                                                                           ✔
 multidisciplinary rehabilitation day-treatment program

Skilled nursing facility care

                                                                             Copayment /              Subject to
 Description of Services                                                     Coinsurance              Deductible      OOPM


 Skilled nursing facility Services up to 100 days per benefit period*        $250 per admission                            ✔

*A benefit period begins on the date you are admitted to a hospital or Skilled Nursing Facility at a skilled level of care. A
benefit period ends on the date you have not been an inpatient in a hospital or Skilled Nursing Facility, receiving a skilled
level of care, for 60 consecutive days. A new benefit period can begin only after any existing benefit period ends. A prior
three-day stay in an acute care hospital is not required.

Substance use disorder treatment

                                                                             Copayment /              Subject to
 Description of Services                                                     Coinsurance              Deductible      OOPM


 Inpatient detoxification                                                    $500 per admission                            ✔


 Individual substance use disorder evaluation and treatment                  $10 per visit                                 ✔


 Group substance use disorder treatment                                      $5 per visit                                  ✔


 Intensive outpatient and day-treatment programs                             $5 per day                                    ✔


 Residential substance use disorder treatment                                $100 per admission                            ✔

Telehealth visits
Interactive video visits

                                                                             Copayment /              Subject to
 Description of Services                                                     Coinsurance              Deductible      OOPM


 Primary Care Visits and Non-Physician Specialist Visits                     No charge                                     ✔




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                                                                             Copayment /        Subject to
 Description of Services                                                     Coinsurance        Deductible   OOPM


 Physician Specialist Visits                                                 No charge                           ✔

Scheduled telephone visits

                                                                             Copayment /        Subject to
 Description of Services                                                     Coinsurance        Deductible   OOPM


 Primary Care Visits and Non-Physician Specialist Visits                     No charge                           ✔


 Physician Specialist Visits                                                 No charge                           ✔

Vision Services for Adult Members

                                                                             Copayment /        Subject to
 Description of Services                                                     Coinsurance        Deductible   OOPM


 Routine eye exams with a Plan Optometrist to determine the need for         No charge
                                                                                                                 ✔
 vision correction and to provide a prescription for eyeglass lenses


 Physician Specialist Visits to diagnose and treat injuries or diseases      $20 per visit
                                                                                                                 ✔
 of the eye


 Non-Physician Specialist Visits to diagnose and treat injuries or           $10 per visit
                                                                                                                 ✔
 diseases of the eye


 Aniridia lenses: up to two Medically Necessary contact lenses per eye No charge
                                                                                                                 ✔
 (including fitting and dispensing) in any 12-month period


 Aphakia lenses: up to six Medically Necessary aphakic contact lenses No charge
                                                                                                                 ✔
 per eye (including fitting and dispensing) in any 12-month period


 Other contact lenses that will provide a significant improvement in     No charge
 vision that eyeglass lenses cannot provide: either one pair of contact
 lenses (including fitting and dispensing) or an initial supply of
 disposable contact lenses (including fitting and dispensing) in any 24-
 month period


 Eyeglasses and contact lenses as described in this EOC                      A $175 Allowance
                                                                             every 24 months




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                                                                             Copayment /                 Subject to
 Description of Services                                                     Coinsurance                 Deductible   OOPM


 Replacement lenses if there has been a change in prescription of at         $30 Allowance for a
 least .50 diopter in one or both eyes within 12 months of the initial       single vision eyeglass
 point of sale of an eyeglass lens or contact lens that we provided an       lens or contact lens, $45
 Allowance toward (or otherwise covered)                                     Allowance for a
                                                                             multifocal or lenticular
                                                                             eyeglass lens


 Low vision devices (including fitting and dispensing)                       Not covered


Vision Services for Pediatric Members

                                                                             Copayment /                 Subject to
 Description of Services                                                     Coinsurance                 Deductible   OOPM


 Routine eye exams with a Plan Optometrist to determine the need for         No charge
                                                                                                                          ✔
 vision correction and to provide a prescription for eyeglass lenses


 Physician Specialist Visits to diagnose and treat injuries or diseases      $20 per visit
                                                                                                                          ✔
 of the eye


 Non-Physician Specialist Visits to diagnose and treat injuries or           $10 per visit
                                                                                                                          ✔
 diseases of the eye


 Aniridia lenses: up to two Medically Necessary contact lenses per eye No charge
                                                                                                                          ✔
 (including fitting and dispensing) in any 12-month period


 Aphakia lenses: up to six Medically Necessary aphakic contact lenses No charge
                                                                                                                          ✔
 per eye (including fitting and dispensing) in any 12-month period


 Other contact lenses that will provide a significant improvement in     No charge
 vision that eyeglass lenses cannot provide: either one pair of contact
 lenses (including fitting and dispensing) or an initial supply of
 disposable contact lenses (including fitting and dispensing) in any 24-
 month period


 One complete pair of eyeglasses in any 12-month period, or contact          No charge
                                                                                                                          ✔
 lenses as described in this EOC, in any 12-month period


 One low vision device (including fitting and dispensing) per                No charge
                                                                                                                          ✔
 Accumulation Period




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Introduction                                                             When you join Kaiser Permanente, you are enrolling in
                                                                         one of two Health Plan Regions in California (either our
                                                                         Northern California Region or Southern California
This Combined Evidence of Coverage and Disclosure
                                                                         Region), which we call your "Home Region." The
Form ("EOC") and the "CaliforniaChoice Supplement to
                                                                         Service Area of each Region is described in the
the Evidence of Coverage" together describe the health
                                                                         "Definitions" section of this EOC. The coverage
care coverage of "Kaiser Permanente for Small Business
                                                                         information in this EOC applies when you obtain care in
Platinum HMO A" offered by the "CaliforniaChoice
                                                                         your Home Region. When you visit the other California
Program" and provided under the Group Agreement                          Region, you may receive care as described in "Receiving
(Agreement) between Kaiser Foundation Health Plan,
                                                                         Care Outside of Your Home Region" in the "How to
Inc. ("Health Plan") and the entity with which Health
                                                                         Obtain Services" section.
Plan has entered into the Agreement (your "Group").
                                                                         Kaiser Permanente provides Services directly to our
This EOC is part of the Agreement between                                Members through an integrated medical care program.
Health Plan and your Group. The Agreement                                Health Plan, Plan Hospitals, and the Medical Group
contains additional terms such as Premiums,                              work together to provide our Members with quality care.
when coverage can change, the effective date                             Our medical care program gives you access to all of the
                                                                         covered Services you may need, such as routine care
of coverage, and the effective date of                                   with your own personal Plan Physician, hospital care,
termination. The Agreement must be consulted                             laboratory and pharmacy Services, Emergency Services,
to determine the exact terms of coverage. A                              Urgent Care, and other benefits described in this EOC.
copy of the Agreement is available from your                             Plus, our health education programs offer you great ways
Group.                                                                   to protect and improve your health.

Once enrolled in other coverage made available through                   We provide covered Services to Members using Plan
Health Plan, that other plan's evidence of coverage                      Providers located in your Home Region Service Area,
cannot be cancelled without cancelling coverage under                    which is described in the "Definitions" section. You must
this EOC, unless the change is made during open                          receive all covered care from Plan Providers inside your
enrollment or a special enrollment period.                               Home Region Service Area, except as described in the
                                                                         sections listed below for the following Services:
For benefits provided under any other program offered                    • Authorized referrals as described under "Getting a
by your Group (for example, workers compensation                           Referral" in the "How to Obtain Services" section
benefits), refer to your Group's materials.                              • Emergency ambulance Services as described under
                                                                           "Ambulance Services" in the "Benefits" section
In this EOC, Health Plan is sometimes referred to as
"we" or "us." Members are sometimes referred to as                       • Emergency Services, Post-Stabilization Care, and
"you." Some capitalized terms have special meaning in                      Out-of-Area Urgent Care as described in the
this EOC; please see the "Definitions" section for terms                   "Emergency Services and Urgent Care" section
you should know.                                                         • Hospice care as described under "Hospice Care" in
                                                                           the "Benefits" section
It is important to familiarize yourself with your coverage               • Visiting Member Services as described under
by reading this EOC completely, so that you can take full                  "Receiving Care Outside of Your Home Region" in
advantage of your Health Plan benefits. Also, if you have                  the "How to Obtain Services" section
special health care needs, please carefully read the
sections that apply to you.
                                                                         Pediatric Dental Coverage
About Kaiser Permanente                                                  Except as described under "Dental and Orthodontic
                                                                         Services" in the "Benefits" section below, dental services
PLEASE READ THE FOLLOWING                                                are not covered under this EOC. Information in this
INFORMATION SO THAT YOU WILL KNOW                                        EOC, such as how to get care, descriptions of services
FROM WHOM OR WHAT GROUP OF                                               that are covered, and how to resolve issues related to
PROVIDERS YOU MAY GET HEALTH CARE.                                       your health care coverage, pertains only to Services
                                                                         covered under this EOC.




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When you enroll in this Kaiser Permanente coverage,                      applicable during that 12-month contract period
you are also automatically enrolling in a separate                       beginning with your Group's renewal date in 2021. Your
pediatric dental plan underwritten by Delta Dental of                    Group can tell you the term of this EOC. Your Group
California, which will provide coverage of dental                        can tell you whether this EOC is still in effect and give
benefits for any children under age 19 that you enroll.                  you a current one if this EOC has expired or been
                                                                         amended.
These dental benefits are described in the Delta Dental
Combined Evidence of Coverage and Disclosure Form                        Information about renewal of pediatric dental coverage is
("Delta Dental EOC/DF") attached to this EOC. Please                     described under "Pediatric Dental Coverage" in the
refer to this Delta Dental EOC/DF for information about                  "Introduction" section of this EOC.
your dental coverage, such as how to get care, and
services that are covered.

Renewal
                                                                         Definitions
Coverage of dental services benefits under the Delta
                                                                         Some terms have special meaning in this EOC. When we
Dental EOC/DF attached to this EOC will automatically
                                                                         use a term with special meaning in only one section of
renew upon the renewal of this EOC.
                                                                         this EOC, we define it in that section. The terms in this
                                                                         "Definitions" section have special meaning when
Premiums
                                                                         capitalized and used in any section of this EOC.
Premiums due under this EOC include the dental
services underwritten by Delta Dental of California                      Accumulation Period: A period of time no greater than
described in the attached Delta Dental EOC/DF.                           12 consecutive months for purposes of accumulating
                                                                         amounts toward any deductibles (if applicable), out-of-
Dispute Resolution                                                       pocket maximums, and benefit limits. For example, the
Delta Dental is responsible for administering and                        Accumulation Period may be a calendar year or contract
resolving enrollee complaints, grievances and appeals                    year. The Accumulation Period for this EOC is from
that concern dental services covered by the Delta Dental                 January 1 through December 31.
EOC/DF. Please refer to the Delta Dental EOC/DF                          Adult Member: A Member who is age 19 or older and
attached to this EOC for information regarding these                     is not a Pediatric Member. For example, if you turn 19
complaints, grievances and appeals. Health Plan is                       on June 25, you will be an Adult Member starting July 1.
responsible for administering and resolving any enrollee
complaints, grievances and appeals that concern                          Allowance: A specified amount that you can use toward
enrollment, premium collection and/or termination                        the purchase price of an item. If the price of the item(s)
relating to this pediatric dental coverage.                              you select exceeds the Allowance, you will pay the
                                                                         amount in excess of the Allowance (and that payment
Termination                                                              will not apply toward any deductible or out-of-pocket
                                                                         maximum).
Coverage of dental services benefits under the Delta
Dental EOC/DF attached to this EOC will automatically                    Ancillary Coverage: Optional benefits such as
terminate upon the termination of this EOC (for example,                 acupuncture, chiropractic, or dental coverage that may be
if your coverage under this EOC terminates because you                   available to Members enrolled under this EOC. If your
lose eligibility as a Dependent, your coverage under the                 plan includes Ancillary Coverage, this coverage will be
Delta Dental EOC/DF will terminate at the same time).                    described in an amendment to this EOC or a separate
Delta Dental will not separately terminate its dental                    agreement from the issuer of the coverage. Note:
services coverage under the Delta Dental EOC/DF. If                      Pediatric dental coverage is not considered to be optional
Delta Dental stops offering the pediatric dental plan                    Ancillary Coverage.
described in the Delta Dental EOC/DF during the term of
                                                                         Charges: "Charges" means the following:
this EOC, we will make arrangements for the Services to
be provided by another pediatric dental plan and notify                  • For Services provided by the Medical Group or
you of the arrangements.                                                   Kaiser Foundation Hospitals, the charges in Health
                                                                           Plan's schedule of Medical Group and Kaiser
                                                                           Foundation Hospitals charges for Services provided
Term of this EOC                                                           to Members
This EOC is for calendar year 2021, if your Group                        • For Services for which a provider (other than the
renews annually on January 1, unless amended. If your                      Medical Group or Kaiser Foundation Hospitals) is
Group's renewal date is not January 1, this EOC is                         compensated on a capitation basis, the charges in the


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   schedule of charges that Kaiser Permanente                            believed that the absence of immediate medical attention
   negotiates with the capitated provider                                would result in any of the following:
• For items obtained at a pharmacy owned and operated                    • Placing the person's health (or, with respect to a
  by Kaiser Permanente, the amount the pharmacy                            pregnant woman, the health of the woman or her
  would charge a Member for the item if a Member's                         unborn child) in serious jeopardy
  benefit plan did not cover the item (this amount is an                 • Serious impairment to bodily functions
  estimate of: the cost of acquiring, storing, and
  dispensing drugs, the direct and indirect costs of                     • Serious dysfunction of any bodily organ or part
  providing Kaiser Permanente pharmacy Services to                       A mental health condition is an Emergency Medical
  Members, and the pharmacy program's contribution                       Condition when it meets the requirements of the
  to the net revenue requirements of Health Plan)                        paragraph above, or when the condition manifests itself
• For all other Services, the payments that Kaiser                       by acute symptoms of sufficient severity such that either
  Permanente makes for the Services or, if Kaiser                        of the following is true:
  Permanente subtracts your Cost Share from its                          • The person is an immediate danger to himself or
  payment, the amount Kaiser Permanente would have                         herself or to others
  paid if it did not subtract your Cost Share
                                                                         • The person is immediately unable to provide for, or
Coinsurance: A percentage of Charges that you must                         use, food, shelter, or clothing, due to the mental
pay when you receive a covered Service under this EOC.                     disorder
Copayment: A specific dollar amount that you must pay                    Emergency Services: All of the following with respect
when you receive a covered Service under this EOC.                       to an Emergency Medical Condition:
Note: The dollar amount of the Copayment can be $0
                                                                         • A medical screening exam that is within the
(no charge).
                                                                           capability of the emergency department of a hospital,
Cost Share: The amount you are required to pay for                         including ancillary services (such as imaging and
covered Services. For example, your Cost Share may be                      laboratory Services) routinely available to the
a Copayment or Coinsurance. If your coverage includes a                    emergency department to evaluate the Emergency
Plan Deductible and you receive Services that are subject                  Medical Condition
to the Plan Deductible, your Cost Share for those
                                                                         • Within the capabilities of the staff and facilities
Services will be Charges until you reach the Plan
                                                                           available at the hospital, Medically Necessary
Deductible. Similarly, if your coverage includes a Drug
                                                                           examination and treatment required to Stabilize the
Deductible, and you receive Services that are subject to
                                                                           patient (once your condition is Stabilized, Services
the Drug Deductible, your Cost Share for those Services
                                                                           you receive are Post Stabilization Care and not
will be Charges until you reach the Drug Deductible.
                                                                           Emergency Services)
Dependent: A Member who meets the eligibility
                                                                         EOC: This Combined Evidence of Coverage and
requirements as a Dependent (for Dependent eligibility
                                                                         Disclosure Form document, including any amendments,
requirements, see "Who Is Eligible" in the "Premiums,
                                                                         which describes the health care coverage of "Kaiser
Eligibility, and Enrollment" section).
                                                                         Permanente for Small Business" under Health Plan's
Disclosure Form ("DF"): A summary of coverage for                        Agreement with your Group.
prospective Members. For some products, the DF is
                                                                         Family: A Subscriber and all of their Dependents.
combined with the evidence of coverage.
                                                                         Group: The entity with which Health Plan has entered
Drug Deductible: The amount you must pay under this
                                                                         into the Agreement that includes this EOC.
EOC in the Accumulation Period for certain drugs,
supplies, and supplements before we will cover those                     Health Plan: Kaiser Foundation Health Plan, Inc., a
Services at the applicable Copayment or Coinsurance in                   California nonprofit corporation. Health Plan is a health
that Accumulation Period. Please refer to the "Cost Share                care service plan licensed to offer health care coverage
Summary" section to learn whether your coverage                          by the Department of Managed Health Care. This EOC
includes a Drug Deductible, the Services that are subject                sometimes refers to Health Plan as "we" or "us."
to the Drug Deductible, and the Drug Deductible
                                                                         Home Region: The Region where you enrolled (either
amount.
                                                                         the Northern California Region or the Southern
Emergency Medical Condition: A medical condition                         California Region).
manifesting itself by acute symptoms of sufficient
severity (including severe pain) such that you reasonably



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Kaiser Permanente: Kaiser Foundation Hospitals (a                           deteriorate if you delayed treatment until you returned
California nonprofit corporation), Health Plan, and the                     to your Home Region Service Area
Medical Group.
                                                                         Pediatric Member: A Member from birth through the
Medical Group: For Northern California Region                            end of the month of their 19th birthday. For example, if
Members, The Permanente Medical Group, Inc., a for-                      you turn 19 on June 25, you will be an Adult Member
profit professional corporation, and for Southern                        starting July 1 and your last minute as a Pediatric
California Region Members, the Southern California                       Member will be 11:59 p.m. on June 30.
Permanente Medical Group, a for-profit professional
                                                                         Physician Specialist Visits: Consultations, evaluations,
partnership.
                                                                         and treatment by physician specialists, including
Medically Necessary: A Service is Medically Necessary                    personal Plan Physicians who are not Primary Care
if it is medically appropriate and required to prevent,                  Physicians.
diagnose, or treat your condition or clinical symptoms in
                                                                         Plan Deductible: The amount you must pay under this
accord with generally accepted professional standards of
                                                                         EOC in the Accumulation Period for certain Services
practice that are consistent with a standard of care in the
                                                                         before we will cover those Services at the applicable
medical community.
                                                                         Copayment or Coinsurance in that Accumulation Period.
Medicare: The federal health insurance program for                       Please refer to the "Cost Share Summary" section to
people 65 years of age or older, some people under age                   learn whether your coverage includes a Plan Deductible,
65 with certain disabilities, and people with end-stage                  the Services that are subject to the Plan Deductible, and
renal disease (generally those with permanent kidney                     the Plan Deductible amount.
failure who need dialysis or a kidney transplant).
                                                                         Plan Facility: Any facility listed in the Provider
Member: A person who is eligible and enrolled under                      Directory on our website at kp.org/facilities. Plan
this EOC, and for whom we have received applicable                       Facilities include Plan Hospitals, Plan Medical Offices,
Premiums. This EOC sometimes refers to a Member as                       and other facilities that we designate in the directory.
"you."                                                                   The directory is updated periodically. The availability of
                                                                         Plan Facilities may change. If you have questions, please
Non-Physician Specialist Visits: Consultations,
                                                                         call our Member Service Contact Center.
evaluations, and treatment by non-physician specialists
(such as nurse practitioners, physician assistants,                      Plan Hospital: Any hospital listed in the Provider
optometrists, podiatrists, and audiologists). For Services               Directory on our website at kp.org/facilities. In the
described under "Dental and Orthodontic Services" in the                 directory, some Plan Hospitals are listed as Kaiser
"Benefits" section, non-physician specialists include                    Permanente Medical Centers. The directory is updated
dentists and orthodontists.                                              periodically. The availability of Plan Hospitals may
                                                                         change. If you have questions, please call our Member
Non–Plan Hospital: A hospital other than a Plan
                                                                         Service Contact Center.
Hospital.
                                                                         Plan Medical Office: Any medical office listed in the
Non–Plan Physician: A physician other than a Plan
                                                                         Provider Directory on our website at kp.org/facilities. In
Physician.
                                                                         the directory, Kaiser Permanente Medical Centers may
Non–Plan Provider: A provider other than a Plan                          include Plan Medical Offices. The directory is updated
Provider.                                                                periodically. The availability of Plan Medical Offices
                                                                         may change. If you have questions, please call our
Non–Plan Psychiatrist: A psychiatrist who is not a Plan
                                                                         Member Service Contact Center.
Physician.
                                                                         Plan Optical Sales Office: An optical sales office
Out-of-Area Urgent Care: Medically Necessary
                                                                         owned and operated by Kaiser Permanente or another
Services to prevent serious deterioration of your (or your
                                                                         optical sales office that we designate. Refer to the
unborn child's) health resulting from an unforeseen
                                                                         Provider Directory on our website at kp.org/facilities for
illness, unforeseen injury, or unforeseen complication of
                                                                         locations of Plan Optical Sales Offices. In the directory,
an existing condition (including pregnancy) if all of the
                                                                         Plan Optical Sales Offices may be called "Vision
following are true:
                                                                         Essentials." The directory is updated periodically. The
• You are temporarily outside your Home Region                           availability of Plan Optical Sales Offices may change. If
  Service Area                                                           you have questions, please call our Member Service
• A reasonable person would have believed that your                      Contact Center.
  (or your unborn child's) health would seriously                        Plan Optometrist: An optometrist who is a Plan
                                                                         Provider.


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Plan Out-of-Pocket Maximum: The total amount of                          The directory is updated periodically. The availability of
Cost Share you must pay under this EOC in the                            Primary Care Physicians may change. If you have
Accumulation Period for certain covered Services that                    questions, please call our Member Service Contact
you receive in the same Accumulation Period. Please                      Center.
refer to the "Cost Share Summary" section to find your
                                                                         Primary Care Visits: Evaluations and treatment
Plan Out-of-Pocket Maximum amount and to learn
                                                                         provided by Primary Care Physicians and primary care
which Services apply to the Plan Out-of-Pocket
                                                                         Plan Providers who are not physicians (such as nurse
Maximum.
                                                                         practitioners).
Plan Pharmacy: A pharmacy owned and operated by
                                                                         Provider Directory: A directory of Plan Physicians and
Kaiser Permanente or another pharmacy that we
                                                                         Plan Facilities in your Home Region. This directory is
designate. Refer to the Provider Directory on our website
                                                                         available on our website at kp.org/facilities. To obtain a
at kp.org/facilities for locations of Plan Pharmacies. The
                                                                         printed copy, call our Member Service Contact Center.
directory is updated periodically. The availability of Plan
                                                                         The directory is updated periodically. The availability of
Pharmacies may change. If you have questions, please
                                                                         Plan Physicians and Plan Facilities may change. If you
call our Member Service Contact Center.
                                                                         have questions, please call our Member Service Contact
Plan Physician: Any licensed physician who is a partner                  Center.
or employee of the Medical Group, or any licensed
                                                                         Region: A Kaiser Foundation Health Plan organization
physician who contracts to provide Services to Members
                                                                         or allied plan that conducts a direct-service health care
(but not including physicians who contract only to
                                                                         program. Regions may change on January 1 of each year
provide referral Services).
                                                                         and are currently the District of Columbia and parts of
Plan Provider: A Plan Hospital, a Plan Physician, the                    Northern California, Southern California, Colorado,
Medical Group, a Plan Pharmacy, or any other health                      Georgia, Hawaii, Idaho, Maryland, Oregon, Virginia,
care provider that Health Plan designates as a Plan                      and Washington. For the current list of Region locations,
Provider.                                                                please visit our website at kp.org or call our Member
                                                                         Service Contact Center.
Plan Skilled Nursing Facility: A Skilled Nursing
Facility approved by Health Plan.                                        Serious Emotional Disturbance of a Child Under Age
                                                                         18: A condition identified as a "mental disorder" in the
Post-Stabilization Care: Medically Necessary Services
                                                                         most recent edition of the Diagnostic and Statistical
related to your Emergency Medical Condition that you
                                                                         Manual of Mental Disorders, other than a primary
receive in a hospital (including the Emergency
                                                                         substance use disorder or developmental disorder, that
Department) after your treating physician determines that
                                                                         results in behavior inappropriate to the child's age
this condition is Stabilized.
                                                                         according to expected developmental norms, if the child
Premiums: The periodic amounts that your Group is                        also meets at least one of the following three criteria:
responsible for paying for your membership under this                    • As a result of the mental disorder, (1) the child has
EOC, except that you are responsible for paying                            substantial impairment in at least two of the following
Premiums if you have Cal-COBRA coverage. "Full
                                                                           areas: self-care, school functioning, family
Premiums" means 100 percent of Premiums for all of the                     relationships, or ability to function in the community;
coverage issued to each enrolled Member, as set forth in
                                                                           and (2) either (a) the child is at risk of removal from
the "Premiums" section of Health Plan's Agreement with                     the home or has already been removed from the
your Group.
                                                                           home, or (b) the mental disorder and impairments
Preventive Services: Covered Services that prevent or                      have been present for more than six months or are
detect illness and do one or more of the following:                        likely to continue for more than one year without
                                                                           treatment
• Protect against disease and disability or further
  progression of a disease                                               • The child displays psychotic features, or risk of
                                                                           suicide or violence due to a mental disorder
• Detect disease in its earliest stages before noticeable
  symptoms develop                                                       • The child meets special education eligibility
                                                                           requirements under Section 5600.3(a)(2)(C) of the
Primary Care Physicians: Generalists in internal                           Welfare and Institutions Code
medicine, pediatrics, and family practice, and specialists
in obstetrics/gynecology whom the Medical Group                          Service Area: Health Plan has two Regions in
designates as Primary Care Physicians. Refer to the                      California. As a Member, you are enrolled in one of the
Provider Directory on our website at kp.org for a list of                two Regions (either our Northern California Region or
physicians that are available as Primary Care Physicians.                Southern California Region), called your Home Region.



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This EOC describes the coverage for both California                         94558-59, 94562, 94567, 94573-74, 94576, 94581,
Regions.                                                                    94599, 95476
                                                                         • The following ZIP codes in Placer County are inside
Northern California Region Service Area                                    our Northern California Service Area: 95602-04,
The ZIP codes below for each county are in our Northern                    95610, 95626, 95648, 95650, 95658, 95661, 95663,
California Service Area:                                                   95668, 95677-78, 95681, 95703, 95722, 95736,
                                                                           95746-47, 95765
• All ZIP codes in Alameda County are inside our
  Northern California Service Area: 94501-02, 94505,                     • All ZIP codes in Sacramento County are inside our
  94514, 94536-46, 94550-52, 94555, 94557, 94560,                          Northern California Service Area: 94203-09, 94211,
  94566, 94568, 94577-80, 94586-88, 94601-15,                              94229-30, 94232, 94234-37, 94239-40, 94244,
  94617-21, 94622-24, 94649, 94659-62, 94666,                              94247-50, 94252, 94254, 94256-59, 94261-63,
  94701-10, 94712, 94720, 95377, 95391                                     94267-69, 94271, 94273-74, 94277-80, 94282-85,
                                                                           94287-91, 94293-98, 94571, 95608-11, 95615,
• The following ZIP codes in Amador County are                             95621, 95624, 95626, 95628, 95630, 95632, 95638-
  inside our Northern California Service Area: 95640,
                                                                           39, 95641, 95652, 95655, 95660, 95662, 95670-71,
  95669                                                                    95673, 95678, 95680, 95683, 95690, 95693, 95741-
• All ZIP codes in Contra Costa County are inside our                      42, 95757-59, 95763, 95811-38, 95840-43, 95851-53,
  Northern California Service Area: 94505-07, 94509,                       95860, 95864-67, 95894, 95899
  94511, 94513-14, 94516-31, 94547-49, 94551,
                                                                         • All ZIP codes in San Francisco County are inside our
  94553, 94556, 94561, 94563-65, 94569-70, 94572,
                                                                           Northern California Service Area: 94102-05, 94107-
  94575, 94582-83, 94595-98, 94706-08, 94801-08,
                                                                           12, 94114-34, 94137, 94139-47, 94151, 94158-61,
  94820, 94850
                                                                           94163-64, 94172, 94177, 94188
• The following ZIP codes in El Dorado County are                        • All ZIP codes in San Joaquin County are inside our
  inside our Northern California Service Area: 95613-
                                                                           Northern California Service Area: 94514, 95201-15,
  14, 95619, 95623, 95633-35, 95651, 95664, 95667,                         95219-20, 95227, 95230-31, 95234, 95236-37,
  95672, 95682, 95762
                                                                           95240-42, 95253, 95258, 95267, 95269, 95296-97,
• The following ZIP codes in Fresno County are inside                      95304, 95320, 95330, 95336-37, 95361, 95366,
  our Northern California Service Area: 93242, 93602,                      95376-78, 95385, 95391, 95632, 95686, 95690
  93606-07, 93609, 93611-13, 93616, 93618-19,
                                                                         • All ZIP codes in San Mateo County are inside our
  93624-27, 93630-31, 93646, 93648-52, 93654,
                                                                           Northern California Service Area: 94002, 94005,
  93656-57, 93660, 93662, 93667-68, 93675, 93701-
                                                                           94010-11, 94014-21, 94025-28, 94030, 94037-38,
  12, 93714-18, 93720-30, 93737, 93740-41, 93744-45,
                                                                           94044, 94060-66, 94070, 94074, 94080, 94083,
  93747, 93750, 93755, 93760-61, 93764-65, 93771-
                                                                           94128, 94303, 94401-04, 94497
  79, 93786, 93790-94, 93844, 93888
                                                                         • The following ZIP codes in Santa Clara County are
• The following ZIP codes in Kings County are inside                       inside our Northern California Service Area: 94022-
  our Northern California Service Area: 93230, 93232,
                                                                           24, 94035, 94039-43, 94085-89, 94301-06, 94309,
  93242, 93631, 93656                                                      94550, 95002, 95008-09, 95011, 95013-15, 95020-
• The following ZIP codes in Madera County are inside                      21, 95026, 95030-33, 95035-38, 95042, 95044,
  our Northern California Service Area: 93601-02,                          95046, 95050-56, 95070-71, 95076, 95101, 95103,
  93604, 93614, 93623, 93626, 93636-39, 93643-45,                          95106, 95108-13, 95115-36, 95138-41, 95148,
  93653, 93669, 93720                                                      95150-61, 95164, 95170, 95172-73, 95190-94, 95196
• All ZIP codes in Marin County are inside our                           • All ZIP codes in Santa Cruz County are inside our
  Northern California Service Area: 94901, 94903-04,                       Northern California Service Area: 95001, 95003,
  94912-15, 94920, 94924-25, 94929-30, 94933,                              95005-7, 95010, 95017-19, 95033, 95041, 95060-67,
  94937-42, 94945-50, 94956-57, 94960, 94963-66,                           95073, 95076-77
  94970-71, 94973-74, 94976-79
                                                                         • All ZIP codes in Solano County are inside our
• The following ZIP codes in Mariposa County are                           Northern California Service Area: 94503, 94510,
  inside our Northern California Service Area: 93601,                      94512, 94533-35, 94571, 94585, 94589-92, 95616,
  93623, 93653                                                             95618, 95620, 95625, 95687-88, 95690, 95694,
• All ZIP codes in Napa County are inside our Northern                     95696
  California Service Area: 94503, 94508, 94515,                          • The following ZIP codes in Sonoma County are
                                                                           inside our Northern California Service Area: 94515,



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   94922-23, 94926-28, 94931, 94951-55, 94972,                              91201-10, 91214, 91221-22, 91224-26, 91301-11,
   94975, 94999, 95401-07, 95409, 95416, 95419,                             91313, 91316, 91321-22, 91324-31, 91333-35,
   95421, 95425, 95430-31, 95433, 95436, 95439,                             91337, 91340-46, 91350-57, 91361-62, 91364-65,
   95441-42, 95444, 95446, 95448, 95450, 95452,                             91367, 91371-72, 91376, 91380-87, 91390, 91392-
   95462, 95465, 95471-73, 95476, 95486-87, 95492                           96, 91401-13, 91416, 91423, 91426, 91436, 91470,
• All ZIP codes in Stanislaus County are inside our                         91482, 91495-96, 91499, 91501-08, 91510, 91521-
  Northern California Service Area: 95230, 95304,                           23, 91526, 91601-12, 91614-18, 91702, 91706,
  95307, 95313, 95316, 95319, 95322-23, 95326,                              91711, 91714-16, 91722-24, 91731-35, 91740-41,
  95328-29, 95350-58, 95360-61, 95363, 95367-68,                            91744-50, 91754-56, 91759, 91765-73, 91775-76,
  95380-82, 95385-87, 95397                                                 91778, 91780, 91788-93, 91801-04, 91896, 91899,
                                                                            93243, 93510, 93532, 93534-36, 93539, 93543-44,
• The following ZIP codes in Sutter County are inside                       93550-53, 93560, 93563, 93584, 93586, 93590-91,
  our Northern California Service Area: 95626, 95645,                       93599
  95659, 95668, 95674, 95676, 95692, 95836-37
                                                                         • All ZIP codes in Orange County are inside our
• The following ZIP codes in Tulare County are inside                      Southern California Service Area: 90620-24, 90630-
  our Northern California Service Area: 93618, 93631,                      33, 90638, 90680, 90720-21, 90740, 90742-43,
  93646, 93654, 93666, 93673                                               92602-07, 92609-10, 92612, 92614-20, 92623-30,
• The following ZIP codes in Yolo County are inside                        92637, 92646-63, 92672-79, 92683-85, 92688,
  our Northern California Service Area: 95605, 95607,                      92690-94, 92697-98, 92701-08, 92711-12, 92728,
  95612, 95615-18, 95645, 95691, 95694-95, 95697-                          92735, 92780-82, 92799, 92801-09, 92811-12,
  98, 95776, 95798-99                                                      92814-17, 92821-23, 92825, 92831-38, 92840-46,
                                                                           92850, 92856-57, 92859, 92861-71, 92885-87, 92899
• The following ZIP codes in Yuba County are inside
  our Northern California Service Area: 95692, 95903,                    • The following ZIP codes in Riverside County are
  95961                                                                    inside our Southern California Service Area: 91752,
                                                                           92028, 92201-03, 92210-11, 92220, 92223, 92230,
Southern California Region Service Area                                    92234-36, 92240-41, 92247-48, 92253-55, 92258,
                                                                           92260-64, 92270, 92274, 92276, 92282, 92320,
The ZIP codes below for each county are in our Southern                    92324, 92373, 92399, 92501-09, 92513-14, 92516-
California Service Area:                                                   19, 92521-22, 92530-32, 92543-46, 92548, 92551-57,
• The following ZIP codes in Imperial County are                           92562-64, 92567, 92570-72, 92581-87, 92589-93,
  inside our Southern California Service Area: 92274-                      92595-96, 92599, 92860, 92877-83
  75                                                                     • The following ZIP codes in San Bernardino County
• The following ZIP codes in Kern County are inside                        are inside our Southern California Service Area:
  our Southern California Service Area: 93203, 93205-                      91701, 91708-10, 91729-30, 91737, 91739, 91743,
  06, 93215-16, 93220, 93222, 93224-26, 93238,                             91758-59, 91761-64, 91766, 91784-86, 91792,
  93240-41, 93243, 93249-52, 93263, 93268, 93276,                          92252, 92256, 92268, 92277-78, 92284-86, 92305,
  93280, 93285, 93287, 93301-09, 93311-14, 93380,                          92307-08, 92313-18, 92321-22, 92324-25, 92329,
  93383-90, 93501-02, 93504-05, 93518-19, 93531,                           92331, 92333-37, 92339-41, 92344-46, 92350,
  93536, 93560-61, 93581                                                   92352, 92354, 92357-59, 92369, 92371-78, 92382,
                                                                           92385-86, 92391-95, 92397, 92399, 92401-08,
• The following ZIP codes in Los Angeles County are
                                                                           92410-11, 92413, 92415, 92418, 92423, 92427,
  inside our Southern California Service Area:
                                                                           92880
  90001-84, 90086-91, 90093-96, 90099, 90134,
  90189, 90201-02, 90209-13, 90220-24, 90230-33,                         • The following ZIP codes in San Diego County are
  90239-42, 90245, 90247-51, 90254-55, 90260-67,                           inside our Southern California Service Area: 91901-
  90270, 90272, 90274-75, 90277-78, 90280, 90290-                          03, 91908-17, 91921, 91931-33, 91935, 91941-46,
  96, 90301-12, 90401-11, 90501-10, 90601-10, 90623,                       91950-51, 91962-63, 91976-80, 91987, 92003,
  90630-31, 90637-40, 90650-52, 90660-62, 90670-71,                        92007-11, 92013-14, 92018-30, 92033, 92037-40,
  90701-03, 90706-07, 90710-17, 90723, 90731-34,                           92046, 92049, 92051-52, 92054-61, 92064-65,
  90744-49, 90755, 90801-10, 90813-15, 90822,                              92067-69, 92071-72, 92074-75, 92078-79, 92081-86,
  90831-35, 90840, 90842, 90844, 90846-48, 90853,                          92088, 92091-93, 92096, 92101-24, 92126-32,
  90895, 90899, 91001, 91003, 91006-12, 91016-17,                          92134-40, 92142-43, 92145, 92147, 92149-50,
  91020-21, 91023-25, 91030-31, 91040-43, 91046,                           92152-55, 92158-61, 92163, 92165-79, 92182,
  91066, 91077, 91101-10, 91114-18, 91121, 91123-                          92186-87, 92191-93, 92195-99
  26, 91129, 91182, 91184-85, 91188-89, 91199,



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• The following ZIP codes in Tulare County are inside                    of domestic partners not legally recognized as domestic
  our Southern California Service Area: 93238, 93261                     partners by California, "Spouse" also includes the
                                                                         Subscriber's domestic partner who meets your Group's
• The following ZIP codes in Ventura County are
                                                                         eligibility requirements for domestic partners).
  inside our Southern California Service Area: 90265,
  91304, 91307, 91311, 91319-20, 91358-62, 91377,                        Stabilize: To provide the medical treatment of the
  93001-07, 93009-12, 93015-16, 93020-22, 93030-36,                      Emergency Medical Condition that is necessary to
  93040-44, 93060-66, 93094, 93099, 93252                                assure, within reasonable medical probability, that no
                                                                         material deterioration of the condition is likely to result
For each ZIP code listed for a county, your Home Region
                                                                         from or occur during the transfer of the person from the
Service Area includes only the part of that ZIP code that
                                                                         facility. With respect to a pregnant woman who is having
is in that county. When a ZIP code spans more than one
                                                                         contractions, when there is inadequate time to safely
county, the part of that ZIP code that is in another county
                                                                         transfer her to another hospital before delivery (or the
is not inside your Home Region Service Area unless that
                                                                         transfer may pose a threat to the health or safety of the
other county is listed above and that ZIP code is also
                                                                         woman or unborn child), "Stabilize" means to deliver
listed for that other county.
                                                                         (including the placenta).
If you have a question about whether a ZIP code is in
                                                                         Subscriber: A Member who is eligible for membership
your Home Region Service Area, please call our Member
                                                                         on their own behalf and not by virtue of Dependent
Service Contact Center.
                                                                         status and who meets the eligibility requirements as a
Note: We may expand your Home Region Service Area                        Subscriber (for Subscriber eligibility requirements, see
at any time by giving written notice to your Group. ZIP                  "Who Is Eligible" in the "Premiums, Eligibility, and
codes are subject to change by the U.S. Postal Service.                  Enrollment" section).
Services: Health care services or items ("health care"                   Telehealth Visits: Interactive video visits and scheduled
includes both physical health care and mental health                     telephone visits between you and your provider.
care), behavioral health treatment covered under
                                                                         Urgent Care: Medically Necessary Services for a
"Behavioral Health Treatment for Pervasive
                                                                         condition that requires prompt medical attention but is
Developmental Disorder or Autism" in the "Benefits"
                                                                         not an Emergency Medical Condition.
section, and services to treat Serious Emotional
Disturbance of a Child Under Age 18 or Severe Mental
Illness.
Severe Mental Illness: The following mental disorders:                   Premiums, Eligibility, and
schizophrenia, schizoaffective disorder, bipolar disorder                Enrollment
(manic-depressive illness), major depressive disorders,
panic disorder, obsessive-compulsive disorder, pervasive                 Premiums
developmental disorder or autism, anorexia nervosa, or
bulimia nervosa.                                                         Your Group is responsible for paying Full Premiums,
Skilled Nursing Facility: A facility that provides                       except that you are responsible for paying Full Premiums
inpatient skilled nursing care, rehabilitation services, or              as described in the "Continuation of Membership"
other related health services and is licensed by the state               section if you have Cal-COBRA coverage under this
of California. The facility's primary business must be the               EOC. If you are responsible for any contribution to the
provision of 24-hour-a-day licensed skilled nursing care.                Premiums that your Group pays, your Group will tell you
The term "Skilled Nursing Facility" does not include                     the amount, when Premiums are effective, and how to
convalescent nursing homes, rest facilities, or facilities               pay your Group (through payroll deduction, for
for the aged, if those facilities furnish primarily custodial            example).
care, including training in routines of daily living. A
"Skilled Nursing Facility" may also be a unit or section
                                                                         Who Is Eligible
within another facility (for example, a hospital) as long
as it continues to meet this definition.                                 To enroll and to continue enrollment, you must meet all
Spouse: The person to whom the Subscriber is legally                     of the eligibility requirements described in this "Who Is
married under applicable law. For the purposes of this                   Eligible" section, including Covered California eligibility
EOC, the term "Spouse" includes the Subscriber's                         requirements, your Group's eligibility requirements and
domestic partner. "Domestic partners" are two people                     our Service Area eligibility requirements.
who are registered and legally recognized as domestic
partners by California (if your Group allows enrollment


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CaliforniaChoice eligibility requirements                                • The other California Region's Service Area. If the
If your coverage is through CaliforniaChoice, you must                     Subscriber moves from your Home Region to the
meet eligibility requirements established by                               other California Region, your Group may permit you
CaliforniaChoice. Information regarding eligibility                        to enroll in that Region. If your Group permits
requirements and how to appeal eligibility                                 enrollment and the Subscriber does not submit a new
determinations can be found in the "Kaiser Permanente                      enrollment form, all terms and conditions in your
group service agreement" on CaliforniaChoice's website                     application for enrollment in your Home Region,
at www.Calchoice.com. Questions about                                      including the Arbitration Agreement, will continue to
CaliforniaChoice eligibility requirements should be                        apply
directed to CaliforniaChoice. If your coverage is through
CaliforniaChoice, the EOC cover will say that the plan is                For more information about the service areas of the other
for CaliforniaChoice.                                                    Regions, please call our Member Service Contact Center.

Group eligibility requirements                                           Eligibility as a Subscriber
You must meet your Group's eligibility requirements,                     You may be eligible to enroll and continue enrollment as
such as the minimum number of hours that employees                       a Subscriber if you are:
must work. Your Group is required to inform Subscribers                  • An employee of your Group
of its eligibility requirements.
                                                                         • A proprietor or partner of your Group
Service Area eligibility requirements                                    • Otherwise entitled to coverage under a trust
When you join Kaiser Permanente, you are enrolling in                      agreement or employment contract (unless the
one of two Health Plan Regions in California (either our                   Internal Revenue Service considers you self-
Northern California Region or Southern California                          employed)
Region), which we call your "Home Region." The
Service Area of each Region is described in the                          Eligibility as a Dependent
"Definitions" section.
                                                                         Enrolling a Dependent
                                                                         Dependent eligibility is subject to your Group's
Subscribers must live or work inside your Home Region
                                                                         eligibility requirements, which are not described in this
Service Area at the time they enroll. If after enrollment
                                                                         EOC. You can obtain your Group's eligibility
the Subscriber no longer lives or works inside your
                                                                         requirements directly from your Group. If you are a
Home Region Service Area, the Subscriber can continue
                                                                         Subscriber under this EOC and if your Group allows
membership unless (1) they live inside or move to the
                                                                         enrollment of Dependents, Health Plan allows the
service area of another Region and do not work inside
                                                                         following persons to enroll as your Dependents under
your Home Region Service Area, or (2) your Group does
                                                                         this EOC:
not allow continued enrollment of Subscribers who do
not live or work inside your Home Region Service Area.                   • Your Spouse
                                                                         • Your or your Spouse's Dependent children, who meet
Dependent children of the Subscriber or of the                             the requirements described under "Age limit of
Subscriber's Spouse may live anywhere inside or outside                    Dependent children," if they are any of the following:
your Home Region Service Area. Other Dependents may
                                                                             sons, daughters, or stepchildren
live anywhere, except that they are not eligible to enroll
or to continue enrollment if they live in or move to the                     adopted children
service area of another Region.                                              children placed with you for adoption
                                                                             children for whom you or your Spouse is the
If you are not eligible to continue enrollment because
                                                                              court-appointed guardian (or was when the child
you live in or move to the service area of another                            reached age 18)
Region, please contact your Group to learn about your
Group health care options:                                               • Children whose parent is a Dependent under your
                                                                           family coverage (including adopted children and
• Regions outside California. You may be able to                           children placed with your Dependent for adoption) if
  enroll in the service area of another Region if there is
                                                                           they meet all of the following requirements:
  an agreement between your Group and that Region,
  but the plan, including coverage, premiums, and                            they are not married and do not have a domestic
  eligibility requirements, might not be the same as                          partner (for the purposes of this requirement only,
  under this EOC                                                              "domestic partner" means someone who is




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       registered and legally recognized as a domestic                   Disabled Dependent certification
       partner by California)                                            One of the requirements for a Dependent to be eligible to
    they meet the requirements described under "Age                     continue coverage as a disabled Dependent is that the
     limit of Dependent children"                                        Subscriber must provide us documentation of the
                                                                         dependent's incapacity and dependency as follows:
    they receive all of their support and maintenance
     from you or your Spouse                                             • If the child is a Member, we will send the Subscriber
                                                                           a notice of the Dependent's membership termination
    they permanently reside with you or your Spouse
                                                                           due to loss of eligibility at least 90 days before the
• Children placed with the Subscriber or Spouse for                        date coverage will end due to reaching the age limit.
  foster care who enroll during a special enrollment                       The Dependent's membership will terminate as
  period triggered by the placement of that child in                       described in our notice unless the Subscriber provides
  foster care                                                              us documentation of the Dependent's incapacity and
                                                                           dependency within 60 days of receipt of our notice
If you have a baby                                                         and we determine that the Dependent is eligible as a
If you have a baby while enrolled under this EOC, the                      disabled dependent. If the Subscriber provides us this
baby is not automatically enrolled in this plan. The                       documentation in the specified time period and we do
Subscriber must request enrollment of the baby as                          not make a determination about eligibility before the
described under "Special enrollment" in the "How to                        termination date, coverage will continue until we
Enroll and When Coverage Begins" section below. If the                     make a determination. If we determine that the
Subscriber does not request enrollment within this                         Dependent does not meet the eligibility requirements
special enrollment period, the baby will only be covered                   as a disabled dependent, we will notify the Subscriber
under this plan for 31 days (including the date of birth),                 that the Dependent is not eligible and let the
or until the date the baby is enrolled in other coverage,                  Subscriber know the membership termination date. If
whichever happens first.                                                   we determine that the Dependent is eligible as a
                                                                           disabled dependent, there will be no lapse in
Age limit of Dependent children                                            coverage. Also, starting two years after the date that
Children must be under age 26 as of the effective date to                  the Dependent reached the age limit, the Subscriber
enroll as a Dependent under your plan.                                     must provide us documentation of the Dependent's
                                                                           incapacity and dependency annually within 60 days
Dependent children are eligible to remain on the plan                      after we request it so that we can determine if the
through the end of the month in which they reach the age                   Dependent continues to be eligible as a disabled
limit.                                                                     dependent
                                                                         • If the child is not a Member because you are changing
Dependent children of the Subscriber or Spouse                             coverage, you must give us proof, within 60 days
(including adopted children and children placed with you                   after we request it, of the child's incapacity and
for adoption) who reach the age limit may continue                         dependency as well as proof of the child's coverage
coverage under this EOC if all of the following                            under your prior coverage. In the future, you must
conditions are met:                                                        provide proof of the child's continued incapacity and
• They meet all requirements to be a Dependent except                      dependency within 60 days after you receive our
  for the age limit                                                        request, but not more frequently than annually

• Your Group permits enrollment of Dependents                            If the Subscriber is enrolled under a Kaiser
• They are incapable of self-sustaining employment                       Permanente Medicare plan
  because of a physically- or mentally-disabling injury,                 The dependent eligibility rules described in the
  illness, or condition that occurred before they reached                "Eligibility as a Dependent" section also apply if you are
  the age limit for Dependents                                           a subscriber under a Kaiser Permanente Medicare plan
• They receive 50 percent or more of their support and                   offered by your Group (please ask your Group about
  maintenance from you or your Spouse                                    your membership options). All of your dependents who
                                                                         are enrolled under this or any other non-Medicare
• You give us proof of their incapacity and dependency                   evidence of coverage offered by your Group must be
  within 60 days after we request it (see "Disabled                      enrolled under the same non-Medicare evidence of
  Dependent certification" below in this "Eligibility as a               coverage. A "non-Medicare" evidence of coverage is one
  Dependent" section)                                                    that does not require members to have Medicare.




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Persons barred from enrolling                                            more, you may have to pay a late enrollment penalty if
You cannot enroll if you have had your entitlement to                    you later sign up for Medicare prescription drug
receive Services through Health Plan terminated for                      coverage. If you are (or become) eligible for Medicare,
cause.                                                                   your Group is responsible for informing you about
                                                                         whether your drug coverage under this EOC is creditable
Members with Medicare and retirees                                       prescription drug coverage at the times required by the
This EOC is not intended for retirees and most Medicare                  Centers for Medicare & Medicaid Services and upon
beneficiaries. If, during the term of this EOC, you are (or              your request.
become) eligible for Medicare or you retire, the
following will apply:
                                                                         How to Enroll and When Coverage
• If you are the Subscriber and you retire, membership                   Begins
  under this EOC will be terminated and you may be
  eligible to continue membership as described in the                    Your Group is required to inform you when you are
  "Continuation of Membership" section                                   eligible to enroll and what your effective date of
• If federal law requires that your Group's health care                  coverage is. If you are eligible to enroll as described
  coverage be primary and Medicare coverage be                           under "Who Is Eligible" in this "Premiums, Eligibility,
  secondary, your coverage under this EOC will be the                    and Enrollment" section, enrollment is permitted as
  same as it would be if you had not become eligible for                 described below and membership begins at the beginning
  Medicare. However, you may also be eligible to                         (12:00 a.m.) of the effective date of coverage indicated
  enroll in Kaiser Permanente Senior Advantage                           below, except that your Group may have additional
  through your Group if you have Medicare Part B                         requirements, which allow enrollment in other situations.

• If none of the above applies to you and you are                        If you are eligible to be a Dependent under this EOC but
  eligible for Medicare please ask your Group about                      the subscriber in your family is enrolled under a Kaiser
  your membership options.                                               Permanente Senior Advantage evidence of coverage
                                                                         offered by your Group, the rules for enrollment of
When Medicare is secondary                                               Dependents in this "How to Enroll and When Coverage
Medicare is the primary coverage except when federal                     Begins" section apply, not the rules for enrollment of
law requires that your Group's health care coverage be                   dependents in the subscriber's evidence of coverage.
primary and Medicare coverage be secondary. Members
who have Medicare when Medicare is secondary by law                      New employees
are subject to the same Premiums and receive the same                    When your Group informs you that you are eligible to
benefits as Members who are under age 65 and do not                      enroll as a Subscriber, you may enroll yourself and any
have Medicare. In addition, any such Member for whom                     eligible Dependents by submitting a Health Plan–
Medicare is secondary by law and who meets the                           approved enrollment application to your Group within 31
eligibility requirements for the Kaiser Permanente Senior                days.
Advantage plan applicable when Medicare is secondary
may also enroll in that plan if it is available. These
                                                                         Effective date of coverage
Members receive the benefits and coverage described in
                                                                         The effective date of coverage for new employees and
this EOC and the Kaiser Permanente Senior Advantage
                                                                         their eligible family Dependents is determined by your
evidence of coverage applicable when Medicare is
                                                                         Group in accord with waiting period requirements in
secondary.
                                                                         state and federal law. Your Group is required to inform
                                                                         the Subscriber of the date your membership becomes
Medicare late enrollment penalties
                                                                         effective. For example, if the hire date of an otherwise-
If you become eligible for Medicare Part B and do not                    eligible employee is January 19, the waiting period
enroll, Medicare may require you to pay a late                           begins on January 19 and the effective date of coverage
enrollment penalty if you later enroll in Medicare Part B.               cannot be any later than April 19. Note: Because the
However, if you delay enrollment in Part B because you                   effective date of your Group's coverage is always on the
or your spouse are still working and have coverage                       first day of the month, in this example the effective date
through an employer group health plan, you may not                       cannot be any later than April 1.
have to pay the penalty. Also, if you are (or become)
eligible for Medicare and go without creditable                          Open enrollment
prescription drug coverage (drug coverage that is at least
                                                                         You may enroll as a Subscriber (along with any eligible
as good as the standard Medicare Part D prescription
                                                                         Dependents), and existing Subscribers may add eligible
drug coverage) for a continuous period of 63 days or
                                                                         Dependents, by submitting a Health Plan–approved


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enrollment application to your Group during your                             termination of employer contributions for non-
Group's open enrollment period. Your Group will let you                       COBRA coverage
know when the open enrollment period begins and ends                         loss of eligibility for non-COBRA coverage, but
and the effective date of coverage.                                           not termination for cause or termination from an
                                                                              individual (nongroup) plan for nonpayment. For
Special enrollment                                                            example, this loss of eligibility may be due to legal
If you do not enroll when you are first eligible and later                    separation or divorce, moving out of the plan's
want to enroll, you can enroll only during open                               service area, reaching the age limit for dependent
enrollment unless one of the following is true:                               children, or the subscriber's death, termination of
• You become eligible because you experience a                                employment, or reduction in hours of employment
  qualifying event (sometimes called a "triggering                           loss of eligibility (but not termination for cause)
  event") as described in this "Special enrollment"                           for coverage through Covered California,
  section                                                                     Medicaid coverage (known as Medi-Cal in
• You did not enroll in any coverage offered by your                          California), Children's Health Insurance Program
  Group when you were first eligible and your Group                           coverage, or Medi-Cal Access Program coverage
  does not give us a written statement that verifies you                     reaching a lifetime maximum on all benefits
  signed a document that explained restrictions about
  enrolling in the future. The effective date of an                      Note: If you are enrolling yourself as a Subscriber along
  enrollment resulting from this provision is no later                   with at least one eligible Dependent, only one of you
  than the first day of the month following the date your                must meet the requirements stated above.
  Group receives a Health Plan–approved enrollment or
  change of enrollment application from the Subscriber                   To request enrollment, the Subscriber must submit a
                                                                         Health Plan–approved enrollment or change of
Special enrollment due to new Dependents                                 enrollment application to your Group within 60 days
You may enroll as a Subscriber (along with eligible                      after loss of other coverage. The effective date of an
Dependents), and existing Subscribers may add eligible                   enrollment resulting from loss of other coverage is no
Dependents, within 60 days after marriage, establishment                 later than the first day of the month following the date
of domestic partnership, birth, adoption, placement for                  your Group receives an enrollment or change of
adoption, or placement for foster care by submitting to                  enrollment application from the Subscriber.
your Group a Health Plan–approved enrollment
application.                                                             Special enrollment due to court or administrative order
                                                                         Within 60 days after the date of a court or administrative
The effective date of an enrollment resulting from                       order requiring a Subscriber to provide health care
marriage or establishment of domestic partnership is no                  coverage for a Spouse or child who meets the eligibility
later than the first day of the month following the date                 requirements as a Dependent, the Subscriber may add the
your Group receives an enrollment application from the                   Spouse or child as a Dependent by submitting to your
Subscriber. Enrollments due to birth, adoption,                          Group a Health Plan–approved enrollment or change of
placement for adoption, or placement for foster care are                 enrollment application.
effective on the date of birth, date of adoption, or the
date you or your Spouse have newly assumed a legal                       The effective date of coverage resulting from a court or
right to control health care.                                            administrative order is the first of the month following
                                                                         the date we receive the enrollment request, unless your
Special enrollment due to loss of other coverage                         Group specifies a different effective date (if your Group
You may enroll as a Subscriber (along with any eligible                  specifies a different effective date, the effective date
Dependents), and existing Subscribers may add eligible                   cannot be earlier than the date of the order).
Dependents, if all of the following are true:
• The Subscriber or at least one of the Dependents had                   Special enrollment due to eligibility for premium
  other coverage when they previously declined all                       assistance
  coverage through your Group                                            You may enroll as a Subscriber (along with eligible
                                                                         Dependents), and existing Subscribers may add eligible
• The loss of the other coverage is due to one of the                    Dependents, if you or a dependent become eligible for
  following:                                                             premium assistance through the Medi-Cal program.
    exhaustion of COBRA coverage                                        Premium assistance is when the Medi-Cal program pays
                                                                         all or part of premiums for employer group coverage for



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a Medi-Cal beneficiary. To request enrollment in your                       terminal illness, care of newborn, or authorized
Group's health care coverage, the Subscriber must submit                    nonelective surgeries)
a Health Plan–approved enrollment or change of
enrollment application to your Group within 60 days                      To request special enrollment, you must submit an
after you or a dependent become eligible for premium                     application within 30 days after loss of other coverage.
assistance. Please contact the California Department of                  You may be required to provide documentation that you
Health Care Services to find out if premium assistance is                have experienced a qualifying event. If you are
available and the eligibility requirements.                              requesting enrollment in a plan offered through Covered
                                                                         California, submit your application to Covered
Special enrollment due to reemployment after military                    California. If you are not requesting enrollment in a plan
service                                                                  offered through Covered California, you must submit a
If you terminated your health care coverage because you                  Health Plan-approved enrollment application to your
were called to active duty in the military service, you                  Group. Membership becomes effective either on the first
may be able to reenroll in your Group's health plan if                   day of the next month (for applications that are received
required by state or federal law. Please ask your Group                  by the fifteenth day of a month) or on the first day of the
for more information.                                                    month following the next month (for applications that are
                                                                         received after the fifteenth day of a month).
Other special enrollment events
You may enroll as a Subscriber (along with any eligible                  Note: If you are enrolling as a Subscriber along with at
Dependents) if you or your Dependents were not                           least one eligible Dependent, only one of you must meet
previously enrolled, and existing Subscribers may add                    one of the requirements stated above.
eligible Dependents not previously enrolled, if any of the
following are true:
• You lose minimum essential coverage (for a reason                      How to Obtain Services
  other than nonpayment of Premiums, termination for
  cause, or rescission of coverage):                                     As a Member, you are selecting our medical care
    you lose your group health plan coverage (for                       program to provide your health care. You must receive
     example, you lose eligibility as a subscriber                       all covered care from Plan Providers inside your Home
     because you lose your job or your hours are                         Region Service Area, except as described in the sections
     reduced, you lose eligibility as a dependent due to                 listed below for the following Services:
     legal separation, divorce, or reaching the age limit                • Authorized referrals as described under "Getting a
     for dependent children, or you exhaust COBRA or                       Referral" in this "How to Obtain Services" section
     Cal-COBRA coverage)
                                                                         • Emergency ambulance Services as described under
    you lose eligibility for individual plan coverage,                    "Ambulance Services" in the "Benefits" section
     Medicare, Medi-Cal, or other government-
     sponsored health care program coverage                              • Emergency Services, Post-Stabilization Care, and
                                                                           Out-of-Area Urgent Care as described in the
• You become eligible for membership as a result of a                      "Emergency Services and Urgent Care" section
  permanent move
                                                                         • Hospice care as described under "Hospice Care" in
• You were recently released from incarceration                            the "Benefits" section
• You are an American Indian or Native Alaskan and                       • Visiting Member Services as described under
  Covered California determines that you are eligible                      "Receiving Care Outside of Your Home Region" in
  for a monthly special enrollment period                                  this "How to Obtain Services" section
• Covered California determines that you are entitled to
  a special enrollment period (for example, Covered                      As a Member, you are enrolled in one of two Health Plan
  California determines that you didn't apply for                        Regions in California (either our Northern California
  coverage during the prior open enrollment because                      Region or Southern California Region), called your
  you were misinformed that you had minimum                              Home Region. The coverage information in this EOC
  essential coverage)                                                    applies when you obtain care in your Home Region.
• You were under active care for certain conditions
  with a provider whose participation in your health                     Our medical care program gives you access to all of the
  plan ended (examples of conditions include: an acute                   covered Services you may need, such as routine care
  condition, a serious chronic condition, pregnancy,                     with your own personal Plan Physician, hospital care,




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laboratory and pharmacy Services, Emergency Services,                    You can reach one of these licensed health care
Urgent Care, and other benefits described in this EOC.                   professionals by calling the appointment or advice phone
                                                                         number (for phone numbers, refer to our Provider
                                                                         Directory or call our Member Service Contact Center).
Routine Care                                                             When you call, a trained support person may ask you
                                                                         questions to help determine how to direct your call.
If you need the following Services, you should schedule
an appointment:
• Preventive Services                                                    Your Personal Plan Physician
• Periodic follow-up care (regularly scheduled follow-                   Personal Plan Physicians provide primary care and play
  up care, such as visits to monitor a chronic condition)                an important role in coordinating care, including hospital
• Other care that is not Urgent Care                                     stays and referrals to specialists.

To request a non-urgent appointment, you can call your                   We encourage you to choose a personal Plan Physician.
local Plan Facility or request the appointment online. For               You may choose any available personal Plan Physician.
appointment phone numbers, please refer to our Provider                  Parents may choose a pediatrician as the personal Plan
Directory or call our Member Service Contact Center. To                  Physician for their child. Most personal Plan Physicians
request an appointment online, go to our website at                      are Primary Care Physicians (generalists in internal
kp.org.                                                                  medicine, pediatrics, or family practice, or specialists in
                                                                         obstetrics/gynecology whom the Medical Group
                                                                         designates as Primary Care Physicians). Some specialists
Urgent Care                                                              who are not designated as Primary Care Physicians but
                                                                         who also provide primary care may be available as
An Urgent Care need is one that requires prompt medical                  personal Plan Physicians. For example, some specialists
attention but is not an Emergency Medical Condition. If                  in internal medicine and obstetrics/gynecology who are
you think you may need Urgent Care, call the                             not designated as Primary Care Physicians may be
appropriate appointment or advice phone number at a                      available as personal Plan Physicians. However, if you
Plan Facility. For phone numbers, please refer to our                    choose a specialist who is not designated as a Primary
Provider Directory or call our Member Service Contact                    Care Physician as your personal Plan Physician, the Cost
Center.                                                                  Share for a Physician Specialist Visit will apply to all
                                                                         visits with the specialist except for routine preventive
For information about Out-of-Area Urgent Care, please                    visits listed under "Preventive Services" in the "Benefits"
refer to "Urgent Care" in the "Emergency Services and                    section.
Urgent Care" section.
                                                                         To learn how to select or change to a different personal
                                                                         Plan Physician, visit our website at kp.org or call our
Not Sure What Kind of Care You Need?                                     Member Service Contact Center. Refer to our Provider
Sometimes it's difficult to know what kind of care you                   Directory for a list of physicians that are available as
need, so we have licensed health care professionals                      Primary Care Physicians. The directory is updated
available to assist you by phone 24 hours a day, seven                   periodically. The availability of Primary Care Physicians
days a week. Here are some of the ways they can help                     may change. If you have questions, please call our
you:                                                                     Member Service Contact Center. You can change your
                                                                         personal Plan Physician at any time for any reason.
• They can answer questions about a health concern,
  and instruct you on self-care at home if appropriate
• They can advise you about whether you should get                       Getting a Referral
  medical care, and how and where to get care (for                       Referrals to Plan Providers
  example, if you are not sure whether your condition is
                                                                         A Plan Physician must refer you before you can receive
  an Emergency Medical Condition, they can help you
                                                                         care from specialists, such as specialists in surgery,
  decide whether you need Emergency Services or
                                                                         orthopedics, cardiology, oncology, dermatology, and
  Urgent Care, and how and where to get that care)
                                                                         physical, occupational, and speech therapies. Also, a
• They can tell you what to do if you need care and a                    Plan Physician must refer you before you can get care
  Plan Medical Office is closed or you are outside your                  from Qualified Autism Service Providers covered under
  Home Region Service Area                                               "Behavioral Health Treatment for Pervasive



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Developmental Disorder or Autism" in the "Benefits"                      care is provided. If it is Medically Necessary, then you
section. However, you do not need a referral or prior                    will receive authorization to obtain that care in a
authorization to receive most care from any of the                       clinically appropriate place consistent with the terms of
following Plan Providers:                                                your health coverage. Decisions regarding requests for
• Your personal Plan Physician                                           authorization will be made only by licensed physicians
                                                                         or other appropriately licensed medical professionals.
• Generalists in internal medicine, pediatrics, and
  family practice                                                        For the complete list of Services that require prior
• Specialists in optometry, mental health Services,                      authorization, and the criteria that are used to make
  substance use disorder treatment, and                                  authorization decisions, please visit our website at
  obstetrics/gynecology                                                  kp.org/UM or call our Member Service Contact Center
                                                                         to request a printed copy.
A Plan Physician must refer you before you can get care
from a specialist in urology except that you do not need a               Please refer to "Post-Stabilization Care" under
referral to receive Services related to sexual or                        "Emergency Services" in the "Emergency Services and
reproductive health, such as a vasectomy.                                Urgent Care" section for authorization requirements that
                                                                         apply to Post-Stabilization Care from Non–Plan
Although a referral or prior authorization is not required               Providers.
to receive most care from these providers, a referral may
be required in the following situations:                                 Additional information about prior authorization for
                                                                         durable medical equipment and ostomy and urological
• The provider may have to get prior authorization for
                                                                         supplies
  certain Services in accord with "Medical Group
  authorization procedure for certain referrals" in this                 The prior authorization process for durable medical
  "Getting a Referral" section                                           equipment and ostomy and urological supplies includes
                                                                         the use of formulary guidelines. These guidelines were
• The provider may have to refer you to a specialist                     developed by a multidisciplinary clinical and operational
  who has a clinical background related to your illness                  work group with review and input from Plan Physicians
  or condition                                                           and medical professionals with clinical expertise. The
                                                                         formulary guidelines are periodically updated to keep
Standing referrals                                                       pace with changes in medical technology and clinical
If a Plan Physician refers you to a specialist, the referral             practice.
will be for a specific treatment plan. Your treatment plan
may include a standing referral if ongoing care from the                 If your Plan Physician prescribes one of these items, they
specialist is prescribed. For example, if you have a life-               will submit a written referral in accord with the UM
threatening, degenerative, or disabling condition, you can               process described in this "Medical Group authorization
get a standing referral to a specialist if ongoing care from             procedure for certain referrals" section. If the formulary
the specialist is required.                                              guidelines do not specify that the prescribed item is
                                                                         appropriate for your medical condition, the referral will
Medical Group authorization procedure for                                be submitted to the Medical Group's designee Plan
certain referrals                                                        Physician, who will make an authorization decision as
The following are examples of Services that require prior                described under "Medical Group's decision time frames"
authorization by the Medical Group for the Services to                   in this "Medical Group authorization procedure for
be covered ("prior authorization" means that the Medical                 certain referrals" section.
Group must approve the Services in advance):
• Durable medical equipment                                              Medical Group's decision time frames
                                                                         The applicable Medical Group designee will make the
• Ostomy and urological supplies                                         authorization decision within the time frame appropriate
• Services not available from Plan Providers                             for your condition, but no later than five business days
                                                                         after receiving all of the information (including
• Transplants
                                                                         additional examination and test results) reasonably
                                                                         necessary to make the decision, except that decisions
Utilization Management ("UM") is a process that
                                                                         about urgent Services will be made no later than 72
determines whether a Service recommended by your
                                                                         hours after receipt of the information reasonably
treating provider is Medically Necessary for you. Prior
                                                                         necessary to make the decision. If the Medical Group
authorization is a UM process that determines whether
                                                                         needs more time to make the decision because it doesn't
the requested services are Medically Necessary before


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have information reasonably necessary to make the                        Completion of Services from Non–Plan
decision, or because it has requested consultation by a                  Providers
particular specialist, you and your treating physician will
                                                                         New Member
be informed about the additional information, testing, or
specialist that is needed, and the date that the Medical                 If you are currently receiving Services from a Non–Plan
Group expects to make a decision.                                        Provider in one of the cases listed below under
                                                                         "Eligibility" and your prior plan's coverage of the
                                                                         provider's Services has ended or will end when your
Your treating physician will be informed of the decision
within 24 hours after the decision is made. If the Services              coverage with us becomes effective, you may be eligible
are authorized, your physician will be informed of the                   for limited coverage of that Non–Plan Provider's
                                                                         Services.
scope of the authorized Services. If the Medical Group
does not authorize all of the Services, Health Plan will
send you a written decision and explanation within two                   Terminated provider
business days after the decision is made. Any written                    If you are currently receiving covered Services in one of
criteria that the Medical Group uses to make the decision                the cases listed below under "Eligibility" from a Plan
to authorize, modify, delay, or deny the request for                     Hospital or a Plan Physician (or certain other providers)
authorization will be made available to you upon request.                when our contract with the provider ends (for reasons
                                                                         other than medical disciplinary cause or criminal
If the Medical Group does not authorize all of the                       activity), you may be eligible for limited coverage of that
Services requested and you want to appeal the decision,                  terminated provider's Services.
you can file a grievance as described under "Grievances"
in the "Dispute Resolution" section.                                     Eligibility
                                                                         The cases that are subject to this completion of Services
For these referral Services, you pay the Cost Share                      provision are:
required for Services provided by a Plan Provider as                     • Acute conditions, which are medical conditions that
described in this EOC.                                                     involve a sudden onset of symptoms due to an illness,
                                                                           injury, or other medical problem that requires prompt
Travel and lodging for certain referrals                                   medical attention and has a limited duration. We may
The following are examples of when we will arrange or                      cover these Services until the acute condition ends
provide reimbursement for certain travel and lodging                     • Serious chronic conditions until the earlier of (1) 12
expenses in accord with our Travel and Lodging                             months from your effective date of coverage if you
Program Description:                                                       are a new Member, (2) 12 months from the
• If Medical Group refers you to a provider that is more                   termination date of the terminated provider, or (3) the
  than 50 miles from where you live for certain                            first day after a course of treatment is complete when
  specialty Services such as bariatric surgery, complex                    it would be safe to transfer your care to a Plan
  thoracic surgery, transplant nephrectomy, or inpatient                   Provider, as determined by Kaiser Permanente after
  chemotherapy for leukemia and lymphoma                                   consultation with the Member and Non–Plan Provider
• If Medical Group refers you to a provider that is                        and consistent with good professional practice.
  outside your Home Region Service Area for certain                        Serious chronic conditions are illnesses or other
  specialty Services such as a transplant or transgender                   medical conditions that are serious, if one of the
  surgery                                                                  following is true about the condition:
                                                                             it persists without full cure
For the complete list of specialty Services for which we                     it worsens over an extended period of time
will arrange or provide reimbursement for travel and
                                                                             it requires ongoing treatment to maintain
lodging expenses, the amount of reimbursement,                                remission or prevent deterioration
limitations and exclusions, and how to request
reimbursement, please refer to the Travel and Lodging                    • Pregnancy and immediate postpartum care. We may
Program Description. The Travel and Lodging Program                        cover these Services for the duration of the pregnancy
Description is available online at kp.org/specialty-                       and immediate postpartum care
care/travel-reimbursements or by calling our Member                      • Mental health conditions in pregnant Members that
Service Contact Center.                                                    occur, or can impact the Member, during pregnancy
                                                                           or during the postpartum period including, but not
                                                                           limited to, postpartum depression. We may cover
                                                                           completion of these Services for up to 12 months



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   from the mental health diagnosis or from the end of                   For completion of Services, you pay the Cost Share
   pregnancy, whichever occurs later                                     required for Services provided by a Plan Provider as
                                                                         described in this EOC.
• Terminal illnesses, which are incurable or irreversible
  illnesses that have a high probability of causing death
  within a year or less. We may cover completion of                      More information
  these Services for the duration of the illness                         For more information about this provision, or to request
                                                                         the Services or a copy of our "Completion of Covered
• Children under age 3. We may cover completion of                       Services" policy, please call our Member Service
  these Services until the earlier of (1) 12 months from                 Contact Center.
  the child's effective date of coverage if the child is a
  new Member, (2) 12 months from the termination
  date of the terminated provider, or (3) the child's third              Second Opinions
  birthday
                                                                         If you want a second opinion, you can ask Member
• Surgery or another procedure that is documented as
                                                                         Services to help you arrange one with a Plan Physician
  part of a course of treatment and has been
                                                                         who is an appropriately qualified medical professional
  recommended and documented by the provider to
                                                                         for your condition. If there isn't a Plan Physician who is
  occur within 180 days of your effective date of
                                                                         an appropriately qualified medical professional for your
  coverage if you are a new Member or within 180 days
                                                                         condition, Member Services will help you arrange a
  of the termination date of the terminated provider
                                                                         consultation with a Non–Plan Physician for a second
                                                                         opinion. For purposes of this "Second Opinions"
To qualify for this completion of Services coverage, all                 provision, an "appropriately qualified medical
of the following requirements must be met:
                                                                         professional" is a physician who is acting within their
• Your Health Plan coverage is in effect on the date you                 scope of practice and who possesses a clinical
  receive the Services                                                   background, including training and expertise, related to
• For new Members, your prior plan's coverage of the                     the illness or condition associated with the request for a
  provider's Services has ended or will end when your                    second medical opinion.
  coverage with us becomes effective
                                                                         Here are some examples of when a second opinion may
• You are receiving Services in one of the cases listed                  be provided or authorized:
  above from a Non–Plan Provider on your effective
  date of coverage if you are a new Member, or from                      • Your Plan Physician has recommended a procedure
  the terminated Plan Provider on the provider's                           and you are unsure about whether the procedure is
  termination date                                                         reasonable or necessary

• For new Members, when you enrolled in Health Plan,                     • You question a diagnosis or plan of care for a
  you did not have the option to continue with your                        condition that threatens substantial impairment or loss
  previous health plan or to choose another plan                           of life, limb, or bodily functions
  (including an out-of-network option) that would cover                  • The clinical indications are not clear or are complex
  the Services of your current Non–Plan Provider                           and confusing
• The provider agrees to our standard contractual terms                  • A diagnosis is in doubt due to conflicting test results
  and conditions, such as conditions pertaining to
                                                                         • The Plan Physician is unable to diagnose the
  payment and to providing Services inside your Home
                                                                           condition
  Region Service Area (the requirement that the
  provider agree to providing Services inside your                       • The treatment plan in progress is not improving your
  Home Region Service Area doesn't apply if you were                       medical condition within an appropriate period of
  receiving covered Services from the provider outside                     time, given the diagnosis and plan of care
  the Service Area when the provider's contract                          • You have concerns about the diagnosis or plan of care
  terminated)
• The Services to be provided to you would be covered                    An authorization or denial of your request for a second
  Services under this EOC if provided by a Plan                          opinion will be provided in an expeditious manner, as
  Provider                                                               appropriate for your condition. If your request for a
• You request completion of Services within 30 days                      second opinion is denied, you will be notified in writing
  (or as soon as reasonably possible) from your                          of the reasons for the denial and of your right to file a
  effective date of coverage if you are a new Member                     grievance as described under "Grievances" in the
  or from the termination date of the Plan Provider                      "Dispute Resolution" section.



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For these referral Services, you pay the Cost Share                      (except closed holidays). For example, call this number
required for Services provided by a Plan Provider as                     for the following concerns:
described in this EOC.                                                   • What you should do to prepare for your trip
                                                                         • What Services are covered when you are outside our
Contracts with Plan Providers                                              Service Area

How Plan Providers are paid                                              • How to get care in another Region
Health Plan and Plan Providers are independent                           • How to request reimbursement if you paid for
contractors. Plan Providers are paid in a number of ways,                  covered Services outside our Service Area
such as salary, capitation, per diem rates, case rates, fee
for service, and incentive payments. To learn more about                 You can also get information on our website at
how Plan Physicians are paid to provide or arrange                       kp.org/travel.
medical and hospital care for Members, please visit our
website at kp.org or call our Member Service Contact                     Receiving care in the Service Area of another
Center.                                                                  Region
                                                                         If you are visiting in the service area of another Region,
Financial liability                                                      you may receive Visiting Member Services from
Our contracts with Plan Providers provide that you are                   designated providers in that Region. "Visiting Member
not liable for any amounts we owe. However, you may                      Services" are Services that are covered under your Home
have to pay the full price of noncovered Services you                    Region plan that you receive in another Region, subject
obtain from Plan Providers or Non–Plan Providers.                        to exclusions, limitations, prior authorization or approval
                                                                         requirements, and reductions described in this EOC or
When you are referred to a Plan Provider for covered                     the Visiting Member Brochure, which is available online
Services, you pay the Cost Share required for Services                   at kp.org. Certain Services are not covered as Visiting
from that provider as described in this EOC.                             Member Services. For more information about receiving
                                                                         Visiting Member Services in another Region, including
Termination of a Plan Provider's contract                                provider and facility locations, or to obtain a copy of the
If our contract with any Plan Provider terminates while                  Visiting Member Brochure, please call our Away from
you are under the care of that provider, we will retain                  Home Travel Line at 1-951-268-3900 24 hours a day,
financial responsibility for the covered Services you                    seven days a week (except closed holidays). Information
receive from that provider until we make arrangements                    is also available online at kp.org/travel.
for the Services to be provided by another Plan Provider
and notify you of the arrangements. You may be eligible                  For Visiting Member Services, you pay the Cost Share
to receive Services from a terminated provider; please                   required for Services provided by a Plan Provider inside
refer to "Completion of Services from Non–Plan                           your Home Region Service Area as described in this
Providers" under "Getting a Referral" in this "How to                    EOC.
Obtain Services" section.
                                                                         Receiving care outside of any Region
Provider groups and hospitals                                            If you are traveling outside of a Kaiser Permanente
If you are assigned to a provider group or hospital whose                Region, we cover Emergency Services and Urgent Care
contract with us terminates, or if you live within 15 miles              as described in the "Emergency Services and Urgent
of a hospital whose contract with us terminates, we will                 Care" section.
give you written notice at least 60 days before the
termination (or as soon as reasonably possible).
                                                                         Your ID Card

Receiving Care Outside of Your Home                                      Each Member's Kaiser Permanente ID card has a medical
                                                                         record number on it, which you will need when you call
Region                                                                   for advice, make an appointment, or go to a provider for
If you have questions about your coverage when you are                   covered care. When you get care, please bring your ID
away from home, call the Away from Home Travel line                      card and a photo ID. Your medical record number is used
at 1-951-268-3900 24 hours a day, seven days a week                      to identify your medical records and membership
                                                                         information. Your medical record number should never
                                                                         change. Please call our Member Service Contact Center




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if we ever inadvertently issue you more than one medical                 on the interpreter services we offer, please call our
record number or if you need to replace your ID card.                    Member Service Contact Center.

Your ID card is for identification only. To receive
covered Services, you must be a current Member.                          Getting Assistance
Anyone who is not a Member will be billed as a non-
                                                                         We want you to be satisfied with the health care you
Member for any Services they receive. If you let
                                                                         receive from Kaiser Permanente. If you have any
someone else use your ID card, we may keep your ID
                                                                         questions or concerns, please discuss them with your
card and terminate your membership as described under
                                                                         personal Plan Physician or with other Plan Providers
"Termination for Cause" in the "Termination of
                                                                         who are treating you. They are committed to your
Membership" section.
                                                                         satisfaction and want to help you with your questions.

Timely Access to Care                                                    Member Services
                                                                         Member Services representatives can answer any
Standards for appointment availability                                   questions you have about your benefits, available
The California Department of Managed Health Care                         Services, and the facilities where you can receive care.
("DMHC") developed the following standards for                           For example, they can explain the following:
appointment availability. This information can help you                  • Your Health Plan benefits
know what to expect when you request an appointment.
                                                                         • How to make your first medical appointment
• Urgent Care: within 48 hours
                                                                         • What to do if you move
• Nonurgent Primary Care Visit or Non-Physician
  Specialist Visit: within 10 business days                              • How to replace your Kaiser Permanente ID card
• Physician Specialist Visit: within 15 business days
                                                                         You can reach Member Services in the following ways:
If you prefer to wait for a later appointment that will                  Call       1-800-464-4000 (English and more than 150
better fit your schedule or to see the Plan Provider of                             languages using interpreter services)
your choice, we will respect your preference. In some                               1-800-788-0616 (Spanish)
cases, your wait may be longer than the time listed if a                            1-800-757-7585 (Chinese dialects)
licensed health care professional decides that a later                              TTY users call 711
appointment won't have a negative effect on your health.                            24 hours a day, seven days a week (except
                                                                                    closed holidays)
The standards for appointment availability do not apply
to Preventive Services. Your Plan Provider may                           Visit      Member Services Department at a Plan
recommend a specific schedule for Preventive Services,                              Facility (for addresses, refer to our Provider
depending on your needs. The standards also do not                                  Directory or call our Member Service Contact
apply to periodic follow-up care for ongoing conditions                             Center)
or standing referrals to specialists.                                    Write      Member Services Department at a Plan
                                                                                    Facility (for addresses, refer to our Provider
Timely access to telephone assistance                                               Directory or call our Member Service Contact
DMHC developed the following standards for answering                                Center)
telephone questions:
                                                                         Website    kp.org
• For telephone advice about whether you need to get
  care and where to get care: within 30 minutes, 24                      Cost Share estimates
  hours a day, 7 days a week                                             For information about estimates, see "Getting an estimate
• For general questions: within 10 minutes during                        of your Cost Share" under "Your Cost Share" in the
  normal business hours                                                  "Benefits" section.

Interpreter services
If you need interpreter services when you call us or when                Plan Facilities
you get covered Services, please let us know. Interpreter
services, including sign language, are available during all
business hours at no cost to you. For more information                   Plan Medical Offices and Plan Hospitals are listed in the
                                                                         Provider Directory for your Home Region. The directory



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describes the types of covered Services that are available               Please be aware that if a Service is covered but not
from each Plan Facility, because some facilities provide                 available at a particular Plan Facility, we will make it
only specific types of covered Services. This directory is               available to you at another facility.
available on our website at kp.org/facilities. To obtain a
printed copy, call our Member Service Contact Center.
The directory is updated periodically. The availability of
Plan Facilities may change. If you have questions, please                Emergency Services and Urgent
call our Member Service Contact Center.                                  Care
At most of our Plan Facilities, you can usually receive all              Emergency Services
of the covered Services you need, including specialty
care, pharmacy, and lab work. You are not restricted to a                If you have an Emergency Medical Condition, call 911
particular Plan Facility, and we encourage you to use the                (where available) or go to the nearest hospital
facility that will be most convenient for you:                           Emergency Department. You do not need prior
• All Plan Hospitals provide inpatient Services and are                  authorization for Emergency Services. When you have
  open 24 hours a day, seven days a week                                 an Emergency Medical Condition, we cover Emergency
                                                                         Services you receive from Plan Providers or Non–Plan
• Emergency Services are available from Plan Hospital                    Providers anywhere in the world.
  Emergency Departments (for Emergency Department
  locations, refer to our Provider Directory or call our                 Emergency Services are available from Plan Hospital
  Member Service Contact Center)                                         Emergency Departments 24 hours a day, seven days a
• Same–day Urgent Care appointments are available at                     week.
  many locations (for Urgent Care locations, refer to
  our Provider Directory or call our Member Service                      Post-Stabilization Care
  Contact Center)                                                        Post-Stabilization Care is Medically Necessary Services
• Many Plan Medical Offices have evening and                             related to your Emergency Medical Condition that you
  weekend appointments                                                   receive in a hospital (including the Emergency
                                                                         Department) after your treating physician determines that
• Many Plan Facilities have a Member Services                            this condition is Stabilized. Post-Stabilization Care also
  Department (for locations, refer to our Provider                       includes durable medical equipment covered under this
  Directory or call our Member Service Contact Center)                   EOC, if it is Medically Necessary after discharge from a
                                                                         hospital, and related to the same Emergency Medical
Note: State law requires evidence of coverage documents                  Condition. For more information about durable medical
to include the following notice:                                         equipment covered under this EOC, see "Durable
                                                                         Medical Equipment ("DME") for Home Use" in the
Some hospitals and other providers do not
                                                                         "Benefits" section. We cover Post-Stabilization Care
provide one or more of the following services                            from a Non–Plan Provider only if we provide prior
that may be covered under your plan                                      authorization for the care or if otherwise required by
contract and that you or your family                                     applicable law ("prior authorization" means that we must
member might need: family planning;                                      approve the Services in advance).
contraceptive services, including emergency
                                                                         To request prior authorization, the Non–Plan Provider
contraception; sterilization, including tubal                            must call 1-800-225-8883 or the notification phone
ligation at the time of labor and delivery;                              number on your Kaiser Permanente ID card before you
infertility treatments; or abortion. You                                 receive the care. We will discuss your condition with the
should obtain more information before you                                Non–Plan Provider. If we determine that you require
enroll. Call your prospective doctor, medical                            Post-Stabilization Care and that this care is part of your
                                                                         covered benefits, we will authorize your care from the
group, independent practice association, or                              Non–Plan Provider or arrange to have a Plan Provider (or
clinic, or call the Kaiser Permanente                                    other designated provider) provide the care. If we decide
Member Service Contact Center, to ensure                                 to have a Plan Hospital, Plan Skilled Nursing Facility, or
that you can obtain the health care services                             designated Non–Plan Provider provide your care, we
that you need.                                                           may authorize special transportation services that are
                                                                         medically required to get you to the provider. This may
                                                                         include transportation that is otherwise not covered.



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Be sure to ask the Non–Plan Provider to tell you what                    • You receive the Services from Non–Plan Providers
care (including any transportation) we have authorized                     while you are temporarily outside your Home Region
because we will not cover Post-Stabilization Care or                       Service Area
related transportation provided by Non–Plan Providers
                                                                         • A reasonable person would have believed that your
that has not been authorized. If you receive care from a
                                                                           (or your unborn child's) health would seriously
Non–Plan Provider that we have not authorized, you may
                                                                           deteriorate if you delayed treatment until you returned
have to pay the full cost of that care. If you are admitted
                                                                           to your Home Region Service Area
to a Non–Plan Hospital, please notify us as soon as
possible by calling 1-800-225-8883 or the notification
                                                                         You do not need prior authorization for Out-of-Area
phone number on your ID card.
                                                                         Urgent Care. We cover Out-of-Area Urgent Care you
                                                                         receive from Non–Plan Providers if the Services would
Your Cost Share
                                                                         have been covered under this EOC if you had received
Your Cost Share for covered Emergency Services and                       them from Plan Providers.
Post-Stabilization Care is described in the "Cost Share
Summary" section of this EOC. Your Cost Share is the
                                                                         To obtain follow-up care from a Plan Provider, call the
same whether you receive the Services from a Plan
                                                                         appointment or advice phone number at a Plan Facility.
Provider or a Non–Plan Provider. For example:
                                                                         For phone numbers, refer to our Provider Directory or
• If you receive Emergency Services in the Emergency                     call our Member Service Contact Center. We do not
  Department of a Non–Plan Hospital, you pay the Cost                    cover follow-up care from Non–Plan Providers after you
  Share for an Emergency Department visit as                             no longer need Urgent Care, except for durable medical
  described in the "Cost Share Summary" under                            equipment covered under this EOC. For more
  "Emergency and Urgent Care visits"                                     information about durable medical equipment covered
• If we gave prior authorization for inpatient Post-                     under this EOC, see "Durable Medical Equipment
  Stabilization Care in a Non–Plan Hospital, you pay                     ("DME") for Home Use" in the "Benefits" section. If you
  the Cost Share for hospital inpatient care as described                require durable medical equipment related to your
  in the "Cost Share Summary" under "Hospital                            Urgent Care after receiving Out-of-Area Urgent Care,
  inpatient care"                                                        your provider must obtain prior authorization as
                                                                         described under "Getting a Referral" in the "How to
• If we gave prior authorization for durable medical                     Obtain Services" section.
  equipment after discharge from a Non–Plan Hospital,
  you pay the Cost Share for durable medical                             Your Cost Share
  equipment as described in the "Cost Share Summary"
                                                                         Your Cost Share for covered Urgent Care is the Cost
  under "Durable Medical Equipment ("DME") for
                                                                         Share required for Services provided by Plan Providers
  home use"
                                                                         as described in the "Cost Share Summary" section of this
                                                                         EOC. For example:
Urgent Care                                                              • If you receive an Urgent Care evaluation as part of
                                                                           covered Out-of-Area Urgent Care from a Non–Plan
Inside the Service Area                                                    Provider, you pay the Cost Share for Urgent Care
An Urgent Care need is one that requires prompt medical                    consultations, evaluations, and treatment as described
attention but is not an Emergency Medical Condition. If                    in the "Cost Share Summary" under "Emergency and
you think you may need Urgent Care, call the                               Urgent Care visits"
appropriate appointment or advice phone number at a
                                                                         • If the Out-of-Area Urgent Care you receive includes
Plan Facility. For appointment and advice phone
                                                                           an X-ray, you pay the Cost Share for an X-ray as
numbers, refer to our Provider Directory or call our
                                                                           described in the "Cost Share Summary" under
Member Service Contact Center.
                                                                           "Outpatient imaging, laboratory, and other diagnostic
                                                                           and treatment Services," in addition to the Cost Share
Out-of-Area Urgent Care
                                                                           for the Urgent Care evaluation
If you need Urgent Care due to an unforeseen illness,
unforeseen injury, or unforeseen complication of an                      • If we gave prior authorization for durable medical
existing condition (including pregnancy), we cover                         equipment provided as part of Out-of-Area Urgent
Medically Necessary Services to prevent serious                            Care, you pay the Cost Share for durable medical
deterioration of your (or your unborn child's) health from                 equipment as described in the "Cost Share Summary"
a Non–Plan Provider if all of the following are true:                      under "Durable Medical Equipment ("DME") for
                                                                           home use"




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Note: If you receive Urgent Care in an Emergency                             other health care items and services
Department, you pay the Cost Share for an Emergency                          other services to treat Serious Emotional
Department visit as described in the "Cost Share                              Disturbance of a Child Under Age 18 or Severe
Summary" under "Emergency and Urgent Care visits."                            Mental Illness
                                                                         • The Services are provided, prescribed, authorized, or
Payment and Reimbursement                                                  directed by a Plan Physician, except for:
                                                                             drugs prescribed by dentists, as described under
If you receive Emergency Services, Post-Stabilization
                                                                              "Outpatient Prescription Drugs, Supplies, and
Care, or Out-of-Area Urgent Care from a Non–Plan
                                                                              Supplements" below
Provider as described in this "Emergency Services and
Urgent Care" section, or emergency ambulance Services                        emergency ambulance Services, as described
described under "Ambulance Services" in the "Benefits"                        under "Ambulance Services" below
section, you are not responsible for any amounts beyond                      Emergency Services, Post-Stabilization Care, and
your Cost Share for covered Emergency Services.                               Out-of-Area Urgent Care, as described in the
However, if the provider does not agree to bill us, you                       "Emergency Services and Urgent Care" section
may have to pay for the Services and file a claim for                        eyeglasses and contact lenses prescribed by Non–
reimbursement. Also, you may be required to pay and                           Plan Providers, as described under "Vision
file a claim for any Services prescribed by a Non–Plan                        Services for Adult Members" and "Vision Services
Provider as part of covered Emergency Services, Post-                         for Pediatric Members" below
Stabilization Care, and Out-of-Area Urgent Care even if
you receive the Services from a Plan Provider, such as a                     Visiting Member Services, as described under
Plan Pharmacy.                                                                "Receiving Care Outside of Your Home Region"
                                                                              in the "How to Obtain Services" section
For information on how to file a claim, please see the                   • You receive the Services from Plan Providers inside
"Post-Service Claims and Appeals" section.                                 your Home Region Service Area, except for:
                                                                             authorized referrals, as described under "Getting a
                                                                              Referral" in the "How to Obtain Services" section
Benefits                                                                     emergency ambulance Services, as described
                                                                              under "Ambulance Services" below
This section describes the Services that are covered                         Emergency Services, Post-Stabilization Care, and
under this EOC.                                                               Out-of-Area Urgent Care, as described in the
                                                                              "Emergency Services and Urgent Care" section
Services are covered under this EOC as specifically
                                                                             hospice care, as described under "Hospice Care"
described in this EOC. Services that are not specifically
                                                                              below
described in this EOC are not covered, except as required
by state or federal law. Services are subject to exclusions                  Visiting Member Services, as described under
and limitations described in the "Exclusions, Limitations,                    "Receiving Care Outside of Your Home Region"
Coordination of Benefits, and Reductions" section.                            in the "How to Obtain Services" section
Except as otherwise described in this EOC, all of the                    • The Medical Group has given prior authorization for
following conditions must be satisfied:                                    the Services, if required, as described under "Medical
• You are a Member on the date that you receive the                        Group authorization procedure for certain referrals" in
  Services                                                                 the "How to Obtain Services" section
• The Services are Medically Necessary
                                                                         Please also refer to:
• The Services are one of the following:
                                                                         • The "Emergency Services and Urgent Care" section
    Preventive Services                                                   for information about how to obtain covered
    health care items and services for diagnosis,                         Emergency Services, Post-Stabilization Care, and
     assessment, or treatment                                              Out-of-Area Urgent Care
    health education covered under "Health                              • Our Provider Directory for the types of covered
     Education" in this "Benefits" section                                 Services that are available from each Plan Facility,
                                                                           because some facilities provide only specific types of
                                                                           covered Services




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Your Cost Share                                                          Share for those Services will be Charges if the newborn
                                                                         has not met the Plan Deductible.
Your Cost Share is the amount you are required to pay
for covered Services. For example, your Cost Share may                   Payment toward your Cost Share (and when you may
be a Copayment or Coinsurance.                                           be billed)
                                                                         In most cases, your provider will ask you to make a
If your coverage includes a Plan Deductible and you                      payment toward your Cost Share at the time you receive
receive Services that are subject to the Plan Deductible,                Services. If you receive more than one type of Services
your Cost Share for those Services will be Charges until                 (such as a routine physical maintenance exam and
you reach the Plan Deductible. Similarly, if your                        laboratory tests), you may be required to pay separate
coverage includes a Drug Deductible, and you receive                     Cost Share for each of those Services. Keep in mind that
Services that are subject to the Drug Deductible, your                   your payment toward your Cost Share may cover only a
Cost Share for those Services will be Charges until you                  portion of your total Cost Share for the Services you
reach the Drug Deductible.                                               receive, and you will be billed for any additional
                                                                         amounts that are due. The following are examples of
Please refer to the "Cost Share Summary" section of this                 when you may be asked to pay (or you may be billed for)
EOC for the amount you will pay for Services.                            Cost Share amounts in addition to the amount you pay at
                                                                         check-in:
General rules, examples, and exceptions
                                                                         • You receive non-preventive Services during a
Your Cost Share for covered Services will be the Cost                      preventive visit. For example, you go in for a routine
Share in effect on the date you receive the Services,                      physical maintenance exam, and at check-in you pay
except as follows:                                                         your Cost Share for the preventive exam (your Cost
• If you are receiving covered inpatient hospital or                       Share may be "no charge"). However, during your
  Skilled Nursing Facility Services on the effective date                  preventive exam your provider finds a problem with
  of this EOC, you pay the Cost Share in effect on your                    your health and orders non-preventive Services to
  admission date until you are discharged if the                           diagnose your problem (such as laboratory tests). You
  Services were covered under your prior Health Plan                       may be asked to pay (or you will be billed for) your
  evidence of coverage and there has been no break in                      Cost Share for these additional non-preventive
  coverage. However, if the Services were not covered                      diagnostic Services
  under your prior Health Plan evidence of coverage, or                  • You receive diagnostic Services during a treatment
  if there has been a break in coverage, you pay the                       visit. For example, you go in for treatment of an
  Cost Share in effect on the date you receive the                         existing health condition, and at check-in you pay
  Services                                                                 your Cost Share for a treatment visit. However,
• For items ordered in advance, you pay the Cost Share                     during the visit your provider finds a new problem
  in effect on the order date (although we will not cover                  with your health and performs or orders diagnostic
  the item unless you still have coverage for it on the                    Services (such as laboratory tests). You may be asked
  date you receive it) and you may be required to pay                      to pay (or you will be billed for) your Cost Share for
  the Cost Share when the item is ordered. For                             these additional diagnostic Services
  outpatient prescription drugs, the order date is the                   • You receive treatment Services during a diagnostic
  date that the pharmacy processes the order after                         visit. For example, you go in for a diagnostic exam,
  receiving all of the information they need to fill the                   and at check-in you pay your Cost Share for a
  prescription                                                             diagnostic exam. However, during the diagnostic
                                                                           exam your provider confirms a problem with your
Cost Share for Services received by newborn children                       health and performs treatment Services (such as an
of a Member                                                                outpatient procedure). You may be asked to pay (or
During the 31 days of automatic coverage for newborn                       you will be billed for) your Cost Share for these
children described under "Newborn coverage" under                          additional treatment Services
"Who Is Eligible" in the "Premiums, Eligibility, and
                                                                         • You receive Services from a second provider during
Enrollment" section, the parent or guardian of the
                                                                           your visit. For example, you go in for a diagnostic
newborn must pay the Cost Share indicated in the "Cost
                                                                           exam, and at check-in you pay your Cost Share for a
Share Summary" section of this EOC for any Services
                                                                           diagnostic exam. However, during the diagnostic
that the newborn receives, whether or not the newborn is
                                                                           exam your provider requests a consultation with a
enrolled. When the "Cost Share Summary" indicates the
                                                                           specialist. You may be asked to pay (or you will be
Services are subject to the Plan Deductible, the Cost



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   billed for) your Cost Share for the consultation with                 counseling and exams listed under "Preventive Services"
   the specialist                                                        in this "Benefits" section. For example, if your personal
                                                                         Plan Physician is a specialist in internal medicine or
In some cases, your provider will not ask you to make a                  obstetrics/gynecology who is not a Primary Care
payment at the time you receive Services, and you will                   Physician, you will pay the Cost Share for a Physician
be billed for your Cost Share (for example, some                         Specialist Visit for all consultations, evaluations, and
Laboratory Departments are not able to collect Cost                      treatment by the specialist except routine preventive
Share, or your Plan Provider is not able to collect Cost                 counseling and exams listed under "Preventive Services"
Share, if any, for Telehealth Visits you receive at home).               in this "Benefits" section. The Non-Physician Specialist
                                                                         Visit Cost Share applies to consultations, evaluations,
When we send you a bill, it will list Charges for the                    and treatment provided by non-physician specialists
Services you received, payments and credits applied to                   (such as nurse practitioners, physician assistants,
your account, and any amounts you still owe. Your                        optometrists, podiatrists, and audiologists).
current bill may not always reflect your most recent
Charges and payments. Any Charges and payments that                      Noncovered Services
are not on the current bill will appear on a future bill.                If you receive Services that are not covered under this
Sometimes, you may see a payment but not the related                     EOC, you may have to pay the full price of those
Charges for Services. That could be because your                         Services. Payments you make for noncovered Services
payment was recorded before the Charges for the                          do not apply to any deductible or out-of-pocket
Services were processed. If so, the Charges will appear                  maximum.
on a future bill. Also, you may receive more than one bill
for a single outpatient visit or inpatient stay. For                     Benefit limits
example, you may receive a bill for physician services                   Some benefits may include a limit on the number of
and a separate bill for hospital services. If you don't see              visits, days, or dollar amount that will be covered under
all the Charges for Services on one bill, they will appear               your plan during a specified time period. If a benefit
on a future bill. If we determine that you overpaid and                  includes a limit, this will be indicated in the "Cost Share
are due a refund, then we will send a refund to you                      Summary" section of this EOC. The time period
within four weeks after we make that determination. If                   associated with a benefit limit may not be the same as the
you have questions about a bill, please call the phone                   term of this EOC. We will count all Services you receive
number on the bill.                                                      during the benefit limit period toward the benefit limit,
                                                                         including Services you received under a prior Health
In some cases, a Non–Plan Provider may be involved in                    Plan EOC (as long as you have continuous coverage with
the provision of covered Services at a Plan Facility or a                Health Plan). Note: We will not count Services you
contracted facility where we have authorized you to                      received under a prior Health Plan EOC when you first
receive care. You are not responsible for any amounts                    enroll in individual plan coverage or a new employer
beyond your Cost Share for the covered Services you                      group's plan, when you move from group to individual
receive at Plan Facilities or at contracted facilities where             plan coverage (or vice versa), or when you received
we have authorized you to receive care. However, if the                  Services under a Kaiser Permanente Senior Advantage
provider does not agree to bill us, you may have to pay                  evidence of coverage. If you are enrolled in the Kaiser
for the Services and file a claim for reimbursement. For                 Permanente POS Plan, refer to your KPIC Certificate of
information on how to file a claim, please see the "Post-                Insurance and Schedule of Coverage for benefit limits
Service Claims and Appeals" section.                                     that apply to your separate indemnity coverage provided
                                                                         by the Kaiser Permanente Insurance Company ("KPIC").
Primary Care Visits, Non-Physician Specialist Visits,
and Physician Specialist Visits                                          Getting an estimate of your Cost Share
The Cost Share for a Primary Care Visit applies to                       If you have questions about the Cost Share for specific
evaluations and treatment provided by generalists in                     Services that you expect to receive or that your provider
internal medicine, pediatrics, or family practice, and by                orders during a visit or procedure, please visit our
specialists in obstetrics/gynecology whom the Medical                    website at kp.org/memberestimates to use our cost
Group designates as Primary Care Physicians. Some                        estimate tool or call our Member Service Contact Center.
physician specialists provide primary care in addition to
                                                                         • If you have a Plan Deductible and would like an
specialty care but are not designated as Primary Care
                                                                           estimate for Services that are subject to the Plan
Physicians. If you receive Services from one of these
                                                                           Deductible, please call 1-800-390-3507 (TTY users
specialists, the Cost Share for a Physician Specialist Visit
                                                                           call 711) Monday through Friday 7 a.m. to 7 p.m.
will apply to all consultations, evaluations, and treatment
provided by the specialist except for routine preventive


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   Refer to the "Cost Share Summary" section of this                     Payments that count toward the Plan Out-of-Pocket
   EOC to find out if you have a Plan Deductible                         Maximum
• For all other Cost Share estimates, please call 1-800-                 Any payments you make toward the Plan Deductible or
  464-4000 (TTY users call 711) 24 hours a day, seven                    Drug Deductible, if applicable, apply toward the
  days a week (except closed holidays)                                   maximum.

Cost Share estimates are based on your benefits and the                  Most Copayments and Coinsurance you pay for covered
Services you expect to receive. They are a prediction of                 Services apply to the maximum, however some may not.
cost and not a guarantee of the final cost of Services.                  To find out whether a Copayment or Coinsurance for a
Your final cost may be higher or lower than the estimate                 covered Service will apply to the maximum please refer
since not everything about your care can be known in                     to the "Cost Share Summary" section of this EOC.
advance.
                                                                         If your plan includes pediatric dental Services described
Drug Deductible                                                          in a Pediatric Dental Services Amendment to this EOC,
                                                                         those Services will apply toward the maximum. If your
This EOC does not include a Drug Deductible.
                                                                         plan has a Pediatric Dental Services Amendment, it will
Plan Deductible                                                          be attached to this EOC, and it will be listed in the EOC's
                                                                         Table of Contents.
This EOC does not include a Plan Deductible.
                                                                         Keeping track of the Plan Out-of-Pocket Maximum
Copayments and Coinsurance
                                                                         When you receive Services, we will give you a receipt
The Copayment or Coinsurance you must pay for each
                                                                         that shows how much you paid. To see how close you
covered Service, after you meet any applicable
                                                                         are to reaching your Plan Out-of-Pocket Maximum, use
deductible, is described in this EOC.
                                                                         our online Out-of-Pocket Summary tool at
                                                                         kp.org/outofpocket or call our Member Service Contact
Note: If Charges for Services are less than the                          Center.
Copayment described in this EOC, you will pay the
lesser amount, subject to any applicable deductible or
out-of-pocket maximum.                                                   Administered Drugs and Products
Plan Out-of-Pocket Maximum                                               Administered drugs and products are medications and
There is a limit to the total amount of Cost Share you                   products that require administration or observation by
must pay under this EOC in the Accumulation Period for                   medical personnel, such as:
covered Services that you receive in the same                            • Whole blood, red blood cells, plasma, and platelets
Accumulation Period. The Services that apply to the Plan
                                                                         • Allergy antigens (including administration)
Out-of-Pocket Maximum are described under the
"Payments that count toward the Plan Out-of-Pocket                       • Cancer chemotherapy drugs and adjuncts
Maximum" section below. Please refer to the "Cost                        • Drugs and products that are administered via
Share Summary" section of this EOC for your applicable                     intravenous therapy or injection that are not for
Plan Out-of-Pocket Maximum amounts.                                        cancer chemotherapy, including blood factor products
                                                                           and biological products ("biologics") derived from
If you are a Member in a Family of two or more                             tissue, cells, or blood
Members, you reach the Plan Out-of-Pocket Maximum
either when you reach the maximum for any one                            • Other administered drugs and products
Member, or when your Family reaches the Family
maximum. For example, suppose you have reached the                       We cover these items when prescribed by a Plan
Plan Out-of-Pocket Maximum for any one Member. For                       Provider, in accord with our drug formulary guidelines,
Services subject to the Plan Out-of-Pocket Maximum,                      and they are administered to you in a Plan Facility or
you will not pay any more Cost Share during the                          during home visits.
remainder of the Accumulation Period, but every other
Member in your Family must continue to pay Cost Share                    Certain administered drugs are Preventive Services.
during the remainder of the Accumulation Period until                    Please refer to "Family Planning Services" for
either they reach the maximum for any one Member or                      information about administered contraceptives and refer
your Family reaches the Family maximum.                                  to "Preventive Services" for information on
                                                                         immunizations.



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Ambulance Services                                                       • You complete the Medical Group–approved pre-
                                                                           surgical educational preparatory program regarding
Emergency                                                                  lifestyle changes necessary for long term bariatric
We cover Services of a licensed ambulance anywhere in                      surgery success
the world without prior authorization (including
                                                                         • A Plan Physician who is a specialist in bariatric care
transportation through the 911 emergency response                          determines that the surgery is Medically Necessary
system where available) in the following situations:
• You reasonably believed that the medical condition                     For covered Services related to bariatric surgical
  was an Emergency Medical Condition which required                      procedures that you receive, you will pay the Cost Share
  ambulance Services                                                     you would pay if the Services were not related to a
• Your treating physician determines that you must be                    bariatric surgical procedure. For example, see "Hospital
  transported to another facility because your                           inpatient care" in the "Cost Share Summary" section of
  Emergency Medical Condition is not Stabilized and                      this EOC for the Cost Share that applies for hospital
  the care you need is not available at the treating                     inpatient care.
  facility
                                                                         For the following Services related to "Bariatric
If you receive emergency ambulance Services that are                     Surgery," refer to these sections
not ordered by a Plan Provider, you are not responsible                  • Outpatient prescription drugs (refer to "Outpatient
for any amounts beyond your Cost Share for covered                         Prescription Drugs, Supplies, and Supplements")
emergency ambulance Services. However, if the provider
                                                                         • Outpatient administered drugs (refer to "Administered
does not agree to bill us, you may have to pay for the
                                                                           Drugs and Products")
Services and file a claim for reimbursement. For
information on how to file a claim, please see the "Post-
Service Claims and Appeals" section.                                     Behavioral Health Treatment for
                                                                         Pervasive Developmental Disorder or
Nonemergency
Inside your Home Region Service Area, we cover
                                                                         Autism
nonemergency ambulance and psychiatric transport van                     The following terms have special meaning when
Services if a Plan Physician determines that your                        capitalized and used in this "Behavioral Health
condition requires the use of Services that only a licensed              Treatment for Pervasive Developmental Disorder or
ambulance (or psychiatric transport van) can provide and                 Autism" section:
that the use of other means of transportation would
endanger your health. These Services are covered only                    • "Qualified Autism Service Provider" means a
when the vehicle transports you to or from covered                         provider who has the experience and competence to
Services.                                                                  design, supervise, provide, or administer treatment for
                                                                           pervasive developmental disorder or autism and is
Ambulance Services exclusion(s)                                            either of the following:
                                                                             a person who is certified by a national entity (such
• Transportation by car, taxi, bus, gurney van,
                                                                              as the Behavior Analyst Certification Board) with
  wheelchair van, and any other type of transportation
                                                                              a certification that is accredited by the National
  (other than a licensed ambulance or psychiatric
  transport van), even if it is the only way to travel to a                   Commission for Certifying Agencies
  Plan Provider                                                              a person licensed in California as a physician,
                                                                              physical therapist, occupational therapist,
                                                                              psychologist, marriage and family therapist,
Bariatric Surgery                                                             educational psychologist, clinical social worker,
                                                                              professional clinical counselor, speech-language
We cover hospital inpatient care related to bariatric                         pathologist, or audiologist
surgical procedures (including room and board, imaging,
laboratory, other diagnostic and treatment Services, and                 • "Qualified Autism Service Professional" means an
Plan Physician Services) when performed to treat obesity                   individual who meets all of the following criteria:
by modification of the gastrointestinal tract to reduce                      provides behavioral health treatment, which may
nutrient intake and absorption, if all of the following                       include clinical case management and case
requirements are met:                                                         supervision under the direction and supervision of
                                                                              a qualified autism service provider



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    is supervised by a Qualified Autism Service                         • The Services are provided inside your Home Region
     Provider                                                              Service Area
    provides treatment pursuant to a treatment plan                     • The treatment is prescribed by a Plan Physician, or is
     developed and approved by the Qualified Autism                        developed by a Plan Provider who is a psychologist
     Service Provider
                                                                         • The treatment is provided under a treatment plan
    is a behavioral health treatment provider who                         prescribed by a Plan Provider who is a Qualified
     meets the education and experience qualifications                     Autism Service Provider
     described in Section 54342 of Title 17 of the
                                                                         • The treatment is administered by a Plan Provider who
     California Code of Regulations for an Associate
                                                                           is one of the following:
     Behavior Analyst, Behavior Analyst, Behavior
     Management Assistant, Behavior Management                               a Qualified Autism Service Provider
     Consultant, or Behavior Management Program                              a Qualified Autism Service Professional
    has training and experience in providing Services                        supervised by the Qualified Autism Service
     for pervasive developmental disorder or autism                           Provider
     pursuant to Division 4.5 (commencing with                               a Qualified Autism Service Paraprofessional
     Section 4500) of the Welfare and Institutions Code                       supervised by a Qualified Autism Service Provider
     or Title 14 (commencing with Section 95000) of                           or Qualified Autism Service Professional
     the Government Code
                                                                         • The treatment plan has measurable goals over a
    is employed by the Qualified Autism Service                           specific timeline that is developed and approved by
     Provider or an entity or group that employs                           the Qualified Autism Service Provider for the
     Qualified Autism Service Providers responsible                        Member being treated
     for the autism treatment plan
                                                                         • The treatment plan is reviewed no less than once
• "Qualified Autism Service Paraprofessional" means                        every six months by the Qualified Autism Service
  an unlicensed and uncertified individual who meets                       Provider and modified whenever appropriate
  all of the following criteria:
                                                                         • The treatment plan requires the Qualified Autism
    is supervised by a Qualified Autism Service                           Service Provider to do all of the following:
     Provider or Qualified Autism Service Professional
     at a level of clinical supervision that meets                           describe the Member's behavioral health
     professionally recognized standards of practice                          impairments to be treated
    provides treatment and implements Services                              design an intervention plan that includes the
     pursuant to a treatment plan developed and                               service type, number of hours, and parent
     approved by the Qualified Autism Service                                 participation needed to achieve the plan's goal and
     Provider                                                                 objectives, and the frequency at which the
                                                                              Member's progress is evaluated and reported
    meets the education and training qualifications
     described in Section 54342 of Title 17 of the                           provide intervention plans that utilize evidence-
     California Code of Regulations                                           based practices, with demonstrated clinical
                                                                              efficacy in treating pervasive developmental
    has adequate education, training, and experience,                        disorder or autism
     as certified by a Qualified Autism Service
     Provider or an entity or group that employs                             discontinue intensive behavioral intervention
     Qualified Autism Service Providers                                       Services when the treatment goals and objectives
                                                                              are achieved or no longer appropriate
    is employed by the Qualified Autism Service
     Provider or an entity or group that employs                         • The treatment plan is not used for either of the
     Qualified Autism Service Providers responsible                        following:
     for the autism treatment plan                                           for purposes of providing (or for the
                                                                              reimbursement of) respite care, day care, or
We cover behavioral health treatment for pervasive                            educational services
developmental disorder or autism (including applied                          to reimburse a parent for participating in the
behavior analysis and evidence-based behavior                                 treatment program
intervention programs) that develops or restores, to the
maximum extent practicable, the functioning of a person
with pervasive developmental disorder or autism and that
meets all of the following criteria:



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For the following Services related to "Behavioral                        • Your clinical status or underlying medical condition
Health Treatment for Pervasive Developmental                               requires that the dental procedure be provided in a
Disorder or Autism," refer to these sections                               hospital or outpatient surgery center
• Behavioral health treatment for pervasive                              • The dental procedure would not ordinarily require
  developmental disorder or autism provided during a                       general anesthesia
  covered stay in a Plan Hospital or Skilled Nursing
  Facility (refer to "Hospital Inpatient Care" and                       We do not cover any other Services related to the dental
  "Skilled Nursing Facility Care")                                       procedure, such as the dentist's Services.
• Outpatient drugs, supplies, and supplements (refer to
  "Outpatient Prescription Drugs, Supplies, and                          Dental and orthodontic Services for cleft palate
  Supplements")                                                          We cover dental extractions, dental procedures necessary
                                                                         to prepare the mouth for an extraction, and orthodontic
• Outpatient laboratory (refer to "Outpatient Imaging,
                                                                         Services, if they meet all of the following requirements:
  Laboratory, and Other Diagnostic and Treatment
  Services")                                                             • The Services are an integral part of a reconstructive
                                                                           surgery for cleft palate that we are covering under
• Outpatient physical, occupational, and speech therapy                    "Reconstructive Surgery" in this "Benefits" section
  visits (refer to "Rehabilitative and Habilitative
                                                                           ("cleft palate" includes cleft palate, cleft lip, or other
  Services")
                                                                           craniofacial anomalies associated with cleft palate)
• Services to diagnose pervasive developmental
                                                                         • A Plan Provider provides the Services or the Medical
  disorder or autism and Services to develop and revise                    Group authorizes a referral to a Non–Plan Provider
  the treatment plan (refer to "Mental Health Services")
                                                                           who is a dentist or orthodontist (as described in
                                                                           "Medical Group authorization procedure for certain
Dental and Orthodontic Services                                            referrals" under "Getting a Referral" in the "How to
                                                                           Obtain Services" section)
We do not cover most dental and orthodontic Services
under this EOC, but we do cover some dental and                          For the following Services related to "Dental and
orthodontic Services as described in this "Dental and                    Orthodontic Services," refer to these sections
Orthodontic Services" section.                                           • Accidental injury to teeth (refer to "Injury to Teeth")

For covered dental and orthodontic procedures that you                   • Office visits not described in the "Dental and
may receive, you will pay the Cost Share you would pay                     Orthodontic Services" section (refer to "Office
if the Services were not related to dental and orthodontic                 Visits")
Services. For example, see "Hospital inpatient care" in                  • Outpatient imaging, laboratory, and other diagnostic
the "Cost Share Summary" section of this EOC for the                       and treatment Services (refer to "Outpatient Imaging,
Cost Share that applies for hospital inpatient care.                       Laboratory, and Other Diagnostic and Treatment
                                                                           Services")
Dental Services for radiation treatment                                  • Outpatient administered drugs (refer to "Administered
We cover dental evaluation, X-rays, fluoride treatment,                    Drugs and Products"), except that we cover outpatient
and extractions necessary to prepare your jaw for                          administered drugs under "Dental anesthesia" in this
radiation therapy of cancer in your head or neck if a Plan                 "Dental and Orthodontic Services" section
Physician provides the Services or if the Medical Group
authorizes a referral to a dentist (as described in                      • Outpatient prescription drugs (refer to "Outpatient
"Medical Group authorization procedure for certain                         Prescription Drugs, Supplies, and Supplements")
referrals" under "Getting a Referral" in the "How to                     • Telehealth Visits (refer to "Telehealth Visits")
Obtain Services" section).

Dental anesthesia                                                        Dialysis Care
For dental procedures at a Plan Facility, we provide
                                                                         We cover acute and chronic dialysis Services if all of the
general anesthesia and the facility's Services associated
                                                                         following requirements are met:
with the anesthesia if all of the following are true:
                                                                         • The Services are provided inside your Home Region
• You are under age 7, or you are developmentally
                                                                           Service Area
  disabled, or your health is compromised




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• You satisfy all medical criteria developed by the                      • The item is primarily and customarily used to serve a
  Medical Group and by the facility providing the                          medical purpose
  dialysis                                                               • The item is generally useful only to an individual
• A Plan Physician provides a written referral for care                    with an illness or injury
  at the facility                                                        • The item is appropriate for use in the home

After you receive appropriate training at a dialysis                     For a DME item to be covered, all of the following
facility we designate, we also cover equipment and                       requirements must be met:
medical supplies required for home hemodialysis and
home peritoneal dialysis inside your Home Region                         • Your EOC includes coverage for the requested DME
Service Area. Coverage is limited to the standard item of                  item
equipment or supplies that adequately meets your                         • A Plan Physician has prescribed the DME item for
medical needs. We decide whether to rent or purchase                       your medical condition
the equipment and supplies, and we select the vendor.
                                                                         • The item has been approved for you through the
You must return the equipment and any unused supplies
                                                                           Plan's prior authorization process, as described in
to us or pay us the fair market price of the equipment and
any unused supply when we are no longer covering                           "Medical Group authorization procedure for certain
                                                                           referrals" under "Getting a Referral" in the "How to
them.
                                                                           Obtain Services" section
For the following Services related to "Dialysis                          • The Services are provided inside your Home Region
Care," refer to these sections                                             Service Area
• Durable medical equipment for home use (refer to
                                                                         Coverage is limited to the standard item of equipment
  "Durable Medical Equipment ("DME") for Home
                                                                         that adequately meets your medical needs. We decide
  Use")
                                                                         whether to rent or purchase the equipment, and we select
• Hospital inpatient care (refer to "Hospital Inpatient                  the vendor. You must return the equipment to us or pay
  Care")                                                                 us the fair market price of the equipment when we are no
• Office visits not described in the "Dialysis Care"                     longer covering it.
  section (refer to "Office Visits")
                                                                         Base DME Items
• Outpatient laboratory (refer to "Outpatient Imaging,
                                                                         We cover Base DME Items (including repair or
  Laboratory, and Other Diagnostic and Treatment
                                                                         replacement of covered equipment) if all of the
  Services")
                                                                         requirements described under "DME coverage rules" in
• Outpatient prescription drugs (refer to "Outpatient                    this "Durable Medical Equipment ("DME") for Home
  Prescription Drugs, Supplies, and Supplements")                        Use" section are met. "Base DME Items" means the
• Outpatient administered drugs (refer to "Administered                  following items:
  Drugs and Products")                                                   • Blood glucose monitors for diabetes blood testing and
• Telehealth Visits (refer to "Telehealth Visits")                         their supplies (such as blood glucose monitor test
                                                                           strips, lancets, and lancet devices)
Dialysis care exclusion(s)                                               • Bone stimulator
• Comfort, convenience, or luxury equipment, supplies                    • Canes (standard curved handle or quad) and
  and features                                                             replacement supplies
• Nonmedical items, such as generators or accessories                    • Cervical traction (over door)
  to make home dialysis equipment portable for travel
                                                                         • Crutches (standard or forearm) and replacement
                                                                           supplies
Durable Medical Equipment ("DME") for                                    • Dry pressure pad for a mattress
Home Use                                                                 • Infusion pumps (such as insulin pumps) and supplies
                                                                           to operate the pump
DME coverage rules
DME for home use is an item that meets the following                     • IV pole
criteria:                                                                • Nebulizer and supplies
• The item is intended for repeated use



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• Peak flow meters                                                       • Breast pumps and supplies as described in
• Phototherapy blankets for treatment of jaundice in                       "Breastfeeding Supplies" in this "Durable Medical
  newborns                                                                 Equipment ("DME") for Home Use" section

Supplemental DME items                                                   Outside your Home Region Service Area
Subject to the benefit limit described under "DME                        We do not cover most DME for home use outside your
benefit limit" in this "Durable Medical Equipment                        Home Region Service Area. However, if you live outside
("DME") for Home Use" section, we cover DME that is                      your Home Region Service Area, we cover the following
not described under "Base DME Items" or                                  DME (subject to the Cost Share and all other coverage
"Breastfeeding supplies," including repair and                           requirements that apply to DME for home use inside
replacement of covered equipment, if all of the                          your Home Region Service Area) when the item is
requirements described under "DME coverage rules" in                     dispensed at a Plan Facility:
this "Durable Medical Equipment ("DME") for Home                         • Blood glucose monitors for diabetes blood testing and
Use" section are met.                                                      their supplies (such as blood glucose monitor test
                                                                           strips, lancets, and lancet devices) from a Plan
Breastfeeding supplies                                                     Pharmacy
We cover one retail-grade breast pump per pregnancy                      • Canes (standard curved handle)
and the necessary supplies to operate it, such as one set
of bottles. We will decide whether to rent or purchase the               • Crutches (standard)
item and we choose the vendor. We cover this pump for                    • Insulin pumps and supplies to operate the pump, after
convenience purposes. The pump is not subject to prior                     completion of training and education on the use of the
authorization requirements.                                                pump
                                                                         • Nebulizers and their supplies for the treatment of
If you or your baby has a medical condition that requires                  pediatric asthma
the use of a breast pump, we cover a hospital-grade
breast pump and the necessary supplies to operate it, in                 • Peak flow meters from a Plan Pharmacy
accord with the coverage rules described under "DME
coverage rules" in this "Durable Medical Equipment                       For the following Services related to "Durable
("DME") for Home Use" section.                                           Medical Equipment ("DME") for Home Use,"
                                                                         refer to these sections
DME benefit limit                                                        • Dialysis equipment and supplies required for home
For DME covered under the "Supplemental DME items"                         hemodialysis and home peritoneal dialysis (refer to
section (including repair and replacement of covered                       "Dialysis Care")
equipment), there is a benefit limit per Member per                      • Diabetes urine testing supplies and insulin-
Accumulation Period. Please refer to the "Cost Share
                                                                           administration devices other than insulin pumps (refer
Summary" section of this EOC for your benefit limit
                                                                           to "Outpatient Prescription Drugs, Supplies, and
amount. We will calculate accumulation toward the
                                                                           Supplements")
benefit limit by adding up the Charges for the durable
medical equipment you received in the Accumulation                       • Durable medical equipment related to an Emergency
Period that are subject to the limit (including any of these               Medical Condition or Urgent Care episode (refer to
items we covered under any other Health Plan evidence                      "Post-Stabilization Care" and "Out-of-Area Urgent
of coverage offered by your Group, whether or not the                      Care")
other evidence of coverage had a benefit limit), and                     • Durable medical equipment related to the terminal
subtracting any Cost Share you paid for those items. If                    illness for Members who are receiving covered
you reach the benefit limit, we will not cover any more                    hospice care (refer to "Hospice Care")
durable medical equipment in that Accumulation Period
if they are subject to the benefit limit.                                • Insulin and any other drugs administered with an
                                                                           infusion pump (refer to "Outpatient Prescription
                                                                           Drugs, Supplies, and Supplements")
The following items are not subject to this benefit limit:
• Items listed under "Base DME Items" as described in                    DME for home use exclusion(s)
  this "Durable Medical Equipment ("DME") for Home
                                                                         • Comfort, convenience, or luxury equipment or
  Use" section
                                                                           features except for retail-grade breast pumps as
                                                                           described under "Breastfeeding supplies" in this




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   "Durable Medical Equipment ("DME") for Home                           • Outpatient contraceptive drugs and devices (refer to
   Use" section                                                            "Outpatient Prescription Drugs, Supplies, and
• Items not intended for maintaining normal activities                     Supplements")
  of daily living, such as exercise equipment (including
  devices intended to provide additional support for                     Family planning Services exclusion(s)
  recreational or sports activities)                                     • Reversal of voluntary sterilization
• Hygiene equipment
• Nonmedical items, such as sauna baths or elevators                     Fertility Services
• Modifications to your home or car
                                                                         "Fertility Services" means treatments and procedures to
• Devices for testing blood or other body substances                     help you become pregnant.
  (except diabetes blood glucose monitors and their
  supplies)                                                              Diagnosis and treatment of infertility
• Electronic monitors of the heart or lungs except infant                For purposes of this "Diagnosis and treatment of
  apnea monitors                                                         infertility" section, "infertility" means not being able to
                                                                         get pregnant or carry a pregnancy to a live birth after a
• Repair or replacement of equipment due to loss, theft,
                                                                         year or more of regular sexual relations without
  or misuse
                                                                         contraception or having a medical or other demonstrated
                                                                         condition that is recognized by a Plan Physician as a
Emergency and Urgent Care Visits                                         cause of infertility.

We cover the following Emergency and Urgent Care                         Services for the diagnosis and treatment of infertility are
visits:                                                                  not covered under this EOC.
• Emergency Department visits
                                                                         Artificial insemination
• Urgent Care consultations, evaluations, and treatment                  Services for artificial insemination are not covered under
                                                                         this EOC.
Family Planning Services
                                                                         Assisted reproductive technology ("ART")
We cover the following family planning Services:                         Services
                                                                         ART Services such as in vitro fertilization ("IVF"),
• Family planning counseling
                                                                         gamete intra-fallopian transfer ("GIFT"), or zygote
• Injectable contraceptives, internally implanted time-                  intrafallopian transfer ("ZIFT") are not covered under
  release contraceptives or intrauterine devices                         this EOC.
  ("IUDs") and office visits related to their
  administration and management                                          For the following Services related to "Fertility
• Female sterilization procedures                                        Services," refer to these sections
• Male sterilization procedures                                          • Outpatient drugs, supplies, and supplements (refer to
                                                                           "Outpatient Prescription Drugs, Supplies, and
• Termination of pregnancy
                                                                           Supplements")
For the following Services related to "Family
                                                                         Fertility Services exclusion(s)
Planning Services," refer to these sections
                                                                         • Services to diagnose or treat infertility
• Services to diagnose or treat infertility (refer to
  "Fertility Services")                                                  • Services for artificial insemination
• Outpatient administered drugs that are not                             • Services to reverse voluntary, surgically induced
  contraceptives (refer to "Administered Drugs and                         infertility
  Products")                                                             • Semen and eggs (and Services related to their
• Outpatient laboratory and imaging services associated                    procurement and storage)
  with family planning services (refer to "Outpatient                    • ART Services, such as ovum transplants, GIFT, IVF,
  Imaging, Laboratory, and Other Diagnostic and                            and ZIFT
  Treatment Services")




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Health Education                                                         Home Health Care
We cover a variety of health education counseling,                       "Home health care" means Services provided in the
programs, and materials that your personal Plan                          home by nurses, medical social workers, home health
Physician or other Plan Providers provide during a visit                 aides, and physical, occupational, and speech therapists.
covered under another part of this EOC.
                                                                         We cover home health care only if all of the following
We also cover a variety of health education counseling,                  are true:
programs, and materials to help you take an active role in               • You are substantially confined to your home (or a
protecting and improving your health, including                            friend's or relative's home)
programs for tobacco cessation, stress management, and
chronic conditions (such as diabetes and asthma). Kaiser                 • Your condition requires the Services of a nurse,
Permanente also offers health education counseling,                        physical therapist, occupational therapist, or speech
programs, and materials that are not covered, and you                      therapist (home health aide Services are not covered
may be required to pay a fee.                                              unless you are also getting covered home health care
                                                                           from a nurse, physical therapist, occupational
For more information about our health education                            therapist, or speech therapist that only a licensed
counseling, programs, and materials, please contact a                      provider can provide)
Health Education Department or our Member Service                        • A Plan Physician determines that it is feasible to
Contact Center or go to our website at kp.org.                             maintain effective supervision and control of your
                                                                           care in your home and that the Services can be safely
                                                                           and effectively provided in your home
Hearing Services
                                                                         • The Services are provided inside your Home Region
We cover the following:                                                    Service Area
• Hearing exams with an audiologist to determine the
                                                                         We cover only part-time or intermittent home health
  need for hearing correction
                                                                         care, as follows:
• Physician Specialist Visits to diagnose and treat
  hearing problems                                                       • Up to two hours per visit for visits by a nurse,
                                                                           medical social worker, or physical, occupational, or
                                                                           speech therapist, and up to four hours per visit for
Hearing aids
                                                                           visits by a home health aide
Hearing aids and related Services are not covered under
this EOC. For internally implanted devices, see                          • Up to three visits per day (counting all home health
"Prosthetic and Orthotic Devices" in this "Benefits"                       visits)
section.                                                                 • Up to 100 visits per Accumulation Period (counting
                                                                           all home health visits)
For the following Services related to "Hearing
Services," refer to these sections                                       Note: If a visit by a nurse, medical social worker, or
• Routine hearing screenings when performed as part of                   physical, occupational, or speech therapist lasts longer
  a routine physical maintenance exam (refer to                          than two hours, then each additional increment of two
  "Preventive Services")                                                 hours counts as a separate visit. If a visit by a home
                                                                         health aide lasts longer than four hours, then each
• Services related to the ear or hearing other than those                additional increment of four hours counts as a separate
  described in this section, such as outpatient care to
                                                                         visit. For example, if a nurse comes to your home for
  treat an ear infection or outpatient prescription drugs,
                                                                         three hours and then leaves, that counts as two visits.
  supplies, and supplements (refer to the applicable
                                                                         Also, each person providing Services counts toward
  heading in this "Benefits" section)                                    these visit limits. For example, if a home health aide and
• Cochlear implants and osseointegrated hearing                          a nurse are both at your home during the same two hours,
  devices (refer to "Prosthetic and Orthotic Devices")                   that counts as two visits.

Hearing Services exclusion(s)                                            For the following Services related to "Home
                                                                         Health Care," refer to these sections
• Hearing aids and tests to determine their efficacy, and
  hearing tests to determine an appropriate hearing aid                  • Behavioral health treatment for pervasive
                                                                           developmental disorder or autism (refer to



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   "Behavioral Health Treatment for Pervasive                            • The Services are provided by a licensed hospice
   Developmental Disorder or Autism")                                      agency that is a Plan Provider
• Dialysis care (refer to "Dialysis Care")                               • A Plan Physician determines that the Services are
• Durable medical equipment (refer to "Durable                             necessary for the palliation and management of your
  Medical Equipment ("DME") for Home Use")                                 terminal illness and related conditions

• Ostomy and urological supplies (refer to "Ostomy and                   If all of the above requirements are met, we cover the
  Urological Supplies")                                                  following hospice Services, if necessary for your hospice
• Outpatient drugs, supplies, and supplements (refer to                  care:
  "Outpatient Prescription Drugs, Supplies, and                          • Plan Physician Services
  Supplements")
                                                                         • Skilled nursing care, including assessment,
• Outpatient physical, occupational, and speech therapy                    evaluation, and case management of nursing needs,
  visits (refer to "Rehabilitative and Habilitative                        treatment for pain and symptom control, provision of
  Services")                                                               emotional support to you and your family, and
• Prosthetic and orthotic devices (refer to "Prosthetic                    instruction to caregivers
  and Orthotic Devices")                                                 • Physical, occupational, and speech therapy for
                                                                           purposes of symptom control or to enable you to
Home health care exclusion(s)                                              maintain activities of daily living
• Care of a type that an unlicensed family member or                     • Respiratory therapy
  other layperson could provide safely and effectively
  in the home setting after receiving appropriate                        • Medical social services
  training. This care is excluded even if we would cover                 • Home health aide and homemaker services
  the care if it were provided by a qualified medical
                                                                         • Palliative drugs prescribed for pain control and
  professional in a hospital or a Skilled Nursing Facility
                                                                           symptom management of the terminal illness for up to
• Care in the home if the home is not a safe and                           a 100-day supply in accord with our drug formulary
  effective treatment setting                                              guidelines. You must obtain these drugs from a Plan
                                                                           Pharmacy. Certain drugs are limited to a maximum
                                                                           30-day supply in any 30-day period (please call our
Hospice Care                                                               Member Service Contact Center for the current list of
                                                                           these drugs)
Hospice care is a specialized form of interdisciplinary
health care designed to provide palliative care and to                   • Durable medical equipment
alleviate the physical, emotional, and spiritual                         • Respite care when necessary to relieve your
discomforts of a Member experiencing the last phases of                    caregivers. Respite care is occasional short-term
life due to a terminal illness. It also provides support to                inpatient care limited to no more than five
the primary caregiver and the Member's family. A                           consecutive days at a time
Member who chooses hospice care is choosing to receive
palliative care for pain and other symptoms associated                   • Counseling and bereavement services
with the terminal illness, but not to receive care to try to             • Dietary counseling
cure the terminal illness. You may change your decision
to receive hospice care benefits at any time.                            We also cover the following hospice Services only
                                                                         during periods of crisis when they are Medically
We cover the hospice Services listed below only if all of                Necessary to achieve palliation or management of acute
the following requirements are met:                                      medical symptoms:
• A Plan Physician has diagnosed you with a terminal                     • Nursing care on a continuous basis for as much as 24
  illness and determines that your life expectancy is 12                   hours a day as necessary to maintain you at home
  months or less
                                                                         • Short-term inpatient care required at a level that
• The Services are provided inside your Home Region                        cannot be provided at home
  Service Area or inside California but within 15 miles
  or 30 minutes from your Home Region Service Area
  (including a friend's or relative's home even if you                   Hospital Inpatient Care
  live there temporarily)
                                                                         We cover the following inpatient Services in a Plan
                                                                         Hospital, when the Services are generally and


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customarily provided by acute care general hospitals                     • Reconstructive Surgery
inside your Home Region Service Area:
                                                                         • Services in Connection with a Clinical Trial
• Room and board, including a private room if
                                                                         • Skilled Nursing Facility Care
  Medically Necessary
                                                                         • Substance Use Disorder Treatment
• Specialized care and critical care units
                                                                         • Transplant Services
• General and special nursing care
• Operating and recovery rooms
                                                                         Injury to Teeth
• Services of Plan Physicians, including consultation
  and treatment by specialists                                           Services for accidental injury to teeth are not covered
• Anesthesia                                                             under this EOC.
• Drugs prescribed in accord with our drug formulary
  guidelines (for discharge drugs prescribed when you                    Mental Health Services
  are released from the hospital, please refer to
  "Outpatient Prescription Drugs, Supplies, and                          We cover Services specified in this "Mental Health
  Supplements" in this "Benefits" section)                               Services" section only when the Services are for the
• Radioactive materials used for therapeutic purposes                    diagnosis or treatment of Mental Disorders. A "Mental
                                                                         Disorder" is a mental health condition identified as a
• Durable medical equipment and medical supplies                         "mental disorder" in the Diagnostic and Statistical
• Imaging, laboratory, and other diagnostic and                          Manual of Mental Disorders, Fourth Edition, Text
  treatment Services, including MRI, CT, and PET                         Revision, as amended in the most recently issued edition,
  scans                                                                  ("DSM") that results in clinically significant distress or
                                                                         impairment of mental, emotional, or behavioral
• Whole blood, red blood cells, plasma, platelets, and
                                                                         functioning. We do not cover services for conditions that
  their administration
                                                                         the DSM identifies as something other than a "mental
• Obstetrical care and delivery (including cesarean                      disorder." For example, the DSM identifies relational
  section). Note: If you are discharged within 48 hours                  problems as something other than a "mental disorder," so
  after delivery (or within 96 hours if delivery is by                   we do not cover services (such as couples counseling or
  cesarean section), your Plan Physician may order a                     family counseling) for relational problems.
  follow-up visit for you and your newborn to take
  place within 48 hours after discharge (for visits after                "Mental Disorders" include the following conditions:
  you are released from the hospital, please refer to
  "Office Visits" in this "Benefits" section)                            • Severe Mental Illness of a person of any age

• Behavioral health treatment for pervasive                              • Serious Emotional Disturbance of a Child Under Age
  developmental disorder or autism                                         18

• Respiratory therapy                                                    In addition to the Services described in this Mental
• Physical, occupational, and speech therapy (including                  Health Services section, we also cover other Services
  treatment in our organized, multidisciplinary                          that are Medically Necessary to treat Serious Emotional
  rehabilitation program)                                                Disturbance of a Child Under Age 18 or Severe Mental
                                                                         Illness, if the Medical Group authorizes a written referral
• Medical social services and discharge planning
                                                                         (as described in "Medical Group authorization procedure
                                                                         for certain referrals" under "Getting a Referral" in the
For Services related to "Hospital Inpatient
                                                                         "How to Obtain Services" section).
Care," refer to these sections
• Bariatric Surgery                                                      Outpatient mental health Services
• Dental and Orthodontic Services                                        We cover the following Services when provided by Plan
                                                                         Physicians or other Plan Providers who are licensed
• Dialysis Care
                                                                         health care professionals acting within the scope of their
• Fertility Services                                                     license:
• Hospice Care                                                           • Individual and group mental health evaluation and
• Mental Health Services                                                   treatment

• Prosthetic and Orthotic Devices


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• Psychological testing when necessary to evaluate a                     • Outpatient laboratory (refer to "Outpatient Imaging,
  Mental Disorder                                                          Laboratory, and Other Diagnostic and Treatment
• Outpatient Services for the purpose of monitoring                        Services")
  drug therapy                                                           • Telehealth Visits (refer to "Telehealth Visits")

Intensive psychiatric treatment programs
We cover the following intensive psychiatric treatment                   Office Visits
programs at a Plan Facility:
                                                                         We cover the following:
• Partial hospitalization
                                                                         • Primary Care Visits and Non-Physician Specialist
• Multidisciplinary treatment in an intensive outpatient                   Visits
  program
                                                                         • Physician Specialist Visits
• Psychiatric observation for an acute psychiatric crisis
                                                                         • Group appointments
Residential treatment                                                    • Acupuncture Services (typically provided only for the
Inside your Home Region Service Area, we cover the                         treatment of nausea or as part of a comprehensive
following Services when the Services are provided in a                     pain management program for the treatment of
licensed residential treatment facility that provides 24-                  chronic pain)
hour individualized mental health treatment, the Services                • House calls by a Plan Physician (or a Plan Provider
are generally and customarily provided by a mental                         who is a registered nurse) inside our Service Area
health residential treatment program in a licensed                         when care can best be provided in your home as
residential treatment facility, and the Services are above                 determined by a Plan Physician
the level of custodial care:
• Individual and group mental health evaluation and
                                                                         Ostomy and Urological Supplies
  treatment
• Medical services                                                       We cover ostomy and urological supplies if the
                                                                         following requirements are met:
• Medication monitoring
                                                                         • A Plan Physician has prescribed ostomy and
• Room and board
                                                                           urological supplies for your medical condition
• Social services
                                                                         • The item has been approved for you through the
• Drugs prescribed by a Plan Provider as part of your                      Plan's prior authorization process, as described in
  plan of care in the residential treatment facility in                    "Medical Group authorization procedure for certain
  accord with our drug formulary guidelines if they are                    referrals" under "Getting a Referral" in the "How to
  administered to you in the facility by medical                           Obtain Services" section
  personnel (for discharge drugs prescribed when you
                                                                         • The Services are provided inside your Home Region
  are released from the residential treatment facility,
                                                                           Service Area
  please refer to "Outpatient Prescription Drugs,
  Supplies, and Supplements" in this "Benefits"
  section)                                                               Coverage is limited to the standard item of equipment
                                                                         that adequately meets your medical needs. We decide
• Discharge planning                                                     whether to rent or purchase the equipment, and we select
                                                                         the vendor.
Inpatient psychiatric hospitalization
We cover inpatient psychiatric hospitalization in a Plan                 Ostomy and urological supplies exclusion(s)
Hospital. Coverage includes room and board, drugs, and
                                                                         • Comfort, convenience, or luxury equipment or
Services of Plan Physicians and other Plan Providers
                                                                           features
who are licensed health care professionals acting within
the scope of their license.

For the following Services related to "Mental
Health Services," refer to these sections
• Outpatient drugs, supplies, and supplements (refer to
  "Outpatient Prescription Drugs, Supplies, and
  Supplements")


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Outpatient Imaging, Laboratory, and                                      • Items prescribed by the following Non–Plan
Other Diagnostic and Treatment                                             Providers:
Services                                                                     Dentists if the drug is for dental care
                                                                             Non–Plan Physicians if the Medical Group
We cover the following Services only when part of care                        authorizes a written referral to the Non–Plan
covered under other headings in this "Benefits" section.                      Physician (in accord with "Medical Group
The Services must be prescribed by a Plan Provider.                           authorization procedure for certain referrals" under
• Complex imaging (other than preventive) such as CT                          "Getting a Referral" in the "How to Obtain
  scans, MRIs, and PET scans                                                  Services" section) and the drug, supply, or
                                                                              supplement is covered as part of that referral
• Basic imaging Services, such as diagnostic and
  therapeutic X-rays, mammograms, and ultrasounds                            Non–Plan Physicians if the prescription was
                                                                              obtained as part of covered Emergency Services,
• Nuclear medicine
                                                                              Post-Stabilization Care, or Out-of-Area Urgent
• Routine retinal photography screenings                                      Care described in the "Emergency Services and
• Laboratory tests (including tests to monitor the                            Urgent Care" section (if you fill the prescription at
  effectiveness of dialysis and tests for specific genetic                    a Plan Pharmacy, you may have to pay Charges
  disorders for which genetic counseling is available)                        for the item and file a claim for reimbursement as
                                                                              described under "Payment and Reimbursement" in
• Diagnostic Services provided by Plan Providers who                          the "Emergency Services and Urgent Care"
  are not physicians (such as EKGs and EEGs)                                  section)
• Radiation therapy
                                                                         How to obtain covered items
• Ultraviolet light treatments
                                                                         You must obtain covered items at a Plan Pharmacy or
For the following Services related to "Outpatient                        through our mail-order service unless you obtain the item
Imaging, Laboratory, and Other Diagnostic and                            as part of covered Emergency Services, Post-
Treatment Services," refer to these sections                             Stabilization Care, or Out-of-Area Urgent Care described
                                                                         in the "Emergency Services and Urgent Care" section.
• Outpatient imaging and laboratory Services that are
  Preventive Services, such as routine mammograms,                       For the locations of Plan Pharmacies, refer to our
  bone density scans, and laboratory screening tests                     Provider Directory or call our Member Service Contact
  (refer to "Preventive Services")                                       Center.
• Outpatient procedures that include imaging and
  diagnostic Services (refer to "Outpatient Surgery and                  Refills
  Outpatient Procedures")                                                You may be able to order refills at a Plan Pharmacy,
• Services related to diagnosis and treatment of                         through our mail-order service, or through our website at
  infertility, artificial insemination, or assisted                      kp.org/rxrefill. A Plan Pharmacy can give you more
  reproductive technology ("ART") Services (refer to                     information about obtaining refills, including the options
  "Fertility Services")                                                  available to you for obtaining refills. For example, a few
                                                                         Plan Pharmacies don't dispense refills and not all drugs
                                                                         can be mailed through our mail-order service. Please
Outpatient Prescription Drugs, Supplies,                                 check with a Plan Pharmacy if you have a question about
and Supplements                                                          whether your prescription can be mailed or obtained at a
                                                                         Plan Pharmacy. Items available through our mail-order
We cover outpatient drugs, supplies, and supplements                     service are subject to change at any time without notice.
specified in this "Outpatient Prescription Drugs,
Supplies, and Supplements" section, in accord with our                   Day supply limit
drug formulary guidelines, subject to any applicable                     The prescribing physician or dentist determines how
exclusions or limitations under this EOC. We cover                       much of a drug, supply, or supplement to prescribe. For
items described in this section when prescribed as                       purposes of day supply coverage limits, Plan Physicians
follows:                                                                 determine the amount of an item that constitutes a
• Items prescribed by Plan Providers, within the scope                   Medically Necessary 30- or 100-day supply (or 365-day
  of their licensure and practice                                        supply if the item is a hormonal contraceptive) for you.
                                                                         Upon payment of the Cost Share specified in the
                                                                         "Outpatient prescription drugs, supplies, and



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supplements" section of the "Cost Share Summary," you                    Formulary exception process
will receive the supply prescribed up to the day supply                  Drug formulary guidelines allow you to obtain a non-
limit also specified in this section. The maximum you                    formulary prescription drug (those not listed on our drug
may receive at one time of a covered item, other than a                  formulary for your condition) if it would otherwise be
hormonal contraceptive, is either one 30-day supply in a                 covered by your plan, as described above, and it is
30-day period or one 100-day supply in a 100-day                         Medically Necessary. If you disagree with a Health Plan
period. If you wish to receive more than the covered day                 determination that a non-formulary prescription drug is
supply limit, then you must pay Charges for any                          not covered, you may file a grievance as described in the
prescribed quantities that exceed the day supply limit.                  "Dispute Resolution" section.

If your plan includes coverage for hormonal                              Continuity drugs
contraceptives, the maximum you may receive at one                       If this EOC is amended to exclude a drug that we have
time of contraceptive drugs is a 365-day supply. Refer to                been covering and providing to you under this EOC, we
the "Cost Share Summary" section of this EOC to find                     will continue to provide the drug if a prescription is
out if your plan includes coverage for hormonal                          required by law and a Plan Physician continues to
contraceptives.                                                          prescribe the drug for the same condition and for a use
                                                                         approved by the Federal Food and Drug Administration.
If your plan includes coverage for sexual dysfunction
drugs, the maximum you may receive at one time of                        About drug tiers
episodic drugs prescribed for the treatment of sexual                    Drugs on the drug formulary are categorized into one of
dysfunction disorders is eight doses in any 30-day period                three tiers, as described in the table below. Your Cost
or up to 27 doses in any 100-day period. Refer to the                    Share for covered items may vary based on the tier.
"Cost Share Summary" section of this EOC to find out if                  Please refer to "Outpatient prescription drugs, supplies,
your plan includes coverage for sexual dysfunction                       and supplements" in the "Cost Share Summary" section
drugs.                                                                   of this EOC for Cost Share for items covered under this
                                                                         section.
The pharmacy may reduce the day supply dispensed at
the Cost Share specified in the "Outpatient prescription
drugs, supplies, and supplements" section of the "Cost                     Drug Tier          Description
Share Summary" to a 30-day supply in any 30-day
period if the pharmacy determines that the item is in
                                                                           Generic drugs      Generic drugs, supplies and
limited supply in the market or for specific drugs (your
                                                                           (Tier 1)           supplements, and some low-cost
Plan Pharmacy can tell you if a drug you take is one of
                                                                                              brand-name drugs, supplies, and
these drugs).
                                                                                              supplements
About the drug formulary
                                                                           Brand drugs        Most brand-name drugs, supplies,
The drug formulary includes a list of drugs that our
                                                                           (Tier 2)*          and supplements
Pharmacy and Therapeutics Committee has approved for
our Members. Our Pharmacy and Therapeutics
                                                                           Specialty          Specialty drugs (see "About
Committee, which is primarily composed of Plan
                                                                           drugs (Tier 4)     specialty drugs")
Physicians and pharmacists, selects drugs for the drug
formulary based on several factors, including safety and
effectiveness as determined from a review of medical                     *Note: This plan does not have a tier for non-formulary
literature. The drug formulary is updated monthly based                  drugs ("Tier 3"). You will pay the same Cost Share for
on new information or new drugs that become available.                   non-formulary drugs as you would for formulary drugs,
To find out which drugs are on the formulary for your                    when approved through the formulary exception process
plan, please visit our website at kp.org/formulary. If                   described above (the generic drugs, brand drugs, or
you would like to request a copy of the drug formulary                   specialty drugs Cost Share will apply, as applicable).
for your plan, please call our Member Service Contact
Center. Note: The presence of a drug on the drug                         About specialty drugs
formulary does not necessarily mean that it will be                      Specialty drugs (Tier 4) are high-cost drugs that are on
prescribed for a particular medical condition.                           our specialty drug list. To obtain a list of specialty drugs
                                                                         that are on our formulary, or to find out if a non-
                                                                         formulary drug is on the specialty drugs tier, please call
                                                                         our Member Service Contact Center. If your Plan
                                                                         Physician prescribes more than a 30-day supply for an


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outpatient drug, you may be able to obtain more than a                      the KP app from your smartphone or other mobile
30-day supply at one time, up to the day supply limit for                   device
that drug. However, most specialty drugs are limited to a                • Call the pharmacy phone number highlighted on your
30-day supply in any 30-day period. Your Plan                              prescription label and select the mail delivery option
Pharmacy can tell you if a drug you take is one of these
drugs.                                                                   • On your next visit to a Kaiser Permanente pharmacy,
                                                                           ask our staff how you can have your prescriptions
General rules about coverage and your Cost                                 mailed to you
Share
We cover the following outpatient drugs, supplies, and                   Note: Not all drugs can be mailed; restrictions and
supplements as described in this "Outpatient Prescription                limitations apply.
Drugs, Supplies, and Supplements" section:
                                                                         Base drugs, supplies, and supplements
• Drugs for which a prescription is required by law. We
                                                                         Cost Share for the following items may be different than
  also cover certain drugs that do not require a
                                                                         other drugs, supplies, and supplements. Refer to "Base
  prescription by law if they are listed on our drug
                                                                         drugs, supplies, and supplements" in the "Cost Share
  formulary
                                                                         Summary" section of this EOC:
• Disposable needles and syringes needed for injecting
                                                                         • Certain drugs for the treatment of life-threatening
  covered drugs and supplements
                                                                           ventricular arrhythmia
• Inhaler spacers needed to inhale covered drugs
                                                                         • Drugs for the treatment of tuberculosis
Note:                                                                    • Elemental dietary enteral formula when used as a
                                                                           primary therapy for regional enteritis
• If Charges for the drug, supply, or supplement are less
  than the Copayment, you will pay the lesser amount,                    • Hematopoietic agents for dialysis
  subject to any applicable deductible or out-of-pocket                  • Hematopoietic agents for the treatment of anemia in
  maximum                                                                  chronic renal insufficiency
• Items can change tier at any time, in accord with                      • Human growth hormone for long-term treatment of
  formulary guidelines, which may impact your Cost                         pediatric patients with growth failure from lack of
  Share (for example, if a brand-name drug is added to                     adequate endogenous growth hormone secretion
  the specialty drug list, you will pay the Cost Share
                                                                         • Immunosuppressants and ganciclovir and ganciclovir
  that applies to drugs on the specialty drugs tier (Tier
                                                                           prodrugs for the treatment of cytomegalovirus when
  4), not the Cost Share for drugs on the brand drugs
                                                                           prescribed in connection with a transplant
  tier (Tier 2))
                                                                         • Phosphate binders for dialysis patients for the
Schedule II drugs                                                          treatment of hyperphosphatemia in end stage renal
You or the prescribing provider can request that the                       disease
pharmacy dispense less than the prescribed amount of a
covered oral, solid dosage form of a Schedule II drug                    For the following Services related to "Outpatient
(your Plan Pharmacy can tell you if a drug you take is                   Prescription Drugs, Supplies, and
one of these drugs). Your Cost Share will be prorated                    Supplements," refer to these sections
based on the amount of the drug that is dispensed. If the                • Administered contraceptives (refer to "Family
pharmacy does not prorate your Cost Share, we will send                    Planning Services")
you a refund for the difference.
                                                                         • Diabetes blood-testing equipment and their supplies,
                                                                           and insulin pumps and their supplies (refer to
Mail-order service
                                                                           "Durable Medical Equipment ("DME") for Home
Prescription refills can be mailed within 7 to 10 days at
                                                                           Use")
no extra cost for standard U.S. postage. The appropriate
Cost Share (according to your drug coverage) will apply                  • Drugs covered during a covered stay in a Plan
and must be charged to a valid credit card.                                Hospital or Skilled Nursing Facility (refer to
                                                                           "Hospital Inpatient Care" and "Skilled Nursing
You may request mail-order service in the following                        Facility Care")
ways:                                                                    • Drugs prescribed for pain control and symptom
• To order online, visit kp.org/rxrefill (you can register                 management of the terminal illness for Members who
  for a secure account at kp.org/registernow) or use


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   are receiving covered hospice care (refer to "Hospice                 For the following Services related to "Outpatient
   Care")                                                                Surgery and Outpatient Procedures," refer to
• Durable medical equipment used to administer drugs                     these sections
  (refer to "Durable Medical Equipment ("DME") for                       • Outpatient procedures (including imaging and
  Home Use")                                                               diagnostic Services) that do not require a licensed
• Outpatient administered drugs that are not                               staff member to monitor your vital signs (refer to the
  contraceptives (refer to "Administered Drugs and                         section that would otherwise apply for the procedure;
  Products")                                                               for example, for radiology procedures that do not
                                                                           require a licensed staff member to monitor your vital
Outpatient prescription drugs, supplies, and                               signs, refer to "Outpatient Imaging, Laboratory, and
supplements exclusion(s)                                                   Other Diagnostic and Treatment Services")

• Any requested packaging (such as dose packaging)
  other than the dispensing pharmacy's standard                          Preventive Services
  packaging
                                                                         We cover a variety of Preventive Services, as listed on
• Compounded products unless the drug is listed on our
                                                                         our website at kp.org/prevention, including the
  drug formulary or one of the ingredients requires a
                                                                         following:
  prescription by law
                                                                         • Services recommended by the United States
• Drugs prescribed to shorten the duration of the
                                                                           Preventive Services Task Force with rating of "A" or
  common cold                                                              "B." The complete list of these services can be found
• Prescription drugs for which there is an over-the-                       at uspreventiveservicestaskforce.org
  counter equivalent (the same active ingredient,
                                                                         • Immunizations listed on the Recommended
  strength, and dosage form as the prescription drug).
                                                                           Childhood Immunization Schedule/United States,
  This exclusion does not apply to:
                                                                           jointly adopted by the American Academy of
    insulin                                                               Pediatrics, the Advisory Committee on Immunization
    over-the-counter drugs covered under "Preventive                      Practices, and the American Academy of Family
     Services" in this "Benefits" section (this includes                   Physicians
     tobacco cessation drugs and contraceptive drugs)                    • Preventive services for women recommended by the
    an entire class of prescription drugs when one drug                   Health Resources and Services Administration and
     within that class becomes available over-the-                         incorporated into the Affordable Care Act. The
     counter                                                               complete list of these services can be found at
                                                                           www.hrsa.gov/womens-guidelines
• All drugs, supplies, and supplements for diagnosis
  and treatment of infertility or related to artificial
  insemination                                                           The list of Preventive Services recommended by the
                                                                         above organizations is subject to change. These
• All drugs, supplies, and supplements related to                        Preventive Services are subject to all coverage
  assisted reproductive technology ("ART") Services                      requirements described in this "Benefits" section and all
                                                                         provisions in the "Exclusions, Limitations, Coordination
                                                                         of Benefits, and Reductions" section.
Outpatient Surgery and Outpatient
Procedures                                                               If you are enrolled in a grandfathered plan, certain
                                                                         preventive items listed on our website, such as over-the-
We cover the following outpatient care Services:
                                                                         counter drugs, may not be covered. Please refer to the
• Outpatient surgery                                                     "Certain preventive items" table in the "Cost Share
• Outpatient procedures (including imaging and                           Summary" section of this EOC for coverage information.
  diagnostic Services) when provided in an outpatient                    If you have questions about Preventive Services, please
  or ambulatory surgery center or in a hospital                          call our Member Service Contact Center.
  operating room, or in any setting where a licensed
  staff member monitors your vital signs as you regain                   Note: If you receive any other covered Services that are
  sensation after receiving drugs to reduce sensation or                 not Preventive Services during or subsequent to a visit
  to minimize discomfort                                                 that includes Preventive Services on the list, you will pay
                                                                         the applicable Cost Share for those other Services. For
                                                                         example, if laboratory tests or imaging Services ordered



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during a preventive office visit are not Preventive                      Internally implanted devices
Services, you will pay the applicable Cost Share for                     We cover prosthetic and orthotic devices such as
those Services.                                                          pacemakers, intraocular lenses, cochlear implants,
                                                                         osseointegrated hearing devices, and hip joints, if they
For the following Services related to "Preventive                        are implanted during a surgery that we are covering
Services," refer to these sections                                       under another section of this "Benefits" section.
• Breast pumps and breastfeeding supplies (refer to
  "Breastfeeding supplies" under "Durable Medical                        External devices
  Equipment ("DME") for Home Use")                                       We cover the following external prosthetic and orthotic
                                                                         devices:
• Health education programs (refer to "Health
  Education")                                                            • Prosthetic devices and installation accessories to
                                                                           restore a method of speaking following the removal
• Outpatient drugs, supplies, and supplements that are                     of all or part of the larynx (this coverage does not
  Preventive Services (refer to "Outpatient Prescription                   include electronic voice-producing machines, which
  Drugs, Supplies, and Supplements")                                       are not prosthetic devices)
• Women's family planning counseling, consultations,                     • After Medically Necessary removal of all or part of a
  and sterilization Services (refer to "Family Planning                    breast:
  Services")
                                                                             prostheses, including custom-made prostheses
                                                                              when Medically Necessary
Prosthetic and Orthotic Devices                                              up to three brassieres required to hold a prosthesis
                                                                              in any 12-month period
Prosthetic and orthotic devices coverage rules
We cover the prosthetic and orthotic devices specified in                • Podiatric devices (including footwear) to prevent or
this "Prosthetic and Orthotic Devices" section if all of the               treat diabetes-related complications when prescribed
following requirements are met:                                            by a Plan Physician or by a Plan Provider who is a
                                                                           podiatrist
• The device is in general use, intended for repeated
  use, and primarily and customarily used for medical                    • Compression burn garments and lymphedema wraps
  purposes                                                                 and garments

• The device is the standard device that adequately                      • Enteral formula for Members who require tube
  meets your medical needs                                                 feeding in accord with Medicare guidelines

• You receive the device from the provider or vendor                     • Enteral pump and supplies
  that we select                                                         • Tracheostomy tube and supplies
• The item has been approved for you through the                         • Prostheses to replace all or part of an external facial
  Plan's prior authorization process, as described in                      body part that has been removed or impaired as a
  "Medical Group authorization procedure for certain                       result of disease, injury, or congenital defect
  referrals" under "Getting a Referral" in the "How to
  Obtain Services" section                                               Supplemental prosthetic and orthotic devices
• The Services are provided inside your Home Region                      If all of the requirements described under "Prosthetic and
  Service Area                                                           orthotic coverage rules" in this "Prosthetics and Orthotic
                                                                         Devices" section are met, we cover the following items:
Coverage includes fitting and adjustment of these                        • Prosthetic devices required to replace all or part of an
devices, their repair or replacement, and Services to                      organ or extremity, but only if they also replace the
determine whether you need a prosthetic or orthotic                        function of the organ or extremity
device. If we cover a replacement device, then you pay
the Cost Share that you would pay for obtaining that                     • Rigid and semi-rigid orthotic devices required to
                                                                           support or correct a defective body part
device.
                                                                         • Covered special footwear when custom made for foot
Base prosthetic and orthotic devices                                       disfigurement due to disease, injury, or
If all of the requirements described under "Prosthetic and                 developmental disability
orthotic coverage rules" in this "Prosthetics and Orthotic
Devices" section are met, we cover the items described
in this "Base prosthetic and orthotic devices" section.



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For the following Services related to "Prosthetic                        Share that applies for hospital inpatient care, and see
and Orthotic Devices," refer to these sections                           "Outpatient surgery and outpatient procedures" in the
                                                                         "Cost Share Summary" for the Cost Share that applies
• Eyeglasses and contact lenses, including contact
                                                                         for outpatient surgery.
  lenses to treat aniridia or aphakia (refer to "Vision
  Services for Adult Members" and "Vision Services
                                                                         For the following Services related to
  for Pediatric Members")
                                                                         "Reconstructive Surgery," refer to these
• Hearing aids other than internally implanted devices                   sections
  described in this section (refer to "Hearing Services")
                                                                         • Dental and orthodontic Services that are an integral
• Injectable implants (refer to "Administered Drugs and                    part of reconstructive surgery for cleft palate (refer to
  Products")                                                               "Dental and Orthodontic Services")

Prosthetic and orthotic devices exclusion(s)                             • Office visits not described in the "Reconstructive
                                                                           Surgery" section (refer to "Office Visits")
• Multifocal intraocular lenses and intraocular lenses to
                                                                         • Outpatient imaging and laboratory (refer to
  correct astigmatism
                                                                           "Outpatient Imaging, Laboratory, and Other
• Nonrigid supplies, such as elastic stockings and wigs,                   Diagnostic and Treatment Services")
  except as otherwise described above in this
                                                                         • Outpatient prescription drugs (refer to "Outpatient
  "Prosthetic and Orthotic Devices" section
                                                                           Prescription Drugs, Supplies, and Supplements")
• Comfort, convenience, or luxury equipment or
                                                                         • Outpatient administered drugs (refer to "Administered
  features
                                                                           Drugs and Products")
• Repair or replacement of device due to loss, theft, or
                                                                         • Prosthetics and orthotics (refer to "Prosthetic and
  misuse
                                                                           Orthotic Devices")
• Shoes, shoe inserts, arch supports, or any other
                                                                         • Telehealth Visits (refer to "Telehealth Visits")
  footwear, even if custom-made, except footwear
  described above in this "Prosthetic and Orthotic
                                                                         Reconstructive surgery exclusion(s)
  Devices" section for diabetes-related complications
  and foot disfigurement                                                 • Surgery that, in the judgment of a Plan Physician
• Prosthetic and orthotic devices not intended for                         specializing in reconstructive surgery, offers only a
  maintaining normal activities of daily living                            minimal improvement in appearance
  (including devices intended to provide additional
  support for recreational or sports activities)
                                                                         Rehabilitative and Habilitative Services
                                                                         We cover the Services described in this "Rehabilitative
Reconstructive Surgery                                                   and Habilitative Services" section if all of the following
We cover the following reconstructive surgery Services:                  requirements are met:
                                                                         • The Services are to address a health condition
• Reconstructive surgery to correct or repair abnormal
  structures of the body caused by congenital defects,                   • The Services are to help you keep, learn, or improve
  developmental abnormalities, trauma, infection,                          skills and functioning for daily living
  tumors, or disease, if a Plan Physician determines that                • You receive the Services at a Plan Facility unless a
  it is necessary to improve function, or create a normal                  Plan Physician determines that it is Medically
  appearance, to the extent possible                                       Necessary for you to receive the Services in another
• Following Medically Necessary removal of all or part                     location
  of a breast, we cover reconstruction of the breast,
  surgery and reconstruction of the other breast to                      We cover the following Services:
  produce a symmetrical appearance, and treatment of
                                                                         • Individual outpatient physical, occupational, and
  physical complications, including lymphedemas
                                                                           speech therapy
For covered Services related to reconstructive surgery                   • Group outpatient physical, occupational, and speech
that you receive, you will pay the Cost Share you would                    therapy
pay if the Services were not related to reconstructive                   • Physical, occupational, and speech therapy provided
surgery. For example, see "Hospital inpatient care" in the                 in an organized, multidisciplinary rehabilitation day-
"Cost Share Summary" section of this EOC for the Cost                      treatment program


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For the following Services related to                                    "Approved Clinical Trial" means a phase I, phase II,
"Rehabilitative and Habilitative Services," refer                        phase III, or phase IV clinical trial related to the
to these sections                                                        prevention, detection, or treatment of cancer or other
                                                                         life-threatening condition, and that meets one of the
• Behavioral health treatment for pervasive
                                                                         following requirements:
  developmental disorder or autism (refer to
  "Behavioral Health Treatment for Pervasive                             • The study or investigation is conducted under an
  Developmental Disorder or Autism")                                       investigational new drug application reviewed by the
                                                                           U.S. Food and Drug Administration
• Home health care (refer to "Home Health Care")
                                                                         • The study or investigation is a drug trial that is
• Durable medical equipment (refer to "Durable
                                                                           exempt from having an investigational new drug
  Medical Equipment ("DME") for Home Use")
                                                                           application
• Ostomy and urological supplies (refer to "Ostomy and
                                                                         • The study or investigation is approved or funded by at
  Urological Supplies")
                                                                           least one of the following:
• Prosthetic and orthotic devices (refer to "Prosthetic                      the National Institutes of Health
  and Orthotic Devices")
                                                                             the Centers for Disease Control and Prevention
• Physical, occupational, and speech therapy provided
  during a covered stay in a Plan Hospital or Skilled                        the Agency for Health Care Research and Quality
  Nursing Facility (refer to "Hospital Inpatient Care"                       the Centers for Medicare & Medicaid Services
  and "Skilled Nursing Facility Care")                                       a cooperative group or center of any of the above
                                                                              entities or of the Department of Defense or the
Rehabilitative and habilitative Services                                      Department of Veterans Affairs
exclusion(s)
                                                                             a qualified non-governmental research entity
• Items and services that are not health care items and                       identified in the guidelines issued by the National
  services (for example, respite care, day care,                              Institutes of Health for center support grants
  recreational care, residential treatment, social
                                                                             the Department of Veterans Affairs or the
  services, custodial care, or education services of any
                                                                              Department of Defense or the Department of
  kind, including vocational training)                                        Energy, but only if the study or investigation has
                                                                              been reviewed and approved though a system of
Services in Connection with a Clinical                                        peer review that the U.S. Secretary of Health and
                                                                              Human Services determines meets all of the
Trial                                                                         following requirements: (1) It is comparable to the
We cover Services you receive in connection with a                            National Institutes of Health system of peer review
clinical trial if all of the following requirements are met:                  of studies and investigations and (2) it assures
                                                                              unbiased review of the highest scientific standards
• We would have covered the Services if they were not                         by qualified people who have no interest in the
  related to a clinical trial                                                 outcome of the review
• You are eligible to participate in the clinical trial
  according to the trial protocol with respect to                        For covered Services related to a clinical trial, you will
  treatment of cancer or other life-threatening condition                pay the Cost Share you would pay if the Services were
  (a condition from which the likelihood of death is                     not related to a clinical trial. For example, see "Hospital
  probable unless the course of the condition is                         inpatient care" in the "Cost Share Summary" section of
  interrupted), as determined in one of the following                    this EOC for the Cost Share that applies for hospital
  ways:                                                                  inpatient care.
    a Plan Provider makes this determination
                                                                         Services in connection with a clinical trial
    you provide us with medical and scientific                          exclusion(s)
     information establishing this determination
                                                                         • The investigational Service
• If any Plan Providers participate in the clinical trial
  and will accept you as a participant in the clinical                   • Services that are provided solely to satisfy data
  trial, you must participate in the clinical trial through                collection and analysis needs and are not used in your
  a Plan Provider unless the clinical trial is outside the                 clinical management
  state where you live
• The clinical trial is an Approved Clinical Trial



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Skilled Nursing Facility Care                                            recently issued edition of the Diagnostic and Statistical
                                                                         Manual of Mental Disorders ("DSM").
Inside your Home Region Service Area, we cover skilled
inpatient Services in a Plan Skilled Nursing Facility. The               Outpatient substance use disorder treatment
skilled inpatient Services must be customarily provided                  We cover the following Services for treatment of
by a Skilled Nursing Facility, and above the level of                    substance use disorders:
custodial or intermediate care.
                                                                         • Day-treatment programs
We cover the following Services:                                         • Individual and group substance use disorder
                                                                           counseling
• Physician and nursing Services
                                                                         • Intensive outpatient programs
• Room and board
                                                                         • Medical treatment for withdrawal symptoms
• Drugs prescribed by a Plan Physician as part of your
  plan of care in the Plan Skilled Nursing Facility in
                                                                         Residential treatment
  accord with our drug formulary guidelines if they are
  administered to you in the Plan Skilled Nursing                        Inside your Home Region Service Area, we cover the
  Facility by medical personnel                                          following Services when the Services are provided in a
                                                                         licensed residential treatment facility that provides 24-
• Durable medical equipment in accord with our prior                     hour individualized substance use disorder treatment, the
  authorization procedure if Skilled Nursing Facilities                  Services are generally and customarily provided by a
  ordinarily furnish the equipment (refer to "Medical                    substance use disorder residential treatment program in a
  Group authorization procedure for certain referrals"                   licensed residential treatment facility, and the Services
  under "Getting a Referral" in the "How to Obtain                       are above the level of custodial care:
  Services" section)
                                                                         • Individual and group substance use disorder
• Imaging and laboratory Services that Skilled Nursing                     counseling
  Facilities ordinarily provide
                                                                         • Medical services
• Medical social services
                                                                         • Medication monitoring
• Whole blood, red blood cells, plasma, platelets, and
  their administration                                                   • Room and board

• Medical supplies                                                       • Social services

• Behavioral health treatment for pervasive                              • Drugs prescribed by a Plan Provider as part of your
  developmental disorder or autism                                         plan of care in the residential treatment facility in
                                                                           accord with our drug formulary guidelines if they are
• Physical, occupational, and speech therapy                               administered to you in the facility by medical
• Respiratory therapy                                                      personnel (for discharge drugs prescribed when you
                                                                           are released from the residential treatment facility,
For the following Services related to "Skilled                             please refer to "Outpatient Prescription Drugs,
Nursing Facility Care," refer to these sections                            Supplies, and Supplements" in this "Benefits"
                                                                           section)
• Outpatient imaging, laboratory, and other diagnostic
  and treatment Services (refer to "Outpatient Imaging,                  • Discharge planning
  Laboratory, and Other Diagnostic and Treatment
  Services")                                                             Inpatient detoxification
• Outpatient physical, occupational, and speech therapy                  We cover hospitalization in a Plan Hospital only for
  (refer to "Rehabilitative and Habilitative Services")                  medical management of withdrawal symptoms, including
                                                                         room and board, Plan Physician Services, drugs,
                                                                         dependency recovery Services, education, and
Substance Use Disorder Treatment                                         counseling.

We cover Services specified in this "Substance Use                       For the following Services related to "Substance
Disorder Treatment" section only when the Services are                   Use Disorder Treatment," refer to these sections
for the diagnosis or treatment of Substance Use
                                                                         • Outpatient laboratory (refer to "Outpatient Imaging,
Disorders. A "Substance Use Disorder" is a condition
                                                                           Laboratory, and Other Diagnostic and Treatment
identified as a "substance use disorder" in the most
                                                                           Services")



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• Outpatient self-administered drugs (refer to                           For covered transplant Services that you receive, you
  "Outpatient Prescription Drugs, Supplies, and                          will pay the Cost Share you would pay if the Services
  Supplements")                                                          were not related to a transplant. For example, see
                                                                         "Hospital inpatient care" in the "Cost Share Summary"
• Telehealth Visits (refer to "Telehealth Visits")
                                                                         section of this EOC for the Cost Share that applies for
                                                                         hospital inpatient care. We provide or pay for donation-
Telehealth Visits                                                        related Services for actual or potential donors (whether
                                                                         or not they are Members) in accord with our guidelines
Telehealth Visits are intended to make it more                           for donor Services at no charge.
convenient for you to receive covered Services, when a
Plan Provider determines it is medically appropriate for                 For the following Services related to "Transplant
your medical condition. You may receive covered                          Services," refer to these sections
Services via Telehealth Visits, when available and if the
                                                                         • Outpatient imaging and laboratory (refer to
Services would have been covered under this EOC if                         "Outpatient Imaging, Laboratory, and Other
provided in person. You are not required to use                            Diagnostic and Treatment Services")
Telehealth Visits.
                                                                         • Outpatient prescription drugs (refer to "Outpatient
We cover the following types of Telehealth Visits with                     Prescription Drugs, Supplies, and Supplements")
Primary Care Physicians, Non-Physician Specialists, and                  • Outpatient administered drugs (refer to "Administered
Physician Specialists:                                                     Drugs and Products")
• Interactive video visits
• Scheduled telephone visits                                             Vision Services for Adult Members
                                                                         We cover the following for Adult Members:
Transplant Services
                                                                         • Routine eye exams with a Plan Optometrist to
We cover transplants of organs, tissue, or bone marrow if                  determine the need for vision correction (including
the Medical Group provides a written referral for care to                  dilation Services when Medically Necessary) and to
a transplant facility as described in "Medical Group                       provide a prescription for eyeglass lenses
authorization procedure for certain referrals" under                     • Physician Specialist Visits to diagnose and treat
"Getting a Referral" in the "How to Obtain Services"                       injuries or diseases of the eye
section.
                                                                         • Non-Physician Specialist Visits to diagnose and treat
                                                                           injuries or diseases of the eye
After the referral to a transplant facility, the following
applies:
                                                                         Optical Services
• If either the Medical Group or the referral facility                   We cover the Services described in this "Optical
  determines that you do not satisfy its respective                      Services" section at Plan Medical Offices or Plan Optical
  criteria for a transplant, we will only cover Services                 Sales Offices.
  you receive before that determination is made
• Health Plan, Plan Hospitals, the Medical Group, and                    The date we provide an Allowance toward (or otherwise
  Plan Physicians are not responsible for finding,                       cover) an item described in this "Optical Services"
  furnishing, or ensuring the availability of an organ,                  section is the date on which you order the item. For
  tissue, or bone marrow donor                                           example, if we last provided an Allowance toward an
                                                                         item you ordered on May 1, 2019, and if we provide an
• In accord with our guidelines for Services for living
                                                                         Allowance not more than once every 24 months for that
  transplant donors, we provide certain donation-related
                                                                         type of item, then we would not provide another
  Services for a donor, or an individual identified by the
                                                                         Allowance toward that type of item until on or after May
  Medical Group as a potential donor, whether or not
                                                                         1, 2021. You can use the Allowances under this "Optical
  the donor is a Member. These Services must be
                                                                         Services" section only when you first order an item. If
  directly related to a covered transplant for you, which
                                                                         you use part but not all of an Allowance when you first
  may include certain Services for harvesting the organ,
                                                                         order an item, you cannot use the rest of that Allowance
  tissue, or bone marrow and for treatment of
                                                                         later.
  complications. Please call our Member Service
  Contact Center for questions about donor Services




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Special contact lenses                                                   for the eye that had the .50 diopter change. Please refer
We cover the following:                                                  to "Vision Services for Adult Members" in the "Cost
                                                                         Share Summary" section of this EOC for your Allowance
• For aniridia (missing iris), we cover up to two
                                                                         amount.
  Medically Necessary contact lenses per eye
  (including fitting and dispensing) in any 12-month
                                                                         Low vision devices
  period when prescribed by a Plan Physician or Plan
  Optometrist                                                            Low vision devices (including fitting and dispensing) are
                                                                         not covered under this EOC.
• For aphakia (absence of the crystalline lens of the
  eye), we cover up to six Medically Necessary aphakic                   For the following Services related to "Vision
  contact lenses per eye (including fitting and                          Services for Adult Members," refer to these
  dispensing) in any 12-month period when prescribed                     sections
  by a Plan Physician or Plan Optometrist
                                                                         • Routine vision screenings when performed as part of
• For other contact lenses that will provide a significant                 a routine physical exam (refer to "Preventive
  improvement in your vision that eyeglass lenses                          Services")
  cannot provide, we cover either one pair of contact
  lenses (including fitting and dispensing) or an initial                • Services related to the eye or vision other than
  supply of disposable contact lenses (including fitting                   Services covered under this "Vision Services for
  and dispensing) in any 24-month period                                   Adult Members" section, such as outpatient surgery
                                                                           and outpatient prescription drugs, supplies, and
Eyeglasses and contact lenses                                              supplements (refer to the applicable heading in this
We provide a single Allowance toward the purchase                          "Benefits" section)
price of any or all of the following not more than once
every 24 months when a physician or optometrist                          Vision Services for Adult Members exclusion(s)
prescribes an eyeglass lens (for eyeglass lenses and                     • Eyeglass or contact lens adornment, such as
frames) or contact lens (for contact lenses). Please refer                 engraving, faceting, or jeweling
to "Vision Services for Adult Members" in the "Cost
                                                                         • Industrial frames or safety eyeglasses, when required
Share Summary" section of this EOC for your Allowance
                                                                           as a condition of employment
amount.
                                                                         • Items that do not require a prescription by law (other
• Eyeglass lenses when a Plan Provider puts the lenses
                                                                           than eyeglass frames), such as eyeglass holders,
  into a frame
                                                                           eyeglass cases, and repair kits
    we cover a clear balance lens when only one eye
                                                                         • Lenses and sunglasses without refractive value,
     needs correction
                                                                           except as described in this "Vision Services for Adult
    we cover tinted lenses when Medically Necessary                       Members" section
     to treat macular degeneration or retinitis
     pigmentosa                                                          • Low vision devices

• Eyeglass frames when a Plan Provider puts two lenses                   • Replacement of lost, broken, or damaged contact
  (at least one of which must have refractive value) into                  lenses, eyeglass lenses, and frames
  the frame
• Contact lenses, fitting, and dispensing                                Vision Services for Pediatric Members

We will not provide the Allowance if we have provided                    We cover the following for Pediatric Members:
an Allowance toward (or otherwise covered) eyeglass                      • Routine eye exams with a Plan Optometrist to
lenses or frames within the previous 24 months.                            determine the need for vision correction (including
                                                                           dilation Services when Medically Necessary) and to
Replacement lenses                                                         provide a prescription for eyeglass lenses
If you have a change in prescription of at least .50                     • Physician Specialist Visits to diagnose and treat
diopter in one or both eyes within 12 months of the                        injuries or diseases of the eye
initial point of sale of an eyeglass lens or contact lens
that we provided an Allowance toward (or otherwise                       • Non-Physician Specialist Visits to diagnose and treat
covered) we will provide an Allowance toward the                           injuries or diseases of the eye
purchase price of a replacement item of the same type
(eyeglass lens, or contact lens, fitting, and dispensing)



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Optical Services                                                         optometrist and obtained at a Plan Medical Office or
We cover the Services described in this "Optical                         Plan Optical Sales Office:
Services" section at Plan Medical Offices or Plan Optical                • Standard contact lenses: one pair of lenses in any 12-
Sales Offices.                                                             month period; or
                                                                         • Disposable contact lenses: one six-month supply for
Special contact lenses
                                                                           each eye in any 12-month period
We cover the following:
• For aniridia (missing iris), we cover up to two                        Low vision devices
  Medically Necessary contact lenses per eye                             If a low-vision device will provide a significant
  (including fitting and dispensing) in any 12-month                     improvement in your vision not obtainable with
  period when prescribed by a Plan Physician or Plan                     eyeglasses or contact lenses (or with a combination of
  Optometrist                                                            eyeglasses and contact lenses), we cover one device
• For aphakia (absence of the crystalline lens of the                    (including fitting and dispensing) per Accumulation
  eye), we cover up to six Medically Necessary aphakic                   Period.
  contact lenses per eye (including fitting and
  dispensing) in any 12-month period when prescribed                     For the following Services related to "Vision
  by a Plan Physician or Plan Optometrist                                Services for Pediatric Members," refer to these
                                                                         sections
• For other contact lenses that will provide a significant
  improvement in your vision that eyeglass lenses                        • Routine vision screenings when performed as part of
  cannot provide, we cover either one pair of contact                      a routine physical exam (refer to "Preventive
  lenses (including fitting and dispensing) or an initial                  Services")
  supply of disposable contact lenses (including fitting                 • Services related to the eye or vision other than
  and dispensing) in any 24-month period                                   Services covered under this "Vision Services for
                                                                           Pediatric Members" section, such as outpatient
Eyeglasses and contact lenses                                              surgery and outpatient prescription drugs, supplies,
If you prefer to wear eyeglasses rather than contact                       and supplements (refer to the applicable heading in
lenses, we cover one complete pair of eyeglasses (frame                    this "Benefits" section)
and Regular Eyeglass Lenses) from our designated value
frame collection every 12 months when prescribed by a                    Vision Services for Pediatric Members
physician or optometrist and a Plan Provider puts the                    exclusion(s)
lenses into an eyeglass frame. We cover a clear balance
lens when only one eye needs correction. We cover                        • Antireflective coating
tinted lenses when Medically Necessary to treat macular                  • Except for Regular Eyeglass Lenses described in this
degeneration or retinitis pigmentosa.                                      "Vision Services for Pediatric Members" section, all
                                                                           other lenses such as progressive and High-Index
"Regular Eyeglass Lenses" are lenses that meet all of the                  lenses
following requirements:                                                  • Eyeglass or contact lens adornment, such as
• They are clear glass, plastic, or polycarbonate lenses                   engraving, faceting, or jeweling
• At least one of the two lenses has refractive value                    • Industrial frames or safety eyeglasses, when required
                                                                           as a condition of employment
• They are standard single vision, lined multifocal, or
  lenticular                                                             • Items that do not require a prescription by law (other
                                                                           than eyeglass frames), such as eyeglass holders,
Eyeglass warranty                                                          eyeglass cases, and repair kits
Eyeglasses purchased at a Plan Optical Sales Office may                  • Lenses and sunglasses without refractive value,
include a replacement warranty for up to one year from                     except as described in this "Vision Services for
the original date of dispensing. Please ask your Plan                      Pediatric Members" section
Optical Sales Office for warranty information.
                                                                         • Photochromic or polarized lenses
Other contact lenses                                                     • Replacement of broken or damaged contact lenses,
If you prefer to wear contact lenses rather than                           eyeglass lenses, and frames, except as described in
eyeglasses, we cover the following (including fitting and                  warranty information provided to you at the time of
dispensing) when prescribed by a physician or                              purchase




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• Replacement of broken or damaged low vision                            Custodial care
  devices                                                                Assistance with activities of daily living (for example:
• Replacement of lost or stolen eyewear                                  walking, getting in and out of bed, bathing, dressing,
                                                                         feeding, toileting, and taking medicine).

                                                                         This exclusion does not apply to assistance with
Exclusions, Limitations,                                                 activities of daily living that is provided as part of
Coordination of Benefits, and                                            covered hospice, Skilled Nursing Facility, or inpatient
                                                                         hospital care.
Reductions
                                                                         Dental and orthodontic Services
Exclusions                                                               Dental and orthodontic Services such as X-rays,
                                                                         appliances, implants, Services provided by dentists or
The items and services listed in this "Exclusions" section
                                                                         orthodontists, dental Services following accidental injury
are excluded from coverage. These exclusions apply to
                                                                         to teeth, and dental Services resulting from medical
all Services that would otherwise be covered under this
                                                                         treatment such as surgery on the jawbone and radiation
EOC regardless of whether the services are within the
                                                                         treatment.
scope of a provider's license or certificate. These
exclusions or limitations do not apply to Services that are
Medically Necessary to treat Serious Emotional                           This exclusion does not apply to the following Services:
Disturbance of a Child Under Age 18 or Severe Mental                     • Services covered under "Dental and Orthodontic
Illness.                                                                   Services" in the "Benefits" section
                                                                         • Service described under "Injury to Teeth" in the
Certain exams and Services                                                 "Benefits" section
Physical exams and other Services (1) required for
                                                                         • Pediatric dental Services described in a Pediatric
obtaining or maintaining employment or participation in
                                                                           Dental Services Amendment to this EOC, if any. If
employee programs, (2) required for insurance or
                                                                           your plan has a Pediatric Dental Services
licensing, or (3) on court order or required for parole or
                                                                           Amendment, it will be attached to this EOC, and it
probation. This exclusion does not apply if a Plan
Physician determines that the Services are Medically                       will be listed in the EOC's Table of Contents
Necessary.
                                                                         Disposable supplies
Chiropractic Services                                                    Disposable supplies for home use, such as bandages,
                                                                         gauze, tape, antiseptics, dressings, Ace-type bandages,
Chiropractic Services and the Services of a chiropractor,
unless you have coverage for supplemental chiropractic                   and diapers, underpads, and other incontinence supplies.
Services as described in an amendment to this EOC.
                                                                         This exclusion does not apply to disposable supplies
Cosmetic Services                                                        covered under "Durable Medical Equipment ("DME")
                                                                         for Home Use," "Home Health Care," "Hospice Care,"
Services that are intended primarily to change or
                                                                         "Ostomy and Urological Supplies," and "Outpatient
maintain your appearance (including Cosmetic Surgery,
                                                                         Prescription Drugs, Supplies, and Supplements" in the
which is defined as surgery that is performed to alter or
                                                                         "Benefits" section.
reshape normal structures of the body in order to
improve appearance), except that this exclusion does not
                                                                         Experimental or investigational Services
apply to any of the following:
                                                                         A Service is experimental or investigational if we, in
• Services covered under "Reconstructive Surgery" in                     consultation with the Medical Group, determine that one
  the "Benefits" section                                                 of the following is true:
• The following devices covered under "Prosthetic and                    • Generally accepted medical standards do not
  Orthotic Devices" in the "Benefits" section: testicular                  recognize it as safe and effective for treating the
  implants implanted as part of a covered reconstructive                   condition in question (even if it has been authorized
  surgery, breast prostheses needed after a mastectomy,                    by law for use in testing or other studies on human
  and prostheses to replace all or part of an external                     patients)
  facial body part
                                                                         • It requires government approval that has not been
                                                                           obtained when the Service is to be provided




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This exclusion does not apply to any of the following:                      Developmental Disorder or Autism" in the "Benefits"
• Experimental or investigational Services when an                          section
  investigational application has been filed with the                    • Teaching skills for employment or vocational
  federal Food and Drug Administration ("FDA") and                         purposes
  the manufacturer or other source makes the Services                    • Vocational training or teaching vocational skills
  available to you or Kaiser Permanente through an
  FDA-authorized procedure, except that we do not                        • Professional growth courses
  cover Services that are customarily provided by                        • Training for a specific job or employment counseling
  research sponsors free of charge to enrollees in a
                                                                         • Aquatic therapy and other water therapy, except that
  clinical trial or other investigational treatment
                                                                           this exclusion for aquatic therapy and other water
  protocol
                                                                           therapy does not apply to therapy Services that are
• Services covered under "Services in Connection with                      part of a physical therapy treatment plan and covered
  a Clinical Trial" in the "Benefits" section                              under "Home Health Care," "Hospice Services,"
                                                                           "Hospital Inpatient Care," "Rehabilitative and
Please refer to the "Dispute Resolution" section for                       Habilitative Services," or "Skilled Nursing Facility
information about Independent Medical Review related                       Care" in the "Benefits" section
to denied requests for experimental or investigational
Services.                                                                Items and services to correct refractive defects
                                                                         of the eye
Hair loss or growth treatment                                            Items and services (such as eye surgery or contact lenses
Items and services for the promotion, prevention, or                     to reshape the eye) for the purpose of correcting
other treatment of hair loss or hair growth.                             refractive defects of the eye such as myopia, hyperopia,
                                                                         or astigmatism.
Intermediate care
Care in a licensed intermediate care facility. This                      Massage therapy
exclusion does not apply to Services covered under                       Massage therapy, except that this exclusion does not
"Durable Medical Equipment ("DME") for Home Use,"                        apply to therapy Services that are part of a physical
"Home Health Care," and "Hospice Care" in the                            therapy treatment plan and covered under "Home Health
"Benefits" section.                                                      Care," "Hospice Services," "Hospital Inpatient Care,"
                                                                         "Rehabilitative and Habilitative Services," or "Skilled
Items and services that are not health care items                        Nursing Facility Care" in the "Benefits" section.
and services
For example, we do not cover:                                            Oral nutrition
• Teaching manners and etiquette                                         Outpatient oral nutrition, such as dietary supplements,
                                                                         herbal supplements, weight loss aids, formulas, and food.
• Teaching and support services to develop planning
  skills such as daily activity planning and project or                  This exclusion does not apply to any of the following:
  task planning
                                                                         • Amino acid–modified products and elemental dietary
• Items and services for the purpose of increasing                         enteral formula covered under "Outpatient
  academic knowledge or skills                                             Prescription Drugs, Supplies, and Supplements" in the
• Teaching and support services to increase intelligence                   "Benefits" section
• Academic coaching or tutoring for skills such as                       • Enteral formula covered under "Prosthetic and
  grammar, math, and time management                                       Orthotic Devices" in the "Benefits" section
• Teaching you how to read, whether or not you have
  dyslexia                                                               Residential care
                                                                         Care in a facility where you stay overnight, except that
• Educational testing                                                    this exclusion does not apply when the overnight stay is
• Teaching art, dance, horse riding, music, play or                      part of covered care in a hospital, a Skilled Nursing
  swimming, except that this exclusion for "teaching                     Facility, inpatient respite care covered in the "Hospice
  play" does not apply to Services that are part of a                    Care" section, or residential treatment program Services
  behavioral health therapy treatment plan and covered                   covered in the "Substance Use Disorder Treatment" and
  under "Behavioral Health Treatment for Pervasive                       "Mental Health Services" sections.




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Routine foot care items and services                                     would not apply and we would cover any Services that
Routine foot care items and services that are not                        we would otherwise cover to treat that complication.
Medically Necessary.
                                                                         Surrogacy
Services not approved by the federal Food and                            Services for anyone in connection with a Surrogacy
Drug Administration                                                      Arrangement, except for otherwise-covered Services
Drugs, supplements, tests, vaccines, devices, radioactive                provided to a Member who is a surrogate. A "Surrogacy
materials, and any other Services that by law require                    Arrangement" is one in which a woman (the surrogate)
federal Food and Drug Administration ("FDA") approval                    agrees to become pregnant and to surrender the baby (or
in order to be sold in the U.S. but are not approved by the              babies) to another person or persons who intend to raise
FDA. This exclusion applies to Services provided                         the child (or children), whether or not the woman
anywhere, even outside the U.S.                                          receives payment for being a surrogate. Please refer to
                                                                         "Surrogacy arrangements" under "Reductions" in this
This exclusion does not apply to any of the following:                   "Exclusions, Limitations, Coordination of Benefits, and
                                                                         Reductions" section for information about your
• Services covered under the "Emergency Services and                     obligations to us in connection with a Surrogacy
  Urgent Care" section that you receive outside the U.S.                 Arrangement, including your obligations to reimburse us
• Experimental or investigational Services when an                       for any Services we cover and to provide information
  investigational application has been filed with the                    about anyone who may be financially responsible for
  FDA and the manufacturer or other source makes the                     Services the baby (or babies) receive.
  Services available to you or Kaiser Permanente
  through an FDA-authorized procedure, except that we                    Travel and lodging expenses
  do not cover Services that are customarily provided                    Travel and lodging expenses, except as described in our
  by research sponsors free of charge to enrollees in a                  Travel and Lodging Program Description. The Travel
  clinical trial or other investigational treatment                      and Lodging Program Description is available online at
  protocol                                                               kp.org/specialty-care/travel-reimbursements or by
• Services covered under "Services in Connection with                    calling our Member Service Contact Center.
  a Clinical Trial" in the "Benefits" section
                                                                         Limitations
Please refer to the "Dispute Resolution" section for
information about Independent Medical Review related                     We will make a good faith effort to provide or arrange
to denied requests for experimental or investigational                   for covered Services within the remaining availability of
Services.                                                                facilities or personnel in the event of unusual
                                                                         circumstances that delay or render impractical the
Services performed by unlicensed people                                  provision of Services under this EOC, such as a major
Services that are performed safely and effectively by                    disaster, epidemic, war, riot, civil insurrection, disability
people who do not require licenses or certificates by the                of a large share of personnel at a Plan Facility, complete
state to provide health care services and where the                      or partial destruction of facilities, and labor dispute.
Member's condition does not require that the services be                 Under these circumstances, if you have an Emergency
provided by a licensed health care provider.                             Medical Condition, call 911 or go to the nearest hospital
                                                                         as described under "Emergency Services" in the
This exclusion does not apply to Services covered under                  "Emergency Services and Urgent Care" section, and we
"Behavioral Health Treatment for Pervasive                               will provide coverage and reimbursement as described in
Developmental Disorder or Autism" in the "Benefits"                      that section.
section.

Services related to a noncovered Service                                 Coordination of Benefits
When a Service is not covered, all Services related to the
                                                                         The Services covered under this EOC are subject to
noncovered Service are excluded, except for Services we
                                                                         coordination of benefits rules.
would otherwise cover to treat complications of the
noncovered Service. For example, if you have a
                                                                         Coverage other than Medicare coverage
noncovered cosmetic surgery, we would not cover
Services you receive in preparation for the surgery or for               If you have medical or dental coverage under another
follow-up care. If you later suffer a life-threatening                   plan that is subject to coordination of benefits, we will
complication such as a serious infection, this exclusion                 coordinate benefits with the other coverage under the



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coordination of benefits rules of the California                         Injuries or illnesses alleged to be caused by
Department of Managed Health Care. Those rules are                       third parties
incorporated into this EOC.                                              If you obtain a judgment or settlement from or on behalf
                                                                         of a third party who allegedly caused an injury or illness
If both the other coverage and we cover the same                         for which you received covered Services, you must
Service, the other coverage and we will see that up to                   reimburse us to the maximum extent allowed under
100 percent of your covered medical expenses are paid                    California Civil Code Section 3040. Note: This "Injuries
for that Service. The coordination of benefits rules                     or illnesses alleged to be caused by third parties" section
determine which coverage pays first, or is "primary," and                does not affect your obligation to pay your Cost Share
which coverage pays second, or is "secondary." The                       for these Services.
secondary coverage may reduce its payment to take into
account payment by the primary coverage. You must                        To the extent permitted or required by law, we have the
give us any information we request to help us coordinate                 option of becoming subrogated to all claims, causes of
benefits.                                                                action, and other rights you may have against a third
                                                                         party or an insurer, government program, or other source
If your coverage under this EOC is secondary, we may                     of coverage for monetary damages, compensation, or
be able to establish a Benefit Reserve Account for you.                  indemnification on account of the injury or illness
You may draw on the Benefit Reserve Account during a                     allegedly caused by the third party. We will be so
calendar year to pay for your out-of-pocket expenses for                 subrogated as of the time we mail or deliver a written
Services that are partially covered by either your other                 notice of our exercise of this option to you or your
coverage or us during that calendar year. If you are                     attorney.
entitled to a Benefit Reserve Account, we will provide
you with detailed information about this account.                        To secure our rights, we will have a lien on the proceeds
                                                                         of any judgment or settlement you or we obtain against a
If you have any questions about coordination of benefits,                third party. The proceeds of any judgment or settlement
please call our Member Service Contact Center.                           that you or we obtain shall first be applied to satisfy our
                                                                         lien, regardless of whether the total amount of the
Medicare coverage                                                        proceeds is less than the actual losses and damages you
If you have Medicare coverage, we will coordinate                        incurred.
benefits with the Medicare coverage under Medicare
rules. Medicare rules determine which coverage pays                      Within 30 days after submitting or filing a claim or legal
first, or is "primary," and which coverage pays second, or               action against a third party, you must send written notice
is "secondary." You must give us any information we                      of the claim or legal action to:
request to help us coordinate benefits. Please call our
                                                                            For Northern California Home Region Members:
Member Service Contact Center to find out which
                                                                             Equian
Medicare rules apply to your situation, and how payment
will be handled.                                                             Kaiser Permanente - Northern California Region
                                                                             Subrogation Mailbox
                                                                             P.O. Box 36380
Reductions                                                                   Louisville, KY 40233
                                                                             Fax: 1-502-214-1137
Employer responsibility
                                                                            For Southern California Home Region Members:
For any Services that the law requires an employer to
                                                                             The Rawlings Group
provide, we will not pay the employer, and when we
                                                                             Subrogation Mailbox
cover any such Services we may recover the value of the
                                                                             P.O. Box 2000
Services from the employer.
                                                                             LaGrange, KY 40031
                                                                             Fax: 1-502-753-7064
Government agency responsibility
For any Services that the law requires be provided only                  In order for us to determine the existence of any rights
by or received only from a government agency, we will                    we may have and to satisfy those rights, you must
not pay the government agency, and when we cover any                     complete and send us all consents, releases,
such Services we may recover the value of the Services
                                                                         authorizations, assignments, and other documents,
from the government agency.                                              including lien forms directing your attorney, the third
                                                                         party, and the third party's liability insurer to pay us
                                                                         directly. You may not agree to waive, release, or reduce



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our rights under this provision without our prior, written               expenses. To secure our rights, we will also have a lien
consent.                                                                 on those payments and on any escrow account, trust, or
                                                                         any other account that holds those payments. Those
If your estate, parent, guardian, or conservator asserts a               payments (and amounts in any escrow account, trust, or
claim against a third party based on your injury or                      other account that holds those payments) shall first be
illness, your estate, parent, guardian, or conservator and               applied to satisfy our lien. The assignment and our lien
any settlement or judgment recovered by the estate,                      will not exceed the total amount of your obligation to us
parent, guardian, or conservator shall be subject to our                 under the preceding paragraph.
liens and other rights to the same extent as if you had
asserted the claim against the third party. We may assign                Within 30 days after entering into a Surrogacy
our rights to enforce our liens and other rights.                        Arrangement, you must send written notice of the
                                                                         arrangement, including all of the following information:
If you have Medicare, Medicare law may apply with                        • Names, addresses, and phone numbers of the other
respect to Services covered by Medicare.                                   parties to the arrangement

Some providers have contracted with Kaiser Permanente                    • Names, addresses, and phone numbers of any escrow
to provide certain Services to Members at rates that are                   agent or trustee
typically less than the fees that the providers ordinarily               • Names, addresses, and phone numbers of the intended
charge to the general public ("General Fees"). However,                    parents and any other parties who are financially
these contracts may allow the providers to recover all or                  responsible for Services the baby (or babies) receive,
a portion of the difference between the fees paid by                       including names, addresses, and phone numbers for
Kaiser Permanente and their General Fees by means of a                     any health insurance that will cover Services that the
lien claim under California Civil Code Sections 3045.1–                    baby (or babies) receive
3045.6 against a judgment or settlement that you receive
                                                                         • A signed copy of any contracts and other documents
from or on behalf of a third party. For Services the                       explaining the arrangement
provider furnished, our recovery and the provider's
recovery together will not exceed the provider's General                 • Any other information we request in order to satisfy
Fees.                                                                      our rights

Surrogacy arrangements                                                   You must send this information to:
If you enter into a Surrogacy Arrangement and you or                        For Northern California Home Region Members:
any other payee are entitled to receive payments or other                    Equian
compensation under the Surrogacy Arrangement, you                            Kaiser Permanente - Northern California Region
must reimburse us for covered Services you receive                           Surrogacy Mailbox
related to conception, pregnancy, delivery, or postpartum                    P.O. Box 36380
care in connection with that arrangement ("Surrogacy                         Louisville, KY 40233
Health Services") to the maximum extent allowed under                        Fax: 1-502-214-1137
California Civil Code Section 3040. A "Surrogacy
Arrangement" is one in which a woman agrees to                              For Southern California Home Region Members:
become pregnant and to surrender the baby (or babies) to                     The Rawlings Group
another person or persons who intend to raise the child                      Surrogacy Mailbox
(or children), whether or not the woman receives                             P.O. Box 2000
payment for being a surrogate. Note: This "Surrogacy                         LaGrange, KY 40031
arrangements" section does not affect your obligation to                     Fax: 1-502-753-7064
pay your Cost Share for these Services. After you
surrender a baby to the legal parents, you are not                       You must complete and send us all consents, releases,
obligated to reimburse us for any Services that the baby                 authorizations, lien forms, and other documents that are
receives (the legal parents are financially responsible for              reasonably necessary for us to determine the existence of
any Services that the baby receives).                                    any rights we may have under this "Surrogacy
                                                                         arrangements" section and to satisfy those rights. You
By accepting Surrogacy Health Services, you                              may not agree to waive, release, or reduce our rights
automatically assign to us your right to receive payments                under this "Surrogacy arrangements" section without our
that are payable to you or any other payee under the                     prior, written consent.
Surrogacy Arrangement, regardless of whether those
payments are characterized as being for medical



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If your estate, parent, guardian, or conservator asserts a                  Emergency Services, Out-of-Area Urgent Care, Post-
claim against a third party based on the surrogacy                          Stabilization Care, or emergency ambulance Services)
arrangement, your estate, parent, guardian, or                              and you want us to pay for the Services
conservator and any settlement or judgment recovered by                  • You want to appeal a denial of an initial claim for
the estate, parent, guardian, or conservator shall be                      payment
subject to our liens and other rights to the same extent as
if you had asserted the claim against the third party. We
                                                                         Please follow the procedures under "Grievances" in the
may assign our rights to enforce our liens and other
                                                                         "Dispute Resolution" section in the following situations:
rights.
                                                                         • You want us to cover Services that you have not yet
If you have questions about your obligations under this                    received
provision, please contact our Member Service Contact                     • You want us to continue to cover an ongoing course
Center.                                                                    of covered treatment
                                                                         • You want to appeal a written denial of a request for
U.S. Department of Veterans Affairs
                                                                           Services that require prior authorization (as described
For any Services for conditions arising from military                      under "Medical Group authorization procedure for
service that the law requires the Department of Veterans                   certain referrals")
Affairs to provide, we will not pay the Department of
Veterans Affairs, and when we cover any such Services
we may recover the value of the Services from the                        Who May File
Department of Veterans Affairs.
                                                                         The following people may file claims:
Workers' compensation or employer's liability
                                                                         • You may file for yourself
benefits
You may be eligible for payments or other benefits,                      • You can ask a friend, relative, attorney, or any other
including amounts received as a settlement (collectively                   individual to file a claim for you by appointing them
referred to as "Financial Benefit"), under workers'                        in writing as your authorized representative
compensation or employer's liability law. We will                        • A parent may file for their child under age 18, except
provide covered Services even if it is unclear whether                     that the child must appoint the parent as authorized
you are entitled to a Financial Benefit, but we may                        representative if the child has the legal right to control
recover the value of any covered Services from the                         release of information that is relevant to the claim
following sources:
                                                                         • A court-appointed guardian may file for their ward,
• From any source providing a Financial Benefit or                         except that the ward must appoint the court-appointed
  from whom a Financial Benefit is due                                     guardian as authorized representative if the ward has
• From you, to the extent that a Financial Benefit is                      the legal right to control release of information that is
  provided or payable or would have been required to                       relevant to the claim
  be provided or payable if you had diligently sought to                 • A court-appointed conservator may file for their
  establish your rights to the Financial Benefit under                     conservatee
  any workers' compensation or employer's liability law
                                                                         • An agent under a currently effective health care
                                                                           proxy, to the extent provided under state law, may file
                                                                           for their principal
Post-Service Claims and Appeals
                                                                         Authorized representatives must be appointed in writing
This "Post-Service Claims and Appeals" section explains                  using either our authorization form or some other form of
how to file a claim for payment or reimbursement for                     written notification. The authorization form is available
Services that you have already received. Please use the                  from the Member Services Department at a Plan Facility,
procedures in this section in the following situations:                  on our website at kp.org, or by calling our Member
                                                                         Service Contact Center. Your written authorization must
• You have received Emergency Services, Post-                            accompany the claim. You must pay the cost of anyone
  Stabilization Care, Out-of-Area Urgent Care, or                        you hire to represent or help you.
  emergency ambulance Services from a Non–Plan
  Provider and you want us to pay for the Services
• You have received Services from a Non–Plan
  Provider that we did not authorize (other than



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Supporting Documents                                                     If you want to review the information that we have
                                                                         collected regarding your claim, you may request, and we
You can request payment or reimbursement orally or in                    will provide without charge, copies of all relevant
writing. Your request for payment or reimbursement, and                  documents, records, and other information. You also
any related documents that you give us, constitute your                  have the right to request any diagnosis and treatment
claim.                                                                   codes and their meanings that are the subject of your
                                                                         claim. To make a request, you should follow the steps in
Claim forms for Emergency Services, Post-                                the written notice sent to you about your claim.
Stabilization Care, Out-of-Area Urgent Care, and
emergency ambulance Services
To file a claim in writing for Emergency Services, Post-                 Initial Claims
Stabilization Care, Out-of-Area Urgent Care, and
                                                                         To request that we pay a provider (or reimburse you) for
emergency ambulance Services, please use our claim
                                                                         Services that you have already received, you must file a
form. You can obtain a claim form in the following
                                                                         claim. If you have any questions about the claims
ways:
                                                                         process, please call our Member Service Contact Center.
• By visiting our website at kp.org
• In person from any Member Services office at a Plan                    Submitting a claim for Emergency Services,
  Facility and from Plan Providers (for addresses, refer                 Post-Stabilization Care, Out-of-Area Urgent
  to our Provider Directory or call our Member Service                   Care, and emergency ambulance Services
  Contact Center)                                                        If you have received Emergency Services, Post-
                                                                         Stabilization Care, Out-of-Area Urgent Care, or
• By calling our Member Service Contact Center at
                                                                         emergency ambulance Services from a Non–Plan
  1-800-464-4000 (TTY users call 711)
                                                                         Provider, then as soon as possible after you received the
                                                                         Services, you must file your claim by mailing a
Claims forms for all other Services
                                                                         completed claim form and supporting information to the
To file a claim in writing for all other Services, you may               following address:
use our Complaint or Benefit Claim/Request form. You
can obtain this form in the following ways:
                                                                         For Northern California Home Region Members:
• By visiting our website at kp.org                                          Kaiser Permanente
• In person from any Member Services office at a Plan                        Claims Administration - NCAL
  Facility and from Plan Providers (for addresses, refer                     P.O. Box 12923
  to our Provider Directory or call our Member Service                       Oakland, CA 94604-2923
  Contact Center)
                                                                         For Southern California Home Region Members:
• By calling our Member Service Contact Center at
                                                                              Kaiser Permanente
  1-800-464-4000 (TTY users call 711)
                                                                              Claims Administration - SCAL
                                                                              P.O. Box 7004
Other supporting information
                                                                              Downey, CA 90242-7004
When you file a claim, please include any information
that clarifies or supports your position. For example, if                Please call our Member Service Contact Center if you
you have paid for Services, please include any bills and                 need help filing your claim.
receipts that support your claim. To request that we pay a
Non–Plan Provider for Services, include any bills from                   Submitting a claim for all other Services
the Non–Plan Provider. If the Non–Plan Provider states
that they will file the claim, you are still responsible for             If you have received Services from a Non–Plan Provider
                                                                         that we did not authorize (other than Emergency
making sure that we receive everything we need to
                                                                         Services, Post-Stabilization Care, Out-of-Area Urgent
process the request for payment. When appropriate, we
                                                                         Care, or emergency ambulance Services), then as soon as
will request medical records from Plan Providers on your
                                                                         possible after you receive the Services, you must file
behalf. If you tell us that you have consulted with a Non–
                                                                         your claim in one of the following ways:
Plan Provider and are unable to provide copies of
relevant medical records, we will contact the provider to                • By delivering your claim to a Member Services office
request a copy of your relevant medical records. We will                   at a Plan Facility (for addresses, refer to our Provider
ask you to provide us a written authorization so that we                   Directory or call our Member Service Contact Center)
can request your records.




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• By mailing your claim to a Member Services office at                   Appeals
  a Plan Facility (for addresses, refer to our Provider
  Directory or call our Member Service Contact Center)                   Claims for Emergency Services, Post-
                                                                         Stabilization Care, Out-of-Area Urgent Care, or
• By calling our Member Service Contact Center at                        emergency ambulance Services from a Non–
  1-800-464-4000 (TTY users call 711)                                    Plan Provider
• By visiting our website at kp.org                                      If we did not decide fully in your favor and you want to
                                                                         appeal our decision, you may submit your appeal in one
Please call our Member Service Contact Center if you                     of the following ways:
need help filing your claim.
                                                                         • By mailing your appeal to the Claims Department at
                                                                           the following address:
After we receive your claim
                                                                             Kaiser Foundation Health Plan, Inc.
We will send you an acknowledgment letter within five                        Special Services Unit
days after we receive your claim.
                                                                             P.O. Box 23280
                                                                             Oakland, CA 94623
After we review your claim, we will respond as follows:
                                                                         • By calling our Member Service Contact Center at
• If we have all the information we need we will send                      1-800-464-4000 (TTY users call 711)
  you a written decision within 30 days after we receive
  your claim. We may extend the time for making a                        • By visiting our website at kp.org
  decision for an additional 15 days if circumstances
  beyond our control delay our decision, if we notify                    Claims for Services from a Non–Plan Provider
  you within 30 days after we receive your claim                         that we did not authorize (other than Emergency
                                                                         Services, Post-Stabilization Care, Out-of-Area
• If we need more information, we will ask you for the                   Urgent Care, or emergency ambulance Services)
  information before the end of the initial 30-day
                                                                         If we did not decide fully in your favor and you want to
  decision period. We will send our written decision no
                                                                         appeal our decision, you may submit your appeal in one
  later than 15 days after the date we receive the
                                                                         of the following ways:
  additional information. If we do not receive the
  necessary information within the timeframe specified                   • By visiting our website at kp.org
  in our letter, we will make our decision based on the                  • By mailing your appeal to the Member Services
  information we have within 15 days after the end of                      Department at a Plan Facility (for addresses, refer to
  that timeframe                                                           our Provider Directory or call our Member Service
                                                                           Contact Center)
If we pay any part of your claim, we will subtract
                                                                         • In person from any Member Services office at a Plan
applicable Cost Share from any payment we make to you
or the Non–Plan Provider. You are not responsible for                      Facility and from Plan Providers (for addresses, refer
                                                                           to our Provider Directory or call our Member Service
any amounts beyond your Cost Share for covered
Emergency Services. If we deny your claim (if we do not                    Contact Center)
agree to pay for all the Services you requested other than               • By calling our Member Service Contact Center at
the applicable Cost Share), our letter will explain why                    1-800-464-4000 (TTY users call 711)
we denied your claim and how you can appeal.
                                                                         When you file an appeal, please include any information
If you later receive any bills from the Non–Plan Provider                that clarifies or supports your position. If you want to
for covered Services (other than bills for your Cost                     review the information that we have collected regarding
Share), please call our Member Service Contact Center                    your claim, you may request, and we will provide
for assistance.                                                          without charge, copies of all relevant documents,
                                                                         records, and other information. To make a request, you
                                                                         should contact our Member Service Contact Center.

                                                                         Additional information regarding a claim for
                                                                         Services from a Non–Plan Provider that we did
                                                                         not authorize (other than Emergency Services,
                                                                         Post-Stabilization Care, Out-of-Area Urgent
                                                                         Care, or emergency ambulance Services)
                                                                         If we initially denied your request, you must file your
                                                                         appeal within 180 days after the date you received our


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denial letter. You may send us information including                     Additional Review
comments, documents, and medical records that you
believe support your claim. If we asked for additional                   You may have certain additional rights if you remain
information and you did not provide it before we made                    dissatisfied after you have exhausted our internal claims
our initial decision about your claim, then you may still                and appeals procedure, and if applicable, external
send us the additional information so that we may                        review:
include it as part of our review of your appeal. Please                  • If your Group's benefit plan is subject to the
send all additional information to the address or fax                      Employee Retirement Income Security Act
mentioned in your denial letter.                                           ("ERISA"), you may file a civil action under section
                                                                           502(a) of ERISA. To understand these rights, you
Also, you may give testimony in writing or by phone.                       should check with your Group or contact the
Please send your written testimony to the address                          Employee Benefits Security Administration (part of
mentioned in our acknowledgment letter, sent to you                        the U.S. Department of Labor) at 1-866-444-EBSA
within five days after we receive your appeal. To arrange                  (1-866-444-3272)
to give testimony by phone, you should call the phone
number mentioned in our acknowledgment letter.                           • If your Group's benefit plan is not subject to ERISA
                                                                           (for example, most state or local government plans
We will add the information that you provide through                       and church plans), you may have a right to request
testimony or other means to your appeal file and we will                   review in state court
review it without regard to whether this information was
filed or considered in our initial decision regarding your
request for Services. You have the right to request any                  Dispute Resolution
diagnosis and treatment codes and their meanings that
are the subject of your claim.                                           We are committed to providing you with quality care and
                                                                         with a timely response to your concerns. You can discuss
We will share any additional information that we collect                 your concerns with our Member Services representatives
in the course of our review and we will send it to you. If               at most Plan Facilities, or you can call our Member
we believe that your request should not be granted,                      Service Contact Center.
before we issue our final decision letter, we will also
share with you any new or additional reasons for that                    Information about dispute resolution related to pediatric
decision. We will send you a letter explaining the                       dental coverage is described under "Pediatric Dental
additional information and/or reasons. Our letters about                 Coverage" in the "Introduction" section of this EOC.
additional information and new or additional rationales
will tell you how you can respond to the information
provided if you choose to do so. If you do not respond                   Grievances
before we must issue our final decision letter, that
decision will be based on the information in your appeal                 This "Grievances" section describes our grievance
file.                                                                    procedure. A grievance is any expression of
                                                                         dissatisfaction expressed by you or your authorized
We will send you a resolution letter within 30 days after                representative through the grievance process. If you want
we receive your appeal. If we do not decide in your                      to make a claim for payment or reimbursement for
favor, our letter will explain why and describe your                     Services that you have already received from a Non–Plan
further appeal rights.                                                   Provider, please follow the procedure in the "Post-
                                                                         Service Claims and Appeals" section.

External Review                                                          Here are some examples of reasons you might file a
                                                                         grievance:
You must exhaust our internal claims and appeals
procedures before you may request external review                        • You are not satisfied with the quality of care you
unless we have failed to comply with the claims and                        received
appeals procedures described in this "Post-Service                       • You received a written denial of Services that require
Claims and Appeals" section. For information about                         prior authorization from the Medical Group and you
external review process, see "Independent Medical                          want us to cover the Services
Review ("IMR")" in the "Dispute Resolution" section.
                                                                         • You received a written denial for a second opinion or
                                                                           we did not respond to your request for a second



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   opinion in an expeditious manner, as appropriate for                  Service Contact Center. Your written authorization must
   your condition                                                        accompany the grievance. You must pay the cost of
• Your treating physician has said that Services are not                 anyone you hire to represent or help you.
  Medically Necessary and you want us to cover the
  Services                                                               How to file
                                                                         You can file a grievance orally or in writing. Your
• You were told that Services are not covered and you                    grievance must explain your issue, such as the reasons
  believe that the Services should be covered                            why you believe a decision was in error or why you are
• You want us to continue to cover an ongoing course                     dissatisfied with the Services you received.
  of covered treatment
• You are dissatisfied with how long it took to get                      To file a grievance online, use the grievance form on our
  Services, including getting an appointment, in the                     website at kp.org.
  waiting room, or in the exam room
                                                                         To file a grievance in writing, please use our Complaint
• You want to report unsatisfactory behavior by                          or Benefit Claim/Request form. You can obtain the form
  providers or staff, or dissatisfaction with the condition              in the following ways:
  of a facility
                                                                         • By visiting our website at kp.org
• You believe you have faced discrimination from
  providers, staff, or Health Plan                                       • In person from any Member Services office at a Plan
                                                                           Facility and from Plan Providers (for addresses, refer
• We terminated your membership and you disagree                           to our Provider Directory or call our Member Service
  with that termination                                                    Contact Center)

Who may file                                                             • By calling our Member Service Contact Center toll
The following people may file a grievance:                                 free at 1-800-464-4000 (TTY users call 711)

• You may file for yourself                                              You must file your grievance within 180 days following
• You can ask a friend, relative, attorney, or any other                 the incident or action that is subject to your
  individual to file a grievance for you by appointing                   dissatisfaction. You may send us information including
  them in writing as your authorized representative                      comments, documents, and medical records that you
                                                                         believe support your grievance.
• A parent may file for their child under age 18, except
  that the child must appoint the parent as authorized
                                                                         Standard procedure
  representative if the child has the legal right to control
  release of information that is relevant to the grievance               You must file your grievance in one of the following
                                                                         ways:
• A court-appointed guardian may file for their ward,
  except that the ward must appoint the court-appointed                  • By completing a Complaint or Benefit Claim/Request
  guardian as authorized representative if the ward has                    form at a Member Services office at a Plan Facility
  the legal right to control release of information that is                (for addresses, refer to our Provider Directory or call
  relevant to the grievance                                                our Member Service Contact Center)

• A court-appointed conservator may file for their                       • By mailing your grievance to a Member Services
  conservatee                                                              office at a Plan Facility (for addresses, refer to our
                                                                           Provider Directory or call our Member Service
• An agent under a currently effective health care                         Contact Center)
  proxy, to the extent provided under state law, may file
  for their principal                                                    • By calling our Member Service Contact Center toll
                                                                           free at 1-800-464-4000 (TTY users call 711)
• Your physician may act as your authorized
  representative with your verbal consent to request an                  • By completing the grievance form on our website at
  urgent grievance as described under "Urgent                              kp.org
  procedure" in this "Grievances" section
                                                                         Please call our Member Service Contact Center if you
Authorized representatives must be appointed in writing                  need help filing a grievance.
using either our authorization form or some other form of
written notification. The authorization form is available                If your grievance involves a request to obtain a non-
from the Member Services Department at a Plan Facility,                  formulary prescription drug, we will notify you of our
on our website at kp.org, or by calling our Member                       decision within 72 hours. If we do not decide in your



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favor, our letter will explain why and describe your                     "Grievances" section. Generally, a grievance is urgent
further appeal rights. For information on how to request                 only if one of the following is true:
a review by an independent review organization, see                      • Using the standard procedure could seriously
"Independent Review Organization for Non-Formulary                         jeopardize your life, health, or ability to regain
Prescription Drug Requests" in this "Dispute Resolution"                   maximum function
section.
                                                                         • Using the standard procedure would, in the opinion of
For all other grievances, we will send you an                              a physician with knowledge of your medical
acknowledgment letter within five days after we receive                    condition, subject you to severe pain that cannot be
your grievance. We will send you a resolution letter                       adequately managed without extending your course of
within 30 days after we receive your grievance. If you                     covered treatment
are requesting Services, and we do not decide in your                    • A physician with knowledge of your medical
favor, our letter will explain why and describe your                       condition determines that your grievance is urgent
further appeal rights.
                                                                         • You have received Emergency Services but have not
                                                                           been discharged from a facility and your request
If you want to review the information that we have                         involves admissions, continued stay, or other health
collected regarding your grievance, you may request, and
                                                                           care Services
we will provide without charge, copies of all relevant
documents, records, and other information. To make a                     • You are undergoing a current course of treatment
request, you should contact our Member Service Contact                     using a non-formulary prescription drug and your
Center.                                                                    grievance involves a request to refill a non-formulary
                                                                           prescription drug
Urgent procedure
If you want us to consider your grievance on an urgent                   For most grievances that we respond to on an urgent
basis, please tell us that when you file your grievance.                 basis, we will give you oral notice of our decision as
Note: Urgent is sometimes referred to as "exigent." If                   soon as your clinical condition requires, but not later
exigent circumstances exist, your grievance may be                       than 72 hours after we received your grievance. We will
reviewed using the urgent procedure described in this                    send you a written confirmation of our decision within
section.                                                                 three days after we received your grievance.

You must file your urgent grievance in one of the                        If your grievance involves a request to obtain a non-
following ways:                                                          formulary prescription drug and we respond to your
                                                                         request on an urgent basis, we will notify you of our
• By calling our Expedited Review Unit toll free at                      decision within 24 hours of your request. For information
  1-888-987-7247 (TTY users call 711)                                    on how to request a review by an independent review
• By mailing a written request to:                                       organization, see "Independent Review Organization for
   Kaiser Foundation Health Plan, Inc.                                   Non- Formulary Prescription Drug Requests" in this
   Expedited Review Unit                                                 "Dispute Resolution" section.
   P.O. Box 23170
   Oakland, CA 94623-0170                                                If we do not decide in your favor, our letter will explain
                                                                         why and describe your further appeal rights.
• By faxing a written request to our Expedited Review
  Unit toll free at 1-888-987-2252
                                                                         Note: If you have an issue that involves an imminent and
• By visiting a Member Services office at a Plan                         serious threat to your health (such as severe pain or
  Facility (for addresses, refer to our Provider Directory               potential loss of life, limb, or major bodily function), you
  or call our Member Service Contact Center)                             can contact the California Department of Managed
• By completing the grievance form on our website at                     Health Care at any time at 1-888-466-2219 (TDD 1-877-
  kp.org                                                                 688-9891) without first filing a grievance with us.

We will decide whether your grievance is urgent or non-                  If you want to review the information that we have
urgent unless your attending health care provider tells us               collected regarding your grievance, you may request, and
your grievance is urgent. If we determine that your                      we will provide without charge, copies of all relevant
grievance is not urgent, we will use the procedure                       documents, records, and other information. To make a
described under "Standard procedure" in this                             request, you should contact our Member Service Contact
                                                                         Center.



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Additional information regarding pre-service requests                    how you can respond to the information provided if you
for Medically Necessary Services                                         choose to do so. If your appeal is urgent, the information
You may give testimony in writing or by phone. Please                    will be provided to you orally and followed in writing. If
send your written testimony to the address mentioned in                  you do not respond before we must issue our final
our acknowledgment letter. To arrange to give testimony                  decision letter, that decision will be based on the
by phone, you should call the phone number mentioned                     information in your appeal file.
in our acknowledgment letter.

We will add the information that you provide through                     Independent Review Organization for
testimony or other means to your grievance file and we                   Non-Formulary Prescription Drug
will consider it in our decision regarding your pre-                     Requests
service request for Medically Necessary Services.
                                                                         If you filed a grievance to obtain a non-formulary
We will share any additional information that we collect                 prescription drug and we did not decide in your favor,
in the course of our review and we will send it to you. If               you may submit a request for a review of your grievance
we believe that your request should not be granted,                      by an independent review organization ("IRO"). You
before we issue our decision letter, we will also share                  must submit your request for IRO review within 180
with you any new or additional reasons for that decision.                days of the receipt of our decision letter.
We will send you a letter explaining the additional
information and/or reasons. Our letters about additional                 You must file your request for IRO review in one of the
information and new or additional rationales will tell you               following ways:
how you can respond to the information provided if you                   • By calling our Expedited Review Unit toll free at
choose to do so. If your grievance is urgent, the                          1-888-987-7247 (TTY users call 711)
information will be provided to you orally and followed
in writing. If you do not respond before we must issue                   • By mailing a written request to:
our final decision letter, that decision will be based on                   Kaiser Foundation Health Plan, Inc.
the information in your grievance file.                                     Expedited Review Unit
                                                                            P.O. Box 23170
Additional information regarding appeals of written                         Oakland, CA 94623-0170
denials for Services that require prior authorization                    • By faxing a written request to our Expedited Review
You must file your appeal within 180 days after the date                   Unit toll free at 1-888-987-2252
you received our denial letter.                                          • By visiting a Member Services office at a Plan
                                                                           Facility (for addresses, refer to our Provider Directory
You have the right to request any diagnosis and                            or call our Member Service Contact Center)
treatment codes and their meanings that are the subject of
your appeal.                                                             • By completing the grievance form on our website at
                                                                           kp.org
Also, you may give testimony in writing or by phone.
Please send your written testimony to the address                        For urgent IRO reviews, we will forward to you the
mentioned in our acknowledgment letter. To arrange to                    independent reviewer's decision within 24 hours. For
give testimony by phone, you should call the phone                       non-urgent requests, we will forward the independent
number mentioned in our acknowledgment letter.                           reviewer's decision to you within 72 hours. If the
                                                                         independent reviewer does not decide in your favor, you
                                                                         may submit a complaint to the Department of Managed
We will add the information that you provide through
                                                                         Health Care, as described under "Department of
testimony or other means to your appeal file and we will
                                                                         Managed Health Care Complaints" in this "Dispute
consider it in our decision regarding your appeal.
                                                                         Resolution" section. You may also submit a request for
                                                                         an Independent Medical Review as described under
We will share any additional information that we collect
                                                                         "Independent Medical Review" in this "Dispute
in the course of our review and we will send it to you. If
                                                                         Resolution" section.
we believe that your request should not be granted,
before we issue our decision letter, we will also share
with you any new or additional reasons for that decision.
We will send you a letter explaining the additional
information and/or reasons. Our letters about additional
information and new or additional rationales will tell you



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Department of Managed Health Care                                              from a provider who determined the Services to be
Complaints                                                                     Medically Necessary
                                                                             you have been seen by a Plan Provider for the
The California Department of Managed Health Care is                           diagnosis or treatment of your medical condition
responsible for regulating health care service plans. If
                                                                         • Your request for payment or Services has been
you have a grievance against your health plan, you
                                                                           denied, modified, or delayed based in whole or in part
should first telephone your health plan toll free at
                                                                           on a decision that the Services are not Medically
1-800-464-4000 (TTY users call 711) and use your                           Necessary
health plan's grievance process before contacting the
department. Utilizing this grievance procedure does not                  • You have filed a grievance and we have denied it or
prohibit any potential legal rights or remedies that may                   we haven't made a decision about your grievance
be available to you. If you need help with a grievance                     within 30 days (or three days for urgent grievances).
involving an emergency, a grievance that has not been                      The DMHC may waive the requirement that you first
satisfactorily resolved by your health plan, or a grievance                file a grievance with us in extraordinary and
that has remained unresolved for more than 30 days, you                    compelling cases, such as severe pain or potential loss
may call the department for assistance. You may also be                    of life, limb, or major bodily function. If we have
eligible for an Independent Medical Review (IMR). If                       denied your grievance, you must submit your request
you are eligible for IMR, the IMR process will provide                     for an IMR within six months of the date of our
an impartial review of medical decisions made by a                         written denial. However, the DMHC may accept your
health plan related to the medical necessity of a proposed                 request after six months if they determine that
service or treatment, coverage decisions for treatments                    circumstances prevented timely submission
that are experimental or investigational in nature and
payment disputes for emergency or urgent medical                         You may also qualify for IMR if the Service you
services. The department also has a toll-free telephone                  requested has been denied on the basis that it is
number (1-888-466-2219) and a TDD line                                   experimental or investigational as described under
                                                                         "Experimental or investigational denials."
(1-877-688-9891) for the hearing and speech
impaired. The department's Internet website
                                                                         If the DMHC determines that your case is eligible for
www.dmhc.ca.gov has complaint forms, IMR                                 IMR, it will ask us to send your case to the DMHC's
application forms and instructions online.                               IMR organization. The DMHC will promptly notify you
                                                                         of its decision after it receives the IMR organization's
                                                                         determination. If the decision is in your favor, we will
Independent Medical Review ("IMR")                                       contact you to arrange for the Service or payment.
Except as described in this "Independent Medical
Review ("IMR")" section, you must exhaust our internal                   Experimental or investigational denials
grievance procedure before you may request independent                   If we deny a Service because it is experimental or
medical review unless we have failed to comply with the                  investigational, we will send you our written explanation
grievance procedure described under "Grievances" in this                 within three days after we received your request. We will
"Dispute Resolution" section. If you qualify, you or your                explain why we denied the Service and provide
authorized representative may have your issue reviewed                   additional dispute resolution options. Also, we will
through the IMR process managed by the California                        provide information about your right to request
Department of Managed Health Care ("DMHC"). The                          Independent Medical Review if we had the following
DMHC determines which cases qualify for IMR. This                        information when we made our decision:
review is at no cost to you. If you decide not to request                • Your treating physician provided us a written
an IMR, you may give up the right to pursue some legal                     statement that you have a life-threatening or seriously
actions against us.                                                        debilitating condition and that standard therapies have
                                                                           not been effective in improving your condition, or
You may qualify for IMR if all of the following are true:                  that standard therapies would not be appropriate, or
• One of these situations applies to you:                                  that there is no more beneficial standard therapy we
                                                                           cover than the therapy being requested. "Life-
    you have a recommendation from a provider
                                                                           threatening" means diseases or conditions where the
     requesting Medically Necessary Services
                                                                           likelihood of death is high unless the course of the
    you have received Emergency Services,                                 disease is interrupted, or diseases or conditions with
     emergency ambulance Services, or Urgent Care                          potentially fatal outcomes where the end point of
                                                                           clinical intervention is survival. "Seriously



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   debilitating" means diseases or conditions that cause                    502(a) of ERISA. To understand these rights, you
   major irreversible morbidity                                             should check with your Group or contact the
• If your treating physician is a Plan Physician, they                      Employee Benefits Security Administration (part of
  recommended a treatment, drug, device, procedure, or                      the U.S. Department of Labor) at 1-866-444-EBSA
  other therapy and certified that the requested therapy                    (1-866-444-3272)
  is likely to be more beneficial to you than any                        • If your Group's benefit plan is not subject to ERISA
  available standard therapies and included a statement                    (for example, most state or local government plans
  of the evidence relied upon by the Plan Physician in                     and church plans), you may have a right to request
  certifying their recommendation                                          review in state court
• You (or your Non–Plan Physician who is a licensed,
  and either a board-certified or board-eligible,                        Binding Arbitration
  physician qualified in the area of practice appropriate
  to treat your condition) requested a therapy that,                     For all claims subject to this "Binding Arbitration"
  based on two documents from the medical and                            section, both Claimants and Respondents give up the
  scientific evidence, as defined in California Health                   right to a jury or court trial and accept the use of binding
  and Safety Code Section 1370.4(d), is likely to be                     arbitration. Insofar as this "Binding Arbitration" section
  more beneficial for you than any available standard                    applies to claims asserted by Kaiser Permanente Parties,
  therapy. The physician's certification included a                      it shall apply retroactively to all unresolved claims that
  statement of the evidence relied upon by the                           accrued before the effective date of this EOC. Such
  physician in certifying their recommendation. We do                    retroactive application shall be binding only on the
  not cover the Services of the Non–Plan Provider                        Kaiser Permanente Parties.

Note: You can request IMR for experimental or                            Scope of arbitration
investigational denials at any time without first filing a               Any dispute shall be submitted to binding arbitration if
grievance with us.                                                       all of the following requirements are met:
                                                                         • The claim arises from or is related to an alleged
Office of Civil Rights Complaints                                          violation of any duty incident to or arising out of or
                                                                           relating to this EOC or a Member Party's relationship
If you believe that you have been discriminated against                    to Kaiser Foundation Health Plan, Inc. ("Health
by a Plan Provider or by us because of your race, color,                   Plan"), including any claim for medical or hospital
national origin, disability, age, sex (including sex                       malpractice (a claim that medical services or items
stereotyping and gender identity), or religion, you may                    were unnecessary or unauthorized or were
file a complaint with the Office of Civil Rights in the                    improperly, negligently, or incompetently rendered),
United States Department of Health and Human Services                      for premises liability, or relating to the coverage for,
("OCR").                                                                   or delivery of, services or items, irrespective of the
                                                                           legal theories upon which the claim is asserted
You may file your complaint with the OCR within 180                      • The claim is asserted by one or more Member Parties
days of when you believe the act of discrimination                         against one or more Kaiser Permanente Parties or by
occurred. However, the OCR may accept your request                         one or more Kaiser Permanente Parties against one or
after six months if they determine that circumstances                      more Member Parties
prevented timely submission. For more information on
the OCR and how to file a complaint with the OCR, go                     • Governing law does not prevent the use of binding
to hhs.gov/civil-rights.                                                   arbitration to resolve the claim

                                                                         Members enrolled under this EOC thus give up their
Additional Review                                                        right to a court or jury trial, and instead accept the use of
                                                                         binding arbitration except that the following types of
You may have certain additional rights if you remain                     claims are not subject to binding arbitration:
dissatisfied after you have exhausted our internal claims
and appeals procedure, and if applicable, external                       • Claims within the jurisdiction of the Small Claims
review:                                                                    Court

• If your Group's benefit plan is subject to the                         • Claims subject to a Medicare appeal procedure as
  Employee Retirement Income Security Act                                  applicable to Kaiser Permanente Senior Advantage
  ("ERISA"), you may file a civil action under section                     Members



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• Claims that cannot be subject to binding arbitration                   Respondents. Claimants shall include in the Demand for
  under governing law                                                    Arbitration all claims against Respondents that are based
                                                                         on the same incident, transaction, or related
As referred to in this "Binding Arbitration" section,                    circumstances.
"Member Parties" include:
                                                                         Serving Demand for Arbitration
• A Member
                                                                         Health Plan, Kaiser Foundation Hospitals, KP Cal, LLC,
• A Member's heir, relative, or personal representative                  The Permanente Medical Group, Inc., Southern
• Any person claiming that a duty to them arises from a                  California Permanente Medical Group, The Permanente
  Member's relationship to one or more Kaiser                            Federation, LLC, and The Permanente Company, LLC,
  Permanente Parties                                                     shall be served with a Demand for Arbitration by mailing
                                                                         the Demand for Arbitration addressed to that Respondent
"Kaiser Permanente Parties" include:                                     in care of:
• Kaiser Foundation Health Plan, Inc.                                         For Northern California Home Region Members:
• Kaiser Foundation Hospitals                                                 Kaiser Foundation Health Plan, Inc.
                                                                              Legal Department
• KP Cal, LLC                                                                 1950 Franklin St., 17th Floor
• The Permanente Medical Group, Inc.                                          Oakland, CA 94612
• Southern California Permanente Medical Group                                For Southern California Home Region Members:
• The Permanente Federation, LLC                                              Kaiser Foundation Health Plan, Inc.
                                                                              Legal Department
• The Permanente Company, LLC                                                 393 E. Walnut St.
• Any Southern California Permanente Medical Group                            Pasadena, CA 91188
  or The Permanente Medical Group physician
                                                                         Service on that Respondent shall be deemed completed
• Any individual or organization whose contract with
                                                                         when received. All other Respondents, including
  any of the organizations identified above requires
                                                                         individuals, must be served as required by the California
  arbitration of claims brought by one or more Member
                                                                         Code of Civil Procedure for a civil action.
  Parties
• Any employee or agent of any of the foregoing                          Filing fee
                                                                         The Claimants shall pay a single, nonrefundable filing
"Claimant" refers to a Member Party or a Kaiser                          fee of $150 per arbitration payable to "Arbitration
Permanente Party who asserts a claim as described                        Account" regardless of the number of claims asserted in
above. "Respondent" refers to a Member Party or a                        the Demand for Arbitration or the number of Claimants
Kaiser Permanente Party against whom a claim is                          or Respondents named in the Demand for Arbitration.
asserted.
                                                                         Any Claimant who claims extreme hardship may request
Rules of Procedure                                                       that the Office of the Independent Administrator waive
Arbitrations shall be conducted according to the Rules                   the filing fee and the neutral arbitrator's fees and
for Kaiser Permanente Member Arbitrations Overseen                       expenses. A Claimant who seeks such waivers shall
by the Office of the Independent Administrator ("Rules of                complete the Fee Waiver Form and submit it to the
Procedure") developed by the Office of the Independent                   Office of the Independent Administrator and
Administrator in consultation with Kaiser Permanente                     simultaneously serve it upon the Respondents. The Fee
and the Arbitration Oversight Board. Copies of the Rules                 Waiver Form sets forth the criteria for waiving fees and
of Procedure may be obtained from our Member Service                     is available by calling our Member Service Contact
Contact Center.                                                          Center.

Initiating arbitration                                                   Number of arbitrators
Claimants shall initiate arbitration by serving a Demand                 The number of arbitrators may affect the Claimants'
for Arbitration. The Demand for Arbitration shall include                responsibility for paying the neutral arbitrator's fees and
the basis of the claim against the Respondents; the                      expenses (see the Rules of Procedure).
amount of damages the Claimants seek in the arbitration;
the names, addresses, and phone numbers of the                           If the Demand for Arbitration seeks total damages of
Claimants and their attorney, if any; and the names of all               $200,000 or less, the dispute shall be heard and



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determined by one neutral arbitrator, unless the parties                 proceed to determine the controversy in the party's
otherwise agree in writing after a dispute has arisen and a              absence.
request for binding arbitration has been submitted that
the arbitration shall be heard by two party arbitrators and              The California Medical Injury Compensation Reform
one neutral arbitrator. The neutral arbitrator shall not                 Act of 1975 (including any amendments thereto),
have authority to award monetary damages that are                        including sections establishing the right to introduce
greater than $200,000.                                                   evidence of any insurance or disability benefit payment
                                                                         to the patient, the limitation on recovery for non-
If the Demand for Arbitration seeks total damages of                     economic losses, and the right to have an award for
more than $200,000, the dispute shall be heard and                       future damages conformed to periodic payments, shall
determined by one neutral arbitrator and two party                       apply to any claims for professional negligence or any
arbitrators, one jointly appointed by all Claimants and                  other claims as permitted or required by law.
one jointly appointed by all Respondents. Parties who are
entitled to select a party arbitrator may agree to waive                 Arbitrations shall be governed by this "Binding
this right. If all parties agree, these arbitrations will be             Arbitration" section, Section 2 of the Federal Arbitration
heard by a single neutral arbitrator.                                    Act, and the California Code of Civil Procedure
                                                                         provisions relating to arbitration that are in effect at the
Payment of arbitrators' fees and expenses                                time the statute is applied, together with the Rules of
Health Plan will pay the fees and expenses of the neutral                Procedure, to the extent not inconsistent with this
arbitrator under certain conditions as set forth in the                  "Binding Arbitration" section. In accord with the rule
Rules of Procedure. In all other arbitrations, the fees and              that applies under Sections 3 and 4 of the Federal
expenses of the neutral arbitrator shall be paid one-half                Arbitration Act, the right to arbitration under this
by the Claimants and one-half by the Respondents.                        "Binding Arbitration" section shall not be denied, stayed,
                                                                         or otherwise impeded because a dispute between a
If the parties select party arbitrators, Claimants shall be              Member Party and a Kaiser Permanente Party involves
responsible for paying the fees and expenses of their                    both arbitrable and nonarbitrable claims or because one
party arbitrator and Respondents shall be responsible for                or more parties to the arbitration is also a party to a
paying the fees and expenses of their party arbitrator.                  pending court action with a third party that arises out of
                                                                         the same or related transactions and presents a possibility
Costs                                                                    of conflicting rulings or findings.
Except for the aforementioned fees and expenses of the
neutral arbitrator, and except as otherwise mandated by
laws that apply to arbitrations under this "Binding                      Termination of Membership
Arbitration" section, each party shall bear the party's own
attorneys' fees, witness fees, and other expenses incurred               Your Group is required to inform the Subscriber of the
in prosecuting or defending against a claim regardless of                date your membership terminates. Your membership
the nature of the claim or outcome of the arbitration.                   termination date is the first day you are not covered (for
                                                                         example, if your termination date is January 1, 2022,
General provisions                                                       your last minute of coverage was at 11:59 p.m. on
A claim shall be waived and forever barred if (1) on the                 December 31, 2021). When a Subscriber's membership
date the Demand for Arbitration of the claim is served,                  ends, the memberships of any Dependents end at the
the claim, if asserted in a civil action, would be barred as             same time. You will be billed as a non-Member for any
to the Respondent served by the applicable statute of                    Services you receive after your membership terminates.
limitations, (2) Claimants fail to pursue the arbitration                Health Plan and Plan Providers have no further liability
claim in accord with the Rules of Procedure with                         or responsibility under this EOC after your membership
reasonable diligence, or (3) the arbitration hearing is not              terminates, except as provided under "Payments after
commenced within five years after the earlier of (a) the                 Termination" in this "Termination of Membership"
date the Demand for Arbitration was served in accord                     section.
with the procedures prescribed herein, or (b) the date of
filing of a civil action based upon the same incident,                   Information about termination of pediatric dental
transaction, or related circumstances involved in the                    coverage is described under "Pediatric Dental Coverage"
claim. A claim may be dismissed on other grounds by the                  in the "Introduction" section of this EOC.
neutral arbitrator based on a showing of a good cause. If
a party fails to attend the arbitration hearing after being
given due notice thereof, the neutral arbitrator may



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Termination Due to Loss of Eligibility                                   group market, we will terminate just the particular
                                                                         product by sending you written notice at least 90 days
If you no longer meet the eligibility requirements                       before the product terminates. If we discontinue offering
described under "Who Is Eligible" in the "Premiums,                      all products in the group market, we may terminate your
Eligibility, and Enrollment" section, your Group will                    Group's Agreement by sending you written notice at least
notify you of the date that your membership will end.                    180 days before the Agreement terminates.
Your membership termination date is the first day you
are not covered. For example, if your termination date is
January 1, 2022, your last minute of coverage was at                     Payments after Termination
11:59 p.m. on December 31, 2021.
                                                                         If we terminate your membership for cause or for
                                                                         nonpayment, we will:
Termination of Agreement                                                 • Refund any amounts we owe your Group for
                                                                           Premiums paid after the termination date
If your Group's Agreement with us terminates for any
reason, your membership ends on the same date. Your                      • Pay you any amounts we have determined that we
Group is required to notify Subscribers in writing if its                  owe you for claims during your membership in
Agreement with us terminates.                                              accord with the "Emergency Services and Urgent
                                                                           Care" and "Dispute Resolution" sections

Termination for Cause                                                    We will deduct any amounts you owe Health Plan or
                                                                         Plan Providers from any payment we make to you.
If you intentionally commit fraud in connection with
membership, Health Plan, or a Plan Provider, we may
terminate your membership by sending written notice to                   State Review of Membership
the Subscriber; termination will be effective 30 days                    Termination
from the date we send the notice. Some examples of
fraud include:                                                           If you believe that we have terminated your membership
• Misrepresenting eligibility information about you or a                 because of your ill health or your need for care, you may
  Dependent                                                              request a review of the termination by the California
                                                                         Department of Managed Health Care (please see
• Presenting an invalid prescription or physician order                  "Department of Managed Health Care Complaints" in the
• Misusing a Kaiser Permanente ID card (or letting                       "Dispute Resolution" section).
  someone else use it)
• Giving us incorrect or incomplete material
  information. For example, you have entered into a                      Continuation of Membership
  Surrogacy Arrangement and you fail to send us the
  information we require under "Surrogacy                                If your membership under this EOC ends, you may be
  arrangements" under "Reductions" in the "Exclusions,                   eligible to continue Health Plan membership without a
  Limitations, Coordination of Benefits, and                             break in coverage. You may be able to continue Group
  Reductions" section                                                    coverage under this EOC as described under
• Failing to notify us of changes in family status or                    "Continuation of Group Coverage." Also, you may be
  Medicare coverage that may affect your eligibility or                  able to continue membership under an individual plan as
  benefits                                                               described under "Continuation of Coverage under an
                                                                         Individual Plan." If at any time you become entitled to
If we terminate your membership for cause, you will not                  continuation of Group coverage, please examine your
be allowed to enroll in Health Plan in the future. We may                coverage options carefully before declining this
also report criminal fraud and other illegal acts to the                 coverage. Individual plan premiums and coverage will be
authorities for prosecution.                                             different from the premiums and coverage under your
                                                                         Group plan.

Termination of a Product or all Products                                 Continuation of Group coverage under this EOC also
                                                                         includes continuation of coverage under the attached
We may terminate a particular product or all products                    Delta Dental EOC/DF.
offered in the group market as permitted or required by
law. If we discontinue offering a particular product in the



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Continuation of Group Coverage                                           Eligibility and effective date of coverage for Cal-
                                                                         COBRA when your coverage is through a small
COBRA                                                                    employer
You may be able to continue your coverage under this                     If your group is not subject to COBRA, you may be able
EOC for a limited time after you would otherwise lose                    to continue uninterrupted Group coverage under this
eligibility, if required by the federal Consolidated                     EOC if all of the following are true:
Omnibus Budget Reconciliation Act ("COBRA").
                                                                         • Your employer meets the definition of "small
COBRA applies to most employees (and most of their
                                                                           employer" in Section 1357.500 or 1357.600 of the
covered family Dependents) of most employers with 20
                                                                           California Health and Safety Code
or more employees.
                                                                         • Your employer employed between 2 to 19 eligible
If your Group is subject to COBRA and you are eligible                     employees on at least 50 percent of its working days
for COBRA coverage, in order to enroll you must submit                     during the last calendar year
a COBRA election form to your Group within the                           • You do not have Medicare Part A
COBRA election period. Please ask your Group for
                                                                         • You experience one of the following qualifying
details about COBRA coverage, such as how to elect
                                                                           events:
coverage, how much you must pay for coverage, when
coverage and Premiums may change, and where to send                          your coverage is through a Subscriber who dies,
your Premium payments.                                                        divorces, legally separates, or gets Medicare
                                                                             you no longer qualify as a Dependent, under the
If you enroll in COBRA and exhaust the time limit for                         terms of the "Who Is Eligible" section of this EOC
COBRA coverage, you may be able to continue Group                            you are a Subscriber, or your coverage is through a
coverage under state law as described under "Cal-                             Subscriber, whose employment terminates (other
COBRA" in this "Continuation of Group Coverage"                               than for gross misconduct) or whose hours of
section.                                                                      employment are reduced
Cal-COBRA
                                                                         You must request an enrollment application by calling
If you are eligible for coverage under the California                    our Member Service Contact Center within 60 days of
Continuation Benefits Replacement Act ("Cal-                             the date of a qualifying event described above.
COBRA"), you can continue coverage as described in
this "Cal-COBRA" section if you apply for coverage in                    Cal-COBRA enrollment and Premiums
compliance with Cal-COBRA law and pay applicable
                                                                         Within 10 days of your request for an enrollment
Premiums.
                                                                         application, we will send you our application, which will
                                                                         include Premium and billing information. You must
Eligibility and effective date of coverage for Cal-                      return your completed application within 63 days of the
COBRA after COBRA                                                        date of our termination letter or of your membership
If your group is subject to COBRA and your COBRA                         termination date (whichever date is later).
coverage ends, you may be able to continue Group
coverage effective the date your COBRA coverage ends                     If we approve your enrollment application, we will send
if all of the following are true:                                        you billing information within 30 days after we receive
• Your effective date of COBRA coverage was on or                        your application. You must pay Full Premiums within 45
  after January 1, 2003                                                  days after the date we issue the bill. The first Premium
• You have exhausted the time limit for COBRA                            payment will include coverage from your Cal-COBRA
  coverage and that time limit was 18 or 29 months                       effective date through our current billing cycle. You
                                                                         must send us the Premium payment by the due date on
• You do not have Medicare                                               the bill to be enrolled in Cal-COBRA.

You must request an enrollment application by calling                    After that first payment, your Premium payment for the
our Member Service Contact Center within 60 days of                      upcoming coverage month is due on first day of that
the date of when your COBRA coverage ends.                               month. The Premiums will not exceed 110 percent of the
                                                                         applicable Premiums charged to a similarly situated
                                                                         individual under the Group benefit plan except that
                                                                         Premiums for disabled individuals after 18 months of
                                                                         COBRA coverage will not exceed 150 percent instead of




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110 percent. Returned checks or insufficient funds on                    our enrollment application and you must return your
electronic payments will be subject to a $25 fee.                        completed application before open enrollment ends or
                                                                         within 63 days of receiving the termination notice
If you have selected Ancillary Coverage provided under                   described under "Group responsibilities." If we approve
any other program, the Premium for that Ancillary                        your enrollment application, we will send you billing
Coverage will be billed together with required Premiums                  information within 30 days after we receive your
for coverage under this EOC. Full Premiums will then                     application. You must pay the bill within 45 days after
also include Premium for Ancillary Coverage. This                        the date we issue the bill. You must send us the Premium
means if you do not pay the Full Premiums owed by the                    payment by the due date on the bill to be enrolled in Cal-
due date, we may terminate your membership under this                    COBRA.
EOC and any Ancillary Coverage, as described in the
"Termination for nonpayment of Cal-COBRA                                 How you may terminate your Cal-COBRA coverage
Premiums" section.                                                       You may terminate your Cal-COBRA coverage by
                                                                         sending written notice, signed by the Subscriber, to the
Changes to Cal-COBRA coverage and Premiums                               address below. Your membership will terminate at 11:59
Your Cal-COBRA coverage is the same as for any                           p.m. on the last day of the month in which we receive
similarly situated individual under your Group's                         your notice. Also, you must include with your notice all
Agreement, and your Cal-COBRA coverage and                               amounts payable related to your Cal-COBRA coverage,
Premiums will change at the same time that coverage or                   including Premiums, for the period prior to your
Premiums change in your Group's Agreement. Your                          termination date.
Group's coverage and Premiums will change on the
renewal date of its Agreement (January 1), and may also                       Kaiser Foundation Health Plan, Inc.
change at other times if your Group's Agreement is                            California Service Center
amended. Your monthly invoice will reflect the current                        P.O. Box 23127
Premiums that are due for Cal-COBRA coverage,                                 San Diego, CA 92193-3127
including any changes. For example, if your Group
makes a change that affects Premiums retroactively, the                  Termination for nonpayment of Cal-COBRA Premiums
amount we bill you will be adjusted to reflect the                       If you do not pay Full Premiums by the due date, we may
retroactive adjustment in Premiums. Your Group can tell                  terminate your membership as described in this
you whether this EOC is still in effect and give you a                   "Termination for nonpayment of Cal-COBRA
current one if this EOC has expired or been amended.                     Premiums" section. If you intend to terminate your
You can also request one from our Member Service                         membership, be sure to notify us as described under
Contact Center.                                                          "How you may terminate your Cal-COBRA coverage" in
                                                                         this "Cal-COBRA" section, as you will be responsible
Cal-COBRA open enrollment or termination of another                      for any Premiums billed to you unless you let us know
health plan                                                              before the first of the coverage month that you want us to
If you previously elected Cal-COBRA coverage through                     terminate your coverage.
another health plan available through your Group, you
may be eligible to enroll in Kaiser Permanente during                    Your Premium payment for the upcoming coverage
your Group's annual open enrollment period, or if your                   month is due on the first day of that month. If we do not
Group terminates its agreement with the health plan you                  receive full Premium payment on or before the first day
are enrolled in. You will be entitled to Cal-COBRA                       of the coverage month, we will send a notice of
coverage only for the remainder, if any, of the coverage                 nonreceipt of payment (a "Late Notice") to the
period prescribed by Cal-COBRA. Please ask your                          Subscriber's address of record. This Late Notice will
Group for information about health plans available to                    include the following information:
you either at open enrollment or if your Group terminates
                                                                         • A statement that we have not received full Premium
a health plan's agreement.
                                                                           payment and that we will terminate the memberships
                                                                           of everyone in your Family for nonpayment if we do
In order for you to switch from another health plan and                    not receive the required Premiums within 30 days
continue your Cal-COBRA coverage with us, we must                          after the date of the Late Notice
receive your enrollment application during your Group's
open enrollment period, or within 63 days of receiving                   • The amount of Premiums that are due
the Group's termination notice described under "Group                    • The specific date and time when the memberships of
responsibilities." To request an application, please call                  everyone in your Family will end if we do not receive
our Member Service Contact Center. We will send you                        the Premiums



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If we terminate your Cal-COBRA coverage because we                       • The date you become covered, or could have become
did not receive Full Premiums when due, your                               covered, under COBRA
membership will end at 11:59 p.m. on the 30th day after
                                                                         • Either the date that is 36 months after the date of your
the date of the Late Notice. Your coverage will continue
                                                                           original Cal-COBRA qualifying event or the date that
during this 30-day grace period, but upon termination
                                                                           is 36 months after the date of your original COBRA
you will be responsible for paying all past due
                                                                           effective date (under this or any other plan) if you
Premiums, including the Premiums for this grace period.
                                                                           were enrolled in COBRA before Cal-COBRA
We will mail a Termination Notice to the Subscriber's                    • The date your membership is terminated for
address of record if we do not receive full Premium                        nonpayment of Premiums as described under
payment within 30 days after the date of the Late Notice.                  "Termination for nonpayment of Cal-COBRA
The Termination Notice will include the following                          Premiums" in this "Continuation of Membership"
information:                                                               section
• A statement that we have terminated the memberships
                                                                         Note: If the Social Security Administration determined
  of everyone in your Family for nonpayment of
                                                                         that you were disabled at any time during the first 60
  Premiums
                                                                         days of COBRA coverage, you must notify your Group
• The specific date and time when the memberships of                     within 60 days of receiving the determination from
  everyone in your Family ended                                          Social Security. Also, if Social Security issues a final
• The amount of Premiums that are due                                    determination that you are no longer disabled in the 35th
                                                                         or 36th month of Group continuation coverage, your Cal-
• Information explaining whether or not you can                          COBRA coverage will end the later of: (1) expiration of
  reinstate your memberships                                             36 months after your original COBRA effective date, or
• Your appeal rights                                                     (2) the first day of the first month following 31 days after
                                                                         Social Security issued its final determination. You must
If we terminate your membership, you are still                           notify us within 30 days after you receive Social
responsible for paying all amounts due.                                  Security's final determination that you are no longer
                                                                         disabled.
Reinstatement of your membership after termination
for nonpayment of Cal-COBRA Premiums                                     Group responsibilities
If we terminate your membership for nonpayment of                        Your Group is required to give Health Plan written
Premiums, we will permit reinstatement of your                           notice within 30 days after a Subscriber is no longer
membership three times during any 12-month period if                     eligible for coverage due to termination of employment
we receive the amounts owed within 15 days of the date                   or reduction of hours. If your Group prefers that we not
of the Termination Notice. We will not reinstate your                    offer Cal-COBRA coverage because your Group
membership if you do not obtain reinstatement of your                    terminated a Subscriber's employment for gross
terminated membership within the required 15 days, or if                 misconduct, your Group must send written notice within
we terminate your membership for nonpayment of                           five days after the Subscriber's employment terminates
Premiums more than three times in a 12-month period.                     to:

Termination of Cal-COBRA coverage                                             Kaiser Foundation Health Plan
Cal-COBRA coverage continues only upon payment of                             California Service Center
applicable monthly Premiums to us at the time we                              P.O. Box 23059
specify, and terminates on the earliest of:                                   San Diego, CA 92193-3059

• The date your Group's Agreement with us terminates                     Your Group is required to notify us in writing within 30
  (you may still be eligible for Cal-COBRA through                       days if your Group becomes subject to COBRA under
  another Group health plan)                                             federal law.
• The date you get Medicare
• The date your coverage begins under any other group                    If your Group's agreement with a health plan is
  health plan that does not contain any exclusion or                     terminated, your Group is required to provide written
  limitation with respect to any pre-existing condition                  notice at least 30 days before the termination date to the
  you may have (or that does contain such an exclusion                   persons whose Cal-COBRA coverage is terminating.
  or limitation, but it has been satisfied)                              This notice must inform Cal-COBRA beneficiaries that
                                                                         they can continue Cal-COBRA coverage by enrolling in
                                                                         any health benefit plan offered by your Group. It must


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also include information about benefits, premiums,                       or injury is expected to result in death or has lasted or is
payment instructions, and enrollment forms (including                    expected to last for a continuous period of at least 12
instructions on how to continue Cal-COBRA coverage                       months and the illness or injury makes the child unable
under the new health plan). Your Group is required to                    to substantially engage in any of the normal activities of
send this information to the person's last known address,                children in good health of like age.
as provided by the prior health plan. Health Plan is not
obligated to provide this information to qualified                       To request continuation of coverage for your disabling
beneficiaries if your Group fails to provide the notice.                 condition, you must call our Member Service Contact
These persons will be entitled to Cal-COBRA coverage                     Center within 30 days after your Group's Agreement with
only for the remainder, if any, of the coverage period                   us terminates.
prescribed by Cal-COBRA.

USERRA                                                                   Continuation of Coverage under an
If you are called to active duty in the uniformed services,              Individual Plan
you may be able to continue your coverage under this
EOC for a limited time after you would otherwise lose                    If you want to remain a Health Plan member when your
eligibility, if required by the federal Uniformed Services               Group coverage ends, you might be able to enroll in one
Employment and Reemployment Rights Act                                   of our Kaiser Permanente for Individuals and Families
("USERRA"). You must submit a USERRA election                            plans. The premiums and coverage under our individual
form to your Group within 60 days after your call to                     plan coverage are different from those under this EOC.
active duty. Please contact your Group to find out how to
elect USERRA coverage and how much you must pay                          If you want your individual plan coverage to be effective
your Group.                                                              when your Group coverage ends, you must submit your
                                                                         application within the special enrollment period for
Coverage for a Disabling Condition                                       enrolling in an individual plan due to loss of other
If you became Totally Disabled while you were a                          coverage. Otherwise, you will have to wait until the next
Member under your Group's Agreement with us and                          annual open enrollment period.
while the Subscriber was employed by your Group, and
your Group's Agreement with us terminates and is not                     To request an application to enroll directly with us,
renewed, we will cover Services for your totally                         please go to kp.org or call our Member Service Contact
disabling condition until the earliest of the following                  Center. For information about plans that are available
events occurs:                                                           through Covered California, see "Covered California"
                                                                         below.
• 12 months have elapsed since your Group's
  Agreement with us terminated                                           Covered California
• You are no longer Totally Disabled                                     U.S. citizens or legal residents of the U.S. can buy health
• Your Group's Agreement with us is replaced by                          care coverage from Covered California. This is
  another group health plan without limitation as to the                 California's health insurance marketplace ("the
  disabling condition                                                    Exchange"). You may apply for help to pay for
                                                                         premiums and copayments but only if you buy coverage
Your coverage will be subject to the terms of this EOC,                  through Covered California. This financial assistance
including Cost Share, but we will not cover Services for                 may be available if you meet certain income guidelines.
any condition other than your totally disabling condition.               To learn more about coverage that is available through
                                                                         Covered California, visit CoveredCA.com or call
                                                                         Covered California at 1-800-300-1506 (TTY users call
For Subscribers and adult Dependents, "Totally
                                                                         711).
Disabled" means that, in the judgment of a Medical
Group physician, an illness or injury is expected to result
in death or has lasted or is expected to last for a
continuous period of at least 12 months, and makes the                   Miscellaneous Provisions
person unable to engage in any employment or
occupation, even with training, education, and
experience.                                                              Administration of Agreement

For Dependent children, "Totally Disabled" means that,                   We may adopt reasonable policies, procedures, and
in the judgment of a Medical Group physician, an illness                 interpretations to promote orderly and efficient



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administration of your Group's Agreement, including this                 party will bear its own fees and expenses, including
EOC.                                                                     attorneys' fees, advocates' fees, and other expenses.


Advance Directives                                                       Claims Review Authority
The California Health Care Decision Law offers several                   We are responsible for determining whether you are
ways for you to control the kind of health care you will                 entitled to benefits under this EOC and we have the
receive if you become very ill or unconscious, including                 discretionary authority to review and evaluate claims that
the following:                                                           arise under this EOC. We conduct this evaluation
• A Power of Attorney for Health Care lets you name                      independently by interpreting the provisions of this EOC.
  someone to make health care decisions for you when                     We may use medical experts to help us review claims. If
  you cannot speak for yourself. It also lets you write                  coverage under this EOC is subject to the Employee
  down your own views on life support and other                          Retirement Income Security Act ("ERISA") claims
  treatments                                                             procedure regulation (29 CFR 2560.503-1), then we are a
                                                                         "named claims fiduciary" to review claims under this
• Individual health care instructions let you express                    EOC.
  your wishes about receiving life support and other
  treatment. You can express these wishes to your
  doctor and have them documented in your medical                        EOC Binding on Members
  chart, or you can put them in writing and have that
  included in your medical chart                                         By electing coverage or accepting benefits under this
                                                                         EOC, all Members legally capable of contracting, and
To learn more about advance directives, including how                    the legal representatives of all Members incapable of
to obtain forms and instructions, contact the Member                     contracting, agree to all provisions of this EOC.
Services Department at a Plan Facility. For more
information about advance directives, refer to our
website at kp.org or call our Member Service Contact                     ERISA Notices
Center.                                                                  This "ERISA Notices" section applies only if your
                                                                         Group's health benefit plan is subject to the Employee
                                                                         Retirement Income Security Act ("ERISA"). We provide
Amendment of Agreement
                                                                         these notices to assist ERISA-covered groups in
Your Group's Agreement with us will change                               complying with ERISA. Coverage for Services described
periodically. If these changes affect this EOC, your                     in these notices is subject to all provisions of this EOC.
Group is required to inform you in accord with
applicable law and your Group's Agreement.                               Newborns' and Mother's Health Protection Act
                                                                         Group health plans and health insurance issuers generally
                                                                         may not, under Federal law, restrict benefits for any
Applications and Statements                                              hospital length of stay in connection with childbirth for
                                                                         the mother or newborn child to less than 48 hours
You must complete any applications, forms, or                            following a vaginal delivery, or less than 96 hours
statements that we request in our normal course of                       following a cesarean section. However, Federal law
business or as specified in this EOC.                                    generally does not prohibit the mother's or newborn's
                                                                         attending provider, after consulting with the mother,
                                                                         from discharging the mother or her newborn earlier than
Assignment                                                               48 hours (or 96 hours as applicable). In any case, plans
You may not assign this EOC or any of the rights,                        and issuers may not, under Federal law, require that a
interests, claims for money due, benefits, or obligations                provider obtain authorization from the plan or the
hereunder without our prior written consent.                             insurance issuer for prescribing a length of stay not in
                                                                         excess of 48 hours (or 96 hours).

Attorney and Advocate Fees and                                           Women's Health and Cancer Rights Act
Expenses                                                                 If you have had or are going to have a mastectomy, you
                                                                         may be entitled to certain benefits under the Women's
In any dispute between a Member and Health Plan, the                     Health and Cancer Rights Act. For individuals receiving
Medical Group, or Kaiser Foundation Hospitals, each                      mastectomy-related benefits, coverage will be provided


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in a manner determined in consultation with the                          Overpayment Recovery
attending physician and the patient, for all stages of
reconstruction of the breast on which the mastectomy                     We may recover any overpayment we make for Services
was performed, surgery and reconstruction of the other                   from anyone who receives such an overpayment or from
breast to produce a symmetrical appearance, prostheses,                  any person or organization obligated to pay for the
and treatment of physical complications of the                           Services.
mastectomy, including lymphedemas. These benefits will
be provided subject to the same Cost Share applicable to
other medical and surgical benefits provided under this                  Privacy Practices
plan.
                                                                         Kaiser Permanente will protect the privacy of
                                                                         your protected health information. We also
Governing Law                                                            require contracting providers to protect your
Except as preempted by federal law, this EOC will be                     protected health information. Your protected
governed in accord with California law and any                           health information is individually-identifiable
provision that is required to be in this EOC by state or                 information (oral, written, or electronic) about
federal law shall bind Members and Health Plan whether                   your health, health care services you receive, or
or not set forth in this EOC.
                                                                         payment for your health care. You may
                                                                         generally see and receive copies of your
Group and Members Not Our Agents                                         protected health information, correct or update
                                                                         your protected health information, and ask us
Neither your Group nor any Member is the agent or
representative of Health Plan.                                           for an accounting of certain disclosures of your
                                                                         protected health information. You can request
                                                                         delivery of confidential communication to a
No Waiver                                                                location other than your usual address or by a
Our failure to enforce any provision of this EOC will not                means of delivery other than the usual means.
constitute a waiver of that or any other provision, or
impair our right thereafter to require your strict                       We may use or disclose your protected health
performance of any provision.                                            information for treatment, health research,
                                                                         payment, and health care operations purposes,
Notices Regarding Your Coverage                                          such as measuring the quality of Services. We
                                                                         are sometimes required by law to give
Our notices to you will be sent to the most recent address
we have for the Subscriber. The Subscriber is responsible
                                                                         protected health information to others, such as
for notifying us of any change in address. Subscribers                   government agencies or in judicial actions. In
who move should call our Member Service Contact                          addition, protected health information is shared
Center as soon as possible to give us their new address.                 with your Group only with your authorization
If a Member does not reside with the Subscriber, or                      or as otherwise permitted by law.
needs to have confidential information sent to an address
other than the Subscriber's address, they should contact
our Member Service Contact Center to discuss alternate                   We will not use or disclose your protected
delivery options.                                                        health information for any other purpose
                                                                         without your (or your representative's) written
Note: When we tell your Group about changes to this                      authorization, except as described in our Notice
EOC or provide your Group other information that                         of Privacy Practices (see below). Giving us
affects you, your Group is required to notify the
Subscriber within 30 days (or five days if we terminate
                                                                         authorization is at your discretion.
your Group's Agreement) after receiving the information
from us.                                                                 This is only a brief summary of some of our
                                                                         key privacy practices. OUR NOTICE OF
                                                                         PRIVACY PRACTICES, WHICH PROVIDES
                                                                         ADDITIONAL INFORMATION ABOUT


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OUR PRIVACY PRACTICES AND YOUR                                           Online Tools and Resources
RIGHTS REGARDING YOUR PROTECTED
                                                                         Here are some tools and resources available on our
HEALTH INFORMATION, IS AVAILABLE                                         website at kp.org:
AND WILL BE FURNISHED TO YOU
                                                                         • How to use our Services and make appointments
UPON REQUEST. To request a copy, please
call our Member Service Contact Center. You                              • Tools you can use to email your doctor's office, view
                                                                           test results, refill prescriptions, and schedule routine
can also find the notice at a Plan Facility or on                          appointments
our website at kp.org.
                                                                         • Health education resources
                                                                         • Preventive care guidelines
Public Policy Participation                                              • Member rights and responsibilities
The Kaiser Foundation Health Plan, Inc., Board of
Directors establishes public policy for Health Plan. A list              You can also access tools and resources using the KP
of the Board of Directors is available on our website at                 app on your smartphone or other mobile device.
kp.org or from our Member Service Contact Center. If
you would like to provide input about Health Plan public
policy for consideration by the Board, please send                       How to Reach Us
written comments to:                                                     Appointments
                                                                         If you need to make an appointment, please call us or
     Kaiser Foundation Health Plan, Inc.                                 visit our website:
     Office of Board and Corporate Governance Services
     One Kaiser Plaza, 19th Floor                                        Call       The appointment phone number at a Plan
     Oakland, CA 94612                                                              Facility (for phone numbers, refer to our
                                                                                    Provider Directory or call our Member
                                                                                    Service Contact Center)

Helpful Information                                                      Website    kp.org for routine (non-urgent) appointments
                                                                                    with your personal Plan Physician or another
                                                                                    Primary Care Physician
How to Obtain this EOC in Other
Formats                                                                  Not sure what kind of care you need?
You can request a copy of this EOC in an alternate                       If you need advice on whether to get medical care, or
format (Braille, audio, electronic text file, or large print)            how and when to get care, we have licensed health care
by calling our Member Service Contact Center.                            professionals available to assist you by phone 24 hours a
                                                                         day, 7 days a week:
                                                                         Call       The appointment or advice phone number at a
Provider Directory                                                                  Plan Facility (for phone numbers, refer to our
                                                                                    Provider Directory or call our Member
Please refer to the Provider Directory for your Home
Region for the following information:                                               Service Contact Center)

• A list of Plan Physicians                                              Member Services
• The location of Plan Facilities and the types of                       If you have questions or concerns about your coverage,
  covered Services that are available from each facility                 how to obtain Services, or the facilities where you can
                                                                         receive care, you can reach us in the following ways:
• Hours of operation
• Appointments and advice phone numbers                                  Call       1-800-464-4000 (English and more than 150
                                                                                    languages using interpreter services)
This directory is available on our website at kp.org. To                            1-800-788-0616 (Spanish)
obtain a printed copy, call our Member Service Contact                              1-800-757-7585 (Chinese dialects)
                                                                                    TTY users call 711
Center. The directory is updated periodically. The
availability of Plan Physicians and Plan Facilities may                             24 hours a day, seven days a week (except
change. If you have questions, please call our Member                               closed holidays)
Service Contact Center.



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Visit       Member Services Department at a Plan                         completing the form, you can reach us by calling or by
            Facility (for addresses, refer to our Provider               visiting our website.
            Directory or call our Member Service Contact
                                                                         Call       1-800-464-4000 (TTY users call 711)
            Center)
                                                                                    24 hours a day, seven days a week (except
Write       Member Services Department at a Plan
                                                                                    closed holidays)
            Facility for addresses, refer to our Provider
            Directory or call our Member Service Contact                 Website    kp.org
            Center)
                                                                         Submitting claims for Emergency Services,
Website     kp.org
                                                                         Post-Stabilization Care, Out-of-Area Urgent
                                                                         Care, and emergency ambulance Services
Estimates, bills, and statements
                                                                         If you need to submit a completed claim form for
For the following concerns, please call us at the number
                                                                         Services described in the "Emergency Services and
below:
                                                                         Urgent Care" section or under "Ambulance Services" in
• If you have questions about a bill                                     the "Benefits" section, or if you need to submit other
• To find out how much you have paid toward your                         information that we request about your claim, send it to
  Plan Deductible (if applicable) or Plan Out-of-Pocket                  our Claims Department:
  Maximum                                                                Write      For Northern California Home Region
• To get an estimate of Charges for Services that are                               Members:
  subject to the Plan Deductible (if applicable)                                    Kaiser Permanente
Call        1-800-464-4000 (TTY users call 711)                                     Claims Administration - NCAL
                                                                                    P.O. Box 12923
            24 hours a day, seven days a week (except                               Oakland, CA 94604-2923
            closed holidays)
                                                                                    For Southern California Home Region
Website     kp.org/memberestimates                                                  Members:

Away from home travel line                                                          Kaiser Permanente
If you have questions about your coverage when you are                              Claims Administration - SCAL
away from home:                                                                     P.O. Box 7004
                                                                                    Downey, CA 90242-7004
Call        1-951-268-3900
            24 hours a day, seven days a week (except                    Text telephone access ("TTY")
            closed holidays)                                             If you use a text telephone device ("TTY," also known as
                                                                         "TDD") to communicate by phone, you can use the
Website     kp.org/travel                                                California Relay Service by calling 711.

Authorization for Post-Stabilization Care                                Interpreter services
To request prior authorization for Post-Stabilization Care               If you need interpreter services when you call us or when
as described under "Emergency Services" in the                           you get covered Services, please let us know. Interpreter
"Emergency Services and Urgent Care" section:                            services, including sign language, are available during all
Call        1-800-225-8883 or the notification phone                     business hours at no cost to you. For more information
            number on your Kaiser Permanente ID card                     on the interpreter services we offer, please call our
            (TTY users call 711)                                         Member Service Contact Center.
            24 hours a day, seven days a week
                                                                         Payment Responsibility
Help with claim forms for Emergency Services,
Post-Stabilization Care, Out-of-Area Urgent                              This "Payment Responsibility" section briefly explains
Care, and emergency ambulance Services                                   who is responsible for payments related to the health care
If you need a claim form to request payment or                           coverage described in this EOC. Payment responsibility
reimbursement for Services described in the "Emergency                   is more fully described in other sections of the EOC as
Services and Urgent Care" section or under "Ambulance                    described below:
Services" in the "Benefits" section, or if you need help                 • Your Group is responsible for paying Premiums,
                                                                           except that you are responsible for paying Premiums


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   if you have COBRA or Cal-COBRA (refer to
   "Premiums" in the "Premiums, Eligibility, and
   Enrollment" section and "COBRA" and
   "Cal-COBRA" under "Continuation of Group
   Coverage" in the "Continuation of Membership"
   section)
• Your Group may require you to contribute to
  Premiums (your Group will tell you the amount and
  how to pay)
• You are responsible for paying your Cost Share for
  covered Services (refer to the "Cost Share Summary"
  section)
• If you receive Emergency Services, Post-Stabilization
  Care, or Out-of-Area Urgent Care from a Non–Plan
  Provider, or if you receive emergency ambulance
  Services, you must pay the provider and file a claim
  for reimbursement unless the provider agrees to bill
  us (refer to "Payment and Reimbursement" in the
  "Emergency Services and Urgent Care" section)
• If you receive Services from Non–Plan Providers that
  we did not authorize (other than Emergency Services,
  Post-Stabilization Care, Out-of-Area Urgent Care, or
  emergency ambulance Services) and you want us to
  pay for the care, you must submit a grievance (refer to
  "Grievances" in the "Dispute Resolution" section)
• If you have coverage with another plan or with
  Medicare, we will coordinate benefits with the other
  coverage (refer to "Coordination of Benefits" in the
  "Exclusions, Limitations, Coordination of Benefits,
  and Reductions" section)
• In some situations, you or a third party may be
  responsible for reimbursing us for covered Services
  (refer to "Reductions" in the "Exclusions, Limitations,
  Coordination of Benefits, and Reductions" section)
• You must pay the full price for noncovered Services




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Kaiser Foundation Health Plan, Inc.
Northern and Southern California Regions



Combined Chiropractic and Acupuncture Services Amendment of the
Kaiser Foundation Health Plan, Inc. Evidence of Coverage for
CaliforniaChoice




Chiropractic/Acupuncture Plan-$15 Copay/20 Visits
EOC Number: 265




Contract Year 2021




                                                          ASH Plans Customer Service Department
                                                          Monday through Friday, 5 a.m. to 6 p.m.
                                                          1-800-678-9133 (TTY users call 711) toll free
                                                          ashlink.com/ash/kp




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Health Plan Benefits and Coverage Matrix
THIS MATRIX IS INTENDED TO BE USED TO HELP YOU COMPARE COVERAGE BENEFITS AND IS A
SUMMARY ONLY. THE EVIDENCE OF COVERAGE AND PLAN CONTRACT SHOULD BE CONSULTED FOR
A DETAILED DESCRIPTION OF COVERAGE BENEFITS AND LIMITATIONS.

We cover the Services described below, subject to exclusions described in the "Exclusions" section, only if all of the
following conditions are satisfied:
• You are a Member on the date that you receive the Services
• ASH Plans has determined that the Services are Medically Necessary, except as described in this Amendment
• You receive the Services from ASH Participating Providers or other licensed providers that ASH contracts to provide
  covered care, except as described in this Amendment
Professional Services (Plan Provider office visits)                                                                 You Pay
Chiropractic and acupuncture office visits (up to a combined total of 20
 visits per 12-month period)
 .................................................................................................................. $15 per visit
Other                                                                                                               You Pay
X-rays and laboratory tests that are covered Chiropractic Services
 .................................................................................................................. No charge
Chiropractic supports and appliances
 .................................................................................................................. Amounts in excess of the $50 Allowance

This is a summary of the most frequently asked-about benefits. This chart does not explain benefits, Cost Share, out-of-
pocket maximums, exclusions, or limitations, nor does it list all benefits and Cost Share amounts. For a complete
explanation, please refer to the "Covered Services" and "Exclusions" sections.




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Introduction                                                             ASH Participating Provider: One of the following
                                                                         types of providers:
This document amends your Kaiser Foundation                              • An acupuncturist who is licensed to provide
Health Plan, Inc. (Health Plan) EOC to add coverage                        acupuncture services in California and who has a
for Chiropractic Services and Acupuncture Services                         contract with ASH Plans to provide Medically
as described in this Combined Chiropractic and                             Necessary Acupuncture Services to you
Acupuncture Services Amendment ("Amendment").                            • A chiropractor who is licensed to provide chiropractic
All provisions of the EOC apply to coverage described in                   services in California and who has a contract with
this document except for the following sections:                           ASH Plans to provide Medically Necessary
• "How to Obtain Services" (except that the                                Chiropractic Services to you
  "Completion of Services from Non–Plan Providers"
  section, or for Kaiser Permanente Senior Advantage                     A list of ASH Participating Providers is available on the
  Members, the "Termination of a Plan Provider's                         ASH Plans website at
  contract and completion of Services" section, does                     ashlink.com/ash/kaisercamedicare for Kaiser
  apply to coverage described in this document)                          Permanente Senior Advantage Members, or
• "Plan Facilities"                                                      ashlink.com/ash/kp for all other Members, or from the
                                                                         ASH Plans Customer Service Department toll free at
• "Emergency Services and Urgent Care"                                   1-800-678-9133 (TTY users call 711). The list of ASH
• "Benefits"                                                             Participating Providers is subject to change at any time,
                                                                         without notice. If you have questions, please call the
Kaiser Foundation Health Plan, Inc. contracts with                       ASH Plans Customer Service Department.
American Specialty Health Plans of California, Inc.
(ASH Plans) to make the network of ASH Participating                     ASH Plans: American Specialty Health Plans of
Providers available to you.                                              California, Inc., a California corporation.

When you need chiropractic care or acupuncture, you                      Chiropractic Services: Chiropractic manipulative
have direct access to more than 3,400 licensed                           services (including adjunctive therapies such as
chiropractors and more than 2,000 licensed                               ultrasound, therapeutic exercise, or electrical muscle
acupuncturists in California. You can obtain covered                     stimulation, when provided during the same course of
Services from any ASH Participating Provider without a                   treatment and in conjunction with chiropractic
referral from a Plan Physician. Your Cost Share is due                   manipulative services), and other services provided or
when you receive covered Services.                                       prescribed by a chiropractor (including laboratory tests,
                                                                         X-rays, and chiropractic supports and appliances) for the
                                                                         treatment of your Musculoskeletal and Related Disorder.

Definitions                                                              Emergency Acupuncture Services: Covered
                                                                         Acupuncture Services provided for the treatment of a
In addition to the terms defined in the "Definitions"                    Musculoskeletal and Related Disorder, nausea, or pain,
section of your Health Plan EOC, the following terms,                    which manifests itself by acute symptoms of sufficient
when capitalized and used in any part of this                            severity (including severe pain) such that a reasonable
Amendment, have the following meanings:                                  person could expect the absence of immediate
                                                                         Acupuncture Services to result in serious jeopardy to
Acupuncture Services: The stimulation of certain points                  your health or body functions or organs.
on or near the surface of the body by the insertion of
needles to prevent or modify the perception of pain or to                Emergency Chiropractic Services: Covered
normalize physiological functions (including adjunctive                  Chiropractic Services provided for the treatment of a
therapies, such as hot/cold packs, infrared heat, or                     Musculoskeletal and Related Disorder which manifests
acupressure, when provided during the same course of                     itself by acute symptoms of sufficient severity (including
treatment and in conjunction with acupuncture) when                      severe pain) such that a reasonable person could expect
provided by an acupuncturist for the treatment of your                   the absence of immediate Chiropractic Services to result
Musculoskeletal and Related Disorder, nausea (such as                    in serious jeopardy to your health or body functions or
nausea related to chemotherapy, postsurgery pain, or                     organs.
pregnancy), or pain (such as lower back pain, shoulder
pain, joint pain, or headaches).                                         Musculoskeletal and Related Disorders: Conditions
                                                                         with signs and symptoms related to the nervous,


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muscular, and/or skeletal systems. Musculoskeletal and                   ASH Plans contracts with ASH Participating Providers
Related Disorders are conditions typically categorized as                and other licensed providers to provide the Services
structural, degenerative, or inflammatory disorders; or                  covered under this Amendment (including laboratory
biomechanical dysfunction of the joints of the body                      tests, X-rays, and chiropractic supports and appliances).
and/or related components of the muscle or skeletal                      You must receive Services covered under this
systems (muscles, tendons, fascia, nerves,                               Amendment from an ASH Participating Provider or
ligaments/capsules, discs and synovial structures) and                   another licensed provider with which ASH contracts to
related manifestations or conditions.                                    provide covered care, except for Services covered under
                                                                         "Emergency and Urgent Services Covered Under this
Non–Participating Provider: A provider other than an                     Amendment" in the "Covered Services" section and
ASH Participating Provider.                                              Services that are not available from contracted providers
                                                                         and that are authorized in advance by ASH Plans.
Treatment Plan: One of the following, depending on
whether the Treatment Plan is for Chiropractic Services
or Acupuncture Services:                                                 How to Obtain Services
• A proposed course of treatment for your                                To obtain Services covered under this Amendment call
  Musculoskeletal and Related Disorder, which may                        an ASH Participating Provider to schedule an initial
  include laboratory tests, X-rays, chiropractic supports                examination. If additional Services are required after the
  and appliances, and a specific number of visits for                    initial examination, verification that the Services are
  chiropractic manipulations (adjustments) and                           Medically Necessary may be required, as described
  adjunctive therapies that are Medically Necessary                      under "Decision time frames" below. Your ASH
  Chiropractic Services for you                                          Participating Provider will request any required medical
• A proposed course of treatment for your                                necessity determinations. An ASH Plans clinician in the
  Musculoskeletal and Related Disorder, nausea, or                       same or similar specialty as the provider of Services
  pain, which will include a specific number of visits                   under review will determine whether the Services are or
  for acupuncture (including adjunctive therapies) that                  were Medically Necessary Services.
  are Medically Necessary Acupuncture Services for
  you                                                                    Decision time frames
                                                                         The ASH Plans' clinician will make the authorization
Urgent Acupuncture Services: Acupuncture Services                        decision within the time frame appropriate for your
that meet all of the following requirements:                             condition, but no later than five business days after
                                                                         receiving all of the information (including additional
• They are necessary to prevent serious deterioration of                 examination and test results) reasonably necessary to
  your health resulting from an unforeseen illness,                      make the decision, except that decisions about urgent
  injury, or complication of an existing condition,                      Services will be made no later than 72 hours after receipt
  including pregnancy                                                    of the information reasonably necessary to make the
• They cannot be delayed until you return to the Service                 decision. If ASH Plans needs more time to make the
  Area                                                                   decision because it doesn't have information reasonably
                                                                         necessary to make the decision, or because it has
Urgent Chiropractic Services: Chiropractic Services                      requested consultation by a particular specialist, you and
that meet all of the following requirements:                             your ASH Participating Provider will be informed in
                                                                         writing about the additional information, testing, or
• They are necessary to prevent serious deterioration of
                                                                         specialist that is needed, and the date that ASH Plans
  your health resulting from an unforeseen illness,
                                                                         expects to make a decision.
  injury, or complication of an existing condition,
  including pregnancy
                                                                         Your ASH Participating Provider will be informed of the
• They cannot be delayed until you return to the Service                 decision within 24 hours after the decision is made. If the
  Area                                                                   Services are authorized, your ASH Participating Provider
                                                                         will be informed of the scope of the authorized Services.
                                                                         If ASH Plans does not authorize all of the Services, ASH
ASH Participating Providers                                              Plans will send you a written decision and explanation,
                                                                         including the rationale for the decision and the criteria
                                                                         used to make the decision, within two business days after
Please read the following information so you will
                                                                         the decision is made. The letter will also include
know from whom or what group of providers you
                                                                         information about your appeal rights, which are
may receive Services covered under this Amendment.


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described in the "Coverage Decisions, Appeals, and                       If you have questions about your Cost Share for specific
Complaints" section of your Health Plan EOC for Kaiser                   Services that you are scheduled to receive or that your
Permanente Senior Advantage Members, and "Dispute                        provider orders during a visit or procedure, please call
Resolution" section of your Health Plan EOC for all                      the ASH Plans Customer Service Department toll free at
other Members. Any written criteria that ASH Plans uses                  1-800-678-9133 (TTY users call 711) weekdays from 5
to make the decision to authorize, modify, delay, or deny                a.m. to 6 p.m.
the request for authorization will be made available to
you upon request. If you have questions or concerns,                     Coverage of Acupuncture Services under this
please contact ASH Plans or Kaiser Permanente as                         Amendment is different from the coverage of
described under "Customer Service" in this Amendment.                    acupuncture Services under your Health Plan EOC. You
                                                                         do not need a referral to get covered Services under this
                                                                         Amendment, but covered Services and your Cost Share
                                                                         may differ from those under your Health Plan EOC. If
Covered Services                                                         you receive acupuncture Services for which you have a
                                                                         referral (as described under "Getting a Referral" in the
We cover the Services listed in this "Covered Services"                  "How to Obtain Services" section of the EOC), then
section, subject to exclusions described in the                          unless you tell us otherwise, we will assume that you are
"Exclusions" section, only if all of the following                       using your coverage under your Health Plan EOC.
conditions are satisfied:
• You are a Member on the date that you receive the                      If you are a Kaiser Permanente Senior Advantage
  Services                                                               Member, please refer to your Health Plan EOC for
• ASH Plans has determined that the Services are                         information about the chiropractic Services that we cover
  Medically Necessary, except for:                                       in accord with Medicare guidelines, which are separate
                                                                         from the Services covered under this Amendment.
    the initial examination described under "Office
     Visits" in this "Covered Services" section
    Services covered under "Emergency and Urgent                        Office Visits
     Services Covered Under this Amendment" in this
     "Covered Services" section                                          We cover up to a combined total of 20 of the following
                                                                         types of office visits per 12-month period at a
• You receive the Services from ASH Participating                        $15 Copayment per visit:
  Providers or other licensed providers with which
  ASH contracts to provide covered care, except for:                     • Initial chiropractic examination: An examination
                                                                           performed by an ASH Participating Provider to
    Services covered under "Emergency and Urgent                          determine the nature of your problem (and, if
     Services Covered Under this Amendment" in this                        appropriate, to prepare a Treatment Plan), and to
     "Covered Services" section                                            provide Medically Necessary Chiropractic Services,
    Services that are not available from ASH                              which may include an adjustment and adjunctive
     Participating Providers or other licensed providers                   therapy. We cover an initial examination only if you
     with which ASH contracts to provide covered care                      have not already received covered Chiropractic
     and that are authorized in advance by ASH Plans                       Services from an ASH Participating Provider in the
                                                                           same 12-month period for your Musculoskeletal and
When you receive covered Services, you must pay the                        Related Disorder
Cost Share listed in this "Covered Services" section. If                 • Subsequent chiropractic office visits: Subsequent
you receive Services that are not covered under this                       ASH Participating Provider office visits for
Amendment, you may be liable for the full price of those                   Chiropractic Services that are determined to be
Services.                                                                  Medically Necessary by an ASH Plans clinician.
                                                                           These subsequent office visits may include an
Note: If Charges for Services are less than the                            adjustment, adjunctive therapy, and a re-examination
Copayment described in this "Covered Services" section,                    to assess the need to continue, extend, or change a
you will pay the lesser amount.                                            Treatment Plan

The Cost Share you pay for Services covered under this                   • Initial acupuncture examination: An examination
                                                                           performed by an ASH Participating Provider to
Amendment does not apply toward any Plan Deductible
or Plan Out-of-Pocket Maximum described in your                            determine the nature of your problem (and, if
Health Plan EOC.                                                           appropriate, to prepare a Treatment Plan), and to
                                                                           provide Medically Necessary Acupuncture Services.


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   We cover an initial examination only if you have not                  ASH Participating Provider in the same or similar
   already received covered Acupuncture Services from                    specialty. When you are referred by an ASH
   an ASH Participating Provider in the same 12-month                    Participating Provider to another ASH Participating
   period for your Musculoskeletal and Related                           Provider for a second opinion, your visit to the other
   Disorder, nausea, or pain                                             ASH Participating Provider will not count toward any
• Subsequent acupuncture office visits: Subsequent                       visit limit, if applicable. An authorization or denial of
  ASH Participating Provider office visits for                           your request for a second opinion will be provided in an
  Acupuncture Services that are determined to be                         expeditious manner, as appropriate for your condition. If
  Medically Necessary by an ASH Plans clinician,                         your request for a second opinion is denied, you will be
  which may include a re-examination to assess the                       notified in writing of the reasons for the denial, and of
  need to continue, extend, or change a Treatment Plan                   your right to file a grievance as described under
                                                                         "Grievances" in this Amendment.
Each office visit counts toward any visit limit, if
applicable.                                                              Emergency and Urgent Services
                                                                         Covered Under this Amendment
Laboratory Tests and X-rays
                                                                         Emergency and urgent chiropractic Services
We cover Medically Necessary laboratory tests and X-                     We cover Emergency Chiropractic Services and Urgent
rays when prescribed as part of covered chiropractic care                Chiropractic Services provided by an ASH Participating
described under "Office Visits" in this "Covered                         Provider or a Non–Participating Provider at a
Services" section at no charge when an ASH                               $15 Copayment per visit. We do not cover follow-up or
Participating Provider provides the Services or refers you               continuing care from a Non-Participating Provider unless
to another licensed provider with which ASH contracts                    ASH Plans has authorized the Services in advance. Also,
to provide covered Services.                                             we do not cover Services from a Non-Participating
                                                                         Provider that ASH Plans determines are not Emergency
                                                                         Chiropractic Services or Urgent Chiropractic Services.
Chiropractic Supports and Appliances
                                                                         Emergency and urgent acupuncture Services
We provide a $50 Allowance per 12-month period                           We cover Emergency Acupuncture Services and Urgent
toward the ASH Plans fee schedule price for chiropractic                 Acupuncture Services provided by an ASH Participating
appliances listed in this paragraph when the item is                     Provider or a Non–Participating Provider at a
prescribed and provided to you by an ASH Participating                   $15 Copayment per visit. We do not cover follow-up or
Provider as part of covered chiropractic care described                  continuing care from a Non–Participating Provider
under "Office Visits" in this "Covered Services" section.                unless ASH Plans has authorized the Services in
If the price of the item(s) in the ASH Plans fee schedule                advance. Also, we do not cover Services from a Non-
exceeds $50 (the Allowance), you will pay the amount in                  Participating Provider that ASH Plans determines are not
excess of $50 (and that payment does not apply toward                    Emergency Acupuncture Services or Urgent
the Plan Out-of-Pocket Maximum described in your                         Acupuncture Services.
Health Plan EOC). Covered chiropractic appliances are
limited to: elbow supports, back supports (thoracic),
                                                                         How to file a claim
cervical collars, cervical pillows, heel lifts, hot or cold
                                                                         As soon as possible after receiving Emergency
packs, lumbar braces and supports, lumbar cushions,
                                                                         Chiropractic Services or Urgent Chiropractic Services or
orthotics, wrist supports, rib belts, home traction units
                                                                         Emergency Acupuncture Services or Urgent
(cervical or lumbar), ankle braces, knee braces, rib
                                                                         Acupuncture Services, you must file an ASH Plans claim
supports, and wrist braces.
                                                                         form. To request a claim form or for more information,
                                                                         please call ASH Plans toll free at 1-800-678-9133 (TTY
Second Opinions                                                          users call 711) or visit the ASH Plans website at
                                                                         ashlink.com. You must send the completed claim form
You may request a second opinion in regard to covered                    to:
Services by contacting another ASH Participating
                                                                             ASH Plans
Provider. Your visit to another ASH Participating
                                                                             P.O. Box 509002
Provider for a second opinion generally will count
toward any visit limit, if applicable. An ASH                                San Diego, CA 92150-9002
Participating Provider may also request a second opinion
in regard to covered Services by referring you to another


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Exclusions                                                               • Drugs and medicines, including non-legend or
                                                                           proprietary drugs and medicines
The items and services listed in this "Exclusions" section               • Services you receive outside the state of California,
are excluded from coverage. These exclusions apply to                      except for Services covered under "Emergency and
all Services that would otherwise be covered under this                    Urgent Services Covered Under this Amendment" in
Amendment regardless of whether the services are within                    the "Covered Services" section
the scope of a provider's license or certificate:                        • Hospital services, anesthesia, manipulation under
• Acupuncture services for conditions other than                           anesthesia, and related services
  Musculoskeletal and Related Disorders, nausea, and                     • Dietary and nutritional supplements, such as vitamins,
  pain                                                                     minerals, herbs, herbal products, injectable
• Acupuncture performed with reusable needles                              supplements, and similar products
• Services provided by an acupuncturist that are not                     • Massage therapy
  within the scope of licensure for an acupuncturist                     • Maintenance care (services provided to Members
  licensed in California                                                   whose treatment records indicate that they have
• For Acupuncture Services, adjunctive therapies unless                    reached maximum therapeutic benefit)
  provided during the same course of treatment and in
  conjunction with acupuncture
• Services provided by a chiropractor that are not                       Customer Service
  within the scope of licensure for a chiropractor
  licensed in California                                                 If you have a question or concern regarding the Services
• For Chiropractic Services, adjunctive therapy not                      you received from an ASH Participating Provider or any
  associated with spinal, muscle, or joint manipulations                 other licensed provider with which ASH contracts to
                                                                         provide covered Services, you may call the ASH Plans
• Air conditioners, air purifiers, therapeutic mattresses,
                                                                         Customer Service Department toll free at 1-800-678-
  chiropractic appliances, durable medical equipment,
                                                                         9133 (TTY users call 711) weekdays from 5 a.m. to 6
  supplies, devices, appliances, and any other item
                                                                         p.m., or write ASH Plans at:
  except those listed as covered under "Chiropractic
  Supports and Appliances" in the "Covered Services"                         ASH Plans
  section of this Amendment                                                  Customer Service Department
• Services for asthma or addiction, such as nicotine                         P.O. Box 509002
  addiction                                                                  San Diego, CA 92150-9002
• Hypnotherapy, behavior training, sleep therapy, and
  weight programs
• Thermography                                                           Grievances
• Experimental or investigational Services. If coverage                  You can file a grievance with Kaiser Permanente
  for a Service is denied because it is experimental or                  regarding any issue. Your grievance must explain your
  investigational and you want to appeal the denial,                     issue, such as the reasons why you believe a decision
  refer to your Health Plan EOC for information about                    was in error or why you are dissatisfied about Services
  the appeal process                                                     you received. If you are a Kaiser Permanente Senior
• CT scans, MRIs, PET scans, bone scans, nuclear                         Advantage Member, you may submit your grievance
  medicine, and any other type of diagnostic imaging or                  orally or in writing to Kaiser Permanente as described in
  radiology other than X-rays covered under the                          the "Coverage Decisions, Appeals, and Complaints"
  "Covered Services" section of this Amendment                           section of your Health Plan EOC. Otherwise, you may
• Ambulance and other transportation                                     submit your grievance orally or in writing to Kaiser
                                                                         Permanente as described in the "Dispute Resolution"
• Education programs, non-medical self-care or self-                     section of your Health Plan EOC.
  help, any self-help physical exercise training, and any
  related diagnostic testing
• Services for pre-employment physicals or vocational
  rehabilitation




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CALIFORNIACHOICE SUPPLEMENT TO EVIDENCE OF COVERAGE
                                            WELCOME TO CALIFORNIACHOICE

Your Employer has chosen to offer your health coverage to you and your fellow Employees through the CaliforniaChoice
Program. This Supplement is to Kaiser Foundation Health Plan, Inc.’s (“PLAN”) Evidence of Coverage, into which this
CaliforniaChoice Supplement is inserted. All of the provisions of that Evidence of Coverage are applicable to your health
coverage. This Supplement explains certain details specific to the CaliforniaChoice Program and may duplicate what is
already stated in that document. In the case of inconsistencies between the attached Evidence of Coverage and this
document, the provisions of this document will control.

                                  WHAT IS THE CALIFORNIACHOICE PROGRAM?
The CaliforniaChoice Program is a program through which a number of California health care service plans and insurance
carriers together offer various health benefits plans to employers for their employees’ coverage. You as an Employee have
the opportunity to select to receive your health benefits from one of these health plans or, in some circumstances, an
insurance carrier. This gives you the sort of choice of health plans that typically has been enjoyed by only a few.
You have selected PLAN as the health care service plan from which you wish to receive your employer-sponsored medical
benefits and you and your eligible Dependents have become members of PLAN.

                      IMPORTANT FEATURES OF THE CALIFORNIACHOICE PROGRAM
Some of the important features of the CaliforniaChoice Program which impact you as an Enrollee in PLAN are listed
below.
1.      Participation Requirements
        At least seventy percent (70%) of your fellow Employees will receive their medical coverage from one of the
        health plans or the insurance carrier participating in the CaliforniaChoice Program.
2.      Eligibility Requirements
        a.        Employee Eligibility
                  An Eligible Employee is one who lives or works in PLAN’s Service Area, who is permanently and
                  actively employed for compensation an average of 30 hours per week over the course of a month, at the
                  small employer’s regular place of business, and who has met any applicable waiting period requirements.

                    •     Provided that GROUP has been determined to be a “small employer” without counting them for
                          purposes of making such determination, the term includes sole proprietors or partners of a
                          partnership and their respective spouses, if they are actively engaged on a full-time basis in the
                          small employer’s business and included as employees under a health care service plan contract of a
                          small employer, but does not include employees who work on a part-time, temporary or substitute
                          basis.

                    •     Permanent employees who work at least 20 hours but not more than 29 hours are eligible if all four
                          of the following conditions apply:
                              • They otherwise meet the definition of an Eligible Employee except for the number of hours
                              worked
                              • The employer offers the employees health coverage under a health benefit plan
                              • All similarly situated employees are offered coverage under the health benefit plan
                              • The employee must have worked at least 20 hours per normal work week for at least 50% of
                              the weeks in the previous calendar quarter (documentation required upon request). Individuals
                              who work on a part-time, temporary or substitute basis are not eligible. If you are accepted for
                              enrollment in PLAN, your coverage will become effective on the first day of the month
                              following your Employer’s designated waiting period of 30 days.




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          b.        Dependent Eligibility

                    A Dependent claiming eligibility hereunder as a spouse must be legally married to an
                    Eligible Employee. A spouse may be added to coverage at the time of initial enrollment
                    of the Employee, at each open enrollment period of the Employer or following a proven
                    triggering event as described in Paragraph (3.a) below.

                    A Dependent claiming eligibility hereunder as a domestic partner must be personally
                    related to an Eligible Employee by a domestic partnership as defined below. A
                    domestic partner may be added to coverage at the time of initial enrollment of the
                    Employee, at each open enrollment period of the Employer or following a proven
                    triggering event as described in Paragraph (3.a) below.

                    Eligible Employee agrees to notify CaliforniaChoice Benefit Administrators
                    immediately upon termination of the marriage or domestic partnership.

                    A Dependent child claiming eligibility hereunder must be born to, a step-child of, a
                    legal ward of, or adopted by the Eligible Employee or the Eligible Employee’s spouse
                    or domestic partner or is a child for whom the Eligible Employee has assumed a parent-
                    child relationship, as indicated by intentional assumption of parental status or
                    assumption of parental duties by the Eligible Employee, as certified by the Eligible
                    Employee at the time of enrollment of the child and annually thereafter (but not to
                    include foster children), subject to the following condition:

                         •    Under age 26 (unless disabled, disability diagnosed prior to age 26)

                         • This “child” profile describes herein an “eligible dependent child.”
                    A Dependent child who exceeds the age limit for Dependent children and is disabled, that is, who is
                    incapable of self-sustaining employment by reason of a physically or mentally disabling injury, illness, or
                    condition diagnosed as such by competent health care professionals prior to such Dependent’s 26th
                    birthday, and has remained continuously dependent on the Employee for at least 50% of his/her economic
                    support since he/she became disabled, shall be eligible for coverage hereunder until such disability
                    ceases. Proof of Dependent’s disability must be received within 60 days after CaliforniaChoice Benefit
                    Administrators requests it.

                    CaliforniaChoice Benefit Administrators will provide subscriber a 90-day notice that a dependent is about
                    to reach the age limit for dependent children and will lose coverage unless subscriber provides written
                    certification from a competent health care professional, within 60 days of receiving this 90-day warning
                    notice, that the dependent meets the above conditions of being disabled.

                    CaliforniaChoice Benefit Administrators or PLAN will determine if the child meets the conditions above
                    prior to the child reaching the age limit. After two years following the child’s reaching the limiting age,
                    CaliforniaChoice Benefit Administrators or PLAN may request proof of continuing incapacity and
                    dependency, but not more often than yearly. If the Employee is enrolling a disabled child for new
                    coverage, CaliforniaChoice Benefit Administrators or PLAN may request initial proof of
                    incapacity/dependency and then yearly, and the Employee must provide the requested information within
                    60 days of receipt of request.

                    If you are enrolling Dependents, they must also enroll in the same plan you have selected. Enrollees and
                    their Dependents are, however, able to select different primary care physicians.
                    Formal proof of the required eligibility and existence of the relationship of any Dependent to the
                    Employee may be requested at the time of enrollment, time of service authorization request or claim



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                    submission, but not more frequently than annually after the two-year period following a child’s
                    attainment of the limiting age.
                    New Dependents
                    (i)      New Dependent - Spouse
                    An individual who becomes a new Dependent by virtue of marriage is eligible for coverage at other than
                    the Employer’s annual open enrollment, provided the appropriate request form is submitted to the
                    Employer within 45 days after such marriage, allowing the Employer sufficient time to submit the request
                    to the CaliforniaChoice Program within 60 days after such marriage. If CaliforniaChoice Benefit
                    Administrators receives all required documentation before the 16th day of the month of marriage,
                    Premium is charged for the full month and coverage is effective as of the date of marriage. If
                    CaliforniaChoice Benefit Administrators receives all required documentation on or after the16th day of
                    the month of marriage, the new spouse will be enrolled as of the 1st of the month following the date of
                    receipt. The Employee enrollee requesting coverage for such new Dependent must provide a stamped
                    copy of the marriage certificate. The Employee must agree to notify CaliforniaChoice Benefit
                    Administrators immediately upon termination of marriage.

                    (ii)      New Dependent - Birth/Adoption/Legal Guardian
                    An individual who becomes a new Dependent by virtue of birth, adoption or placement for adoption or
                    legal guardianship or is a child for whom the Eligible Employee has assumed a parent-child relationship
                    is eligible for coverage at other than the Employer’s annual open enrollment, provided the appropriate
                    request is submitted to the Employer within 45 days after such birth, adoption or placement for adoption
                    or effective date of a guardianship order, or arrival at status of eligible dependent child, for coverage
                    effective as of effective date of such event, allowing the Employer sufficient time to submit the request to
                    the CaliforniaChoice Program within 60 days after such birth, adoption or placement for adoption or legal
                    guardianship or arrival at status of eligible dependent child, with coverage to be effective upon the date of
                    the event. The first 30 days of coverage for such new or adopted child is automatic, regardless of whether
                    the child is enrolled or not after this 30-day period. If the birth, adoption or placement for adoption or
                    legal guardianship effective date occurs between the 1st and the 15th day of the month, Premiums are
                    charged for the full month. If the birth, adoption or placement for adoption or legal guardianship
                    effective date occurs between the 16th day and the end of the month, no Premiums are charged (copy of
                    legal documentation may be required).

                    (iii)     New Dependent - Stepchild
                    A child who comes to be the stepchild of an Enrollee is eligible for coverage at other than the Employer’s
                    annual open enrollment, provided the appropriate request is submitted to the Employer within 45 days
                    following marriage or establishment of a registered domestic partnership to the parent or legal guardian of
                    the stepchild, allowing the Employer sufficient time to submit the request to the CaliforniaChoice
                    Program within 60 days following the date of the Enrollee's marriage to, or establishment of a registered
                    domestic partnership with, the parent or legal guardian of the stepchild (actual adoption by the stepparent
                    Enrollee is not required, although a copy of the marriage certificate to, or a State-stamped copy of the
                    Declaration of Domestic Partnership with, the parent of the new stepchild may be required). If the
                    marriage or establishment of the domestic partnership occurs before the 16th day of the month, Premium
                    is charged for the full month and coverage is effective as of the date of marriage or establishment of the
                    domestic partnership. If the marriage or establishment of the domestic partnership occurs on or after the
                    16th day of the month, the stepchild will be enrolled effective as of the 1st of the month following the
                    date of receipt.

                    (iv)        New Dependent - Domestic Partner
                           In order for an Employee’s domestic partner to be eligible for coverage, at the time of Employee
                           eligibility for enrollment, the Employee and domestic partner must:

                           •   Have filed a Declaration of Domestic Partnership with the Secretary of State

                           •   Agree to notify CaliforniaChoice Benefit Administrators immediately upon termination of the
                               domestic partnership.


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                    The domestic partnership is established when both partners file the properly executed Declaration of
                    Domestic Partnership with the California Secretary of State.
                    An individual who becomes a new Dependent by virtue of becoming a registered domestic partner of the
                    Employee is eligible for coverage at other than the Employer’s annual open enrollment, provided the
                    appropriate request form is submitted to the Employer within 45 days after such domestic partnership is
                    established, allowing the Employer sufficient time to submit the request to the CaliforniaChoice Benefit
                    Administrators within 60 days after such event. If CaliforniaChoice Benefit Administrators receives all
                    required documentation before the 16th day of the month in which the domestic partnership was
                    established, Premium is charged for the full month and coverage is effective as of the date of the event. If
                    CaliforniaChoice Benefit Administrators receives all required documentation on or after the 16th day of
                    the month in which the domestic partnership was established, the new domestic partner will be enrolled
                    as of the 1st of the month following the date of receipt. The Employee Enrollee requesting coverage for
                    such new Dependent must provide a State-stamped copy of the Declaration of Domestic Partnership
                    within 45 days after such domestic partnership is established, allowing the Employer sufficient time to
                    submit the request and Declaration to CaliforniaChoice Benefit Administrators within 60 days of its
                    issuance. For purposes of this provision only, the domestic partnership is deemed established when both
                    partners file the properly executed Declaration of Domestic Partnership with the California Secretary of
                    State. The Employee must agree to notify CaliforniaChoice Benefit Administrators immediately upon
                    termination of the domestic partnership.

3.        Special and Late Enrollment
          a.       Special Enrollment
                   Employees who did not enroll during the initial enrollment period or at the Employer’s annual open
                   enrollment may add newly acquired Dependents and themselves to the contract by submitting an
                   application within 60 days from the date of acquisition of the Dependent:

                         •    to add Employee and spouse or domestic partner following the birth of a newborn, adoption or
                              placement for adoption of a child or arrival at status of eligible dependent child, coverage
                              effective on the date of such event;

                         •    to add Employee and spouse or domestic partner after marriage or establishment of a domestic
                              partnership. If all required documentation is received before the 16th day of the month
                              of marriage/establishment of domestic partnership, coverage for Employee and spouse or
                              domestic partner is effective on the date of marriage or establishment of domestic partnership; If
                              all required documentation is received on or after the 16th day of the month of
                              marriage/establishment of domestic partnership, coverage is effective on the 1st of the month
                              following the date of receipt.

                         •    to add Employee and Employee’s newborn, eligible dependent child, or child placed for
                              adoption, following birth, adoption or placement for adoption or arrival at status of eligible
                              dependent child, coverage effective on effective date of such event;

                         •    to add Employee and Employee's stepchild, if marriage or establishment of domestic
                              partnership occurs before the 16th day of the month, coverage effective as of the date of
                              marriage or establishment of domestic partnership; if marriage or establishment of
                              domestic partnership occurs on or after the 16th day of the month, stepchild will be
                              enrolled effective as of the 1st of the month following date of receipt .

                    If an Employee did not enroll himself or herself or a Dependent at initial enrollment or at the Employer’s
                    annual open enrollment because the Employee or Dependent had coverage under another employer health
                    plan, please see the “Late Enrollment” section below and the “Eligibility” section above for further
                    information regarding rights to request enrollment at a later time.




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          b.        Late Enrollment
                    Late enrollees (as defined in California Health & Safety Code section 1357.500(f)) must wait until open
                    enrollment to be enrolled unless covered above under the “Special Enrollment” provisions. However,
                    pursuant to H&S section 1357.500(f) and as further articulated in PLAN’s Evidence of Coverage, if an
                    Employee did not enroll, or enroll a Dependent, at initial enrollment or at annual open enrollment because
                    Employee:

                         •    or dependent loses minimum essential coverage, as described in California H&S Section
                              1399.849(d)(1)(A);

                         •    gains a dependent or becomes a dependent through marriage, birth, adoption or placement for
                              adoption or arrival at status of eligible dependent child;

                         •    is mandated to be covered as a dependent pursuant to a valid state or federal court order;

                         •    has been released from incarceration;

                         •    health coverage issuer substantially violated a material provision of the health coverage contract;

                         •    gains access to new health benefit plans as a result of a permanent move;

                         •    was receiving services from a contracting provider under another health benefit plan, for one of
                              the conditions described in subdivision (c) of H&S Section 1373.96 and that provider is no
                              longer participating in the health benefit plan;

                         •    is a member of the reserve forces of the United States military returning from active duty or a
                              member of the California National Guard returning from active duty service; and

                         •     demonstrates that he or she did not enroll in a health benefit plan during the immediately
                               preceding enrollment period because he or she was misinformed that he or she was covered
                               under minimum essential coverage.
                    then if such a triggering event occurs, the Employee may enroll in PLAN by submitting an enrollment
                    application to CaliforniaChoice Benefit Administrators within 60 days of loss of other coverage or within
                    60 days of another triggering event listed immediately above, pursuant to H&S section 1357.500(f) and as
                    articulated further in PLAN’s EOC. Coverage with PLAN through CaliforniaChoice Benefit
                    Administrators to become effective 1st day of month following receipt of completed enrollment
                    application.
4.        Waiting Period
          The waiting period for coverage, which shall be applicable for all Employees, is 0, 30 or 60 days plus the days
          until the first of the following month, not to exceed 90 days.
5.        Benefits
          Under the federal “Patient Protection and Affordable Care Act,” your Employer is required to select one of four
          (4) “metal tier” options of benefits offered by PLAN, keyed to their “actuarial value” (“Bronze,” “Silver,” “Gold,”
          “Platinum”). However, by participating in the CaliforniaChoice Program, your Employer is able and may decide
          to offer to you two (2) neighboring metal tiers of benefits (Bronze/Silver, Silver/Gold, or Gold/Platinum) for you
          to choose from or even to offer three (3) neighboring metal tiers of benefits (Silver/Gold/Platinum) from which
          you could choose. Employees will then have the option to choose from the health plans and benefit plans offered
          within such metal tier options. The benefits you will have chosen to receive from PLAN are described in the
          Evidence of Coverage to which this Supplement is attached. You may not change your benefit plan within PLAN
          other than during its open enrollment period unless you experience a “triggering event” (see Paragraph 3 above).
          PLAN will make all benefit and coverage dispute determinations, although these determinations are subject to
          PLAN’s grievance procedures.
          a.        Cal-COBRA and COBRA
                    PLAN has agreed to provide coverage for you if you are Cal-COBRA-eligible or COBRA-eligible, at
                    rates which you can receive by requesting them from your employer. Please examine your options
                    carefully before declining this coverage.


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          b.        Co-payments
                    As noted in the attached Evidence of Coverage, certain covered services and benefits are subject to co-
                    payments which you will be required to make.
          c.        Plan Materials
                    PLAN will provide you with an identification card and its Evidence of Coverage (“EOC”) and this
                    Supplement, and will distribute its federally-required “Summary of Benefits and Coverage” (“SBC”).
                    CaliforniaChoice Benefit Administrators will post on its website a copy of PLAN's current SBC. (In lieu
                    of hard copies, PLAN may notify Enrollee of where to obtain electronic copies of the EOC and
                    CaliforniaChoice EOC Supplement.)

6.        Termination for Nonpayment of Premiums
           On the first day of the month prior to the coverage month, the Premium Notice that is sent to your Employer by
          CaliforniaChoice Benefit Administrators will include the mandated regulatory statement contained in Rule
          1300.65(a)(2), which states: “Your Health Plan is billing you for the cost of your health coverage. You must pay
          all amounts listed in this bill by the due date. If you do not pay this amount by the due date, your health coverage
          can be cancelled. You will receive a grace period before your Plan can cancel your coverage for not paying the
          amount due. You can file a complaint with your PLAN and with the California Department of Managed Health
          Care if you think there is a mistake. Learn more about your health care rights and responsibilities in your Plan
          Evidence of Coverage.” Premium payments are due on or before the 20th day of the month prior to the month of
          coverage. If your Employer fails to pay the required Premiums when due, PLAN (or CaliforniaChoice Benefit
          Administrators on behalf of PLAN) will mail your Employer a “Notice of Start of Grace Period” stating that the
          Employer has until the end of the Grace Period, which lasts at least 30 consecutive days, in which to pay the
          Premiums due before any cancellation of unpaid coverage contracts will take effect. This Notice will provide
          information to your Employer regarding the reason for cancellation(s), the effective date of cancellation(s), the
          dollar amount(s) due to PLAN, the date of the last day of paid coverage, the date the grace period begins and
          expires, any obligations of your Employer during the grace period, including your Employer’s responsibility to
          promptly send you a copy of the Notice of Start of Grace Period, consequences for nonpayment of Premiums due
          within that timeframe, as well as the right of your Employer to submit a grievance to the PLAN and/or the
          California Department of Managed Health Care if your Employer believes coverage has been or will be
          improperly cancelled.

          The Notice shall also inform your Employer that coverage will continue during a 30-day grace period that begins
          on the day the Notice of Start of Grace period is dated and lasts at least 30 consecutive days. For
          CaliforniaChoice Program Plans, the Notice of Start of Grace Period will be dated and sent the first calendar
          day after the last day of paid coverage. If the Premium remains unpaid by the 14th day of the coverage month,
          CaliforniaChoice Benefit Administrators on behalf of PLAN will send your Employer a “Second Notice of Grace
          Period” repeating the need to pay the Premium(s) and the consequences for not doing so. If Premium payment(s)
          is/are not received by the effective date of cancellation*, PLAN (or CaliforniaChoice Benefit Administrators on
          behalf of PLAN) will cancel the membership agreement and coverage for you and all your Dependents will end on
          such date as is contained in the “Notice of End of Coverage” sent to your Employer . It is your Employer’s
          responsibility to promptly send you a copy of the Notice of End of Coverage. (*The 30-day grace period begins
          the day the Notice of Start of Grace period is dated and lasts at least 30 consecutive days. If the affected
          premium(s) is(are) not paid by the last day of the Grace Period, coverage under the Agreement will be terminated
          prospectively, which in most cases occurs on the last day of the coverage period. Since the month of February
          consists of only 28/29 days, Employers who do not pay February’s premium(s) by the end of the 30-day grace
          period will have their coverage contacts(s) terminated on the last day of March).

          PLAN (or CaliforniaChoice Benefit Administrators on behalf of PLAN) will mail a separate Notice of End of
          Coverage to its affected individual Members that includes similar information provided in the Notice of End of
          Coverage that is sent to your employer. The Notice that is sent to your Employer would provide your Employer
          with the following information: (1) that the agreement for coverage has been cancelled for non-payment of
          premiums; (2) the specific date and time when the coverage ended; (3) how and when coverage may be reinstated;
          (4) the responsibility of the Employer to pay all Premiums due, including for coverage during the 30-day grace
          period provided; (5) the right of your Employer to submit a grievance to the PLAN and /or the California
          Department of Managed Health Care if your Employer believes coverage has been improperly cancelled and the


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          right to reinstatement of the membership agreement if the Department rules in favor of the Employer in any such
          review; (6) the CaliforniaChoice telephone number Members can call to obtain additional information, including
          whether your Employer obtained reinstatement of the Agreement; and (7) GROUP is responsible for notifying
          each affected individual Member of his or her right to purchase continuation coverage and that you would be sent
          a similar Notice of End of Coverage, which would include a State-approved notice regarding the possibility that
          you could secure coverage either through the “Covered California” State Exchange or in the State’s Medi-Cal
          Program and also providing you toll-free contact telephone numbers and an Internet website where you could
          obtain additional information about these opportunities.

7.      Partial Payment Protocol

        If your Employer has subscribed to more than one health Plan or Carrier for your healthcare
        coverage through the CaliforniaChoice Program and fails to make premium payments for every
        one of its coverage contracts, the application of such Partial Premium Payment as is submitted
        will be made to specific coverage contracts according to a priority articulated in the Group
        Service Agreement Supplement that is part of your Employer’s contract with each Plan. If the
        Partial Payment is adequate to cover all the Medical coverage contracts the Employer has, then
        they will be maintained in place and the remainder of the Partial Payment will be applied to any
        Specialty coverage contracts your Employer may have through the Program, in a priority that
        goes dental-vision-chiropractic/acupuncture-life until the Partial Payment funds run out. If your
        Employer’s Partial Payment is insufficient to cover certain of the Specialty contract premiums
        then those contracts will terminate at the end of the grace period. If there is not sufficient Partial
        Payment to cover the Medical premiums due, then that coverage will terminate at the end of the
        grace period and the Partial Payment will be applied to any Specialty coverage contracts the
        Employer has through the Program, in the above priority until the Partial Payment funds run out.
        In either scenario, the premium-paid Specialty coverage contracts will terminate at the end of
        the contract period.

        By way of illustration only, if a Group has two separate dental coverage options, Partial Payment shall be applied to
        the dental contract with the highest membership count first, unless the Partial Payment amount is insufficient to
        cover that dental contract’s due premium. Whether it is sufficient to cover the first dental contract premium or not,
        Choice Administrators shall then apply the Partial Payment amount or the remainder of the Partial Payment amount
        to the dental contract premium with the next highest membership count. If at this point of application there
        remains a Partial Payment amount then that amount shall be applied to any remaining dental coverage contract
        premiums due, ranked by membership count. If after application to dental premiums due there remains a Partial
        Payment amount, then it shall be applied to the vision contract with the highest membership count, and any
        remaining Partial Payment amount shall then be applied to the premium due for the vision contract with the next
        highest membership. This progression of Partial Payment amount application shall continue down through the
        premiums due for additional vision coverage contracts, and then in similar fashion to premiums due for
        chiropractic/acupuncture coverage and then for life insurance coverage. If two contracts within the same line of
        coverage (e.g., dental) have the same membership count, Choice Administrators shall first apply available Partial
        Payment amounts to the coverage contract with the highest premium due.

           Partial Payment Hierarchy:
                1) All Medical contract(s) (all must be paid in full or all terminate)
                2) Dental contract with highest membership count
                3) Dental contract with next highest membership count (repeated through all dental
                   contracts)
                4) Vision contract with highest membership count
                5) Vision contract with next highest membership count (repeated through all vision
                   contracts)


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                6) Chiropractic/acupuncture contract with highest membership count
                7) Chiropractic/acupuncture contract with next highest membership count (repeated
                   through all chiropractic contracts)
                8) Life contract with the highest membership count
                9) Life contract with the next highest membership count (repeated through all life
                   contracts)

        Your Employer is required to inform you in the event it becomes involved in such a Partial
        Premium Payment situation so that you may plan for desired alternate coverage. If you have
        questions regarding this Partial Payment Protocol, you may contact your employer or the
        CaliforniaChoice Program at 800-558-8003.

                                                          RENEWAL
If your Employer wishes to renew in PLAN through the CaliforniaChoice Program upon the anniversary date of its contract
with PLAN, your Employer must have a minimum of at least two (2) Eligible Employees (or such number as may come to
be used in the Small Group Act to define a Small Group Employer) and seventy percent (70%) of those not covered
elsewhere by a plan sponsored by your Employer must be enrolled in a health care service plan or insurance program
participating in the CaliforniaChoice Program. If your Employer does not meet such renewal requirements, it may renew at
such later date as it meets such renewal qualification requirements.

                                               THE REST IS THE SAME!
This Supplement merely describes the particular features of your coverage from PLAN because of PLAN’s participation in
the CaliforniaChoice Program. You should refer to the Evidence of Coverage to which this is merely a Supplement for all
other details regarding your membership in and receipt of health care services from PLAN.




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Delta Dental EOC/DF
For information about pediatric dental coverage, please refer to the Delta Dental EOC/DF attached to this EOC.




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                          DeltaCare USA
                      Children’s Dental HMO

                This is a pediatric-only dental benefit



Combined Evidence of Coverage and Disclosure Form (“EOC”)


Provided by:
Delta Dental of California
560 Mission Street, Suite 1300
San Francisco, CA 94105


Administered by:
Delta Dental Insurance Company
P. O. Box 1803
Alpharetta, GA 30023
800-589-4618
deltadentalins.com




NOTICE: THIS EOC CONSTITUTES ONLY A SUMMARY OF YOUR GROUP DENTAL PROGRAM.
AS REQUIRED BY THE CALIFORNIA HEALTH AND SAFETY CODE, THIS IS TO ADVISE YOU
THAT THE CONTRACT MUST BE CONSULTED TO DETERMINE THE EXACT TERMS AND
CONDITIONS OF COVERAGE. THIS INFORMATION IS NOT A GUARANTEE OF COVERED
BENEFITS, SERVICES OR PAYMENTS.

A STATEMENT DESCRIBING DELTA DENTAL’S POLICIES AND PROCEDURES FOR
PRESERVING THE CONFIDENTIALITY OF MEDICAL RECORDS IS AVAILABLE AND WILL BE
FURNISHED TO YOU UPON REQUEST.



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INTRODUCTION
We are pleased to welcome you to the DeltaCare USA Plan (“Plan”). The Contractholder (see
“Definitions” section) has selected Delta Dental of California (“Delta Dental”) to meet your
dental insurance needs. This Plan is underwritten by Delta Dental and administered by Delta
Dental Insurance Company.
IMPORTANT NOTE: This Plan is being offered in conjunction with a medical plan underwritten
by Kaiser Foundation Health Plan, Inc. (“Kaiser” or “MPI”). A description of your medical plan
benefits is attached to this EOC. If you have questions regarding your medical plan coverage,
please contact Kaiser at 800-464-4000 (TTY users call 711).
Our goal is to provide you with the highest quality dental care and to help you maintain good
dental health. We encourage you not to wait until you have a problem to see the Dentist but to
see one on a regular basis.
Eligibility for coverage under this Plan is determined by Kaiser. Delta Dental provides dental
Benefits as defined in the following section of this EOC:
  Eligibility Requirements for Pediatric Benefits (“Essential Health Benefits”)

Using This EOC
This EOC, including Attachments, discloses the terms and conditions of your coverage and is
designed to help you make the most of your dental plan. It will help you understand how this
Plan works and how to obtain dental care.
Please read this EOC completely and carefully. Keep in mind that “you” and “your” mean the
individuals who are covered. “We,” “us” and “our” always refer to Delta Dental or the
Administrator. In addition, please read the “Definitions” section as it will explain any words with
special or technical meanings. Persons with Special Health Care Needs should read the section
entitled “Special Health Care Needs.”
This EOC is not a Summary Plan Description that meets the requirements of the Employee
Retirement Income Security Act of 1974 (“ERISA”).
Identification Number
The Enrollee should provide their identification (“ID”) number to their assigned Contract
Dentist whenever dental services are received. ID cards are not required but may be obtained
by visiting Delta Dental’s website at deltadentalins.com.
Contract - The Benefit explanations contained in this EOC are subject to all provisions of the
Contract on file with the Contractholder and do not modify the terms and conditions of the
Contract in any way. A copy of the Contract will be furnished to you upon request. Any direct
conflict between the Contract and this EOC will be resolved according to the terms which are
most favorable to you.
Contact Us - For more information, please visit Delta Dental’s website at deltadentalins.com or
call Delta Dental’s Customer Care at 800-589-4618. If you prefer to write with your question(s),
please mail your inquiry to the following address:
                                 DeltaCare USA Customer Care
                                          P.O. Box 1803
                                      Alpharetta, GA 30023




                                  Michael G. Hankinson, Esq.
                          Executive Vice President, Chief Legal Officer




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DEFINITIONS
The following are definitions of words that have special or technical meanings under this EOC.
Accumulation Period: a period of time of at least 12 consecutive months for purposes of
accumulating amounts toward your Out-of-Pocket Maximum. Your Accumulation Period may
be a calendar year, a contract year or some other period determined by the Contractholder.
Your Accumulation Period is specified in your MPI Evidence of Coverage.
Administrator: Delta Dental Insurance Company or other entity designated by Delta Dental,
operating as an Administrator in the state of California. Certain functions described throughout
this EOC may be performed by the Administrator as designated by Delta Dental. The mailing
address for the Administrator is: P.O. Box 1803, Alpharetta, GA 30023. The Administrator will
answer calls directed to 800-589-4618.
Authorization: the process by which Delta Dental determines if a procedure or treatment is a
referable Benefit under this Plan.
Benefits: covered pediatric dental services provided under the terms of the Contract and as
described in this EOC.
Contract: the agreement between Delta Dental and the Contractholder, including any
Attachments, pursuant to which Delta Dental has issued this EOC.
Contract Dentist: a DeltaCare USA Dentist who provides services in general dentistry and who
has agreed to provide Benefits to Enrollees under this Plan.
Contract Orthodontist: a DeltaCare USA Dentist who specializes in orthodontics and who has
agreed to provide Benefits to Enrollees under this Plan which covers medically necessary
orthodontics.
Contract Specialist: a DeltaCare USA Dentist who provides Specialist Services and who has
agreed to provide Benefits to Enrollees under this Plan.
Contract Term: the period during which the Contract is in effect.
Contractholder: an employer that has contracted for Benefits to Enrollees under this Plan.
Copayment: the amount listed in the Schedules attached to this EOC charged to an Enrollee
by a Contract Dentist, Contract Orthodontist or Contract Specialist for Benefits provided to
Enrollees under this Plan. Copayments must be paid at the time treatment is received.
Delta Dental Service Area: all geographic areas in the state of California in which Delta Dental
is licensed as a specialized health care service plan.
Dentist: a duly licensed Dentist legally entitled to practice dentistry at the time and in the state
or jurisdiction in which services are performed.
Department of Managed Health Care: a department of the California Health and Human
Services Agency which has charge of regulating specialized health care service plans. Also
referred to as the “Department” or “DMHC.”
Effective Date: the original date the Packaged Offering starts. This date is given in the MPI
Evidence of Coverage.
Eligible Pediatric Individual: a person who is eligible to enroll for pediatric dental Benefits as
described in this EOC and the MPI Evidence of Coverage. Eligible Pediatric Individuals are
children from birth through the end of the contract year in which the child turns 19 who meet
the eligibility requirements in the MPI Evidence of Coverage.
Emergency Dental Condition: dental symptoms and/or pain that are so severe that a
reasonable person would believe that, without immediate attention by a Dentist, it could
reasonably be expected to result in any of the following:
  placing the patient's health in serious jeopardy,
  serious impairment to bodily functions,


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   serious dysfunction of any bodily organ or part, or
   death
Emergency Dental Service: a dental screening, examination and evaluation by a Dentist or, to
the extent permitted by applicable law, by other appropriate licensed persons under the
supervision of a Dentist, to determine if an Emergency Dental Condition exists and, if it does,
the care, treatment and surgery, if within the scope of that person's license, necessary to relieve
or eliminate the Emergency Dental Condition, within the capability of the facility.
Employee: an individual employed by the Contractholder who has opted to enroll Eligible
Pediatric Individuals as described in this EOC and the MPI Evidence of Coverage.
Enrollee: an Eligible Pediatric Individual (“Pediatric Enrollee”) enrolled to receive Benefits
under this Plan.
Enrollee Effective Date: the date the MPI reports coverage will begin for each Enrollee under
this Plan.
Essential Health Benefits (“Pediatric Benefits”): for the purposes of this EOC, Essential
Health Benefits are certain pediatric oral services that are required to be included under the
Affordable Care Act. The services considered to be Essential Health Benefits are determined
by state and federal agencies and are available for Eligible Pediatric Individuals.
Medical Plan Issuer (“MPI”): entity providing the medical plan that is issued and delivered to
the Contractholder with this Plan as a Packaged Offering. For purposes of this EOC, the MPI is
Kaiser Foundation Health Plan, Inc.
Open Enrollment Period: the period of the year that the MPI has established when
Employees may change coverage selections for the next Contract Term.
Optional: any alternative procedure presented by the Contract Dentist that satisfies the same
dental need as a covered procedure but is chosen by the Enrollee and is subject to the
limitations and exclusions described in the Schedules attached to this EOC.
Out-of-Network: treatment by a Dentist who has not signed an agreement with Delta Dental
to provide Benefits to Enrollees under the terms of the Contract.
Out-of-Pocket Maximum: the maximum amount that a Pediatric Enrollee must satisfy for
Benefits during the Accumulation Period. Refer to Schedule A attached to this EOC for details.
Packaged Offering: the combination of a separate medical plan provided by the MPI and this
Plan provided by Delta Dental.
Pediatric Benefits: See definition of Essential Health Benefits above.
Procedure Code: the Current Dental Terminology® (“CDT”) number assigned to a Single
Procedure by the American Dental Association.
Single Procedure: a dental procedure that is assigned a separate Procedure Code.
Special Health Care Need: a physical or mental impairment, limitation or condition that
substantially interferes with an Enrollee’s ability to obtain Benefits. Examples of such a Special
Health Care Need are: 1) the Enrollee’s inability to obtain access to their Contract Dentist facility
because of a physical disability, and 2) the Enrollee’s inability to comply with their Contract
Dentist’s instructions during examination or treatment because of physical disability or mental
incapacity.
Specialist Services: services performed by a Contract Dentist who specializes in the practice
of oral surgery, endodontics, periodontics, orthodontics (if medically necessary) or pediatric
dentistry. Specialist Services must be authorized by Delta Dental.
Spouse: a person related to or a domestic partner of the Employee:
   as defined and as may be required to be treated as a Spouse by the laws of the state where
    the Contract is issued and delivered; or



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   as defined and as may be required to be treated as a Spouse by the laws of the state where
    the Employee resides; or
   as may be recognized by the Contractholder.
Treatment in Progress: any Single Procedure as defined by the CDT Code that has been
started while the Enrollee was eligible to receive Benefits and for which multiple appointments
are necessary to complete the Single Procedure(s), whether or not the Enrollee continues to
be eligible for Benefits under this Plan. Examples include: 1) teeth that have been prepared for
crowns, 2) root canals where a working length has been established, 3) full or partial dentures
for which an impression has been taken and 4) orthodontics when bands have been placed and
tooth movement has begun.
Urgent Dental Services: medically necessary services for a condition that requires prompt
dental attention but is not an Emergency Dental Condition.
We, Us and Our: Delta Dental or the Administrator, as appropriate.

ELIGIBILITY AND ENROLLMENT
The MPI is responsible for establishing eligibility and reporting enrollment to us. The MPI is also
responsible for administering any required continuation under the Uniformed Services
Employment and Reemployment Rights Act of 1994 (“USERRA”), the Family & Medical Leave
Act of 1993, the Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”) and
continuation of coverage under the California Continuation Benefits Replacement Act of 1997
(“Cal-COBRA”). We process enrollment as reported by the MPI.
This EOC includes Pediatric Benefits.
Eligibility Requirement for Pediatric Benefits
Enrollees eligible for Pediatric Benefits are:
  an Employee; and/or
  an Employee’s Spouse and dependent children who meet the eligibility requirements as
   described in the MPI Evidence of Coverage.
Enrollment
You may be required to contribute towards the cost of coverage for Pediatric Enrollees. The
MPI is responsible for establishing an Enrollee’s Effective Date for enrollment.
Enrollees in the medical plan provided by the MPI are required to enroll under this Plan.
Enrollment under this Plan for coverage begins on the date enrollment under the medical plan
begins and terminates on the date that enrollment under the medical plan terminates.
Termination of Coverage
An Enrollee’s coverage will be terminated by Delta Dental:
  on the date reported by the MPI;
  if MPI terminates this Packaged Offering; or
  if the Enrollee is no longer eligible through the MPI.
Please refer to your MPI Evidence of Coverage for further information regarding renewal and
termination of this Plan.
We will not pay for services received after the Enrollee’s coverage ends. However, for
Treatment in Progress, we will continue to provide Benefits, less any applicable Copayment(s).
An Enrollee and/or Contractholder who believes that coverage has been, or will be, improperly
cancelled, rescinded or not renewed may request a review by the Director of the DMHC in
accordance with Section 1365(b) of the California Health and Safety Code.



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OVERVIEW OF DENTAL BENEFITS
This section provides information that will give you a better understanding of how this Plan
works and how to make it work best for you.
What is the DeltaCare USA Plan?
The DeltaCare USA Plan provides Pediatric Benefits through a convenient network of Contract
Dentists in the state of California. These Contract Dentists are screened to ensure that our
standards of quality, access and safety are maintained. The DeltaCare USA Network is
comprised of established dental professionals. When you visit your assigned Contract Dentist,
you pay only the applicable Copayment(s) for Benefits. There are no deductibles, lifetime
maximums or claim forms.
Benefits, Limitations and Exclusions
This Plan provides the Benefits described in the Schedules that are a part of this EOC. Except
for Emergency Dental Services, Urgent Dental Services, and authorized Specialist Services,
Benefits are only available in the state of California. Covered dental services are performed as
deemed appropriate by your assigned Contract Dentist.
Copayments and Other Charges
You are required to pay any Copayments listed in the Schedules attached to this EOC.
Copayments are paid directly to the Dentist who provides treatment. Charges for broken
appointments (unless notice is received by the Contract Dentist at least 24 hours in advance
or an Emergency Dental Condition prevented such notice) and charges for visits after normal
visiting hours are listed in the Schedules attached to this EOC.
In the event that we fail to pay a Contract Dentist, you will not be liable to that Dentist for any
sums owed by us. By statute, the DeltaCare USA dentist contract contains a provision
prohibiting a Contract Dentist from charging an Enrollee for any sums owed by Delta Dental.
Except for the provisions in the “Emergency Dental Services” section, if you have not obtained
prior Authorization for treatment from an Out-of-Network Dentist and we fail to pay that Out-
of-Network Dentist, you may be liable to that Dentist for the cost of services. For further
clarification, see the “Emergency Dental Services,” “Urgent Dental Services” and “Specialist
Services” provisions in this EOC.
Non-Covered Services
IMPORTANT: If you opt to receive dental services that are not covered services under this Plan,
a Contract Dentist may charge you their usual and customary rate for those services. Prior to
providing a patient with dental services that are not a covered Benefit, the Dentist should
provide to the patient a treatment plan that includes each anticipated service to be provided
and the estimated cost of each service. If you would like more information about your dental
coverage options, you may call Delta Dental’s Customer Care at 800-589-4618. To fully
understand your coverage, you may wish to carefully review this EOC.
Coordination of Benefits
We coordinate the Benefits under this EOC with your benefits under any other group or pre-
paid plan or insurance policy designed to fully integrate with other plans. If this plan is the
“primary” plan, we will not reduce Benefits, but if this plan is the “secondary” plan, we determine
Benefits after those of the primary plan and will pay the lesser of the amount that we would
pay in the absence of any other dental benefit coverage or the Enrollee’s total out-of-pocket
cost under the primary plan for Benefits covered under this EOC.
How do we determine which Plan is the “primary” plan?
 (1) The plan covering the Enrollee as an employee is primary over a plan covering the Enrollee
     as a dependent.
 (2) The plan covering the Enrollee as an employee is primary over a plan covering the insured
     person as a dependent. However, if the insured person is also a Medicare beneficiary, and


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    as a result of the rule established by Title XVIII of the Social Security Act and implementing
    regulations, Medicare is secondary to the plan covering the insured person as a
    dependent; and primary to the plan covering the insured person as other than a
    dependent (e.g. a retired employee), then the benefits of the plan covering the insured
    person as a dependent are determined before those of the plan covering that insured
    person as other than a dependent.
 (3) Except as stated in paragraph (4), when this plan and another plan cover the same child
     as a dependent of different persons, called parents:
    a) the benefits of the plan of the parent whose birthday falls earlier in a year are
       determined before those of the plan of the parent whose birthday falls later in that
       year; but
    b) if both parents have the same birthday, the benefits of the plan covering one parent
       longer are determined before those of the plan covering the other parent for a shorter
       period of time.
    c) However, if the other plan does not have the birthday rule described above, but
       instead has a rule based on the gender of the parent, and if, as a result, the plans do
       not agree on the order of benefits, the rule in the other plan determines the order of
       benefits.
 (4) In the case of a dependent child of legally separated or divorced parents, the plan
     covering the Enrollee as a dependent of the parent with legal custody or as a dependent
     of the custodial parent’s Spouse (i.e. step- parent) will be primary over the plan covering
     the Enrollee as a dependent of the parent without legal custody. If there is a court decree
     establishing financial responsibility for the health care expenses with respect to the child,
     the benefits of a plan covering the child as a dependent of the parent with such financial
     responsibility will be determined before the benefits of any other policy covering the child
     as a dependent child.
 (5) If the specific terms of a court decree state that the parents will share joint custody
     without stating that one of the parents is responsible for the health care expenses of the
     child, the plans covering the child will follow the order of benefit determination rules
     outlined in paragraph (3).
 (6) The benefits of a plan covering an insured person as an employee who is neither laid-off
     nor retired are determined before those of a plan covering that insured person as a laid-
     off or retired employee. The same would hold true if an insured person is a dependent of
     a person covered as a retiree or an employee. If the other plan does not have this rule,
     and if, as a result, the plans do not agree on the order of benefits, this rule (6) is ignored.
 (7) If an insured person whose coverage is provided under a right of continuation pursuant
     to federal or state law also is covered under another plan, the following will be the order
     of benefit determination.
    a) First, the benefits of a plan covering the insured person as an employee (or as that
       insured person’s dependent).
    b) Second, the benefits under the continuation coverage.
    c) If the other plan does not have the rule described above, and if, as a result, the plans
       do not agree on the order of benefits, this rule (7) is ignored.
 (8) If none of the above rules determines the order of benefits, the benefits of the plan
     covering an employee longer are determined before those of the plan covering that
     insured person for the shorter term.
 (9) When determination cannot be made in accordance with the above for Pediatric Benefits,
     the benefits of a plan that is a medical plan covering dental as a benefit shall be primary
     to a dental only plan.




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HOW TO USE THE DELTACARE USA PLAN/CHOICE OF CONTRACT
DENTIST
PLEASE READ THE FOLLOWING INFORMATION SO THAT YOU WILL KNOW HOW TO
OBTAIN DENTAL SERVICES. YOU MUST OBTAIN DENTAL BENEFITS FROM (OR BE
REFERRED FOR SPECIALIST SERVICES BY) YOUR ASSIGNED CONTRACT DENTIST.
Delta Dental will provide Enrollees with Contract Dentists at convenient locations during the
term of the Contract. Upon enrollment, Delta Dental will assign the Enrollee to a Contract
Dentist facility. The Employee may request changes to their assigned Contract Dentist facility
by contacting our Customer Care at 800-589-4618. A list of Contract Dentists is available to all
Enrollees at deltadentalins.com. When searching online for a Contract Dentist, select the
DeltaCare USA Network to ensure you have the list of Contract Dentists applicable to your
plan. The change must be requested prior to the 15th of the month to become effective on the
first day of the following month.
We will provide you written notice of assignment to another Contract Dentist facility near the
Enrollee’s home if: 1) a requested facility is closed to further enrollment; 2) a chosen Contract
Dentist facility withdraws from this Plan or 3) an assigned facility requests, for good cause, that
the Enrollee be re-assigned to another Contract Dentist facility.
All Treatment in Progress must be completed before you change to another Contract Dentist
facility.
Examples include: 1) teeth that have been prepared for crowns, 2) root canals where a working
length has been established, 3) full or partial dentures for which an impression has been taken
and 4) orthodontics when bands have been placed and tooth movement has begun.
All covered services must be performed at the Enrollee’s assigned Contract Dentist facility.
With the exception of Emergency Dental Services, Urgent Dental Services, and authorized
Specialist Services, this Plan does not pay for services performed or directed by Out-of-
Network Dentists. All authorized Specialist Services claims will be paid by Delta Dental, less any
applicable Copayment(s). A Contract Dentist may provide services either personally, or
through associated Dentists, or the other technicians or hygienists who may lawfully perform
the services. If an Enrollee is assigned to a dental school clinic for Specialist Services, those
services may be provided by a Dentist, a dental student, a clinician or a dental instructor.
If your assigned Contract Dentist facility terminates participation in this Plan, that Contract
Dentist facility will complete all Treatment in Progress, as described above. If, for any reason,
your Contract Dentist is unable to complete treatment, Delta Dental will make reasonable and
appropriate provisions for the completion of such treatment by another Contract Dentist.
Delta Dental will give you reasonable advance written notice if you will be materially or
adversely affected by the termination, breach of contract, or inability of a Contract Dentist to
perform services.
Continuity of Care
If you are a current Enrollee, you may have the right to obtain completion of care under the
Contract with your terminated Contract Dentist for certain specified dental conditions. If you
are a new Enrollee, you may have the right to completion of care under the Contract with your
Out-of-Network Dentist for certain specified dental conditions. You must make a specific
request for this completion of care Benefit. To make a request, contact Delta Dental’s Customer
Care at 800-589-4618. You may also contact us to request a copy of Delta Dental’s Continuity
of Care Policy. Delta Dental is not required to continue care with the Dentist if you are not
eligible under the Contract or if Delta Dental cannot reach agreement with the Out-of-Network
Dentist or the terminated Contract Dentist on the terms regarding Enrollee care in accordance
with California law.
Emergency Dental Services
Emergency Dental Services are used for palliative relief, controlling of dental pain, and/or
stabilizing the Enrollee’s condition. The Enrollee's assigned Contract Dentist’s facility maintains

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a 24 hour emergency dental services system, 7 days a week. If an Enrollee is experiencing an
Emergency Dental Condition, the Enrollee can call 911 (where available) or obtain Emergency
Dental Services from any Dentist without a referral.
After Emergency Dental Services are provided, further non-emergency treatment is usually
needed. Non-emergency treatment must be obtained at the Enrollee's assigned Contract
Dentist facility.
The Enrollee is responsible for any Copayment(s) for Emergency Dental Services received.
Non-covered procedures will be the Enrollee's financial responsibility and will not be paid by
this Plan.
Urgent Dental Services
Inside the Delta Dental Service Area
An Urgent Dental Service requires prompt dental attention but is not an Emergency Dental
Condition. If an Enrollee thinks that they may need Urgent Dental Services, the Enrollee can call
their assigned Contract Dentist.
Outside the Delta Dental Service Area
If an Enrollee needs Urgent Dental Services due to an unforeseen dental condition or injury, this
Plan covers medically necessary dental services when prompt attention is required from an
Out-of-Network Dentist, if all of the following are true:
  The Enrollee receives Urgent Dental Services from an Out-of-Network Dentist while
   temporarily outside the Delta Dental Service Area.
  A reasonable person would have believed that the Enrollee's health would seriously
   deteriorate if they delayed treatment until they returned to the Delta Dental Service Area.
Enrollees do not need prior Authorization from Delta Dental to receive Urgent Dental Services
outside the Delta Dental Service Area. Any Urgent Dental Services an Enrollee receives from
Out-of-Network Dentists outside the Delta Dental Service Area are covered by this Plan if the
Benefits would have been covered if the Enrollee had received them from Contract Dentists.
Delta Dental does not cover follow-up care from Out-of-Network Dentists after the Enrollee no
longer needs Urgent Dental Services. To obtain follow-up care from a Dentist, the Enrollee can
call their assigned Contract Dentist. The Enrollee is responsible for any Copayment(s) for
Urgent Dental Services received.
Timely Access to Care
Contract Dentists, Contract Orthodontists and Contract Specialists have agreed waiting times
to Enrollees for appointments for care which will never be greater than the following
timeframes:
  for emergency care, 24 hours a day, 7 day days a week;
  for any urgent care, 72 hours for appointments consistent with the Enrollee’s individual
   needs;
  for any non-urgent care, 36 business days; and
  for any preventive services, 40 business days.
During non-business hours, the Enrollee will have access to their Contract Dentist’s answering
machine, answering service, cell phone or pager for guidance on what to do and whom to
contact if the Enrollee is calling due to an Emergency Dental Condition.
If the Enrollee calls Delta Dental's Customer Care, a representative will answer their call within
10 minutes during normal business hours.
Should the Enrollee need interpretation services when scheduling an appointment with any of
our Contract Dentists, Contract Orthodontists or Contract Specialists’ facilities, the Enrollee
may call Delta Dental’s Customer Care at 800-589-4618 for assistance.


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Language Interpretation
Delta Dental provides interpretive services in any modern language, free of charge, and at all
points of contact for limited English proficient Enrollees on request or when needed. Should an
Enrollee need language interpretation services with a DeltaCare USA Dentist, they may call
Delta Dental’s Customer Care at 800-589-4618 for assistance.
Specialist Services
Specialist Services for oral surgery, endodontics, periodontics, or pediatric dentistry must be:
1) referred by your assigned Contract Dentist, and 2) authorized by Delta Dental. You pay the
specified Copayment(s). (Refer to the Schedules attached to this EOC.)
If the services of a Contract Orthodontist are needed, please refer to the Schedules attached
to this EOC to determine Benefits available to you under this Plan.
If you require Specialist Services and a Contract Specialist or Contract Orthodontist is not
within 35 miles of your home address to provide these services, your assigned Contract Dentist
must receive Authorization from Delta Dental to refer you to an Out-of-Network specialist to
provide these Specialist Services. Specialist Services performed by an Out-of-Network
specialist that are not authorized by Delta Dental will not be covered.
Claims for Reimbursement
Claims for covered Emergency Dental Services or Specialist Services authorized by Delta
Dental should be sent to Delta Dental within 90 days of the end of treatment. Valid claims
received after the 90-day period will be reviewed if you can show that it was not reasonably
possible to submit the claim within that time. All claims must be received within one (1) year of
the treatment date. The address for claims submission is: Delta Dental Claims Department, P.O.
Box 1810, Alpharetta, GA 30023.
Dentist Compensation
A Contract Dentist is compensated by Delta Dental through monthly capitation (an amount
based on the number of Enrollees assigned to the Contract Dentist) and by Enrollees through
required Copayments for treatment received. A Contract Specialist is compensated by Delta
Dental through an agreed-upon amount for each covered procedure, less the applicable
Copayment(s) paid by the Enrollee. In no event does Delta Dental pay a Contract Dentist or a
Contract Specialist any incentive as an inducement to deny, reduce, limit or delay any
appropriate treatment.
You may obtain further information concerning Dentist compensation by calling Delta Dental
at the toll-free telephone number shown in this EOC.
Processing Policies
The dental care guidelines for this Plan explain to Contract Dentists what services are covered
under the dental Contract. Contract Dentists will use their professional judgment to determine
which services are appropriate for the Enrollee. Services performed by the Contract Dentist
that fall under the scope of Benefits of this Plan are provided subject to any Copayment(s). If
a Contract Dentist believes that an Enrollee should seek treatment from a specialist, the
Contract Dentist will contact Delta Dental to determine if the proposed treatment is a covered
service and if it requires treatment by a Contract Specialist. An Enrollee may contact Delta
Dental’s Customer Care at 800-589-4618 for information about this Plan’s dental care
guidelines.
A Benefit appropriately provided through teledentistry is covered on the same basis and to the
same extent that the Benefit is covered through in-person diagnosis, consultation, or treatment.
Renewal and Termination of Coverage
Please refer to your MPI Evidence of Coverage for further information regarding the renewal
and termination of this Plan.



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Second Opinion
You may request a second opinion if you disagree with or question the diagnosis and/or
treatment plan determination made by your Contract Dentist. Delta Dental may also request
that you obtain a second opinion to verify the necessity and appropriateness of dental
treatment or the application of Benefits.
Second opinions will be rendered by a licensed Dentist in a timely manner, appropriate to the
nature of your condition. Requests involving an Emergency Dental Condition will be expedited
(Authorization approved or denied within 72 hours of receipt of the request, whenever
possible). For assistance or additional information regarding the procedures and timeframes
for second opinion Authorizations, contact Delta Dental’s Customer Care at 800-589-4618 or
write to Delta Dental.
Second opinions will be provided at another Contract Dentist facility, unless otherwise
authorized by Delta Dental. Delta Dental will authorize a second opinion by an Out-of-Network
Dentist if an appropriately qualified Contract Dentist is not available. Delta Dental will only pay
for a second opinion which Delta Dental has approved or authorized. You will be sent written
notification should Delta Dental decide not to authorize a second opinion. If you disagree with
this determination, you may file a grievance with Delta Dental or with the Department. Refer to
the “Enrollee Complaint Procedure” section in this EOC for more information.
Special Health Care Needs
If you believe you have a Special Health Care Need, you should contact Delta Dental’s Customer
Care at 800-589-4618. We will confirm whether such a Special Health Care Need exists and
what arrangements can be made to assist you in obtaining such Benefits.
Delta Dental will not be responsible for the failure of any Contract Dentist to comply with any
law or regulation concerning structural office requirements that apply to a Dentist treating
persons with Special Health Care Needs.
Facility Accessibility
Many facilities provide Delta Dental with information about special features of their offices,
including accessibility information for patients with mobility impairments. To obtain
information regarding facility accessibility, contact Delta Dental’s Customer Care at 800-589-
4618.

ENROLLEE COMPLAINT PROCEDURE
Complaints regarding dental services:
Delta Dental, or the Administrator, will notify the Enrollee if any dental services or claims are
denied, in whole or in part, stating the specific reason(s) for the denial. If you have a complaint
regarding the denial of dental services or claims, the policies, procedures or operations of Delta
Dental or the Administrator or the quality of dental services performed by your Contract
Dentist, you may call Delta Dental’s Customer Care at 800-589-4618 or the complaint may be
addressed in writing to:
                                  Delta Dental of California
                               Quality Management Department
                                        P.O. Box 6050
                                      Artesia, CA 90702
Written communication must include: 1) the patient’s name, 2) the Pediatric Enrollee’s address,
telephone number and ID number 3) the Contractholder’s name and 4) the Contract Dentist's
name and facility location.
“Grievance” means a written or oral expression of dissatisfaction regarding the plan and/or
provider, including quality of care concerns, and shall include a complaint, dispute, request for
reconsideration or appeal made by Enrollee or the Enrollee’s representative. Where this Plan is
unable to distinguish between a grievance and an inquiry, it will be considered a grievance.


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“Complaint” is the same as “grievance.”
“Complainant” is the same as “grievant” and means the person who filed the grievance
including the Enrollee, a representative designated by the Enrollee or other individual with
authority to act on behalf of the Enrollee.
Within five (5) calendar days of the receipt of any complaint, a quality management coordinator
will forward to you a written acknowledgment of the complaint, which will include the date of
receipt and contact information. Certain complaints may require that you be referred to a
Dentist for clinical evaluation of the dental services provided. We will forward to you a
determination, in writing, within 30 calendar days of receipt of a complaint. If the complaint
involves an Emergency Dental Condition, Delta Dental will provide the Enrollee written
notification regarding the disposition or pending status of the grievance within three (3) days.
Delta Dental’s grievance system ensures all plan enrollees have access to and can fully
participate in its grievance process by providing assistance for those with limited English
proficiency or with visual or other communicative impairments. Such assistance includes, but
is not limited to, translations of grievance procedures, forms and plan responses to grievances
as well as access to interpreters, telephone relay systems and other devices that aid disabled
individuals to communicate. If you are in need of these services and/or have questions about
Delta Dental’s grievance process, please contact our Customer Care at 800-589-4618 and/or
visit our website at deltadentalins.com to obtain a grievance form.
Delta Dental’s grievance system allows enrollees to file grievances for at least 180 calendar days
following any incident or action that is the subject of the enrollee’s dissatisfaction.
Enrollees may file a complaint with the DMHC after completing Delta Dental’s grievance
process or if they have been involved in Delta Dental’s grievance process for more than 30
days. Enrollees may seek assistance or file a grievance immediately with the DMHC in cases
involving an imminent and serious threat to their health including, but not limited to, severe
pain, potential loss of life, limb or major bodily function. In such case, Delta Dental will provide
the Enrollee with written statement on the disposition or pending status of the grievance no
later than three (3) calendar days from the date of receipt of the grievance.
Complaints Involving an Adverse Benefit Determination
If the review of a denial is based in whole or in part on a lack of medical necessity, experimental
treatment, or a clinical judgment in applying the terms of this Policy, Delta Dental shall consult
with a Dentist who has appropriate training and experience. If any consulting Dentist is
involved in the review, the identity of such consulting Dentist will be available upon request. If
an Enrollee believes that the decision was denied on the grounds that it was not medically
necessary, the Enrollee may contact the DMHC to determine if the decision is eligible for an
independent medical review. Enrollees will not be discriminated against in any way by Delta
Dental for filing a grievance.
California law requires that Delta Dental provide you with the following
information:
The CA Department of Managed Health Care is responsible for regulating health care service
plans. If you have a grievance against your health plan, you should first telephone your health
plan at 800-589-4618 and use your health plan’s grievance process before contacting the
department. Utilizing this grievance procedure does not prohibit any potential legal rights or
remedies that may be available to you. If you need help with a grievance involving an
emergency, a grievance that has not been satisfactorily resolved by your health plan, or a
grievance that has remained unresolved for more than 30 days, you may call the department
for assistance. You may also be eligible for an Independent Medical Review (IMR). If you are
eligible for IMR, the IMR process will provide an impartial review of medical decisions made by
a health plan related to the medical necessity of a proposed service or treatment, coverage
decisions for treatments that are experimental or investigational in nature and payment
disputes for emergency or urgent medical services. The department also has a toll-free
telephone number (1-888-466-2219) and a TDD line (1-877-688-9891) for the hearing


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and speech impaired. The department's internet website www.dmhc.ca.gov has
complaint forms, IMR application forms and instructions online.
As the MPI of this Plan, Kaiser is responsible for administering and resolving any Enrollee
complaints, grievances and appeals that concern enrollment, premium collection and/or
termination relating to this Plan. Please see the MPI Evidence of Coverage for details.
If the Contractholder is subject to ERISA, you may contact the U.S. Department of Labor,
Employee Benefits Security Administration (“EBSA”) for further review of the claim or if you
have questions about the rights under ERISA. You may also bring a civil action under section
502(a) of ERISA. The address of the U.S. Department of Labor is:
                                  U.S. Department of Labor
                           Employee Benefits Security Administration
                                200 Constitution Avenue, N.W.
                                   Washington, D.C. 20210

GENERAL PROVISIONS
Public Policy Participation by Enrollees
Delta Dental’s Board of Directors includes Enrollees who participate in establishing Delta
Dental’s public policy regarding Enrollees through periodic review of Delta Dental’s Quality
Assessment Program reports and communications from Enrollees. Enrollees may submit any
suggestions regarding Delta Dental’s public policy in writing to:
                                    Delta Dental of California
                                         Customer Care
                                        P.O. Box 997330
                                  Sacramento, CA 95899-7330
Severability
If any part of the Contract, this EOC, Attachments or an amendment to any of these documents
is found by a court or other authority to be illegal, void or not enforceable, all other portions of
these documents will remain in full force and effect.
Misstatements on Application; Effect
In the absence of fraud or intentional misrepresentation of material fact in applying for or
procuring coverage under the Contract and/or this EOC, all statements made by you will be
deemed representations and not warranties. No such statement will be used in defense to a
claim, unless it is contained in a written application.
Legal Actions
No action, at law or in equity, will be brought to recover on the Contract prior to expiration of
60 days after proof of loss has been filed in accordance with requirements of the Contract
and/or this EOC, nor will an action be brought at all unless brought within three (3) years from
expiration of the time within which proof of loss is required.
Conformity with Applicable Laws
All legal questions about the Contract and/or this EOC will be governed by the state of
California where the Contract was entered into and is to be performed. Any part of the Contract
and/or this EOC that conflicts with the laws of California, specifically Chapter 2.2 of Division 2
of the California Health & Safety Code and Chapter 1 of Division 1, of Title 28 of the California
Code of Regulations, or federal law is hereby amended to conform to the minimum
requirements of such laws. Any provision required to be in the Contract by either of the above
shall bind Delta Dental whether or not provided in the Contract.
Third Party Administrator (“TPA”)
Delta Dental may use the services of a TPA, duly registered under applicable state law, to


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provide services under the Contract. Any TPA providing such services or receiving such
information shall enter into a separate Business Associate Agreement with Delta Dental
providing that the TPA shall meet HIPAA and HITECH requirements for the preservation of
protected health information of Enrollees.
Organ and Tissue Donation
Donating organ and tissue provides many societal benefits. Organ and tissue donation allows
recipients of transplants to go on to lead fuller and more meaningful lives. Currently, the need
for organ transplants far exceeds availability. If you are interested in organ donation, please
speak to your physician. Organ donation begins at the hospital when a person is pronounced
brain dead and identified as a potential organ donor. An organ procurement organization will
become involved to coordinate the activities.
Non-Discrimination
Delta Dental complies with applicable Federal civil rights laws and does not discriminate on the
basis of race, color, national origin, age, disability or sex. Delta Dental does not exclude people
or treat them differently because of race, color, national origin, age, disability or sex.
   Delta Dental:
 Provides free aids and services to people with disabilities to communicate effectively with us,
  such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats,
      other formats)
 Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
 If you need these services, contact Delta Dental’s Customer Care at 800-589-4618.
If you believe that Delta Dental has failed to provide these services or discriminated in another
way on the basis of race, color, national origin, age, disability or sex, you can file a grievance
electronically online, over the phone with a Delta Dental Customer Care representative or by
mail.
                                          Delta Dental
                                        P.O. Box 997330
                                  Sacramento, CA 95899-7330
                                   Telephone: 1-800-589-4618
                                  Website: deltadentalins.com
You can also file a civil rights complaint with the U.S. Department of Health and Human Services,
Office for Civil Rights, electronically through the Office for Civil Rights Complaint
Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf or by mail or phone at:
                        U.S. Department of Health and Human Services
                               200 Independence Avenue, SW
                                  Room 509F, HHH Building
                                   Washington, DC 20201
                                       1-800-368-1019
                                   1-800-537-7697 (TDD)

Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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2021 Dental Standard Benefit Plan Design

 Summary of Benefits and Coverage                                          Children’s Dental Plan
                                                                           Copay Plan
 Member Cost Share amounts describe the Enrollee's out of pocket costs.    Pediatric Dental EHB
 Children's Dental Plan and Family Dental Plan designs can be offered in   Up to Age 19
 both the Individual Marketplace and Covered California for Small
 Business.
 Actuarial Value                                                           85.0%
                                                                           In-Network
 Individual Deductible                                                     None
 Family Deductible (Two or more children)                                  Not Applicable
 Individual Out of Pocket Maximum                                          $350
 Family Out of Pocket Maximum (Two or More Children)                       $700
 Office Copay                                                              $0
 Waiting Period                                                            None
 (Waivered Condition provision, as defined in Health & Safety Code
 1357.50 (a)(3)(J)(4) and Insurance Code 10198.6(d))
 Annual Benefit Limit                                                      None
 (the maximum amount the dental plan will pay in the benefit year)
 Procedure             Service Type                                        Member Cost Share
 Category
                       Oral Exam                                           No charge
                       Preventive - Cleaning                               No charge
                       Preventive - X-ray                                  No charge
                       Sealants per Tooth                                  No charge
     Diagnostic &      Topical Fluoride Application                        No charge
      Preventive       Space Maintainers - Fixed                           No charge
                       Restorative Procedures                              See 2021 Dental Copay
    Basic Services     Periodontal Maintenance Services                    Schedule
                       Periodontics (other than maintenance)
                       Endodontics
                       Crowns and Casts
                       Prosthodontics                                      See 2021 Dental Copay
    Major Services     Oral Surgery                                        Schedule
     Orthodontia       Medically Necessary Orthodontia                     $350




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SCHEDULE A
Description of Benefits and Copayments for Pediatric Enrollees (Under Age 19)
DeltaCare® USA
Children’s Dental HMO
For Small Businesses
The Benefits shown below are performed as needed and deemed appropriate by the attending Contract
Dentist subject to the limitations and exclusions of the DeltaCare USA Plan. Please refer to Schedule B
for further clarification of Benefits. Enrollees should discuss all treatment options with their Contract
Dentist prior to services being rendered.
Text that appears in italics below is specifically intended to clarify the delivery of Benefits under this Plan
and is not to be interpreted as Current Dental Terminology ("CDT"), CDT-2020 Procedure Codes,
descriptors or nomenclature which is under copyright by the American Dental Association® ("ADA"). The
ADA may periodically change CDT codes or definitions. Such updated codes, descriptors and
nomenclature may be used to describe these covered procedures in compliance with federal legislation.
Out-of-Pocket Maximum (“OOPM”) for Pediatric Enrollees (Under Age 19):


                                Pediatric Enrollee…………        $350.00 each Contract Year
                      Multiple Pediatric Enrollees…………        $700.00 each Contract Year

OOPM applies only to Essential Health Benefits (“EHB”) for Pediatric Enrollee(s). OOPM means the
maximum amount of money that a Pediatric Enrollee must pay for Pediatric Benefits under this Plan
during a Contract Year. Payment for Premiums and payment for services that are Optional, that are
upgraded treatments, or that are not covered under the Contract will not count toward the OOPM, and
payment for such services will continue to apply even after the OOPM is met.
If more than one Pediatric Enrollee is covered on the Contract, the financial obligation for Pediatric Benefits
is not more than the OOPM for multiple Pediatric Enrollees. After a Pediatric Enrollee meets their OOPM,
they will have no further payment for the remainder of the Contract Year for Pediatric Benefits. Once the
amount paid by all Pediatric Enrollee(s) equals the OOPM for multiple Pediatric Enrollees, no further
payment will be required by any of the Pediatric Enrollee(s) for the remainder of the Contract Year for
Pediatric Benefits.
Delta Dental recommends that the Pediatric Enrollee or other party responsible keep a record of payment
for Pediatric Benefits. If you have any questions regarding your OOPM, please contact Delta Dental’s
Customer Care at 800-589-4618.

                                                   Pediatric     Clarification/Limitations for Pediatric
Code Description                                   Enrollee Pays Enrollees
D0100–D0999 I. DIAGNOSTIC
D0999 Unspecified diagnostic procedure, by           No charge     Includes office visit, per visit (in addition
      report                                                       to other services); In addition, shall be
                                                                   used: for a procedure which is not
                                                                   adequately described by a CDT code; or
                                                                   for a procedure that has a CDT code that
                                                                   is not a Benefit but the patient has an
                                                                   exceptional medical condition to justify
                                                                   the medical necessity. Documentation
                                                                   shall include the specific conditions
                                                                   addressed by the procedure, the
                                                                   rationale demonstrating medical
                                                                   necessity, any pertinent history and the
                                                                   actual treatment.
D0120 Periodic oral evaluation - established         No charge     1 per 6 months per Contract Dentist
      patient
D0140 Limited oral evaluation - problem              No charge     1 per Enrollee per Contract Dentist
      focused



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                                                Pediatric       Clarification/Limitations for Pediatric
Code Description                                Enrollee Pays   Enrollees
D0145 Oral evaluation for a patient under         No charge     1 per 6 months per Contract Dentist,
      three years of age and counseling with                    included with D0120, D0150
      primary caregiver
D0150 Comprehensive oral evaluation - new         No charge     Initial evaluation, 1 per Contract Dentist
      or established patient
D0160 Detailed and extensive oral evaluation      No charge     1 per Enrollee per Contract Dentist
      - problem focused, by report
D0170 Re-evaluation - limited, problem            No charge     6 per 3 months, not to exceed 12 per 12
      focused (established patient; not post-                   month period
      operative visit)
D0171 Re-evaluation - post-operative office       No charge
      visit
D0180 Comprehensive periodontal evaluation        No charge     Included with D0150
      - new or established patient
D0190 Screening of a patient                     Not Covered
D0191 Assessment of a patient                    Not Covered
D0210 Intraoral - complete series of              No charge     1 series per 36 months per Contract
      radiographic images                                       Dentist
D0220 Intraoral - periapical first radiographic   No charge     20 images (D0220, D0230) per 12
      image                                                     months per Contract Dentist
D0230 Intraoral - periapical each additional      No charge     20 images (D0220, D0230) per 12
      radiographic image                                        months per Contract Dentist
D0240 Intraoral - occlusal radiographic image     No charge     2 per 6 months per Contract Dentist
D0250 Extra-oral - 2D projection radiographic     No charge     1 per date of service
      image created using a stationary
      radiation source, and detector
D0251 Extra-oral posterior dental                 No charge     4 per date of service
      radiographic image
D0270 Bitewing - single radiographic image        No charge     1 of (D0270, D0273) per date of service
D0272 Bitewings - two radiographic images         No charge     1 of (D0272, D0273) per 6 months per
                                                                Contract Dentist
D0273 Bitewings - three radiographic images      No charge      1 of (D0270, D0273) per date of service; 1
                                                                of (D0272, D0273) per 6 months per
                                                                Contract Dentist
D0274 Bitewings - four radiographic images       No charge      1 of (D0274, D0277) per 6 months per
                                                                Contract Dentist
D0277 Vertical bitewings - 7 to 8                No charge      1 of (D0274, D0277) per 6 months per
      radiographic images                                       Contract Dentist
D0310 Sialography                                No charge
D0320 Temporomandibular joint arthrogram,        No charge      Limited to trauma or pathology; 3 per
      including injection                                       date of service
D0322 Tomographic survey                         No charge      2 per 12 months per Contract Dentist
D0330 Panoramic radiographic image               No charge      1 per 36 months per Contract Dentist
D0340 2D cephalometric radiographic image        No charge      2 per 12 months per Contract Dentist
      - acquisition, measurement and
      analysis
D0350 2D oral/facial photographic image          No charge      For the diagnosis and treatment of the
      obtained intra-orally or extra-orally                     specific clinical condition not apparent on
                                                                radiographs; 4 per date of service
D0351 3D photographic image                      No charge      1 per date of service
D0419 Assessment of salivary flow by            Not Covered
      measurement
D0431 Adjunctive pre-diagnostic test that       Not Covered
      aids in detection of mucosal
      abnormalities including premalignant
      and malignant lesions, not to include
      cytology or biopsy procedures

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                                                 Pediatric     Clarification/Limitations for Pediatric
Code Description                                 Enrollee Pays Enrollees
D0460 Pulp vitality tests                          No charge
D0470 Diagnostic casts                             No charge For the evaluation of orthodontic
                                                               Benefits only; 1 per Contract Dentist
                                                               unless special circumstances are
                                                               documented (such as trauma or
                                                               pathology which has affected the course
                                                               of orthodontic treatment)
D0502 Other oral pathology procedures, by          No charge Performed by an oral pathologist
      report
D0601 Caries risk assessment and                  No charge    1 of (D0601, D0602, D0603) per 36
      documentation, with a finding of low                     months per Contract Dentist or dental
      risk                                                     office
D0602 Caries risk assessment and                  No charge    1 of (D0601, D0602, D0603) per 36
      documentation, with a finding of                         months per Contract Dentist or dental
      moderate risk                                            office
D0603 Caries risk assessment and                  No charge    1 of (D0601, D0602, D0603) per 36
      documentation, with a finding of high                    months per Contract Dentist or dental
      risk                                                     office
D1000-D1999 II. PREVENTIVE
D1110 Prophylaxis - adult                         No charge    Cleaning; 1 of (D1110, D1120, D4346) per 6
                                                               months
D1120   Prophylaxis - child                       No charge    Cleaning; 1 of (D1110, D1120, D4346) per 6
                                                               months
D1206 Topical application of fluoride varnish     No charge    1 of (D1206, D1208) per 6 months
D1208 Topical application of fluoride -           No charge    1 of (D1206, D1208) per 6 months
      excluding varnish
D1310 Nutritional counseling for control of       No charge
      dental disease
D1320 Tobacco counseling for the control          No charge
      and prevention of oral disease
D1330 Oral hygiene instructions                   No charge
D1351 Sealant - per tooth                         No charge    1 per tooth per 36 months per Contract
                                                               Dentist; limited to permanent first and
                                                               second molars without restorations or
                                                               decay and third permanent molars that
                                                               occupy the second molar position
D1352   Preventive resin restoration in a         No charge    1 per tooth per 36 months per Contract
        moderate to high caries risk patient -                 Dentist; limited to permanent first and
        permanent tooth                                        second molars without restorations or
                                                               decay and third permanent molars that
                                                               occupy the second molar position
D1353   Sealant repair - per tooth                No charge    The original Contract Dentist or dental
                                                               office is responsible for any repair or
                                                               replacement during the 36-month period
D1354 Interim caries arresting medicament         No charge    1 per tooth per 6 months when Enrollee
      application - per tooth                                  has a caries risk assessment and
                                                               documentation, with a finding of "high
                                                               risk"
D1510 Space maintainer - fixed, unilateral -      No charge    1 per quadrant; posterior teeth
      per quadrant
D1516 Space maintainer - fixed - bilateral,       No charge    1 per arch; posterior teeth
      maxillary
D1517 Space maintainer - fixed - bilateral,       No charge    1 per arch; posterior teeth
      mandibular
D1520 Space maintainer - removable,               No charge    1 per quadrant; posterior teeth
      unilateral - per quadrant


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                                                 Pediatric       Clarification/Limitations for Pediatric
Code Description                                 Enrollee Pays Enrollees
D1526 Space maintainer - removable -               No charge 1 per arch, through age 17; posterior teeth
        bilateral, maxillary
D1527 Space maintainer - removable -               No charge 1 per arch, through age 17; posterior teeth
        bilateral, mandibular
D1551 Re-cement or re-bond bilateral space         No charge 1 per Contract Dentist, per quadrant or
        maintainer - maxillary                                   arch, through age 17
D1552 Re-cement or re-bond bilateral space         No charge 1 per Contract Dentist, per quadrant or
        maintainer - mandibular                                  arch, through age 17
D1553 Re-cement or re-bond unilateral space        No charge 1 per Contract Dentist, per quadrant or
        maintainer - per quadrant                                arch, through age 17
D1556 Removal of fixed unilateral space            No charge Included in case by Contract Dentist or
        maintainer - per quadrant                                dental office who placed appliance
D1557 Removal of fixed bilateral space             No charge Included in case by Contract Dentist or
        maintainer - maxillary                                   dental office who placed appliance
D1558 Removal of fixed bilateral space             No charge Included in case by Contract Dentist or
        maintainer - mandibular                                  dental office who placed appliance
D1575 Distal shoe space maintainer - fixed,        No charge 1 per quadrant, age 8 and under;
        unilateral - per quadrant                                posterior teeth
D2000-D2999 III. RESTORATIVE
- Includes polishing, all adhesives and bonding agents, indirect pulp capping, bases, liners and acid etch
procedures.
- Replacement of crowns, inlays and onlays requires the existing restoration to be 5+ years (60+ months)
old.
D2140 Amalgam - one surface, primary or               $25        1 per 12 months per Contract Dentist for
        permanent                                                primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2150 Amalgam - two surfaces, primary or              $30        1 per 12 months per Contract Dentist for
        permanent                                                primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2160 Amalgam - three surfaces, primary or            $40        1 per 12 months per Contract Dentist for
        permanent                                                primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2161 Amalgam - four or more surfaces,                $45        1 per 12 months per Contract Dentist for
        primary or permanent                                     primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2330 Resin-based composite - one surface,            $30        1 per 12 months per Contract Dentist for
        anterior                                                 primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2331 Resin-based composite - two surfaces,           $45        1 per 12 months per Contract Dentist for
        anterior                                                 primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2332 Resin-based composite - three                   $55        1 per 12 months per Contract Dentist for
        surfaces, anterior                                       primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2335 Resin-based composite - four or more            $60        1 per 12 months per Contract Dentist for
        surfaces or involving incisal angle                      primary teeth; 1 per 36 months per
        (anterior)                                               Contract Dentist for permanent teeth
D2390 Resin-based composite crown,                    $50        1 per 12 months per Contract Dentist for
        anterior                                                 primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2391 Resin-based composite - one surface,            $30        1 per 12 months per Contract Dentist for
        posterior                                                primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth
D2392 Resin-based composite - two surfaces,           $40        1 per 12 months per Contract Dentist for
        posterior                                                primary teeth; 1 per 36 months per
                                                                 Contract Dentist for permanent teeth


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                                               Pediatric     Clarification/Limitations for Pediatric
Code Description                               Enrollee Pays Enrollees
D2393 Resin-based composite - three                 $50      1 per 12 months per Contract Dentist for
      surfaces, posterior                                    primary teeth; 1 per 36 months per
                                                             Contract Dentist for permanent teeth
D2394   Resin-based composite - four or more        $70      1 per 12 months per Contract Dentist for
        surfaces, posterior                                  primary teeth; 1 per 36 months per
                                                             Contract Dentist for permanent teeth
D2542   Onlay - metallic - two surfaces         Not Covered
D2543   Onlay - metallic - three surfaces       Not Covered
D2544   Onlay - metallic - four or more         Not Covered
        surfaces
D2642   Onlay - porcelain/ceramic - two         Not Covered
        surfaces
D2643   Onlay - porcelain/ceramic - three       Not Covered
        surfaces
D2644   Onlay - porcelain/ceramic - four or     Not Covered
        more surfaces
D2662   Onlay - resin-based composite - two     Not Covered
        surfaces
D2663   Onlay - resin-based composite - three Not Covered
        surfaces
D2664   Onlay - resin-based composite - four    Not Covered
        or more surfaces
D2710   Crown - resin-based composite               $140     1 per 60 months, permanent teeth; age 13
        (indirect)                                           through 18
D2712   Crown - 3/4 resin-based composite           $190     1 per 60 months, permanent teeth; age 13
        (indirect)                                           through 18
D2720   Crown - resin with high noble metal     Not Covered
D2721   Crown - resin with predominantly base      $300      1 per 60 months, permanent teeth; age 13
        metal                                                through 18
D2722   Crown - resin with noble metal          Not Covered
D2740   Crown - porcelain/ceramic                  $300      1 per 60 months, permanent teeth; age 13
                                                             through 18
D2750   Crown - porcelain fused to high noble Not Covered
        metal
D2751   Crown - porcelain fused to                 $300      1 per 60 months, permanent teeth; age 13
        predominantly base metal                             through 18
D2752   Crown - porcelain fused to noble        Not Covered
        metal
D2753   Crown - porcelain fused to titanium     Not Covered
        and titanium alloys
D2780   Crown - 3/4 cast high noble metal       Not Covered
D2781   Crown - 3/4 cast predominantly base        $300      1 per 60 months, permanent teeth; age 13
        metal                                                through 18
D2782   Crown - 3/4 cast noble metal            Not Covered
D2783   Crown - 3/4 porcelain/ceramic               $310     1 per 60 months, permanent teeth; age 13
                                                             through 18
D2790   Crown - full cast high noble metal      Not Covered
D2791   Crown - full cast predominantly base       $300      1 per 60 months, permanent teeth; age 13
        metal                                                through 18
D2792   Crown - full cast noble metal           Not Covered
D2794   Crown - titanium and titanium alloys    Not Covered
D2910   Re-cement or re-bond inlay, onlay,          $25      1 per 12 months per Contract Dentist
        veneer or partial coverage restoration
D2915   Re-cement or re-bond indirectly             $25
        fabricated or prefabricated post and
        core


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                                                  Pediatric     Clarification/Limitations for Pediatric
Code Description                                  Enrollee Pays Enrollees
D2920 Re-cement or re-bond crown                       $25      Recementation during the 12 months
                                                                after initial placement is included; no
                                                                additional charge to the Enrollee or plan
                                                                is permitted. The listed fee applies for
                                                                service provided by a Contract Dentist
                                                                other than the original treating Contract
                                                                Dentist/dental office.
D2921   Reattachment of tooth fragment,                $45      1 per 12 months
        incisal edge or cusp
D2929   Prefabricated porcelain/ceramic                  $95     1 per 12 months
        crown - primary tooth
D2930   Prefabricated stainless steel crown -            $65     1 per 12 months
        primary tooth
D2931   Prefabricated stainless steel crown -            $75     1 per 36 months
        permanent tooth
D2932   Prefabricated resin crown                        $75     1 per 12 months for primary teeth; 1 per
                                                                 36 months for permanent teeth
D2933 Prefabricated stainless steel crown                $80     1 per 12 months for primary teeth; 1 per
      with resin window                                          36 months for permanent teeth
D2940 Protective restoration                             $25     1 per 6 months per Contract Dentist
D2941 Interim therapeutic restoration -                  $30     1 per tooth per 6 months per Contract
      primary dentition                                          Dentist
D2949 Restorative foundation for an indirect             $45
      restoration
D2950 Core buildup, including any pins when              $20
      required
D2951 Pin retention - per tooth, in addition to          $25     1 per tooth regardless of the number of
      restoration                                                pins placed; permanent teeth
D2952 Post and core in addition to crown,              $100      Base metal post; 1 per tooth; a Benefit
      indirectly fabricated                                      only in conjunction with covered crowns
                                                                 on root canal treated permanent teeth
D2953 Each additional indirectly fabricated              $30     Performed in conjunction with D2952
      post - same tooth
D2954 Prefabricated post and core in                     $90     1 per tooth; a Benefit only in conjunction
      addition to crown                                          with covered crowns on root canal
                                                                 treated permanent teeth
D2955 Post removal                                       $60     Included in case fee by Contract Dentist
                                                                 or dental office who performed
                                                                 endodontic and restorative procedures.
                                                                 The listed fee applies for service provided
                                                                 by a Contract Dentist other than the
                                                                 original treating Contract Dentist/dental
                                                                 office.
D2957 Each additional prefabricated post -               $35     Performed in conjunction with D2954
      same tooth
D2971 Additional procedures to construct                 $35     Included in the fee for laboratory
      new crown under existing partial                           processed crowns. The listed fee applies
      denture framework                                          for service provided by a Contract
                                                                 Dentist other than the original treating
                                                                 Dentist/dental office.
D2980 Crown repair necessitated by                       $50     Repair during the 12 months following
      restorative material failure                               initial placement or previous repair is
                                                                 included, no additional charge to the
                                                                 Enrollee or plan is permitted by the
                                                                 original treating Contract Dentist/dental
                                                                 office.


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                                              Pediatric     Clarification/Limitations for Pediatric
Code Description                              Enrollee Pays Enrollees
D2999 Unspecified restorative procedure, by        $40      Shall be used: for a procedure which is
      report                                                not adequately described by a CDT code;
                                                            or for a procedure that has a CDT code
                                                            that is not a Benefit but the patient has
                                                            an exceptional medical condition to
                                                            justify the medical necessity.
                                                            Documentation shall include the specific
                                                            conditions addressed by the procedure,
                                                            the rationale demonstrating medical
                                                            necessity, any pertinent history and the
                                                            actual treatment.
D3000-D3999 IV. ENDODONTICS
D3110 Pulp cap - direct (excluding final           $20
      restoration)
D3120 Pulp cap - indirect (excluding final         $25
      restoration)
D3220 Therapeutic pulpotomy (excluding             $40       1 per primary tooth
      final restoration) - removal of pulp
      coronal to the dentinocemental
      junction and application of
      medicament
D3221 Pulpal debridement, primary and              $40       1 per tooth
      permanent teeth
D3222 Partial pulpotomy for apexogenesis -         $60       1 per permanent tooth
      permanent tooth with incomplete root
      development
D3230 Pulpal therapy (resorbable filling) -        $55       1 per tooth
      anterior, primary tooth (excluding final
      restoration)
D3240 Pulpal therapy (resorbable filling) -        $55       1 per tooth
      posterior, primary tooth (excluding
      final restoration)
D3310 Endodontic therapy, anterior tooth           $195      Root canal
      (excluding final restoration)
D3320 Endodontic therapy, premolar tooth          $235       Root canal
      (excluding final restoration)
D3330 Endodontic therapy, molar tooth             $300       Root canal
      (excluding final restoration)
D3331 Treatment of root canal obstruction;         $50
      non-surgical access
D3332 Incomplete endodontic therapy;           Not Covered
      inoperable, unrestorable or fractured
      tooth
D3333 Internal root repair of perforation          $80
      defects
D3346 Retreatment of previous root canal          $240       Retreatment during the 12 months
      therapy - anterior                                     following initial treatment is included at
                                                             no charge to the Enrollee or plan. The
                                                             listed fee applies for service provided by
                                                             a Contract Dentist other than the original
                                                             treating Contract Dentist/dental office.
D3347 Retreatment of previous root canal           $295      Retreatment during the 12 months
      therapy - premolar                                     following initial treatment is included at
                                                             no charge to the Enrollee or plan. The
                                                             listed fee applies for service provided by
                                                             a Contract Dentist other than the original
                                                             treating Contract Dentist/dental office.

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                                                   Pediatric     Clarification/Limitations for Pediatric
Code Description                                   Enrollee Pays Enrollees
D3348 Retreatment of previous root canal               $365      Retreatment during the 12 months
      therapy - molar                                            following initial treatment is included at
                                                                 no charge to the Enrollee or plan. The
                                                                 listed fee applies for service provided by
                                                                 a Contract Dentist other than the original
                                                                 treating Contract Dentist/dental office.
D3351 Apexification/recalcification - initial           $85      1 per permanent tooth
      visit (apical closure / calcific repair of
      perforations, root resorption, etc.)
D3352 Apexification/recalcification - interim             $45     1 per permanent tooth
      medication replacement
D3353 Apexification/recalcification - final        Not Covered
      visit (includes completed root canal
      therapy - apical closure/calcific repair
      of perforations, root resorption, etc.)
D3410 Apicoectomy - anterior                            $240      1 per 24 months by the same Contract
                                                                  Dentist or dental office; permanent teeth
                                                                  only
D3421 Apicoectomy - premolar (first root)               $250      1 per 24 months by the same Contract
                                                                  Dentist or dental office; permanent teeth
                                                                  only
D3425 Apicoectomy - molar (first root)                  $275      1 per 24 months by the same Contract
                                                                  Dentist or dental office; permanent teeth
                                                                  only
D3426 Apicoectomy (each additional root)                  $110    1 per 24 months by the same Contract
                                                                  Dentist or dental office; permanent teeth
                                                                  only; a benefit for 3rd molar if it occupies
                                                                  the 1st or 2nd molar position or is an
                                                                  abutment for an existing fixed partial
                                                                  denture or removable partial denture
                                                                  with cast clasps or rests.
D3427 Periradicular surgery without                     $160      1 per 24 months by the same Contract
      apicoectomy                                                 Dentist or dental office
D3430 Retrograde filling - per root                    $90
D3450 Root amputation - per root                   Not Covered
D3910 Surgical procedure for isolation of              $30
      tooth with rubber dam
D3920 Hemisection (including any root              Not Covered
      removal), not including root canal
      therapy
D3950 Canal preparation and fitting of             Not Covered
      preformed dowel or post
D3999 Unspecified endodontic procedure, by              $100      Shall be used: for a procedure which is
      report                                                      not adequately described by a CDT code;
                                                                  or for a procedure that has a CDT code
                                                                  that is not a Benefit but the patient has
                                                                  an exceptional medical condition to
                                                                  justify the medical necessity.
                                                                  Documentation shall include the specific
                                                                  conditions addressed by the procedure,
                                                                  the rationale demonstrating medical
                                                                  necessity, any pertinent history and the
                                                                  actual treatment.




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                                                 Pediatric     Clarification/Limitations for Pediatric
Code Description                                 Enrollee Pays Enrollees
D4000-D4999 V. PERIODONTICS
- Includes pre-operative and post-operative evaluations and treatment under a local anesthetic.
D4210 Gingivectomy or gingivoplasty - four            $150     1 per quadrant per 36 months, age 13+
         or more contiguous teeth or tooth
         bounded spaces per quadrant
D4211 Gingivectomy or gingivoplasty - one             $50      1 per quadrant per 36 months, age 13+
         to three contiguous teeth or tooth
         bounded spaces per quadrant
D4240 Gingival flap procedure, including root Not Covered
         planing - four or more contiguous
         teeth or tooth bounded spaces per
         quadrant
D4241 Gingival flap procedure, including root Not Covered
         planing - one to three contiguous
         teeth or tooth bounded spaces per
         quadrant
D4249 Clinical crown lengthening - hard               $165
         tissue
D4260 Osseous surgery (including elevation           $265      1 per quadrant per 36 months, age 13+
         of a full thickness flap and closure) -
         four or more contiguous teeth or
         tooth bounded spaces per quadrant
D4261 Osseous surgery (including elevation            $140     1 per quadrant per 36 months, age 13+
         of a full thickness flap and closure) -
         one to three contiguous teeth or tooth
         bounded spaces per quadrant
D4263 Bone replacement graft – retained           Not Covered
         natural tooth – first site in quadrant
D4264 Bone replacement graft – retained           Not Covered
         natural tooth – each additional site in
         quadrant
D4265 Biologic materials to aid in soft and           $80
         osseous tissue regeneration
D4266 Guided tissue regeneration -                Not Covered
         resorbable barrier, per site
D4267 Guided tissue regeneration -                Not Covered
         nonresorbable barrier, per site
         (includes membrane removal)
D4270 Pedicle soft tissue graft procedure         Not Covered
D4273 Autogenous connective tissue graft         Not Covered
         procedure (including donor and
         recipient surgical sites) first tooth,
         implant, or edentulous tooth position
         in graft
D4275 Non-autogenous connective tissue           Not Covered
         graft procedure (including recipient
         site and donor material) – first tooth,
         implant or edentulous tooth position
         in same graft site
D4283 Autogenous connective tissue graft         Not Covered
         procedure (including donor and
         recipient surgical sites) – each
         additional contiguous tooth, implant
         or edentulous tooth position in same
         graft site



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                                              Pediatric         Clarification/Limitations for Pediatric
Code Description                              Enrollee Pays     Enrollees
D4285 Non-autogenous connective tissue        Not Covered
      graft procedure (including recipient
      surgical site and donor material) –
      each additional contiguous tooth,
      implant or edentulous tooth position
      in same graft site
D4341 Periodontal scaling and root planing -       $55          1 per quadrant per 24 months; age 13+
      four or more teeth per quadrant
D4342 Periodontal scaling and root planing -       $30          1 per quadrant per 24 months; age 13+
      one to three teeth per quadrant
D4346 Scaling in presence of generalized           $40          Cleaning; 1 of (D1110, D1120, D4346) per 6
      moderate or severe gingival                               months
      inflammation - full mouth, after oral
      evaluation
D4355 Full mouth debridement to enable a           $40          1 treatment per 12 consecutive months
      comprehensive oral evaluation and
      diagnosis on a subsequent visit
D4381 Localized delivery of antimicrobial          $10
      agents via a controlled release vehicle
      into diseased crevicular tissue, per
      tooth
D4910 Periodontal maintenance                      $30          1 per 3 months; service must be within
                                                                the 24 months following the last scaling
                                                                and root planing
D4920 Unscheduled dressing change (by                   $15     1 per Contract Dentist; age 13+
      someone other than treating dentist or
      their staff)
D4999 Unspecified periodontal procedure, by            $350     Enrollees age 13+. Shall be used: for a
      report                                                    procedure which is not adequately
                                                                described by a CDT code; or for a
                                                                procedure that has a CDT code that is
                                                                not a Benefit but the patient has an
                                                                exceptional medical condition to justify
                                                                the medical necessity. Documentation
                                                                shall include the specific conditions
                                                                addressed by the procedure, the
                                                                rationale demonstrating medical
                                                                necessity, any pertinent history and the
                                                                actual treatment.
D5000-D5899 VI. PROSTHODONTICS (removable)
- For all listed dentures and partial dentures, Copayment includes after delivery adjustments and tissue
conditioning, if needed, for the first six months after placement. The Enrollee must continue to be
eligible, and the service must be provided at the Contract Dentist's facility where the denture was
originally delivered.
- Rebases, relines and tissue conditioning are limited to 1 per denture during any 12 consecutive months.
- Replacement of a denture or a partial denture requires the existing denture to be 5+ years (60+
months) old.
D5110 Complete denture - maxillary                      $300      1 per 60 months
D5120 Complete denture - mandibular                     $300      1 per 60 months
D5130 Immediate denture - maxillary                     $300      1 per lifetime; subsequent complete
                                                                  dentures (D5110, D5120) are not a Benefit
                                                                  within 60 months.
D5140 Immediate denture - mandibular                    $300      1 per lifetime; subsequent complete
                                                                  dentures (D5110, D5120) are not a Benefit
                                                                  within 60 months.



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                                                    Pediatric     Clarification/Limitations for Pediatric
Code    Description                                 Enrollee Pays Enrollees
D5211   Maxillary partial denture - resin base          $300      1 per 60 months
        (including, retentive/clasping
        materials, rests, and teeth)
D5212   Mandibular partial denture - resin base           $300     1 per 60 months
        (including, retentive/clasping
        materials, rests, and teeth)
D5213   Maxillary partial denture - cast metal            $335     1 per 60 months
        framework with resin denture bases
        (including retentive/clasping
        materials, rests and teeth)
D5214   Mandibular partial denture - cast metal           $335     1 per 60 months
        framework with resin denture bases
        (including retentive/clasping
        materials, rests and teeth)
D5221   Immediate maxillary partial denture -             $275     1 per 60 months
        resin base (including
        retentive/clasping materials, rests and
        teeth)
D5222   Immediate mandibular partial denture              $275     1 per 60 months
        - resin base (including
        retentive/clasping materials, rests and
        teeth)
D5223   immediate maxillary partial denture -             $330     1 per 60 months
        cast metal framework with resin
        denture bases (including
        retentive/clasping materials, rests and
        teeth)
D5224   Immediate mandibular partial denture              $330     1 per 60 months
        - cast metal framework with resin
        denture bases (including
        retentive/clasping materials, rests and
        teeth)
D5225   Maxillary partial denture - flexible base   Not Covered
        (including any clasps, rests and teeth)
D5226   Mandibular partial denture - flexible       Not Covered
        base (including any clasps, rests and
        teeth)
D5282   Removable unilateral partial denture –      Not Covered
        one piece cast metal (including clasps
        and teeth), maxillary
D5283   Removable unilateral partial denture –      Not Covered
        one piece cast metal (including
        clasps and teeth), mandibular
D5284   Removable unilateral partial denture –      Not Covered
        one piece flexible base (including
        clasps and teeth), per quadrant
D5286   Removable unilateral partial denture –      Not Covered
        one piece resin (including clasps and
        teeth), per quadrant
D5410   Adjust complete denture - maxillary                $20     1 per day of service per Contract Dentist;
                                                                   up to 2 per 12 months per Contract
                                                                   Dentist after the initial 6 months
D5411   Adjust complete denture - mandibular               $20     1 per day of service per Contract Dentist;
                                                                   up to 2 per 12 months per Contract
                                                                   Dentist after the initial 6 months



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                                              Pediatric     Clarification/Limitations for Pediatric
Code Description                              Enrollee Pays Enrollees
D5421 Adjust partial denture - maxillary           $20      1 per day of service per Contract Dentist;
                                                            up to 2 per 12 months per Contract
                                                            Dentist after the initial 6 months
D5422 Adjust partial denture - mandibular          $20      1 per day of service per Contract Dentist;
                                                            up to 2 per 12 months per Contract
                                                            Dentist after the initial 6 months
D5511 Repair broken complete denture base,         $40      1 per day of service per Contract Dentist;
      mandibular                                            up to 2 per arch per 12 months per
                                                            Contract Dentist after the initial 6 months
D5512 Repair broken complete denture base,         $40      1 per day of service per Contract Dentist;
      maxillary                                             up to 2 per arch per 12 months per
                                                            Contract Dentist after the initial 6 months
D5520 Replace missing or broken teeth -            $40      Up to 4 per arch per date of service after
      complete denture (each tooth)                         the initial 6 months; up to 2 per arch per
                                                            12 months per Contract Dentist
D5611 Repair resin partial denture base,           $40      1 per arch, per day of service per
      mandibular                                            Contract Dentist; up to 2 per arch per 12
                                                            months per Contract Dentist after the
                                                            initial 6 months
D5612 Repair resin partial denture base,           $40      1 per arch, per day of service per
      maxillary                                             Contract Dentist; up to 2 per arch per 12
                                                            months per Contract Dentist after the
                                                            initial 6 months
D5621 Repair cast partial framework,               $40      1 per arch, per day of service per
      mandibular                                            Contract Dentist; up to 2 per arch per 12
                                                            months per Contract Dentist after the
                                                            initial 6 months
D5622 Repair cast partial framework,               $40      1 per arch, per day of service per
      maxillary                                             Contract Dentist; up to 2 per arch per 12
                                                            months per Contract Dentist after the
                                                            initial 6 months
D5630 Repair or replace broken retentive           $50      3 per date of service after the initial 6
      clasping materials - per tooth                        months; 2 per arch per 12 months per
                                                            Contract Dentist
D5640 Replace broken teeth - per tooth             $35      4 per arch per date of service after the
                                                            initial 6 months; 2 per arch per 12 months
                                                            per Contract Dentist
D5650 Add tooth to existing partial denture        $35      Up to 3 per date of service per Contract
                                                            Dentist; 1 per tooth after the initial 6
                                                            months
D5660 Add clasp to existing partial denture -      $60      3 per date of service after the initial 6
      per tooth                                             months; 2 per arch per 12 months per
                                                            Contract Dentist
D5670 Replace all teeth and acrylic on cast    Not Covered
      metal framework (maxillary)
D5671 Replace all teeth and acrylic on cast    Not Covered
      metal framework (mandibular)
D5710 Rebase complete maxillary denture        Not Covered
D5711 Rebase complete mandibular denture Not Covered
D5720 Rebase maxillary partial denture         Not Covered
D5721 Rebase mandibular partial denture        Not Covered
D5730 Reline complete maxillary denture            $60      Included for the first 6 months after
      (chairside)                                           placement by the Contract Dentist or
                                                            dental office where the appliance was
                                                            originally delivered; 1 per 12 month period
                                                            after the initial 6 months


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                                                 Pediatric     Clarification/Limitations for Pediatric
Code    Description                              Enrollee Pays Enrollees
D5731   Reline complete mandibular denture            $60      1 per 12 month period after the initial 6
        (chairside)                                            months
D5740   Reline maxillary partial denture              $60      1 per 12 month period after the initial 6
        (chairside)                                            months
D5741   Reline mandibular partial denture             $60      1 per 12 month period after the initial 6
        (chairside)                                            months
D5750   Reline complete maxillary denture             $90      1 per 12 month period after the initial 6
        (laboratory)                                           months
D5751   Reline complete mandibular denture            $90      1 per 12 month period after the initial 6
        (laboratory)                                           months
D5760   Reline maxillary partial denture              $80      1 per 12 month period after the initial 6
        (laboratory)                                           months
D5761   Reline mandibular partial denture             $80      1 per 12 month period after the initial 6
        (laboratory)                                           months
D5850   Tissue conditioning, maxillary                $30      2 per prosthesis per 36 months after the
                                                               initial 6 months
D5851 Tissue conditioning, mandibular                 $30      2 per prosthesis per 36 months after the
                                                               initial 6 months
D5862 Precision attachment, by report                 $90      Included in the fee for prosthetic and
                                                               restorative procedures by the Contract
                                                               Dentist or dental office where the service
                                                               was originally delivered. The listed fee
                                                               applies for service provided by a dentist
                                                               other than the original treating Contract
                                                               Dentist or dental office.
D5863 Overdenture - complete maxillary               $300      1 per 60 months
D5864 Overdenture - partial maxillary                $300      1 per 60 months
D5865 Overdenture - complete mandibular              $300      1 per 60 months
D5866 Overdenture - partial mandibular               $300      1 per 60 months
D5876 Add metal substructure to acrylic full      Not Covered
      denture (per arch)
D5899 Unspecified removable prosthodontic               $350     Shall be used: for a procedure which is
      procedure, by report                                       not adequately described by a CDT code;
                                                                 or for a procedure that has a CDT code
                                                                 that is not a Benefit but the Enrollee has
                                                                 an exceptional medical condition to
                                                                 justify the medical necessity.
                                                                 Documentation shall include the specific
                                                                 conditions addressed by the procedure,
                                                                 the rationale demonstrating medical
                                                                 necessity, any pertinent history and the
                                                                 actual treatment.
D5900-D5999 VII. MAXILLOFACIAL PROSTHETICS
- All maxillofacial prosthetic procedures require prior Authorization.
D5911 Facial moulage (sectional)                       $285
D5912 Facial moulage (complete)                        $350
D5913 Nasal prosthesis                                 $350
D5914 Auricular prosthesis                             $350
D5915 Orbital prosthesis                               $350
D5916 Ocular prosthesis                                $350
D5919 Facial prosthesis                                $350
D5922 Nasal septal prosthesis                          $350
D5923 Ocular prosthesis, interim                       $350
D5924 Cranial prosthesis                               $350
D5925 Facial augmentation implant                      $200
        prosthesis

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                                                Pediatric     Clarification/Limitations for Pediatric
Code    Description                             Enrollee Pays Enrollees
D5926   Nasal prosthesis, replacement               $200
D5927   Auricular prosthesis, replacement           $200
D5928   Orbital prosthesis, replacement             $200
D5929   Facial prosthesis, replacement              $200
D5931   Obturator prosthesis, surgical              $350
D5932   Obturator prosthesis, definitive            $350
D5933   Obturator prosthesis, modification          $150      2 per 12 months
D5934   Mandibular resection prosthesis with        $350
        guide flange
D5935   Mandibular resection prosthesis               $350
        without guide flange
D5936   Obturator prosthesis, interim                 $350
D5937   Trismus appliance (not for TMD                 $85
        treatment)
D5951   Feeding aid                                   $135
D5952   Speech aid prosthesis, pediatric              $350
D5953   Speech aid prosthesis, adult                  $350
D5954   Palatal augmentation prosthesis               $135
D5955   Palatal lift prosthesis, definitive           $350
D5958   Palatal lift prosthesis, interim              $350
D5959   Palatal lift prosthesis, modification         $145     2 per 12 months
D5960   Speech aid prosthesis, modification           $145     2 per 12 months
D5982   Surgical stent                                $70
D5983   Radiation carrier                              $55
D5984   Radiation shield                               $85
D5985   Radiation cone locator                        $135
D5986   Fluoride gel carrier                           $35
D5987   Commissure splint                              $85
D5988   Surgical splint                                $95
D5991   Vesiculobullous disease medicament            $70
        carrier
D5999   Unspecified maxillofacial prosthesis,         $350     Shall be used: for a procedure which is
        by report                                              not adequately described by a CDT code;
                                                               or for a procedure that has a CDT code
                                                               that is not a Benefit but the Enrollee has
                                                               an exceptional medical condition to
                                                               justify the medical necessity.
                                                               Documentation shall include the specific
                                                               conditions addressed by the procedure,
                                                               the rationale demonstrating medical
                                                               necessity, any pertinent history and the
                                                               actual treatment.
D6000-D6199 VIII. IMPLANT SERVICES
- A Benefit only under exceptional medical conditions. Prior Authorization is required. Refer also to
Schedule B.
D6010 Surgical placement of implant body:           $350        A Benefit only under exceptional medical
        endosteal implant                                       conditions
D6011 Second stage implant surgery                  $350        A Benefit only under exceptional medical
                                                                conditions
D6013 Surgical placement of mini implant            $350        A Benefit only under exceptional medical
                                                                conditions
D6040 Surgical placement: eposteal implant          $350        A Benefit only under exceptional medical
                                                                conditions
D6050 Surgical placement: transosteal               $350        A Benefit only under exceptional medical
        implant                                                 conditions
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                                               Pediatric     Clarification/Limitations for Pediatric
Code Description                               Enrollee Pays Enrollees
D6052 Semi-precision attachment abutment           $350      A Benefit only under exceptional medical
                                                             conditions
D6055   Connecting bar - implant supported or      $350      A Benefit only under exceptional medical
        abutment supported                                   conditions
D6056   Prefabricated abutment - includes          $135      A Benefit only under exceptional medical
        modification and placement                           conditions
D6057   Custom fabricated abutment -               $180      A Benefit only under exceptional medical
        includes placement                                   conditions
D6058   Abutment supported                         $320      A Benefit only under exceptional medical
        porcelain/ceramic crown                              conditions
D6059   Abutment supported porcelain fused         $315      A Benefit only under exceptional medical
        to metal crown (high noble metal)                    conditions
D6060   Abutment supported porcelain fused         $295      A Benefit only under exceptional medical
        to metal crown (predominantly base                   conditions
        metal)
D6061   Abutment supported porcelain fused         $300      A Benefit only under exceptional medical
        to metal crown (noble metal)                         conditions
D6062   Abutment supported cast metal crown        $315      A Benefit only under exceptional medical
        (high noble metal)                                   conditions
D6063   Abutment supported cast metal crown        $300      A Benefit only under exceptional medical
        (predominantly base metal)                           conditions
D6064   Abutment supported cast metal crown        $315      A Benefit only under exceptional medical
        (noble metal)                                        conditions
D6065   Implant supported porcelain/ceramic        $340      A Benefit only under exceptional medical
        crown                                                conditions
D6066   Implant supported crown - porcelain        $335      A Benefit only under exceptional medical
        fused to high noble alloys                           conditions
D6067   Implant supported crown - high noble       $340      A Benefit only under exceptional medical
        alloys                                               conditions
D6068   Abutment supported retainer for            $320      A Benefit only under exceptional medical
        porcelain/ceramic FPD                                conditions
D6069   Abutment supported retainer for            $315      A Benefit only under exceptional medical
        porcelain fused to metal FPD (high                   conditions
        noble metal)
D6070   Abutment supported retainer for            $290      A Benefit only under exceptional medical
        porcelain fused to metal FPD                         conditions
        (predominantly base metal)
D6071   Abutment supported retainer for            $300      A Benefit only under exceptional medical
        porcelain fused to metal FPD (noble                  conditions
        metal)
D6072   Abutment supported retainer for cast       $315      A Benefit only under exceptional medical
        metal FPD (high noble metal)                         conditions
D6073   Abutment supported retainer for cast       $290      A Benefit only under exceptional medical
        metal FPD (predominantly base metal)                 conditions
D6074   Abutment supported retainer for cast       $320      A Benefit only under exceptional medical
        metal FPD (noble metal)                              conditions
D6075   Implant supported retainer for ceramic     $335      A Benefit only under exceptional medical
        FPD                                                  conditions
D6076   Implant supported retainer for FPD -       $330      A Benefit only under exceptional medical
        porcelain fused to high noble alloys                 conditions
D6077   Implant supported retainer for metal       $350      A Benefit only under exceptional medical
        FPD - high noble alloys                              conditions
D6080   Implant maintenance procedures              $30      A Benefit only under exceptional medical
        when prostheses are removed and                      conditions
        reinserted, including cleansing of
        prostheses and abutments


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                                              Pediatric       Clarification/Limitations for Pediatric
Code Description                              Enrollee Pays   Enrollees
D6081 Scaling and debridement in the               $30        A Benefit only under exceptional medical
      presence of inflammation or mucositis                   conditions
      of a single implant, including cleaning
      of the implant surfaces, without flap
      entry and closure
D6082 Implant supported crown - porcelain         $335        A Benefit only under exceptional medical
      fused to predominantly base alloys                      conditions.
D6083 Implant supported crown - porcelain         $335        A Benefit only under exceptional medical
      fused to noble alloys                                   conditions
D6084 Implant supported crown - porcelain         $335        A Benefit only under exceptional medical
      fused to titanium and titanium alloys                   conditions
D6085 Provisional implant crown                   $300        A Benefit only under exceptional medical
                                                              conditions
D6086 Implant supported crown -                     $340      A Benefit only under exceptional medical
      predominantly base alloys                               conditions
D6087 Implant supported crown - noble               $340      A Benefit only under exceptional medical
      alloys                                                  conditions
D6088 Implant supported crown - titanium            $340      A Benefit only under exceptional medical
      and titanium alloys                                     conditions
D6090 Repair implant supported prosthesis,           $65      A Benefit only under exceptional medical
      by report                                               conditions
D6091 Replacement of semi-precision or               $40      A Benefit only under exceptional medical
      precision attachment (male or female                    conditions
      component) of implant/abutment
      supported prosthesis, per attachment
D6092 Re-cement or re-bond                           $25      A Benefit only under exceptional medical
      implant/abutment supported crown                        conditions
D6093 Re-cement or re-bond                           $35      A Benefit only under exceptional medical
      implant/abutment supported fixed                        conditions
      partial denture
D6094 Abutment supported crown - titanium           $295      A Benefit only under exceptional medical
      and titanium alloys                                     conditions
D6095 Repair implant abutment, by report             $65      A Benefit only under exceptional medical
                                                              conditions
D6096 Remove broken implant retaining                $60      A Benefit only under exceptional medical
      screw                                                   conditions
D6097 Abutment supported crown -                     $315     A Benefit only under exceptional medical
      porcelain fused to titanium and                         conditions
      titanium alloys
D6098 Implant supported retainer - porcelain        $330      A Benefit only under exceptional medical
      fused to predominantly base alloys                      conditions
D6099 Implant supported retainer for FPD -          $330      A Benefit only under exceptional medical
      porcelain fused to noble alloys                         conditions
D6100 Implant removal, by report                     $110     A Benefit only under exceptional medical
                                                              conditions
D6110   Implant /abutment supported                 $350      A Benefit only under exceptional medical
        removable denture for edentulous                      conditions
        arch - maxillary
D6111   Implant /abutment supported                 $350      A Benefit only under exceptional medical
        removable denture for edentulous                      conditions
        arch - mandibular
D6112   Implant /abutment supported                 $350      A Benefit only under exceptional medical
        removable denture for partially                       conditions
        edentulous arch - maxillary
D6113   Implant /abutment supported                 $350      A Benefit only under exceptional medical
        removable denture for partially                       conditions
        edentulous arch - mandibular

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                                                Pediatric       Clarification/Limitations for Pediatric
Code    Description                             Enrollee Pays   Enrollees
D6114   Implant /abutment supported fixed           $350        A Benefit only under exceptional medical
        denture for edentulous arch -                           conditions
        maxillary
D6115   Implant /abutment supported fixed           $350        A Benefit only under exceptional medical
        denture for edentulous arch -                           conditions
        mandibular
D6116   Implant /abutment supported fixed           $350        A Benefit only under exceptional medical
        denture for partially edentulous arch -                 conditions
        maxillary
D6117   Implant /abutment supported fixed           $350        A Benefit only under exceptional medical
        denture for partially edentulous arch -                 conditions
        mandibular
D6120   Implant supported retainer - porcelain      $330        A Benefit only under exceptional medical
        fused to titanium and titanium alloys                   conditions
D6121   Implant supported retainer for metal        $350        A Benefit only under exceptional medical
        FPD - predominantly base alloys                         conditions
D6122   Implant supported retainer for metal        $350        A Benefit only under exceptional medical
        FPD - noble alloys                                      conditions
D6123   Implant supported retainer for metal        $350        A Benefit only under exceptional medical
        FPD - titanium and titanium alloys                      conditions
D6190   Radiographic/surgical implant index,         $75        A Benefit only under exceptional medical
        by report                                               conditions
D6194   Abutment supported retainer crown           $265        A Benefit only under exceptional medical
        for FPD - titanium and titanium alloys                  conditions
D6195   Abutment supported retainer -               $315        A Benefit only under exceptional medical
        porcelain fused to titanium and                         conditions
        titanium alloys
D6199   Unspecified implant procedure, by           $350        Implant services are a Benefit only when
        report                                                  exceptional medical conditions are
                                                                documented and shall be reviewed for
                                                                medical necessity. Written
                                                                documentation shall describe the specific
                                                                conditions addressed by the procedure,
                                                                the rationale demonstrating the medical
                                                                necessity, any pertinent history and the
                                                                proposed treatment.
D6200-D6999 IX. PROSTHODONTICS, fixed
- Each retainer and each pontic constitutes a unit in a fixed partial denture (bridge).
- Replacement of a crown, pontic, inlay, onlay or stress breaker requires the existing bridge to be 5+
years (60+ months) old.
D6205 Pontic - indirect resin based               Not Covered
        composite
D6210 Pontic - cast high noble metal              Not Covered
D6211 Pontic - cast predominantly base                $300        1 per 60 months; age 13+
        metal
D6212 Pontic - cast noble metal                   Not Covered
D6214 Pontic - titanium and titanium alloys       Not Covered
D6240 Pontic - porcelain fused to high noble Not Covered
        metal
D6241 Pontic - porcelain fused to                     $300        1 per 60 months; age 13+
        predominantly base metal
D6242 Pontic - porcelain fused to noble metal Not Covered
D6243 Pontic - porcelain fused to titanium        Not Covered
        and titanium alloys
D6245 Pontic - porcelain/ceramic                      $300        1 per 60 months; age 13+
D6250 Pontic - resin with high noble metal        Not Covered


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                                                Pediatric     Clarification/Limitations for Pediatric
Code Description                                Enrollee Pays Enrollees
D6251 Pontic - resin with predominantly base        $300      1 per 60 months; age 13+
      metal
D6252 Pontic - resin with noble metal           Not Covered
D6545 Retainer - cast metal for resin bonded    Not Covered
      fixed prosthesis
D6548 Retainer - porcelain/ceramic for resin    Not Covered
      bonded fixed prosthesis
D6549 Retainer – for resin bonded fixed         Not Covered
      prosthesis
D6608 Retainer onlay - porcelain/ceramic,       Not Covered
      two surfaces
D6609 Retainer onlay - porcelain/ceramic,       Not Covered
      three or more surfaces
D6610 Retainer onlay - cast high noble metal,   Not Covered
      two surfaces
D6611 Retainer onlay - cast high noble metal,   Not Covered
      three or more surfaces
D6612 Retainer onlay - cast predominantly       Not Covered
      base metal, two surfaces
D6613 Retainer onlay - cast predominantly       Not Covered
      base metal, three or more surfaces
D6614 Retainer onlay - cast noble metal, two    Not Covered
      surfaces
D6615 Retainer onlay - cast noble metal,        Not Covered
      three or more surfaces
D6634 Retainer onlay - titanium                 Not Covered
D6710 Retainer crown - indirect resin based     Not Covered
      composite
D6720 Retainer crown - resin with high noble    Not Covered
      metal
D6721 Retainer crown - resin with                     $300     1 per 60 months; age 13+
      predominantly base metal
D6722 Retainer crown - resin with noble         Not Covered
      metal
D6740 Retainer crown - porcelain/ceramic           $300     1 per 60 months; age 13+
D6750 Retainer crown - porcelain fused to       Not Covered
      high noble metal
D6751 Retainer crown - porcelain fused to             $300     1 per 60 months; age 13+
      predominantly base metal
D6752 Retainer crown - porcelain fused to       Not Covered
      noble metal
D6753 Retainer crown - porcelain fused to       Not Covered
      titanium and titanium alloys
D6781 Retainer crown - 3/4 cast                       $300     1 per 60 months; age 13+
      predominantly base metal
D6782 Retainer crown - 3/4 cast noble metal     Not Covered
D6783 Retainer crown - 3/4                         $300     1 per 60 months; age 13+
      porcelain/ceramic
D6784 Retainer crown - 3/4 titanium and               $300     1 per 60 months; age 13+
      titanium alloys
D6791 Retainer crown - full cast                      $300     1 per 60 months; age 13+
      predominantly base metal
D6794 Retainer crown - titanium and titanium    Not Covered
      alloys




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                                               Pediatric     Clarification/Limitations for Pediatric
Code Description                               Enrollee Pays Enrollees
D6930 Re-cement or re-bond fixed partial            $40      Recementation during the 12 months
      denture                                                after initial placement is included; no
                                                             additional charge to the Enrollee or plan
                                                             is permitted. The listed fee applies for
                                                             service provided by a Contract Dentist
                                                             other than the original treating Contract
                                                             Dentist/dental office.
D6980 Fixed partial denture repair                  $95
      necessitated by restorative material
      failure
D6999 Unspecified fixed prosthodontic                $350      Shall be used: for a procedure which is
      procedure, by report                                     not adequately described by a CDT code;
                                                               or for a procedure that has a CDT code
                                                               that is not a Benefit but the patient has
                                                               an exceptional medical condition to
                                                               justify the medical necessity.
                                                               Documentation shall include the specific
                                                               conditions addressed by the procedure,
                                                               the rationale demonstrating medical
                                                               necessity, any pertinent history and the
                                                               actual treatment. Not a Benefit within 12
                                                               months of initial placement of a fixed
                                                               partial denture by the same Contract
                                                               Dentist/office.
D7000-D7999 X. ORAL AND MAXILLOFACIAL SURGERY
- Prior Authorization required for procedures performed by a Contract Specialist. Medical necessity must
be demonstrated for procedures D7340 - D7997. Refer also to Schedule B.
- Includes pre-operative and post-operative evaluations and treatment under a local anesthetic. Post-
operative services include exams, suture removal and treatment of complications.
D7111    Extraction, coronal remnants - primary      $40
         tooth
D7140 Extraction, erupted tooth or exposed            $65
         root (elevation and/or forceps
         removal)
D7210 Extraction, erupted tooth requiring            $120
         removal of bone and/or sectioning of
         tooth, and including elevation of
         mucoperiosteal flap if indicated
D7220 Removal of impacted tooth - soft                $95
         tissue
D7230 Removal of impacted tooth - partially          $145
         bony
D7240 Removal of impacted tooth -                    $160
         completely bony
D7241 Removal of impacted tooth -                    $175
         completely bony, with unusual surgical
         complications
D7250 Removal of residual tooth roots                $80
         (cutting procedure)
D7260 Oroantral fistula closure                      $280
D7261 Primary closure of a sinus perforation         $285
D7270 Tooth reimplantation and/or                    $185      1 per arch regardless of number of teeth
         stabilization of accidentally evulsed or              involved; permanent anterior teeth
         displaced tooth
D7280 Exposure of an unerupted tooth                 $220
D7283 Placement of device to facilitate               $85      For active orthodontic treatment only
         eruption of impacted tooth
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                                                  Pediatric     Clarification/Limitations for Pediatric
Code Description                                  Enrollee Pays Enrollees
D7285 Incisional biopsy of oral tissue-hard            $180     1 per arch per date of service; regardless
      (bone, tooth)                                             of number of areas involved
D7286 Incisional biopsy of oral tissue-soft            $110     3 per date of service
D7287 Exfoliative cytological sample               Not Covered
      collection
D7288 Brush biopsy - transepithelial sample       Not Covered
      collection
D7290 Surgical repositioning of teeth                    $185    1 per arch, for permanent teeth only;
                                                                 applies to active orthodontic treatment
D7291   Transseptal fiberotomy/supra crestal             $80     1 per arch; applies to active orthodontic
        fiberotomy, by report                                    treatment
D7310   Alveoloplasty in conjunction with                $85
        extractions - four or more teeth or
        tooth spaces, per quadrant
D7311   Alveoloplasty in conjunction with                $50
        extractions - one to three teeth or
        tooth spaces, per quadrant
D7320   Alveoloplasty not in conjunction with           $120
        extractions - four or more teeth or
        tooth spaces, per quadrant
D7321   Alveoloplasty not in conjunction with            $65
        extractions - one to three teeth or
        tooth spaces, per quadrant
D7340   Vestibuloplasty - ridge extension               $350     1 per arch per 60 months
        (secondary epithelialization)
D7350   Vestibuloplasty - ridge extension               $350     1 per arch
        (including soft tissue grafts, muscle
        reattachment, revision of soft tissue
        attachment and management of
        hypertrophied and hyperplastic tissue)
D7410   Excision of benign lesion up to 1.25 cm          $75
D7411   Excision of benign lesion greater than           $115
        1.25 cm
D7412   Excision of benign lesion, complicated           $175
D7413   Excision of malignant lesion up to 1.25          $95
        cm
D7414   Excision of malignant lesion greater            $120
        than 1.25 cm
D7415   Excision of malignant lesion,                   $255
        complicated
D7440   Excision of malignant tumor - lesion            $105
        diameter up to 1.25 cm
D7441   Excision of malignant tumor - lesion             $185
        diameter greater than 1.25 cm
D7450   Removal of benign odontogenic cyst              $180
        or tumor - lesion diameter up to 1.25
        cm
D7451   Removal of benign odontogenic cyst              $330
        or tumor - lesion diameter greater
        than 1.25 cm
D7460   Removal of benign nonodontogenic                 $155
        cyst or tumor - lesion diameter up to
        1.25 cm
D7461   Removal of benign nonodontogenic                $250
        cyst or tumor - lesion diameter greater
        than 1.25 cm


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                                              Pediatric       Clarification/Limitations for Pediatric
Code Description                              Enrollee Pays   Enrollees
D7465 Destruction of lesion(s) by physical or      $40
      chemical method, by report
D7471 Removal of lateral exostosis (maxilla       $140        1 per quadrant
      or mandible)
D7472 Removal of torus palatinus                  $145        1 per lifetime
D7473 Removal of torus mandibularis               $140        1 per quadrant
D7485 Reduction of osseous tuberosity             $105        1 per quadrant
D7490 Radical resection of maxilla or             $350
      mandible
D7510 Incision and drainage of abscess -           $70        1 per quadrant per date of service
      intraoral soft tissue
D7511 Incision and drainage of abscess -           $70        1 per quadrant per date of service
      intraoral soft tissue - complicated
      (includes drainage of multiple fascial
      spaces)
D7520 Incision and drainage of abscess -           $70
      extraoral soft tissue
D7521 Incision and drainage of abscess -           $80
      extraoral soft tissue - complicated
      (includes drainage of multiple fascial
      spaces)
D7530 Removal of foreign body from                 $45        1 per date of service
      mucosa, skin, or subcutaneous
      alveolar tissue
D7540 Removal of reaction producing foreign        $75        1 per date of service
      bodies, musculoskeletal system
D7550 Partial ostectomy/sequestrectomy for        $125        1 per quadrant per date of service
      removal of non-vital bone
D7560 Maxillary sinusotomy for removal of         $235
      tooth fragment or foreign body
D7610 Maxilla - open reduction (teeth             $140
      immobilized, if present)
D7620 Maxilla - closed reduction (teeth           $250
      immobilized, if present)
D7630 Mandible - open reduction (teeth            $350
      immobilized, if present)
D7640 Mandible - closed reduction (teeth          $350
      immobilized, if present)
D7650 Malar and/or zygomatic arch - open          $350
      reduction
D7660 Malar and/or zygomatic arch - closed        $350
      reduction
D7670 Alveolus - closed reduction, may            $170
      include stabilization of teeth
D7671 Alveolus - open reduction, may              $230
      include stabilization of teeth
D7680 Facial bones - complicated reduction        $350
      with fixation and multiple surgical
      approaches
D7710 Maxilla - open reduction                     $110
D7720 Maxilla - closed reduction                  $180
D7730 Mandible - open reduction                   $350
D7740 Mandible - closed reduction                 $290
D7750 Malar and/or zygomatic arch - open          $220
      reduction
D7760 Malar and/or zygomatic arch - closed        $350
      reduction
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                                              Pediatric     Clarification/Limitations for Pediatric
Code Description                              Enrollee Pays Enrollees
D7770 Alveolus - open reduction stabilization     $135
      of teeth
D7771 Alveolus, closed reduction                  $160
      stabilization of teeth
D7780 Facial bones - complicated reduction        $350
      with fixation and multiple approaches
D7810 Open reduction of dislocation               $350
D7820 Closed reduction of dislocation              $80
D7830 Manipulation under anesthesia                $85
D7840 Condylectomy                                $350
D7850 Surgical discectomy, with/without           $350
      implant
D7852 Disc repair                                 $350
D7854 Synovectomy                                 $350
D7856 Myotomy                                     $350
D7858 Joint reconstruction                        $350
D7860 Arthrotomy                                  $350
D7865 Arthroplasty                                $350
D7870 Arthrocentesis                               $90
D7871 Non-arthroscopic lysis and lavage           $150
D7872 Arthroscopy - diagnosis, with or            $350
      without biopsy
D7873 Arthroscopy: lavage and lysis of            $350
      adhesions
D7874 Arthroscopy: disc repositioning and         $350
      stabilization
D7875 Arthroscopy: synovectomy                    $350
D7876 Arthroscopy: discectomy                     $350
D7877 Arthroscopy: debridement                    $350
D7880 Occlusal orthotic device, by report         $120
D7881 Occlusal orthotic device adjustment          $30      1 per date of service per Contract Dentist;
                                                            2 per 12 months per Contract Dentist
D7899 Unspecified TMD therapy, by report          $350
D7910 Suture of recent small wounds up to 5        $35
      cm
D7911 Complicated suture - up to 5 cm              $55
D7912 Complicated suture - greater than 5         $130
      cm
D7920 Skin graft (identify defect covered,        $120
      location and type of graft)
D7922 Placement of intra-socket biological         $80
      dressing to aid in hemostasis or clot
      stabilization, per site
D7940 Osteoplasty - for orthognathic              $160
      deformities
D7941 Osteotomy - mandibular rami                 $350
D7943 Osteotomy - mandibular rami with            $350
      bone graft; includes obtaining the
      graft
D7944 Osteotomy - segmented or subapical          $275
D7945 Osteotomy - body of mandible                $350
D7946 LeFort I (maxilla - total)                  $350
D7947 LeFort I (maxilla - segmented)              $350



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                                                Pediatric       Clarification/Limitations for Pediatric
Code Description                                Enrollee Pays   Enrollees
D7948 LeFort II or LeFort III (osteoplasty of       $350
      facial bones for midface hypoplasia or
      retrusion) - without bone graft
D7949 LeFort II or LeFort III - with bone graft     $350
D7950 Osseous, osteoperiosteal, or cartilage        $190
      graft of the mandible or maxilla -
      autogenous or nonautogenous, by
      report
D7951 Sinus augmentation with bone or bone          $290
      substitutes via a lateral open approach
D7952 Sinus augmentation via a vertical             $175
      approach
D7955 Repair of maxillofacial soft and/or           $200
      hard tissue defect
D7960 Frenulectomy - also known as                  $120        1 per arch per date of service; a Benefit
      frenectomy or frenotomy - separate                        only when the permanent incisors and
      procedure not incidental to another                       cuspids have erupted
      procedure
D7963 Frenuloplasty                                 $120        1 per arch per date of service; a Benefit
                                                                only when the permanent incisors and
                                                                cuspids have erupted
D7970 Excision of hyperplastic tissue - per           $175      1 per arch per date of service
      arch
D7971 Excision of pericoronal gingiva                $80
D7972 Surgical reduction of fibrous                  $100       1 per quadrant per date of service
      tuberosity
D7979 Non-surgical sialolithotomy                    $155
D7980 Surgical sialolithotomy                        $155
D7981 Excision of salivary gland, by report          $120
D7982 Sialodochoplasty                               $215
D7983 Closure of salivary fistula                    $140
D7990 Emergency tracheotomy                          $350
D7991 Coronoidectomy                                 $345
D7995 Synthetic graft - mandible or facial           $150
      bones, by report
D7997 Appliance removal (not by dentist               $60       Removal of appliances related to surgical
      who placed appliance), includes                           procedures only; 1 per arch per date of
      removal of archbar                                        service; the listed fee applies for service
                                                                provided by a Contract Dentist other
                                                                than the original treating Contract
                                                                Dentist/dental office.
D7999 Unspecified oral surgery procedure,            $350       Shall be used: for a procedure which is
      by report                                                 not adequately described by a CDT code;
                                                                or for a procedure that has a CDT code
                                                                that is not a Benefit but the patient has
                                                                an exceptional medical condition to
                                                                justify the medical necessity.
                                                                Documentation shall include the specific
                                                                conditions addressed by the procedure,
                                                                the rationale demonstrating medical
                                                                necessity, any pertinent history and the
                                                                actual treatment.




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                                                  Pediatric       Clarification/Limitations for Pediatric
Code Description                                  Enrollee Pays Enrollees
D8000-D8999 XI. ORTHODONTICS - Medically Necessary for Pediatric Enrollees ONLY
- Orthodontic Services must meet medical necessity as determined by a Contract Dentist. Orthodontic
treatment is a Benefit only when medically necessary as evidenced by a severe handicapping
malocclusion and when a prior Authorization is obtained. Severe handicapping malocclusion is not a
cosmetic condition. Teeth must be severely misaligned causing functional problems that compromise
oral and/or general health.
- Pediatric Enrollee must continue to be eligible, Benefits for medically necessary orthodontics will be
provided in periodic payments to the Contract Dentist.
- Comprehensive orthodontic treatment procedure (D8080) includes all appliances, adjustments,
insertion, removal and post treatment stabilization (retention). The Enrollee must continue to be eligible
during active treatment. No additional charge to the Enrollee is permitted from the original treating
Contract Orthodontist or dental office who received the comprehensive case fee. A separate fee applies
for services provided by a Contract Orthodontist other than the original treating Contract Orthodontist
or dental office.
- Copayment for medically necessary orthodontics applies to course of treatment, not individual benefit
years within a multi-year course of treatment. This Copayment applies to the course of treatment as long
as the Pediatric Enrollee remains enrolled in this Plan.
- Refer to Schedule B for additional information on medically necessary orthodontics.
D8080 Comprehensive orthodontic treatment                         1 per Enrollee per phase of treatment
         of the adolescent dentition
D8210 Removable appliance therapy                                 1 per lifetime; age 6 through 12
D8220 Fixed appliance therapy                                     1 per lifetime; age 6 through 12
D8660 Pre-orthodontic treatment                                   1 per 3 months when performed by the
         examination to monitor growth and                        same Contract Dentist or dental office;
         development                                              up to 6 visits per lifetime
D8670 Periodic orthodontic treatment visit                        Included in comprehensive case fee
D8680 Orthodontic retention (removal of                           1 per arch for each authorized phase of
         appliances, construction and                             orthodontic treatment; included in
         placement of retainer(s))                                comprehensive case fee
D8681 Removable orthodontic retainer
         adjustment
D8696 Repair of orthodontic appliance -                           1 per appliance; included in
         maxillary                                                comprehensive case fee
D8697 Repair of orthodontic appliance -                           1 per appliance; included in
         mandibular                                               comprehensive case fee
D8698 Re-cement or re-bond fixed retainer -                       1 per Contract Dentist; included in
         maxillary                                     $350       comprehensive case fee
D8699 Re-cement or re-bond fixed retainer -                       1 per Contract Dentist; included in
         mandibular                                               comprehensive case fee
D8701 Repair of fixed retainer, includes                          1 per Contract Dentist; included in
         reattachment - maxillary                                 comprehensive case fee. The listed fee
                                                                  applies for services provided by an
                                                                  orthodontist other than the original
                                                                  treating orthodontist or dental office.
D8702 Repair of fixed retainer, includes                          1 per Contract Dentist; included in
         reattachment - mandibular                                comprehensive case fee. The listed fee
                                                                  applies for services provided by an
                                                                  orthodontist other than the original
                                                                  treating orthodontist or dental office.
D8703 Replacement of lost or broken retainer                      1 per arch; within 24 months following the
         - maxillary                                              date of service for orthodontic retention
                                                                  (D8680)
D8704 Replacement of lost or broken retainer                      1 per arch; within 24 months following the
         - mandibular                                             date of service for orthodontic retention
                                                                  (D8680)



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                                            Pediatric          Clarification/Limitations for Pediatric
Code Description                            Enrollee Pays      Enrollees
D8999 Unspecified orthodontic procedure, by                    Shall be used: for a procedure which is
      report                                                   not adequately described by a CDT code;
                                                               or for a procedure that has a CDT code
                                                               that is not a Benefit but the patient has
                                                               an exceptional medical condition to
                                                               justify the medical necessity.
                                                               Documentation shall include the specific
                                                               conditions addressed by the procedure,
                                                               the rationale demonstrating medical
                                                               necessity, any pertinent history and the
                                                               actual treatment.
D9000-D9999 XII. ADJUNCTIVE GENERAL SERVICES
D9110 Palliative (emergency) treatment of  $30                 1 per date of service per Contract Dentist;
      dental pain - minor procedure                            regardless of the number of teeth and/or
                                                               areas treated
D9120 Fixed partial denture sectioning                 $95
D9210 Local anesthesia not in conjunction              $10     1 per date of service per Contract Dentist;
      with operative or surgical procedures                    for use to perform a differential diagnosis
                                                               or as a therapeutic injection to eliminate
                                                               or control a disease or abnormal state
D9211 Regional block anesthesia                        $20
D9212 Trigeminal division block anesthesia             $60
D9215 Local anesthesia in conjunction with             $15
      operative or surgical procedures
D9222 Deep sedation/general anesthesia -               $45     Covered only when given by a Contract
      first 15 minutes                                         Dentist for covered oral surgery; 4 of
                                                               (D9222, D9223) per date of service
D9223 Deep sedation/general anesthesia -               $45     Covered only when given by a Contract
      each subsequent 15 minute increment                      Dentist for covered oral surgery; 4 of
                                                               (D9222, D9223) per date of service
D9230 Inhalation of nitrous oxide/analgesia,           $15     (Where available)
      anxiolysis
D9239 Intravenous moderate (conscious)                 $60     Covered only when given by a Contract
      sedation/analgesia - first 15 minutes                    Dentist for covered oral surgery; 4 of
                                                               (D9239, D9243) per date of service
D9243 Intravenous moderate (conscious)                 $60     Covered only when given by a Contract
      sedation/analgesia - each subsequent                     Dentist for covered oral surgery; 4 of
      15 minute increment                                      (D9239, D9243) per date of service
D9248 Non-intravenous conscious sedation               $65     Where available; 1 per date of service per
                                                               Contract Dentist
D9310 Consultation - diagnostic service                $50
      provided by dentist or physician other
      than requesting dentist or physician
D9311 Consultation with a medical health          No charge
      care professional
D9410 House/extended care facility call                $50     1 per Enrollee per date of service
D9420 Hospital or ambulatory surgical center           $135
      call
D9430 Office visit for observation (during             $20     1 per date of service per Contract Dentist
      regularly scheduled hours) - no other
      services performed
D9440 Office visit - after regularly scheduled         $45     1 per date of service per Contract Dentist
      hours
D9450 Case presentation, detailed and            Not Covered
      extensive treatment planning
D9610 Therapeutic parenteral drug, single              $30     4 of (D9610, D9612) injections per date of
      administration                                           service
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                                             Pediatric           Clarification/Limitations for Pediatric
Code Description                             Enrollee Pays       Enrollees
D9612 Therapeutic parenteral drugs, two or        $40            4 of (D9610, D9612) injections per date of
      more administrations, different                            service
      medications
D9910 Application of desensitizing                $20            1 per 12 months per Contract Dentist;
      medicament                                                 permanent teeth
D9930 Treatment of complications (post-           $35            1 per date of service per Contract Dentist
      surgical) - unusual circumstances, by                      within 30 days of an extraction
      report
D9942 Repair and/or reline of occlusal guard Not Covered
D9943 Occlusal guard adjustment               Not Covered
D9944 Occlusal guard – hard appliance, full   Not Covered
      arch
D9945 Occlusal guard – soft appliance, full   Not Covered
      arch
D9946 Occlusal guard – hard appliance,        Not Covered
      partial arch
D9950 Occlusion analysis - mounted case           $120           Prior Authorization is required; 1 per 12
                                                                 months for diagnosed TMJ dysfunction;
                                                                 permanent teeth; age 13+
D9951 Occlusal adjustment - limited                      $45     1 per 12 months for quadrant per Contract
                                                                 Dentist; age 13+
D9952 Occlusal adjustment - complete                   $210      1 per 12 months following occlusion
                                                                 analysis - mounted case (D9950) for
                                                                 diagnosed TMJ dysfunction; permanent
                                                                 teeth; age 13+
D9995 Teledentistry - synchronous; real-time      Not Covered
      encounter
D9996 Teledentistry - asynchronous;               Not Covered
      information stored and forwarded to
      dentist for subsequent review
D9997 Dental case management - patients            No charge
      with special health care needs
D9999 Unspecified adjunctive procedure, by         No charge     Shall be used: for a procedure which is
      report                                                     not adequately described by a CDT code;
                                                                 or for a procedure that has a CDT code
                                                                 that is not a Benefit but the patient has
                                                                 an exceptional medical condition to
                                                                 justify the medical necessity.
                                                                 Documentation shall include the specific
                                                                 conditions addressed by the procedure,
                                                                 the rationale demonstrating medical
                                                                 necessity, any pertinent history and the
                                                                 actual treatment.

Endnotes:
Unless clarified elsewhere in the Schedule A, base metal is the Benefit. If noble or high noble metal
(precious) is used for an implant/abutment supported crown or fixed bridge retainer, the Enrollee will be
charged the additional laboratory cost of the noble or high noble metal. If covered, an additional laboratory
charge also applies to a titanium crown.
If services for a listed procedure are performed by the assigned Contract Dentist, the Enrollee pays the
specified Copayment(s). Listed procedures which require a Dentist to provide Specialist Services, and are
referred by the assigned Contract Dentist, must be authorized by Delta Dental. The Enrollee pays the
Copayment(s) specified for such services.




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Optional or upgraded procedure(s) are defined as any alternative procedure(s) presented by the Contract
Dentist and formally agreed upon by financial consent that satisfies the same dental need as a covered
procedure. Enrollee may elect an Optional or upgraded procedure, subject to the limitations and exclusions
of this Plan. The applicable charge to the Enrollee is the difference between the Contract Dentist's regularly
charged fee (or contracted fee, when applicable) for the Optional or upgraded procedure and the covered
procedure, plus any applicable Copayment(s) for the covered procedure.


Additional Endnotes to Covered California’s 2021 Dental Standard Benefit Plan Designs
Pediatric Dental EHB Notes (only applicable to the pediatric portion of the Children's Dental Plan or
Family Dental Plan)
1.   In a plan with two or more children, cost sharing payments made by each individual child for in-network
     services contribute to the family in-network deductible, if applicable, as well as the family out-of-pocket
     maximum.
2. In a plan with two or more children, cost sharing payments made by each individual child for out-of-
   network covered services contribute to the family out-of-network deductible, if applicable, and do not
   accumulate to the family out-of-pocket maximum.
3. Administration of these plan designs must comply with requirements of the pediatric dental EHB
   benchmark plan, including coverage of services in circumstances of medical necessity as defined in the
   Early Periodic Screening, Diagnosis and Treatment (“EPSDT”) benefit.




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SCHEDULE B
Limitations and Exclusions of Benefits for Pediatric Enrollees (Under age 19)
DeltaCare® USA
Children’s Dental HMO
For Small Businesses

Limitations of Benefits for Pediatric Enrollees

 1.     The frequency of certain Benefits is limited. All frequency limitations are listed in Schedule A,
        Description of Benefits and Copayments. Additional requests, beyond the stated frequency
        limitations, for prophylaxis, fluoride and scaling procedures (D1110, D1120, D1206, D1208 and
        D4346) shall be considered for prior Authorization when documented medical necessity is
        justified due to a physical limitation and/or an oral condition that prevents daily oral hygiene.

 2.     A filling [D2140-D2161, D2330-D2335, D2391-D2394] is a Benefit for the removal of decay, for
        minor repairs of tooth structure or to replace a lost filling.

 3.     A crown [D2390 and covered codes only between D2710-D2791] is a Benefit when there is
        insufficient tooth structure to support a filling or to replace an existing crown that is non-
        functional or non-restorable and meets the five+ year (60+ months) limitation.

 4.     The replacement of an existing crown [D2390 and covered codes only between D2710-D2791],
        fixed partial denture (bridge) [covered codes only between D6211-D6245, D6251, D6721-D6791],
        or a removable full [D5110, D5120] or partial denture [covered codes only between D5211-D5214,
        D5221-D5224] is covered when:

        a. The existing restoration/bridge/denture is no longer functional and cannot be made
           functional by repair or adjustment, and
        b. Either of the following:
           - The existing non-functional restoration/bridge/denture was placed five or more years
               (60+ months) prior to its replacement, or
           - If an existing partial denture is less than five years old (60 months), but must be replaced
               by a new partial denture due to the loss of a natural tooth, which cannot be replaced by
               adding another tooth to the existing partial denture.

 5.     Coverage for the placement of a fixed partial denture (bridge) [covered codes only between
        D6211-D6245, D6251, D6721-D6791] or removable partial denture [covered codes only between
        D5211-D5214, D5221-D5224]:

        a. Fixed partial denture (bridge):
           - A fixed partial denture is a Benefit only when medical conditions or employment preclude
              the use of a removable partial denture.
           - The sole tooth to be replaced in the arch is an anterior tooth, and the abutment teeth are
              not periodontally involved, or
           - The new bridge would replace an existing, non-functional bridge utilizing identical
              abutments and pontics, or
           - Each abutment tooth to be crowned meets Limitation #3.
        b. Removable partial denture:
           - Cast metal (D5213, D5214, D5223, D5224), one or more teeth are missing in an arch.
           - Resin based (D5211, D5212, D5221, D5222), one or more teeth are missing in an arch and
             abutment teeth have extensive periodontal disease.

6.      Excision of the frenum [D7960] is a Benefit only when it results in limited mobility of the tongue,
        it causes a large diastema between teeth or it interferes with a prosthetic appliance.

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7.      A new removable partial [covered codes only between D5211-D5214, D5221-D5224] or complete
        [D5110-D5140] or covered immediate denture [D5130, D5140] includes after delivery adjustments
        and tissue conditioning at no additional cost for the first six months after placement if the
        Enrollee continues to be eligible and the service is provided at the Contract Dentist's facility
        where the denture was originally delivered.

 8.     Immediate dentures [D5130, D5140, D5221–D5224] are covered when one or more of the
        following conditions are present:
        a. Extensive or rampant caries are exhibited in the radiographs, or
        b. Severe periodontal involvement indicated, or
        c. Numerous teeth are missing resulting in diminished chewing ability adversely affecting the
           Enrollee's health.

 9.     Maxillofacial prosthetic services [covered codes only between D5911-D5999] for the anatomic
        and functional reconstruction of those regions of the maxilla and mandible and associated
        structures that are missing or defective because of surgical intervention, trauma (other than
        simple or compound fractures), pathology, developmental or congenital malformations.

 10.    All maxillofacial prosthetic procedures [covered codes only between D5911-D5999] require prior
        authorization for medically necessary procedures.

 11.    Implant services [covered codes only between D6010-D6199] are a Benefit only under
        exceptional medical conditions. Exceptional medical conditions include, but are not limited to:

        a. Cancer of the oral cavity requiring ablative surgery and/or radiation leading to destruction
           of alveolar bone, where the remaining osseous structures are unable to support conventional
           dental prosthesis.
        b. Severe atrophy of the mandible and/or maxilla that cannot be corrected with vestibular
           extension procedures [D7340, D7350] or osseous augmentation procedures [D7950], and
           the Enrollee is unable to function with conventional prosthesis.
        c. Skeletal deformities that preclude the use of conventional prosthesis (such as arthrogryposis,
           ectodermal dysplasia, partial anaodontia and cleidocranial dysplasia).

 12.    Temporomandibular joint dysfunction ("TMJ") procedure codes [covered codes only between
        D7810-D7880] are limited to differential diagnosis and symptomatic care and require prior
        Authorization.

 13.    Certain listed procedures performed by a Contract Specialist may be considered to be primary
        under the Enrollee's medical coverage. Dental Benefits will be coordinated accordingly.

 14.    Deep sedation/general anesthesia [D9222, D9223] or intravenous conscious sedation/analgesia
        [D9239, D9243] for covered procedures requires documentation to justify the medical necessity
        based on a mental or physical limitation or contraindication to a local anesthesia agent.


Exclusions of Benefits for Pediatric Enrollees

1.     Any procedure that is not specifically listed under Schedule A, Description of Benefits and
       Copayments, except as required by state or federal law.

2.     All related fees for admission, use, or stays in a hospital, out-patient surgery center, extended
       care facility, or other similar care facility.



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3.      Lost or theft of full or partial dentures [covered codes only between D5110-D5140, D5211-D5214,
        D5221-D5224], space maintainers [D1510–D1575], crowns [D2390 and covered codes only
        between D2710–D2791], fixed partial dentures (bridges) [covered codes only between D6211-
        D6245, D6251, D6721-D6791] or other appliances.

4.      Dental expenses incurred in connection with any dental procedures started after termination of
        eligibility for coverage.

5.      Dental expenses incurred in connection with any dental procedure before the Enrollee's eligibility
        in this Plan. Examples include: teeth prepared for crowns, partials and dentures, root canals in
        progress.

6.      Congenital malformations (e.g. congenitally missing teeth, supernumerary teeth, enamel and
        dentinal dysplasias, etc.) unless included in Schedule A.

7.      Dispensing of drugs not normally supplied in a dental facility unless included in Schedule A.

8.      Any procedure that in the professional opinion of the Contract Dentist, Contract Specialist, or
        dental plan consultant:

        a.   has poor prognosis for a successful result and reasonable longevity based on the condition
             of the tooth or teeth and/or surrounding structures, or
        b.   is inconsistent with generally accepted standards for dentistry.

9.      Dental services received from any dental facility other than the assigned Contract Dentist
        including the services of a dental specialist, unless expressly authorized or as cited under the
        “Emergency Dental Services” and “Urgent Dental Services” sections of the EOC. To obtain written
        Authorization, the Enrollee should call Delta Dental’s Customer Care at 800-589-4618.

10.     Consultations [D9310, D9311] or other diagnostic services [covered codes only between D0120–
        D0999], for non-covered Benefits.

11.     Single tooth implants [covered codes only between D6000–D6199].
12.     Restorations [covered codes only between D2330-D2335, D2391-D2394, D2710-D2791, D6211-
        D6245, D6251, D6721-D6791] placed solely due to cosmetics, abrasions, attrition, erosion,
        restoring or altering vertical dimension, congenital or developmental malformation of teeth.

13.     Preventive [covered codes only between D1110-D1575], endodontic [covered codes only between
        D3110-D3999] or restorative [covered codes only between D2140-D2999] procedures are not a
        Benefit for teeth to be retained for overdentures.

14.     Partial dentures [covered codes only between D5211-5214, D5221-D5224] are not a Benefit to
        replace missing 3rd molars, unless the 3rd molar occupies the 1st or 2nd molar position or is an
        abutment for a partial denture with cast clasps or rests.

15.     Appliances or restorations necessary to increase vertical dimension, replace or stabilize tooth
        structure loss by attrition, realignment of teeth [covered codes only between D8000-D8999],
        periodontal splinting [D4320-D4321], gnathologic recordings, equilibration [D9952] or treatment
        of disturbances of the TMJ [covered codes only between D0310-D0322, D7810-D7899], unless
        included in Schedule A.

16.   An initial treatment plan which involves the removal and reestablishment of the occlusal contacts
      of 10 or more teeth with crowns, onlays, fixed partial dentures (bridges), or any combination of
      these, [covered codes only between D2710-D2791, D6211-D6245, D6721-D6791] is considered to
      be full mouth reconstruction under this Plan. Crowns, onlays and fixed partial dentures associated
      with such a treatment plan are not covered Benefits. This exclusion does not eliminate the Benefit
      for other covered services.
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17.    Porcelain denture teeth, or fixed partial dentures (overlays, implants, and appliances associated
       therewith) [D6940, D6950] and personalization and characterization of complete and partial
       dentures.

18.    Extraction of teeth [D7111, D7140, D7210, D7220-D7240, D7241, D7250], when teeth are
       asymptomatic/ non-pathologic (no signs or symptoms of pathology or infection), including but
       not limited to the removal of third molars.

19.    TMJ dysfunction treatment modalities that involve prosthodontia [D5110-D5224, D6211-D6245,
       D6251, D6721-D6791], orthodontia [covered codes only between D8000–D8999], and full or
       partial occlusal rehabilitation or TMJ dysfunction procedures [covered codes only between
       D0310-D0322, D7810-D7899] solely for the treatment of bruxism.

20.    Vestibuloplasty/ridge extension procedures [D7340, D7350] performed on the same date of
       service as extractions [D7111-D7250] on the same arch.

21.    Deep sedation/general anesthesia [D9222, D9223] for covered procedures on the same date of
       service as analgesia, anxiolysis, inhalation of nitrous oxide or for intravenous conscious
       sedation/analgesia [D9239, D9243].

22.    Intravenous conscious sedation/analgesia [D9239, D9243] for covered procedures on the same
       date of service as analgesia, anxiolysis, inhalation of nitrous oxide or for deep sedation/general
       anesthesia [D9222, D9223].

23.    Inhalation of nitrous oxide [D9230] when administered with other covered sedation procedures.

24.    Cosmetic dental care [exclude covered codes in this list if done for purely cosmetic reasons:
       D2330-D2394, D2710–D2751, D2940, D6211-D6245, D6251, D6721-D6791, D8000-D8999].

25.    Orthodontic treatment [covered codes only between D8000–D8999] must be provided by a
       licensed dentist. Self-administered orthodontics are not covered.

26.    The removal of fixed orthodontic appliances [D8680] for reasons other than completion of
       treatment is not a covered benefit.


Medically Necessary Orthodontics for Pediatric Enrollees

  1.   Coverage for comprehensive orthodontic treatment [D8080] requires acceptable documentation
       of a handicapping malocclusion as evidence by a minimum score of 26 points on the Handicapping
       Labio-Lingual Deviation (“HLD”) Index California Modification Score Sheet Form and pre-
       treatment diagnostic casts [D0470]. Comprehensive orthodontic treatment [D8080]:
       a. is limited to Enrollees who are between 13 through 18 years of age with a permanent dentition
          without a cleft palate or craniofacial anomaly; but
       b. may start at birth for patients with a cleft palate or craniofacial anomaly.

 2.    Removable appliance therapy [D8210] or fixed appliance therapy [D8220] is limited to Enrollee
       between 6 to 12 years of age, once in a lifetime, to treat thumb sucking and/or tongue thrust.

 3.    The Benefit for a pre-orthodontic treatment examination [D8660] includes needed oral/facial
       photographic images [D0350, D0351]. Neither the Enrollee nor the plan may be charged for
       D0350 or D0351 in conjunction with a pre-orthodontic treatment examination.

 4.  The number of covered periodic orthodontic treatment [D8670] visits and length of covered
     active orthodontics is limited to a maximum of up to:
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      a. Handicapping malocclusion - Eight (8) quarterly visits;
      b. Cleft palate or craniofacial anomaly - Six (6) quarterly visits for treatment of primary dentition;
      c. Cleft palate or craniofacial anomaly - Eight (8) quarterly visits for treatment of mixed dentition;
         or
      d. Cleft palate or craniofacial anomaly - Ten (10) quarterly visits for treatment of permanent
         dentition.
      e. Facial growth management – Four (4) quarterly visits for treatment of primary dentition;
      f. Facial growth management – Five (5) quarterly visits for treatment of mixed dentition;
      g. Facial growth management - Eight (8) quarterly visits for treatment permanent dentition.

 5.   Orthodontic retention [D8680] is a separate Benefit after the completion of covered
      comprehensive orthodontic treatment [D8080] which:
      a. Includes removal of appliances and the construction and place of retainer(s) [D8680]; and
      b. Is limited to Enrollees under age 19 and to one per arch after the completion of each phase of
         active treatment for retention of permanent dentition unless treatment was for a cleft palate
         or a craniofacial anomaly.
      An adjustment of an orthodontic retainer is included in the fee for the retainer for the first six
      months after delivery.

 6.   Copayment is payable to the Contract Orthodontist who initiates banding in a course of prior
      authorized orthodontic treatment [covered codes only between D8000–D8999]. If, after banding
      has been initiated, the Enrollee changes to another Contract Orthodontist to continue orthodontic
      treatment, the Enrollee:
      a. will not be entitled to a refund of any amounts previously paid, and
      b. will be responsible for all payments, up to and including the full Copayment, that are required
         by the new Contract Orthodontist for completion of the orthodontic treatment.

 7.   Should an Enrollee’s coverage be canceled or terminated for any reason, and at the time of
      cancellation or termination be receiving any orthodontic treatment [covered codes only between
      D8000–D8999], the Enrollee will be solely responsible for payment for treatment provided after
      cancellation or termination, except:

      If an Enrollee is receiving ongoing orthodontic treatment at the time of termination, Delta Dental
      will continue to provide orthodontic Benefits for:
      a. For 60 days if the Enrollee is making monthly payments to the Contract Orthodontist; or
      b. Until the later of 60 days after the date coverage terminates or the end of the quarter in
         progress, if the Enrollee is making quarterly payments to the Contract Orthodontist.
      At the end of 60 days (or at the end of the Quarter), the Enrollee’s obligation shall be based on
      the Contract Orthodontist’s submitted fee at the beginning of treatment. The Contract
      Orthodontist will prorate the amount over the number of months to completion of the treatment.
      The Enrollee will make payments based on an arrangement with the Contract Orthodontist.




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SCHEDULE C
Information Concerning Benefits Under The DeltaCare USA Plan
THIS MATRIX IS INTENDED TO BE USED TO COMPARE COVERAGE BENEFITS AND IS A SUMMARY
ONLY. THE EOC SHOULD BE CONSULTED FOR A DETAILED DESCRIPTION OF PLAN BENEFITS AND
LIMITATIONS.
                                            SUMMARY CHART
 (A) Deductibles                     None
 (B) Lifetime Maximums               None
 (C) Out-of-Pocket Maximum                  Individual             $350.00
                                            Multiple Child         $700.00
 (D) Professional Services           An Enrollee may be required to pay a Copayment amount for each
                                     procedure as shown in Schedule A, Description of Benefits and
                                     Copayments for Pediatric Enrollees, subject to the limitations and
                                     exclusions of this plan.

                                     Copayments range by category of service.
                                     Examples are as follows:
                                       Diagnostic Services            No Charge
                                       Preventive Services            No Charge
                                       Restorative Services           $ 20.00          - $ 310.00
                                       Endodontic Services            $ 20.00          - $ 365.00
                                       Periodontic Services           $ 10.00          - $ 350.00
                                       Prosthodontic Services,
                                           Removable                  $ 20.00          - $ 350.00
                                       Maxillofacial Prosthetics      $ 35.00          - $ 350.00
                                       Implant Services
                                         (medically necessary only)   $ 25.00          - $ 350.00
                                       Prosthodontic Services, Fixed  $ 40.00          - $ 300.00
                                       Oral and Maxillofacial Surgery $ 30.00          - $ 350.00
                                       Orthodontic Services
                                        (medically necessary only)    $ 350.00         -   $ 350.00
                                         Adjunctive General Services  No Charge        -   $ 210.00

                                     NOTE: Limitations apply to the frequency with which some services
                                     may be obtained. For example: cleanings are limited to one in a 6-
                                     month period.
 (E) Outpatient Services             Not Covered
 (F) Hospitalization Services        Not Covered
 (G) Emergency Dental Coverage       Benefits for Emergency Dental Services by an Out-of-Network Dentist
                                     are limited to necessary care to stabilize the Enrollee’s condition
                                     and/or provide palliative relief.
 (H) Ambulance Services              Not Covered
 (I) Prescription Drug Services      Not Covered
 (J) Durable Medical Equipment       Not Covered
 (K) Mental Health Services          Not Covered
 (L) Chemical Dependency             Not Covered
     Services
 (M) Home Health Services            Not Covered
 (N) Other                           Not Covered

Each individual procedure within each category listed above, and that is covered under the plan, has a specific
Copayment that is shown in Schedule A, Description of Benefits and Copayments for Pediatric Enrollees in
the EOC.




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                                    HIPAA Notice of Privacy Practices
CONFIDENTIALITY OF YOUR HEALTH INFORMATION

THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE USED AND
DISCLOSED AND HOW YOU CAN GET ACCESS TO THIS INFORMATION. PLEASE REVIEW IT
CAREFULLY.Our privacy practices reflect applicable federal law as well as state law. The privacy
laws of a particular state or other federal laws might impose a stricter privacy standard. If these
stricter laws apply and are not superseded by federal preemption rules under the Employee
Retirement Income Security Act of 1974, the Plans will comply with the stricter law.


We are required by law to maintain the privacy and security of your Protected Health Information
(PHI). Protected Health Information (PHI) is information that is maintained or transmitted by
Delta Dental, which may identify you and that relates to your past, present, or future physical or
mental health condition and related health care services.

Some examples of PHI include your name, address, telephone and/or fax number, electronic mail
address, social security number or other identification number, date of birth, date of treatment,
treatment records, x-rays, enrollment and claims records. We receive, use and disclose your PHI
to administer your benefit plan as permitted or required by law.

We must follow the federal and state privacy requirements described that apply to our
administration of your benefits and provide you with a copy of this notice. We reserve the right
to change our privacy practices when needed and we promptly post the updated notice within
60 days on our website.

PERMITTED USES AND DISCLOSURES OF YOUR PHI
Uses and disclosures of your PHI for treatment, payment or health care operations
Your explicit authorization is not required to disclose information for purposes of health care
treatment, payment of claims, billing of premiums, and other health care operations. Examples
of this include processing your claims, collecting enrollment information and premiums,
reviewing the quality of health care you receive, providing customer service, resolving your
grievances, and sharing payment information with other insurers, determine your eligibility for
services, billing you or your plan sponsor.

If your benefit plan is sponsored by your employer or another party, we may provide PHI to your
employer or plan sponsor to administer your benefits. As permitted by law, we may disclose PHI
to third-party affiliates that perform services on our behalf to administer your benefits. Any third-



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    party affiliates performing services on our behalf has signed a contract agreeing to protect the
    confidentiality of your PHI and has implemented privacy policies and procedures that comply
    with applicable federal and state law.

    Permitted uses and disclosures without an authorization
    We are permitted to disclose your PHI upon your request, or to your authorized personal
    representative (with certain exceptions), when required by the U. S. Secretary of Health and
    Human Services to investigate or determine our compliance with the law, and when otherwise
    required by law. We may disclose your PHI without your prior authorization in response to the
    following:

•      Court order;
•      Order of a board, commission, or administrative agency for purposes of adjudication pursuant
       to its lawful authority;
•      Subpoena in a civil action;
•      Investigative subpoena of a government board, commission, or agency;
•      Subpoena in an arbitration;
•      Law enforcement search warrant; or
•      Coroner's request during investigations.

    Some other examples include: to notify or assist in notifying a family member, another person,
    or a personal representative of your condition; to assist in disaster relief efforts; to report victims
    of abuse, neglect or domestic violence to appropriate authorities; for organ donation purposes;
    to avert a serious threat to health or safety; for specialized government functions such as military
    and veterans activities; for workers' compensation purposes; and, with certain restrictions, we
    are permitted to use and/or disclose your PHI for underwriting, provided it does not contain
    genetic information. Information can also be de-identified or summarized so it cannot be traced
    to you and, in selected instances, for research purposes with the proper oversight.

    Disclosures made with your authorization
    We will not use or disclose your PHI without your prior written authorization unless permitted
    by law. If you grant an authorization, you can later revoke that authorization, in writing, to stop
    the future use and disclosure.

    YOUR RIGHTS REGARDING PHI
    You have the right to request an inspection of and obtain a copy of your PHI.
    You may access your PHI by providing a written request. Your request must include (1) your
    name, address, telephone number and identification number, and (2) the PHI you are requesting.
    We will provide a copy or a summary of your health and claims records, usually within 30 days of
    your request. We may charge a fee for the costs of copying, mailing, or other supplies associated
    with your request. We will only maintain PHI that we obtain or utilize in providing your health
    care benefits. We may not maintain some PHI, such as treatment records or x-rays after we have




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completed our review of that information. You may need to contact your health care provider to
obtain PHI that we do not possess.

You may not inspect or copy PHI compiled in reasonable anticipation of, or use in, a civil, criminal,
or administrative action or proceeding, or PHI that is otherwise not subject to disclosure under
federal or state law. In some circumstances, you may have a right to have this decision reviewed.

You have the right to request a restriction of your PHI.
You have the right to ask that we limit how we use and disclose your PHI; however, you may not
restrict our legal or permitted uses and disclosures of PHI. While we will consider your request,
we are not legally required to accept those requests that we cannot reasonably implement or
comply with during an emergency.

You have the right to correct or update your PHI.
You may request to make an amendment of PHI we maintain about you. In certain cases, we may
deny your request for an amendment. If we deny your request for amendment, you have the
right to file a statement of disagreement with us and we may prepare a rebuttal to your
statement and will provide you with a copy of any such rebuttal within 60 days. If your PHI was
sent to us by another, we may refer you to that person to amend your PHI. For example, we may
refer you to your provider to amend your treatment chart or to your employer, if applicable, to
amend your enrollment information.

You have rights related to the use and disclosure of your PHI for marketing.
We will obtain your authorization for the use or disclosure of PHI for marketing when required
by law. You have the right to withdraw your authorization at any time. We do not use your PHI
for fundraising purposes.

You have the right to request or receive confidential communications from us by alternative
means or at a different address.
You have the right to request that we communicate with you in a certain way or at a certain
location. For example, you can ask that we only contact you at work or by mail. We will not ask
you the reason for your request. We will accommodate all reasonable requests. Your request
must specify how or where you wish to be contacted.

You have the right to receive an accounting of certain disclosures we have made, if any, of your
PHI.
You have a right to an accounting of disclosures with some restrictions. This right does not apply
to disclosures for purposes of treatment, payment, or health care operations or for information
we disclosed after we received a valid authorization from you. Additionally, we do not need to
account for disclosures made to you, to family members or friends involved in your care, or for
notification purposes. We do not need to account for disclosures made for national security
reasons, certain law enforcement purposes or disclosures made as part of a limited data set.
We’ll provide one accounting a year for free but will charge a reasonable, cost-based fee if you
ask for another accounting within 12 months.


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You have the right to a paper copy of this notice.
A copy of this notice is posted on our website. You may also request that a copy be sent to you.

You have the right to be notified following a breach of unsecured protected health information.

We will notify you in writing, at the address on file, if we discover we compromised the privacy
of your PHI.

You have the right to choose someone to act for you.
If you have given someone medical power of attorney or if someone is your legal guardian, that
person can exercise your rights and make choices about your health information. We will make
sure the person has this authority and can act for you before we take any action.

COMPLAINTS
You may file a complaint with us and/or with the U. S. Secretary of Health and Human Services if
you believe we have violated your privacy rights. We will not retaliate against you for filing a
complaint.

CONTACTS
You may contact us by calling 800-589-4618, or you may write to the address listed below for
further information about the complaint process or any of the information contained in this
notice.

DeltaCare USA
PO Box 1870
Alpharetta, GA 30023


This notice is effective on and after March 1, 2019.




DeltaCare USA is underwritten in these states by these entities: AL — Alpha Dental of Alabama, Inc.; AZ — Alpha
Dental of Arizona, Inc.; CA — Delta Dental of California; AR, CO, IA, MA, ME, MI, MN, NC, ND, NE, NH, OK, OR, RI, SC,
SD, VA, VT, WA, WI, WY — Dentegra Insurance Company; AK, CT, DC, DE, FL, GA, KS, LA, MS, MT, TN, WV — Delta
Dental Insurance Company; HI, ID, IL, IN, KY, MD, MO, NJ, OH, TX — Alpha Dental Programs, Inc.; NV — Alpha Dental
of Nevada, Inc.; UT — Alpha Dental of Utah, Inc.; NM — Alpha Dental of New Mexico, Inc.; NY — Delta Dental of
New York, Inc.; PA — Delta Dental of Pennsylvania. Delta Dental Insurance Company acts as the DeltaCare USA
administrator in all these states. These companies are financially responsible for their own products.



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Can you read this document? If not, we can have somebody help you read it. You may also be able to get this
document written in your language. For free help, please call 1-XXX-XXX-XXXX (TTY: 711).

¿Puede leer este documento? Si no, podemos hacer que alguien lo lea por usted. También puede obtener este
documento escrito en su idioma. Para obtener ayuda gratuita, llame al 1-XXX-XXX-XXXX (TTY: 711). (Spanish)

您能自行閱讀本文件嗎？如果不能，我們可請人幫助您閱讀。您還可以請人以您的語言撰寫本文件。如需
免費幫助，請致電 1-XXX-XXX-XXXX (TTY: 711)。(Chinese)

Bạn có đọc được tài liệu này không? Nếu không, chúng tôi sẽ cử một ai đó giúp bạn đọc. Bạn cũng có thể nhận
được tài liệu này viết bằng ngôn ngữ của bạn. Để nhận được trợ giúp miễn phí, vui lòng gọi 1-XXX-XXX-XXXX
(TTY: 711). (Vietnamese)

이 문서를 읽으실 수 있습니까? 그렇지 않다면, 다른 사람이 대신 읽어드리도록 도와드릴 수 있습니다.
또한 이 문서를 귀하의 모국어로 번역해드릴 수 있습니다. 무료 지원을 요청하시려면, 1-XXX-XXX-XXXX
(TTY: 711)번으로 연락하십시오. (Korean)

Mababasa mo ba ang dokumentong ito? Kung hindi, mayroong makatutulong sa iyo na basahin ito. Maaaring
makuha mo rin ang dokumentong ito nang nakasulat sa iyong wika. Para sa libreng tulong, pakitawagan ang
1-XXX-XXX-XXXX (TTY: 711). (Tagalog)

Вы можете прочитать этот документ? Если нет, то вы можете попросить кого-нибудь в нашей компании
помочь вам прочитать этот документ. Вы также можете получить этот документ на своем языке. Для
получения бесплатной помощи, просьба звонить по номеру 1-XXX-XXX-XXXX (TTY: 711). (Russian)

‫وﺑﺎ‬                            ً ‫ رﺑﻣﺎ ﯾﻣﻛﻧك أ‬.‫ ﯾﻣﻛﻧﻧﺎ أن ﻧُوﻓّر ﻟك ﻣن ﯾﺳﺎﻋدك ﻓﻲ ﻗراءﺗﮭﺎ‬,‫ھل ﺗﺳﺗطﯾﻊ ﻗراءة ھذا اﻟﻣﺳﺗﻧد؟ إذا ﻛﻧت ﻻ ﺗﺳﺗطﯾﻊ‬
 ً ‫ﯾﺿﺎ اﻟﺣﺻول ﻋﻠﻰ ھذا اﻟﻣﺳﺗﻧد ﻣﻛﺗ‬
                                                          (Arabic) .(711 :TTY) 1-XXX-XXX-XXXX ‫ ﻟﻠﻣﺳﺎﻋدة اﻟﻣﺟﺎﻧﯾﺔ اﺗﺻل ﺑـ‬.‫ﺑﻠﻐﺗك‬

Èske w ka li dokiman sa a? Si w pa kapab, nou ka fè yon moun ede w li l. Ou ka gen posiblite pou jwenn dokiman
sa a tou ki ekri nan lang ou. Pou jwenn èd gratis, tanpri rele 1-XXX-XXX-XXXX (TTY: 711). (Haitian Creole)

Pouvez-vous lire ce document ? Si ce n’est pas le cas, nous pouvons faire en sorte que quelqu’un vous aide à le
lire. Vous pouvez également obtenir ce document écrit dans votre langue. Pour obtenir de l’assistance
gratuitement, veuillez appeler le 1-XXX-XXX-XXXX (TTY : 711). (French)

Możesz przeczytać ten dokument? Jeśli nie, możemy Ci w tym pomóc. Możesz także otrzymać ten dokument
w swoim języku ojczystym. Po bezpłatną pomoc zadzwoń pod numer 1-XXX-XXX-XXXX (TTY: 711). (Polish)

Você consegue ler este documento? Se não, podemos pedir para alguém ajudá-lo a ler. Você também pode
receber este documento escrito em seu idioma. Para obter ajuda gratuita, ligue 1-XXX-XXX-XXXX (TTS: 711).
(Portuguese)

Non riesci a leggere questo documento? In tal caso, possiamo chiedere a qualcuno di aiutarti a farlo. Potresti
anche essere in grado di ricevere questo documento scritto nella tua lingua. Per assistenza gratuita, chiama il
numero 1-XXX-XXX-XXXX (TTY: 711). (Italian)

この文書をお読みになれますか？お読みになれない場合には、読むためのお手伝いをさせていただけます。この文書をご
希望の言語に訳したものをお送りできる場合もあります。無料のサポートについては、1-XXX-XXX-XXXX (TTY: 711) までご
連絡ください。 (Japanese)

Können Sie dieses Dokument lesen? Falls nicht, können wir Ihnen einen Mitarbeiter zur Verfügung stellen, der Sie
dabei unterstützen wird. Möglicherweise können Sie dieses Dokument auch in Ihrer Sprache erhalten. Rufen Sie
für kostenlose Hilfe bitte folgende Nummer an: 1-XXX-XXX-XXXX (TTY: 711). (German)



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‫آﯾﺎ ﻣﯽ ﺗواﻧﯾد اﯾن ﻣﺗن را ﺑﺧواﻧﯾد؟ در ﺻورﺗﯽ ﮐﮫ ﻧﻣﯽ ﺗواﻧﯾد‪ ،‬ﻣﺎ ﻗﺎدرﯾم از ﺷﺧﺻﯽ ﺑﺧواھﯾﺎ ﺗﺎ در ﺧواﻧدن اﯾن ﻣﺗن ﺑﮫ ﺷﻣﺎ ﮐﻣﮏ ﮐﻧد‪ .‬ھﻣﭼﻧﯾن ﻣﻣﮑن‬
          ‫اﺳت ﺑﺗواﻧﯾد اﯾن ﻣﺗن را ﺑﮫ زﺑﺎن ﺧود درﯾﺎﻓت ﮐﻧﯾد‪ .‬ﺑرای ﮐﻣﮏ راﯾﮕﺎن ﺑﺎ اﯾن ﺷﻣﺎره ﺗﻣﺎس ﺑﮕﯾرﯾد‪.(711 :TTY) 1-XXX-XXX-XXX :‬‬
                                                                                                                 ‫)‪(Persian Farsi‬‬

          ‫קענט איר לײענען דעם דָאזיקן דָאקומענט? אױב ניט‪ ,‬עמעצער וד קען אײך העלפן לײענען‪ .‬איר קענט מעגליך אױך‬
   ‫באקומען דעם דָאזיקן דָאקומענט אין אײער שפּראך‪ .‬פאר אומזיסטע הילף‪ ,‬ביטע קלינגט׃ ‪.(TTY: 711) 1-XXX-XXX-XXXX‬‬
                                                                                                     ‫)‪(Yiddish‬‬

  ‫‪D77sh y7n7[ta’go b77n7ghah? Doo b77n7ghahg00 47 nich’8’ y7d0o[tah7g77 nihee h0l=. D77 naaltsoos t’11‬‬
  ‫‪Din4 bizaad k’ehj7 1lyaago a[d0’ nich’8’ 1dooln99[go b7ighah. T’11 j77k’e sh7k1 i’doolwo[ n7n7zingo‬‬
  ‫)‪koj8’ b44sh hold77lnih 1-XXX-XXX-XXXX (TTY: 711). (Navajo‬‬




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                                Non-Discrimination Disclosure

Discrimination is Against the Law

We comply with applicable federal civil rights laws and do not discriminate on the basis of race,
color, national origin, age, disability, or sex, including sex stereotypes and gender identity. We
do not exclude people or treat them differently because of their race, color, national origin,
age, disability, or sex.

Coverage for medically necessary health services are available on the same terms for all
individuals, regardless of sex assigned at birth, gender identity, or recorded gender. We will not
deny or limit coverage to any health service based on the fact that an individual's sex assigned
at birth, gender identity, or recorded gender is different from the one to which such health
service is ordinarily available. We will not deny or limit coverage for a specific health service
related to gender transition if such denial or limitation results in discriminating against a
transgender individual.

If you believe that we have failed to provide these services or discriminated in another way on
the basis of race, color, national origin, age, disability, or sex, you can file a grievance
electronically online, over the phone with a customer service representative, or by mail.

DeltaCare USA
PO Box 1870
Alpharetta, GA 30023
800-589-4618
deltadentalins.com

You can also file a civil rights complaint with the U.S. Department of Health and Human Services
Office for Civil Rights electronically through the Office for Civil Rights Complaint Portal, available
at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at: U.S. Department of
Health and Human Services, 200 Independence Avenue SW, Room 509F, HHH Building,
Washington DC 20201, 1-800-368-1019, 800-537-7697 (TDD). Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.


We provide free aids and services to people with disabilities to communicate effectively with
us, such as:
    • qualified sign language interpreters
    • written information in other formats (large print, audio, accessible electronic formats,
       other formats)




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We also provide free language services to people whose primary language is not English, such
as:
    • qualified interpreters
    • information written in other languages

If you need these services, contact our Customer Service department.




DeltaCare USA is underwritten in these states by these entities: AL — Alpha Dental of Alabama, Inc.; AZ — Alpha
Dental of Arizona, Inc.; CA — Delta Dental of California; AR, CO, IA, MA, ME, MI, MN, NC, ND, NE, NH, OK, OR, RI,
SC, SD, VA, VT, WA, WI, WY — Dentegra Insurance Company; AK, CT, DC, DE, FL, GA, KS, LA, MS, MT, TN, WV —
Delta Dental Insurance Company; HI, ID, IL, IN, KY, MD, MO, NJ, OH, TX — Alpha Dental Programs, Inc.; NV — Alpha
Dental of Nevada, Inc.; UT — Alpha Dental of Utah, Inc.; NM — Alpha Dental of New Mexico, Inc.; NY — Delta
Dental of New York, Inc.; PA — Delta Dental of Pennsylvania. Delta Dental Insurance Company acts as the
DeltaCare USA administrator in all these states. These companies are financially responsible for their own
products.




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                                            ENROLLEE NOTICES

Federal and state laws require enrollees to be notified on a periodic basis about enrollee rights and
privacy practices. Below is a summary of the notices that are available under the legal or privacy
section of our webpage. To access the most current version and the full text of each notice, please visit
our website at deltadentalins.com.

Federal Notices:
   • HIPAA Notice of Privacy Practices (NPP): Federal regulations require insurance plans to share
       information about the company’s privacy practices. This is called a “Notice of Privacy Practices
       (NPP)” and should be read when an individual first becomes an enrollee and reviewed at least
       every three years thereafter.

     •    Gramm-Leach-Bliley (GLB): Financial institutions and insurance companies must describe how
          demographic and financial information is collected and shared. California requires a state
          specific notice called the California Financial Privacy Notice, which is described below under the
          State Notices section.

     •    Notice of Non-Discrimination: We comply with applicable federal civil rights laws and do not
          discriminate on the basis of race, color, national origin, age, disability, or sex, including sex
          stereotypes and gender identity. If you believe we have failed to provide these services or
          discriminated in another way on the basis of race, color, national origin, age, disability, or sex,
          you can file a grievance electronically online, over the phone with a customer service
          representative, or by mail.

     •    Language Assistance Notice and Survey: Delta Dental provides phone interpretation to callers
          who do not speak English. In California, Delta Dental will also provide, on request, a translated
          copy of certain vital documents in either Spanish or Chinese. In Maryland and Washington DC,
          enrollees may receive grievance materials in Spanish or Chinese.

State Notices:
    • CA Financial Privacy Notice: This notice to Californians describes our demographic and financial
       information collection and sharing practices. It is similar to the Gramm-Leach-Bliley (GLB) notice
       described above.

     •    CA Grievance Process: This notice describes our procedure for processing and resolving
          enrollee grievances and gives the address and phone number to make a complaint. Californians
          are encouraged to read this notice when they first enroll and annually thereafter.
     •    CA Timely Access to Care: California law requires heath plans to provide timely access to care.
          This law sets limits on how long enrollees have to wait to get appointments and telephone
          assistance.


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     •    CA Tissue and Organ Donations: This notice informs subscribers of the societal benefits of
          organ donation and the methods they can use to become organ and/or tissue donors. California
          regulations require every health plan to provide this information upon enrollment and annually
          thereafter.

For questions concerning the notices, please contact us at 800-589-4618. You may also write to us at:

DeltaCare USA
PO Box 1870
Alpharetta, GA 30023




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Arizona, Inc.; CA — Delta Dental of California; AR, CO, IA, MA, ME, MI, MN, NC, ND, NE, NH, OK, OR, RI, SC, SD, VA, VT, WA,
WI, WY — Dentegra Insurance Company; AK, CT, DC, DE, FL, GA, KS, LA, MS, MT, TN, WV — Delta Dental Insurance
Company; HI, ID, IL, IN, KY, MD, MO, NJ, OH, TX — Alpha Dental Programs, Inc.; NV — Alpha Dental of Nevada, Inc.; UT —
Alpha Dental of Utah, Inc.; NM — Alpha Dental of New Mexico, Inc.; NY — Delta Dental of New York, Inc.; PA — Delta
Dental of Pennsylvania. Delta Dental Insurance Company acts as the DeltaCare USA administrator in all these states. These
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